Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 1 of 962




      EXHIBIT A
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 2 of 962




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK
__________________________________________x

In re Terrorist Attacks on September 11, 2001                          03 MDL 1570
__________________________________________x


This filing applies to the Estate of John P. O’Neill, Sr., et al. v. The Republic of Iraq et.
al., 04 CV 1076 (GBD)(SN)


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                 )
Estate of John Patrick O’Neill, Sr., on          )
behalf of John Patrick O’Neill, Sr.,             )
deceased, and on behalf of decedent’s            )
heirs-at-law                                     )
                                                 )
John Patrick O’Neill, Jr.                        )
                                                 )
Christine Irene O’Neill                          )
                                                 )
Carol O’Neill                                    )
                                                 )
Dorothy A. O’Neill,                              )   Civil Action No: 04-1076 (GBD)(SN)
                                                 )
Erik K. Aamoth, individually, as surviving       )   [Proposed] Fifth Amended
sibling of Gordon McCannel Aamoth, Jr.           )   First Consolidated Complaint
                                                 )   Jury Trial Demanded
Gordon Aamoth, Sr., individually, as             )
surviving parent of Gordon McCannel              )
Aamoth, Jr.                                      )
                                                 )
Mary Aamoth, individually, as surviving          )
parent of Gordon McCannel Aamoth, Jr.            )
                                                 )
Gordon Aamoth, Sr., as the Personal              )
Representative of the Estate of Gordon           )
McCannell Aamoth, Jr., deceased, and on          )
behalf of all survivors and all legally          )
entitled beneficiaries and family members        )

                                             1
docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 3 of 962




of Gordon McCannel Aamoth, Jr.              )
                                            )
Peter Aamoth, individually, as surviving    )
sibling of Gordon McCannel Aamoth, Jr.      )
                                            )
Lloyd A. Abel Jr., individually, as         )
surviving sibling of Laurence C. Abel       )
                                            )
Lloyd A. Abel Sr., individually, as         )
surviving parent of Laurence C. Abel        )
                                            )
Lloyd A. Abel Sr., as the Personal
                                            )
Representative of the Estate of Laurence C.
                                            )
Abel, deceased, and on behalf of all
                                            )
survivors and all legally entitled
                                            )
beneficiaries and family members of
                                            )
Laurence C. Abel
                                            )
Roberta Agyeman, individually, as           )
surviving child of Sophia Addo              )
                                            )
Joseph Ameyaw, individually, as surviving )
spouse of Sophia Addo                       )
                                            )
BNY Mellon, as the Personal                 )
Representative of the Estate of Sophia      )
Addo, deceased, and on behalf of all        )
survivors and all legally entitled          )
beneficiaries and family members of         )
Sophia Addo                                 )
                                            )
Angeli Ylanan Agarwala, individually, as    )
surviving child of Mukul Kumar Agarwala )
                                            )
Robert Langdon as Personal Representative )
of the Estate of Edward Ahearn, deceased, )
the late parent of Lt. Brian G. Ahearn      )
                                            )
Elizabeth A. Ahearn, individually, as       )
surviving sibling of Lt. Brian G. Ahearn    )
                                            )
Debra Ahearn, as the Personal               )
Representative of the Estate of Brian G.    )
Ahearn, deceased, and on behalf of all      )
survivors and all legally entitled          )
beneficiaries and family members of Lt.     )
Brian G. Ahearn                             )

                                         2
docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 4 of 962




June Ahearn, individually, as surviving           )
parent of Lt. Brian G. Ahearn                     )
                                                  )
Jeba Ahmed, individually, as surviving            )
spouse of Shabbir Ahmed                           )
                                                  )
Nadia Ahmed, individually, as surviving           )
child of Shabbir Ahmed                            )
                                                  )
Thanbir Ahmed, individually, as surviving         )
child of Shabbir Ahmed                            )
                                                  )
Salma Ahmed-Green, individually, as
                                                  )
surviving child of Shabbir Ahmed
                                                  )
Abdul Mosobbir, individually, as surviving        )
sibling of Shabbir Ahmed                          )
                                                  )
Jeba Ahmed, as the Personal                       )
Representative of the Estate of Shabbir           )
Ahmed, deceased, and on behalf of all             )
survivors and all legally entitled                )
beneficiaries and family members of               )
Shabbir Ahmed                                     )
                                                  )
Andrew Albero, individually, as surviving         )
sibling of Gary Albero                            )
                                                  )
Aracelis Albero, individually, as surviving       )
spouse of Gary Albero                             )
                                                  )
Aracelis Albero, as the Personal                  )
Representative of the Estate of Gary              )
Albero, deceased, and on behalf of all            )
survivors and all legally entitled                )
beneficiaries and family members of Gary          )
Albero                                            )
                                                  )
Kevin Albero, individually, as surviving          )
sibling of Gary Albero                            )
                                                  )
Michael A. Albero, individually, as               )
surviving child of Gary Albero                    )
                                                  )
Kevin Albero and Andrew Albero as co-
                                                  )
Personal Representatives of the Estate of
                                                  )
Andrew P. Albero, deceased, the late
                                                  )

                                              3
docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 5 of 962




parent of Gary Albero                             )
                                                  )
Patricia Albero (c/o Attorney-in-Fact, Fred       )
Corrado), individually, as surviving parent       )
of Gary Albero                                    )
                                                  )
Willie Aldridge Jr., individually, as             )
surviving sibling of Jacquelyn D. Aldridge        )
                                                  )
Delores Aldridge a/k/a Delores Aldridge           )
Essuon, individually, as surviving sibling        )
of Jacquelyn D. Aldridge                          )
                                                  )
Marjorie Aldridge-Holder, individually, as
                                                  )
surviving sibling of Jacquelyn D. Aldridge
                                                  )
Lafayette Frederick, individually, as             )
surviving spouse of Jacquelyn D. Aldridge         )
                                                  )
Lafayette Frederick, as the Personal              )
Representative of the Estate of Jacquelyn         )
D. Aldridge, deceased, and on behalf of all       )
survivors and all legally entitled                )
beneficiaries and family members of               )
Jacquelyn D. Aldridge                             )
                                                  )
Barry Allen, individually, as surviving           )
sibling of Eric Allen                             )
                                                  )
Marian Allen, individually, as surviving          )
sibling of Eric Allen                             )
                                                  )
Barry Allen as Personal Representative of         )
the Estate of Edward Allen , deceased, the        )
late sibling of Eric Allen                        )
                                                  )
Barry Allen as Personal Representative of         )
the Estate of Laetita "Letty" Allen,              )
deceased, the late parent of Eric Allen           )
                                                  )
Denise Allen, individually, as surviving          )
parent of Richard L. Allen                        )
                                                  )
Denise Allen, as the Personal
                                                  )
Representative of the Estate of Richard L.
                                                  )
Allen, deceased, and on behalf of all
                                                  )
survivors and all legally entitled
                                                  )
beneficiaries and family members of

                                              4
docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 6 of 962




Richard L. Allen                               )
                                               )
Richard Allen, individually, as surviving      )
parent of Richard L. Allen                     )
                                               )
Robert C. Alonso, individually, as             )
surviving spouse of Janet Alonso               )
                                               )
Robert C. Alonso, as the Personal              )
Representative of the Estate of Janet          )
Alonso, deceased, and on behalf of all         )
survivors and all legally entitled             )
beneficiaries and family members of Janet )
Alonso                                         )
                                               )
Victoria Alonso, individually, as surviving
                                               )
child of Janet Alonso
                                               )
Robert C. Alonso Jr., individually, as         )
surviving child of Janet Alonso                )
                                               )
Karen Banyo, individually, as surviving        )
sibling of Janet Alonso                        )
                                               )
Cheryl A. Russo, individually, as surviving )
sibling of Janet Alonso                        )
                                               )
Filiberta Barragan, individually, as           )
surviving spouse of Antonio J. Alvarez         )
                                               )
Giovanni Javier, individually, as surviving )
child of Antonio J. Alvarez                    )
                                               )
BNY Mellon, as the Personal                    )
Representative of the Estate of Antonio J.     )
Alvarez, deceased, and on behalf of all        )
survivors and all legally entitled             )
beneficiaries and family members of            )
Antonio J. Alvarez                             )
                                               )
Anthony Amatuccio, individually, as            )
surviving sibling of Joseph Amatuccio          )
                                               )
Antoinette Amatuccio a/k/a Antoinette R.
                                               )
Callori, individually, as surviving sibling of
                                               )
Joseph Amatuccio
                                               )
Debra Amatuccio, individually, as              )

                                            5
docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 7 of 962




surviving spouse of Joseph Amatuccio            )
                                                )
Debra Amatuccio, as the Personal                )
Representative of the Estate of Joseph          )
Amatuccio, deceased, and on behalf of all       )
survivors and all legally entitled              )
beneficiaries and family members of             )
Joseph Amatuccio                                )
                                                )
Dina Amatuccio, individually, as surviving      )
child of Joseph Amatuccio                       )
                                                )
Joseph Amatuccio, individually, as              )
surviving child of Joseph Amatuccio             )
                                                )
Karen Amundson, individually, as
                                                )
surviving parent of Spc. Craig Amundson
                                                )
Orland Amundson, individually, as               )
surviving parent of Spc. Craig Amundson         )
                                                )
Ryan Amundson, individually, as surviving       )
sibling of Spc. Craig Amundson                  )
                                                )
Amber A. Amundson, as the Personal              )
Representative of the Estate of Craig           )
Amundson, deceased, and on behalf of all        )
survivors and all legally entitled              )
beneficiaries and family members of Spc.        )
Craig Amundson                                  )
                                                )
Rachel Dana Aron Weiner, individually, as       )
surviving spouse of Joshua Aron                 )
                                                )
Rachel Dana Aron Weiner, as the Personal        )
Representative of the Estate of Joshua          )
Aron, deceased, and on behalf of all            )
survivors and all legally entitled              )
beneficiaries and family members of             )
Joshua Aron                                     )
                                                )
Carl Asaro, individually, as surviving child    )
of Carl Asaro                                   )
                                                )
Heloiza Asaro, individually, as surviving       )
spouse of Carl Asaro                            )
                                                )
Heloiza Asaro, as the Personal

                                            6
docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 8 of 962




Representative of the Estate of Carl Asaro,       )
deceased, and on behalf of all survivors and      )
all legally entitled beneficiaries and family     )
members of Carl Asaro                             )
                                                  )
Marc Asaro, individually, as surviving            )
child of Carl Asaro                               )
                                                  )
Matthew Asaro, individually, as surviving         )
child of Carl Asaro                               )
                                                  )
Phillip Asaro, individually, as surviving         )
child of Carl Asaro                               )
                                                  )
Rebecca Asaro, individually, as surviving
                                                  )
child of Carl Asaro
                                                  )
Jason Audiffred, individually, as surviving       )
child of James Audiffred                          )
                                                  )
Robin Audiffred, individually, as surviving       )
spouse of James Audiffred                         )
                                                  )
Robin Audiffred, as the Personal                  )
Representative of the Estate of James             )
Audiffred, deceased, and on behalf of all         )
survivors and all legally entitled                )
beneficiaries and family members of James         )
Audiffred                                         )
                                                  )
Antonio Aversano, individually, as                )
surviving child of Louis F. Aversano Jr.          )
                                                  )
Doris Aversano, individually, as surviving        )
spouse of Louis F. Aversano Jr.                   )
                                                  )
Doris Aversano, as the Personal                   )
Representative of the Estate of Louis F.          )
Aversano Jr., deceased, and on behalf of all      )
survivors and all legally entitled                )
beneficiaries and family members of Louis         )
F. Aversano Jr.                                   )
                                                  )
Rosemary Aversano, individually, as               )
surviving child of Louis F. Aversano Jr.          )
                                                  )
Lisa R. Procaccio, individually, as
                                                  )

                                              7
docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 9 of 962




surviving child of Louis F. Aversano Jr.          )
                                                  )
Leyda Colon-Ayala, individually, as               )
surviving spouse of Samuel (Sandy) Ayala          )
                                                  )
Leyda Colon-Ayala, as the Personal                )
Representative of the Estate of Samuel            )
(Sandy) Ayala, deceased, and on behalf of         )
all survivors and all legally entitled            )
beneficiaries and family members of               )
Samuel (Sandy) Ayala                              )
                                                  )
Samantha Ayala, individually, as surviving        )
child of Samuel (Sandy) Ayala                     )
                                                  )
Vincent Babakitis, individually, as
                                                  )
surviving child of Arlene T. Babakitis
                                                  )
James Babakitis, as the Personal                  )
Representative of the Estate of Arlene T.         )
Babakitis, deceased, and on behalf of all         )
survivors and all legally entitled                )
beneficiaries and family members of               )
Arlene T. Babakitis                               )
                                                  )
Evelyn Pettignano, individually, as               )
surviving sibling of Arlene T. Babakitis          )
                                                  )
Evelyn Pettignano and Karen Reoch, as co-         )
Personal Representatives of the Estate of         )
Sadie Reoch, deceased, the late parent of         )
Arlene T. Babakitis                               )
                                                  )
Karen Ann Reoch, individually, as                 )
surviving sibling of Arlene T. Babakitis          )
                                                  )
Laura Baierwalter, individually, as               )
surviving spouse of Robert J. Baierwalter         )
                                                  )
Laura Baierwalter, as the Personal                )
Representative of the Estate of Robert J.         )
Baierwalter, deceased, and on behalf of all       )
survivors and all legally entitled                )
beneficiaries and family members of               )
Robert J. Baierwalter                             )
                                                  )
Raymond Baierwalter, individually, as
                                                  )

                                              8
docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 10 of 962




 surviving child of Robert J. Baierwalter         )
                                                  )
 Richard Baierwalter, individually, as            )
 surviving child of Robert J. Baierwalter         )
                                                  )
 Veronica Baierwalter, individually, as           )
 surviving child of Robert J. Baierwalter         )
                                                  )
 Maureen Schlowinski, individually, as            )
 surviving sibling of Robert J. Baierwalter       )
                                                  )
 Daniel Barnes, individually, as surviving
                                                  )
 sibling of Matthew Barnes
                                                  )
 Denise Barnes, individually, as surviving        )
 sibling of Matthew Barnes                        )
                                                  )
 Jesse Barnes, individually, as surviving         )
 child of Matthew Barnes                          )
                                                  )
 Matthew Barnes Jr., individually, as             )
 surviving child of Matthew Barnes                )
                                                  )
 Russell Barnes, individually, as surviving       )
 sibling of Matthew Barnes                        )
                                                  )
 Suzanne Barnes, individually, as surviving       )
 sibling of Matthew Barnes                        )
                                                  )
 Thomas Barnes, individually, as surviving        )
 child of Matthew Barnes                          )
                                                  )
 Susan Barnes-Ford, individually, as              )
 surviving spouse of Matthew Barnes               )
                                                  )
 Susan Barnes-Ford, as the Personal
                                                  )
 Representative of the Estate of Matthew
                                                  )
 Barnes, deceased, and on behalf of all
                                                  )
 survivors and all legally entitled
                                                  )
 beneficiaries and family members of
                                                  )
 Matthew Barnes
                                                  )
 John Doe 104, as the Personal                    )
 Representative of the Estate of Yvette Mell      )
 , deceased, the late parent of Matthew           )
 Barnes                                           )
                                                  )
 Ricardo Barnes, individually, as surviving       )

                                              9
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 11 of 962




 spouse of Sheila P. Barnes                        )
                                                   )
 Ricardo Barnes, as the Personal                   )
 Representative of the Estate of Sheila P.         )
 Barnes, deceased, and on behalf of all            )
 survivors and all legally entitled                )
 beneficiaries and family members of Sheila        )
 P. Barnes                                         )
                                                   )
 Christine Barnes-Murrell, individually, as        )
 surviving child of Sheila P. Barnes               )
                                                   )
 Zulema Barnes-Robinson, individually, as          )
 surviving child of Sheila P. Barnes               )
                                                   )
 Elizabeth a/k/a Betty Bennett, individually,
                                                   )
 as surviving parent of Eric L. Bennett
                                                   )
 Elizabeth a/k/a Betty Bennett, as the
 Personal Representative of the Estate of
 Eric L. Bennett, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Eric
 L. Bennett

 Kimberly Ann Bennett, individually, as
 surviving sibling of Eric L. Bennett

 Terry Bennett, individually, as surviving
 parent of Eric L. Bennett

 William J. Biggart, individually, as
 surviving child of William G. Biggart

 Elizabeth Linker, individually, as surviving
 sibling of William G. Biggart

 Margaret Burke a/k/a Margaret Burke,
 individually, as surviving sibling of
 William G. Biggart

 William Bishop, individually, as surviving
 child of George Bishop

 John Doe 4, being intended to designate the
 Personal Representative of the Estate of
 George Bishop, deceased, said name being
 fictitious, her/his true name is not presently

                                              10
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 12 of 962




 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of George Bishop

 John Doe 5, being intended to designate the
 Personal Representative of the Estate of
 Carrie R. Blagburn, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Carrie
 R. Blagburn

 Kevin Smith, individually, as surviving
 child of Carrie R. Blagburn

 Kim Williams, individually, as surviving
 child of Carrie R. Blagburn

 Esther Jackson-Blanding, as the Personal
 Representative of the Estate of Alexander
 Blanding, deceased, the late sibling of
 Harry J. Blanding

 Dorothy Blanding, individually, as
 surviving parent of Harry J. Blanding

 Carol Boccardi, individually, as surviving
 parent of Michael A. Boccardi

 Carol Boccardi, as the co-Personal
 Representative of the Estate of Michael A.
 Boccardi, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of

                                              11
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 13 of 962




 Michael A. Boccardi

 Michelle Bronson as Personal
 Representative of the Estate of Michael R.
 Boccardi, deceased, the late parent of
 Michael A. Boccardi

 Roya Bolourchi Touran , individually, as
 surviving child of Touran (Touri)
 Bolourchi

 John Doe 67, being intended to designate
 the Personal Representative of the Estate of
 Touran (Touri) Bolourchik, deceased, said
 name being fictitious, her/his true name is
 not presently known, confirmed, and/or has
 not been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Touran (Touri) Bolourchi

 Kathryn B. Agugliaro, individually, as
 surviving parent of Frank J. Bonomo

 Joseph Anthony Bonomo, individually, as
 surviving child of Frank J. Bonomo

 Juliana Rose Bonomo, individually, as
 surviving child of Frank J. Bonomo

 Margarite Bonomo, individually, as
 surviving spouse of Frank J. Bonomo

 Margarite Bonomo, as the Personal
 Representative of the Estate of Frank J.
 Bonomo, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Frank
 J. Bonomo

 Lenore B. Williams, individually, as
 surviving sibling of Frank J. Bonomo


                                              12
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 14 of 962




 Alexandra Bowen, individually, as
 surviving child of Donna Bowen

 Anastasia Bowen, individually, as
 surviving child of Donna Bowen

 Eugene Bowen, individually, as surviving
 spouse of Donna Bowen

 Eugene Bowen, as the Personal
 Representative of the Estate of Donna
 Bowen, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Donna Bowen

 Eugene Bowen Jr., individually, as
 surviving child of Donna Bowen

 Dior P. Gordon, individually, as surviving
 child of Veronique N. Bowers

 John Doe 115, being intended to designate
 the Personal Representative of the Estate of
 Veronique N. Bowers, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Veronique N. Bowers

 Jeffery M. Bright, individually, as
 surviving sibling of Gary L. Bright

 Jeffery M. Bright, as the Personal
 Representative of the Estate of Gary L.
 Bright, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Gary
 L. Bright

 John Doe 124, as Personal Representative
                                              13
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 15 of 962




 of the Estate of William Bright, deceased,
 the late parent of Gary L. Bright

 Michael Hornback II, as Personal
 Representative of the Estate of Michelle L.
 Hornback, deceased, the late sibling of
 Gary L. Bright

 Andrea Caballero Valadez, individually, as
 surviving sibling of Daniel M. Caballero

 Andres Caballero, individually, as
 surviving parent of Daniel M. Caballero

 Claudia Caballero, individually, as
 surviving sibling of Daniel M. Caballero

 Maria Caballero, individually, as surviving
 parent of Daniel M. Caballero

 Maria Caballero, as the Personal
 Representative of the Estate of Daniel M.
 Caballero, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Daniel M. Caballero

 Jamie Cachia, individually, as surviving
 sibling of Brian Cachia

 Sabrina C. Spencer, individually, as
 surviving parent of Brian Cachia

 Joseph Cachia, individually, as surviving
 parent of Brian Cachia

 Joseph Cachia, as the Personal
 Representative of the Estate of Brian
 Cachia, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Brian
 Cachia

 Alexander Calabro, individually, as
 surviving child of Salvatore B. Calabro

 Daniel Calabro, individually, as surviving


                                               14
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 16 of 962




 child of Salvatore B. Calabro

 Francine Calabro, individually, as
 surviving spouse of Salvatore B. Calabro

 Francine Calabro, as the Personal
 Representative of the Estate of Salvatore B.
 Calabro, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Salvatore B. Calabro

 Carl Calabro, individually, as surviving
 sibling of Salvatore B. Calabro

 Martin Armstrong, individually, as
 surviving sibling of Felix Calixte

 Rhonda Branch, individually, as surviving
 sibling of Felix Calixte

 Peter Anderson Calixte, individually, as
 surviving sibling of Felix Calixte

 Marguerite Calixte-Williams, individually,
 as surviving parent of Felix Calixte

 Marguerite Calixte-Williams, as the Co-
 Personal Representative of the Estate of
 Felix Calixte, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Felix
 Calixte

 Nina DeSouza, individually, as surviving
 sibling of Felix Calixte

 Keream Williams, individually, as
 surviving sibling of Felix Calixte

 Kizzy Williams, individually, as surviving
 sibling of Felix Calixte

 Remy Williams, individually, as surviving
 sibling of Felix Calixte

 Terra Williams, individually, as surviving


                                              15
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 17 of 962




 sibling of Felix Calixte

 Angela Callahan, individually, as surviving
 spouse of Francis J. Callahan

 Angela Callahan, as the Personal
 Representative of the Estate of Francis J.
 Callahan, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Francis J. Callahan

 Harry Callahan, individually, as surviving
 child of Francis J. Callahan

 Nora M. Callahan, individually, as
 surviving child of Francis J. Callahan

 Peter Callahan, individually, as surviving
 child of Francis J. Callahan

 Rose (Callahan) Verno, individually, as
 surviving child of Francis J. Callahan

 Tereza Antonios, individually, as surviving
 child of Roko Camaj

 Angelina Camaj, individually, as surviving
 child of Roko Camaj

 Katrina Camaj, individually, as surviving
 spouse of Roko Camaj

 Katrina Camaj, as the Personal
 Representative of the Estate of Roko
 Camaj, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Roko
 Camaj

 Vincent Camaj, individually, as surviving
 child of Roko Camaj

 Darrick Carlone, individually, as surviving
 child of David G. Carlone

 Matthew Carlone, individually, as


                                               16
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 18 of 962




 surviving child of David G. Carlone

 Nicholas A. Carlone, individually, as
 surviving child of David G. Carlone

 Daniel R. Carlson, individually, as
 surviving child of Rosemarie C. Carlson

 James D. Carlson, individually, as
 surviving child of Rosemarie C. Carlson

 Kimberly R. Carlson, individually, as
 surviving child of Rosemarie C. Carlson

 Stephen J. Carlson, individually, as
 surviving child of Rosemarie C. Carlson

 Crystal Ortiz, individually, as surviving
 child of Rosemarie C. Carlson

 Evita Ortiz, individually, as surviving child
 of Rosemarie C. Carlson

 Debra Carson, individually, as surviving
 spouse of James Carson Jr.

 Debra Carson, as the Personal
 Representative of the Estate of James
 Carson Jr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of James
 Carson Jr.

 James M. Carson, individually, as
 surviving child of James Carson Jr.

 Angenette Cash, individually, as surviving
 child of Angelene C. Carter

 Freddye Jean Carter-Perry a/k/a Freddye
 Carter-Perry, individually, as surviving
 child of Angelene C. Carter

 Freddye Jean Carter-Perry a/k/a Freddye
 Carter-Perry, as the Personal
 Representative of the Estate of Angelene C.
 Carter, deceased, and on behalf of all
 survivors and all legally entitled

                                              17
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 19 of 962




 beneficiaries and family members of
 Angelene C. Carter

 Angilic Casalduc, individually, as
 surviving child of Vivian Casalduc

 Paul Casalduc, individually, as surviving
 child of Vivian Casalduc

 Yon-Paul Casalduc, as the Personal
 Representative of the Estate of Vivian
 Casalduc, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Vivian Casalduc

 Jeanette Kirby, individually, as surviving
 sibling of Vivian Casalduc

 Maria Poliard, individually, as surviving
 parent of Vivian Casalduc

 Evan Cascio, individually, as surviving
 sibling of Paul R. Cascio

 Evan Cascio, as the Personal
 Representative of the Estate of Paul R.
 Cascio, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Paul
 R. Cascio

 Janet Cascio, individually, as surviving
 parent of Paul R. Cascio

 Paul Cascio, individually, as surviving
 parent of Paul R. Cascio

 Diana P. Castano, individually, as
 surviving spouse of Alejandro Castano

 Diana P. Castano, as the Personal
 Representative of the Estate of Alejandro
 Castano, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Alejandro Castano


                                              18
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 20 of 962




 Francisco Castano, individually, as
 surviving parent of Alejandro Castano

 Steven Castano, individually, as surviving
 child of Alejandro Castano

 Yolanda Castano, individually, as
 surviving parent of Alejandro Castano

 Claudia Rodriguez, individually, as
 surviving sibling of Alejandro Castano

 John Doe 7, being intended to designate the
 Personal Representative of the Estate of
 Arcelia Castillo, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Arcelia Castillo

 Rodrigo Gomez Castillo, individually, as
 surviving sibling of Arcelia Castillo

 Anthony Roman, individually, as surviving
 child of Arcelia Castillo

 Silvio Roman, individually, as surviving
 child of Arcelia Castillo

 Ana L. Centeno, individually, as surviving
 sibling of Ana M. Centeno

 Jesus Centeno, individually, as surviving
 sibling of Ana M. Centeno

 John Doe 100, as Personal Representative
 of the Estate of Julio Masa Lebron ,
 deceased, the late parent of Ana M.
 Centeno

 Harry Massa, individually, as surviving


                                              19
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 21 of 962




 sibling of Ana M. Centeno

 Havier Massa, individually, as surviving
 sibling of Ana M. Centeno

 Margarita Perez, individually, as surviving
 sibling of Ana M. Centeno

 Angeles Rivera, individually, as surviving
 sibling of Ana M. Centeno

 Angeles Rivera, as the Personal
 Representative of the Estate of Ana M.
 Centeno, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Ana
 M. Centeno

 Antonia Torres Ayala, individually, as
 surviving parent of Ana M. Centeno

 Maria Zayas, individually, as surviving
 sibling of Ana M. Centeno

 Tammy Marie Merritt a/k/a Tammy Marie
 Chada Merritt, individually, as surviving
 child of John Chada

 Virginia Chada, individually, as surviving
 spouse of John Chada

 Virginia Chada, as the Personal
 Representative of the Estate of John Chada,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of John Chada

 Darien P. Cherry, individually, as surviving
 child of Vernon P. Cherry

 John Doe 109 as as Personal
 Representative of the Estate of JoAnne
 Cherry, deceased, the late spouse of
 Vernon P. Cherry

 Selena Cherry-Daniel, individually, as
 surviving child of Vernon P. Cherry


                                               20
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 22 of 962




 John Doe 110, being intended to designate
 the Personal Representative of the Estate of
 Vernon P. Cherry, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Vernon P. Cherry

 Scott Donovan, Esq. as Personal
 Representative of the Estate of Ryan
 Cherry, deceased, the late child of Vernon
 P. Cherry

 Ana Soria, individually, as surviving
 spouse of Luis A. Chimbo

 BNY Mellon, as the Personal
 Representative of the Estate of Luis A.
 Chimbo, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Luis
 A. Chimbo

 Luis Chimbo, individually, as surviving
 child of Luis A. Chimbo

 Fahina Chowdhury, individually, as
 surviving child of Mohammed S.
 Chowdhury

 Farqad Chowdhury, individually, as
 surviving child of Mohammed S.
 Chowdhury

 Baraheen Ashrafi, individually, as
 surviving spouse of Mohammed S.
 Chowdhury

 Baraheen Ashrafi, as the Personal
 Representative of the Estate of Mohammed
 S. Chowdhury, deceased, and on behalf of
                                              21
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 23 of 962




 all survivors and all legally entitled
 beneficiaries and family members of
 Mohammed S. Chowdhury

 William Cintron-Lugos a/k/a William
 Cintron, as the Personal Representative of
 the Estate of Edna Cintron, deceased, and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Edna Cintron

 William Cintron-Lugos a/k/a William
 Cintron, individually, as surviving spouse
 of Edna Cintron

 Anthony Clark, individually, as surviving
 sibling of Benjamin K. Clark

 Courtland Jerome Clark, individually, as
 surviving sibling of Benjamin K. Clark

 Elsie Clark, individually, as surviving
 parent of Benjamin K. Clark

 Gabriel Clark, individually, as surviving
 child of Benjamin K. Clark

 LaShawn Clark, individually, as surviving
 spouse of Benjamin K. Clark

 LaShawn Clark, as the Personal
 Representative of the Estate of Benjamin
 K. Clark, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Benjamin K. Clark

 Randy Clark, individually, as surviving
 sibling of Benjamin K. Clark

 Sean Clark, individually, as surviving child
 of Benjamin K. Clark

 Taj-Pierre Clark, individually, as surviving
 child of Benjamin K. Clark

 Elsie Clark as Personal Representative of
 the Estate of Benjamin Clark Sr. ,

                                                22
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 24 of 962




 deceased, the late parent of Benjamin K.
 Clark

 Brittany Hantz, individually, as surviving
 child of Benjamin K. Clark

 Sharon McAvinue, individually, as
 surviving sibling of Donna Clarke

 Thomas G. McAvinue, individually, as
 surviving sibling of Donna Clarke

 Stephanie Marie Sampson (Clarke),
 individually, as surviving child of Donna
 Clarke

 Stephanie Marie Sampson (Clarke), as the
 Personal Representative of the Estate of
 Donna Clarke, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Donna Clarke

 Patricia McAvinue McCarthy, individually,
 as surviving sibling of Donna Clarke

 Cathleen Mary Cleary, individually, as
 surviving sibling of Kevin F. Cleary

 Christopher James Cleary, individually, as
 surviving sibling of Kevin F. Cleary

 Christopher James Cleary, as the co-
 Personal Representative of the Estate of
 Kevin F. Cleary, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Kevin
 F. Cleary

 Christopher James Cleary and Patricia
 Mary Cleary as Co-Personal
 Representative of the Estate of Elizabeth
 Cleary, deceased, the late parent of Kevin
 F. Cleary

 Michael G. Cleary, individually, as
 surviving sibling of Kevin F. Cleary


                                              23
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 25 of 962




 Patricia Mary Cleary, individually, as
 surviving sibling of Kevin F. Cleary

 Patricia Mary Cleary, as the co-Personal
 Representative of the Estate of Kevin F.
 Cleary, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Kevin
 F. Cleary

 Thomas J. Cleary, individually, as
 surviving sibling of Kevin F. Cleary

 Maureen Cleary Colligan, individually, as
 surviving sibling of Kevin F. Cleary

 Mio Cloud, individually, as surviving
 spouse of Geoffrey Cloud

 Mio Cloud, as the Personal Representative
 of the Estate of Geoffrey Cloud, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Geoffrey Cloud

 John Doe 8, being intended to designate the
 Personal Representative of the Estate of
 Patricia A. Cody, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Patricia A. Cody

 Beth Schutte, individually, as surviving
 child of Patricia A. Cody

 Joyce Cohen-Day, individually, as
 surviving child of Florence Cohen

 Joyce Cohen-Day, as the Personal
 Representative of the Estate of Florence
                                              24
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 26 of 962




 Cohen, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Florence Cohen

 John Doe 9 as Personal Representative of
 the Estate of Mildred Gordonson, deceased,
 the late parent of Florence Cohen

 Juana Colon, individually, as surviving
 spouse of Jaime Concepcion

 Juana Colon, as the Personal
 Representative of the Estate of Jaime
 Concepcion, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jaime
 Concepcion

 Orquidia Colon, individually, as surviving
 child of Jaime Concepcion

 Reginald Colon, individually, as surviving
 child of Jaime Concepcion

 Rosa Colon, individually, as surviving
 child of Jaime Concepcion

 Mercedes Concepcion, individually, as
 surviving child of Jaime Concepcion

 Jaime Concepcion Jr., individually, as
 surviving child of Jaime Concepcion

 Virginia Concepcion Desoto, individually,
 as surviving child of Jaime Concepcion

 Kirsy Concepcion Salazar, individually, as
 surviving child of Jaime Concepcion

 April Alexander, individually, as surviving
 sibling of Brenda E. Conway

 Stanley Alexander, individually, as
 surviving sibling of Brenda E. Conway

 Mandell Conway, individually, as


                                               25
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 27 of 962




 surviving child of Brenda E. Conway

 Russell Conway, individually, as surviving
 spouse of Brenda E. Conway

 Russell Conway, as the Personal
 Representative of the Estate of Brenda E.
 Conway, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Brenda E. Conway

 Linda McGee, individually, as surviving
 sibling of Brenda E. Conway

 Shelly Ray Watford as Personal
 Representative of the Estate of Edith
 Watford, deceased, the late parent of
 Brenda E. Conway

 Danielle Alexander, individually, as
 surviving child of Brenda E. Conway

 Jermaine Cook, as the Personal
 Representative of the Estate of Helen
 Cook, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Helen
 Cook

 Blanca M. Garcia, individually, as
 surviving sibling of Helen Cook

 Edson Garcia, individually, as surviving
 sibling of Helen Cook

 Keidy Garcia, individually, as surviving
 sibling of Helen Cook

 Teoflia Garcia, individually, as surviving
 parent of Helen Cook

 Moises Cordero, individually, as surviving
 parent of Alejandro Cordero

 Moises Cordero, as the Personal
 Representative of the Estate of Alejandro
 Cordero, deceased, and on behalf of all

                                              26
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 28 of 962




 survivors and all legally entitled
 beneficiaries and family members of
 Alejandro Cordero

 Teresa Cordero, individually, as surviving
 parent of Alejandro Cordero

 Wellington Cordero, individually, as
 surviving sibling of Alejandro Cordero

 Moises Cordero Jr., individually, as
 surviving sibling of Alejandro Cordero

 Marina Correa, individually, as surviving
 parent of Danny Correa-Gutierrez

 Jessica Correa , individually, as surviving
 sibling of Danny Correa-Gutierrez

 John Doe 11, being intended to designate
 the Personal Representative of the Estate of
 Danny Correa-Gutierrez, deceased, said
 name being fictitious, her/his true name is
 not presently known, confirmed, and/or has
 not been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Danny Correa-Gutierrez

 Robert E. Marisay Jr., individually, as
 surviving sibling of Georgine R. Corrigan

 Laura Buck, individually, as surviving
 child of Georgine R. Corrigan

 Laura Buck, as the Personal Representative
 of the Estate of Georgine R. Corrigan,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Georgine R. Corrigan

 Albertina Rivera, individually, as surviving


                                               27
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 29 of 962




 parent of Digna Costanza

 Ingrid Rivera, individually, as surviving
 sibling of Digna Costanza

 Uriel Rivera Jr., individually, as surviving
 sibling of Digna Costanza

 Uriel Rivera Sr., individually, as surviving
 parent of Digna Costanza

 John Costanza, individually, as surviving
 spouse of Digna Costanza

 John Costanza, as the Personal
 Representative of the Estate of Digna
 Costanza, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Digna
 Costanza

 Kathleen Birch, individually, as surviving
 sibling of Charles Costello, Jr.

 Charles Costello, individually, as surviving
 child of Charles Costello, Jr.

 Mary Costello, individually, as surviving
 spouse of Charles Costello, Jr.

 Mary Costello, as the Personal
 Representative of the Estate of Charles
 Costello, Jr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Charles Costello, Jr.

 Patricia Costello, individually, as surviving
 sibling of Charles Costello, Jr.

 Raymond Costello, individually, as
 surviving sibling of Charles Costello, Jr.

 Patricia Costello as Personal
 Representative of the Estate of Charles
 Costello, Sr., deceased, the late parent of
 Charles Costello, Jr.


                                                 28
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 30 of 962




 MaryKate Naples, individually, as
 surviving child of Charles Costello, Jr.

 Amanda Taylor, individually, as surviving
 child of Charles Costello, Jr.

 James Coyle, individually, as surviving
 parent of James R. Coyle

 James Coyle, as the Personal
 Representative of the Estate of James R.
 Coyle, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of James
 R. Coyle

 Katherine Coyle, individually, as surviving
 sibling of James R. Coyle

 Regina Coyle, individually, as surviving
 parent of James R. Coyle

 Joseph Coyle, individually, as surviving
 sibling of James R. Coyle

 Charles Cross, individually, as surviving
 sibling of Dennis Cross

 Virginia Fredriksen, individually, as
 surviving sibling of Dennis Cross

 Carol Cubas, individually, as surviving
 spouse of Kenneth J. Cubas

 Carol Cubas, as the Personal
 Representative of the Estate of Kenneth J.
 Cubas, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Kenneth J. Cubas

 Helga Curtin, individually, as surviving
 spouse of Michael Curtin

 Helga Curtin, as the Personal
 Representative of the Estate of Michael
 Curtin, deceased, and on behalf of all
 survivors and all legally entitled

                                              29
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 31 of 962




 beneficiaries and family members of
 Michael Curtin

 Erika C. Sufilka, individually, as surviving
 child of Michael Curtin

 Anand A. Dataram, individually, as
 surviving sibling of Annette A. Dataram

 Mahadai Dataram, individually, as
 surviving parent of Annette A. Dataram

 Mahadai Dataram, as the Personal
 Representative of the Estate of Annette A.
 Dataram, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Annette A. Dataram

 Ronald Dataram, individually, as surviving
 sibling of Annette A. Dataram

 Adam Davidson, individually, as surviving
 child of Lawrence Davidson

 Adam Davidson, as the co-Personal
 Representative of the Estate of Lawrence
 Davidson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Lawrence Davidson

 Daniel Davidson, as the co-Personal
 Representative of the Estate of Lawrence
 Davidson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Lawrence Davidson

 Marc Davidson, individually, as surviving
 child of Lawrence Davidson

 Delores Akinshara a/k/a Monica
 Akinshara, individually, as surviving
 sibling of Titus Davidson

 Tanya Dale, individually, as surviving


                                                30
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 32 of 962




 child of Titus Davidson

 Tanya Dale, as the Personal Representative
 of the Estate of Titus Davidson, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Titus Davidson

 Denzil Davidson, individually, as surviving
 sibling of Titus Davidson

 Janet Davidson, individually, as surviving
 sibling of Titus Davidson

 Merna Davidson, individually, as surviving
 sibling of Titus Davidson

 Michelle Davidson, individually, as
 surviving sibling of Titus Davidson

 Noel Davidson, individually, as surviving
 sibling of Titus Davidson

 Phillip Davidson, individually, as surviving
 sibling of Titus Davidson

 Rose Davidson, individually, as surviving
 sibling of Titus Davidson

 Sam Davidson, individually, as surviving
 sibling of Titus Davidson

 Trevor Davidson, individually, as surviving
 sibling of Titus Davidson

 William Davidson, individually, as
 surviving sibling of Titus Davidson

 Phillip Davidson as Personal
 Representative of the Estate of Ragland
 Davidson, deceased, the late parent of Titus
 Davidson

 Carol Davidson-Simpson, individually, as
 surviving sibling of Titus Davidson

 Evis Jones, individually, as surviving


                                              31
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 33 of 962




 sibling of Titus Davidson

 Amy M. Knight, individually, as surviving
 sibling of Titus Davidson

 Shirley White, individually, as surviving
 sibling of Titus Davidson

 Paige Debek, individually, as surviving
 child of Tara Debek

 Dariusz Debek, as the Personal
 Representative of the Estate of Tara Debek,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Tara Debek

 Maureen Moore, individually, as surviving
 parent of Tara Debek

 Robert Moore, individually, as surviving
 sibling of Tara Debek

 Lisa Reahl, individually, as surviving
 sibling of Tara Debek

 Dale Choate, individually, as surviving
 sibling of Gerald F. DeConto

 David DeConto, individually, as surviving
 sibling of Gerald F. DeConto

 G. Don Westfall, as the Personal
 Representative of the Estate of Gerald F.
 DeConto, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Gerald F. DeConto

 Patricia DeConto, individually, as
 surviving parent of Gerald F. DeConto

 Raymond DeConto, individually, as
 surviving sibling of Gerald F. DeConto

 Marie DeConto LeBlanc, individually, as
 surviving sibling of Gerald F. DeConto


                                             32
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 34 of 962




 Alfred DeMartini, individually, as
 surviving sibling of Francis DeMartini

 Dominic DeMartini, individually, as
 surviving child of Francis DeMartini

 Nicole DeMartini a/k/a Nicole Fasnacht-
 DeMartini, individually, as surviving
 spouse of Francis DeMartini

 Nicole DeMartini a/k/a Nicole Fasnacht-
 DeMartini, as the Personal Representative
 of the Estate of Francis DeMartini,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Francis DeMartini

 Paul DeMartini, individually, as surviving
 sibling of Francis DeMartini

 Rosemary DeMartini, individually, as
 surviving sibling of Francis DeMartini

 Sabrina DeMartini, individually, as
 surviving child of Francis DeMartini

 Nina DeMartini Day, individually, as
 surviving sibling of Francis DeMartini

 Alfred DeMartini, as Personal
 Representative of the Estate of Alberta
 DeMartini, deceased, the late parent of
 Francis DeMartini

 Paul DeMartini, as Personal Representative
 of the Estate of Alfred DeMartini,
 deceased, the late parent of Francis
 DeMartini

 Juan De Jesus Rodriguez, individually, as
 surviving sibling of Jose Depena

 Anny De Jesus De Pena Rodriguez,
 individually, as surviving sibling of Jose
 Depena

 Edwin N. Depena, individually, as


                                              33
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 35 of 962




 surviving child of Jose Depena

 Marlin Nicole Depena, individually, as
 surviving child of Jose Depena

 Victor T. Depena, individually, as
 surviving sibling of Jose Depena

 Virgilio N. Depena, individually, as
 surviving parent of Jose Depena

 Daniel N. Depena Mora, individually, as
 surviving child of Jose Depena

 Belkis A. Depena Rodriguez, individually,
 as surviving sibling of Jose Depena

 Jorge A. Depena Rodriguez, individually,
 as surviving sibling of Jose Depena

 BNY Mellon, as the Personal
 Representative of the Estate of Jose
 Depena, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jose
 Depena

 Yanet Del Carmen Rodriguez De La Cruz,
 as Personal Representative of the Estate of
 Miguel Angel Rodriguez, deceased, the late
 sibling of Jose Depena

 Pura A. Rodriguez, individually, as
 surviving parent of Jose Depena

 Veronica Altagracia Sanchez Depena,
 individually, as surviving sibling of Jose
 Depena

 Clara Depena, individually, as surviving
 sibling of Jose Depena

 Maxima Depena, individually, as surviving
 spouse of Jose Depena

 Quilcio Depena, individually, as surviving
 sibling of Jose Depena


                                              34
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 36 of 962




 William Depena, individually, as surviving
 sibling of Jose Depena

 Angela DeRubbio, individually, as
 surviving sibling of David P. DeRubbio

 Anthony J. DeRubbio, individually, as
 surviving sibling of David P. DeRubbio

 Dominick A. DeRubbio, individually, as
 surviving sibling of David P. DeRubbio

 Jessica DeRubbio, individually, as
 surviving child of David P. DeRubbio

 Lorraine D. DeRubbio, individually, as
 surviving spouse of David P. DeRubbio

 Lorraine D. DeRubbio, as the Personal
 Representative of the Estate of David P.
 DeRubbio, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of David
 P. DeRubbio

 Marion DeRubbio, individually, as
 surviving parent of David P. DeRubbio

 Robert Anthony DeRubbio, individually, as
 surviving sibling of David P. DeRubbio

 Mary Lee Ianno, individually, as surviving
 sibling of David P. DeRubbio

 Mary Lee Ianno as Personal Representative
 of the Estate of Albert DeRubbio (Sr.) ,
 deceased, the late parent of David P.
 DeRubbio

 Anthony Desperito, individually, as
 surviving child of Andrew Desperito

 David Desperito, individually, as surviving
 child of Andrew Desperito

 Laura Desperito-Filiberto, individually, as
 surviving spouse of Andrew Desperito


                                               35
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 37 of 962




 Laura Desperito-Filiberto, as the Personal
 Representative of the Estate of Andrew
 Desperito, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Andrew Desperito

 Joseph A. Deuel, individually, as surviving
 sibling of Cindy Ann Deuel

 Joseph P. Deuel, individually, as surviving
 parent of Cindy Ann Deuel

 Richard A. Deuel, individually, as
 surviving sibling of Cindy Ann Deuel

 John Doe 15, being intended to designate
 the Personal Representative of the Estate of
 Cindy Ann Deuel, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Cindy
 Ann Deuel

 Patricia Kocian, individually, as surviving
 parent of Cindy Ann Deuel

 Casey Devlin, individually, as surviving
 child of Dennis L. Devlin

 Dennis Devlin, individually, as surviving
 child of Dennis L. Devlin

 Kathleen A. Devlin, individually, as
 surviving spouse of Dennis L. Devlin

 Kathleen A. Devlin, as the Personal
 Representative of the Estate of Dennis L.
 Devlin, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
                                               36
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 38 of 962




 Dennis L. Devlin

 Kathleen E. Devlin, individually, as
 surviving child of Dennis L. Devlin

 Kerry Sharkey, individually, as surviving
 child of Dennis L. Devlin

 Sandra Ahern as Personal Representative
 of the Estate of Christopher Diaz, deceased,
 the late sibling of Matthew Diaz

 Christopher J. Diaz, individually, as
 surviving child of Matthew Diaz

 Michael C. Diaz, individually, as surviving
 sibling of Matthew Diaz

 Christopher J. Diaz as Personal
 Representative of the Estate of Michael
 Diaz, deceased, the late child of Matthew
 Diaz

 Florence Kneff, as the Personal
 Representative of the Estate of Matthew
 Diaz, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Matthew Diaz

 Florence Kneff as Personal Representative
 of the Estate of Karen Diaz, deceased, the
 late spouse of Matthew Diaz

 James E. DiCharo as Personal
 Representative of the Estate of Joseph L.
 DiChiaro, deceased, the late spouse of
 Patricia F. DiChiaro

 James E. DiChiaro, individually, as
 surviving child of Patricia F. DiChiaro

 James E. DiChiaro, as the Personal
 Representative of the Estate of Patricia F.
 DiChiaro, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of


                                               37
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 39 of 962




 Patricia F. DiChiaro

 Thomas L. DiChiaro, individually, as
 surviving child of Patricia F. DiChiaro

 Camille Doany, individually, as surviving
 sibling of Ramzi A. Doany

 Samia Doany, individually, as surviving
 parent of Ramzi A. Doany

 Dina Doany-Azzam, individually, as
 surviving sibling of Ramzi A. Doany

 Dina Doany-Azzam, as the Personal
 Representative of the Estate of Ramzi A.
 Doany, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Ramzi
 A. Doany

 Ibrahim Doany, individually, as surviving
 sibling of Ramzi A. Doany

 Daryl Gabriel, individually, as surviving
 child of Benilda Domingo

 Benjamin Dominguez, Jr., individually, as
 surviving sibling of Carlos Dominguez

 Benjamin Dominguez, Jr. as Personal
 Representative of the Estate of Benjamin
 Dominguez, Sr., deceased, the late parent
 of Carlos Dominguez

 Benjamin Dominguez, Jr. as Personal
 Representative of the Estate of Eugenia
 Dominguez, deceased, the late parent of
 Carlos Dominguez

 Chang Don Kim, individually, as surviving
 parent of Lawrence Don Kim

 Chang Don Kim, as the Personal
 Representative of the Estate of Lawrence
 Don Kim, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of

                                             38
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 40 of 962




 Lawrence Don Kim

 Catherine Fleming as Personal
 Representative of the Estate of Soh Ryang
 Kim , deceased, the late parent of
 Lawrence Don Kim

 Catherine Fleming, individually, as
 surviving sibling of Lawrence Don Kim

 John Doe 106, as the Personal
 Representative of the Estate of George A.
 Cuellar, deceased, the late life partner of
 Luke Dudek

 John Doe 107, being intended to designate
 the Personal Representative of the Estate of
 Luke Dudek, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Luke DudekApril Horton, individually,
 as surviving sibling of Edward T. Earhart

 Andrea Stauter, individually, as surviving
 sibling of Edward T. Earhart

 Andrea Stauter, as the Personal
 Representative of the Estate of Edward T.
 Earhart, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Edward T. Earhart

 Andrea Stauter as Personal Representative
 of the Estate of Charlotte Earhart,
 deceased, the late parent of Edward T.
 Earhart

 Andrea Stauter as Personal Representative
 of the Estate of Thomas Earhart, deceased,

                                               39
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 41 of 962




 the late parent of Edward T. Earhart

 Christopher Aiello as Personal
 Representative of the Estate of Joan Aiello,
 deceased, the late sibling of John E. Eichler

 John Churchill as Personal Representative
 of the Estate of Lois Churchill, deceased,
 the late sibling of John E. Eichler

 John R. Eichler, individually, as surviving
 child of John E. Eichler

 John R. Eichler, as the Personal
 Representative of the Estate of John E.
 Eichler, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 E. Eichler

 John R. Eichler as Personal Representative
 of the Estate of Margaret L. Eichler,
 deceased, the late spouse of John E. Eichler

 Catherine Ericson, individually, as
 surviving child of Ulf Ramm Ericson

 Catherine Ericson, as Personal
 Representative of the Estate of Helen
 Carole Ericson, deceased, the late spouse of
 Ulf Ramm Ericson

 Catherine Ericson, as the Personal
 Representative of the Estate of Ulf Ramm
 Ericson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Ulf
 Ramm Ericson

 Itauma Ette, individually, as surviving
 sibling of Sadie Ette

 Benjamin Edokpayi, as the Personal
 Representative of the Estate of Sadie Ette,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Sadie Ette


                                               40
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 42 of 962




 Sarah DeSimone, individually, as surviving
 child of Catherine Fagan

 Sarah DeSimone, as the Personal
 Representative of the Estate of Catherine
 Fagan, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Catherine Fagan

 Jane M. Cristiano, individually, as
 surviving child of Thomas Farino

 Daniel Farino, individually, as surviving
 sibling of Thomas Farino

 Frank Farino, individually, as surviving
 sibling of Thomas Farino

 James Farino, individually, as surviving
 child of Thomas Farino

 Patrick Farino, individually, as surviving
 sibling of Thomas Farino

 Mary A. Farino-Thomas, individually, as
 surviving spouse of Thomas Farino

 Mary A. Farino-Thomas, as the Personal
 Representative of the Estate of Thomas
 Farino, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Thomas Farino

 Kathryn Nesbit, individually, as surviving
 child of Elizabeth A. Farmer

 Kathryn Nesbit, as the Personal
 Representative of the Estate of Elizabeth A.
 Farmer, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Elizabeth A. Farmer

 Jennifer Artola, individually, as surviving
 child of Francis J. Feely


                                               41
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 43 of 962




 Caitlin Feely, individually, as surviving
 child of Francis J. Feely

 Lori Feely, individually, as surviving
 spouse of Francis J. Feely

 Jennifer Artola, as the Personal
 Representative of the Estate of Francis J.
 Feely, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Francis J. Feely

 Alice Feely as Personal Representative of
 the Estate of Patricia Feely, deceased, the
 late parent of Francis J. Feely

 Stephanie Feely, individually, as surviving
 child of Francis J. Feely

 Lauren Ludvigsen, individually, as
 surviving child of Francis J. Feely

 Catherine Curley, individually, as
 surviving sibling of Sean B. Fegan

 Peter Fegan Jr., individually, as surviving
 sibling of Sean B. Fegan

 Peter Fegan, individually, as surviving
 parent of Sean B. Fegan

 Peter Fegan, as the Personal Representative
 of the Estate of Sean B. Fegan, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Sean B. Fegan

 Anne Marie Hartney, individually, as
 surviving sibling of Sean B. Fegan

 Peter Fegan as Personal Representative of
 the Estate of Margaret Colette Fegan,
 deceased, the late parent of Sean B. Fegan

 Alexis Feliciano, individually, as surviving
 child of Rosa Maria Feliciano


                                               42
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 44 of 962




 Amanda Feliciano, individually, as
 surviving child of Rosa Maria Feliciano

 Isaac Feliciano, individually, as surviving
 spouse of Rosa Maria Feliciano

 Isaac Feliciano, as the Personal
 Representative of the Estate of Rosa Maria
 Feliciano, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Rosa
 Maria Feliciano

 Angela Fields, individually, as surviving
 spouse of Samuel Fields Sr.

 Angela Fields, as the Personal
 Representative of the Estate of Samuel
 Fields Sr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Samuel Fields Sr.

 Demetrius Fields, individually, as
 surviving child of Samuel Fields Sr.

 Samuel Fields Jr., individually, as
 surviving child of Samuel Fields Sr.

 Stefan Fields, individually, as surviving
 child of Samuel Fields Sr.

 Sharif Fields, individually, as surviving
 child of Samuel Fields Sr.

 Sharaia Fields, individually, as surviving
 child of Samuel Fields Sr.

 Christina D. Fisher, individually, as
 surviving sibling of Andrew Fisher

 John Fisher, individually, as surviving
 sibling of Andrew Fisher

 Maria R. Fisher, individually, as surviving
 sibling of Andrew Fisher

 Marie E. Fisher, individually, as surviving

                                               43
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 45 of 962




 parent of Andrew Fisher

 Nina A. Fisher, individually, as surviving
 sibling of Andrew Fisher

 Peter Fisher, individually, as surviving
 sibling of Andrew Fisher

 Nina Fisher and John Fisher as co-Personal
 Representatives of the Estate of John F.
 Fisher, deceased, the late parent of Andrew
 Fisher

 Stephanie E. Lang, individually, as
 surviving spouse of Andrew Fisher

 Stephanie E. Lang, as the Personal
 Representative of the Estate of Andrew
 Fisher, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Andrew Fisher

 Catherine A. Chiola, individually, as
 surviving sibling of John Roger Fisher

 Catherine A. Chiola, as the Personal
 Representative of the Estate of John Roger
 Fisher, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 Roger Fisher

 Bridget E. Fisher, individually, as
 surviving child of John Roger Fisher

 Evan H. Fisher, individually, as surviving
 child of John Roger Fisher

 Kyle Fisher, individually, as surviving
 child of John Roger Fisher

 Ryan P. Fisher, individually, as surviving
 child of John Roger Fisher

 Tina M. Fisher, individually, as surviving
 sibling of John Roger Fisher


                                              44
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 46 of 962




 Erin N. Siegel, individually, as surviving
 child of John Roger Fisher

 Kylie Eve Florio, individually, as surviving
 child of John J. Florio

 Michael J. Florio, individually, as
 surviving child of John J. Florio

 Shari Florio, individually, as surviving
 spouse of John J. Florio

 Shari Florio, as the Personal Representative
 of the Estate of John J. Florio, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of John J. Florio

 Brittany Fogel, individually, as surviving
 child of Stephen M. Fogel

 David Fogel, individually, as surviving
 sibling of Stephen M. Fogel

 Joseph Fogel, individually, as surviving
 child of Stephen M. Fogel

 David Fogel as Personal Representative of
 the Estate of Beth Fogel, deceased, the late
 parent of Stephen M. Fogel

 Karen Hamorsky, individually, as
 surviving sibling of Stephen M. Fogel

 Laurie Pater, individually, as surviving
 spouse of Stephen M. Fogel

 Laurie Pater, as the Personal
 Representative of the Estate of Stephen M.
 Fogel, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Stephen M. Fogel

 Elaine Cunnea, individually, as surviving
 sibling of Godwin Forde

 Charlene Carmen Forde, individually, as

                                                45
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 47 of 962




 surviving child of Godwin Forde

 Charlene Carmen Forde, as the co-Personal
 Representative of the Estate of Godwin
 Forde, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Godwin Forde

 Dorepha Forde, individually, as surviving
 parent of Godwin Forde

 Dorna Forde, individually, as surviving
 sibling of Godwin Forde

 Dorolyne Forde, individually, as surviving
 sibling of Godwin Forde

 Raymond Forde, individually, as surviving
 sibling of Godwin Forde

 Romel DaCosta Forde, individually, as
 surviving child of Godwin Forde

 Godwin Marlon Junior Forde, individually,
 as surviving child of Godwin Forde

 Myrna Thomas, individually, as surviving
 sibling of Godwin Forde

 Angela Alleyne, as the co-Personal
 Representative of the Estate of Godwin
 Forde, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Godwin Forde

 David Foreman, individually, as surviving
 sibling of Donald A. Foreman

 Marcus Foreman, individually, as surviving
 child of Donald A. Foreman

 Shirley Foreman, individually, as surviving
 parent of Donald A. Foreman

 Shirley Foreman, as the Personal
 Representative of the Estate of Donald A.

                                              46
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 48 of 962




 Foreman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Donald A. Foreman

 John Doe 117, as the Personal
 Representative of the Estate of Barbara E.
 Hill, deceased. the late parent of Sandra N.
 Foster

 Lawrence Hill, as the Personal
 Representative of the Estate of Sandra N.
 Foster, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Sandra N. Foster

 Lawrence Hill, individually, as surviving
 sibling of Sandra N. Foster

 Allison Fox-Breland, individually, as
 surviving child of Virginia E. Fox

 Allison Fox-Breland, as the Personal
 Representative of the Estate of Virgina E.
 Fox, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Virginia E. Fox

 Patrick T. Wynn, individually, as surviving
 child of Virginia E. Fox

 Raymond Durant, individually, as
 surviving child of Virgin (Lucy) Francis

 Joseph Francis, individually, as surviving
 child of Virgin (Lucy) Francis

 Joseph Francis, as the Personal
 Representative of the Estate of Virgin
 (Lucy) Francis, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Virgin
 (Lucy) Francis

 Peter Francis, individually, as surviving


                                              47
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 49 of 962




 child of Virgin (Lucy) Francis

 Troy Francis, individually, as surviving
 child of Virgin (Lucy) Francis

 Felicia Cappo, individually, as surviving
 sibling of Gary J. Frank

 Felicia Cappo and Laurie Vigeant, as co-
 Personal Representatives of the Estate of
 Ellen Vigeant, deceased, the late parent of
 Gary J. Frank

 John Doe 111, being intended to designate,
 as the Personal Representative of the Estate
 of Gary J. Frank, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Gary
 J. Frank

 Laurie Vigeant, individually, as surviving
 sibling of Gary J. Frank

 Daniel Frawley, individually, as surviving
 sibling of Kevin Frawley

 Theresa Frawley, individually, as surviving
 sibling of Kevin Frawley

 Theresa Frawley as Personal
 Representative of the Estate of Theresa M.
 Conklin, deceased, the late parent of Kevin
 Frawley

 Margaret Frawley-Gardini, individually, as
 surviving sibling of Kevin Frawley

 Frances McCarthy, individually, as
 surviving sibling of Kevin Frawley


                                               48
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 50 of 962




 Martin Fredericks, individually, as
 surviving sibling of Andrew Fredericks

 Allen Freeman, individually, as surviving
 parent of Tamitha Freeman

 Allen Freeman, as the co-Personal
 Representative of the Estate of Tamitha
 Freeman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Tamitha Freeman

 Carla Freeman, individually, as surviving
 sibling of Tamitha Freeman

 Juanita Freeman, individually, as surviving
 parent of Tamitha Freeman

 Xavier White, individually, as surviving
 child of Tamitha Freeman

 Michael Freiman, individually, as
 surviving sibling of Brett O. Freiman

 Bonnie Freiman a/k/a Bonnie Freiman-
 Magnes, individually, as surviving parent
 of Brett O. Freiman

 Pamela J. Freiman, individually, as
 surviving sibling of Brett O. Freiman

 Pamela J. Freiman, as the Personal
 Representative of the Estate of Brett O.
 Freiman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Brett
 O. Freiman

 Burt A. Lewis as Personal Representative
 of the Estate of Herbert Freiman, deceased,
 the late parent of Brett O. Freiman

 Audrey Ades, individually, as surviving
 spouse of Paul Friedman

 Audrey Ades, as the Personal
 Representative of the Estate of Paul

                                             49
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 51 of 962




 Friedman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Paul
 Friedman

 Richard Hyun-Soo Friedman Fox,
 individually, as surviving child of Paul
 Friedman

 Selma M. Friedman, individually, as
 surviving parent of Paul Friedman

 Amy Radin, individually, as surviving
 sibling of Paul Friedman

 John Doe 18, being intended to designate
 the Personal Representative of the Estate of
 Lisa Frost, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Lisa Frost

 Daniel Frost, individually, as surviving
 sibling of Lisa Frost

 Suzanne G. Adams, individually, as
 surviving sibling of Anthony E. Gallagher

 Carolyn Belford, individually, as surviving
 sibling of Anthony E. Gallagher

 Rose Costello, individually, as surviving
 parent of Anthony E. Gallagher

 John Doe 19 as Personal Representative of
 the Estate of Carrie A. Gallagher, deceased,
 the late spouse of Anthony E. Gallagher

 John Doe 68, being intended to designate
 the Personal Representative of the Estate of
 Anthony E. Gallagher, deceased, said name

                                               50
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 52 of 962




 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Anthony E. Gallagher

 Joseph Gallagher, individually, as
 surviving sibling of Anthony E. Gallagher

 Donna Struzzieri, individually, as surviving
 sibling of Bruce Gary

 Donna Struzzieri as Personal
 Representative of the Estate of Alice Gary,
 deceased, the late parent of Bruce Gary

 Christopher Geis, individually, as surviving
 sibling of Julie M. Geis

 James P. Geis, individually, as surviving
 sibling of Julie M. Geis

 Rebecca Loethen, individually, as
 surviving life partner of Julie M. Geis

 Rebecca Loethen, as the Personal
 Representative of the Estate of Julie M.
 Geis, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Julie
 M. Geis

 Carol Varland, individually, as surviving
 sibling of Julie M. Geis

 Michael Geis, individually, as surviving
 sibling of Julie M. Geis

 Janet Baronian, individually, as surviving
 sibling of Edward F. Geraghty

 Lynn Cannata, individually, as surviving

                                               51
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 53 of 962




 sibling of Edward F. Geraghty

 Colin Geraghty, individually, as surviving
 child of Edward F. Geraghty

 Colleen Geraghty, individually, as
 surviving sibling of Edward F. Geraghty

 Connor Geraghty, individually, as
 surviving child of Edward F. Geraghty

 James Geraghty, individually, as surviving
 child of Edward F. Geraghty

 Mary Geraghty, individually, as surviving
 spouse of Edward F. Geraghty

 Mary Geraghty, as the Personal
 Representative of the Estate of Edward F.
 Geraghty, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Edward F. Geraghty

 Maureen Geraghty, individually, as
 surviving sibling of Edward F. Geraghty

 Norma Geraghty, individually, as surviving
 parent of Edward F. Geraghty

 Stephen Geraghty, individually, as
 surviving sibling of Edward F. Geraghty

 Norma Geraghty as Personal
 Representative of the Estate of James F.
 Geraghty, deceased, the late parent of
 Edward F. Geraghty

 Debra Giordano, individually, as surviving
 sibling of Jeffrey J. Giordano

 Edward Goldstein, as the Personal
 Representative of the Estate of Michelle H.
 Goldstein, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michelle H. Goldstein


                                              52
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 54 of 962




 Annete Herman, individually, as surviving
 sibling of Michelle H. Goldstein

 Ingrid Jaffe, individually, as surviving
 parent of Michelle H. Goldstein

 Rafael Herman, individually, as surviving
 parent of Michelle H. Goldstein

 Tatiana R. Gomez, individually, as
 surviving spouse of Wilder A. Gomez

 BNY Mellon, as the Personal
 Representative of the Estate of Wilder A.
 Gomez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Wilder A. Gomez

 Tatiana S. Gomez, individually, as
 surviving child of Wilder A. Gomez

 Dawn Gonzalez, individually, as surviving
 sibling of Jenine Gonzalez

 Dawn Gonzalez, as the co-Personal
 Representative of the Estate of Jenine
 Gonzalez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jenine
 Gonzalez

 Corina Murillo, individually, as surviving
 parent of Mauricio Gonzalez

 Dora Murillo, individually, as surviving
 sibling of Mauricio Gonzalez

 Evan V. Vandommelen-Gonzalez, as the
 Personal Representative of the Estate of
 Mauricio Gonzalez, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Mauricio Gonzalez

 Brenda S. Goody, individually, as
 surviving spouse of Harry Goody


                                              53
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 55 of 962




 Brenda S. Goody, as the Personal
 Representative of the Estate of Harry
 Goody, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Harry
 Goody

 Jonathan Goody, individually, as surviving
 child of Harry Goody

 Alexis Goody-Harding, individually, as
 surviving child of Harry Goody

 Adilakshumma Gopu, individually, as
 surviving parent of Kiran Kumar Reddy
 Gopu

 Deepa R. Gopu, individually, as surviving
 sibling of Kiran Kumar Reddy Gopu

 Deepa R. Gopu, as the Personal
 Representative of the Estate of Kiran
 Kumar Reddy Gopu, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Kiran Kumar Reddy Gopu

 Venkata Subba Reddy Gopu, individually,
 as surviving parent of Kiran Kumar Reddy
 Gopu

 Carly Gordenstein, individually, as
 surviving child of Lisa F. Gordenstein

 David Gordenstein, individually, as
 surviving spouse of Lisa F. Gordenstein

 David Gordenstein, as the Personal
 Representative of the Estate of Lisa F.
 Gordenstein, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Lisa
 F. Gordenstein

 Samantha Gordenstein, individually, as
 surviving child of Lisa F. Gordenstein

 Dorothy Fenn Grodberg, individually, as

                                              54
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 56 of 962




 surviving parent of Lisa F. Gordenstein

 Deborah Fenn, individually, as surviving
 sibling of Lisa F. Gordenstein

 Erika Lutzner, individually, as surviving
 spouse of Jon R. Grabowski

 Erika Lutzner, as the Personal
 Representative of the Estate of Jon R.
 Grabowski, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jon R.
 Grabowski

 Kristen C. Graf, individually, as surviving
 child of Edwin J. Graf III

 Tyler W. Graf, individually, as surviving
 child of Edwin J. Graf, III

 Maureen Granados, individually, as
 surviving child of Gilbert Granados

 Teresa Granados, individually, as surviving
 spouse of Gilbert Granados

 Teresa Granados, as the Personal
 Representative of the Estate of Gilbert
 Granados, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Gilbert Granados

 Lawrence Gray, individually, as surviving
 spouse of Tara McCloud Gray

 Lawrence Gray, as the Personal
 Representative of the Estate of Tara
 McCloud Gray, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Tara
 McCloud Gray

 John Doe 22, being intended to designate
 the Personal Representative of the Estate of
 Andrew Peter Charles Curry Green,
 deceased, said name being fictitious,

                                               55
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 57 of 962




 her/his true name is not presently known,
 confirmed, and/or has not been duly
 appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Andrew Peter Charles Curry Green

 Matthew Green, individually, as surviving
 sibling of Andrew Peter Charles Curry
 Green

 Peter E. Green, individually, as surviving
 parent of Andrew Peter Charles Curry
 Green

 Kevin Anthony Green as Personal
 Representative of the Estate of Razelda
 Bailey-Green, deceased, the late parent of
 Derrick A. Green

 Melrose Morrison Green, individually, as
 surviving spouse of Derrick A. Green

 Melrose Morrison Green, as the Personal
 Representative of the Estate of Derrick A.
 Green, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Derrick A. Green

 Delroy Llewellyn, individually, as
 surviving sibling of Derrick A. Green

 Jennifer Green, individually, as surviving
 child of Wanda Green

 Jennifer Green, as the Personal
 Representative of the Estate of Wanda
 Green, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Wanda Green

 Joe Green, individually, as surviving child
                                               56
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 58 of 962




 of Wanda Green

 Sandra Jamerson, individually, as surviving
 sibling of Wanda Green

 Aserene Smith, individually, as surviving
 parent of Wanda Green

 Tommy Smith, individually, as surviving
 sibling of Wanda Green

 John Doe 23, being intended to designate
 the Personal Representative of the Estate of
 Denise Gregory, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Denise Gregory

 Lenworth Sewell, individually, as
 surviving sibling of Denise Gregory

 Evelyn Griffin, individually, as surviving
 parent of John M. Griffin

 John Griffin, individually, as surviving
 parent of John M. Griffin

 Julie Griffin, individually, as surviving
 child of John M. Griffin

 June Griffin, individually, as surviving
 spouse of John M. Griffin

 June Griffin, as the Personal
 Representative of the Estate of John M.
 Griffin, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 M. Griffin

 Michael T. Griffin, individually, as

                                              57
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 59 of 962




 surviving sibling of John M. Griffin

 Jenna Griffin, individually, as surviving
 child of John M. Griffin

 Nenita Grijalvo, individually, as surviving
 spouse of Ramon Grijalvo

 Nenita Grijalvo, as the Personal
 Representative of the Estate of Ramon
 Grijalvo, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Ramon Grijalvo

 Rachel Grijalvo, individually, as surviving
 child of Ramon Grijalvo

 Raymond Grijalvo, individually, as
 surviving child of Ramon Grijalvo

 Frances Grouzalis, individually, as
 surviving spouse of Kenneth Grouzalis

 Frances Grouzalis, as the Personal
 Representative of the Estate of Kenneth
 Grouzalis, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Kenneth Grouzalis

 Lisa Grouzalis, individually, as surviving
 child of Kenneth Grouzalis

 Myrta Gschaar, individually, as surviving
 spouse of Robert Gschaar

 Myrta Gschaar, as the Personal
 Representative of the Estate of Robert
 Gschaar, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert Gschaar

 Genevieve Gyulavary, individually, as
 surviving child of Peter Gyulavary

 Jane Gyulavary, individually, as surviving

                                               58
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 60 of 962




 spouse of Peter Gyulavary

 Jane Gyulavary, as the Personal
 Representative of the Estate of Peter
 Gyulavary, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Peter
 Gyulavary

 Paul Gyulavary, individually, as surviving
 sibling of Peter Gyulavary

 Bebe Hafiz, individually, as surviving
 parent of Nezam Hafiz

 Sharon Hafiz, individually, as surviving
 sibling of Nezam Hafiz

 Bebe Hafiz as Personal Representative of
 the Estate of Cecil Mohammed Ishmael
 Hafiz, deceased, the late parent of Nezam
 Hafiz

 Deborah Khublall, individually, as
 surviving sibling of Nezam Hafiz

 Deborah Khublall, as the Personal
 Representative of the Estate of Nezam
 Hafiz, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Nezam Hafiz

 Gary McKinzy, individually, as surviving
 spouse of Diane Hale-McKinzy

 Gary McKinzy, as the Personal
 Representative of the Estate of Diane Hale-
 McKinzy, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Diane
 Hale-McKinzy

 Douglas W. Hall, individually, as surviving
 sibling of Richard Hall

 Shawn C. Hall, individually, as surviving


                                              59
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 61 of 962




 child of Richard Hall

 Douglas Hall as Personal Representative of
 the Estate of Herman W. Hall , deceased,
 the late parent of Richard Hall

 Douglas Hall as Personal Representative of
 the Estate of Ruth Hall, deceased, the late
 parent of Richard Hall

 Alisha Halmon, individually, as surviving
 child of Carolyn Halmon

 Herman Halmon, individually, as surviving
 spouse of Carolyn Halmon

 Herman Halmon, as the Personal
 Representative of the Estate of Carolyn
 Halmon, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Carolyn Halmon

 Standish Halmon, individually, as
 surviving child of Carolyn Halmon

 Talat Hamdani, individually, as surviving
 parent of Mohammad S. Hamdani

 Zeshan Hamdani, individually, as surviving
 sibling of Mohammad S. Hamdani

 Talat Hamdani, as the Personal
 Representative of the Estate of Mohammad
 S. Hamdani, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Mohammad S. Hamdani

 Talat Hamdani as Personal Representative
 of the Estate of Mohammad Saleem
 Hamdani, deceased, the late parent of
 Mohammad S. Hamdani

 Mohammad Hamdani, individually, as
 surviving sibling of Mohammad S.
 Hamdani


                                             60
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 62 of 962




 John Doe 24, being intended to designate
 the Personal Representative of the Estate of
 Melissa M. Harrington-Hughes, deceased,
 said name being fictitious, her/his true
 name is not presently known, confirmed,
 and/or has not been duly appointed by a
 court of competent jurisdiction (or having
 been so appointed, his or her appointment
 has expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Melissa M. Harrington-Hughes

 Beverly Harrington, individually, as
 surviving parent of Melissa M. Harrington-
 Hughes

 Robert J. Harrington, individually, as
 surviving parent of Melissa M. Harrington-
 Hughes

 Dawn Haskell Carbone, individually, as
 surviving sibling of Thomas Haskell

 John Doe 25 as Personal Representative of
 the Estate of Timothy Haskell, deceased,
 the late sibling of Thomas Haskell

 Barbara Haskell, individually, as surviving
 spouse of Thomas Haskell

 Barbara Haskell, as the Personal
 Representative of the Estate of Thomas
 Haskell, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Thomas Haskell

 Erin Haskell, individually, as surviving
 child of Thomas Haskell

 Maureen Haskell, individually, as
 surviving parent of Thomas Haskell

 Meaghan Haskell, individually, as


                                               61
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 63 of 962




 surviving child of Thomas Haskell

 Tara Haskell, individually, as surviving
 child of Thomas Haskell

 Kevin Haskell, individually, as surviving
 sibling of Thomas Haskell

 Dawn H. Carbone, individually, as
 surviving sibling of Timothy Haskell

 John Doe 26, being intended to designate
 the Personal Representative of the Estate of
 Timothy Haskell, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Timothy Haskell

 Kevin Haskell, individually, as surviving
 sibling of Timothy Haskell

 Maureen Haskell, individually, as
 surviving parent of Timothy Haskell

 Barbara Haskell as Personal Representative
 of the Estate of Thomas Haskell, deceased,
 the late sibling of Timothy Haskell

 Melissa J. Bernstein, individually, as
 surviving child of Roberta B. Heber

 Stuart Bernstein, individually, as surviving
 child of Roberta B. Heber

 Robyn Bernstein Donati, individually, as
 surviving child of Roberta B. Heber

 Jacob Heber, individually, as surviving
 spouse of Roberta B. Heber


                                                62
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 64 of 962




 Melissa J. Bernstein, as the Co-Personal
 Representative of the Estate of Roberta B.
 Heber, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Roberta B. Heber

 Marinella Hemenway, as the Personal
 Representative of the Estate of Ronald J.
 Hemenway, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Ronald J. Hemenway

 Desiree Hemenway, individually, as
 surviving child of Ronald J. Hemenway

 Marinella Hemenway, individually, as
 surviving spouse of Ronald J. Hemenway

 Robert B. Hemenway Jr., individually, as
 surviving sibling of Ronald J. Hemenway

 Robert B. Hemenway Sr., individually, as
 surviving parent of Ronald J. Hemenway

 Shirley Hemenway, individually, as
 surviving parent of Ronald J. Hemenway

 Stefan Hemenway, individually, as
 surviving child of Ronald J. Hemenway

 Kathleen Novich, individually, as surviving
 sibling of Ronald J. Hemenway

 Bernice Dawn Dillard, individually, as
 surviving sibling of Ronnie Henderson

 Valestine Henderson, individually, as
 surviving sibling of Ronnie Henderson

 Tara Butzbaugh, individually, as surviving
 sibling of John Christopher Henwood

 Catherine M. Eklund, individually, as
 surviving sibling of John Christopher
 Henwood


                                              63
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 65 of 962




 David D. Henwood III, individually, as
 surviving sibling of John Christopher
 Henwood

 David Henwood III as the Personal
 Representative of the Estate of David D.
 Henwood Jr., deceased, the late parent of
 John Christopher Henwood

 Mary C. Henwood, individually, as
 surviving parent of John Christopher
 Henwood

 Mary L. Henwood, individually, as
 surviving sibling of John Christopher
 Henwood

 Pamela Dixon, individually, as surviving
 parent of DaJuan Hodges

 Sherard Dixon, individually, as surviving
 sibling of DaJuan Hodges

 Jamielah Persol, as the Personal
 Representative of the Estate of DaJuan
 Hodges, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 DaJuan Hodges

 Jatair Persol, individually, as surviving
 child of DaJuan Hodges

 Kenneth Alan Davidson as Personal
 Representative of the Estate of David
 Cannella, deceased, the late child of Judith
 Hofmiller

 Robert Hofmiller, individually, as
 surviving sibling of Judith Hofmiller

 Robert Hofmiller as Personal
 Representative of the Estate of Emma
 Graves, deceased, the late parent of Judith
 Hofmiller

 Kelly Marchese as Personal Representative
 of the Estate of William J. Houston,

                                                64
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 66 of 962




 deceased, the late sibling of Charles J.
 Houston

 Francis X. Houston, individually, as
 surviving sibling of Charles J. Houston

 Joan M. Houston, individually, as
 surviving sibling of Charles J. Houston

 Linda Houston, individually, as surviving
 spouse of Charles J. Houston

 Linda Houston, as the Personal
 Representative of the Estate of Charles J.
 Houston, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Charles J. Houston

 Joan M. Houston as Personal
 Representative of the Estate of Joan
 McQuillen, deceased, the late parent of
 Charles J. Houston

 Brian Howley, individually, as surviving
 spouse of Jennifer L. Howley

 Brian Howley, as the Personal
 Representative of the Estate of Jennifer L.
 Howley, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Jennifer L. Howley

 Gerald Hrycak, individually, as surviving
 sibling of Marian R. Hrycak

 Joanne Hrycak, individually, as surviving
 spouse of Marian R. Hrycak

 Joanne Hrycak, as the Personal
 Representative of the Estate of Marian R.
 Hrycak, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Marian R. Hrycak

 Christine Buividas, individually, as

                                               65
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 67 of 962




 surviving child of Marian R. Hrycak

 Gregory Hrycak, individually, as surviving
 child of Marian R. Hrycak

 Trina Sabb, individually, as surviving
 sibling of Lamar D. Hulse

 Harold Singleton, individually, as
 surviving sibling of Lamar D. Hulse

 Linda Hulse, individually, as surviving
 parent of Lamar D. Hulse

 Linda Hulse, as the Personal
 Representative of the Estate of Lamar D.
 Hulse, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Lamar
 D. Hulse

 Brenda Garrett as Personal Representative
 of the Estate of Dorothy Lee Coles,
 deceased, the late parent of Peggie Hurt

 Arthur Harris, individually, as surviving
 parent of Peggie Hurt

 Arthur Harris, as the Personal
 Representative of the Estate of Peggie
 Hurt, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Peggie Hurt

 Edith Otelia Harris, individually, as
 surviving close, immediate family member
 of Peggie Hurt

 Margaret Ann Williams, individually, as
 surviving close, immediate family member
 of Peggie Hurt

 Christine Sandra Wilson, individually, as
 surviving close, immediate family member
 of Peggie Hurt

 Carlene Wynn as Personal Representative

                                              66
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 68 of 962




 of the Estate of Lelia Mae Wynn, deceased,
 the late close, immediate family member of
 Peggie Hurt

 Katherine Wynn, individually, as surviving
 close, immediate family member of Peggie
 Hurt

 Ben Huttler, individually, as surviving
 child of Joseph S. Huttler

 Frida Huttler, individually, as surviving
 child of Joseph S. Huttler

 Gideon Huttler, individually, as surviving
 child of Joseph S. Huttler

 Miriam Zehava Huttler, individually, as
 surviving spouse of Joseph S. Huttler

 Miriam Zehava Huttler, as the Personal
 Representative of the Estate of Joseph S.
 Huttler, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joseph S. Huttler

 Patricia Catherine Hardy, individually, as
 surviving sibling of Stephen N. Hyland

 Charles Hyland, individually, as surviving
 sibling of Stephen N. Hyland

 Stephen Hyland, individually, as surviving
 parent of Stephen N. Hyland

 Stephen Hyland, as the Personal
 Representative of the Estate of Stephen N.
 Hyland, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Stephen N. Hyland

 Cheryl Hyland, individually, as surviving
 sibling of Stephen N. Hyland

 Rachel James, individually, as surviving


                                              67
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 69 of 962




 sibling of Ernest James

 Rachel James, as the Personal
 Representative of the Estate of Ernest
 James, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Ernest
 James

 Rachel James as Personal Representative of
 the Estate of Esther James, deceased, the
 late parent of Ernest James

 Michael James Beckford, individually, as
 surviving spouse of Gricelda E. James

 Michael James Beckford, as the Personal
 Representative of the Estate of Gricelda E.
 James, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Gricelda E. James

 Madlene Brown, individually, as surviving
 sibling of Gricelda E. James

 Jacobo Castro, individually, as surviving
 child of Gricelda E. James

 Darril Garo, individually, as surviving
 sibling of Gricelda E. James

 Obed Garo, individually, as surviving
 sibling of Gricelda E. James

 Jairo Castro, individually, as surviving
 child of Gricelda E. James

 Michael Zinkofsky, individually, as
 surviving spouse of Maxima Jean-Pierre

 Michael Zinkofsky, as the Personal
 Representative of the Estate of Maxima
 Jean-Pierre, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Maxima Jean-Pierre


                                               68
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 70 of 962




 Natalie Jeffries, individually, as surviving
 sibling of Alva Cynthia Jeffries-Sanchez

 Ryan Rogers, individually, as surviving
 child of Alva Cynthia Jeffries-Sanchez

 Ryan Rogers, as the Personal
 Representative of the Estate of Alva
 Cynthia Jeffries-Sanchez, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Alva Cynthia Jeffries-Sanchez

 John Doe 29, being intended to designate
 the Personal Representative of the Estate of
 John C. Jenkins, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of John C. Jenkins

 John Doe 30 as Personal Representative of
 the Estate of Florence Detherage, deceased,
 the late parent of John C. Jenkins

 Jeffrey Jenkins, individually, as surviving
 sibling of John C. Jenkins

 Alexander Jimenez, individually, as
 surviving sibling of Eliezer Jimenez Jr.

 John Doe 123, as Personal Representative
 of the Estate of Eliezer S. Jimenez Sr.,
 deceased, the late parent of Eliezer Jimenez
 Jr.

 Elizabeth Jimenez, individually, as
 surviving sibling of Eliezer Jimenez Jr.

 Erick Jimenez, individually, as surviving
 sibling of Eliezer Jimenez Jr.


                                                69
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 71 of 962




 Genesis Belinda Jimenez, individually, as
 surviving child of Eliezer Jimenez Jr.

 Jonathan Jimenez, individually, as
 surviving child of Eliezer Jimenez Jr.

 Melissa Jimenez, individually, as surviving
 child of Eliezer Jimenez Jr.

 Rosa Jimenez, individually, as surviving
 spouse of Eliezer Jimenez Jr.

 Rosa Jimenez, as the Personal
 Representative of the Estate of Eliezer
 Jimenez Jr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Eliezer Jimenez , Jr.

 Anthony Salas, individually, as surviving
 child of Eliezer Jimenez Jr.

 Zamani Davis, individually, as surviving
 sibling of Charles G. John

 John Doe 32, being intended to designate
 the Personal Representative of the Estate of
 Charles G. John, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Charles G. John

 Cleveland B. John, individually, as
 surviving sibling of Charles G. John

 Orwyn John, individually, as surviving
 sibling of Charles G. John

 Veronica John, individually, as surviving
 parent of Charles G. John


                                               70
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 72 of 962




 Royston Roach, individually, as surviving
 sibling of Charles G. John

 Charlene Cumberbatch, individually, as
 surviving sibling of Charles G. John

 Gary Jones, individually, as surviving
 sibling of Brian L. Jones

 Leander Jones, individually, as surviving
 parent of Brian L. Jones

 Leander Jones, as the Personal
 Representative of the Estate of Brian L.
 Jones, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Brian
 L. Jones

 Patricia Jones, individually, as surviving
 parent of Brian L. Jones

 Teri Marshall, individually, as surviving
 sibling of Brian L. Jones

 June Jurgens a/k/a June Drescher,
 individually, as surviving child of Paul W.
 Jurgens

 Lindsay Jurgens, individually, as surviving
 child of Paul W. Jurgens

 Maria Jurgens, individually, as surviving
 spouse of Paul W. Jurgens

 Maria Jurgens, as the Personal
 Representative of the Estate of Paul W.
 Jurgens, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Paul
 W. Jurgens

 Paul Jurgens, individually, as surviving
 child of Paul W. Jurgens

 Bakhtiyar Kamardinov, individually, as
 surviving sibling of Gavkharoy


                                               71
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 73 of 962




 Kamardinova

 Farida Kamardinova, individually, as
 surviving parent of Gavkharoy
 Kamardinova

 Fotima Kamardinova, individually, as
 surviving sibling of Gavkharoy
 Kamardinova

 Mukhamet Kamardinov, individually, as
 surviving parent of Gavkharoy
 Kamardinova

 Zahro Kamardinova a/k/a Zakhro
 Kamardinova , individually, as surviving
 sibling of Gavkharoy Kamardinova

 Zahro Kamardinova a/k/a Zakhro
 Kamardinova , as the Personal
 Representative of the Estate of Gavkharoy
 Kamardinova, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Gavkharoy Kamardinova

 Zukhra Koragoz, individually, as surviving
 sibling of Gavkharoy Kamardinova

 Faye Kane, individually, as surviving
 parent of Jennifer L. Kane

 George Kane, individually, as surviving
 parent of Jennifer L. Kane

 George Kane, as the Personal
 Representative of the Estate of Jennifer L.
 Kane, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Jennifer L. Kane

 Timothy Kane, individually, as surviving
 sibling of Jennifer L. Kane

 Matthew Kane, individually, as surviving
 sibling of Jennifer L. Kane


                                               72
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 74 of 962




 Craig Griffin, individually, as surviving
 spouse of Lisa Kearney-Griffin

 Craig Griffin, as the Personal
 Representative of the Estate of Lisa
 Kearney-Griffin, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of Lisa
 Kearney-Griffin

 Lorraine Griffin, individually, as surviving
 child of Lisa Kearney-Griffin

 Maurice Corbett Kearney, individually, as
 surviving sibling of Lisa Kearney-Griffin

 McKinley Kearney, individually, as
 surviving parent of Lisa Kearney-Griffin

 Brityne Sprauve, individually, as surviving
 child of Lisa Kearney-Griffin

 Christine Keating, individually, as
 surviving sibling of Paul Hanlon Keating

 Cornelius H. Keating, individually, as
 surviving sibling of Paul Hanlon Keating

 Cornelius J. Keating, individually, as
 surviving parent of Paul Hanlon Keating

 Cornelius J. Keating, as the Personal
 Representative of the Estate of Paul Hanlon
 Keating, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Paul
 Hanlon Keating

 Jeanne Keating, individually, as surviving
 sibling of Paul Hanlon Keating

 Jeffrey Keating, individually, as surviving
 sibling of Paul Hanlon Keating

 Cornelius J. Keating as Personal
 Representative of the Estate of Muriel
 Keating, deceased, the late parent of Paul


                                                73
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 75 of 962




 Hanlon Keating

 Kathleen A. Matthews, individually, as
 surviving sibling of Paul Hanlon Keating

 Belinda Bennett a/k/a Belinda Carter,
 individually, as surviving child of Brenda
 Kegler

 Andre Hunter, individually, as surviving
 sibling of Brenda Kegler

 Robert Lee Hunter, individually, as
 surviving sibling of Brenda Kegler

 Simara Warren, individually, as surviving
 child of Brenda Kegler

 Simara Warren, as the Personal
 Representative of the Estate of Brenda
 Kegler, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Brenda Kegler

 Bing Kegler, individually, as surviving
 spouse of Brenda Kegler

 David Royal, individually, as surviving
 sibling of Brenda Kegler

 Anne K. Blauvelt, individually, as
 surviving spouse of Thomas M. Kelly

 Anne K. Blauvelt, as the Personal
 Representative of the Estate of Thomas M.
 Kelly, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Thomas M. Kelly

 Kathleen Kelly, individually, as surviving
 spouse of Thomas W. Kelly

 Kathleen Kelly, as the Personal
 Representative of the Estate of Thomas W.
 Kelly, deceased, and on behalf of all
 survivors and all legally entitled

                                              74
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 76 of 962




 beneficiaries and family members of
 Thomas W. Kelly

 Thomas Kelly, individually, as surviving
 child of Thomas W. Kelly

 Francis Kelly, individually, as surviving
 child of Thomas W. Kelly

 Allison Garger, individually, as surviving
 spouse of Thomas Kennedy

 Allison Garger, as the Personal
 Representative of the Estate of Thomas
 Kennedy, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Thomas Kennedy

 Brian Kennedy, individually, as surviving
 sibling of Thomas Kennedy

 Brian Kennedy, as Personal Representative
 of the Estate of Eileen Kennedy, deceased,
 the late parent of Thomas Kennedy

 James Kennedy, individually, as surviving
 child of Thomas Kennedy

 Michael Kennedy, individually, as
 surviving child of Thomas Kennedy

 Robert Kennedy, individually, as surviving
 sibling of Thomas Kennedy

 Brian Kennedy, as Personal Representative
 of the Estate of William Kennedy,
 deceased, the late parent of Thomas
 Kennedy

 Elizabeth Khalif, individually, as surviving
 parent of Boris Khalif

 Lev Khalif, individually, as surviving
 parent of Boris Khalif

 Dara Berliner, individually, as surviving


                                              75
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 77 of 962




 sibling of Mary Jo Kimelman

 Michael G. Kimelman, individually, as
 surviving parent of Mary Jo Kimelman

 Michael G. Kimelman, as the co-Personal
 Representative of the Estate of Mary Jo
 Kimelman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Mary
 Jo Kimelman

 Michael P. Kimelman, individually, as
 surviving sibling of Mary Jo Kimelman

 Scott Kimelman, individually, as surviving
 sibling of Mary Jo Kimelman

 Terre Susan Wallach, individually, as
 surviving parent of Mary Jo Kimelman

 Terre Susan Wallach, as the co-Personal
 Representative of the Estate of Mary Jo
 Kimelman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Mary
 Jo Kimelman

 Kathryn "Kay" D'Amico, individually, as
 surviving sibling of Karen Kincaid

 John Doe 33, being intended to designate
 the Personal Representative of the Estate of
 Karen Kincaid, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Karen Kincaid

 Kristian G. Kincaid, individually, as
 surviving sibling of Karen Kincaid


                                              76
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 78 of 962




 Karyl Kincaid-Noel, individually, as
 surviving sibling of Karen Kincaid

 Kellie Work, individually, as surviving
 sibling of Amy R. King

 Susan M. King, individually, as surviving
 parent of Amy R. King

 Raymond Murray, as Personal
 Representative of the Estate of Richard
 King, deceased, the late spouse of Lucille
 T. King

 Robert Murray, as the co-Personal
 Representative of the Estate of Lucille T.
 King, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Lucille T. King

 Raymond Murray, as the co-Personal
 Representative of the Estate of Lucille T.
 King, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Lucille T. King

 Karen Barrett, as the co-Personal
 Representative of the Estate of Lucille T.
 King, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Lucille T. King

 Hans A. Klein, individually, as surviving
 parent of Peter A. Klein

 Dawn Kloepfer, as the Personal
 Representative of the Estate of Ronald
 Philip Kloepfer, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Ronald Philip Kloepfer

 Jill Graziano, individually, as surviving
 sibling of Ronald Philip Kloepfer


                                              77
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 79 of 962




 Christopher Kloepfer, individually, as
 surviving sibling of Ronald Philip Kloepfer

 Janet C. Kloepfer, individually, as
 surviving parent of Ronald Philip Kloepfer

 Michael Kloepfer, individually, as
 surviving sibling of Ronald Philip Kloepfer

 Robert Kloepfer Jr., individually, as
 surviving sibling of Ronald Philip Kloepfer

 Kim McKenna, individually, as surviving
 sibling of Ronald Philip Kloepfer

 John Koecheler, individually, as surviving
 child of Gary E. Koecheler

 Mary Jo Koecheler, individually, as
 surviving sibling of Gary E. Koecheler

 Maureen Koecheler, individually, as
 surviving spouse of Gary E. Koecheler

 Maureen Koecheler, as the Personal
 Representative of the Estate of Gary E.
 Koecheler, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Gary
 E. Koecheler

 Paul Koecheler, individually, as surviving
 child of Gary E. Koecheler

 Judy Schneider, individually, as surviving
 sibling of Gary E. Koecheler

 Gene Koecheler, individually, as surviving
 sibling of Gary E. Koecheler

 Thomas Kuras, individually, as surviving
 sibling of Patricia A. Kuras

 Thomas Kuras, as the Personal
 Representative of the Estate of Patricia A.
 Kuras, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of

                                               78
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 80 of 962




 Patricia A. Kuras

 Michael B. Kuras, individually, as
 surviving sibling of Patricia A. Kuras

 Thomas Kuras as Personal Representative
 of the Estate of Frances Kuras, deceased,
 the late parent of Patricia A. Kuras

 Morgan Kyte, individually, as surviving
 child of Angela R. Kyte

 Roger Kyte, individually, as surviving
 spouse of Angela R. Kyte

 Roger Kyte, as the Personal Representative
 of the Estate of Angela R. Kyte, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Angela R. Kyte

 Jem A. Howard, individually, as surviving
 child of Alan LaFrance

 Jody C. Howard, individually, as surviving
 child of Alan LaFrance

 Andre LaFrance, individually, as surviving
 sibling of Alan LaFrance

 Carolyn LaFrance, individually, as
 surviving sibling of Alan LaFrance

 Steven LaFrance, individually, as surviving
 sibling of Alan LaFrance

 Annmarie Williams, individually, as
 surviving sibling of Alan LaFrance

 John Doe 35, being intended to designate
 the Personal Representative of the Estate of
 William D. Lake, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to

                                              79
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 81 of 962




 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 William D. Lake

 Kyler Lake, individually, as surviving child
 of William D. Lake

 Jeanne Kavinski, individually, as surviving
 sibling of Carol A. LaPlante

 Jeanne Kavinski, as the Personal
 Representative of the Estate of Carol A.
 LaPlante, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Carol
 A. LaPlante

 Marilyn Matthews, individually, as
 surviving sibling of Carol A. LaPlante

 Catherine Lauria, individually, as surviving
 sibling of Stephen J. Lauria

 Catherine Lauria as Personal
 Representative of the Estate of Antoinette
 Lauria, deceased, the late parent of Stephen
 J. Lauria

 Catherine Lauria as Personal
 Representative of the Estate of Stephen J.
 Lauria, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Stephen J. Lauria

 Pamela Lawson Dixon, individually, as
 surviving child of Nathaniel Lawson

 Pamela Lawson Dixon, as the Personal
 Representative of the Estate of Nathaniel
 Lawson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Nathaniel Lawson

 Betty Moore-Gooding, individually, as

                                               80
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 82 of 962




 surviving sibling of Nathaniel Lawson

 Evelyn Robinson, individually, as
 surviving sibling of Nathaniel Lawson

 Mary Ann Ledee, as the Personal
 Representative of the Estate of Kenneth
 Charles Ledee, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Kenneth Charles Ledee

 Anna Ledee, individually, as surviving
 parent of Kenneth Charles Ledee

 Olivia Ledee Lindsey, individually, as
 surviving child of Kenneth Charles Ledee

 Alexica Leduc, individually, as surviving
 child of Alexis Leduc

 Alexis John Leduc, individually, as
 surviving child of Alexis Leduc

 Elvis Leduc, individually, as surviving
 child of Alexis Leduc

 Jessica Leduc, individually, as surviving
 child of Alexis Leduc

 Cindy Leduc-Sanchez, individually, as
 surviving child of Alexis Leduc

 Katherine Lenoir, individually, as
 surviving sibling of John R. Lenoir

 Patricia Lenoir, individually, as surviving
 parent of John R. Lenoir

 Patrick Lenoir, individually, as surviving
 sibling of John R. Lenoir

 Patrick Lenoir as Personal Representative
 of the Estate of John A. Lenoir, deceased,
 the late parent of John R. Lenoir

 Elaine Farrally-Plourde, individually, as


                                               81
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 83 of 962




 surviving child of Charles A. Lesperance

 Elaine Farrally-Plourde, as the co-Personal
 Representative of the Estate of Charles A.
 Lesperance, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Charles A. Lesperance

 Leslie K. Lesperance, individually, as
 surviving child of Charles A. Lesperance

 Leslie K. Lesperance, as the co-Personal
 Representative of the Estate of Charles A.
 Lesperance, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Charles A. Lesperance

 Nilaja A. Shealy-Loveless, individually, as
 surviving child of Charles A. Lesperance

 Audrey Levin, individually, as surviving
 parent of Alisha C. Levin

 Marvin Levin, individually, as surviving
 parent of Alisha C. Levin

 Mindy Gottenberg, individually, as
 surviving sibling of Alisha C. Levin

 Mindy Gottenberg, as the Personal
 Representative of the Estate of Alisha C.
 Levin, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Alisha
 C. Levin

 John E. Allen Jr. , individually, as
 surviving child of Samantha Lightbourn-
 Allen

 Rennea Butler, individually, as surviving
 sibling of Samantha Lightbourn-Allen

 Raymond Lightbourn, individually, as
 surviving sibling of Samantha Lightbourn-


                                               82
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 84 of 962




 Allen

 Rebecca Lightbourn, individually, as
 surviving parent of Samantha Lightbourn-
 Allen

 Rebecca Lightbourn, as the Personal
 Representative of the Estate of Samantha
 Lightbourn-Allen, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of
 Samantha Lightbourn-Allen

 Rebecca Lightbourn as Personal
 Representative of the Estate of Raymond
 Lightbourn, Sr., deceased, the late parent of
 Samantha Lightbourn-Allen

 Olga Colon, individually, as surviving
 sibling of Carlos R. Lillo

 Iliana E. Flores, individually, as surviving
 sibling of Carlos R. Lillo

 Julio C. Lillo, individually, as surviving
 sibling of Carlos R. Lillo

 Alexander Lopez, individually, as
 surviving sibling of Carlos R. Lillo

 Ilia E. Rodriguez, individually, as
 surviving parent of Carlos R. Lillo

 Ilia E. Rodriguez as Personal
 Representative of the Estate of Julio Cesar
 Lillo Torres, deceased, the late parent of
 Carlos R. Lillo

 Nahid Mashayekhi Lin, individually, as
 surviving parent of Darya Lin

 Berdie Hicks, individually, as surviving
 parent of Nickie Lindo

 Walter Hicks, individually, as surviving
 sibling of Nickie Lindo

 Vincent Linnane, individually, as surviving

                                                83
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 85 of 962




 sibling of Robert T. Linnane

 Vincent Linnane, as the Personal
 Representative of the Estate of Robert T.
 Linnane, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert T. Linnane

 Matthew J. Liz-Ramirez, as the Personal
 Representative of the Estate of Nancy Liz,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Nancy Liz

 Jose Liz, individually, as surviving sibling
 of Nancy Liz

 Jose Domingo Liz as Personal
 Representative of the Estate of Jose Liz,
 Sr., deceased, the late parent of Nancy Liz

 Matthew J. Liz-Ramirez, individually, as
 surviving child of Nancy Liz

 Elisa P. Malani, as the Personal
 Representative of the Estate of Michael
 Lomax, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael Lomax

 Elisa P. Malani as Personal Representative
 of the Estate of Erica Partosoedarso,
 deceased, the late spouse of Michael
 Lomax

 Alexandra Lopes, individually, as
 surviving child of Salvatore Lopes

 Bernard Lopes, individually, as surviving
 sibling of Salvatore Lopes

 Lorraine Lopes, individually, as surviving
 spouse of Salvatore Lopes

 Lorraine Lopes, as the Personal
 Representative of the Estate of Salvatore

                                                84
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 86 of 962




 Lopes, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Salvatore Lopes

 Nicole Lopes, individually, as surviving
 child of Salvatore Lopes

 Antoinette Solowsky, individually, as
 surviving sibling of Salvatore Lopes

 Michael Lopez Feliciano, individually, as
 surviving child of George Lopez

 Sophia W. M. Feliciano, individually, as
 surviving spouse of George Lopez

 Sophia W. M. Feliciano, as the Personal
 Representative of the Estate of George
 Lopez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 George Lopez

 Carolyn DeRosier, individually, as
 surviving sibling of James T. Lynch

 Judith M. Hesse, individually, as surviving
 sibling of James T. Lynch

 Judith M. Hesse as Personal Representative
 of the Estate of Michael B. Lynch ,
 deceased, the late sibling of James T.
 Lynch

 Brenda Lynch, individually, as surviving
 spouse of James T. Lynch

 Brenda Lynch, as the Personal
 Representative of the Estate of James T.
 Lynch, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of James
 T. Lynch

 Paul Thomas Lynch, individually, as
 surviving child of James T. Lynch


                                               85
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 87 of 962




 Maureen MacDonald, individually, as
 surviving sibling of James T. Lynch

 Kathleen E. Zetscher, individually, as
 surviving sibling of James T. Lynch

 Rodney Bush, individually, as surviving
 sibling of Nehamon Lyons

 Corey Hawkins, individually, as surviving
 sibling of Nehamon Lyons

 Christian Lyons, individually, as surviving
 sibling of Nehamon Lyons

 John Doe 108, as Personal Representative
 of the Estate of Jewel Lyons, deceased, the
 late parent of Nehamon Lyons

 John Doe 102, being intended to designate
 the Estate of Nehamon Lyons, deceased,
 said name being fictitious, her/his true
 name is not presently known, confirmed,
 and/or has not been duly appointed by a
 court of competent jurisdiction (or having
 been so appointed, his or her appointment
 has expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Nehamon LyonsMarquis Lyons,
 individually, as surviving sibling of
 Nehamon Lyons

 Andrew Magazine, individually, as
 surviving child of Jay R. Magazine

 Michele Magazine, individually, as
 surviving sibling of Jay R. Magazine

 Susan Lori Magazine, individually, as
 surviving spouse of Jay R. Magazine

 Susan Lori Magazine, as the Personal
 Representative of the Estate of Jay R.
 Magazine, deceased, and on behalf of all
 survivors and all legally entitled

                                               86
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 88 of 962




 beneficiaries and family members of Jay R.
 Magazine

 Janet Wexler Magee, individually, as
 surviving spouse of Charles W. Magee

 Janet Wexler Magee, as the Personal
 Representative of the Estate of Charles W.
 Magee, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Charles W. Magee

 Ali Mohamed Malahi, individually, as
 surviving parent of Abdu Ali Malahi

 Ali Mohamed Malahi, as the Personal
 Representative of the Estate of Abdu Ali
 Malahi, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Abdu
 Ali Malahi

 Malek Malahi, individually, as surviving
 child of Abdu Ali Malahi

 Nabeela Malahi, individually, as surviving
 spouse of Abdu Ali Malahi

 Fares Malahi, individually, as surviving
 child of Abdu Ali Malahi

 Miriam R. Carrasquillo, individually, as
 surviving sibling of Debora I. Maldonado

 Elvia Diaz, individually, as surviving
 parent of Debora I. Maldonado

 Leslie Edwards, individually, as surviving
 sibling of Debora I. Maldonado

 Jarid Maldonado, individually, as surviving
 child of Myrna Maldonado-Agosto

 Jordan Maldonado, individually, as
 surviving child of Myrna Maldonado-
 Agosto


                                              87
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 89 of 962




 Frances Mercado, individually, as
 surviving sibling of Myrna Maldonado-
 Agosto

 April Fitzgerald as Personal Representative
 of the Estate of Merlyn Maloy, deceased,
 the late parent of Gene Maloy

 Gene Maloy, individually, as surviving
 parent of Gene Maloy

 April Fitzgerald, individually, as surviving
 sibling of Gene Maloy

 Margaret Randazzo-Maloy, as the Personal
 Representative of the Estate of Gene
 Maloy, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Gene
 Maloy

 Anthony Mancini, individually, as
 surviving sibling of Francisco M. Mancini
 a/k/a Frank Mancini

 Anastasia Mancini a/k/a Anastasia
 Zouvelos, individually, as surviving spouse
 of Francisco M. Mancini a/k/a Frank
 Mancini

 Anastasia Mancini a/k/a Anastasia
 Zouvelos, as the Personal Representative of
 the Estate of Francisco Mancini (a/k/a
 Frank Mancini), deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Francisco M. Mancini a/k/a Frank Mancini

 Sophia Mancini, individually, as surviving
 child of Francisco M. Mancini a/k/a Frank
 Mancini

 Anthony Mancini as the Personal
 Representative of the Estate of Lea Sola
 (a/k/a Lea Mancini), deceased, the late
 parent of Francisco M. Mancini a/k/a Frank
 Mancini


                                                88
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 90 of 962




 Laura aka Laura E. Mardovich Balemian,
 individually, as surviving spouse of
 Edward J. Mardovich

 Victoria Catanese, individually, as
 surviving child of Edward J. Mardovich

 Edward J. Mardovich III, individually, as
 surviving child of Edward J. Mardovich

 Joseph Mardovich, individually, as
 surviving child of Edward J. Mardovich

 Leigh Massi, individually, as surviving
 child of Edward J. Mardovich

 Laura Mardovich a/k/a Laura E. Balemian,
 as the Personal Representative of the Estate
 of Edward J. Mardovich, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Edward J. Mardovich

 Lauren Peters, as the Personal
 Representative of the Estate of Louis N.
 Mariani, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Louis
 N. Mariani

 Christine Mariani, individually, as
 surviving sibling of Louis N. Mariani

 Christina Martinez, individually, as
 surviving child of Betsy Martinez

 Gabriel Martinez, as the Co-Personal
 Representative of the Estate of Robert G
 Martinez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert G. Martinez

 Gabriel Martinez, individually, as
 surviving parent of Robert G. Martinez

 Marie Martinez, individually, as surviving


                                              89
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 91 of 962




 parent of Robert G. Martinez

 Francis Firth, individually, as surviving
 sibling of Robert G. Martinez

 Arnold F. Mascali Jr., individually, as
 surviving sibling of Joseph A. Mascali

 Catherine Mascali, individually, as
 surviving parent of Joseph A. Mascali

 John Mascali, individually, as surviving
 sibling of Joseph A. Mascali

 Catherine Mascali as Personal
 Representative of the Estate of Arnold
 Mascali, Sr. , deceased, the late parent of
 Joseph A. Mascali

 Donna Mascali Russo, individually, as
 surviving sibling of Joseph A. Mascali

 Cathyanne Mascali Sprenger, individually,
 as surviving sibling of Joseph A. Mascali

 Sherman Acker, individually, as surviving
 spouse of Ada L. Mason

 Annie Harris, individually, as surviving
 sibling of Ada L. Mason

 JoAnn Wilson-Johnson, individually, as
 surviving sibling of Ada L. Mason

 Nelson Johnson, as the Personal
 Representative of the Estate of Ada L.
 Mason, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Ada
 L. Mason

 JoAnn Wilson-Johnson as Personal
 Representative of the Estate of Searetha E.
 Wilson, deceased, the late parent of Ada L.
 Mason

 Shaun Mason, individually, as surviving


                                               90
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 92 of 962




 child of Ada L. Mason

 Jimmie L. Willson, individually, as
 surviving sibling of Ada L. Mason

 Shannon Mason, individually, as surviving
 child of Ada L. Mason

 Kathleen Mathesen, as the Personal
 Representative of the Estate of William A.
 Mathesen, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 William A. Mathesen

 Deborah Moloney, individually, as
 surviving sibling of William A. Mathesen

 Joanne Mathesen, as Personal
 Representative of the Estate of Stephen
 Mathesen, deceased, the late sibling of
 William A. Mathesen

 Karen Schubert, individually, as surviving
 sibling of William A. Mathesen

 Patricia Sarrantonio, individually, as
 surviving sibling of William A. Mathesen

 Vivian Mattic, individually, as surviving
 sibling of Margaret E. Mattic

 Jean Neal a/k/a Elvin Jean Neal,
 individually, as surviving sibling of
 Margaret E. Mattic

 Jean Neal a/k/a Elvin Jean Neal, as the
 Personal Representative of the Estate of
 Margaret E. Mattic, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Margaret E. Mattic

 Jean Neal a/k/a Elvin Jean Neal, as
 Personal Representative of the Estate of
 Katie I. Mattic, deceased, the late parent of
 Margaret E. Mattic


                                                 91
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 93 of 962




 Frances Douglas, individually, as surviving
 sibling of Margaret E. Mattic

 William Eugene Clark a/k/a Eugene W.
 Clark, as the Personal Representative of the
 Estate of Dean E. Mattson, deceased, and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Dean E. Mattson

 Dale Mattson, individually, as surviving
 sibling of Dean E. Mattson

 Dale Mattson as Personal Representative of
 the Estate of Bernice Mattson, deceased,
 the late parent of Dean E. Mattson

 Mary Mattson as Personal Representative
 of the Estate of Glenn Mattson, deceased,
 the late sibling of Dean E. Mattson

 John Doe 119 as the Personal
 Representative of the Estate of Dwain
 Mattson, deceased, the late sibling of
 sibling of Dean E. Mattson

 Donald Mauro, individually, as surviving
 spouse of Nancy Mauro

 Donald Mauro, as the Personal
 Representative of the Estate of Nancy
 Mauro, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Nancy
 Mauro

 Anne McCloskey, individually, as
 surviving parent of Katie M. McCloskey

 Anne McCloskey, as the Personal
 Representative of the Estate of Katie M.
 McCloskey, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Katie
 M. McCloskey

 Noah R. McCloskey, individually, as


                                             92
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 94 of 962




 surviving sibling of Katie M. McCloskey

 Linda D. May, individually, as surviving
 sibling of Thomas McHale

 Elizabeth ("Beth") McCarthy (nee
 McHale), individually, as surviving sibling
 of Thomas McHale

 Elizabeth ("Beth") McCarthy (nee McHale)
 and Joseph McHale as co-Personal
 Representatives of the Estate of John F.
 McHale , deceased, the late parent of
 Thomas McHale

 Joseph M. McHale, individually, as
 surviving sibling of Thomas McHale

 Kevin J. McHale, individually, as surviving
 sibling of Thomas McHale

 John F. McHale Jr. a/k/a Jack McHale,
 individually, as surviving sibling of
 Thomas McHale

 John Doe 40, being intended to designate
 the Personal Representative of the Estate of
 Robert G. McIlvaine, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert G. McIlvaine

 Jeffrey A. McIlvaine, individually, as
 surviving sibling of Robert G. McIlvaine

 Julie E. McMahon, individually, as
 surviving spouse of Robert D. McMahon

 Julie E. McMahon, as the Personal
 Representative of the Estate of Robert D.

                                               93
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 95 of 962




 McMahon, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert D. McMahon

 Matthew McMahon, individually, as
 surviving child of Robert D. McMahon

 Peter McMahon, individually, as surviving
 sibling of Robert D. McMahon

 Nancy McMahon as Personal
 Representative of the Estate of Robert
 Martin McMahon, deceased, the late parent
 of Robert D. McMahon

 Patrick McMahon, individually, as
 surviving child of Robert D. McMahon

 Andrew McMahon, individually, as
 surviving sibling of Robert D. McMahon

 Damon McMahon, individually, as
 surviving sibling of Robert D. McMahon

 Michael McMahon, individually, as
 surviving sibling of Robert D. McMahon

 Kim McNeil-Hightower, individually, as
 surviving child of Walter A. McNeil

 Kim McNeil-Hightower, as the Personal
 Representative of the Estate of Walter A.
 McNeil, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Walter A. McNeil

 Walter A. McNeil II, individually, as
 surviving child of Walter A. McNeil

 Kim McNeil-Hightower as Personal
 Representative of the Estate of Judith
 McNeil, deceased, the late sibling of
 Walter A. McNeil

 Dolores Lara, individually, as surviving


                                             94
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 96 of 962




 parent of Manuel E. Mejia

 Scarlyn Mejia, individually, as surviving
 child of Manuel E. Mejia

 Scarlyn Mejia, as the Personal
 Representative of the Estate of Manuel E.
 Mejia, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Manuel E. Mejia

 Jacqueline Mejia Peguero, individually, as
 surviving child of Manuel E. Mejia

 Jose Miguel Mejia Peguero, individually,
 as surviving child of Manuel E. Mejia

 Manuel E. Mejia Peguero, individually, as
 surviving child of Manuel E. Mejia

 Yaritza Franco Estudillo, individually, as
 surviving child of Antonio Melendez

 Daisy N. Melendez, individually, as
 surviving child of Antonio Melendez

 Marco A. Melendez, individually, as
 surviving child of Antonio Melendez

 Saul Melendez-Hernandez, individually, as
 surviving child of Antonio Melendez

 Bronx Public Administrator, as the
 Personal Representative of the Estate of
 Antonio Melendez, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of
 Antonio Melendez

 Douglas Mello, individually, as surviving
 parent of Christopher D. Mello

 Ellen Mello, individually, as surviving
 parent of Christopher D. Mello

 Ellen Mello, as the Personal Representative
 of the Estate of Christopher D. Mello,

                                              95
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 97 of 962




 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Christopher D. Mello

 John Mello, individually, as surviving
 sibling of Christopher D. Mello

 Aleksandr Melnichenko, individually, as
 surviving spouse of Yelena Melnichenko

 Aleksandr Melnichenko, as the Personal
 Representative of the Estate of Yelena
 Melnichenko, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Yelena Melnichenko

 Erik F. Melnichenko, individually, as
 surviving child of Yelena Melnichenko

 Mary Cooper, individually, as surviving
 sibling of Wesley Mercer

 Mary Cooper as Personal Representative of
 the Estate of Elizabeth M. Parker,
 deceased, the late sibling of Wesley Mercer

 Linda Loran, individually, as surviving
 child of Wesley Mercer

 Jackie J. Mercer, individually, as surviving
 sibling of Wesley Mercer

 Kimberly Lee King Anderson as Personal
 Representative of the Estate of Queen
 Mercer, deceased, the late spouse of
 Wesley Mercer

 Kimberly Lee King Anderson as the
 Personal Representative of the Estate of
 Wesley Mercer, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Wesley Mercer

 Sharif Chowdhury and Showkatara Sharif
 as co-Personal Representatives of the
 Estate of Shakila Yasmin, deceased, the

                                                96
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 98 of 962




 late spouse of Nurul Miah

 Rokshana Miah, as the co-Personal
 Representative of the Estate of Nurul Miah,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Nurul Miah

 Bakul Miah, individually, as surviving
 sibling of Nurul Miah

 Maria Revilla, individually, as surviving
 spouse of Luis Clodoaldo Revilla Mier

 Maria Revilla, as the Personal
 Representative of the Estate of Luis
 Clodoaldo Revilla Mier, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Luis Clodoaldo Revilla Mier

 Jacqueline Milam, individually, as
 surviving spouse of Major Ronald D.
 Milam

 Jacqueline Milam, as the Personal
 Representative of the Estate of Major
 Ronald D. Milam, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of (Maj.)
 Ronald D. Milam

 Ronald D. Milam Jr., individually, as
 surviving child of Major Ronald D. Milam

 MyeJoi Milam, individually, as surviving
 child of Major Ronald D. Milam

 Laurie Miller, individually, as surviving
 spouse of Douglas C. Miller

 Laurie Miller, as the Personal
 Representative of the Estate of Douglas C.
 Miller, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Douglas C. Miller


                                              97
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 99 of 962




 Rachel Miller, individually, as surviving
 child of Douglas C. Miller

 Katherine Miller, individually, as surviving
 child of Douglas C. Miller

 Sheryl Miller Bechor, individually, as
 surviving child of Philip D. Miller

 Arlene Miller, as the co-Personal
 Representative of the Estate of Philip D.
 Miller, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Philip
 D. Miller

 Arlene Miller, individually, as surviving
 spouse of Philip D. Miller

 Frank Moccia, Jr. as Personal
 Representative of the Estate of Elaine
 Moccia, deceased, the late spouse of Frank
 V. Moccia

 Frank Moccia, Jr., as the co-Personal
 Representative of the Estate of Frank V.
 Moccia, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Frank
 V. Moccia

 Donna Velazquez, individually, as
 surviving child of Frank V. Moccia

 Frank Moccia, individually, as surviving
 child of Frank V. Moccia

 Patricia Codispoti, individually, as
 surviving sibling of Louis J. Modafferi

 Anthony Modafferi, individually, as
 surviving sibling of Louis J. Modafferi

 Raffaela Modafferi, individually, as
 surviving parent of Louis J. Modafferi

 Mercedes Hernandez Molina, individually,
 as surviving spouse of Manuel De Jesus

                                              98
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 100 of 962




 Molina

 Mercedes Hernandez Molina, as the
 Personal Representative of the Estate of
 Manuel De Jesus Molina, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Manuel De Jesus Molina

 Amanda Castrillon, individually, as
 surviving spouse of Antonio Montoya

 Amanda Castrillon, as the co-Personal
 Representative of the Estate of Antonio
 Montoya, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Antonio Montoya

 Cindy Montoya, individually, as surviving
 child of Antonio Montoya

 Jorge Montoya, individually, as surviving
 child of Antonio Montoya

 Kelly Montoya, individually, as surviving
 child of Antonio Montoya

 Margarita Londono de Montoya,
 individually, as surviving parent of Carlos
 A. Montoya

 Gilberto Montoya-Londono, individually,
 as surviving sibling of Carlos A. Montoya

 Jaime Montoya-Londono, individually, as
 surviving sibling of Carlos A. Montoya

 Luis F. Montoya-Londono, individually, as
 surviving sibling of Carlos A. Montoya

 Stacey Montoya, individually, as surviving
 spouse of Carlos A. Montoya

 Stacey Montoya, as the Personal
 Representative of the Estate of Carlos A.
 Montoya, deceased, and on behalf of all
 survivors and all legally entitled

                                               99
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 101 of 962




 beneficiaries and family members of Carlos
 A. Montoya

 Deirdre Moody, individually, as surviving
 child of Capt. Thomas Moody

 Jessica Moody, individually, as surviving
 child of Capt. Thomas Moody

 Sean Moody, individually, as surviving
 child of Capt. Thomas Moody

 Maureen Moody-Theinert, individually, as
 surviving spouse of Capt. Thomas Moody

 Maureen Moody-Theinert, as the Personal
 Representative of the Estate of Thomas
 Capt. Moody, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Capt.
 Thomas Moody

 Erin Moody Brennan, individually, as
 surviving child of Capt. Thomas Moody

 Portia Morales, individually, as surviving
 child of Paula E. Morales

 Sherwin Morales, individually, as
 surviving child of Paula E. Morales

 Stephanie Morales-Guerrero, individually,
 as surviving child of Paula E. Morales

 Stephanie Morales-Guerrero, as the
 Personal Representative of the Estate of
 Paula E. Morales, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of Paula
 E. Morales

 Petal S. Stanford-Sylvert, individually, as
 surviving child of Paula E. Morales

 Kevin Moran, individually, as surviving
 sibling of Gerard Moran

 Shannon Moran, individually, as surviving

                                               100
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 102 of 962




 child of Gerard Moran

 Shannon Moran, as the Personal
 Representative of the Estate of Gerard
 Moran, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Gerard Moran

 Ellen Moran , individually, as surviving
 sibling of John Moran

 Dylan Moran, individually, as surviving
 child of John Moran

 Michael Moran, individually, as surviving
 sibling of John Moran

 Ryan Moran, individually, as surviving
 child of John Moran

 Ellen Moran a/k/a Ellen Brennan, as
 Personal Representative of the Estate of
 Margaret Murphy Moran, deceased, the
 late parent of John Moran

 Mona O’Connor, individually, as surviving
 sibling of John Moran

 Kim Racklin, individually, as surviving
 spouse of John Moran

 Kim Racklin, as the Personal
 Representative of the Estate of John
 Moran, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 Moran

 Alfia L. Gilligan (nee Morello),
 individually, as surviving child of Steven
 Morello

 Eileen M. Morello, individually, as
 surviving spouse of Steven Morello

 Eileen M. Morello, as the Personal
 Representative of the Estate of Steven

                                              101
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 103 of 962




 Morello, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Steven Morello

 Steven Morello, individually, as surviving
 child of Steven Morello

 Jessica Spiers, individually, as surviving
 child of Steven Morello

 Winford F. Lamb, individually, as
 surviving sibling of Odessa V. Morris

 Dahlia Morris, individually, as surviving
 child of Odessa V. Morris

 Horace Morris, individually, as surviving
 spouse of Odessa V. Morris

 Horace Morris, as the Personal
 Representative of the Estate of Odessa V.
 Morris, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Odessa V. Morris

 Jan-Sheri Morris, individually, as surviving
 child of Odessa V. Morris

 Keith Morris, individually, as surviving
 child of Odessa V. Morris

 Ferdinand Morrone, individually, as
 surviving child of Ferdinand Morrone

 Gregory Morrone, individually, as
 surviving child of Ferdinand Morrone

 Linda Morrone, individually, as surviving
 spouse of Ferdinand Morrone

 Linda Morrone, as the Personal
 Representative of the Estate of Ferdinand
 Morrone, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of


                                              102
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 104 of 962




 Ferdinand Morrone

 Alyssa Morrone, individually, as surviving
 child of Ferdinand Morrone

 George Jebrine, as the co-Personal
 Representative of the Estate of Jude
 Moussa, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jude
 Moussa

 Joseph Moussa, individually, as surviving
 parent of Jude Moussa

 Mazen Moussa, individually, as surviving
 sibling of Jude Moussa

 Michael Moussa, individually, as surviving
 sibling of Jude Moussa

 Yvette Moussa, individually, as surviving
 parent of Jude Moussa

 Andre Mowatt, individually, as surviving
 sibling of Damion Mowatt

 Andrea Mowatt, individually, as surviving
 parent of Damion Mowatt

 Andrea Mowatt, as the Personal
 Representative of the Estate of Damion
 Mowatt, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Damion Mowatt

 Deval Mowatt, individually, as surviving
 sibling of Damion Mowatt

 Devon Mowatt, individually, as surviving
 parent of Damion Mowatt

 Mary Muldowney as Personal
 Representative of the Estate of Anne
 Muldowney, deceased, the late parent of
 Richard Muldowney Jr.


                                              103
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 105 of 962




 Brian Muldowney, individually, as
 surviving sibling of Richard Muldowney
 Jr.

 Kevin Muldowney, individually, as
 surviving sibling of Richard Muldowney
 Jr.

 Mary Muldowney, individually, as
 surviving sibling of Richard Muldowney
 Jr.

 Timothy Muldowney, individually, as
 surviving sibling of Richard Muldowney
 Jr.

 Colleen Andello, individually, as surviving
 sibling of Richard Muldowney Jr.

 Constance Muldowney, individually, as
 surviving spouse of Richard Muldowney
 Jr.

 Constance Muldowney, as the Personal
 Representative of the Estate of Richard
 Muldowney, Jr., deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Richard Muldowney Jr.

 John Proodian, individually, as surviving
 child of Richard Muldowney Jr.

 Constance Muldowney, as Personal
 Representative of the Estate of Kathryn
 Proodian, deceased, the late child of
 Richard Muldowney Jr.

 Kevin Mulligan, individually, as surviving
 sibling of Dennis M. Mulligan

 Michael Mulligan, individually, as
 surviving sibling of Dennis M. Mulligan

 Patricia Mulligan, individually, as
 surviving sibling of Dennis M. Mulligan

 Patricia Mulligan, as the Personal

                                              104
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 106 of 962




 Representative of the Estate of Dennis M.
 Mulligan, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Dennis M. Mulligan

 Patricia Mulligan, as Personal
 Representative of the Estate of Edward
 Mulligan, deceased, the late parent of
 Dennis M. Mulligan

 Patricia Mulligan, as Personal
 Representative of the Estate of Mary Frigo
 a/k/a Mary Catherine Brady , deceased, the
 late parent of Dennis M. Mulligan

 Brian Mulligan, individually, as surviving
 sibling of Dennis M. Mulligan

 Masako Murphy, individually, as surviving
 spouse of Patrick J. Murphy

 Masako Murphy, as the Personal
 Representative of the Estate of Patrick J.
 Murphy, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Patrick J. Murphy

 Mitchell Murphy, individually, as
 surviving child of Patrick J. Murphy

 Michael Murray, individually, as surviving
 child of Valerie V. Murray

 Michael Murray, as the Personal
 Representative of the Estate of Valerie V.
 Murray, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Valerie V. Murray

 Michael Murray as Personal Representative
 of the Estate of Kenneth Murray, deceased,
 the late child of Valerie V. Murray

 Veronica Stinga, individually, as surviving


                                               105
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 107 of 962




 child of Valerie V. Murray

 Valerie J. Murray, individually, as
 surviving child of Valerie V. Murray

 Timothy Murray, individually, as surviving
 child of Valerie V. Murray

 John Capodanno, as the Personal
 Representative of the Estate of Mario
 Nardone Jr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Mario
 Nardone Jr.

 Christopher Nardone, individually, as
 surviving sibling of Mario Nardone Jr.

 Jeanine Rao, individually, as surviving
 sibling of Mario Nardone Jr.

 Jeanine Rao as Personal Representative of
 the Estate of Linda Nardone, deceased, the
 late parent of Mario Nardone Jr.

 Jerrell Nedd, individually, as surviving
 child of Jerome O. Nedd

 Roxanne Nedd, individually, as surviving
 spouse of Jerome O. Nedd

 Roxanne Nedd, as the Personal
 Representative of the Estate of Jerome O.
 Nedd, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Jerome O. Nedd

 Jerome Nedd, individually, as surviving
 child of Jerome O. Nedd

 Lyndsi Nelson, as the Personal
 Representative of the Estate of Peter A.
 Nelson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Peter
 A. Nelson


                                              106
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 108 of 962




 Ryan Nelson, individually, as surviving
 child of Peter A. Nelson

 Earlrick Nesbitt, individually, as surviving
 sibling of Oscar F. Nesbitt

 John Nesbitt, individually, as surviving
 sibling of Oscar F. Nesbitt

 Leslie Nesbitt, individually, as surviving
 sibling of Oscar F. Nesbitt

 Leslie Nesbitt, as the Personal
 Representative of the Estate of Oscar F.
 Nesbitt, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Oscar
 F. Nesbitt

 Joycelyn Nesbitt-Arneaud, individually, as
 surviving sibling of Oscar F. Nesbitt

 Rosia Nesbitt as Personal Representative of
 the Estate of Rawlins Anthony Nesbitt ,
 deceased, the late sibling of Oscar F.
 Nesbitt

 Daniel Nevins, individually, as surviving
 child of Gerard T. Nevins

 Marie Nevins, individually, as surviving
 spouse of Gerard T. Nevins

 Marie Nevins, as the Personal
 Representative of the Estate of Gerard T.
 Nevins, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Gerard T. Nevins

 Andrew Nevins, individually, as surviving
 child of Gerard T. Nevins

 Robin Loconto, individually, as surviving
 sibling of Nancy Yuen Ngo

 Ashley Ngo, individually, as surviving


                                                107
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 109 of 962




 child of Nancy Yuen Ngo

 Lindsay Ngo, individually, as surviving
 child of Nancy Yuen Ngo

 Man Ngo, individually, as surviving spouse
 of Nancy Yuen Ngo

 Man Ngo, as the Personal Representative
 of the Estate of Nancy Yuen Ngo,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Nancy Yuen Ngo

 Ho Ying Yee, individually, as surviving
 parent of Nancy Yuen Ngo

 Dorothy Ogren, individually, as surviving
 parent of Joseph J. Ogren

 Lance Edward Ogren, individually, as
 surviving sibling of Joseph J. Ogren

 James Davies, as Personal Representative
 of the Estate of Robert T. Ogren, deceased,
 the late parent of Joseph J. Ogren

 Lance Ogren, as the Personal
 Representative of the Estate of Joseph J.
 Ogren, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joseph J. Ogren

 Jessica Marrero, individually, as surviving
 child of Samuel Oitice

 Jean Oitice, individually, as surviving
 spouse of Samuel Oitice

 Jean Oitice, as the Personal Representative
 of the Estate of Samuel Oitice, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Samuel Oitice

 John Oitice, individually, as surviving child


                                               108
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 110 of 962




 of Samuel Oitice

 Duane Orloske, individually, as surviving
 spouse of Margaret Orloske

 Duane Orloske, as the Personal
 Representative of the Estate of Margaret
 Orloske, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Margaret Orloske

 Stephen Orloske, individually, as surviving
 child of Margaret Orloske

 Duane Orloske as Personal Representative
 of the Estate of Sylvia Quinn, deceased, the
 late parent of Margaret Orloske

 Elizabeth O. Kenworthy, individually, as
 surviving child of Virginia Ormiston

 James H. Kenworthy, individually, as
 surviving spouse of Virginia Ormiston

 James H. Kenworthy, as the Personal
 Representative of the Estate of Virginia
 Ormiston, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Virginia Ormiston

 William O. Kenworthy, individually, as
 surviving child of Virginia Ormiston

 Jonathan Ortiz, individually, as surviving
 sibling of Paul Ortiz Jr.

 Pablo Ortiz Sr., individually, as surviving
 parent of Paul Ortiz Jr.

 Estrellita a/k/a Estrellita Sanchez Ortiz,
 individually, as surviving spouse of Paul
 Ortiz Jr.

 Estrellita a/k/a Estrellita Sanchez Ortiz, as
 the Personal Representative of the Estate of
 Paul Ortiz Jr., deceased, and on behalf of

                                               109
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 111 of 962




 all survivors and all legally entitled
 beneficiaries and family members of Paul
 Ortiz Jr.

 Rebecca Brianne Ortiz, individually, as
 surviving child of Paul Ortiz Jr.

 Sophie Ortiz, individually, as surviving
 parent of Paul Ortiz Jr.

 Crystal Marie Ortiz, individually, as
 surviving child of David Ortiz

 Ilianette Ortiz, individually, as surviving
 spouse of David Ortiz

 Ilianette Ortiz, as the Personal
 Representative of the Estate of David Ortiz,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of David Ortiz

 Richard Ortiz, individually, as surviving
 child of David Ortiz

 Paola Cepeda, individually, as surviving
 child of Isidro D. Ottenwalder

 Maria Delgado, individually, as surviving
 sibling of Isidro D. Ottenwalder

 Ana Silvia Diaz, individually, as surviving
 sibling of Isidro D. Ottenwalder

 Maria Fernandez, individually, as surviving
 spouse of Isidro D. Ottenwalder

 Maria Fernandez, as the co-Personal
 Representative of the Estate of Isidro D.
 Ottenwalder, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Isidro
 D. Ottenwalder

 Altagracia Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder

 Homero Ottenwalder, individually, as

                                               110
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 112 of 962




 surviving sibling of Isidro D. Ottenwalder

 Jose Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder

 Jose Ottenwalder, as the co-Personal
 Representative of the Estate of Isidro D.
 Ottenwalder, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Isidro
 D. Ottenwalder

 Maria Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder

 Pedro Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder

 Rafael Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder

 William Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder

 Rafael Ottenwalder, as Personal
 Representative for the Estate of Ana Pena
 di Ottenwalder, deceased, the late parent of
 Isidro D. Ottenwalder

 Maria Cruz Rodriguez, individually, as
 surviving sibling of Isidro D. Ottenwalder

 Josefina Tolentino, individually, as
 surviving sibling of Isidro D. Ottenwalder

 John Owens, individually, as surviving
 sibling of Peter Owens

 Kevin Owens, individually, as surviving
 sibling of Peter Owens

 Terence Owens, individually, as surviving
 sibling of Peter Owens

 Thomas F. Owens, individually, as
 surviving sibling of Peter Owens

 Felipe Oyola, individually, as surviving

                                              111
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 113 of 962




 spouse of Adianes Oyola

 Felipe Oyola, as the Personal
 Representative of the Estate of Adianes
 Oyola, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Adianes Oyola

 Hannah Pabon, individually, as surviving
 child of Israel Pabon

 Karen Pabon, individually, as surviving
 spouse of Israel Pabon

 Karen Pabon, as the Co-Personal
 Representative of the Estate of Israel
 Pabon, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Israel
 Pabon

 Sara Pabon, individually, as surviving child
 of Israel Pabon

 Alyssa Palmer, individually, as surviving
 child of Orio J. Palmer

 Dana M. Runfola and Keith Palmer, as co-
 Personal Representatives for the Estate of
 Deborah Palmer, deceased, the late spouse
 of Orio J. Palmer

 Dana M. Runfola, as the co-Personal
 Representative of the Estate of Orio J.
 Palmer, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Orio
 J. Palmer

 Keith Palmer, as the co-Personal
 Representative of the Estate of Orio J.
 Palmer, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Orio
 J. Palmer

 Keith Palmer, individually, as surviving

                                              112
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 114 of 962




 child of Orio J. Palmer

 Dana M. Runfola, individually, as
 surviving child of Orio J. Palmer

 John Doe 44, being intended to designate
 the Personal Representative of the Estate of
 James W. Parham, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of James
 W. Parham

 Leno Parham Jr., individually, as surviving
 sibling of James W. Parham

 Kevin Parham, individually, as surviving
 sibling of James W. Parham

 Sonia Lowe, individually, as surviving
 parent of Michael Parkes

 Sonia Lowe, as the Personal Representative
 of the Estate of Michael Parkes, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Michael Parkes

 Anya Monique Parkes, individually, as
 surviving sibling of Michael Parkes

 Ralph Parkes, individually, as surviving
 parent of Michael Parkes

 Mirna Huerta Aguirre, individually, as
 surviving spouse of Leobardo L. Pascual

 John Doe 45, being intended to designate
 the Personal Representative of the Estate of
 Leobardo L. Pascual, deceased, said name
 being fictitious, her/his true name is not

                                            113
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 115 of 962




 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Leobardo L. Pascual

 Carmen Yosef Lopez, individually, as
 surviving sibling of Leobardo L. Pascual

 Cristobal Lopez, individually, as surviving
 sibling of Leobardo L. Pascual

 Lizeth Lopez Huerta, individually, as
 surviving child of Leobardo L. Pascual

 Mariela Lopez Huerta, individually, as
 surviving child of Leobardo L. Pascual

 Ana Luisa Lopez Pascual, individually, as
 surviving sibling of Leobardo L. Pascual

 Elena De La Cruz Lopez Pascual,
 individually, as surviving sibling of
 Leobardo L. Pascual

 Flor Lopez Pascual, individually, as
 surviving sibling of Leobardo L. Pascual

 Graciela Lopez Pascual, individually, as
 surviving sibling of Leobardo L. Pascual

 Janet Lopez Pascual, individually, as
 surviving sibling of Leobardo L. Pascual

 Manuela Lopez Pascual, individually, as
 surviving sibling of Leobardo L. Pascual

 Maria Elvia Lopez Pascual, individually, as
 surviving sibling of Leobardo L. Pascual

 Rafael Lopez Pascual, individually, as
 surviving sibling of Leobardo L. Pascual


                                               114
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 116 of 962




 Raquel Lopez Pascual, individually, as
 surviving sibling of Leobardo L. Pascual

 Diego Lopez Reyes, individually, as
 surviving child of Leobardo L. Pascual

 Juan Lopez Reyes, individually, as
 surviving child of Leobardo L. Pascual

 Ana Pascual Ortiz, individually, as
 surviving parent of Leobardo L. Pascual

 Terilyn Patrick Esse a/k/a Terilyn Patrick,
 individually, as surviving spouse of James
 Patrick

 Terilyn Patrick Esse a/k/a Terilyn Patrick,
 as the Personal Representative of the Estate
 of James Patrick, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of James
 Patrick

 Jack James Patrick Esse a/k/a Jack James
 Patrick, individually, as surviving child of
 James Patrick

 Alex M. Patrocino, individually, as
 surviving child of Manuel D. Patrocino

 Keyla Patrocino, individually, as surviving
 child of Manuel D. Patrocino

 Sandra Patrocino, individually, as
 surviving spouse of Manuel D. Patrocino

 Sandra Patrocino, as the Personal
 Representative of the Estate of Manuel D.
 Patrocino, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Manuel D. Patrocino

 Barry Pearlman, individually, as surviving
 parent of Richard A. Pearlman

 Dorie Pearlman, individually, as surviving


                                                115
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 117 of 962




 parent of Richard A. Pearlman

 Dorie Pearlman, as the Personal
 Representative of the Estate of Richard A.
 Pearlman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Richard A. Pearlman

 Lisa Pearlman-Mason, individually, as
 surviving sibling of Richard A. Pearlman

 Patrizia Davis, individually, as surviving
 sibling of Salvatore F. Pepe

 Anna Faustini as Personal Representative
 of the Estate of Anna Maria Allen,
 deceased, the late sibling of Salvatore F.
 Pepe

 Catherine Ng-Pepe, individually, as
 surviving spouse of Salvatore F. Pepe

 Catherine Ng-Pepe, as the Personal
 Representative of the Estate of Salvatore F.
 Pepe, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Salvatore F. Pepe

 Rosa Occhicone, individually, as surviving
 sibling of Salvatore F. Pepe

 Genoveffa Palmieri, individually, as
 surviving sibling of Salvatore F. Pepe

 Leonida R. Pepe, individually, as surviving
 sibling of Salvatore F. Pepe

 Salvatore L. Pepe, individually, as
 surviving child of Salvatore F. Pepe

 Rosemary Pepe as Personal Representative
 of the Estate of Antonio Pepe, deceased,
 the late sibling of Salvatore F. Pepe

 Marina Z. Perez, individually, as surviving


                                               116
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 118 of 962




 spouse of Alejo Perez

 Marina Z. Perez, as the Personal
 Representative of the Estate of Alejo Perez,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Alejo Perez

 Antonio Perez, individually, as surviving
 parent of Anthony Perez

 Brian Perez, individually, as surviving
 sibling of Anthony Perez

 Maria Perez, individually, as surviving
 parent of Anthony Perez

 Scott Perez, individually, as surviving
 sibling of Anthony Perez

 Olivia Vilardi-Perez, individually, as
 surviving child of Anthony Perez

 Yolanda Knepper, individually, as
 surviving sibling of Nancy E. Perez

 Berta Perez, individually, as surviving
 parent of Nancy E. Perez

 Mario Perez, individually, as surviving
 parent of Nancy E. Perez

 Mario Perez, as the Personal
 Representative of the Estate of Nancy E.
 Perez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Nancy
 E. Perez

 Minerva Conti, individually, as surviving
 sibling of Nancy E. Perez

 Melissa Perry, individually, as surviving
 child of Emelda Perry

 Melissa Perry, as the Personal
 Representative of the Estate of Emelda
 Perry, deceased, and on behalf of all

                                             117
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 119 of 962




 survivors and all legally entitled
 beneficiaries and family members of
 Emelda Perry

 William Perry, individually, as surviving
 child of Emelda Perry

 Caitlin Bender (Perry), individually, as
 surviving child of Glenn Perry Sr.

 Glenn Perry Jr., individually, as surviving
 child of Glenn Perry Sr.

 Peggy Perry, individually, as surviving
 spouse of Glenn Perry Sr.

 Peggy Perry, as the Personal
 Representative of the Estate of Glenn Perry
 Sr., deceased, and on behalf of all survivors
 and all legally entitled beneficiaries and
 family members of Glenn Perry Sr.

 Meaghan Wilt, individually, as surviving
 child of Glenn Perry Sr.

 Dianne Lynn Hudder, individually, as
 surviving sibling of William R. Peterson

 Robert M. Peterson, individually, as
 surviving sibling of William R. Peterson

 Robin Peterson, individually, as surviving
 spouse of William R. Peterson

 Robin Peterson, as the Personal
 Representative of the Estate of William R.
 Peterson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 William R. Peterson

 Robert M. Peterson as Personal
 Representative of the Estate of Robert
 Benjamin Peterson , deceased, the late
 parent of William R. Peterson

 Deirdre Kroupa, individually, as surviving


                                               118
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 120 of 962




 sibling of Glen Pettit

 Neil Pettit, individually, as surviving
 sibling of Glen Pettit

 Jane Wixted, individually, as surviving
 parent of Glen Pettit

 Tara Felice, individually, as surviving
 sibling of Glen Pettit

 Jane Wixted , as the Personal
 Representative of the Estate of Glen Pettit,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Glen Pettit

 Thomas Knobel, individually, as surviving
 spouse of Tu-Anh Pham

 Thomas Knobel, as the Personal
 Representative of the Estate of Tu-Anh
 Pham, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Tu-
 Anh Pham

 Vivienne Hoang-Anh Knobel, individualyl,
 as surviving child of Tu-Anh Pham

 Daniel T. Phelan, individually, as surviving
 child of Kenneth Phelan

 Erin Phelan, individually, as surviving
 child of Kenneth Phelan

 Kenneth J. Phelan Jr., individually, as
 surviving child of Kenneth Phelan

 Kimberly Phelan, individually, as surviving
 child of Kenneth Phelan

 Patricia Phelan-Byrnes, individually, as
 surviving spouse of Kenneth Phelan

 Patricia Phelan-Byrnes, as the Personal
 Representative of the Estate of Kenneth
 Phelan, deceased, and on behalf of all

                                             119
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 121 of 962




 survivors and all legally entitled
 beneficiaries and family members of
 Kenneth Phelan

 Mary Phelan-Cox, individually, as
 surviving sibling of Kenneth Phelan

 Erin Cherubin, individually, as surviving
 child of Zandra Marie Cooper Ploger (nee
 Flores)

 Gerald Thomas Flores, individually, as
 surviving sibling of Zandra Marie Cooper
 Ploger (nee Flores)

 Gilbert Norman Flores, individually, as
 surviving sibling of Zandra Marie Cooper
 Ploger (nee Flores)

 Zaneta Frances Flores, individually, as
 surviving sibling of Zandra Marie Cooper
 Ploger (nee Flores)

 Zenda F. Gutierrez-Klingberg, as Personal
 Representative of the Estate of Zenaida
 Frances Flores, deceased, the late parent of
 Zandra Marie Cooper Ploger (nee Flores)

 Zenda Flores Gutierrez-Klingenberg,
 individually, as surviving sibling of Zandra
 Marie Cooper Ploger (nee Flores)

 Zenda Flores Gutierrez-Klingenberg, as the
 Personal Representative of the Estate of
 Zandra Marie Cooper Ploger (nee Flores),
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Zandra Marie Cooper Ploger
 (nee Flores)

 Wendy L. Ploger, as Personal
 Representative of the Estate of Robert R.
 Ploger, III, deceased, the late spouse of
 Zandra Marie Cooper Ploger (nee Flores)

 Zena T. Wilderman, individually, as
 surviving child of Zandra Marie Cooper


                                                120
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 122 of 962




 Ploger (nee Flores)

 Zenda Gutierrez-Klingenberg, as Personal
 Representative of the Estate of Zandra
 Marie Ploger (nee Flores), deceased, the
 late spouse of Robert R. Ploger III

 Marianne Ploger Hill, individually, as
 surviving sibling of Robert R. Ploger III

 Daniel B. Ploger, individually, as surviving
 sibling of Robert R. Ploger III

 Gregory Fiehrer Ploger, individually, as
 surviving sibling of Robert R. Ploger III

 Marguerite Ploger, individually, as
 surviving sibling of Robert R. Ploger III

 Wayne D. Ploger, individually, as
 surviving sibling of Robert R. Ploger III

 Wendy Lynn Ploger, individually, as
 surviving child of Robert R. Ploger III

 Wendy Lynn Ploger, as the Personal
 Representative of the Estate of Robert R.
 Ploger III, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert R. Ploger III

 Wayne D. Ploger as Personal
 Representative of the Estate of Maj.
 General Robert R. Ploger, II, deceased, the
 late parent of Robert R. Ploger III

 Craig Pohlmann, individually, as surviving
 child of William H. Pohlmann

 Roxana Olivieri, individually, as surviving
 sibling of Giovanna Porras

 Adela Romero, as the Personal
 Representative of the Estate of Giovanna
 Porras, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of

                                               121
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 123 of 962




 Giovanna Porras

 Adela Romero, individually, as surviving
 parent of Giovanna Porras

 John Doe 46, being intended to designate
 the Personal Representative of the Estate of
 Anthony Portillo, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Anthony Portillo

 Zachary Portillo, individually, as surviving
 sibling of Anthony Portillo

 David Potorti, individually, as surviving
 sibling of James E. Potorti

 Monique Powell, individually, as surviving
 sibling of Shawn E. Powell

 Maureen Pugliese as Personal
 Representative of the Estate of Josephine
 Pugliese, deceased, the late parent of
 Robert D. Pugliese

 Lisa Marie Hand a/k/a Lisa Pugliese,
 individually, as surviving child of Robert
 D. Pugliese

 Maureen Pugliese, individually, as
 surviving spouse of Robert D. Pugliese

 Maureen Pugliese, as the Personal
 Representative of the Estate of Robert D.
 Pugliese, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert D. Pugliese


                                                122
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 124 of 962




 Michael Pugliese, individually, as
 surviving child of Robert D. Pugliese

 Dennis Pugliese, individually, as surviving
 child of Robert D. Pugliese

 Robert Pycior, individually, as surviving
 child of Joseph J. Pycior

 Teresa J. Pycior, individually, as surviving
 spouse of Joseph J. Pycior

 Teresa J. Pycior, as the Personal
 Representative of the Estate of Joseph J.
 Pycior, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joseph J. Pycior

 Joseph Pycior, individually, as surviving
 child of Joseph J. Pycior

 Tara O’Connell, individually, as surviving
 sibling of Lincoln Quappe

 Charles Quappe, individually, as surviving
 parent of Lincoln Quappe

 Clint Quappe, individually, as surviving
 child of Lincoln Quappe

 Jane Quappe, individually, as surviving
 spouse of Lincoln Quappe

 Jane Quappe, as the Personal
 Representative of the Estate of Lincoln
 Quappe, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Lincoln Quappe

 Natalie Quappe, individually, as surviving
 child of Lincoln Quappe

 Bruce Tooker as Personal Representative
 of the Estate of Doris Tooker, deceased, the
 late parent of Lincoln Quappe


                                                123
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 125 of 962




 Samantha Blake a/k/a Samantha Bianca
 Herring, individually, as surviving child of
 Carol Rabalais a/k/a Carol South-Rabalais

 Selvyn Neil Patrick Blake, individually, as
 surviving child of Carol Rabalais a/k/a
 Carol South-Rabalais

 Kerene Reeves aka Kerene Sherica Clarke,
 individually, as surviving child of Carol
 Rabalais a/k/a Carol South-Rabalais

 Kerene Reeves aka Kerene Sherica Clarke,
 as the Personal Representative of the Estate
 of Carol Rabalais a/k/a Carol South-
 Rabalais, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Carol
 Rabalais a/k/a Carol South-Rabalais

 Mary Agatha South, individually, as
 surviving parent of Carol Rabalais a/k/a
 Carol South-Rabalais

 James Buro, individually, as surviving
 child of Laura Ragonese-Snik

 John J. Buro, as the Personal
 Representative of the Estate of Laura
 Ragonese-Snik, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Laura
 Ragonese-Snik

 JoAnn Boutureira, individually, as
 surviving sibling of Harry Raines

 Joseph Raines, individually, as surviving
 sibling of Harry Raines

 Mark S. Raines, individually, as surviving
 sibling of Harry Raines

 Gloria Reinholtz, individually, as surviving
 sibling of Harry Raines

 Ida Riese, individually, as surviving sibling


                                                124
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 126 of 962




 of Harry Raines

 Ida Riese as Personal Representative of the
 Estate of Gloria Raines, deceased, the late
 parent of Harry Raines

 Ann Ramsaur, individually, as surviving
 child of Deborah Ramsaur

 Brian Ramsaur, individually, as surviving
 child of Deborah Ramsaur

 John Ramsaur, individually, as surviving
 spouse of Deborah Ramsaur

 John Ramsaur, as the Personal
 Representative of the Estate of Deborah
 Ramsaur, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Deborah Ramsaur

 Kimberly J. Rescorla, individually, as
 surviving child of Richard C. Rescorla

 Susan G. Rescorla, individually, as
 surviving spouse of Richard C. Rescorla

 Susan G. Rescorla, as the Co-Personal
 Representative of the Estate of Richard C.
 Rescorla, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Richard C. Rescorla

 Trevor S. Rescorla, individually, as
 surviving child of Richard C. Rescorla

 Mark Anthony Jonas, individually, as
 surviving child of Martha M. Reszke

 Mark A. Jonas as Personal Representative
 of the Estate of Martha Magdalena
 Brunson, deceased, the late parent of
 Martha M. Reszke

 James Reszke, individually, as surviving


                                              125
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 127 of 962




 spouse of Martha M. Reszke

 James Reszke, as the Personal
 Representative of the Estate of Martha M.
 Reszke, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Martha M. Reszke

 Lina Dicola, individually, as surviving
 child of Martha M. Reszke

 Aaron Andre Scott as Personal
 Representative of the Estate of J.A.
 Reynolds, deceased, as late parent of Bruce
 A. Reynolds

 Linda Rhodes, as the Personal
 Representative of the Estate of John
 Rhodes, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 Rhodes

 John Frederick Rhodes IV, individually, as
 surviving child of John Rhodes

 Christiana Riccardelli, individually, as
 surviving child of Francis Riccardelli

 Genevieve Riccardelli, individually, as
 surviving child of Francis Riccardelli

 Marielle Riccardelli, individually, as
 surviving child of Francis Riccardelli

 Meghan Riccardelli, individually, as
 surviving child of Francis Riccardelli

 Theresa Riccardelli, individually, as
 surviving spouse of Francis Riccardelli

 Theresa Riccardelli, as the Personal
 Representative of the Estate of Francis
 Riccardelli, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of


                                               126
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 128 of 962




 Francis Riccardelli

 Zachary Riccardelli, individually, as
 surviving child of Francis Riccardelli

 Brian Keegan, individually, as surviving
 child of Eileen M. Rice

 Brian Keegan, as the co-Personal
 Representative of the Estate of Eileen M.
 Rice, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Eileen
 M. Rice

 Francis Keegan, individually, as surviving
 sibling of Eileen M. Rice

 Lesli Rice, individually, as surviving child
 of Eileen M. Rice

 Lesli Rice, as the co-Personal
 Representative of the Estate of Eileen M.
 Rice, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Eileen
 M. Rice

 John Doe 123, as Personal Representative
 of Renee Baldwin, deceased, the late
 sibling of Cecelia E. Richard

 Cynthia Lawson, individually, as surviving
 sibling of Cecelia E. Richard

 Mazie Lawson, individually, as surviving
 parent of Cecelia E. Richard

 Monica L. Lawson, individually, as
 surviving sibling of Cecelia E. Richard

 Michael Richard, individually, as surviving
 spouse of Cecelia E. Richard

 Michael Richard, as the Personal
 Representative of the Estate of Cecelia E.
 Richard, deceased, and on behalf of all
 survivors and all legally entitled

                                                127
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 129 of 962




 beneficiaries and family members of
 Cecelia E. Richard

 Valerie Walls, individually, as surviving
 sibling of Cecelia E. Richard

 Vernon A. Richard II, as the co-Personal
 Representative of the Estate of Vernon A.
 Richard, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Vernon A. Richard

 Vernessa Richard, as the co-Personal
 Representative of the Estate of Vernon A.
 Richard, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Vernon A. Richard

 Vernon A. Richard II, individually, as
 surviving child of Vernon A. Richard

 Vernessa Richard and Vernon A. Richard
 II as Personal Representatives of the Estate
 of Dorothy Richard, deceased, the late
 spouse of Vernon A. Richard

 Vernessa Richard, individually, as
 surviving child of Vernon A. Richard

 Lelith Bergen, individually, as surviving
 parent of Venesha Richards

 Naquan Bergen, individually, as surviving
 sibling of Venesha Richards

 Queena Bergen, individually, as surviving
 sibling of Venesha Richards

 Hopeton Richards, individually, as
 surviving spouse of Venesha Richards

 Hopeton Richards, as the Personal
 Representative of the Estate of Venesha
 Richards, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of

                                             128
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 130 of 962




 Venesha Richards

 Kayla Richards, individually, as surviving
 child of Venesha Richards

 Omar Rodgers, individually, as surviving
 sibling of Venesha Richards

 Cheryl Rivelli, individually, as surviving
 spouse of Joseph Rivelli Jr.

 Cheryl Rivelli, as the Personal
 Representative of the Estate of Joseph
 Rivelli Jr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joseph Rivelli Jr.

 Michael Rivelli, individually, as surviving
 sibling of Joseph Rivelli Jr.

 Donna Ambrosino, individually, as
 surviving sibling of Joseph Rivelli Jr.

 Joseph Rivelli Sr., individually, as
 surviving parent of Joseph Rivelli Jr.

 James G. Wall as Personal Representative
 of the Estate of Lynda M. Wall, deceased,
 the late sibling of Joseph Rivelli Jr.

 Britney Rivera, individually, as surviving
 child of Carmen A. Rivera

 Luis E. Rivera Sr., individually, as
 surviving spouse of Carmen A. Rivera

 Luis E. Rivera Sr., as the Personal
 Representative of the Estate of Carmen A.
 Rivera, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Carmen A. Rivera

 Luis Rivera Jr., individually, as surviving
 child of Carmen A. Rivera

 Racine Concepcion, individually, as

                                               129
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 131 of 962




 surviving child of Carmen A. Rivera

 Carmen Alvarado Rivera, individually, as
 surviving parent of Linda I. Rivera

 Rafael J. Rivera, individually, as surviving
 sibling of Linda I. Rivera

 Jose R. Rivera a/k/a Jose Rivera Ramos,
 individually, as surviving parent of Linda I.
 Rivera

 Jose R. Rivera a/k/a Jose Rivera Ramos, as
 the Personal Representative of the Estate of
 Linda I. Rivera, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Linda
 I. Rivera

 Rafael A. Rivera, individually, as surviving
 sibling of Linda I. Rivera

 Daniel Henry, individually, as surviving
 sibling of Catherina Robinson

 Daniel Henry, as the Personal
 Representative of the Estate of Catherina
 Robinson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Catherina Robinson

 Jennifer Renee McKenzie, individually, as
 surviving child of Marsha A Rodriguez

 Vanessa Phillips, individually, as surviving
 sibling of Marsha A Rodriguez

 Daniel Rodriguez, individually, as
 surviving spouse of Marsha A Rodriguez

 Daniel Rodriguez, as the Personal
 Representative of the Estate of Marsha A.
 Rodriguez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Marsha A. Rodriguez


                                                130
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 132 of 962




 Flossie J. Foster, individually, as surviving
 parent of Marsha A. Rodriguez

 Shavonne Cobb, individually, as surviving
 child of Marsha A. Rodriguez

 Elias Rodriguez, as Personal
 Representative of the Estate of Arnulfo
 Rodriguez, deceased, the late spouse of
 Mayra V. Rodriguez

 John Doe 113, being intended to designate
 as the Personal Representative of the Estate
 of Mayra V. Rodriguez, deceased, said
 name being fictitious, her/his true name is
 not presently known, confirmed, and/or has
 not been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed), and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Mayra
 V. Rodriguez

 Anibal Valdez, individually, as surviving
 sibling of Mayra V. Rodriguez

 Jose Valdez, individually, as surviving
 sibling of Mayra V. Rodriguez

 John Doe 121 as the Personal
 Representative of the Estate of Lydia
 Valdez deceased, the late parent of Mayra
 V. Rodriguez

 Elias Rodriguez, individually, as surviving
 child of Mayra V. Rodriguez

 Michele Flannery, individually, as
 surviving sibling of Joseph M. Romagnolo

 Alexis Romagnolo, individually, as
 surviving child of Joseph M. Romagnolo

 Anthony Romagnolo, individually, as


                                                 131
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 133 of 962




 surviving child of Joseph M. Romagnolo

 Joseph Romagnolo, individually, as
 surviving child of Joseph M. Romagnolo

 Maria Romagnolo, individually, as
 surviving parent of Joseph M. Romagnolo

 Maria Romagnolo, as Personal
 Representative of the Estate of Salvatore
 Romagnolo, deceased, the late parent of
 Joseph M. Romagnolo

 Sandra Romagnolo, individually, as
 surviving spouse of Joseph M. Romagnolo

 Sandra Romagnolo, as the Personal
 Representative of the Estate of Joseph M.
 Romagnolo, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joseph M. Romagnolo

 Christofer Romagnolo, individually, as
 surviving child of Joseph M. Romagnolo

 Josephine Romito, as the Personal
 Representative of the Estate of James
 Romito, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of James
 Romito

 Laura Fasulo, individually, as surviving
 sibling of James Romito

 Laura Fasulo as Personal Representative of
 the Estate of Anthony Romito Sr.,
 deceased, the late parent of James Romito

 Laura Fasulo as Personal Representative of
 the Estate of Catherine Romito, deceased,
 the late parent of James Romito

 Anthony Romito Jr., individually, as
 surviving sibling of James Romito

 Jennifer Horwitz, individually, as surviving

                                             132
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 134 of 962




 spouse of Mark L. Rosenberg

 Jennifer Horwitz, as the Personal
 Representative of the Estate of Mark L
 Rosenberg, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Mark
 L. Rosenberg

 Janet Rosenberg, individually, as surviving
 parent of Mark L. Rosenberg

 Sheldon Rosenberg, individually, as
 surviving parent of Mark L. Rosenberg

 Sara L. Rosenberg Sharvit, individually, as
 surviving sibling of Mark L. Rosenberg

 Harvey Rosenberg, individually, as
 surviving sibling of Mark L. Rosenberg

 Tracy Rowenhorst, as the Personal
 Representative of the Estate of Edward
 Rowenhorst, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Edward Rowenhorst

 Matthew Rowenhorst, individually, as
 surviving sibling of Edward Rowenhorst

 Sicely N. McCants, individually, as
 surviving child of Judy Rowlett

 Sicely N. McCants, as the Personal
 Representative of the Estate of Judy
 Rowlett, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Judy
 Rowlett

 Caitlyn Roy, individually, as surviving
 child of Timothy A. Roy

 Timothy Roy Jr., individually, as surviving
 child of Timothy A. Roy

 Stacey Roy-Christ, individually, as

                                               133
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 135 of 962




 surviving spouse of Timothy A. Roy

 Stacey Roy-Christ, as the Personal
 Representative of the Estate of Timothy A.
 Roy, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Timothy A. Roy

 Brittney Roy, individually, as surviving
 child of Timothy A. Roy

 David Ruback, individually, as surviving
 child of Paul G. Ruback

 Rita L. Ruback, individually, as surviving
 spouse of Paul G. Ruback

 Rita L. Ruback, as the Personal
 Representative of the Estate of Paul G.
 Ruback, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Paul
 G. Ruback

 Shannon Ruback, individually, as surviving
 child of Paul G. Ruback

 Gina Ruback, individually, as surviving
 child of Paul G. Ruback

 Hillary Hans, individually, as surviving
 sibling of Ronald J. Ruben

 Hillary Hans, as the co-Personal
 Representative of the Estate of Ronald J.
 Ruben, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Ronald J. Ruben

 Leslie C. Ruben, individually, as surviving
 sibling of Ronald J. Ruben

 Leslie C. Ruben, as the co-Personal
 Representative of the Estate of Ronald J.
 Ruben, deceased, and on behalf of all
 survivors and all legally entitled

                                               134
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 136 of 962




 beneficiaries and family members of
 Ronald J. Ruben

 Anthony Rubino, individually, as surviving
 sibling of Joanne Rubino

 Anthony Rubino as Personal Represntative
 of the Estate of Antoinette Rubino,
 deceased, the late parent of Joanne Rubino

 Anthony Rubino, as the Personal
 Representative of the Estate of Joanne
 Rubino, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joanne Rubino

 Margaret Grigonis, individually, as
 surviving parent of Susan A. Ruggiero

 Paul Grigonis, individually, as surviving
 parent of Susan A. Ruggiero

 Peggy Ann Asciutto, individually, as
 surviving sibling of Susan A. Ruggiero

 Frank Ruggiero, individually, as surviving
 spouse of Susan A. Ruggiero

 Frank Ruggiero, as the Personal
 Representative of the Estate of Susan A.
 Ruggiero, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Susan
 A. Ruggiero

 Theresa Russo-Kempf, as the Personal
 Representative of the Estate of Michael
 Russo, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael Russo

 Anthony F. Russo, individually, as
 surviving sibling of Michael Russo

 Dolores Russo, individually, as surviving


                                              135
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 137 of 962




 parent of Michael Russo

 Cyrina Morrison, individually, as surviving
 sibling of Brock J. Safronoff

 Aaron Safronoff, individually, as surviving
 sibling of Brock J. Safronoff

 Debra M. Safronoff, individually, as
 surviving parent of Brock J. Safronoff

 Joel Safronoff, individually, as surviving
 parent of Brock J. Safronoff

 Tara Safronoff, individually, as surviving
 spouse of Brock J. Safronoff

 Tara Safronoff, as the Personal
 Representative of the Estate of Brock J.
 Safronoff, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Brock
 J. Safronoff

 Ruthellen Saiya, as Personal
 Representative of the Estate of Frank
 Saiya, deceased, the late sibling of Edward
 Saiya

 Shawn Saiya, individually, as surviving
 child of Edward Saiya

 Shawn Saiya, as the co-Personal
 Representative of the Estate of Edward
 Saiya, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Edward Saiya

 Katherine R. Schlosser, individually, as
 surviving child of Edward Saiya

 Katherine R. Schlosser, as the co-Personal
 Representative of the Estate of Edward
 Saiya, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of


                                               136
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 138 of 962




 Edward Saiya

 Madeline Reed, individually, as surviving
 parent of John P. Salamone

 Benedict Salamone, individually, as
 surviving parent of John P. Salamone

 Mary E. Salamone, individually, as
 surviving spouse of John P. Salamone

 Mary E. Salamone, as the Personal
 Representative of the Estate of John P.
 Salamone, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 P. Salamone

 Michael Salamone, individually, as
 surviving sibling of John P. Salamone

 Catherine Mary Sauer, individually, as
 surviving sibling of John P. Salamone

 Michelle Cataline, individually, as
 surviving sibling of John P. Salamone

 Carlos Salas, individually, as surviving
 child of Hernando R. Salas

 Carlos Salas, as the Personal
 Representative of the Estate of Hernando
 R. Salas, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Hernando R. Salas

 Carlos Salas, as the Personal
 Representative of the Estate of Carolina
 Salas, deceased, the late spouse of
 Hernando R. Salas

 Nelcy Salas, individually, as surviving
 child of Hernando R. Salas

 Afkham Salie, individually, as surviving
 sibling of Rahma Salie


                                             137
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 139 of 962




 Haleema Salie, individually, as surviving
 parent of Rahma Salie

 Haleema Salie, as the Personal
 Representative of the Estate of Rahma
 Salie, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Rahma Salie

 Ysuff Salie, individually, as surviving
 parent of Rahma Salie

 Jordanis Theodoridis, as Personal
 Representative of the Estate of Michael
 Theodoridis, deceased, the late spouse of
 Rahma Salie

 John Doe 55, being intended to designate
 the Personal Representative of the Estate of
 Nolbert Salomon, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Nolbert Salomon

 Antoine Salomon, individually, as
 surviving parent of Nolbert Salomon

 Edison Salomon, individually, as surviving
 sibling of Nolbert Salomon

 James Salomon, individually, as surviving
 sibling of Nolbert Salomon

 John Doe 101, as the Personal
 Representative of the Estate of Dania
 Salomon a/k/a Dania Salomon Macharie,
 deceased, the late sibling of Nolbert
 SalomonDeborah Rooney, individually, as

                                             138
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 140 of 962




 surviving spouse of John Sammartino

 Deborah Rooney, as the Personal
 Representative of the Estate of John
 Sammartino, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 Sammartino

 Nicole Sammartino, individually, as
 surviving child of John Sammartino

 Clara Sanay, individually, as surviving
 spouse of Hugo Sanay

 Clara Sanay, as the Personal Representative
 of the Estate of Hugo Sanay, deceased, and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Hugo Sanay

 Hugo Sanay Jr., individually, as surviving
 child of Hugo Sanay

 Michelle Sanay, individually, as surviving
 child of Hugo Sanay

 Steven Sanay, individually, as surviving
 child of Hugo Sanay

 Sonia Hernandez, individually, as
 surviving sibling of Ayleen J. Santiago

 Jose A. Medina, individually, as surviving
 sibling of Ayleen J. Santiago

 Julio Medina, individually, as surviving
 parent of Ayleen J. Santiago

 Cassandra Nash, individually, as surviving
 child of Anthony Savas

 John Savas, individually, as surviving child
 of Anthony Savas

 Phaedra Savas, individually, as surviving
 spouse of Anthony Savas


                                              139
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 141 of 962




 Phaedra Savas, as the Personal
 Representative of the Estate of Anthony
 Savas, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Anthony Savas

 Karen Scheffold Onorio, individually, as
 surviving child of Frederick C. Scheffold

 Claudette Scheffold, individually, as
 surviving child of Frederick C. Scheffold

 Joan Scheffold, individually, as surviving
 spouse of Frederick C. Scheffold

 Joan Scheffold, as the Personal
 Representative of the Estate of Frederick C.
 Scheffold, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Frederick C. Scheffold

 Kim Scheffold Stiefel, individually, as
 surviving child of Frederick C. Scheffold

 Dawn Schlegel, individually, as surviving
 spouse of Robert A. Schlegel

 Dawn Schlegel, as the Personal
 Representative of the Estate of Robert A.
 Schlegel, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert A. Schlegel

 Laurence Schlissel, individually, as
 surviving sibling of Jon S. Schlissel

 Laurence Schlissel, as the Personal
 Representative of the Estate of Jon S.
 Schlissel, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jon S.
 Schlissel

 Laurence Schlissel as Personal
 Representative of the Estate of Ruth

                                              140
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 142 of 962




 Schlissel, deceased, the late parent of Jon
 S. Schlissel

 Jaclyn McManus, individually, as
 surviving child of Gerard P. Schrang

 Denise Schrang, individually, as surviving
 spouse of Gerard P. Schrang

 Denise Schrang, as the Personal
 Representative of the Estate of Gerald P.
 Schrang, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Gerard P. Schrang

 Katherine R. Krieger, individually, as
 surviving sibling of Susan Lee Schuler

 Jude Laspa, individually, as surviving
 sibling of Susan Lee Schuler

 Jude Laspa, as the Personal Representative
 of the Estate of Susan Lee Schuler,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Susan Lee Schuler

 Tevis Laspa, individually, as surviving
 sibling of Susan Lee Schuler

 Ted Slanker, individually, as surviving
 child of Susan Lee Schuler

 Sandra Slanker, individually, as surviving
 child of Susan Lee Schuler

 Elizabeth Schlehr, individually, as
 surviving sibling of Margaret Seeliger

 Bruce Seeliger, individually, as surviving
 spouse of Margaret Seeliger

 Bruce Seeliger, as the Personal
 Representative of the Estate of Margaret
 Seeliger, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of

                                               141
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 143 of 962




 Margaret Seeliger

 Andrew T. Walier, individually, as
 surviving sibling of Margaret Seeliger

 Arthur A. Walier, individually, as
 surviving parent of Margaret Seeliger

 James M. Walier, individually, as surviving
 sibling of Margaret Seeliger

 John P. Walier, individually, as surviving
 sibling of Margaret Seeliger

 Joseph Walier, individually, as surviving
 sibling of Margaret Seeliger

 Paul Walier, individually, as surviving
 sibling of Margaret Seeliger

 Peter Joseph Walier, individually, as
 surviving sibling of Margaret Seeliger

 Arthur Walier as Personal Representative
 of the Estate of Kathryn Ann Walier ,
 deceased, the late parent of Margaret
 Seeliger

 Matthew Walier, individually, as surviving
 sibling of Margaret Seeliger

 Jahnan Shajahan, individually, as surviving
 child of Mohammed Shajahan

 Layla Shajahan, individually, as surviving
 child of Mohammed Shajahan

 Mansura Shajahan, individually, as
 surviving spouse of Mohammed Shajahan

 Mansura Shajahan, as the Personal
 Representative of the Estate of Mohammed
 Shajahan, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Mohammed Shajahan

 Shirin Shajahan, individually, as surviving

                                               142
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 144 of 962




 child of Mohammed Shajahan

 Yusuf Shajahan, individually, as surviving
 child of Mohammed Shajahan

 Christopher Davidson, individually, as
 surviving sibling of Kathryn A. Shatzoff

 Francis Shea, individually, as surviving
 sibling of Daniel Shea

 Kathleen Shea, individually, as surviving
 sibling of Daniel Shea

 Thomas J. Shea, individually, as surviving
 sibling of Daniel Shea

 Francis Shea, individually, as surviving
 sibling of Joseph Shea

 Kathleen Shea, individually, as surviving
 sibling of Joseph Shea

 Thomas J. Shea, individually, as surviving
 sibling of Joseph Shea

 Charles Clarke, individually, as surviving
 parent of Antionette Sherman

 Eloise Clarke, individually, as surviving
 parent of Antionette Sherman

 Eloise Clarke, as the Personal
 Representative of the Estate of Antionette
 Sherman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Antionette Sherman

 John Doe 122 as the Personal
 Representative of the Estate of John
 Sigmund Sr., deceased, the late parent of
 Johanna Sigmund

 John Sigmund, individually, as surviving
 sibling of Johanna Sigmund

 Ruth Sigmund, individually, as surviving

                                              143
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 145 of 962




 parent of Johanna Sigmund

 Ruth Sigmund, as the Personal
 Representative of the Estate of Johanna
 Sigmund, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Johanna Sigmund

 John T. Signer and James M. Signer as co-
 Personal Representatives of the Estate of
 John F. Signer, deceased, the late sibling of
 Dianne Signer

 Kenneth Signer, individually, as surviving
 sibling of Dianne Signer

 Patricia Signer, individually, as surviving
 parent of Dianne Signer

 Patricia Signer, as the Personal
 Representative of the Estate of Dianne
 Signer, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Dianne Signer

 Marie Sikorsky, as the Personal
 Representative of the Estate of Gregory
 Sikorsky, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Gregory Sikorsky

 George Sikorsky, individually, as surviving
 sibling of Gregory Sikorsky

 Kenneth Sikorsky, individually, as
 surviving sibling of Gregory Sikorsky

 Perry V. Sikorsky, individually, as
 surviving sibling of Gregory Sikorsky

 Jennifer Simon Berardi, individually, as
 surviving child of Arthur Simon

 Jennifer Simon Berardi, as the Personal
 Representative of the Estate of Arthur

                                               144
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 146 of 962




 Simon, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Arthur Simon

 Mandy Exantus, individually, as surviving
 child of Arthur Simon

 Stanley Simon, individually, as surviving
 sibling of Arthur Simon

 Susan Simon, individually, as surviving
 spouse of Arthur Simon

 Todd Simon, individually, as surviving
 child of Arthur Simon

 Jennifer Simon Berardi, individually, as
 surviving sibling of Kenneth Simon

 Karen Simon, as Personal Representative
 of the Estate of Kenneth Simon, deceased,
 the late child of Arthur Simon

 Karen Simon, as the Personal
 Representative of the Estate of Kenneth
 Simon, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Kenneth Simon

 Jennifer Simon Berardi, as Personal
 Representative of the Estate of Arthur
 Simon, deceased, the late parent of
 Kenneth Simon

 Mandy Exantus, individually, as surviving
 sibling of Kenneth Simon

 Susan Simon, individually, as surviving
 parent of Kenneth Simon

 Todd Simon, individually, as surviving
 sibling of Kenneth Simon

 Jill S. Polansky, individually, as surviving
 sibling of Thomas E. Sinton III


                                                145
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 147 of 962




 Sally Sinton, individually, as surviving
 sibling of Thomas E. Sinton III

 Susan M. Sinton, individually, as surviving
 parent of Thomas E. Sinton III

 Marilyn Smith Pusey, individually, as
 surviving spouse of Leon Smith

 Marilyn Smith Pusey, as the Personal
 Representative of the Estate of Leon Smith,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Leon Smith

 Irene Smith, individually, as surviving
 parent of Leon Smith

 Jasmine Michele Smith, individually, as
 surviving child of Leon Smith

 Nakia Smith, individually, as surviving
 child of Leon Smith

 Tiffany Smith, individually, as surviving
 child of Leon Smith

 Yolanda Smith-Purdy, individually, as
 surviving child of Leon Smith

 Mary Elizabeth Reddy, individually, as
 surviving sibling of Moira A. Smith

 James Smith, individually, as surviving
 spouse of Moira A. Smith

 James Smith, as the Personal
 Representative of the Estate of Moira A.
 Smith, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Moira
 A. Smith

 Patricia Mary Smith, individually, as
 surviving child of Moira A. Smith

 Patricia S. Rafter, as the Personal
 Representative of the Estate of Bonnie

                                             146
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 148 of 962




 Smithwick, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Bonnie Smithwick

 Patricia S. Rafter as Personal
 Representative of the Estate of Thomas J.
 Smithwick, deceased, the late spouse of
 Bonnie Smithwick

 Peter Shihadeh, individually, as surviving
 sibling of Bonnie Smithwick

 Peter Shihadeh as Personal Representative
 of the Estate of Jeanne Santamarie
 Shihadeh, deceased, the late parent of
 Bonnie Smithwick

 Peter Shihadeh as Personal Representative
 of the Estate of Theodore D. Shihadeh,
 deceased, the late parent of Bonnie
 Smithwick

 James W. Smithwick, individually, as
 surviving child of Bonnie Smithwick

 Katharine E. Smithwick, individually, as
 surviving child of Bonnie Smithwick

 Joanne Messina, individually, as surviving
 sibling of Michael C. Sorresse

 Catherine Ricciardelli, individually, as
 surviving spouse of Michael C. Sorresse

 Catherine Ricciardelli, as the Personal
 Representative of the Estate of Michael C.
 Sorresse, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael C. Sorresse

 Leonard M. Sorresse Jr., individually, as
 surviving sibling of Michael C. Sorresse

 Leonard M. Sorresse Sr., individually, as
 surviving parent of Michael C. Sorresse


                                              147
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 149 of 962




 Maria Sorresse, individually, as surviving
 parent of Michael C. Sorresse

 Nicholas Sorresse, individually, as
 surviving sibling of Michael C. Sorresse

 Andrew Soulas, individually, as surviving
 child of Timothy Soulas

 Christopher Soulas, individually, as
 surviving child of Timothy Soulas

 Katherine Soulas, individually, as
 surviving spouse of Timothy Soulas

 Katherine Soulas, as the Personal
 Representative of the Estate of Timothy
 Soulas, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Timothy Soulas

 Matthew Soulas, individually, as surviving
 child of Timothy Soulas

 Timothy Soulas, Jr., individually, as
 surviving child of Timothy Soulas

 Daniel Reid Soulas, individually, as
 surviving child of Timothy Soulas

 Linda E. Spampinato a/k/a Linda E.
 Melville, individually, as surviving sibling
 of Donald F. Spampinato

 Michael Spampinato, individually, as
 surviving sibling of Donald F. Spampinato

 Michael Spampinato as Personal
 Representative of the Estate of Mary
 Spampinato, deceased, the late parent of
 Donald F. Spampinato

 Barbara Carroll Spence, individually, as
 surviving spouse of Maynard S. Spence

 Barbara Carroll Spence, as the Personal
 Representative of the Estate of Maynard S.

                                                148
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 150 of 962




 Spence, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Maynard S. Spence

 Kristina Spence, individually, as surviving
 child of Maynard S. Spence

 Shannon Spence, individually, as surviving
 child of Maynard S. Spence

 Dorothy Spence Evans, individually, as
 surviving sibling of Maynard S. Spence

 Susan Spitz, individually, as surviving
 spouse of William Spitz

 Susan Spitz, as the Personal Representative
 of the Estate of William Spitz, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of William Spitz

 Kathy Buell, individually, as surviving
 sibling of Timothy Stackpole

 Tara Stackpole, as the Personal
 Representative of the Estate of Timothy
 Stackpole, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Timothy Stackpole

 Patricia Murphy, individually, as surviving
 sibling of Timothy Stackpole

 Edward Stackpole, individually, as
 surviving sibling of Timothy Stackpole

 Michael Stackpole, individually, as
 surviving sibling of Timothy Stackpole

 Daniel Carroll, individually, as surviving
 child of Patricia J. Statz

 David Carroll, individually, as surviving
 spouse of Patricia J. Statz


                                               149
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 151 of 962




 David Carroll, as the Personal
 Representative of the Estate of Patricia J.
 Statz, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Patricia J. Statz

 Erick Carroll, individually, as surviving
 child of Patricia J. Statz

 Pamela Statz, individually, as surviving
 sibling of Patricia J. Statz

 Vincent A. Statz, individually, as surviving
 parent of Patricia J. Statz

 Phil Statz, individually, as surviving sibling
 of Patricia J. Statz

 Gloria Darrisaw, individually, as surviving
 sibling of Edna L. Stephens

 Eunice W. Stephens, individually, as
 surviving sibling of Edna L. Stephens

 Betty Jo Hill, individually, as surviving
 sibling of Edna L. Stephens

 Brenda Stephens Pyant, individually, as
 surviving sibling of Edna L. Stephens

 Eddie Stephens, individually, as surviving
 sibling of Edna L. Stephens

 Marvin Stephens, individually, as surviving
 sibling of Edna L. Stephens

 Mary L. Stephens, individually, as
 surviving sibling of Edna L. Stephens

 Barbara Stephens-Cobb, individually, as
 surviving sibling of Edna L. Stephens

 Torrass Allen-Stephens, individually, as
 surviving child of Edna L. Stephens

 Torrass Allen-Stephens, as the Personal
 Representative of the Estate of Edna L.

                                               150
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 152 of 962




 Stephens, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Edna
 L. Stephens

 Eric Stoller, individually, as surviving child
 of Sanford M. Stoller

 Glen Stoller, individually, as surviving
 child of Sanford M. Stoller

 Trudy Stoller, individually, as surviving
 spouse of Sanford M. Stoller

 Trudy Stoller, as the Personal
 Representative of the Estate of Sanford M.
 Stoller, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Sanford M. Stoller

 Leslie A. Intindoli, individually, as
 surviving sibling of Steven Strauss

 Leslie A. Intindoli as Personal
 Representative of the Estate of Albert
 Strauss, deceased, the late parent of Steven
 Strauss

 Leslie A. Intindoli as Personal
 Representative of the Estate of Theresa
 Strauss, deceased, the late parent of Steven
 Strauss

 Derek Strauss, individually, as surviving
 child of Steven Strauss

 Melanie Strauss, individually, as surviving
 child of Steven Strauss

 Jean Strauss a/k/a Jeannie Strauss,
 individually, as surviving spouse of Steven
 Strauss

 Jean Strauss a/k/a Jeannie Strauss, as the
 Personal Representative of the Estate of
 Steven Strauss, deceased, and on behalf of
 all survivors and all legally entitled

                                                151
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 153 of 962




 beneficiaries and family members of
 Steven Strauss

 Brian Sullivan, individually, as surviving
 child of Christopher P. Sullivan

 Dolores Sullivan, individually, as surviving
 spouse of Christopher P. Sullivan

 Dolores Sullivan, as the Personal
 Representative of the Estate of Christopher
 P. Sullivan, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Christopher P. Sullivan

 James R. Sullivan, individually, as
 surviving parent of Christopher P. Sullivan

 Joan R. Sullivan, individually, as surviving
 parent of Christopher P. Sullivan

 Kevin M. Sullivan, individually, as
 surviving sibling of Christopher P. Sullivan

 Matthew J. Sullivan, individually, as
 surviving sibling of Christopher P. Sullivan

 Peter Q. Sullivan, individually, as
 surviving sibling of Christopher P. Sullivan

 Robert J. Sullivan, individually, as
 surviving sibling of Christopher P. Sullivan

 Sean Sullivan, individually, as surviving
 child of Christopher P. Sullivan

 Joan Wolffer, individually, as surviving
 sibling of Christopher P. Sullivan

 Jill Marsella, individually, as surviving
 spouse of Thomas F. Swift

 Jill Marsella, as the Personal
 Representative of the Estate of Thomas F.
 Swift, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of

                                               152
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 154 of 962




 Thomas F. Swift

 Kathleen F. Deloughery, as Personal
 Representative of the Estate of Frances
 Swift, deceased, the late parent of Thomas
 F. Swift

 Elisabeth L. Swift, as Personal
 Representative of the Estate of James S.
 Swift., deceased, the late sibling of Thomas
 F. Swift

 Patrick T. Swift, individually, as surviving
 sibling of Thomas F. Swift

 Peter T. Swift Jr., individually, as surviving
 sibling of Thomas F. Swift

  John Doe 114 as Personal Representative
 of the Estate of Peter T. Swift, Sr.,
 deceased, the late parent of Thomas F.
 Swift

 Octavia Bangura, individually, as surviving
 child of Hilda E. Taylor

 Yvette Jones, individually, as surviving
 sibling of Hilda E. Taylor

 Edna Mbayo, individually, as surviving
 sibling of Hilda E. Taylor

 Dennis Stafford, individually, as surviving
 child of Hilda E. Taylor

 George O. Taylor, individually, as
 surviving sibling of Hilda E. Taylor

 George O. Taylor, as the Personal
 Representative of the Estate of Hilda E.
 Taylor, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Hilda
 E. Taylor

 Pallavi Shirolkar, individually, as surviving
 spouse of Harshad S. Thatte


                                                153
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 155 of 962




 Pallavi Shirolkar, as the Personal
 Representative of the Estate of Harshad S.
 Thatte, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Harshad S. Thatte

 Elina Shirolkar, individually, as surviving
 child of Harshad S. Thatte

 Haleema Salie, as Personal Representative
 of the Estate of Rahma Salie, deceased, the
 late spouse of Michael Theodoridis

 Jordanis Theodoridis, individually, as
 surviving sibling of Michael Theodoridis

 Jordanis Theodoridis, as the Personal
 Representative of the Estate of Michael
 Theodoridis, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael Theodoridis

 Margarita Theodoridis, individually, as
 surviving parent of Michael Theodoridis

 Jordanis Theodoridis, as Personal
 Representative of the Estate of
 Constantinos Theodoridis, deceased, the
 late parent of Michael Theodoridis

 Sarah Kashetta, individually, as surviving
 child of Brian T. Thompson

 Kathleen Thompson, individually, as
 surviving spouse of Brian T. Thompson

 Kathleen Thompson, as the Personal
 Representative of the Estate of Brian T.
 Thompson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Brian
 T. Thompson

 Daniel Thompson, individually, as
 surviving child of Brian T. Thompson


                                               154
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 156 of 962




 Tsahai S. Santiago, individually, as
 surviving sibling of Vanavah Thompson

 Doreen Thompson, individually, as
 surviving parent of Vanavah Thompson

 Doreen Thompson, as the Personal
 Representative of the Estate of Vanavah
 Thompson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Vanavah Thompson

 Nia Jah-Selah Thompson, individually, as
 surviving child of Vanavah Thompson

 Giovanni McKenzie, individually, as
 surviving sibling of Vanavah Thompson

 Michael K. Thompson, individually, as
 surviving child of William Harry
 Thompson

 Michael K. Thompson, as the Personal
 Representative of the Estate of William
 Harry Thompson, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of
 William Harry Thompson

 Rahsaan Thompson, individually, as
 surviving child of William Harry
 Thompson

 Beatrice Woolen, individually, as surviving
 sibling of Tamara Thurman

 Saundra Faye Woolen, individually, as
 surviving parent of Tamara Thurman

 Emory E. Hackman, Jr., as the Personal
 Representative of the Estate of Tamara
 Thurman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Tamara Thurman

 Jennifer Dolan, individually, as surviving

                                              155
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 157 of 962




 child of John Tobin

 Barbara Tobin, individually, as surviving
 spouse of John Tobin

 Barbara Tobin, as the Personal
 Representative of the Estate of John Tobin,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of John Tobin

 Margaret M. Tobin, individually, as
 surviving sibling of John Tobin

 Michael Tobin, individually, as surviving
 sibling of John Tobin

 Sean Tobin, individually, as surviving child
 of John Tobin

 Teresa Traina, individually, as surviving
 parent of Christopher M Traina

 Teresa Traina, as the Personal
 Representative of the Estate of Christopher
 M Traina, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Christopher M. Traina

 Salvatore M. Traina Jr., individually, as
 surviving sibling of Christopher M. Traina

 Salvatore Traina, individually, as surviving
 parent of Christopher M. Traina

 Theresa Corio, individually, as surviving
 sibling of Diane M. Urban

 Theresa Corio, as the Personal
 Representative of the Estate of Diane M.
 Urban, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Diane
 M. Urban

 Ann Van Hine, individually, as surviving


                                               156
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 158 of 962




 spouse of Richard B. Van Hine

 Ann Van Hine, as the Personal
 Representative of the Estate of Richard B.
 Van Hine, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Richard B. Van Hine

 Meghan Sensenig, individually, as
 surviving child of Richard B. Van Hine

 Emily Small, individually, as surviving
 child of Richard B. Van Hine

 Vasanta Velamuri, individually, as
 surviving spouse of Sankara Velamuri

 Vasanta Velamuri, as the Personal
 Representative of the Estate of Sankara
 Velamuri, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Sankara Velamuri

 Ramon Velazquez, individually, as
 surviving child of Jorge L. Velazquez

 Migdalia Lopez, as Personal
 Representative of the Estate of Carmen
 Guzman, deceased, the late parent of David
 Vera

 Javier Guzman, individually, as surviving
 sibling of David Vera

 Migdalia Lopez, individually, as surviving
 sibling of David Vera

 Jennica Perez a/k/a Jennica Vera,
 individually, as surviving child of David
 Vera

 Jennica Perez a/k/a Jennica Vera, as the
 Personal Representative of the Estate of
 David Vera, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of David

                                              157
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 159 of 962




 Vera

 Anthony Vola, individually, as surviving
 sibling of Maria P. Vola

 Anthony Vola and Brittney Vola, as Co-
 Personal Representatives of the Estate of
 Clotilda Vola, deceased, the late sibling of
 Maria P. Vola

 Anthony Vola, as the Personal
 Representative of the Estate of Maria P.
 Vola, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Maria
 P. Vola

 Anthony Vola as Personal Representative
 of the Estate of John Vola, deceased, the
 late parent of Maria P. Vola

 Anthony Vola as Personal Representative
 of the Estate of Rita Vola, deceased, the
 late parent of Maria P. Vola

 Kim Wagner, individually, as surviving
 sibling of Karen J. Wagner

 Kim Wagner, as the Personal
 Representative of the Estate of Karen J.
 Wagner, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Karen
 J. Wagner

 Warren Wagner, individually, as surviving
 sibling of Karen J. Wagner

 Kim Wagner as Personal Representative of
 the Estate of Mattie B. Wagner, deceased,
 the late parent of Karen J. Wagner

 Karl Wagner, individually, as surviving
 sibling of Karen J. Wagner

 Andrea Treble, individually, as surviving
 sibling of Gabriela Waisman


                                                158
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 160 of 962




 Andrea Treble, as the Personal
 Representative of the Estate of Gabriela
 Waisman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Gabriela Waisman

 Armando Waisman, individually, as
 surviving parent of Gabriela Waisman

 Marta Waisman, individually, as surviving
 parent of Gabriela Waisman

 Rebecca Clemento, individually, as
 surviving spouse of Victor Wald

 Rebecca Clemento, as the Personal
 Representative of the Estate of Victor
 Wald, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Victor
 Wald

 Clarissa B. Kirschenbaum, individually, as
 surviving sibling of Victor Wald

 Daniella Wald Spielman, individually, as
 surviving child of Victor Wald

 Alexandra Wald Bortz, individually, as
 surviving child of Victor Wald

 Reagan Koniuch, individually, as surviving
 child of Peter G. Wallace

 Alison W. Smith, individually, as surviving
 child of Peter G. Wallace

 Charlotte Wallace, individually, as
 surviving spouse of Peter G. Wallace

 Charlotte Wallace, as the Personal
 Representative of the Estate of Peter G.
 Wallace, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Peter
 G. Wallace


                                              159
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 161 of 962




 Nancy Wallace, as the Personal
 Representative of the Estate of Robert F.
 Wallace, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert F. Wallace

 Robert Wallace, individually, as surviving
 child of Robert F. Wallace

 Angela Watson Cucciniello, individually,
 as surviving child of Kenneth Watson

 Glenn Watson, as the Personal
 Representative of the Estate of Andrew
 Watson, deceased, the late parent of
 Kenneth Watson

 Carmella Watson, individually, as
 surviving parent of Kenneth Watson

 Christopher Watson, individually, as
 surviving child of Kenneth Watson

 Gary Watson, individually, as surviving
 child of Kenneth Watson

 Glenn Watson, individually, as surviving
 sibling of Kenneth Watson

 James Watson, individually, as surviving
 sibling of Kenneth Watson

 Kenneth Watson, Jr., individually, as
 surviving child of Kenneth Watson

 Susan Watson, individually, as surviving
 spouse of Kenneth Watson

 Susan Watson, as the Personal
 Representative of the Estate of Kenneth
 Watson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Kenneth Watson

 Tina Watson-Tirabassi, individually, as


                                              160
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 162 of 962




 surviving sibling of Kenneth Watson

 Chin Sok Wells, individually, as surviving
 sibling of Chin Sun Pak Wells

 Kum Son Wells, individually, as surviving
 parent of Chin Sun Pak Wells

 Chin Yong Wells, as the Personal
 Representative of the Estate of Norman
 Wells, deceased, the late parent of Chin
 Sun Pak Wells

 Kum Son Wells, as the Personal
 Representative of the Estate of Chin Sun
 Pak Wells, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Chin
 Sun Pak Wells

 Enid White, individually, as surviving
 spouse of John White

 Enid White, as the Personal Representative
 of the Estate of John White, deceased, and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of John White

 Maxine White, individually, as surviving
 child of John White

 Shirley Nottingham, individually, as
 surviving sibling of Leonard A. White

 Shirley Nottingham, as the Personal
 Representative of the Estate of Leonard A.
 White, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Leonard A. White

 Shirley Nottingham as Personal
 Representative of the Estate of Thelma
 White, deceased, the late parent of Leonard
 A. White

 Sylvia Ball, individually, as surviving

                                              161
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 163 of 962




 sibling of Malissa White

 Wakeland Higgins, individually, as
 surviving spouse of Malissa White

 Wakeland Higgins, as the Personal
 Representative of the Estate of Malissa
 White, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Malissa White

 Marc C. White, individually, as surviving
 sibling of Malissa White

 Phillip White, individually, as surviving
 sibling of Malissa White

 John Doe 64, being intended to designate
 the Personal Representative of the Estate of
 Sandra L. White, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Sandra L. White

 Connie Murray, individually, as surviving
 sibling of Sandra L. White

 John Doe 65, being intended to designate
 the Personal Representative of the Estate of
 Wayne White, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally

                                              162
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 164 of 962




 entitled beneficiaries and family members
 of Wayne White

 Hilda Ventura, individually, as surviving
 sibling of Wayne White

 Daren White, individually, as surviving
 sibling of Wayne White

 Kathleen Wik, individually, as surviving
 sibling of William Wik

 Thomas C. Wik, individually, as surviving
 sibling of William Wik

 Raphael Wik, individually, as surviving
 sibling of William Wik

 Christopher Wong, individually, as
 surviving child of Yuk Ping Wong

 Eddie Wong, individually, as surviving
 child of Yuk Ping Wong

 Eddie Wong, as the Personal
 Representative of the Estate of Yuk Ping
 Wong, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Yuk
 Ping Wong

 Fahim Chowdhury, individually, as
 surviving sibling of Shakila Yasmin

 Sharif Chowdhury, individually, as
 surviving parent of Shakila Yasmin

 Sharif Chowdhury, as the co-Personal
 Representative of the Estate of Shakila
 Yasmin, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Shakila Yasmin

 John Doe 66, as Personal Representative of
 the Estate of Nurul Miah, deceased, the late
 spouse of Shakila Yasmin


                                             163
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 165 of 962




 Showkatara Sharif, individually, as
 surviving parent of Shakila Yasmin

 Showkatara Sharif, as the co-Personal
 Representative of the Estate of Shakila
 Yasmin, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Shakila Yasmin

 Mary Kessler, individually, as surviving
 sibling of Suzanne Youmans

 Mary Kessler, as the co-Personal
 Representative of the Estate of Suzanne
 Youmans, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Suzanne Youmans

 William Youmans, individually, as
 surviving sibling of Suzanne Youmans

 Joan Youmans as Personal Representative
 of the Estate of John Youmans, deceased,
 the late sibling of Suzanne Youmans

 Edmond Young Sr., individually, as
 surviving parent of Edmond G. Young Jr.

 Margaret Young, individually, as surviving
 parent of Edmond G. Young Jr.

 Markia Young, individually, as surviving
 sibling of Edmond G. Young Jr.

 Marvene Young, individually, as surviving
 sibling of Edmond G. Young Jr.

 Marvene Young, as the Personal
 Representative of the Estate of Edmond G.
 Young Jr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Edmond G. Young Jr.

 Stephan Young, individually, as surviving


                                             164
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 166 of 962




 child of Edmond G. Young Jr.

 Chaquita Young, individually, as surviving
 child of Lisa L. Young

 Chaquita Young, as the Personal
 Representative of the Estate of Lisa L.
 Young, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Lisa
 L. Young

 Desiree Zambrana, individually, as
 surviving sibling of Edwin J. Zambrana

 Lillian Zambrana, individually, as
 surviving parent of Edwin J. Zambrana

 Lillian Zambrana, as the Personal
 Representative of the Estate of Edwin J.
 Zambrana, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Edwin
 J. Zambrana

 Michael Zampieri, individually, as
 surviving sibling of Robert A. Zampieri

 Jeannie Schlesinger, individually, as
 surviving sibling of Robert A. Zampieri

 Evelyn Zelmanowitz, as the Personal
 Representative of the Estate of Jack
 Zelmanowitz, deceased, the late sibling of
 Abraham Zelmanowitz

 Evelyn Zelmanowitz, as the Personal
 Representative of the Estate of Abraham
 Zelmanowitz, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Abraham Zelmanowitz

 Gonzalo Morales, individually, as
 surviving sibling of Martin Morales
 Zempoaltecatl

 Benjamin Morales Zempoaltecatl,

                                              165
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 167 of 962




 individually, as surviving sibling of Martin
 Morales Zempoaltecatl

 Delfino Morales Zempoaltecatl,
 individually, as surviving sibling of Martin
 Morales Zempoaltecatl

 Eusebio Morales Zempoaltecatl,
 individually, as surviving sibling of Martin
 Morales Zempoaltecatl

 Glafira Morales Zempoaltecatl,
 individually, as surviving sibling of Martin
 Morales Zempoaltecatl

 Jose Morales Zempoaltecatl, individually,
 as surviving sibling of Martin Morales
 Zempoaltecatl

 Julia Morales Zempoaltecatl, individually,
 as surviving sibling of Martin Morales
 Zempoaltecatl

 Maria P.M. Zempoaltecatl Cortez,
 individually, as surviving parent of Martin
 Morales Zempoaltecatl

 BNY Mellon , as the Personal
 Representative of the Estate of Martin
 Morales Zempoaltecatl, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Martin Morales Zempoaltecatl

 Debra Zeplin, as the Personal
 Representative of the Estate of Marc Scott
 Zeplin, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Marc
 Scott Zeplin

 Debra Zeplin, individually, as surviving
 spouse of Marc Scott Zeplin

 Ethan Gabriel Zeplin, individually, as
 surviving child of Marc Scott Zeplin

 Ryan Harris Zeplin , individually, as

                                                166
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 168 of 962




 surviving child of Marc Scott Zeplin

 John P. O'Neill, Jr., individually, as injured
 person

 Elizabeth Ann Kiel, individually, as
 surviving sibling of John Joseph Florio

 John Florio, individually, as surviving
 parent of John Joseph Florio

 Timothy Geraghty, individually, as
 surviving sibling of Edward F. Geraghty

 Maureen Bernadette Paglia, individually,
 as surviving sibling of Thomas William
 Kelly

 William J. Kelly , individually, as
 surviving sibling of Thomas William Kelly

 Dennis T. Kelly , individually, as surviving
 sibling of Thomas William Kelly

 Wendy Santimays , individually, as
 surviving sibling of Ronald Kloepfer

 Jaime Reali, individually, as surviving
 child of Ronald Kloepfer

 Taylor Kloepfer, individually, as surviving
 child of Ronald Kloepfer

 Dawn Kloepfer, individually, as surviving
 spouse of Ronald Kloepfer

 Casey Kloepfer, individually, as surviving
 child of Ronald Kloepfer

 Anthony B. McMahon, individually, as
 surviving sibling of Robert Dismas
 McMahon

 Irene McMahon, individually, as surviving
 sibling of Robert Dismas McMahon

 Marie Sikorsky, individually, as surviving
 spouse of Gregory Sikorsky

                                               167
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 169 of 962




 Steven Sikorsky, individually, as surviving
 child of Gregory Sikorsky

 Christine O'Neill, as Personal
 Representative of the Estate of John F.
 O'Neill, deceased, the late parent of John P.
 O'Neill, Sr.

 Yon-Paul Casalduc, individually, as
 surviving sibling of Vivian Casalduc

 Frank Camaj, individually, as surviving
 sibling of Roko Camaj

 Kole Camaj, individually, as surviving
 sibling of Roko Camaj

 Preta Berisha, individually, as surviving
 sibling of Roko Camaj

 BNY Mellon, as the Personal
 Representative of the Estate of Humberto
 Ailinger, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Humberto Ailinger

 Frank Aversano as Personal Representative
 of the Estate of Francis L. Aversano,
 deceased, the late sibling of Louis F.
 Aversano, Jr.

 Frank Aversano as Personal Representative
 of the Estate of Philip Aversano, deceased,
 the late sibling of Louis F. Aversano, Jr.

 BNY Mellon, as the Personal
 Representative of the Estate of Ivhan
 Bautista, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Ivhan
 Bautista

 Anthony Chiofalo, individually, as
 surviving sibling of Nicholas Chiofalo

 Donna Chiofalo, individually, as surviving


                                               168
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 170 of 962




 sibling of Nicholas Chiofalo

 Annette Melillo, individually, as surviving
 sibling of Nicholas Chiofalo

 Rosemarie Maggiore, individually, as
 surviving parent of Nicholas Chiofalo

 George Coughlin, individually, as
 surviving sibling of John G. Coughlin

 Carol L. D'Allara, as the Personal
 Representative of the Estate of John
 D'Allara, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 D'Allara

 Daniel D'Allara as Personal Representative
 of the Estate of John D'Allara, Sr.,
 deceased, the late parent of John D'Allara

 Daniel D'Allara as Personal Representative
 of the Estate of Helen D'Allara, deceased,
 the late parent of John D'Allara

 John Joseph D'Allara, individually, as
 surviving child of John D'Allara

 Nicholas Michael D'Allara, individually, as
 surviving child of John D'Allara

 Carol L. D'Allara, individually, as
 surviving spouse of John D'Allara

 Dariusz Debek, individually, as surviving
 spouse of Tara Debek

 Albert DeRubbio, Jr., individually, as
 surviving sibling of David DeRubbio

 RoseEllen Dowdell, individually, as
 surviving spouse of Kevin Christopher
 Dowdell

 RoseEllen Dowdell, as the Personal
 Representative of the Estate of Kevin
 Christopher Dowdell, deceased, and on

                                               169
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 171 of 962




 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Kevin Christopher Dowdell

 Patrick Kevin Dowdell, individually, as
 surviving child of Kevin Christopher
 Dowdell

 James Michael Dowdell, individually, as
 surviving child of Kevin Christopher
 Dowdell

 Catherine Chiola as Personal
 Representative of the Estate of Anne T.
 Fisher, deceased, the late parent of John
 Roger Fisher

 Laurie Gambino, individually, as surviving
 sibling of Thomas Gambino, Jr.

 Marilyn Hess, individually, as surviving
 parent of Thomas Gambino, Jr.

 Thomas Gambino, Sr., individually, as
 surviving parent of Thomas Gambino, Jr.

 Keith Gambino, individually, as surviving
 sibling of Thomas Gambino, Jr.

 Valerie Gambino, individually, as
 surviving sibling of Thomas Gambino, Jr.

 Thomas Gambino, III, individually, as
 surviving child of Thomas Gambino, Jr.

 Brian Gambino, individually, as surviving
 child of Thomas Gambino, Jr.

 Janet Gambino, individually, as surviving
 spouse of Thomas Gambino, Jr.

 Janet Gambino, as the Personal
 Representative of the Estate of Thomas
 Gambino, Jr., deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Thomas Gambino, Jr.


                                             170
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 172 of 962




 John T. Genovese, individually, as
 surviving sibling of Steven Genovese

 John T. Genovese as Personal
 Representative of the Estate of Veronica
 Genovese, deceased, the late parent of
 Steven Genovese

 John T. Genovese as Personal
 Representative of the Estate of John G.
 Genovese, deceased, the late parent of
 Steven Genovese

 Patti Ann Valerio, individually, as
 surviving sibling of Matthew J. Grzymalski

 Paul Joseph Grzymalski, individually, as
 surviving sibling of Matthew J. Grzymalski

 Peter John Grzymalski, individually, as
 surviving sibling of Matthew J. Grzymalski

 Joseph Walter Grzymalski, individually, as
 surviving sibling of Matthew J. Grzymalski

 Jo Ann McManus, individually, as
 surviving sibling of Matthew J. Grzymalski

 Patricia Byrne, individually, as surviving
 sibling of Joseph Gullickson

 Ralph Gullickson and Patricia Byrne as
 Co-Personal Representatives of the Estate
 of Robert Gullickson, Sr., deceased, the
 late parent of Joseph Gullickson

 Thomas Gullickson, individually, as
 surviving sibling of Joseph Gullickson

 Patricia Gullickson, individually, as
 surviving parent of Joseph Gullickson

 Ralph Gullickson, individually, as
 surviving sibling of Joseph Gullickson

 Robert Gullickson, Jr., individually, as
 surviving sibling of Joseph Gullickson


                                              171
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 173 of 962




 Jake Halloran , individually, as surviving
 child of Vincent G. Halloran

 Kieran Halloran, individually, as surviving
 child of Vincent G. Halloran

 Phelan Halloran, individually, as surviving
 child of Vincent G. Halloran

 Declan Halloran , individually, as surviving
 child of Vincent G. Halloran

 Marie Halloran , individually, as surviving
 spouse of Vincent G. Halloran

 Marie Halloran , as the Personal
 Representative of the Estate of Vincent
 Gerard Halloran, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of
 Vincent G. Halloran

 Iris Marie Holohan, individually, as
 surviving parent of Thomas P. Holohan

 Mary Alice Holohan, individually, as
 surviving sibling of Thomas P. Holohan

 Megan Holohan, individually, as surviving
 sibling of Thomas P. Holohan

 Sean Holohan, individually, as surviving
 sibling of Thomas P. Holohan

 Harold Hughes, individually, as surviving
 sibling of Thomas F. Hughes, Jr.

 Tara Leonardi, individually, as surviving
 sibling of Thomas F. Hughes, Jr.

 Kathleen Creran as Personal Representative
 of the Estate of Kevin T. Hughes, deceased,
 the late sibling of Thomas F. Hughes, Jr.

 Mark F. Hughes , individually, as surviving
 sibling of Thomas F. Hughes, Jr.

 Deborah Bodner as Personal

                                               172
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 174 of 962




 Representative of the Estate of Frances S.
 Hughes, deceased, the late parent of
 Thomas F. Hughes, Jr.

 Martin S. Hughes, individually, as
 surviving sibling of Thomas F. Hughes, Jr.

 Deborah Bodner , individually, as
 surviving sibling of Thomas F. Hughes, Jr.

 Matthew Jordan, individually, as surviving
 child of Andrew Jordan

 Kelsey Jordan, individually, as surviving
 child of Andrew Jordan

 Sean Jordan, individually, as surviving
 child of Andrew Jordan

 Lisa Jordan, individually, as surviving
 spouse of Andrew Jordan

 Lisa Jordan, as the Personal Representative
 of the Estate of Andrew Jordan, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Andrew Jordan

 Philomena Ann Karczewski, individually,
 as surviving spouse of Charles Henry
 Karczewski

 Philomena Ann Karczewski, as the
 Personal Representative of the Estate of
 Charles Henry Karczewski, deceased, and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Charles Henry Karczewski

 Mary Kelly as Personal Representative of
 the Estate of Robert J. Kelly, deceased, the
 late sibling of Thomas William Kelly

 Daniel T. Kirwin, individually, as
 surviving sibling of Glenn Kirwin

 Jon D. Kirwin, individually, as surviving


                                                173
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 175 of 962




 sibling of Glenn Kirwin

 Peter M. Kirwin, individually, as surviving
 sibling of Glenn Kirwin

 Andrew Kirwin, individually, as surviving
 sibling of Glenn Kirwin

 Jennifer Kirwin Masse, individually, as
 surviving sibling of Glenn Kirwin

 Virginia Krukowski , individually, as
 surviving sibling of William Krukowski

 Barbara Rastelli , individually, as surviving
 parent of William Krukowski

 Corey LaFrance, individually, as surviving
 sibling of Alan LaFrance

 Aubrey LaFrance, individually, as
 surviving sibling of Alan LaFrance

 JoAnn Langone, individually, as surviving
 spouse of Thomas Langone

 JoAnn Langone, as the Personal
 Representative of the Estate of Thomas
 Langone, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Thomas Langone

 JoAnn Langone as Personal Representative
 of the Estate of Thomas Langone,
 deceased, the late sibling of Peter Langone

 Caitlin Langone-Brewer, individually, as
 surviving child of Thomas Langone

 Brian Langone, individually, as surviving
 child of Thomas Langone

 Joanne Langone, individually, as surviving
 sibling of Thomas Langone

 Rosemarie Langone, individually, as


                                               174
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 176 of 962




 surviving sibling of Thomas Langone

 Rosemarie Langone as Personal
 Representative of the Estate of Sheila
 Langone, deceased, the late parent of
 Thomas Langone

 Joanne Langone, individually, as surviving
 sibling of Peter Langone

 Rosemarie Langone, individually, as
 surviving sibling of Peter Langone

 Terri Langone, individually, as surviving
 spouse of Peter Langone

 Terri Langone, as the Personal
 Representative of the Estate of Peter
 Langone, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Peter
 Langone

 Terri Langone as Personal Representative
 of the Estate of Peter Langone, deceased,
 the late sibling of Thomas Langone

 Nikki Langone, individually, as surviving
 child of Peter Langone

 Karli Langone, individually, as surviving
 child of Peter Langone

 Rosemarie Langone as Personal
 Representative of the Estate of Sheila
 Langone, deceased, the late parent of Peter
 Langone

 Jose Domingo Liz, individually, as
 surviving sibling of Nancy Liz

 Jose Domingo Liz as Personal
 Representative of the Estate of Elena Liz,
 deceased, the late parent of Nancy Liz

 William Stone Luckett, individually, as
 surviving child of Edward H. Luckett


                                               175
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 177 of 962




 Jennifer Grace Luckett, individually, as
 surviving child of Edward H. Luckett

 Lisa Luckett, individually, as surviving
 spouse of Edward H. Luckett

 Timothy Wyatt Luckett, individually, as
 surviving child of Edward H. Luckett

 Lisa Luckett, as the Personal
 Representative of the Estate of Edward H.
 Luckett, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Edward H. Luckett

 Kathryn Crawford Luckett, individually, as
 surviving sibling of Edward H. Luckett

 Alexandra Ward Luckett, individually, as
 surviving sibling of Edward H. Luckett

 James Taylor Luckett, individually, as
 surviving sibling of Edward H. Luckett

 Alexandra Ward Luckett as Personal
 Representative of the Estate of Diana Ward
 Luckett, deceased, the late parent of
 Edward H. Luckett

 Caterina Tavolacci, individually, as
 surviving sibling of Anthony Luparello

 Domenica Anna Lopez, individually, as
 surviving sibling of Anthony Luparello

 Lauren Peters, individually, as surviving
 child of Louis Neil Mariani

 Donna Mercurio as Personal
 Representative of the Estate of Edna May
 Massa, deceased, the late spouse of
 Nicholas G. Massa

 Donna Mercurio, individually, as surviving
 child of Nicholas G. Massa

 Nicholas T. Massa, individually, as

                                             176
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 178 of 962




 surviving child of Nicholas G. Massa

 Josephine R. Redd as Personal
 Representative of the Estate of Virgie
 Mattic Binford ,deceased, the late sibling
 of Margaret Elaine Mattic

 Denise McDonnell, individually, as
 surviving sibling of Michael Patrick
 McDonnell

 Vincenza McDonnell, individually, as
 surviving parent of Michael Patrick
 McDonnell

 Patrick A. McDonnell, individually, as
 surviving parent of Michael Patrick
 McDonnell

 Kathleen Murphy, individually, as
 surviving sibling of Patrick McGuire

 Thomas McGuire, individually, as
 surviving sibling of Patrick McGuire

 John McGuire, individually, as surviving
 sibling of Patrick McGuire

 Deborah Lynn Temple, individually, as
 surviving spouse of Vincent S. Morello

 Justin John Morello, individually, as
 surviving child of Vincent S. Morello

 Paige Celine Morello, individually, as
 surviving child of Vincent S. Morello

 John Morello, individually, as surviving
 parent of Vincent S. Morello

 Patricia Morello, individually, as surviving
 parent of Vincent S. Morello

 Deborah Lynn Temple, as the Personal
 Representative of the Estate of Vincent S.
 Morello, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of

                                                177
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 179 of 962




 Vincent S. Morello

 Colleen Golden, individually, as surviving
 child of Richard Morgan

 John Michael Nee, individually, as
 surviving sibling of Luke Gerard Nee

 Dolores Laguerre, individually, as
 surviving sibling of Diana O'Connor

 Jimmy Vega, individually, as surviving
 sibling of Diana O'Connor

 Minerva Galarza, individually, as surviving
 sibling of Diana O'Connor

 Sonia Vega, individually, as surviving
 sibling of Diana O'Connor

 Peter Roman, as the Personal
 Representative of the Estate of Miriam
 Roman, deceased, the late sibling of Diana
 O'Connor

 Aida Cintron, individually, as surviving
 sibling of Diana O'Connor

 Johnny Vega, individually, as surviving
 sibling of Diana O'Connor

 Johnny Vega as Personal Representatives
 of the Estate of Maria Vega, deceased, the
 late parent of Diana O'Connor

 Maria Vega as Personal Representative of
 the Estate of Robert Vega, deceased, the
 late sibling of Diana O'Connor

 Eddie Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder

 Nilda Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder

 Olga Ottenwalder, individually, as
 surviving sibling of Isidro D. Ottenwalder


                                              178
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 180 of 962




 John Owens as Personal Representative of
 the Estate of Dolores Owens, deceased, the
 late parent of Peter Owens

 Pamela Rancke Schroeder, individually, as
 surviving sibling of Alfred Todd Rancke

 Elizabeth Rivas, as the Personal
 Representative of the Estate of Moises
 Norberto Rivas, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Moises Norberto Rivas

 Elizabeth Rivas, individually, as surviving
 spouse of Moises Norberto Rivas

 Moesha Rivas, individually, as surviving
 child of Moises Norberto Rivas

 Moises Norberto Rivas, Jr., individually, as
 surviving child of Moises Norberto Rivas

 Lorene Rosenberg, individually, as
 surviving sibling of Lloyd Rosenberg

 Lawrence Rosenberg, individually, as
 surviving parent of Lloyd Rosenberg

 Lorene Rosenberg as Personal
 Representative for the Estate of Michele
 Rosenberg, deceased, the late parent of
 Lloyd Rosenberg

 Linda Amato, individually, as surviving
 sibling of Timothy A. Roy

 James Roy, individually, as surviving
 sibling of Timothy A. Roy

 John Roy, individually, as surviving sibling
 of Timothy A. Roy

  John Roy as Personal Representative of
 the Estate of Ida Mae Roy, deceased, the
 late parent of Timothy A. Roy

 Gary Roy, individually, as surviving

                                               179
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 181 of 962




 sibling of Timothy A. Roy

 Kenneth Roy, individually, as surviving
 sibling of Timothy A. Roy

 Brendan Ryan, individually, as surviving
 sibling of Matthew Ryan

 Kathleen Sanchez , individually, as
 surviving child of Raymond Sanchez

 Christian Santos, individually, as surviving
 child of Rafael Humberto Santos

 Jonnathan Santos, individually, as
 surviving child of Rafael Humberto Santos

 Yubelly Santos, as the Personal
 Representative of the Estate of Rafael
 Humberto Santos, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of Rafael
 Humberto Santos

 Yubelly Santos, individually, as surviving
 spouse of Rafael Humberto Santos

 Christopher John Saucedo, individually, as
 surviving sibling of Gregory Saucedo

 Elizabeth Isacowitz as Personal
 Representative of the Estate of Helen
 Seaman , individually, as surviving parent
 of Michael H. Seaman

 Elizabeth Isacowitz, individually, as
 surviving sibling of Michael H. Seaman

 Maryellen Michalenko, individually, as
 surviving sibling of Michael H. Seaman

 Paul Simon and Stu Simon, as Personal
 Representatives of the Estate of Philip
 Simon, deceased, the late sibling of Arthur
 Simon

 Brian Stackpole, individually, as surviving


                                               180
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 182 of 962




 child of Timothy Stackpole

 Brendan Stackpole, individually, as
 surviving child of Timothy Stackpole

 Kaitlyn Welsh, individually, as surviving
 child of Timothy Stackpole

 Kevin Carlton, individually, as surviving
 child of Timothy Stackpole

 Tara A. Stackpole, individually, as
 surviving spouse of Timothy Stackpole

 Terence Stackpole, individually, as
 surviving child of Timothy Stackpole

 Barbara Strobert, individually, as surviving
 parent of Steven Frank Strobert

 Frank Steven Strobert, individually, as
 surviving child of Steven Frank Strobert

 Tara Strobert-Nolan, individually, as
 surviving spouse of Steven Frank Strobert

 Kathleen Deloughery, individually, as
 surviving sibling of Thomas F. Swift

 Alexander John Wallace, individually, as
 surviving child of Robert F. Wallace

 Jeanine L. Fusco, individually, as surviving
 child of Robert F. Wallace

 Nancy T. Wallace, individually, as
 surviving spouse of Robert F. Wallace

 Nancy T. Wallace as Personal
 Representative of the Estate of Daniel
 Wallace, deceased, the late child of Robert
 F. Wallace

 Karin Charles, individually, as surviving
 spouse of Kenneth Zelman

 Karin Charles, as the Personal
 Representative of the Estate of Kenneth

                                               181
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 183 of 962




 Zelman, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Kenneth Zelman

 Olivia Zelman Charles, individually, as
 surviving child of Kenneth Zelman

 Ethan Zelman Charles, individually, as
 surviving child of Kenneth Zelman

 Justin Johnson, individually, as surviving
 child of Janice Brown

 George Coughlin, as Personal
 Representative of the Estate of Mary
 Elizabeth Coughlin, deceased, the late
 parent of John G. Coughlin

 Beverly Epps, individually, as surviving
 sibling of Christopher Samuel Epps

 Debra Epps, individually, as surviving
 sibling of Christopher Samuel Epps

 Valerie Epps Kendall, individually, as
 surviving sibling of Christopher Samuel
 Epps

 Chundera Epps, individually, as surviving
 sibling of Christopher Samuel Epps

 Robert Epps, individually, as surviving
 sibling of Christopher Samuel Epps

 Anne Ielpi, individually, as surviving
 parent of Jonathan Ielpi

 AnneMarie Holleran, individually, as
 surviving sibling of Jonathan Ielpi

 Donna A. Cavanaugh, as Personal
 Representative of the Estate of Rose C.
 Karczewski, deceased, the late parent of
 Charles Henry Karczewski

 Donna Cavanaugh, individually, as
 surviving sibling of Charles Henry

                                              182
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 184 of 962




 Karczewski

 Donna A. Cavanaugh as Personal
 Representative of the Estate of Henry
 Karczewski, deceased, the late parent of
 Charles Henry Karczewski

 Maurice Corbett Kearney, as Personal
 Representative of the Estate of Lorraine
 Kearney, deceased, the late parent of Lisa
 Kearney-Griffin

 Virginia Krukowski, as Personal
 Representative of the Estate of Walter
 Krukowski , deceased, the late parent of
 William Krukowski

 Maureen Simpson, individually, as
 surviving sibling of Patrick McGuire

 James McGuire, individually, as surviving
 sibling of Patrick McGuire

 Jody Myers, as Personal Representative of
 the Estate of Terrence McGuire , deceased,
 the late sibling of Patrick McGuire

 John Owens, as Personal Representative of
 the Estate of Peter J. Owens, Sr., deceased,
 the late parent of Peter Owens

 John Owens, as Personal Representative of
 the Estate of Kathleen Owens, deceased,
 the late sibling of Peter Owens

 Douglas Roy, individually, as surviving
 sibling of Timothy A. Roy

 Barbara Strobert, as Personal
 Representative of the Estate of Frank
 Strobert, deceased, the late parent of Steven
 Frank Strobert

 Joan Ruth Puwalski, individually, as
 surviving spouse of Steven J. Bates

 Jeffrey A. Bloom, Esq., as Personal
 Representative of the Estate of Hazel

                                                183
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 185 of 962




 Lillian Mariani, deceased, the late parent of
 Louis Mariani

 Bruce Mariani, individually, as surviving
 sibling of Louis Mariani

 Elizabeth Miller, individually, as surviving
 child of Douglas Miller

 Laura Nogaj, individually, as surviving
 spouse of Stephen Philip Morris

 Jude Monteserrato a/k/a Judith
 Monteserrato, individually, as surviving
 spouse of John Michael Sbarbaro

 Tara Strobert-Nolan, as the Personal
 Representative of the Estate of Steven
 Frank Strobert, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Steven Frank Strobert

 John Doe 70, being intended to designate
 the Personal Representative of the Estate of
 Steven J. Bates, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Steven J. Bates

 John Doe 71, being intended to designate
 the Personal Representative of the Estate of
 Stephen Philip Morris, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet

                                                184
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 186 of 962




 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Stephen Philip Morris

 John Doe 72, being intended to designate
 the Personal Representative of the Estate of
 John Michael Sbarbaro, deceased, said
 name being fictitious, her/his true name is
 not presently known, confirmed, and/or has
 not been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 Michael Sbarbaro

 Chundera Epps, as Personal Representative
 of the Estate of Geneva Epps, deceased, the
 late parent of Christopher Samuel Epps

 Chundera Epps, as Personal Representative
 of the Estate of Christopher Samuel Epps,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Christopher Samuel Epps

 Nicole Mayer, individually, as surviving
 child of Peter J. Carroll

 Pete Carroll, individually, as surviving
 child of Peter J. Carroll

 Christopher Carroll, individually, as
 surviving child of Peter J. Carroll

 Michael Carroll, individually, as surviving
 child of Peter J. Carroll

 Kevin Carroll, individually, as surviving
 sibling of Peter J. Carroll

 Patricia D'Agata, individually, as surviving
 sibling of Peter J. Carroll


                                               185
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 187 of 962




 Thomas Gonzalez, Jr., as the Personal
 Representative of the Estate of Jenine
 Gonzalez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jenine
 Gonzalez

 Thomas Gonzalez, Jr., individually, as
 surviving sibling of Jenine Gonzalez

 Laura Israilov, as Personal Representative
 of the Estate of Malkisadikh Ilkanayev,
 deceased, the late parent of Daniel
 Ilkanayev

 Laura Israilov, individually, as surviving
 sibling of Daniel Ilkanayev

 Brendan Ryan, as Personal Representative
 of the Estate of Teresa Ryan, deceased, the
 late parent of Matthew Ryan

 Michael Stackpole, as Personal
 Representative of the Estate of Edward
 Stackpole, Sr., deceased, the late parent of
 Timothy Stackpole

 Janice Dukes, individually, as surviving
 spouse of Donnie Taylor

 Janice Dukes, as the Personal
 Representative of the Estate of Donnie
 Taylor, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Donnie Taylor

 Kristina Nicole York, individually, as
 surviving child of Raymond York

 Joan York, as the Personal Representative
 of the Estate of Raymond York, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Raymond York

 Joan York, individually, as surviving


                                                186
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 188 of 962




 spouse of Raymond York

 Jesse Kemp, individually, as surviving
 child of Timothy Haviland

 John Doe 83, being intended to designate
 the Personal Representative of the Estate of
 Timothy Haviland, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Timothy Haviland

 Barbara Keane, as Personal Representative
 of the Estate of Amy Haviland, deceased,
 the late spouse of Timothy Haviland

 Sean McShane, individually, as surviving
 child of Terence McShane

 Aidan McShane, individually, as surviving
 child of Terence McShane

 Colin McShane, individually, as surviving
 child of Terence McShane

 Catherine McShane, individually, as
 surviving spouse of Terence McShane

 Catherine McShane, as the Personal
 Representative of the Estate of Terence
 McShane, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Terence McShane

 Phylicia Ruggieri, individually, as
 surviving child of Joseph Rivelli, Jr.

 Matthew Casey, individually, as surviving


                                             187
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 189 of 962




 child of Kathleen Hunt-Casey

 Kevin Casey, individually, as surviving
 spouse of Kathleen Hunt-Casey

 Kevin Casey, as the Personal
 Representative of the Estate of Kathleen
 Hunt-Casey, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Kathleen Hunt-Casey

 Theresa Fiorelli, individually, as surviving
 spouse of Stephen J. Fiorelli

 Theresa Fiorelli, as the Personal
 Representative of the Estate of Stephen J.
 Fiorelli, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Stephen J. Fiorelli

 Stephen J. Fiorelli, Jr., individually, as
 surviving child of Stephen J. Fiorelli

 Christine Epstein, individually, as
 surviving child of Stephen J. Fiorelli

 William Fiorelli, individually, as surviving
 sibling of Stephen J. Fiorelli

 Kenneth Fiorelli, individually, as surviving
 sibling of Stephen J. Fiorelli

 Karen Fiorelli, individually, as surviving
 sibling of Stephen J. Fiorelli

 Kaitlyn Fisher, individually, as surviving
 child of John Roger Fisher

 Margaret Fisher, individually, as surviving
 child of John Roger Fisher

 Brian Wilkes, individually, as surviving
 spouse of Lorraine Antigua

 John Doe 76, being intended to designate
 the Personal Representative of the Estate of

                                                188
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 190 of 962




 Lorraine Antigua, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Lorraine Antigua

 Mildred Calderon, individually, as
 surviving sibling of Vivian Casalduc

 Wendell Acevedo, individually, as
 surviving sibling of Vivian Casalduc

 Eugene A. Harris, individually, as
 surviving sibling of Peggie Hurt

 Cynthia M. Harris, individually, as
 surviving sibling of Peggie Hurt

 Anthony D. Harris, individually, as
 surviving sibling of Peggie Hurt

 Shawn Patrick, individually, as surviving
 sibling of James Matthew Patrick

 Christopher Ruggieri, individually, as
 surviving child of Joseph Rivelli, Jr.

 Aidan Salamone, individually, as surviving
 child of John Patrick Salamone

 Alexander Salamone, individually, as
 surviving child of John Patrick Salamone

 Anna Salamone, individually, as surviving
 child of John Patrick Salamone

 James Babakitis, as Personal
 Representative of the Estate of Kevin
 Babakitis, deceased, the late child of
 Arlene T. Babakitis


                                             189
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 191 of 962




 Brieann Centro, individually, as surviving
 child of Alexander Centro, Jr.

 Alexander Centro, individually, as
 surviving child of Alexander Centro, Jr.

 Alexander Centro, as the Personal
 Representative of the Estate of Alexander
 Centro, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Alexander Centro, Jr.

 Craig Centro, individually, as surviving
 child of Alexander Centro, Jr.

 Craig Centro, as Personal Representative of
 the Estate of Italia Centro, deceased, the
 late parent of Alexander Centro, Jr.

 Amy Eberling, individually, as surviving
 spouse of Dean P. Eberling

 Amy Eberling, as the Personal
 Representative of the Estate of Dean P.
 Eberling, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Dean
 P. Eberling

 Corinne Ardente, individually, as surviving
 child of Dean P. Eberling

 Lauren Eberling, individually, as surviving
 child of Dean P. Eberling

 Christopher Ahearn, individually, as
 surviving child of Brian Ahearn

 Lauren Sosa, individually, as surviving
 child of Brian Ahearn

 Debra Ahearn, individually, as surviving
 spouse of Brian Ahearn

 Marian Owens, individually, as surviving
 sibling of Kenneth Phelan


                                               190
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 192 of 962




 Sami Nassar, as the Personal
 Representative of the Estate of Jude
 Moussa, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jude
 Moussa

 John Morris III, individually, as surviving
 sibling of Seth Morris

 Emily Cournoyer, as Personal
 Representative of the Estate of Alice
 Beaton, deceased, the late sibling of John
 Cahill

 Eric Johnson, as the Personal
 Representative of the Estate of Janice
 Brown, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Janice
 Brown

 Aidan Halloran, individually, as surviving
 child of Vincent G. Halloran

 Conor Halloran , individually, as surviving
 child of Vincent G. Halloran

 Eileen Lunder Baynes, individually, as
 surviving sibling of Christopher Lunder

 Hector Mejia, individually, as surviving
 sibling of Manuel E. Mejia

 Diane Brierley, individually, as surviving
 sibling of Mary Catherine Boffa

 Margaret Trudeau, individually, as
 surviving sibling of Mary Catherine Boffa

 John Boffa, individually, as surviving
 spouse of Mary Catherine Boffa

 John Boffa, as the Co-Personal
 Representative of the Estate of Mary
 Catherine Boffa, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Mary

                                               191
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 193 of 962




 Catherine Boffa

 John T. Genovese, as the Personal
 Representative of the Estate of Steven
 Genovese, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Steven Genovese

 August Bernaerts, individually, as
 surviving sibling of Donna Bernaerts-
 Kearns

 Ellen Macri, individually, as surviving
 sibling of Katherine McGarry Noack

 Patrick McGarry, individually, as surviving
 sibling of Katherine McGarry Noack

 Marianne Burke, individually, as surviving
 sibling of Katherine McGarry Noack

 Deborah M. Brink, individually, as
 surviving sibling of Katherine McGarry
 Noack

 Francis J. Moody as Personal
 Representative of the Estate of Angelina
 Moody, deceased, the late parent of
 Thomas Moody

 Francis J. Moody, individually, as
 surviving sibling of Thomas Moody

 Lorraine Antoniello, individually, as
 surviving sibling of Thomas Moody

 Michael L. Moody, individually, as
 surviving sibling of Thomas Moody

 Patrick Nee, individually, as surviving
 child of Luke Gerard Nee

 Irene Lavelle, as the Personal
 Representative of the Estate of Luke G.
 Nee, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Luke

                                              192
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 194 of 962




 Gerard Nee

 Irene Lavelle, individually, as surviving
 spouse of Luke Gerard Nee

 Jean Diaz, individually, as surviving
 sibling of Kenneth John Phelan

 Lourdes Mireya Mejia De La Cruz,
 individually, as surviving sibling of
 Manuel E. Mejia

 Rafael Mejia, individually, as surviving
 sibling of Manuel E. Mejia

 James Morris as Personal Representative of
 the Estate of Barbara Morris, deceased, the
 late parent of Seth Morris

 James Morris as Personal Representative of
 John R. Morris, Jr., deceased, the late
 parent of Seth Morris

 James Morris, individually, as surviving
 sibling of Seth Morris

 John Doe 79, being intended to designate
 the Personal Representative of the Estate of
 Raymond Sanchez, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Raymond Sanchez

 Jennifer Holohan, individually, as
 surviving sibling of Thomas P. Holohan

 John Doe 82 as Personal Representative of
 the Estate of Guiseppe Luparello, deceased,
 the late sibling of Anthony Luparello


                                             193
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 195 of 962




 John Doe 103, as the Personal
 Representative of the Estate of Rosa
 Campisi, deceased, the late sibling of
 Anthony Luparello

 Patrice A. Regan, as the Personal
 Representative of the Estate of Nicholas G.
 Massa, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Nicholas G. Massa

 Gloria Eleanor Moran, individually, as
 surviving sibling of Nicholas G. Massa

 Colleen Golden , as the Personal
 Representative of the Estate of Richard
 Morgan, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Richard Morgan

 Colleen Golden as Personal Representative
 of the Estate of Patricia Morgan, deceased,
 the late spouse of Richard Morgan

 Brendan Ielpi, individually, as surviving
 sibling of Jonathan Ielpi

 Melissa Brengel, individually, as surviving
 sibling of Jonathan Ielpi

 Freddye Jean Carter-Perry, as Personal
 Representative of the Estate of Fred A.
 Carter, deceased, the late spouse of
 Angelene C. Carter

 Rachel Uchitel, individually, as surviving
 spouse of Andrew O’Grady

 John Doe 80, being intended to designate
 the Personal Representative of the Estate of
 Andrew O'Grady, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
                                               194
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 196 of 962




 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Andrew O’Grady

 Maureen Sullivan, individually, as
 surviving spouse of Derek O. Sword

 John Doe 81, being intended to designate
 the Personal Representative of the Estate of
 Derek O. Sword, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Derek
 O. Sword

 Jose D. Liz as Guardian of Maria Liz,
 individually, as surviving sibling of Nancy
 Liz

 Maya Simon, individually, as surviving
 child of Kenneth Simon

 Karen Simon, individually, as surviving
 spouse of Kenneth Simon

 Stanley Frank, individually, as surviving
 parent of Gary J. Frank

 Thomas Shea as Personal Representative of
 the Estate of Joan Shea, deceased, the late
 parent of Joseph Shea

 Thomas Shea as Personal Representative of
 the Estate of Joan Shea, deceased, the late
 parent of Daniel Shea

 Mindy Gabler, individually, as surviving


                                               195
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 197 of 962




 spouse of Fredric Gabler

 Mindy Gabler, as the Personal
 Representative of the Estate of Fredric
 Gabler, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Fredric Gabler

 Alexis Gabler, individually, as surviving
 child of Fredric Gabler

 Howard Gabler, individually, as surviving
 parent of Fredric Gabler

 Leslie Gabler, individually, as surviving
 parent of Fredric Gabler

 Jolie Gabler, individually, as surviving
 sibling of Fredric Gabler

 Steven Romagnolo, individually, as
 surviving sibling of Joseph M. Romagnolo

 Jonathan Martinez, individually, as
 surviving child of Robert G. Martinez

 Barbara Keane as Personal Representative
 of the Estate of Amy Haviland, deceased,
 the late sibling of Robert Spear

 Nicholas Kemp, individually, as surviving
 child of Timothy Haviland

 John Doe 84, being intended to designate
 the Personal Representative of the Estate of
 Donna Bernaerts-Kearns, deceased, said
 name being fictitious, her/his true name is
 not presently known, confirmed, and/or has
 not been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of


                                             196
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 198 of 962




 Donna Bernaerts-Kearns

 Bradley D. Noack, as the Personal
 Representative of the Estate of Katherine
 McGarry Noack, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of
 Katherine McGarry Noack

 Patricia Kavanagh Edwards, individually,
 as surviving spouse of Dennis Edwards

 Patricia Kavanagh Edwards, as the
 Personal Representative of the Estate of
 Dennis Edwards, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of
 Dennis Edwards

 Alexa Marie Edwards, individually, as
 surviving child of Dennis Edwards

 Sheila Edwards Doyle as Personal
 Representative of the Estate of Julia
 Edwards, deceased, the late parent of
 Dennis Edwards

 Morgan Edwards, individually, as
 surviving sibling of Dennis Edwards

 Sheila Doyle, individually, as surviving
 sibling of Dennis Edwards

 Elizabeth Cortese, individually, as
 surviving sibling of Dennis Edwards

 Eileen O'Brien, individually, as surviving
 sibling of Dennis Edwards

 Gale DiFrancisco, individually, as
 surviving sibling of Donald A. Foreman

 Eric Ogren, individually, as surviving
 sibling of Joseph J. Ogren

 Patricia Golden, individually, as surviving
 sibling of Joseph J. Ogren


                                               197
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 199 of 962




 Shaun Rodgers, individually, as surviving
 sibling of Venesha Richards

 Robert R. Ploger, IV, individually, as
 surviving child of Robert R. Ploger III

 Edward Goldstein, individually, as
 surviving spouse of Michelle H. Goldstein

 Patricia Singh, individually, as surviving
 child of James T. Lynch

 Ber Barry Aron, individually, as surviving
 parent of Joshua Aron

 Dana Aron Weiner, individually, as
 surviving sibling of Joshua Aron

 Barbara Ann Sullivan, individually, as
 surviving sibling of James W. Barbella

 Dorothy Blanding as Personal
 Representative of the Estate of Harry
 Blanding, Sr., deceased, the late parent of
 Harry Blanding, Jr.

 Anthony Bocchi, individually, as surviving
 sibling of John Bocchi

 Elena Bocchi, individually, as surviving
 parent of John Bocchi

 Matthew Bocchi, individually, as surviving
 child of John Bocchi

 Michael Bocchi, individually, as surviving
 child of John Bocchi

 Michele Bocchi-Sandello, individually, as
 surviving spouse of John Bocchi

 Nicholas Bocchi, individually, as surviving
 child of John Bocchi

 Paul Bocchi, individually, as surviving
 child of John Bocchi

 Ann Bocchi-Schwimmer, individually, as

                                               198
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 200 of 962




 surviving sibling of John Bocchi

 Diane Bocchi Esola, individually, as
 surviving sibling of John Bocchi

 Ann Bocchi-Schwimmer as Personal
 Representative of the Estate of Camillo
 Bocchi, deceased, the late parent of John
 Bocchi

 Lucy Bocchi Kraus, individually, as
 surviving sibling of John Bocchi

 Michele Bocchi-Sandello, as the Personal
 Representative of the Estate of John
 Bocchi, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 Bocchi

 Elizabeth Murphy, individually, as
 surviving sibling of Mary Catherine Boffa

 Elizabeth Murphy, as the Co-Personal
 Representative of the Estate of Mary
 Catherine Boffa, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Mary
 Catherine Boffa

 Daphne Bowers, individually, as surviving
 parent of Veronique Bowers

 Andrew Broderick, individually, as
 surviving child of Mark Broderick

 Carolina Broderick, individually, as
 surviving spouse of Mark Broderick

 James Broderick, individually, as surviving
 child of Mark Broderick

 Matthew Broderick, individually, as
 surviving child of Mark Broderick

 Carolina Broderick, as the Personal
 Representative of the Estate of Mark
 Broderick, deceased, and on behalf of all

                                             199
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 201 of 962




 survivors and all legally entitled
 beneficiaries and family members of Mark
 Broderick

 Angus Jacques, as the co-Personal
 Representative of the Estate of Felix
 Calixte, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Felix
 Calixte

 Angus Jacques, individually, as surviving
 parent of Felix Calixte

 Christine Brozon, individually, as
 surviving spouse of Luigi Calvi

 Christine Brozon, as the Personal
 Representative of the Estate of Luigi Calvi,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Luigi Calvi

 James Cherry, individually, as surviving
 sibling of Vernon Cherry

 Cynthia Taylor, individually, as surviving
 sibling of Vernon Cherry

 Germaine Alexander, individually, as
 surviving sibling of Brenda Conway

 Tammi Alexander, individually, as
 surviving sibling of Brenda Conway

 Dennis Coughlin, individually, as surviving
 sibling of Timothy Coughlin

 Francis Coughlin, Jr., individually, as
 surviving sibling of Timothy Coughlin

 Robert Coughlin, individually, as surviving
 sibling of Timothy Coughlin

 Maura Coughlin-Roberti, individually, as
 surviving spouse of Timothy Coughlin

 Riley Coughlin-Roberti, individually, as

                                              200
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 202 of 962




 surviving child of Timothy Coughlin

 Ryann Coughlin-Roberti, individually, as
 surviving child of Timothy Coughlin

 Sean Coughlin-Roberti, individually, as
 surviving child of Timothy Coughlin

 Francis Coughlin, Jr., Dennis Coughlin,
 and Robert Coughlin as co-Personal
 Representatives of the Estate of Alice
 Coughlin, deceased, the late parent of
 Timothy Coughlin

 Robert Coughlin and Francis Coughlin as
 co-Personal Representatives of the Estate
 of Francis Coughlin, Sr., deceased, the late
 parent of Timothy Coughlin

 Francis Coughlin, Jr., as the co-Personal
 Representative of the Estate of Timothy
 Coughlin, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Timothy Coughlin

 Maura Coughlin-Roberti, as the Co-
 Personal Representative of the Estate of
 Timothy Coughlin, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of
 Timothy Coughlin

 Regina Martin as Personal Representative
 of the Estate of Francis Cove, deceased, the
 late sibling of James Cove

 Regina Martin as Personal Representative
 of the Estate of Margaret Cove, deceased,
 the late parent of James Cove

 Regina Martin, individually, as surviving
 sibling of James Cove

 Vancena Dawson Donovan, individually,
 as surviving sibling of Calvin Dawson

 Vanita Aviles, individually, as surviving

                                                201
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 203 of 962




 sibling of Calvin Dawson

 Janita Clyne, individually, as surviving
 sibling of Calvin Dawson

 Alvin Dawson, individually, as surviving
 sibling of Calvin Dawson

 Annette Simon, individually, as surviving
 sibling of Calvin Dawson

 Charles Dawson, individually, as surviving
 sibling of Calvin Dawson

 Janet Dawson, individually, as surviving
 sibling of Calvin Dawson

 Lena Dawson, individually, as surviving
 spouse of Calvin Dawson

 Tatiana Dawson, individually, as surviving
 child of Calvin Dawson

 Victorine Dawson, individually, as
 surviving sibling of Calvin Dawson

 Doris Hetherington, individually, as
 surviving sibling of Calvin Dawson

 Lena Dawson, as the Personal
 Representative of the Estate of Calvin
 Dawson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Calvin Dawson

 Daniella De La Pena, individually, as
 surviving child of Emerita De la Pena

 Gabriel De La Pena, individually, as
 surviving spouse of Emerita De La Pena

 Gabriel De La Pena, as the Personal
 Representative of the Estate of Emerita De
 La Pena, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of


                                              202
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 204 of 962




 Emerita De La Pena

 Ronald Sierra, individually, as surviving
 spouse of Judith Berquis Diaz-Sierra

 Ronald Sierra, as the Personal
 Representative of the Estate of Judith
 Berquis Diaz-Sierra, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Judith Berquis Diaz-Sierra

 Marlyse Salome Bosley, individually, as
 surviving sibling of Jose Espinal

 Saul Espinal Ramos, individually, as
 surviving sibling of Jose Espinal

 Eileen Esquilin, individually, as surviving
 sibling of Ruben Esquilin

 Marybelle Vargas, individually, as
 surviving sibling of Ruben Esquilin

 Lynn Faulkner, as the Personal
 Representative of the Estate of Wendy R.
 Faulkner, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Wendy Faulkner

 Stephen Morris, individually, as surviving
 sibling of Wendy Faulkner

 Annette Fields, individually, as surviving
 sibling of Samuel Fields, Sr.

 Felicia Fields, individually, as surviving
 sibling of Samuel Fields, Sr.

 Michael Fields, individually, as surviving
 sibling of Samuel Fields, Sr.

 Kevin Finnerty, individually, as surviving
 sibling of Timothy Finnerty

 Peter Finnerty, individually, as surviving


                                               203
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 205 of 962




 parent of Timothy Finnerty

 Theresa Roberts, individually, as surviving
 spouse of Timothy Finnerty

 Theresa Roberts, as the Personal
 Representative of the Estate of Timothy
 Finnerty, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Timothy Finnerty

 Lisa Madden as Personal Representative of
 the Estate of Carl J. Flickinger, deceased,
 the late parent of Carl M. Flickinger

 Alana Flickinger, individually, as surviving
 child of Carl M. Flickinger

 Carl J. Flickinger, individually, as
 surviving child of Carl M. Flickinger

 Craig T. Flickinger, individually, as
 surviving child of Carl M. Flickinger

 Edmund Flickinger, individually, as
 surviving sibling of Carl M. Flickinger

 Kathleen Flickinger, individually, as
 surviving spouse of Carl M. Flickinger

 Lisa Madden as Personal Representative of
 the Estate of Louise Flickinger, deceased,
 the late parent of Carl M. Flickinger

 Robert Flickinger, individually, as
 surviving sibling of Carl M. Flickinger

 Lisa Madden, individually, as surviving
 sibling of Carl M. Flickinger

 Kathleen Flickinger, as the Personal
 Representative of the Estate of Carl M.
 Flickinger, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Carl
 M. Flickinger


                                               204
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 206 of 962




 Sylvia Aleman, individually, as surviving
 sibling of Claudia Foster

 Blanca Martinez, individually, as surviving
 parent of Claudia Foster

 Carlos Martinez, individually, as surviving
 parent of Claudia Foster

 Karen Carlucci , individually, as surviving
 spouse of Peter Frank

 Constance Frank , individually, as
 surviving parent of Peter Frank

 Michelle Frank , individually, as surviving
 sibling of Peter Frank

 Peter Frank , individually, as surviving
 parent of Peter Frank

 Peter Frank, as the Personal Representative
 of the Estate of Peter Frank, deceased, and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Peter Frank

 Edward Gnazzo, individually, as surviving
 sibling of John Gnazzo

 Nicholas Gnazzo, individually, as
 surviving sibling of John Gnazzo

 Song Jeng, individually, as surviving
 parent of John Gnazzo

 Luz America Piedrahita Ayala,
 individually, as surviving parent of Wilder
 Gomez

 Jairo Gomez, individually, as surviving
 sibling of Wilder Gomez

 Omar Gomez, individually, as surviving
 sibling of Wilder Gomez

 Walter Gomez, individually, as surviving


                                               205
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 207 of 962




 sibling of Wilder Gomez

 Kathleen Griffin, individually, as surviving
 sibling of John Griffin

 Kathryn M. Quinn, as Personal
 Representative of the Estate of Kathryn
 Hargrave, deceased, the late parent of
 Timothy J. Hargrave

 Jeanmarie Hargrave, individually, as
 surviving sibling of Timothy J. Hargrave

 James Hargrave, Jr., individually, as
 surviving sibling of Timothy J. Hargrave

 Carolyn Marie Kelly, individually, as
 surviving sibling of Timothy J. Hargrave

 Patricia Mansfield, individually, as
 surviving sibling of Timothy J. Hargrave

 Maureen Murphy, individually, as
 surviving sibling of Timothy J. Hargrave

 Kathryn M. Quinn, individually, as
 surviving sibling of Timothy J. Hargrave

 Mary Ann Struble, individually, as
 surviving sibling of Timothy J. Hargrave

 Kenneth Haskell, individually, as surviving
 sibling of Thomas Haskell

 Kenneth Haskell, individually, as surviving
 sibling of Timothy Haskell

 Belinda Barino Dillard, individually, as
 surviving sibling of Ronnie Henderson

 Sharon Henderson , individually, as
 surviving sibling of Ronnie Henderson

 Lucy Aita, individually, as surviving
 spouse of Paul Innella

 Maria Rich, as the Personal Representative
 of the Estate of Paul Innella, deceased, and

                                                206
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 208 of 962




 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Paul Innella

 James Jenkins, Jr., individually, as
 surviving sibling of John Jenkins

 Joan Kirwin, individually, as surviving
 spouse of Glenn Kirwin

 Joan Kirwin, as the Personal
 Representative of the Estate of Glenn
 Kirwin, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Glenn
 Kirwin

 Miles Kirwin, individually, as surviving
 child of Glenn Kirwin

 Troy Kirwin, individually, as surviving
 child of Glenn Kirwin

 John Doe 88, being intended to designate
 the Personal Representative of the Estate of
 Vanessa Lang Langer, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Vanessa Lang Langer

 Jackson S. O’Connor , individually, as
 surviving sibling of Vanessa Lang Langer

 James T. O’Connor , individually, as
 surviving sibling of Vanessa Lang Langer

 Berdie Hicks as Personal Representative of
 the Estate of Walter W. Hicks, deceased,
 the late parent of Nickie Lindo


                                              207
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 209 of 962




 Lauren Baker, individually, as surviving
 child of Joseph R Marchbanks Jr.

 Ryan Marchbanks, individually, as
 surviving child of Joseph R Marchbanks Jr.

 Teresa Marchbanks, individually, as
 surviving spouse of Joseph R Marchbanks
 Jr.

 Teresa Marchbanks, as the Personal
 Representative of the Estate of Joseph R.
 Marchbanks, Jr., deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Joseph R Marchbanks Jr.

 Chasity DeLeon, as the co-Personal
 Representative of the Estate of Robert
 Gabriel Martinez, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of
 Robert G. Martinez

 Kathleen A. Koehler, individually, as
 surviving child of Timothy Maude

 Karen E. Maude, individually, as surviving
 child of Timothy Maude

 Teresa Maude, individually, as surviving
 spouse of Timothy Maude

 Teresa Maude, as the Personal
 Representative of the Estate of Timothy
 Maude, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Timothy Maude

 Christopher Delosh, individually, as
 surviving spouse of Kathy N. Mazza

 John Mazza, individually, as surviving
 sibling of Kathy N. Mazza

 Ronald Mazza, individually, as surviving


                                             208
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 210 of 962




 sibling of Kathy N. Mazza

 Rose Mazza, individually, as surviving
 parent of Kathy N. Mazza

 Victor Mazza, individually, as surviving
 sibling of Kathy N. Mazza

 Christopher Delosh, as the Personal
 Representative of the Estate of Kathy N.
 Mazza, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Kathy
 N. Mazza

 Andrea Madonna and Joanne Los Kamp, as
 co-Personal Representatives of the Estate
 of Joan Micciulli, deceased, the late parent
 of William Micciulli

 Andrea Madonna, as Personal
 Representative of the Estate of William
 Edward Micciulli, deceased, the late parent
 of William Micciulli

 Joanne Los Kamp , individually, as
 surviving sibling of William Micciulli

 Andrea Madonna , individually, as
 surviving sibling of William Micciulli

 Emily Micciulli, individually, as surviving
 child of William Micciulli

 Sara Micciulli, individually, as surviving
 child of William Micciulli

 Colleen Micciulli-Foley, individually, as
 surviving spouse of William Micciulli

 Colleen Micciulli-Foley, as the Personal
 Representative of the Estate of William
 Micciulli, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 William Micciulli

 Daniel Lamb, individually, as surviving

                                               209
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 211 of 962




 sibling of Odessa Morris

 Ethel Scott, individually, as surviving
 sibling of Odessa Morris

 Joseph Lamb, Sr., individually, as
 surviving sibling of Odessa Morris

 Rachel Quinnie, individually, as surviving
 sibling of Odessa Morris

 Jeanine Murphy, individually, as surviving
 spouse of James Murphy, IV

 Jeanine Murphy, as the Personal
 Representative of the Estate of James
 Murphy, IV, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of James
 Murphy, IV

 Jessica A. Navas, individually, as surviving
 child of Joseph M. Navas

 Joseph M. Navas, Jr., individually, as
 surviving child of Joseph M. Navas

 Justin C. Navas, individually, as surviving
 child of Joseph M. Navas

 Karen A. Navas, individually, as surviving
 spouse of Joseph M. Navas

 Karen A. Navas, as the Personal
 Representative of the Estate of Joseph M.
 Navas, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joseph M. Navas

 Stephen Nevins as the Personal
 Representative of the Estate of Lorraine B
 Foley, deceased, the late parent of Gerard
 Nevins

 Stephen Nevins , individually, as surviving
 sibling of Gerard Nevins


                                               210
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 212 of 962




 Iris Vega, individually, as surviving sibling
 of Diana O'Connor

 Maria Vega, individually, as surviving
 sibling of Diana O'Connor

 Gia L. Morris-Kern, as the Co-Personal
 Representative of the Estate of Israel
 Pabon, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Israel
 Pabon

 Virginia Parro, individually, as surviving
 parent of Robert Parro

 Barbara Dunleavy , individually, as
 surviving sibling of Glenn C. Perry

 Frank Perry A/K/A Francis Perry,
 individually, as surviving sibling of Glenn
 C. Perry

 Catherine Perry, individually, as surviving
 parent of Glenn C. Perry

 Patrick Perry, individually, as surviving
 sibling of Glenn C. Perry

 Jennifer Bruno, individually, as surviving
 sibling of Maria Ramirez

 Miriam Carter, individually, as surviving
 sibling of Maria Ramirez

 Elsie Cintron-Rosado, individually, as
 surviving parent of Maria Ramirez

 Elsie Cintron-Rosado, as the Personal
 Representative of the Estate of Maria
 Ramirez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Maria
 Ramirez

 Jessica Darden, individually, as surviving
 sibling of Maria Ramirez


                                               211
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 213 of 962




 Maureen Regan , individually, as surviving
 sibling of Donald Regan

 William Regan , individually, as surviving
 sibling of Donald Regan

 Joan Reilly and Regina Madigan as Legal
 Guardians of Edward Reilly, individually,
 as surviving sibling of Kevin Reilly

 John McManus, as the Personal
 Representative of the Estate of Richard
 Rescorla, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Richard C. Rescorla

 Susan Brand a/k/a Siegel a/k/a Retik,
 individually, as surviving sibling of David
 Retik

 Mark Retik as Personal Representative of
 the Estate of Lynne Retik, deceased, the
 late parent of David Retik

 John Doe 125 as Personal Representative
 of the Estate of Alan Retik, deceased, the
 late parent of David Retik

 Benjamin Retik, individually, as surviving
 child of David Retik

 Dina Retik, individually, as surviving child
 of David Retik

 Mark Retik, individually, as surviving
 sibling of David Retik

 Molly Retik, individually, as surviving
 child of David Retik

 Susan Zalesne Retik, individually, as
 surviving spouse of David Retik

 Susan Zalesne Retik, as the Personal
 Representative of the Estate of David
 Retik, deceased, and on behalf of all
 survivors and all legally entitled

                                               212
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 214 of 962




 beneficiaries and family members of David
 Retik

 Stanley Rodgers, individually, as surviving
 parent of Venesha Richards

 Cristal Barragan, individually, as surviving
 child of Moises Rivas

 Katherin Pleitez, individually, as surviving
 child of Moises Rivas

 Karen Robertson-Jurczak, as the Personal
 Representative of the Estate of Donald
 Robertson, Jr., deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Donald Robertson, Jr.

 Karen Robertson-Jurczak, individually, as
 surviving spouse of Donald Robertson, Jr.

 Denyse Betcher, individually, as surviving
 child of Paul Ruback

 Danny J. Marino, individually, as surviving
 child of Paul Ruback

 Raysa Rodriguez, individually, as
 surviving sibling of Esmerlin Salcedo

 Amarcimeve Jimenez Salcedo,
 individually, as surviving parent of
 Esmerlin Salcedo

 Amber Salcedo, individually, as surviving
 child of Esmerlin Salcedo

 Francisco Salcedo, individually, as
 surviving sibling of Esmerlin Salcedo

 Joel Salcedo, individually, as surviving
 sibling of Esmerlin Salcedo

 Kayla Salcedo, individually, as surviving
 child of Esmerlin Salcedo

 Markos Salcedo, individually, as surviving

                                                213
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 215 of 962




 child of Esmerlin Salcedo

 Matilde Salcedo, individually, as surviving
 spouse of Esmerlin Salcedo

 Melody Salcedo, individually, as surviving
 child of Esmerlin Salcedo

 Miriam Salcedo, individually, as surviving
 parent of Esmerlin Salcedo

 Orson Salcedo, individually, as surviving
 sibling of Esmerlin Salcedo

 Oscar Salcedo, individually, as surviving
 sibling of Esmerlin Salcedo

 Matilde Salcedo, as the Personal
 Representative of the Estate of Esmerlin
 Salcedo, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Esmerlin Salcedo

 Melissa Magazine, individually, as
 surviving child of Jay R. Magazine

 Paul Asaro, individually, as surviving
 sibling of Carl Asaro

 Peter Asaro, individually, as surviving
 sibling of Carl Asaro

 Dolores Audiffred, individually, as
 surviving sibling of James Audiffred

 Mark Anthony Barrett, Sr., individually, as
 surviving sibling of Renee Barrett-Arjune

 Mark Anthony Barrett, Sr., as the Personal
 Representative of the Estate of Renee
 Barrett-Arjune, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Renee
 Barrett-Arjune

 Edward Arjune, individually, as surviving


                                               214
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 216 of 962




 child of Renee Barrett-Arjune

 John Joseph Curtin, individually, as
 surviving sibling of Michael Curtin

 Kathleen Wojslaw, individually, as
 surviving sibling of Michael Curtin

 Jeanne Osterndorf, individually, as
 surviving sibling of Michael Curtin

 James Devlin, individually, as surviving
 sibling of Dennis Devlin

 John Duffy, individually, as surviving
 sibling of Michael Duffy

 Barbara Duffy, individually, as surviving
 parent of Michael Duffy

 Barbara Duffy, as the Personal
 Representative of the Estate of Michael
 Duffy, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael Duffy

 Marykay Kemper, individually, as
 surviving sibling of Michael Duffy

 Jane Gollan, individually, as surviving
 sibling of Barbara G. Edwards

 Douglas Evans, individually, as surviving
 sibling of Eric Evans

 Iris J. Friedman, individually, as surviving
 sibling of Paul Friedman

 Meryl Friedman Price, individually, as
 surviving sibling of Paul Friedman

 James Friedman, individually, as surviving
 sibling of Paul Friedman

 Thomas Gary, individually, as surviving
 child of Bruce Gary


                                                215
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 217 of 962




 Josefina Gonzalez , individually, as
 surviving parent of Rosa Gonzalez

 Eneida Ramos, individually, as surviving
 sibling of Rosa Gonzalez

 Lydia E. Ramos-Gonzalez, individually, as
 surviving sibling of Rosa Gonzalez

 Esterlina Rivera , individually, as surviving
 sibling of Rosa Gonzalez

 Reinaldo Ramos-Gonzalez, individually, as
 surviving sibling of Rosa Gonzalez

 Maria Gonzalez , individually, as surviving
 sibling of Rosa Gonzalez

 Nelida Gonzalez , individually, as
 surviving sibling of Rosa Gonzalez

 Jose Gonzalez , individually, as surviving
 sibling of Rosa Gonzalez

 Wesley Graf, individually, as surviving
 child of Edwin Graf

 Mary Hasson, as the Personal
 Representative of the Estate of Joseph John
 Hasson, III, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joseph John Hasson, III

 Mary Hasson, individually, as surviving
 spouse of Joseph John Hasson, III

 Joseph John Hasson, IV, individually, as
 surviving child of Joseph John Hasson, III

 Joseph John Hasson, Jr, individually, as
 surviving parent of Joseph John Hasson, III

 Paulette Hasson, individually, as surviving
 parent of Joseph John Hasson, III

 Victoria Zanotto, individually, as surviving


                                               216
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 218 of 962




 sibling of Joseph John Hasson, III

 Christopher Hasson, individually, as
 surviving sibling of Joseph John Hasson,
 III

 Maria Rich, individually, as surviving
 sibling of Paul Innella

 Maria Rich, as Personal Representative of
 the Estate of Shirley Innella, deceased, the
 late parent of Paul Innella

 Lisa Iraci as Personal Representative of the
 Estate of Francis Kelly, deceased, the late
 sibling of Thomas William Kelly

 Nancy Kelly, individually, as surviving
 sibling of Thomas Michael Kelly

 Nancy Kelly as Personal Representative of
 the Estate of Sylvia Kelly, deceased, the
 late parent of Thomas Michael Kelly

 Yolanda Cerda, individually, as surviving
 spouse of Matthew Leonard

 Yolanda Cerda, as the Personal
 Representative of the Estate of Matthew
 Leonard, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Matthew Leonard

 Christina Leonard, individually, as
 surviving child of Matthew Leonard

 Samantha Allen, individually, as surviving
 child of Samantha Lightbourn-Allen

 Michael Magee, individually, as surviving
 sibling of Charles Magee

 Margaret Randazzo-Maloy, individually, as
 surviving spouse of Gene Maloy

 Rosalie Marti, individually, as surviving


                                                217
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 219 of 962




 parent of Michael Marti

 Mario Truglio as Personal Representative
 of the Estate of Rodger Marti, deceased,
 the late parent of Michael Marti

 Rosalie Marti, as the Personal
 Representative of the Estate of Michael
 Marti, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael Marti

 Nixia Mena-Alexis, individually, as
 surviving sibling of Diarelia Mena

 Diana Mena, individually, as surviving
 parent of Diarelia Mena

 Nixia Mena-Alexis as Personal
 Representative of the Estate of Aurelio
 Mena, deceased, the late parent of Diarelia
 Mena

 Sandra O'Connor Carey, individually, as
 surviving spouse of Keith O'Connor

 Sandra O'Connor Carey, as the Personal
 Representative of the Estate of Keith
 O'Connor, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Keith
 O'Connor

 Susan O'Connor, individually, as surviving
 parent of Keith O'Connor

 Susan O'Connor, as Personal
 Representative of the Estate of Francis
 O'Connor, deceased, the late parent of
 Keith O'Connor

 Neil Peraza, individually, as surviving
 sibling of Robert Peraza

 Neil Peraza, as the Personal Representative
 of the Estate of Robert Peraza, deceased,
 and on behalf of all survivors and all

                                               218
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 220 of 962




 legally entitled beneficiaries and family
 members of Robert Peraza

 Neil Peraza, as Personal Representative of
 the Estate of Robert D. Peraza, deceased,
 the late parent of Robert Peraza

 Lee Gargano, individually, as surviving
 sibling of Karen Renda

 Minerva Rosario, as the Personal
 Representative of the Estate of Aida
 Rosario, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Aida
 Rosario

 Minerva Rosario as Personal
 Representative of the Estate of Rodolfo
 Rosario, deceased, the late sibling of Aida
 Rosario

 Amy Vazquez, individually, as surviving
 child of Aida Rosario

 Jasmine DeJesus, individually, as surviving
 child of Aida Rosario

 Farah Frenkel, individually, as surviving
 sibling of Rahma Salie

 Christina Savas, individually, as surviving
 child of Anthony Savas

 David Schlegel, individually, as surviving
 sibling of Robert Schlegel

 Richard Schlegel, individually, as
 surviving sibling of Robert Schlegel

 Elvin Schlegel, individually, as surviving
 parent of Robert Schlegel

 Robert Davenport, individually, as
 surviving sibling of Antionette Sherman

 Christopher Charles Clarke, individually,


                                               219
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 221 of 962




 as surviving sibling of Antionette Sherman

 Jamal Green, individually, as surviving
 child of Antionette Sherman

 Perry Sikorsky as Personal Representative
 of the Estate of George K. Sikorsky,
 deceased, the late parent of Gregory
 Sikorsky

 Perry Sikorsky as Personal Representative
 of the Estate of Luzia Sikorsky, deceased,
 the late parent of Gregory Sikorsky

 Toolsiedai Seepersaud a/k/a Ruby Awan,
 individually, as surviving parent of
 Khamladai Khami Singh

 Toolsiedai Seepersaud a/k/a Ruby Awan,
 as the Personal Representative of the Estate
 of Khamladai Khami Singh, deceased, and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Khamladai Khami Singh

 Toolsiedai Seepersaud a/k/a Ruby Awan,
 as Personal Representative of the Estate of
 Roshan Ramesh Singh, deceased, the late
 sibling of Khamladai Khami Singh

 Toolsiedai Seepersaud a/k/a Ruby Awan,
 individually, as surviving parent of Roshan
 Ramesh Singh

 Toolsiedai Seepersaud a/k/a Ruby Awan,
 as the Personal Representative of the Estate
 of Roshan Ramesh Singh, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Roshan Ramesh Singh

 Toolsiedai Seepersaud a/k/a Ruby Awan,
 as Personal Representative of the Estate of
 Khamladai Khami Singh, deceased, the late
 sibling of Roshan Ramesh Singh

 Leandra Hart, individually, as surviving


                                               220
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 222 of 962




 child of Leon Smith

 Alex Stone, individually, as surviving child
 of Lonny Jay Stone

 Stacey Stone, individually, as surviving
 spouse of Lonny Jay Stone

 Stacey Stone, as the Co-Personal
 Representative of the Estate of Lonny
 Stone, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Lonny
 Jay Stone

 Joshua Stone, individually, as surviving
 child of Lonny Jay Stone

 Graeme Sword, individually, as surviving
 sibling of Derek O. Sword

 John Doe 105, as the Personal
 Representative of the Estate of Allan
 Sword, deceased, the late sibling of Derek
 O. Sword

 Irene Sword, individually, as surviving
 parent of Derek O. Sword

 David Sword, individually, as surviving
 parent of Derek O. Sword

 Luz Vale, individually, as surviving spouse
 of Ivan Vale

 Luz Vale, as the Personal Representative of
 the Estate of Ivan Vale, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Ivan Vale

 Clarissa Kirschenbaum, as Personal
 Representative of the Estate of Adolph
 Wald, deceased, the late parent of Victor
 Wald

 Clarissa Kirschenbaum, as Personal
 Representative of the Estate of Fanni Wald,

                                              221
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 223 of 962




 deceased, the late parent of Victor Wald

 Robert Weingard, individually, as
 surviving sibling of Scott Weingard

 Marc Weingard as Personal Representative
 of the Estate of Bonnie Weingard,
 deceased, the late parent of Scott Weingard

 Marc Weingard, individually, as surviving
 sibling of Scott Weingard

 Marc Weingard, as the Personal
 Representative of the Estate of Scott
 Weingard, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Scott
 Weingard

 Denise White, individually, as surviving
 child of John White

 Lillian Zambrana as Personal
 Representative of the Estate of Edwin
 Zambrana, Sr., deceased, the late parent of
 Edwin Zambrana

 Michael Bianco, individually, as surviving
 child of Joseph Agnello

 Charlotte Amundson, individually, as
 surviving child of Spc. Craig Amundson

 Elliot Amundson, individually, as
 surviving child of Spc. Craig Amundson

 Amber Ann Amundson, individually, as
 surviving spouse of Spc. Craig Amundson

 Natalie Pollack, individually, as surviving
 child of Louis F. Aversano, Jr.

 Ronda Boyle, individually, as surviving
 spouse of Allen Boyle

 Ronda Boyle, as the Personal
 Representative of the Estate of Allen
 Boyle, deceased, and on behalf of all

                                               222
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 224 of 962




 survivors and all legally entitled
 beneficiaries and family members of Allen
 Boyle

 Allen Richard Boyle, individually, as
 surviving child of Allen Boyle

 Dylan Boyle, individually, as surviving
 child of Allen Boyle

 Nathan Boyle, individually, as surviving
 child of Allen Boyle

 Patrick Cartier, individually, as surviving
 parent of James Cartier

 John Doe 96, being intended to designate
 the Personal Representative of the Estate of
 James Cartier, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of James Cartier

 Douglas Caufield, individually, as
 surviving sibling of Robert Caufield

 John Doe 93, being intended to designate
 the Personal Representative of the Estate of
 Robert Caufield, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Robert Caufield

 Jermaine Cook, individually, as surviving
                                               223
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 225 of 962




 spouse of Helen Cook

 Mary Doherty, as the Personal
 Representative of the Estate of John
 Doherty, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 Doherty

 Mary Doherty, individually, as surviving
 spouse of John Doherty

 Barbara Doherty, individually, as surviving
 child of John Doherty

 Maureen Reed, individually, as surviving
 child of John Doherty

 Sarah Dwyer, individually, as surviving
 child of Patrick Dwyer

 Jo Ann Dwyer, individually, as surviving
 spouse of Patrick Dwyer

 Jo Ann Dwyer, as the Personal
 Representative of the Estate of Patrick
 Dwyer, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Patrick Dwyer

 Brendan Dwyer, individually, as surviving
 child of Patrick Dwyer

 Barbara Echtermann, individually, as
 surviving parent of Margaret Echtermann

 Johanna Kmetz , as the Personal
 Representative of the Estate of Margaret
 Echtermann, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Margaret Echtermann

 Annette Elseth, individually, as surviving
 spouse of Robert Elseth

 Annette Elseth, as the Personal

                                              224
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 226 of 962




 Representative of the Estate of Robert
 Elseth, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Robert Elseth

 Faith Elseth, individually, as surviving
 child of Robert Elseth

 Berta Elseth, individually, as surviving
 parent of Robert Elseth

 James Elseth as Personal Representative
 for the Estate of Curtis Elseth, deceased,
 the late parent of Robert Elseth

 James Elseth, individually, as surviving
 sibling of Robert Elseth

 Harlan Elseth, individually, as surviving
 sibling of Robert Elseth

 Nancy Bolger, individually, as surviving
 sibling of Robert Elseth

 Alfredo Samuel Espinal, individually, as
 surviving sibling of Jose Espinal

 Dorothy Swick, individually, as surviving
 sibling of Catherine Fagan

 Veronica Morris, as the Personal
 Representative of the Estate of Eileen
 Flecha, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Eileen
 Flecha

 Veronica Morris, individually, as surviving
 parent of Eileen Flecha

 Jane Thompson, individually, as surviving
 parent of Jon Grabowski

 Desmond Green, individually, as surviving
 sibling of Derrick Green

 Ester Yevdayeva, individually, as surviving

                                              225
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 227 of 962




 parent of Daniel Ilkanayev

 Alfred Jeffries, Sr., individually, as
 surviving parent of Alva Jeffries Sanchez

 Malikah Jeffries, individually, as surviving
 sibling of Alva Jeffries Sanchez

 Alexandra Lopez Feliciano, individually,
 as surviving child of George Lopez

 Doris McCloud, individually, as surviving
 parent of Tara McCloud Gray

 Tommie Milam, individually, as surviving
 parent of Ronald Milam

 Effie Milam, individually, as surviving
 parent of Ronald Milam

 Steven Wayne Milam, individually, as
 surviving sibling of Ronald Milam

 Winsome Nelson-Reid, individually, as
 surviving parent of Michele Ann Nelson

 Winsome Nelson-Reid, as the Personal
 Representative of the Estate of Michele
 Nelson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michele Ann Nelson

 Monique Riviere, individually, as surviving
 sibling of Michele Ann Nelson

 Sheila O'Shea, as the Personal
 Representative of the Estate of Patrick
 O'Shea, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Patrick O'Shea

 Sheila O'Shea, individually, as surviving
 spouse of Patrick O'Shea

 Patrick O'Shea, Jr., individually, as


                                                226
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 228 of 962




 surviving child of Patrick O'Shea

 Megan O'Shea, individually, as surviving
 child of Patrick O'Shea

 Edwin Ovalles, individually, as surviving
 child of Jesus Ovalles

 John Doe 90 , being intended to designate
 the Personal Representative of the Estate of
 Jesus Ovalles, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Jesus Ovalles

 Pamela Pabon, individually, as surviving
 child of Israel Pabon

 Terry Paul, individually, as surviving
 sibling of James Paul

 John Doe 94, being intended to designate
 the Personal Representative of the Estate of
 James Paul, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of James Paul

 Carey Pierce, individually, as surviving
 sibling of Dennis Pierce

 Barbara Timpone, individually, as
 surviving sibling of Dennis Pierce

                                              227
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 229 of 962




 John Doe 97, being intended to designate
 the Personal Representative of the Estate of
 Dennis Pierce, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Dennis Pierce

 Cynthia Lesemann, individually, as
 surviving sibling of James Sands, Jr.

 Geraldine Sands, individually, as surviving
 parent of James Sands, Jr.

 Loreen Fremaint, individually, as surviving
 sibling of James Sands, Jr.

 Dinnette Medina, individually, as surviving
 sibling of Ayleen Santiago

 Otis Tolbert, individually, as surviving
 parent of Otis Tolbert

 Nancy Tolbert, individually, as surviving
 parent of Otis Tolbert

 John Doe 91, being intended to designate
 the Personal Representative of the Estate of
 Otis Tolbert, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Otis Tolbert

 Alda Walcott, as the Personal
 Representative of the Estate of Courtney
                                              228
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 230 of 962




 Walcott, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Courtney Walcott

 Alda Walcott, individually, as surviving
 parent of Courtney Walcott

 Hector L. Walcott, individually, as
 surviving parent of Courtney Walcott

 Andrew Walcott, individually, as surviving
 sibling of Courtney Walcott

 Delano Walcott, individually, as surviving
 sibling of Courtney Walcott

 John Doe 89, being intended to designate
 the Personal Representative of the Estate of
 Edward White, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Edward White

 Christopher White, individually, as
 surviving sibling of Edward White

 Regina White, individually, as surviving
 parent of Edward White

 Regina White, as Personal Represntative of
 the Estate of Edward James White, Jr.,
 deceased, the late parent of Edward White

 William White, individually, as surviving
 sibling of Edward White

 Suzanne Antoniou, individually, as
 surviving sibling of Edward White

 James White, individually, as surviving

                                              229
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 231 of 962




 sibling of Edward White

 Wanda Rose, individually, as surviving
 sibling of Lisa Young

 Barry Amundson, individually, as
 surviving sibling of Spc. Craig Amundson

 Ramona Schroeder, individually, as
 surviving parent of Lorraine Antigua

 Charles Schroeder, individually, as
 surviving parent of Lorraine Antigua

 Sasha Cardona , individually, as surviving
 child of Jose Cardona

 Daniel Acevedo , individually, as surviving
 sibling of Vivian Casalduc

 Jennifer Sullivan, individually, as surviving
 child of Michael Curtin

 Barbara Echtermann as Personal
 Representative of the Estate of Helmut
 Echtermann, deceased, the late parent of
 Margaret Echtermann

 Dietrich Echtermann, individually, as
 surviving sibling of Margaret Echtermann

 Heidemarie Echtermann-Toribio,
 individually, as surviving sibling of
 Margaret Echtermann

 Christopher Fagan, individually, as
 surviving child of Catherine Fagan

 Brenda Fallon, as the Personal
 Representative of the Estate of William
 Fallon, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 William Fallon

 Brenda Fallon, individually, as surviving
 spouse of William Fallon


                                              230
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 232 of 962




 Christopher Fallon, individually, as
 surviving child of William Fallon

 Patricia Quinlan, individually, as surviving
 sibling of William Fallon

 Stephen Fallon, individually, as surviving
 sibling of William Fallon

 Donald Fallon, individually, as surviving
 sibling of William Fallon

 Peter Fallon, individually, as surviving
 sibling of William Fallon

 Reehan Syed a/k/a Syed Reehan,
 individually, as surviving child of Syed
 Abdul Fatha

 Banu Khursheed a/k/a Khursheed Banu,
 individually, as surviving child of Syed
 Abdul Fatha

 Yaseen Syed a/k/a Syed Yaseen,
 individually, as surviving child of Syed
 Abdul Fatha

 Syed Zeeshan a/k/a Zeeshan Syed,
 individually, as surviving child of Syed
 Abdul Fatha

 Farhan Syed a/k/a Syed Farhan,
 individually, as surviving child of Syed
 Abdul Fatha

 Loren Smith, individually, as surviving
 child of Wendy Faulkner

 Ashley Faulkner, individually, as surviving
 child of Wendy Faulkner

 Lynn Faulkner, individually, as surviving
 spouse of Wendy Faulkner

 Stephen Feely, individually, as surviving
 sibling of Francis Feely

 Alice Feely, individually, as surviving

                                                231
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 233 of 962




 sibling of Francis Feely

 Michael Feely, individually, as surviving
 sibling of Francis Feely

 Jessica Geier, individually, as surviving
 child of Paul Hamilton Geier

 Jessica Geier, as the Personal
 Representative of the Estate of Paul
 Hamilton Geier, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of Paul
 Hamilton Geier

 Jessica Geier and Nicole Rasanen as the
 co-Personal Representatives of the Estate
 of Eleanor Geier, deceased, the late spouse
 of Paul Hamilton Geier

 Claudie Nash, individually, as surviving
 sibling of Diane Hale-McKinzy

 Craig Hannan, individually, as surviving
 sibling of Michael Hannan

 Andrea Hannan, as the Personal
 Representative of the Estate of Michael
 Hannan, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael Hannan

 Andrea Hannan, individually, as surviving
 spouse of Michael Hannan

 Rachel Hannan, individually, as surviving
 child of Michael Hannan

 Alexandra Hannan, individually, as
 surviving child of Michael Hannan

 Jennifer Muller as Personal Representative
 of the Estate of Barbara Hannan , deceased,
 the late parent of Michael Hannan

 Jennifer Muller, individually, as surviving


                                               232
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 234 of 962




 sibling of Michael Hannan

 Peter Hannan, individually, as surviving
 sibling of Michael Hannan

 Sheri Lynn Berger, individually, as
 surviving sibling of Ronald J. Hemenway

 Susan Hermer, as the Personal
 Representative of the Estate of Harvey
 Hermer, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Harvey Hermer

 Kyra Houston, individually, as surviving
 sibling of Uhuru Houston

 Anane Crandon, individually, as surviving
 sibling of Uhuru Houston

 Efia Crandon, individually, as surviving
 sibling of Uhuru Houston

 Efia Crandon as Personal Representative of
 the Estate of Estella Crandon, deceased, the
 late parent of Uhuru Houston

 Matthew Dorsey, individually, as surviving
 sibling of Jennifer L. Howley

 Victoria Jones, individually, as surviving
 child of Paul Innella

 Andy Jean-Pierre, individually, as
 surviving child of Maxima Jean-Pierre

 Rachel Jean-Pierre, individually, as
 surviving child of Maxima Jean-Pierre

 Anjunelly Jean-Pierre, individually, as
 surviving child of Maxima Jean-Pierre

 Ajax Jean-Pierre Jr. , individually, as
 surviving child of Maxima Jean-Pierre

 Emmet Clyde Jeffries, individually, as


                                              233
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 235 of 962




 surviving sibling of Alva Jeffries Sanchez

 Kieran Lyons, individually, as surviving
 sibling of Michael Lyons

 Mary Lyons, individually, as surviving
 child of Michael Lyons

 Elaine Lyons, individually, as surviving
 spouse of Michael Lyons

 Elaine Lyons, as the Personal
 Representative of the Estate of Michael
 Lyons, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael Lyons

 Caitlyn Lyons, individually, as surviving
 child of Michael Lyons

 Mirella Matricciano, individually, as
 surviving parent of Marcellus Matricciano

 Umberto Matricciano, individually, as
 surviving parent of Marcellus Matricciano

 Bruno Matricciano, individually, as
 surviving sibling of Marcellus Matricciano

 Rosie Matricciano-Vetere, as the Personal
 Representative of the Estate of Marcellus
 Matricciano, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Marcellus Matricciano

 Leslie Faulstich, individually, as surviving
 sibling of Katie McCloskey

 Julie Gardner, individually, as surviving
 sibling of Katie McCloskey

 Garland Mercer, individually, as surviving
 sibling of Wesley Mercer

 Shannon Moran as Personal Representative
 of the Estate of Joyce Moran, deceased, the

                                                234
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 236 of 962




 late spouse of Gerard Moran

 Shannon Moran as Personal Representative
 of the Estate of Dane Moran, deceased, the
 late child of Gerard Moran

 Masako Murphy as Personal
 Representative of the Estate of Casey
 Murphy, deceased, the late child of Patrick
 J. Murphy

 Jamie Nelson, individually, as surviving
 child of Peter A. Nelson

 Chin Yong Wells, individually, as
 surviving sibling of Chin Sun Pak Wells

 Suzanne Peraza, individually, as surviving
 parent of Robert Peraza

 Peter Snik as Personal Representative of
 the Estate of John W. Snik, deceased, the
 late spouse of Laura Ragonese-Snik

 Nadia Ramsaroop, individually, as
 surviving child of Vishnoo Ramsaroop

 Shelly Ann Ramkhelawan, individually, as
 surviving child of Vishnoo Ramsaroop

 Michelle Ramsaroop, individually, as
 surviving child of Vishnoo Ramsaroop

 Ernest LaRoche , individually, as surviving
 sibling of Deborah Ramsaur

 Wesley Gargano, individually, as surviving
 sibling of Karen Renda

 Deborah Malek, individually, as surviving
 child of John Frederick Rhodes

 Linda Rhodes, individually, as surviving
 spouse of John Frederick Rhodes

 Matthew Robertson, individually, as
 surviving child of Donald Robertson, Jr.


                                               235
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 237 of 962




 Michael Robertson, individually, as
 surviving child of Donald Robertson, Jr.

 Madison Robertson, individually, as
 surviving child of Donald Robertson, Jr.

 Kevin Robertson, individually, as surviving
 child of Donald Robertson, Jr.

 Neanta McCants as the Personal
 Representative of the Estate of Trisha
 McCants, deceased, the late child of Judy
 Rowlett

 William Grigonis, individually, as
 surviving sibling of Susan Ruggiero

 Kim Coleman, individually, as surviving
 parent of Jacquelyn Sanchez

 Cedric Pitt Sr., as the Personal
 Representatives of the Estate of Jacquelyn
 Sanchez, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Jacquelyn Sanchez

 Michael Coleman, individually, as
 surviving sibling of Jacquelyn Sanchez

 Ericka Brown, individually, as surviving
 sibling of Jacquelyn Sanchez

 Cedric Pitt, Jr., individually, as surviving
 child of Jacquelyn Sanchez

 Kathleen Shagi, as the Personal
 Representative of the Estate of Michael
 Shagi, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Michael Shagi

 James Signer, individually, as surviving
 sibling of Dianne Signer

 JoAnne Romano, individually, as surviving


                                                236
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 238 of 962




 sibling of William Spitz

 Jacqueline Statz, individually, as surviving
 sibling of Patricia Statz

 Justin Strauss, individually, as surviving
 child of Edward Strauss

 Yolanda Calderon, individually, as
 surviving sibling of Jorge Velazquez

 Nelson White, Jr., individually, as
 surviving sibling of Leonard White

 Robert Rawlston White, individually, as
 surviving sibling of Leonard White

 John Robertson, individually, as surviving
 sibling of Donald Robertson, Jr.

 Abdo Hashem, individually, as surviving
 sibling of Peter Hashem

 Chaz Clark, individually, as surviving child
 of Benjamin K. Clark

 Salvatore DiFazio, individually, as
 surviving sibling of Vincent DiFazio

 Teresa Kestenbaum, individually, as
 surviving sibling of Vincent DiFazio

 Grace Brennan, individually, as surviving
 sibling of Vincent DiFazio

 Ringo Fernandez, individually, as
 surviving child of Julio Fernandez

 Edu Umana, individually, as surviving
 sibling of Sadie Ette

 Itauma Ette and Edu Umana as co-Personal
 Representatives of the Estate of Sunday
 Itauma Ette, deceased, the late parent of
 Sadie Ette

 Edu Umana as Personal Representative of
 the Estate of Ekaette Ette, deceased, the

                                                237
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 239 of 962




 late parent of Sadie Ette

 Nolton Davis, Jr., individually, as surviving
 spouse of Ada Davis

 Nolton Davis, Jr., as the Personal
 Representative of the Estate of Ada Davis,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Ada Davis

 Najwah Miceli, individually, as surviving
 sibling of Peter Hashem

 Sabah Hashem-Daher, individually, as
 surviving sibling of Peter Hashem

 Najat Arsenault, individually, as surviving
 sibling of Peter Hashem

 Najat Arsenault as Personal Representative
 of the Estate of Rose Sue Hashem,
 deceased, the late sibling of Peter Hashem

 Ryan John Cove, individually, as surviving
 child of James Cove

 Ann Smith, individually, as surviving
 spouse of Gary Smith

 Ann Smith, as the Personal Representative
 of the Estate of Gary Smith, deceased, and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Gary Smith

 Natalie Smith, individually, as surviving
 child of Gary Smith

 Nicole Amato, individually, as surviving
 child of Gary Smith

 Teresa Cheezum, individually, as surviving
 child of Gary Smith

 Kristina Smith, individually, as surviving
 child of Gary Smith


                                               238
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 240 of 962




 Annette Smith, individually, as surviving
 sibling of Gary Smith

 Christine McKee, individually, as
 surviving sibling of Gary Smith

 Donald Smith, individually, as surviving
 sibling of Gary Smith

 Mark Smith, individually, as surviving
 sibling of Gary Smith

 Annette Smith and Mark Smith as Personal
 Representatives of the Estate of Dorothy
 Smith, deceased, the late parent of Gary
 Smith

 Stephan Smith, individually, as surviving
 sibling of Gary Smith

 Mason Smith, individually, as surviving
 sibling of Gary Smith

 Brian Schrang, individually, as surviving
 child of Gerard P. Schrang

 Amanda Trerotola, as the Personal
 Representative of the Estate of Lisa
 Trerotola, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Lisa
 Trerotola

 Elizabeth Trerotola as Personal
 Representative of the Estate of Michael
 Trerotola, individually, as surviving spouse
 of Lisa Trerotola

 Amanda Trerotola, individually, as
 surviving child of Lisa Trerotola

 Michael L. Trerotola, individually, as
 surviving child of Lisa Trerotola

 Jacqueline Fanning, individually, as
 surviving child of John Fanning

 Ryan Fanning, individually, as surviving

                                             239
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 241 of 962




 child of John Fanning

 Jeremy Fanning, individually, as surviving
 child of John Fanning

 Tracy Zorpette as Personal Representative
 of the Estate of Dorothy Burke, deceased,
 the late parent of Brooke Rosenbaum

 Evan V. Vandommelen-Gonzalez,
 individually, as surviving spouse of
 Mauricio Gonzalez

 Sheryl Miller Bechor, as the co-Personal
 Representative of the Estate of Philip D.
 Miller, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Philip
 D. Miller

 Robin Davis, individually, as surviving
 sibling of Edward Rowenhorst

 Jacob Heber, as the Co-Personal
 Representative of the Estate of Roberta B.
 Heber, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Roberta B. Heber

 William Youmans, as the co-Personal
 Representative of the Estate of Suzanne
 Youmans, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Suzanne Youmans

 Donna Velazquez, as the co-Personal
 Representative of the Estate of Frank V.
 Moccia, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Frank
 V. Moccia

 Andrew Strobert, individually, as surviving
 sibling of Steven Frank Strobert

 Kathleen Shagi, individually, as surviving

                                              240
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 242 of 962




 spouse of Michael Shagi

 Christie Shagi, individually, as surviving
 child of Michael Shagi

 Tracie Shagi-Uriguen, individually, as
 surviving child of Michael Shagi

 Nicole Shagi, individually, as surviving
 child of Michael Shagi

 Helman Correa, individually, as surviving
 parent of Danny Correa-Gutierrez

 Justin Cook, individually, as surviving
 child of Helen Cook

 Mary Ann Ledee, individually, as surviving
 spouse of Kenneth Charles Ledee

 Anna Ledee as Personal Representative of
 the Estate of Carlos Ledee, deceased, the
 late parent of Kenneth Charles Ledee

 Jamielah Persol, individually, as surviving
 spouse of DaJuan Hodges

 Diane L. Fredericks, individually, as
 surviving sibling of Andrew Fredericks

 Nancy Jean Fredericks , individually, as
 surviving sibling of Andrew Fredericks

 Timothy Kuveikis, individually, as
 surviving sibling of Thomas Kuveikis

 Christine Peschel, individually, as
 surviving sibling of Thomas Kuveikis

 Heather Curtin, individually, as surviving
 child of Michael Curtin

 Lyndsi Nelson, individually, as surviving
 child of Peter A. Nelson

 Josephine Romito, individually, as
 surviving spouse of James Romito

 Ellen Romito, individually, as surviving
                                               241
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 243 of 962




 child of James Romito

 Emily Mathesen, individually, as surviving
 child of William Mathesen

 Kathleen Mathesen, individually, as
 surviving spouse of William Mathesen

 Tracy Rowenhorst, individually, as
 surviving spouse of Edward Rowenhorst

 Ashley Brandt, individually, as surviving
 child of Edward Rowenhorst

 Kaitlyn Rowenhorst, individually, as
 surviving child of Edward Rowenhorst

 Valerie Caufield, individually, as surviving
 spouse of Robert Caufield

 Alfred Jeffries, Jr., individually, as
 surviving sibling of Alva Jeffries Sanchez

 Anne McCloskey as Personal
 Representative of the Estate of Richard
 McCloskey, deceased, the late parent of
 Katie McCloskey

 Rosie Matricciano-Vetere, individually, as
 surviving spouse of Marcellus Matricciano

 Nicholas Matricciano, individually, as
 surviving child of Marcellus Matricciano

 Kathleen Gelman, individually, as
 surviving sibling of Thomas Kuveikis

 Mary Buss, individually, as surviving
 sibling of Julie Geis

 Mary Buss as Personal Representative of
 the Estate of Betty Geis, deceased, the late
 parent of Julie Geis

 Eric Johnson, individually, as surviving
 spouse of Janice Brown

 Lyndsi Nelson as Personal Representative

                                                242
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 244 of 962




 of the Estate of Iris Nelson, deceased, the
 late spouse of Peter A. Nelson

 Jamie Brito, as the Personal Representative
 of the Estate of Victoria Alvarez-Brito,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Victoria Alvarez-Brito

 Jamie Brito, individually, as surviving
 child of Victoria Alvarez-Brito

 Jamie Brito as Personal Representative of
 the Estate of Mario Brito, deceased, the late
 spouse of Victoria Alvarez-Brito

 Raul Brito, individually, as surviving child
 of Victoria Alvarez-Brito

 John Beug, as the Personal Representative
 of the Estate of Carolyn Beug, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Carolyn Beug

 John Beug, individually, as surviving
 spouse of Carolyn Beug

 Lindsey Mayer Beug-Wood, individually,
 as surviving child of Carolyn Beug

 Lauren Paula Mayer-Beug, individually, as
 surviving child of Carolyn Beug

 Nicholas Mayer, individually, as surviving
 child of Carolyn Beug

 Beverly Carlone, individually, as surviving
 spouse of David Carlone

 Beverly Carlone, as the Personal
 Representative of the Estate of David
 Carlone, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of David
 Carlone

 Jeffrey Fagan, individually, as surviving

                                                243
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 245 of 962




 child of Catherine Fagan

 James Fagan, individually, as surviving
 child of Catherine Fagan

 Susan M. King , as the Personal
 Representative of the Estate of Amy King,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Amy King

 Susan M. King as Personal Representative
 of the Estate of Stewart King, deceased, the
 late parent of Amy King

 Barbara Chucknick, as the Personal
 Representative of the Estate of Steven
 Chucknick, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Steven Chucknick

 Barbara Chucknick, individually, as
 surviving spouse of Steven Chucknick

 Steven Chucknick, individually, as
 surviving child of Steven Chucknick

 Shweta Khandelwal, as the Personal
 Representative of the Estate of Rajesh
 Khandelwal, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Rajesh Khandelwal

 Shweta Khandelwal, individually, as
 surviving spouse of Rajesh Khandelwal

 Shivam Khandelwal, individually, as
 surviving child of Rajesh Khandelwal

 Joyce Infante, as the Personal
 Representative of the Estate of Anthony P.
 Infante, Jr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Anthony P. Infante, Jr.


                                                244
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 246 of 962




 Joyce Infante, individually, as surviving
 spouse of Anthony P. Infante, Jr.

 Marie Costa, individually, as surviving
 child of Anthony P. Infante, Jr.

 John Infante, individually, as surviving
 child of Anthony P. Infante, Jr.

 Andrew Infante, individually, as surviving
 sibling of Anthony P. Infante, Jr.

 Fred Infante, individually, as surviving
 sibling of Anthony P. Infante, Jr.

 Fred Infante as Personal Representative of
 the Estate of Elizabeth Infante, deceased,
 the late parent of Anthony P. Infante, Jr.

 Fred Infante as Personal Representative of
 the Estate of Anthony P. Infante, Sr.,
 deceased, the late parent of Anthony P.
 Infante, Jr.

 Rokshana Miah, individually, as surviving
 sibling of Nurul Miah

 Nur M. Miah, individually, as surviving
 sibling of Nurul Miah

 Shewely Miah, individually, as surviving
 sibling of Nurul Miah

 Nurunnahar Miah, individually, as
 surviving parent of Nurul Miah

 Lorraine Nedell, as the Personal
 Representative of the Estate of Laurence
 Nedell, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Laurence Nedell

 Lorraine Nedell, individually, as surviving
 spouse of Laurence Nedell

 Jennie Nedell, individually, as surviving


                                               245
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 247 of 962




 child of Laurence Nedell

 Laura Nedell, individually, as surviving
 child of Laurence Nedell

 Rhea Shome, individually, as surviving
 spouse of Mukul Kumar Agarwala

 Loubertha Williams, as the Personal
 Representative of the Estate of Jacqueline
 Young, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Jacqueline Young

 Loubertha Williams, individually, as
 surviving parent of Jacqueline Young

 Terrance Young, individually, as surviving
 sibling of Jacqueline Young

 James McKenley, individually, as
 surviving sibling of Jacqueline Young

 Derrick McKenley, individually, as
 surviving sibling of Jacqueline Young

 Theresa Russo-Kempf , individually, as
 surviving spouse of Michael Russo

 Michael Thomas Russo Jr., individually, as
 surviving child of Michael Russo

 Dolores Jane Russo as Personal
 Representative of the Estate of Anthony S.
 Russo, deceased, the late parent of Michael
 Russo

 Nur M. Miah, as the co-Personal
 Representative of the Estate of Nurul Miah,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Nurul Miah

 Patricia McCarthy as Personal
 Representative of the Estate of Thomas P.
 McAvinue, deceased, the late parent of


                                              246
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 248 of 962




 Donna Clarke

 Aaron Antigua, individually, as surviving
 child of Lorraine Antigua

 Caitlin Antigua, individually, as surviving
 child of Lorraine Antigua

 Josephine Tabick, individually, as
 surviving sibling of Debra DiMartino

 Sol Newman, individually, as surviving
 sibling of Debra DiMartino

 Angelo Puma, individually, as surviving
 sibling of Debra DiMartino

 John Puma, Jr., individually, as surviving
 sibling of Debra DiMartino

 Rosemary Puma, individually, as surviving
 sibling of Debra DiMartino

 Joseph Dixon, individually, as surviving
 parent of DaJuan Hodges

 Tonya Young, individually, as surviving
 sibling of Lisa Young

 April Young, individually, as surviving
 sibling of Lisa Young

 John McLoughlin, individually, as injured
 person

 Manu Dhingra, individually, as injured
 person

 William Jimeno, individually, as injured
 person

 David LaRoche, individually, as surviving
 sibling of Deborah Ramsaur

 William Innella, individually, as surviving
 sibling of Paul Innella

 Judith Knight, individually, as surviving

                                               247
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 249 of 962




 sibling of Frank Wisniewski

 Judith Knight as Personal Representative of
 the Estate of Mary Wisniewski, deceased,
 the late parent of Frank Wisniewski

 Judith Knight as Personal Representative of
 the Estate of Vincent Wisniewski,
 deceased, the late parent of Frank
 Wisniewski

 Vincent Wisniewski, individually, as
 surviving sibling of Frank Wisniewski

 Walter William Sezna, individually, as
 surviving sibling of Davis Grier Sezna, Jr.

 Gail Sezna, as the Personal Representative
 of the Estate of Davis Sezna, Jr., deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Davis Grier Sezna, Jr.

 Davis Grier Sezna, individually, as
 surviving parent of Davis Grier Sezna, Jr.

 Gail Sezna, individually, as surviving
 parent of Davis Grier Sezna, Jr.

 Suzanne Ledee Garcia , individually, as
 surviving sibling of Kenneth Charles Ledee

 Masia Shurla Riley, as the Personal
 Representative of the Estate of Scott
 Powell, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Scott
 Powell

 Sydney Ayesha Powell, individually, as
 surviving child of Scott Powell

 Scott Powell, individually, as surviving
 child of Scott Powell

 Casey Brent, individually, as surviving
 child of Scott Powell


                                                248
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 250 of 962




 Catherine Powell, individually, as
 surviving parent of Scott Powell

 Art Powell, individually, as surviving
 parent of Scott Powell

 Kevin Powell, individually, as surviving
 sibling of Scott Powell

 Art Edward Powell, individually, as
 surviving sibling of Scott Powell

 Shaun Powell, individually, as surviving
 sibling of Scott Powell

 Lisa Powell, individually, as surviving
 sibling of Scott Powell

 Paul Hemenway, individually, as surviving
 sibling of Ronald J. Hemenway

 Wilton White and Artricia McClure as co-
 Personal Representatives of the Estate of
 William Woolen, deceased, the late parent
 of Tamara Thurman

 Amanda Ruddle, individually, as surviving
 child of David Ruddle

 John Doe 116, being intended to designate
 the Personal Representative of the Estate of
 David Ruddle, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed) and
 on behalf of all survivors and all legally
 entitled beneficiaries and family members
 of David Ruddle

 Jessica Mathesen, individually, as
 surviving child of William Mathesen

 Marcus Fields, individually, as surviving


                                              249
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 251 of 962




 sibling of Samuel Fields

 Angela Eacobacci, individually, as
 surviving parent of Joseph Eacobacci

 John Doe 118, being intended to designate
 the Personal Representative of the Estate of
 Joseph Eacobacci, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Joseph Eacobacci

 Alfonso Cisneros, as the Personal
 Representative of the Estate of Juan Pablo
 Alvarez Cisneros, deceased, and on behalf
 of all survivors and all legally entitled
 beneficiaries and family members of Juan
 Pablo Alvarez Cisneros

 Alfonso Cisneros, individually, as
 surviving parent of Juan Pablo Alvarez
 Cisneros

 Lidia Alvarez, individually, as surviving
 parent of Juan Pablo Alvarez Cisneros

 Gillian Gransaull-Joseph, as the Personal
 Representative of the Estate of Stephen
 Joseph, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Stephen Joseph

 Gillian Gransaull-Joseph, individually, as
 surviving spouse of Stephen Joseph

 Tristan Joseph, individually, as surviving
 child of Stephen Joseph

 Jorge Montoya, as the Co-Personal
                                              250
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 252 of 962




 Representative of the Estate of Antonio
 Montoya, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Antonio Montoya

 Thomas Fehling, individually, as surviving
 sibling of Lee Fehling

 Joan Bischoff, individually, as surviving
 parent of Lee Fehling

 James Fehling, individually, as surviving
 sibling of Lee Fehling

 Danielle Fehling-Wasnieski, as the
 Personal Representative of the Estate of
 Lee Fehling, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Lee
 Fehling

 Danielle Fehling-Wasnieski, individually,
 as surviving spouse of Lee Fehling

 Kaitlin Fehling, individually, as surviving
 child of Lee Fehling

 Megan Fehling, individually, as surviving
 child of Lee Fehling

 Gayle Regan, as the Personal
 Representative of the Estate of Thomas
 Regan, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Thomas Regan

 Gayle Regan, individually, as surviving
 spouse of Thomas Regan

 Allaistar Regan, individually, as surviving
 child of Thomas Regan

 Connor Regan, individually, as surviving
 child of Thomas Regan

 Page Dantzler Dickerson, as the Personal

                                               251
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 253 of 962




 Representative of the Estate of Jerry
 Dickerson, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jerry
 Dickerson

 Page Dantzler Dickerson, individually, as
 surviving spouse of Jerry Dickerson

 Elizabeth Bailey Dickerson, individually,
 as surviving child of Jerry Dickerson

 William Dickerson, individually, as
 surviving child of Jerry Dickerson

 Lisa A. Schunk, as the Co-Personal
 Representative of the Estate of Edward W.
 Schunk, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Edward W. Schunk

 Ana Cisneros, individually, as surviving
 sibling of Juan Pablo Alvarez Cisneros

 Anne Lynn Hayashi , as the Personal
 Representative of the Estate of Stuart (Soo-
 Jin) Lee, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Stuart
 (Soo-Jin) Lee

 Anne Lynn Hayashi, individually, as
 surviving spouse of Stuart (Soo-Jin) Lee

 Bradley D. Noack, individually, as
 surviving spouse of Katherine McGarry
 Noack

 Joseph E. Jurgens, individually, as
 surviving parent of Thomas Edward
 Jurgens

 Jessica Lynn Jurgens, individually, as
 surviving sibling of Thomas Edward
 Jurgens

 Joseph B. Jurgens, individually, as

                                             252
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 254 of 962




 surviving sibling of Thomas Edward
 Jurgens

 Mitchell Eacobacci, individually, as
 surviving parent of Joseph Eacobacci

 Lynda T. Scarcella, as the Personal
 Representative of the Estate of Paul Fiori,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Paul Fiori

 Lynda T. Scarcella, individually, as
 surviving spouse of Paul Fiori

 Brittley Wise, as the Personal
 Representative of the Estate of Richard
 Salinardi, Jr., deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Richard Salinardi, Jr.

 Brittley Wise, individually, as surviving
 spouse of Richard Salinardi, Jr.

 Edith Skrzypek, as the Personal
 Representative of the Estate of
 Paul Skrzypek, deceased, and on behalf of
 all survivors and all legally entitled
 beneficiaries and family members of
 Paul Skrzypek

 Albert Skrzypek, individually, as surviving
 parent of Paul Skrzypek

 Edith Skrzypek, individually, as surviving
 parent of Paul Skrzypek

 Laura Kingsbury, individually, as surviving
 sibling of Paul Skrzypek

 Nicole Brathwaite-Dingle, as the Personal
 Representative of the Estate of Jeffrey
 Dingle, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Jeffrey Dingle


                                              253
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 255 of 962




 Nicole Brathwaite-Dingle, individually, as
 surviving spouse of Jeffrey Dingle

 Jassiem Dingle, individually, as surviving
 child of Jeffrey Dingle

 Nia Dingle, individually, as surviving child
 of Jeffrey Dingle

 John Doe 126, being intended to designate
 the Personal Representative of the Estate of
 Thomas E. Jurgens, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Thomas E. Jurgens

 John Doe 127 being intended to designate
 the Personal Representative of the Estate of
 Dennis J. Gomes, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed), on behalf of the Estate
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Dennis J. Gomes
 John Doe 128 being intended to designate
 the Personal Representative of the Estate of
 Michael S. Lamana, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
                                              254
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 256 of 962




 serve, and his or her successor has not yet
 been appointed), on behalf of the Estate
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Michael S. Lamana
 John Doe 129 being intended to designate
 the Personal Representative of the Estate of
 John G. Scharf, deceased, said name being
 fictitious, her/his true name is not presently
 known, confirmed, and/or has not been
 duly appointed by a court of competent
 jurisdiction (or having been so appointed,
 his or her appointment has expired, and/or
 he or she has ceased to serve, and his or her
 successor has not yet been appointed), on
 behalf of the Estate and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of John
 G. Scharf
 Ariel Martinez, individually, as surviving
 child of Betsy Martinez

 Carlos G. Albert, individually, as surviving
 sibling of Ayleen J. Santiago

 John Doe 130 being intended to designate
 the Personal Representative of the Estate of
 Rosemarie Carlson, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Rosemarie C. Carlson

 John Doe 131 being intended to designate
 the Personal Representative of the Estate of
 Ayleen Santiago, deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of

                                               255
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 257 of 962




 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Ayleen J. Santiago

 Stefanie Oliva, as the Personal
 Representative of the Estate of Alex
 Ciccone, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Alex
 F. Ciccone

 Stefanie Oliva, individually, as surviving
 spouse of Alex F. Ciccone

 John G. Duffy as the Personal
 Representative of the Estate of Christopher
 Duffy, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Christopher Duffy

 John G. Duffy, individually, as surviving
 parent of Christopher Duffy

 Kathleen Langan, individually, as
 surviving parent of Christopher Duffy

 Kevin Duffy, individually, as surviving
 sibling of Christopher Duffy

 Dennis Ketcham as the Personal
 Representative of the Estate of Douglas
 Ketcham, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Douglas D. Ketcham

 Dennis Ketcham, individually, as surviving
 parent of Douglas D. Ketcham

 Dennis Ketcham, as Personal

                                               256
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 258 of 962




 Representative of the Estate of Raenell
 Ketcham deceased, the late parent of
 Douglas D. Ketcham

 Denyse D. Kruse, individually, as
 surviving sibling of Douglas D. Ketcham

 Michael R. Kuo, individually, as surviving
 child of Frederick Kuo, Jr.

 Dean Taylor, individually, as surviving
 sibling of Kip P. Taylor

 John Luke Taylor, individually, as
 surviving child of Kip P. Taylor

 Dean Ross Taylor, individually, as
 surviving child of Kip P. Taylor

 Kay Ann Taylor, individually, as surviving
 parent of Kip P. Taylor

 Ann Marie Taylor individually, as
 surviving sibling of Kip P. Taylor

 Vera Schleeter as the Personal
 Representative of the Estate of Kip P.
 Taylor, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Kip P.
 Taylor

 Vera Schleeter as Personal Representative
 of the Estate of Nancy Taylor deceased, the
 late spouse of Kip P. Taylor

 John Doe 132 being intended to designate
 the Personal Representative of the Estate of
 Myrna T. Maldonado-Agosto, deceased,
 said name being fictitious, her/his true
 name is not presently known, confirmed,
 and/or has not been duly appointed by a
 court of competent jurisdiction (or having
 been so appointed, his or her appointment
 has expired, and/or he or she has ceased to
 serve, and his or her successor has not yet

                                              257
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 259 of 962




 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Myrna T. Maldonado-Agosto

 John Doe 134 being intended to designate
 the Personal Representative of the Estate of
 Frederick Kuo, Jr. , deceased, said name
 being fictitious, her/his true name is not
 presently known, confirmed, and/or has not
 been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Frederick Kuo, Jr.

 John Doe 135 being intended to designate
 the Personal Representative of the Estate of
 William Howard Pohlmann, deceased, said
 name being fictitious, her/his true name is
 not presently known, confirmed, and/or has
 not been duly appointed by a court of
 competent jurisdiction (or having been so
 appointed, his or her appointment has
 expired, and/or he or she has ceased to
 serve, and his or her successor has not yet
 been appointed) and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 William Howard Pohlmann

 Valada B. Penny as the Personal
 Representative of the Estate of Richard
 Penny, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Richard Penny

 Valada B. Penny, individually, as surviving
 spouse of Richard Penny

 Richard Penny, individually, as surviving

                                             258
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 260 of 962




 child of Richard Penny

 Eve Bucca as the Personal Representative
 of the Estate of Ronald P. Bucca, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Ronald P. Bucca

 Eve Bucca, individually, as surviving
 spouse of Ronald P. Bucca

 Ronald Bucca, individually, as surviving
 child of Ronald P. Bucca

 Thomas Kelleher as the Personal
 Representative of the Estate of Stephen
 Roach , deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Stephen Roach

 Caitlin Duffy Meloy, individually, as
 surviving sibling of Christopher Duffy

 Angelina Jimenez as the Personal
 Representative of the Estate of Elena
 Ledesma, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Elena
 Ledesma

 Angelina Jimenez, individually, as
 surviving child of Elena Ledesma

 Shanhellen Jimenez, individually, as
 surviving child of Elena Ledesma

 Elizabeth Rick as the Personal
 Representative of the Estate of Scott Bart,
 deceased, and on behalf of all survivors and
 all legally entitled beneficiaries and family
 members of Scott Bart

 Elizabeth Rick, individually, as surviving
 spouse of Scott Bart



                                              259
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 261 of 962




 Jessica Bucca-Hughes, individually, as
 surviving child of Ronald P. Bucca

 Alfred R. Bucca, individually, as surviving
 sibling of Ronald P. Bucca

 Robert Bucca, individually, as surviving
 sibling of Ronald P. Bucca

 Astrid Bucca, individually, as surviving
 sibling of Ronald P. Bucca

 Astrid Bucca as Personal Representative of
 the Estate of Joseph Bucca deceased, the
 late parent of Ronald P. Bucca

 Brian Duffy, individually, as surviving
 sibling of Christopher Duffy

 Kara Mylod, individually, as surviving
 sibling of Christopher Duffy

 Adriana Fiori, individually, as surviving
 child of Paul Fiori

 Debbi Fiori, individually, as surviving
 child of Paul Fiori

 Cynthia M. Gomes, individually, as
 surviving spouse of Dennis James Gomes

 Mackenzie Gomes, individually, as
 surviving child of Dennis James Gomes

 Isabel Roach, individually, as surviving
 spouse of Stephen Roach

 Mackenzie Roach, individually, as
 surviving child of Stephen Roach

 Eileen Roach, individually, as surviving
 child of Stephen Roach

 Stephen Roach, Jr., individually, as
 surviving child of Stephen Roach



                                               260
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 262 of 962




 Kimberly Trudel as the Personal
 Representative of the Estate of Frederick
 Rimmele III, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Frederick Rimmele III

 Kimberly Trudel, individually, as surviving
 spouse of Frederick Rimmele III
 Amy Mulderry as the Personal
 Representative of the Estate of Stephen
 Mulderry, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Stephen Mulderry

 Anne M. Mulderry, individually, as
 surviving parent of Stephen Mulderry

 Darra Mulderry, individually, as surviving
 sibling of Stephen Mulderry

 Daniel Mulderry, individually, as surviving
 sibling of Stephen Mulderry

 Andrew Mulderry, individually, as
 surviving sibling of Stephen Mulderry

 Peter Mulderry, individually, as surviving
 sibling of Stephen Mulderry

 Amy Mulderry, individually, as surviving
 sibling of Stephen Mulderry

 Amy Mulderry as Personal Representative
 of the Estate of William Mulderry
 deceased, the late parent of Stephen
 Mulderry

 Anne C. Mulderry, individually, as
 surviving sibling of Stephen Mulderry

 William J. Mulderry, individually, as
 surviving sibling of Stephen Mulderry
 Anthony J. Alvarado, individually, as
 surviving child of Anthony Alvarado

                                              261
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 263 of 962




 Jeannette Ramos, as the Personal
 Representative of the Estate of Anthony
 Alvarado, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Anthony Alvarado
 June Pietruszkiewicz as the Personal
 Representative of the Estate of James
 Suozzo, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of James
 Suozzo
 June Pietruszkiewicz, individually, as
 surviving spouse of James Suozzo
 Timothy Suozzo, individually, as surviving
 child of James Suozzo
 Alex Suozzo, individually, as surviving
 child of James Suozzo
 Maribeth Eccleston, individually, as
 surviving sibling of Terence A. McShane
 Laurie Spampinato, individually, as
 surviving spouse of Donald Spampinato
 Donald Spampinato, individually, as
 surviving child of Donald Spampinato
 David Spampinato, individually, as
 surviving child of Donald Spampinato
 Peter Spampinato, individually, as
 surviving child of Donald Spampinato
 Diane Genco, individually, as surviving
 spouse of Peter Genco
 Annalisa Genco, individually, as surviving
 child of Peter Genco
 Victoria Genco, individually, as surviving
 child of Peter Genco
 Maryclair Leistman, individually, as
 surviving spouse of David Leistman
 Brian Leistman, individually, as surviving
 child of David Leistman
 Katherine Leistman, individually, as
 surviving child of David Leistman

                                              262
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 264 of 962




 Janlyn Scauso, individually, as surviving
 spouse of Dennis Scauso
 Darcie Bailey-Scauso, individually, as
 surviving child of Dennis Scauso
 Donald Scauso, individually, as surviving
 child of Dennis Scauso
 Gabrielle Scauso, individually, as surviving
 child of Dennis Scauso
 Juliette Scauso, individually, as surviving
 child of Dennis Scauso
 Cella Woo-Yuen, individually, as surviving
 spouse of Elkin Yuen
 Kimberly Trudel, individually, as surviving
 spouse of Frederick Rimmele III
 Linda Pohlmann, individually, as surviving
 spouse of William H. Pohlmann
 Patricia Paul, individually, as surviving
 spouse of James Paul
 Monique Kerman, individually, as
 surviving child of James Paul
 Danielle Ridley, individually, as surviving
 child of James Paul
 Brian Weaver as Personal Representative
 of the Estate of Joan Weaver, the late
 parent of Walter Weaver
 Brian Weaver as the Personal
 Representative of the Estate of Walter
 Weaver, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of
 Walter Weaver
 Marisa John, individually, as surviving
 child of Charles Gregory John
 Greffery John, individually, as surviving
 child of Charles Gregory John
 Gregory John, individually, as surviving
 child of Charles Gregory John
 Luis Revilla, Jr., individually, as surviving
 child of Luis Clodoaldo Revilla Mier

                                                 263
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 265 of 962




 Michael Revilla, individually, as surviving
 child of Luis Clodoaldo Revilla Mier
 Wilton White, individually, as surviving
 sibling of Tamara Thurman

 Artricia McClure, individually, as
 surviving sibling of Tamara Thurman

 Michael Weaver, individually, the
 surviving sibling of Walter Weaver

 Brian Weaver and Michael Weaver, as Co-
 Personal Representatives of the Estate of
 William Weaver, deceased, the late parent
 of Walter Weaver

 Simone Taylor, individually, as surviving
 child of Donnie Taylor

 Tameeka Taylor as Personal Representative
 of Estate of Donnie Taylor, Jr. individually,
 deceased, the late child of Donnie Taylor

 Paul Britton as the Personal Representative
 of the Estate of Marion Britton, deceased,
 and on behalf of all survivors and all
 legally entitled beneficiaries and family
 members of Marion Britton

 Paul Britton, individually, as surviving
 sibling of Marion Britton
 Stephen Ciccone, individually, as surviving
 child of Alex Ciccone

 Julia Ciccone, individually, as surviving
 child of Alex Ciccone

 Shari Tolbert, individually, as surviving
 spouse of Otis Tolbert

 Brittany Tolbert, individually, as surviving
 child of Otis Tolbert

 Amanda Tolbert, individually, as surviving
 child of Otis Tolbert


                                                264
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 266 of 962




 Anthony Tolbert, individually, as surviving
 child of Otis Tolbert
 Raymond Pena, individually, as surviving
 child of Raymond York

 Paulina Cardona, as the Personal
 Representative of the Estate of Jose
 Cardona, deceased, and on behalf of all
 survivors and all legally entitled
 beneficiaries and family members of Jose
 Cardona

 Paulina Cardona, individually, as surviving
 spouse of Jose Cardona

 Joshua Cardona, individually, as surviving
 child of Jose Cardona

 Kelly Weightman Diaz-Piedra, as the
 Personal Representative of the Estate of
 Michael Diaz-Piedra, deceased, and on
 behalf of all survivors and all legally
 entitled beneficiaries and family members
 of Michael Diaz-Piedra

 Kelly Weightman Diaz-Piedra,
 individually, as surviving spouse of
 Michael Diaz-Piedra

 Michael Diaz-Piedra, individually, as
 surviving child of Michael Diaz-Piedra

 Thomas Diaz-Piedra, individually, as
 surviving child of Michael Diaz-Piedra

 John Does 1-100,

                    Plaintiffs,

                      v.

 THE REPUBLIC OF IRAQ

 IRAQI INTELLIGENCE AGENCY a/k/a/
 THE MUKHABARAT a/k/a/ THE
 FEDAYEEN a/k/a/ AL-‘QARE a/k/a/

                                              265
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 267 of 962




 “UNIT 999” a/k/a/ “M-8 SPECIAL
 OPERATIONS”

 SADDAM HUSSEIN

 HUSHAM HUSSEIN

 THE ESTATE OF QUSAY HUSSEIN

 THE ESTATE OF UDAY HUSSEIN

 ABDEL HUSSEIN a/k/a/ “THE GHOST”

 AHMED KAHLIL IBRAHIM SAMIR
 AL-ANI

 FARUQ AL-HIJAZI

 HABIB FARIS ABDULLAH AL-
 MAMOURI

 TAHA YASSIN RAMADAN a/k/a
 TAHYA YASSIN RAMADAN

 MUHAMMED MADHI SALAH a/k/a
 MUHHAMED MAHDI SALAH

 SALAH SULEIMAN

 HAQI ISMAIL a/k/a HAQUI ISMAIL

 TAHA AL ALWANI a/k/a DR. TAHA
 JABIT AL’ALWANI

 ABU AGAB

 ABU WAIEL a/k/a ABU AW’EL A/K/A
 SADOUN ABUDL LATIF

 ABU SAYYAF

 HAMSIRAJI SALI a/k/a ESTATE OF
 HAMSIRAGI SALI

 AL QAEDA ISLAMIC AGENCY a/k/a
 AL QAEDA a/k/a AL QAEDA ISLAMIC

                                    266
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 268 of 962




 ARMY a/k/a AL QAEDA ISLAMIC
 ARMY FOR THE LIBERATION OF THE
 HOLY PLACES a/k/a ISLAMIC ARMY
 FOR THE LIBERATION OF THE HOLY
 PLACES

 OSAMA BIN LADEN a/k/a USAMA BIN
 LADEN

 SAAD BIN LADEN

 AYMAN ZAWAHIRI a/k/a AYMAN
 AL-ZAWAHIRI

 ABU HAFS THE MARITANIAN

 SAIF AL-ADIL a/k/a SAIF AL-ADEL
 a/k/a MUHAMAD IBRAHIM MUKKAWI
 a/k/a IBRAHIM AL-MADANI a/k/a SEIF
 AL ADEL a/k/a SAYF AL-ADL

 ISLAMIC REPUBLIC OF IRAN

 HEZBOLLAH a/k/a HIZBALLAH

 IMAD MUGHNIYEH

 HEZBOLLAH SECRETARY GENERAL
 HASSAN NASRALLAH

 IRANIAN SUPREME LEADER
 AYATOLLAH ALI HOSEINI-
 KHAMENEI. a/k/a AYATOLLAH ALI
 KHAMENEI

 USBAT AL-ANSAR

 IRANIAN MINISTRY OF
 INTELLIGENCE AND SECURITY
 (MOIS)

 IRANIAN MINISTER OF
 INTELLIGENCE AND SECURITY ALI
 FALLAHIAN

 IRANIAN REVOLUTIONARY GUARD

                                  267
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 269 of 962




 CORPS (IRGC)

 IRANIAN REVOLUTIONARY GUARD
 CORPS – QODS FORCE a/k/a QODS
 DIVISION a/k/a JERUSALEM FORCE

 IRANIAN REVOLUNTIONARY
 GUARD CORPS DEPUTY
 COMMANDER BRIG GENERAL
 MOHAMMAD BAQER ZOLQADR

 AHMAD VAHEDI

 HOSSEIN MOSLEH

 MORTEZA REZA’I

 SALAH HAJIR

 ADIB SHA’BAN a/k/a ADEEB
 SHABAAN

 ABU MUSAB ZARQAWI a/k/a ABU
 MUSAB AL-ZARQAWI

 EGYPTIAN ISLAMIC JIHAD

 AL-GAMMAAH AL ISLAMIAH a/k/a
 AL GAMA'A AL-ISLAMIYYA

 ABU ZUBAYDH

 KHALID SHEIKH MOHAMMED a//k/a
 KHALED SHAIKH MOHAMMED

 ABU ABDUL RAHMAN

 ABDUL RAHMAN YASIN

 SCHREIBER & ZINDEL
 Treuhand-Anstalt
 Kirchstrasse 39
 FL-9490 Vaduz, Liechtenstein

 DR. FRANK ZINDEL
 Sonnblickstrasse 7

                                  268
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 270 of 962




 9490 Vaduz, Liechtenstein

 ENGELBERT SCHREIBER
 Schreiber & Zindel
 Treuhand-Anstalt
 Kirkstrasse 39
 9490 Vaduz, Liechtenstein

 ENGELBERT SCHREIBER, JR.
 Schreiber & Zindel
 Treuhand-Anstalt
 Kirkstrasse 39
 9490 Vaduz, Liechtenstein

 MARTIN WACHTER
 Asat Trust Reg.
 Altenbach 8, Vaduz 9490
 Liechtenstein

 ERWIN WACHTER
 Asat Trust Reg.
 Altenbach 8, Vaduz 9490
 Liechtenstein

 SERCOR TREUHAND ANSTALT
 Kirkstrasse 39
 9490 Vaduz, Liechtenstein

 ALBERT FRIEDRICH ARMAND
 HUBER, a/k/a AHMED HUBER a/k/a
 ALBERT HUBER a/k/a ARMAND
 ALBERT FRIEDRIC a/k/a ARMAND
 HUBER a/k/a/ AHMAD HUBER-EL
 BIALI
 c/o Nada Management Organization
 Viale Stefano Franscini 22,
 Lugano CH-6900 TI
 Switzerland

 ALI GHALEB HIMMAT
 Via Posero 2, Campione d’Italia CH-6911,
 Switzerland

 AL TAQWA BANK a/k/a BANK AL
 TAQWA, a/k/a BANK AL TAQWA
 LIMITED a/k/a BANK OF TAQWA

                                            269
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 271 of 962




 LIMITED,
 c/o Arthur D. Hanna & Company
 10 Deveaux Street
 P.O. Box N-4877
 Nassau, Bahamas

 AL TAQWA TRADE, PROPERTY AND
 INDUSTRY, LTD. a/k/a AL TAQWA
 TRADE, PROPERTY AND INDUSTRY
 COMPANY LIMITED, a/k/a AL TAQWA
 TRADE, PROPERTY AND INDUSTRY
 ESTABLISHMENT a/k/a HIMMAT
 ESTABLISHMENT a/k/a HOCHBURG
 a/k/a WALDENBURG a/k/a AL TAQWA
 TRADE, PROPERTY AND INDUSTRY
 LIMITED
  c/o Asat Trust Reg.,
 Altenbach 8
 Baduz 9490
 Liechtenstein

 AKIDA BANK PRIVATE LIMITED

 AKIDA INVESTMENT CO. LTD

 NADA MANAGEMENT
 ORGANIZATION, S.A.
 Viale Stefano Franscini 22,
 Lugano CH-6900 TI
 Switzerland

 YOUSSEF M. NADA a/k/a YOUSSEFF
 MUSTAFA NADA a/k/a YOUSSEF
 NADA
 Via Arogno 32
 Campione d’Italia 6911 Switzerland

 YOUSSEF M. NADA & CO.
 GESELLSCHAFT, M.B.H.
 c/o Youssef M. Nada
 Via Riasc 4
 Campione d’Italia 6911 Switzerland

 NADA INTERNATIONAL ANSTALT

 YOUSSEF M. NADA & CO.

                                      270
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 272 of 962




 NASCO BUSINESS RESIDENCE

 CENTERSAS DI NASREDDIN AHMED
 IDRIS EC

 NASCO NASREDDIN HOLDING A.S.

 NASCOSERVICE S.R. L.

 NASCOTEX S.A.

 BARZAN E-TIKRITI a/k/a/ BARZAN
 IBRAHIM HASAN a/k/a BARZAN
 IBRAHIM HASAN AL-TIKRITI

 METALOR a/k/a LA GROUPE
 METALOR a/k/a LA GROUE METALOR
 TECHNOLOGIES a/k/a METALOR
 GROUP A/K/A METALOR
 TECHNOLOGIES SA
 B.P. 29
 Rue des Aquées
 28190 Courville sur Eure
 France

 BANCA DEL GOTTARDO a/k/a BANCA
 DEL’GOTTARDO
 Viale S. Franscini 8
 CH-6901 Lugano
 Switzerland

 NASREDDIN COMPANY NASCO SAS
 DI AHMED IDRIS NASREDDIN EC

 NASREDDIN FOUNDATION

 NASREDDIN GROUP
 INTERNATIONAL HOLDING LIMITED

 NASREDDIN INTERNATIONAL
 GROUP LIMITED HOLDING

 AHMAD I. NASREDDIN a/k/a HADJ
 AHMED NASREDDIN a/k/a AHMED
 IDRISS NASREDDIN AND

                                  271
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 273 of 962




 NASREDDIN GROUP
 INTERNATIONAL LIMITED
 HOLDINGS a/k/a NASREDDIN
 INTERNATIONAL GROUP HOLDINGS
 LIMITED a/k/a NASREDDIN
 INTERNATIONAL GROUP LTD.
 c/o Rechta Treuhand-Anstalt
 Kirkstrasse 39
 9490 Vaduz, Liechtenstein

 ASAT TRUST REG.
 Altenbach 8, Vaduz 9490
 Liechtenstein

 TERRORIST HIJACKERS:

 The Estate of ABDULAZIZ AL OMARI

 The Estate of WAIL AL SHEHRI

 The Estate of WALEED M. AL SHEHRI


 The Estate of SATAM M.A. AL SUQAMI

 The Estate of MOHAMMED ATTA

 The Estate of FAYEZ AHMED a/k/a/
 BANIHAMMAD FAYEZ

 The Estate of AHMED AL-GHAMDI

 The Estate of HAMZA AL-GHAMDI

 The Estate of MARWAN AL-SHEHHI

 The Estate of MOHALD AL-SHEHRI

 The Estate of KHALID AL-MIDHAR

 The Estate of NAWAF AL-HAZMI

 The Estate of SALEM AL-HAZMI

 The Estate of HANI HANJOUR



                                      272
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 274 of 962




 The Estate of MAJED MOQUED a/k/a
 MAJED MOQED

 The Estate of SAEED AL GHAMDI

 The Estate of AHMED IBRAHIM A. AL
 HAZNAWI

 The Estate of AHMED AL NAMI

 The Estate of ZIAD SAMIR JARRAH

 ZACARIAS MOUSSAUI a/k/a
 ZACARIAS MOUSSAOUI

 ESTATE OF MUHAMMAD ATEF a/k/a
 MUHAMMAD ATEF a/k/a
 MUHAMMAD ATIF a/k/a ESTATE OF
 MUHAMMAD ATIF

 THE TALIBAN

 MUHHAMAD OMAR a/k/a MUHAMAD
 OMAR a/k/a MUHAMMAD OMAR

 MUSLIM BROTHERHOOD:

 SYRIAN BRANCH

 EGYPTIAN BRANCH

 JORDANIAN BRANCH

 KUWAITI BRANCH

 IRAQI BRANCH

 AND,

 JOHN DOES 1-67,

             Defendants.
 ___________________________________




                                     273
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 275 of 962




     [PROPOSED] FIFTH AMENDED FIRST CONSOLIDATED COMPLAINT
      CONTAINING MORE DEFINITE STATEMENTS, RICO STATEMENTS
       AND ADDITIONAL ALLEGATIONS FILED PURSUANT TO CMO 2,
                          PARAGRAPH 13 1

                                        INTRODUCTION

           1.       On September 11, 2001, Islamic terrorists perpetrated an attack on the

 United States that was unprecedented in history. On that day, over 3,000 Americans

 were killed in simultaneous attacks on the World Trade Center in New York City and the

 Pentagon in Arlington, Virginia.       The attacks were not isolated incidents, but rather a

 coordinated effort by Islamic Terrorist Organizations. The attacks of September 11, 2001

 had been planned for years by an extensive network of Islamic militants with the support,

 aid and assistance of banks, governments, and individuals. Plaintiffs are the Estate and

 immediate family of John Patrick O'Neill Sr., former head of the Federal Bureau of

 Investigation’s (F.B.I.) counterterrorism division and former Special Agent in Charge of

 the National Security Division of the New York Office of the FBI, and the world's

 foremost expert on Islamic terrorism and Osama Bin Laden’s terror network. John

 Patrick O’Neill, Sr. was killed in the attacks on the World Trade Center. Plaintiffs also

 include the Additional Plaintiffs listed in Appendix 1 (solely as to the Taliban). 2


 1
   This pleading shall not be construed to add any additional allegations as to any dismissed
 defendants.
 2
   Additional Plaintiffs listed in Appendix 1 seek to be added to this case as parties solely as to the
 Taliban. Additional Plaintiffs do not seek to be added as parties against the Islamic Republic of
 Iran (“Iran”) as Additional Plaintiffs already have 23 cases pending, and in most cases,
 judgments, against Iran. Additional Plaintiffs do not seek to be added as plaintiffs against any
 other defendant in this case other than the Taliban at this time. By filing this Amended
 Consolidated Complaint, Additional Plaintiffs expressly do not waive their right to participate in
 any class action, including the class action cases in this MDL, Estate of John P. O’Neill, Sr., et al.
 v. Al Baraka Investment and Development Corporation, et. al., 04 CV 01923; Estate of John P.
 O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al., 04 CV 01922; and C. I. O'Neill, et al. v.
 Republic of the Sudan, et al., 18-CV-12114. To the contrary, Additional Plaintiffs expressly
 preserve that right.
                                                 274
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 276 of 962




           2.       John Patrick O'Neill, Sr. became Chief of Security for the World Trade

 Center less than two weeks prior to the September 11th attacks. On the morning of

 September 11, 2001, John Patrick O’Neill Sr. was in his office on the 34th Floor in the

 South Tower, Tower 2, at the time the first plane hit the North Tower, Tower 1. He

 immediately left his office and headed to the lobby of the North Tower to determine what

 had happened, and to assess the damage. A command post was set up in the lobby of the

 North Tower from where he was able to direct the rescue efforts of the first responders.

 When the second plane hit the South Tower, he returned there to coordinate the rescue

 efforts in that building, and was killed when that building collapsed.

           3.       On the morning of September 11, 2001, Mohammed Atta, Abdul

 Alomari, Wail al-Shehri, Waleed al-Shehri, and Satam al-Suqami hijacked American

 Airlines flight 11, bound from Boston to Los Angeles, and crashed it into the North

 Tower (Tower One) of the World Trade Center in New York.

           4.       On the morning of September 11, 2001, Marwan al-Sheehhi, Fayez

 Ahmed a/k/a/ Bamihammad Fayez, Ahmed al-Ghamdi, Hazma al- Ghamdi, and Molahd

 al-Shehri hijacked United Airlines Flight 175, bound from Boston to Los Angeles, and

 crashed it into the South Tower (Tower Two) of the World Trade Center in New York.

           5.       On the morning of September 11, 2001, Khalid al-Midhar, Nawalf al-

 Hazmi, Salem al-Hazmi, Hani Hanjour, and Majed Moqued a/k/a Majed Moqed hijacked

 American Airlines Flight 77, bound from Dulles Airport in Sterling, Virginia, to Los

 Angeles, California and crashed it into the Pentagon in Arlington, Virginia.

           6.       On September 11, 2001, Zihad Jarrah, Ahmed Al-Haznawi, Saeed Al-

 Ghamdi, and Ahmed al-Nami hijacked United Airlines Flight 93, bound from Newark,



                                               275
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 277 of 962




 New Jersey to San Francisco, California with the intention of crashing that plane into

 either the United States Capitol building or the White House. In a heroic act of defiance

 and courage, the passengers of Flight 93 overtook the hijackers, and the plane crashed in

 Shanksville, Pennsylvania prior to reaching its target in Washington, D.C.

            7.      All nineteen (19) hijackers were members of Osama Bin Laden’s Al

 Qaeda network. All received sponsorship, funding and training through the Al Qaeda

 network.

            8.      Plaintiffs move for judgment against Defendants, jointly and severally. In

 support of their Complaint, Plaintiffs allege as follows:


                     JURISDICTION, VENUE AND CHOICE OF LAW

            9.      This court has jurisdiction over the subject matter of this action pursuant

 to 28 U.S.C. §§1330(a), 1331, and 1332(a)(2). Venue is proper in this District Court

 pursuant to 28 U.S.C. §1391(f)(4).

          10.       Actions for wrongful death, personal injury, and related torts perpetrated

 by foreign state sponsors of terrorism through their officials, employees, and agents –

 within the meaning of 28 U.S.C. §1605(a)(7) – are unique causes of actions arising out

 of federal counter-terrorism statutes and are controlled by federal law. 3

          11.       By its actions and the actions of its agencies and instrumentalities,

 Defendant the Republic of Iraq and its agencies and instrumentalities forfeited their right

 to claim immunity under the Foreign Sovereign Immunities Act 28 U.S.C. §§ 1605(a)(2),

 1605(a)(5) and 1605(a)(7). Pursuant to 28 U.S.C. §1605(a)(7) and Pub L. 104-208, Div.

 A., Title I, §101(c), 110 Stat. 3008-172 (reprinted at 28 U.S.C. § 1605 note (West



                                                 276
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 278 of 962




 Supp.)), all defendants who are officials, employees, or agents of the foreign state

 defendants are individually liable to Plaintiffs for damages caused by their acts which

 resulted in the death of John Patrick O’Neill, Sr.

          12.       By its actions and the actions of its agencies and instrumentalities,

 Defendant the Republic of Iran and its agencies and instrumentalities forfeited their right

 to claim immunity under the Foreign Sovereign Immunities Act 28 U.S.C. §§ 1605(a)(2),

 1605(a)(5) and 1605(a)(7). Pursuant to 28 U.S.C. §1605(a)(7) and Pub L. 104-208, Div.

 A., Title I, §101(c), 110 Stat. 3008-172 (reprinted at 28 U.S.C. § 1605 note (West

 Supp.)), all defendants who are officials, employees, or agents of the foreign state

 defendants are individually liable to Plaintiffs for damages caused by their acts which

 resulted in the death of John Patrick O’Neill, Sr.

          13.       Defendant the Republic of Iraq by its actions and the actions of its

 agencies and instrumentalities described herein, conducted commercial activity that had a

 direct effect on the United States, and they are not immune pursuant to the Foreign

 Sovereign Immunities Act 28 U.S.C. §1605(a)(2).

          14.       Defendant the Republic of Iran by its actions and the actions of its

 agencies and instrumentalities described herein, conducted commercial activity that had a

 direct effect on the United States, and they are not immune pursuant to the Foreign

 Sovereign Immunities Act 28 U.S.C. §1605(a)(2).

          15.       Defendant the Republic of Iraq and its agencies and instrumentalities

 described herein, are subject to liability for said acts resulting in personal injury and

 death in the United States caused by the tortious act or omission of the foreign state and


 3
   The MDL Court previously permitted Plaintiffs to amend their complaint solely as to Iran to allow them
 to pursue claims under 28 U.S.C. § 1605A. ECF No. 3018.

                                                   277
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 279 of 962




 its officials and employees while acting within the scope of their office or employment

 and thus have forfeited their right to claim immunity pursuant to 28 U.S.C. §1605(a)(5).

          16.       Defendant the Republic of Iran and its agencies and instrumentalities

 described herein, are subject to liability for said acts resulting in personal injury and

 death in the United States caused by the tortious act or omission of the foreign state and

 its officials and employees while acting within the scope of their office or employment

 and thus have forfeited their right to claim immunity pursuant to 28 U.S.C. §1605(a)(5).

          17.       Defendant the Republic of Iraq is a foreign state and was designated a

 state sponsor of terrorism pursuant to section 6(j) of the Export Administration Act of

 1979 (50 U.S.C. App. § 2405(j)) and section 602(A) of the Foreign Assistance Act of

 1961 (22 U.S.C. §2371) – from the passage of the Act in 1979 until 1982, and from 1990

 until May 7, 2003, 4 and was so designated at the time the acts complained of herein

 occurred. Iraq provided material support and resources to the Al Qaeda terrorist

 organization. Iraq funded, directed, and trained Al Qaeda terrorists and is therefore a

 sponsor of Al Qaeda within the meaning of 28 U.S.C. §§1605(a)(7) and 1605 note.

          18.       Defendant the Republic of Iran is a foreign state and was designated a

 state sponsor of terrorism pursuant to section 6(j) of the Export Administration Act of

 1979 (50 U.S.C. App. § 2405(j)) and section 602(A) of the Foreign Assistance Act of

 1961 (22 U.S.C. §2371) –, and was so designated at the time the acts complained of

 herein occurred. Iran provided material support and resources to the Al Qaeda terrorist




 4
  On April 16, 2003, Congress enacted the Emergency Wartime Supplemental Appropriations Act
 § 1503 Public Law 108-11, 115 Stat. 579. On May 7, 2003, the President exercised the authority
 granted to him by Congress in the Act, and, in effect made seized Iraqi assets unavailable for
 satisfying judgments in suits against the Republic of Iraq.
                                                278
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 280 of 962




 organization. Iran funded, directed, and trained Al Qaeda terrorists and is therefore a

 sponsor of Al Qaeda within the meaning of 28 U.S.C. §§1605(a)(7) and 1605 note.

          19.       Defendant the Republic of Iraq was designated a state sponsor of terrorism

 at the time the acts complained of herein occurred, and is therefore subject to liability for

 said acts and for provision of material support for said acts resulting in injury and death

 in the United States as a result of torture, extrajudicial killings and aircraft sabotage, and

 has forfeited its right to claim immunity pursuant to the 1996 Anti Terrorism Effective

 Death Penalty Act codified as 28 U.S.C. §1605(a)(7).

          20.       Defendant the Republic of Iran was designated a state sponsor of terrorism

 at the time the acts complained of herein occurred, and is therefore subject to liability for

 said acts and for provision of material support for said acts resulting in injury and death

 in the United States as a result of torture, extrajudicial killings and aircraft sabotage, and

 has forfeited its right to claim immunity pursuant to the 1996 Anti Terrorism Effective

 Death Penalty Act codified as 28 U.S.C. §1605(a)(7).

          21.       The actions of Defendants as described herein subjected the Plaintiffs’

 decedent John Patrick O’Neill, Sr., to torture and extrajudicial killing within the meaning

 of the Torture Victim Protection Act, Pub.L. 102-256, 106 Stat. 73 (reprinted at 28

 U.S.C.A. §1350 note (West 1993)).

          22.       In carrying out these terrorist acts that resulted in the injury and

 extrajudicial killing of John Patrick O’Neill, Sr., the actions of each Defendant were

 conducted under actual or apparent authority, or under color of law.

          23.       As set forth above and below, Defendants, jointly and severally, aided,

 abetted, sponsored, materially supported, and conspired to proximately cause the death



                                                  279
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 281 of 962




 and injury of John Patrick O’Neill, Sr., through and by reason of acts of international

 terrorism. These terrorist activities constitute violations of the law of nations otherwise

 referred to as contemporary international law, including those international legal norms

 prohibiting torture, genocide, air piracy, terrorism, and mass murder as repeatedly

 affirmed by the United Nations Security Council.

          24.        As a result of Defendants’ sponsorship of terrorism in violation of the law

 of nations and contemporary principles of international law, the Plaintiffs suffered injury

 and damages as set forth herein. Violations of the law of nations and of international

 agreements include but are not limited to:

                a.          The Universal Declaration of Human Rights, Dec 10, 1956 G.A.

                     Res. 217(A)(III), U.N. Doc A/810, at 71 (1948);

                b.          The International Covenant of Political and Civil Rights, art. 6

                     (right to life), U.N. Doc. A/6316, 999 U.N.T.S. (1992);

                c.          The Convention on the Prevention and Punishment of Crimes

                     against Internationally Protected Persons, Including Diplomatic Agents,

                     28 U.S.T. 1975, T.I.A.S. No. 8532 (1977), implemented in 18 U.S.C. §

                     112;

                d.          The General Assembly Resolutions on Measures to Prevent

                     International Terrorism, G.A. Res. 40/61 (1985) and G.A. Res. 42/158

                     (1987); and,

                e.          The Convention on the High Seas, arts. 14-22 (piracy) 13 U.S.T.

                     2312, T.I.A.S. No. 5200 (1962).




                                                 280
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 282 of 962




                                          THE PARTIES

          25.       Plaintiff John Patrick O’Neill, Jr. is a United States citizen and domiciliary

 of the State of Maryland. He is the son of John Patrick O’Neill, Sr. who was killed in

 the September 11, 2001 terrorist attack on the World Trade Center.

          26.       Plaintiff Christine Irene O’Neill is a United States citizen and a

 domiciliary of the State of New Jersey. She is the widow of John Patrick O’Neill Sr.,

 who was killed in the September 11, 2001 terrorist attack on the World Trade Center.

          27.       Plaintiff Carol O’Neill is a United States citizen and a domiciliary of the

 state of New Jersey. She is the daughter of John Patrick O’Neill, Sr. who was killed in

 the September 11, 2001 terrorist attack on the World Trade Center.

          28.       Plaintiff Dorothy A. O’Neill is a United States citizen and a domiciliary of

 the State of New Jersey. She is the mother of John Patrick O’Neill Sr., who was killed in

 the September 11, 2001 terrorist attack on the World Trade Center.

          29.       Plaintiffs’ decedent John Patrick O'Neill, Sr. was a United States citizen

 and domiciliary of the State of New Jersey. He was killed in the September 11, 2001

 attacks on the World Trade Center.

          30.       Plaintiff the Estate of John Patrick O’Neill, Sr. is the legal entity created to

 recover damages on behalf of John Patrick O’Neill, Sr., deceased, and his heirs-at-law

 arising from the September 11, 2001 terrorist attack on the World Trade Center.

 Plaintiffs John Patrick O’Neill, Jr. and Christine Irene O’Neill are Co-Executors of the

 Estate of John Patrick O’Neill Sr., deceased.




                                                  281
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 283 of 962




                       ADDITIONAL PLAINTIFFS AGAINST THE TALIBAN

          31.       As indicated at Appendix 1, each listed Additional Plaintiff is either (i) the

 estate representative of someone who was killed as a result of the September 11, 2001

 Terrorist Attacks; (ii) the surviving immediate family member of someone who was

 killed as a result of the September 11, 2001 Terrorist Attacks; (iii) the estate

 representative of a surviving immediate family member of someone who was killed as a

 result of the September 11, 2001 Terrorist Attacks; or (iv) someone who suffered

 physical injuries as a result of the September 11, 2001 Terrorist Attacks ((i) and (iv)

 collectively, “9/11 Victim”). 5

          32.       The name, relationship to the injured and/or deceased September 11

 victim, residency, and the general nature of the claim for each Additional Plaintiff is

 listed on the attached Appendix 1, and is incorporated herein as allegations.

          33.       Defendant, the Republic of Iraq (hereinafter “Iraq”) 6 is a foreign

 sovereign state located in the Middle East and shares borders with Saudi Arabia, Jordan,

 Syria, Turkey, Iran and Kuwait on September 11, 2001. The United States did not have

 formal diplomatic relations with the former government of Iraq, which maintained an

 office in New York, the Permanent Representative of Iraq to the United Nations, 14 East

 59th Street, New York, NY, 10021. This court should take judicial notice that Defendant

 The Republic of Iraq has been found to be liable as a foreign state supporting

 international terrorism under 28 U.S.C. § 1605(a)(7) to victims of state sponsored




 5
   Additional Plaintiffs include the Estate of John F. O’Neill, the late father of John P. O’Neill, Sr.
 The Estate of John F. O’Neill was already added to this case as to Iran (and against other parties
 in other cases in this MDL) through procedures previously authorized by the Court. See, e.g.,
 ECF No. 5225.
                                                  282
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 284 of 962




 terrorism for the acts and actions of Defendant Al Qaeda in cases before this court,

 namely Daliberti v. Republic of Iraq, 97 F. Supp. 2d 38 (D DC 2000). Defendant the

 Republic of Iraq is collaterally estopped in this action from denying that it is liable for

 the acts and actions of Defendant Al Qaeda.

          34.       Defendant, the Iraqi Intelligence Agency, also known as (“a/k/a”)

 Mukhabarat, a/k/a the Fedayeen, a/k/a Al-Qare, a/k/a “Unit 999,” a/k/a “M-8 Special

 Operations,” was the intelligence and operational entity in charge of conducting

 clandestine operations for the Iraqi government and was an agency, instrumentality,

 and/or organ of the Iraqi government.

          35.       Defendant, the Islamic Republic of Iran (hereinafter “Iran”) is a foreign

 sovereign state located in the Middle East and shares borders with Armenia, Azerbaijan,

 Turkmenistan, Afghanistan, Pakistan, Iraq and Turkey. The United States has not had

 formal diplomatic relations with Iran since April 7, 1980. Iran maintains an office in

 New York, the Permanent Representative of Iran to the United Nations, 14 East 59th

 Street, New York, NY, 10021. Iran maintains an Interest Section in the Embassy of

 Pakistan, located at 2209 Wisconsin Avenue, NW, Washington, DC 20007.

          36.       The Government of Iran, along with its associated terrorist group,

 Hezbollah a/k/a Hizballah, forged an alliance with Osama bin Laden a/k/a Usama bin

 Laden and Al Qaeda for the purpose of working together against their perceived common

 enemies in the West, particularly the United States.




 6
   In April 2003, U.S. Armed forces overthrew the regime of Saddam Hussein. Any successor
 government of Iraq remains liable for the state-sponsored acts of terrorism of its predecessor
 government.
                                                283
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 285 of 962




          37.       Defendant Hezbollah’s involvement in the terrorist attacks on September

 11, 2001 has been alleged by both American and Israeli military intelligence to have been

 based on the methodology of Hezbollah’s previous terrorist activity.

          38.       Defendants Saddam Hussein, the Estate of Qusay Hussein, the Estate of

 Uday Hussein, Husham Hussein, Tahya Yassin Ramadan a/k/a Taha Yassin Ramadan,

 Muhammed Madhi Salah a/k/a Muhhamed Mahdi Salah, Faruq Al-Hijazi, Salah

 Suleiman, Ahmed Khalil Ibrahim Samir al-Ani, Habib Faris Adullah al-Mamouri, Abdel

 Hussein, a/k/a “The Ghost,” Haqi Ismail a/k/a Haqui Ismail, Taha Al Alwani a/k/a Dr.

 Taha Jabir al’Alwani, Abu Agab, and Abu Waiel a/k/a Abu Aw’el a/k/a Sadoun Abdul

 Latif are natural persons, subjects and citizens of Iraq and leaders, officials, agents/or

 employees of Iraq and/or its Intelligence Agency, or are the personal representatives of

 their estates, who participated in the acts and conspiracy described below while acting in

 the course and scope of their employment.

          39.       Defendants Abu Hafs the Maritanian, Saif al-Adil a/k/a Saif al-Adel a/k/a

 Muhamad Ibrahim Mukkawi a/k/a Ibrahim al-Madani a/k/a Seif Al Adel a/k/a Sayf al-

 Adl, Imad Mughniyeh, Hezbollah Secretary General Hassan Nasrallah, Iranian Supreme

 Leader Ayatollah Ali Hoseini-Khamenei a/k/a Ayatollah Ali Khamenei, Usbat al-Ansar,

 Ahmad Vahedi, Hossein Mosleh, Morteza Reza’i, Salah Hajir, Iranian Minister of

 Intelligence and Security Ali Fallahian, Iranian Revoluntionary Guard Corps Deputy

 Commander Brig General Mohammad Baqer Zolqadr, and Adib Sha’ban a/k/a Adeeb

 Shabaan are natural persons, subjects and citizens of Iran and leaders, officials, agents/or

 employees of Iran and/or its Intelligence Agency, who participated in the acts and

 conspiracy described below while acting in the course and scope of their employment.



                                               284
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 286 of 962




          40.       Defendants the Iranian Ministry of Intelligence and Security (MOIS),

 Iranian Revolutionary Guard Corps, Iranian Revolutionary Guard Corps – Qods Division

 a/ka Qods Force a/k/a Jerusalem Force, Iranian Minister of Intelligence and Security Ali

 Fallahian , Iranian Revoluntionary Guard Corps Deputy Commander Brig General

 Mohammad Baqer Zolqadr, Akida Bank Private Limited, Akida Investment Co. Ltd,

 Nasco Business Residence, CenterSAS DI Nasreddin Ahmed Idris EC, Nasco Nasreddin

 Holding A.S., Nascoservice S.R. L., Nascotex S.A., Nasreddin Company Nasco SAS DI

 Ahmed Idris Nasreddin EC, Nasreddin Foundation, Nasreddin Group International

 Holding Limited, Nasreddin International Group Limited Holding, The Al Qaeda Islamic

 Agency a/ka Al Qaeda a/k/a Al Qaedi Islamic Army a/k/a Al Qaeda Islamic Army for the

 Liberation of the Holy Places a/k/a Islamic Army for the Liberation of Holy Places,

 Egyptian Islamic Jihad, Abu Sayyaf, Hamsiraji Sali a/k/a Estate of Hamsiraji Sali, Abu

 Musab Zarqawi a/k/a Abu Musab al-Zarqawi, Abu Zubaydh, Khalid Sheikh Mohammed

 a/k/a Khaled Shaikh Mohammed, Abu Abdul Rahman, Schreiber & Zindel, Dr. Frank

 Zindel, Engelbert Schreiber, Engelbert Schreiber, Jr., Martin Wachter, Erwin Wachter,

 Sercor Treuhand Anstalt, Abdul Rahman Yasin, Ahmad I. Nasreddin a/k/a Hadj Ahmed

 Nasreddin a.k.a Ahmed Idriss Nasreddin and Nasreddin Group International Limited

 Holdings a/k/a Nasreddin International Group Holdings Limited a/k/a Nasreddin

 International Group, Ltd., Al Taqwa Bank a/k/a , a/k/a Bank Al Taqwa, a/k/a Bank Al

 Taqwa Limited a/k/a Bank of Taqwa Limited, Al Taqwa Trade, Property, and Industry,

 Ltd. a/k/a Al Taqwa Trade, Property and Industry Company Limited, a/k/a Al Taqwa

 Trade. Property and Industry Establishment, a/k/a Himmat Establishment a/k/a Hochburg

 a/k/a Waldenburg a/k/a Al Taqwa Property and Industry Limited, Al-Gammah Al



                                               285
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 287 of 962




 Islamiah , a/k/a Al Gama'a al-Islamiyya , Ayman al-Zawahiri, Albert Freidrich Armand

 Huber a/k/a/ Armand Huber, a/k/a Ahmed Huber a/k/a Albert Huber a/k/a Armand

 Albert Friedric a/k/a Armand Huber, Ali Ghaleb Himmat, Asat Trust Reg., Nada

 Management Organization, S.A., Yousef M. Nada a/k/a Yousseff Mustafa Nada a/k/a

 Youssef Nada,Yousef M. Nada & Co, Gesellschaft, M.B.H, Youssef M. Nada & Co.,

 Nada International Anstalt, Barzan e-Tikriti a/k/a Barzan Ibrahim Hasan a/k/a Barzan

 Ibrahim Hasan Al-Tikriti, Metalor a/k/a La Groupe Metalor a/k/a La Groupe Metalor

 Technologies a/k/a Metalor Group a/k/a Metalor Technologies, SA,, Banca del Gottardo

 a/k/a Banca del’Gottardo, Saad Bin Laden, The Terrorist Hijackers, Estate of Abdulaziz

 al Omari, Estate of Wail al Shehri, Estate of Waleed M. Al Shehri, Estate of Satam M.A.

 al Suqami, Estate of Mohammed Atta, Estate of Fayez Ahmed a/k/a Banihammad Fayez,

 Estate of Ahmed al-Ghamdi, Estate of Hamza al-Ghamdi, Estate of Marwan al-Shehhi,

 Estate of Mohald al-Shehri, Estate of Khalid al-Midhar, Estate of Nawaf al-Hazmi, Estate

 of Salem al-Hazmi, Estate of Hani Hanjour, Estate of Majed Moqued a/k/a Majed

 Moqed, Estate of Saeed al Ghamdi, Estate of Ahmed Ibrahim A. al Haznawi, Estate of

 Ahmed al Nami, Ziad Samir Jarrah, Zacarias Moussaui a/k/a Zacarias Moussaoui, Estate

 of Muhammad Atef a/k/a Muhammad Atef a/k/a Muhammad Atif a/k/a Estate of

 Muhammad Atif, The Taliban, Muhammad Omar a/k/a Muhamad Omar a/k/a Muhhamad

 Omar, Muslim Brotherhood – Syrian Branch, Muslim Brotherhood – Egyptian Branch,

 Muslim Brotherhood – Jordanian Branch, Muslim Brotherhood – Kuwaiti Branch,

 Muslim Brotherhood – Iraqi Branch, and John Does 1-67 are natural persons(or the

 personal representatives of their estates), organizations, banks, and charities located all

 over the world who conspired with Osama Bin Laden, Al Qaeda, Iraq and the Taliban to



                                              286
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 288 of 962




 raise, launder, transfer, distribute, and hide funds for Bin Laden and Al Qaeda in order to

 support and finance their terrorist activities including, but not limited to, the September

 11th attacks. Some of the businesses, banks and charities operate legitimately but also

 maintain a secret dual role as Al Qaeda front organizations and actively support its

 terrorist activities. Some of those organizations are purely a sham front for Al Qaeda.

          41.       Defendant Imad Mughniyeh, a Palestinian who operates directly on behalf

 of Iranian intelligence, is regarded as the mastermind of Hezbollah kidnappings, suicide

 bombings and violent airplane hiackings.

          42.       Defendant Dr. Ayman al Zawahiri is leader of the Egyptian Islamic Jihad

 and Bin Laden’s second in command. American and Israeli intelligence have named both

 him and defendant Imad Mughinyeh, as one of the masterminds behind the September

 11, 2001 attacks.

          43.       Defendants Saddam Hussein, the Estate of Qusay Hussein, the Estate of

 Uday Hussein, Husham Hussein, Tahya Yassin Ramadan, Muhammed Madhi Salah,

 Faruq Al-Hijazi, Salah Suleiman, Ahmed Khalil Ibrahim Samir al-Ani, Habib Faris

 Adullah al-Mamouri, Abdel Hussein, a/k/a “The Ghost,” Osama Bin Laden, Saad Bin

 Laden, Haqui Ismail, Taha Al Alwani, Abu Agab, and Abu Waiel, Osama Bin Laden,

 The Al Qaeda Islamic Agency, Egyptian Islamic Jihad, Abu Sayyaf, Hamsiraji Sali, Abu

 Musab Zarqawi, Abu Zubaydh, Khalid Sheikh Mohammed, Abu Abdul Rahman, Al

 Jazeera, Mohammed Jasmin al-Ali, Schreiber & Zindel, Dr. Frank Zindel, Engelbert

 Schreiber, Engelbert Schreiber, Jr., Martin Wachter, Erwin Wachter, Sercor Treuhand

 Anstalt, Abdul Rahman Yasin, Ahmad I. Nasreddin, Al Taqwa Bank, Al Taqwa Trade,

 Property, and Industry, Ltd., Al-Gammah Al Islamiah, Ayman al-Zawahiri, Albert



                                               287
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 289 of 962




 Freidrich Armand Huber a/k/a/ “Armand Huber,” Ali Ghaleb Himmat, Asat Trust Reg.,

 Nada Management Organization, S.A., Yousef M. Nada, Yousef M. Nada & Co,

 Gesellschaft, M.B.H, Youssef M. Nada & Co., Nada International Anstalt, Barzan e-

 Tikriti, Metalor, Banca del Gottardo, Abdulaziz al Omari, Wail al Shehri, Waleed M. Al

 Shehri, Satam M.A. al Suqami, Mohammed Atta, Fayez Ahmed a/k/a Banihammad

 Fayez, Ahmed al-Ghamdi, Hamza al-Ghamdi, Marwan al-Shehhi, Mohald al-Shehri,

 Khalid al-Midhar, Nawaf al-Hazmi, Salem al-Hazmi, Hani Hanjour, Majed Moqued,

 Saeed al Ghamdi, Ahmed Ibrahim A. al Haznawi, Ahmed al Nami, Ziad Samir Jarrah,

 Zaracias Moussaui, Muhammad Atef, The Taliban, Muhammad Omar, Muslim

 Brotherhood – Syrian Branch, Muslim Brotherhood – Egyptian Branch, Muslim

 Brotherhood – Jordanian Branch, Muslim Brotherhood – Kuwaiti Branch, Muslim

 Brotherhood – Iraqi Branch, Iranian Ministry of Intelligence and Security, Iranian

 Revolutionary Guard Corps, Iranian Revolutionary Guard Corps – Qods Division, Akida

 Bank Private Limited, Akida Investment Co. Ltd, Nasco Business Residence, CenterSAS

 DI Nasreddin Ahmed Idris EC, Nasco Nasreddin Holding A.S., Nascoservice S.R. L.,

 Nascotex S.A., Nasreddin Company Nasco SAS DI Ahmed Idris Nasreddin EC,

 Nasreddin Foundation, Nasreddin Group International Holding Limited, Nasreddin

 International Group Limited Holding, Abu Hafs the Maritanian, Saif al-Adil. Imad

 Mughniyeh, Hezbollah Secretary General Hassan Nasrallah, Iranian Supreme Leader

 Ayatollah Ali Khamenei, Usbat al-Ansar, Ahmad Vahedi, Hossein Mosleh, Morteza

 Reza’i, Salah Hajir and Adib Sha’ban a/k/a Adeeb Shabaan, Hezbollah a/k/a Hizballah,

 Iranian Minister of Intelligence and Security Ali Fallahian, Iranian Revoluntionary Guard

 Corps Deputy Commander Brig General Mohamma Baqer Zolqadr, and John Does 1-67



                                            288
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 290 of 962




 are natural persons(or the personal representatives of their estates), subjects and citizens

 of Iraq and leaders, officials, agents/or employees of Iraq and/or its Intelligence Agency

 or other agents or instrumentalities of Iraq and/or are natural persons, subjects and

 citizens of Iran and leaders, officials, agents/or employees of Iran and/or its Intelligence

 Agency or other agents or instrumentalities of Iran and/or are natural persons (or the

 personal representatives of their estates), organizations, banks, and charities located all

 over the world, who participated in the acts and conspiracy described below, in their

 individual capacities and while acting in the course and scope of their employment.

 and/or who conspired with Osama Bin Laden, Al Qaeda, Hezbollah, Iran, and the Taliban

 to raise, launder, transfer, distribute, and hide funds for Bin Laden and Al Qaeda in order

 to support and finance their terrorist activities including, but not limited to, the September

 11th attacks. Some of the businesses, banks and charities operate legitimately but also

 maintain a secret dual role as front organizations for Hezbollah and Al Qaeda and

 actively support its terrorist activities. Some of those organizations are purely a sham

 front for Hezbollah and Al Qaeda.

           44.      In a similar fashion, some of the individual Defendants operate apparently

 legitimate businesses, while maintaining a secret dual role as Hezbollah and Al Qaeda

 operatives, and others are full-fledged members of Hezbollah and Al Qaeda who operate

 openly.

           45.      Defendants Al Taqwa and Nada Management Organization are banks who

 had their origin in the late 1980’s, during which time the leaders of the Muslim

 Brotherhood formed financial management firms and banks called “Al Taqwa” (“Fear of

 God”), that were dedicated to the overthrow of Western nations, and the creation of a



                                                289
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 291 of 962




 worldwide Islamic government. Headquartered in Lugano, Switzerland, with branches in

 Italy, Algeria, Liechtenstein, Malta, Panama and the Bahamas, they consist of the Al

 Taqwa Bank, Al Taqwa Management Organization SA, Al Taqwa Trade, Property and

 Industry, Ltd. and The Asat Trust.

          46.       Upon information and belief, the Al Taqwa Defendants have financed and

 laundered money for Arab and Islamic political and militant groups including the

 Algerian Armed Islamic Group (GIA) and the Egyptian Gala’a al-Islamiya, Islamic

 terrorist groups with links to Bin Laden and his Al Qaeda organization. Additionally,

 international investigations indicate that Al-Taqwa facilitated the movement of Bin

 Laden’s money around the world in the late 1990’s, a task made easier because its

 complex structure was designed to prevent scrutiny of its operations.

          47.       The Al Taqwa Defendants were founded by Defendant Yousef M. Nada,

 and its other principals are Defendants Ali G. Himmat, Ahmed Huber and Mohamed

 Mansour. Defendants Huber and Mansour are senior members of the Muslim

 Brotherhood.

          48.       Defendant Al Taqwa Bank is part of Defendant Al Taqwa Trade, Property

 and Industry Company which is located in Vaduz, Liechtenstein. This entity is also

 known as Himmat Establishment, run by a partner of Nada who, like Nada, is a member

 of the Egyptian Islamic Brotherhood. Although Egyptian-born, Mr. Nada is a naturalized

 citizen of Italy. Mr. Nada also is a member of Jamaa al-Islamiya, which is directly allied

 to Al Qaeda through Dr. Ayman al Zawahiri, second in command to Osama Bin Laden.

          49.       Shortly after dual U.S. Embassy bombings in Kenya and Tanzania by Al

 Qaeda in 1998, U.S. intelligence agencies tracked telephone contact between Al Taqwa,



                                              290
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 292 of 962




 members of Bin Laden’s inner circle, and Albert “Ahmed” Huber, a convert to Islam in

 the 1960’s who has publicly expressed support for Al Qaeda. Huber has acknowledged

 that Ahmad I. Nasreddin, a/k/a Hadj Ahmed Nasreddin, a/k/a Ahmed Idriss Nasreddin, is,

 in fact, an Al Taqwa founding member and bank shareholder who was very active in

 financing and operating the Islamic Cultural Institute of Milan, which follows the violent

 teachings of convicted terrorist Omar Abdul Rahman. The Institute was frequently

 visited by known Al Qaeda terrorists. Upon information and belief, the Institute is

 known in Western intelligence communities as one of the main Al Qaeda stations in

 Europe and was used to move weapons, men, and money around the world.

 After September 11, 2001, Al Taqwa changed its name to the Nada Management

 Organization SA in an attempt to avoid scrutiny. Al Taqwa and the Nada group, as well

 as their four principals – Nada, Himmat, Huber, and Mansour, have had their assets

 frozen and are believed by the U.S. Department of Justice to be co-conspirators of Al

 Qaeda.

          50.       Defendant Schreiber & Zindel of Vaduz, Liechtenstein, is a legal entity

 involved in money laundering activities on behalf of Al Qaeda and Al Taqwa Bank,

 according to documents from the Government of Liechtenstein. Upon information and

 belief, revenues from the sale of Iraqi oil under the United Nation’s food-for-oil program

 were laundered to help finance Al Qaeda. Laundering activity, undertaken with the

 knowledge of Iraqi officials including Defendant the late Uday Hussein, the eldest son of

 Saddam Hussein, was undertaken through many of the same middlemen in Switzerland,

 Liechtenstein, and Italy that administered funds on behalf of sanctioned Al Taqwa bank

 and other fiduciaries associated with the Muslim Brotherhood.



                                              291
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 293 of 962




          51.       Defendant Asat Trust Reg. of Baduz, Liechtenstein, is another money

 laundering organization whose assets were frozen after the events of September 11, 2001.

 Defendant Yousef M. Nada founded and operated Asat Trust Reg. Defendants Martin

 Wachter and Erwin Wachter of the Defendant firm Sercor Treuhand Anstalt based in

 Liechtenstein, represented Asat Trust Reg.

          52.       Upon information and belief, Defendants Martin Wachter, Erwin Wachter,

 and Schreiber and Zindel engaged in money laundering on behalf of Al Taqwa and Al

 Qaeda. Their assets have not been frozen by the United States after the events of

 September 11, 2001.

          53.       Defendant Barzan e-Tikriti is Defendant Saddam Hussein’s half-brother

 and the former finance chief for Saddam Hussein’s private financial empire. For twenty

 years, e-Tikriti ran Hussein’s network from Lugano, Switzerland while simultaneously

 acting as Iraq’s chief delegate to the United Nations’ local Swiss headquarters. Upon

 information and belief, Defendant e-Tikriti laundered money through the Swiss bank

 Defendant Banca del Gottardo and through the holding company, Mediterranean

 Enterprises Development Projects (MEDP), moving approximately five billion dollars

 annually from Switzerland to offshore companies in Liechtenstein, Panama and the

 Bahamas, and eventually transferred some of those funds to the Al Qaeda network. In

 addition, e-Tikriti used a Swiss metallurgy firm, Defendant Metalor, to store and

 transform gold into gold bars, which were then sold for currency. Upon information and

 belief, Defendant Hussein’s financial network was utilized to support Al Qaeda and the

 terrorism network.




                                              292
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 294 of 962




          54.       Following its defeat in the 1991 Gulf War, Iraq’s approach to dealing with

 the United States was to resort to terrorism. To achieve its goals, Iraq associated with

 various terrorist groups. One was the Iranian opposition group Mujahideen-e-Khalq

 (MEK), that had ties to Ramzi Yousef, who had entered New York in 1992 using an Iraqi

 passport, and was later convicted in the 1993 World Trade Center bombing. The MEK

 reportedly also assisted Osama Bin Laden. The MEK reportedly assisted Osama Bin

 Laden’s escape to Eastern Iran after the attacks of September 11, 2001. Eastern Iran is

 controlled by a Sunni Muslim enclave that was under heavy Iraqi influence.

          55.       Ramzi Yousef also gave Iraq a channel to Defendant Khalid Sheikh

 Mohammed who is a high level Al Qaeda operative and Yousef's uncle. Defendant

 Mohammed is regarded to be the mastermind of the 1993 World Trade Center bombing

 and the September 11th attacks as well. Iraq maintained a direct link to Al Qaeda and

 Khalid Sheikh Mohammed through Ramzi Yousef.

          56.       A direct link between Iran and the joint activities of Hezbollah and Al

 Qaeda is the Al-Taqwa bank of Switzerland and Liechtenstein. The link primarily is

 through Ahmad Huber-El Biali (aka Ahmed Huber). Huber is a principal shareholder of

 Al-Taqwa bank which was sanctioned by the U.S. government for helping to finance Al

 Qaeda.         Since 1983, Huber has repeatedly visited Iran. In 1988, Huber first met

 Youssef Nada in Iran. Nada, an Egyptian belongs to the Muslim Brotherhood. Like

 Nada, Huber embraced the Muslim Brotherhood. At a conference in Iran in 1988, Nada

 asked Huber to participate in the founding of al-Taqwa. Al-Taqwa bank has been a

 funding source for activities involving Hamas, which has received direct funding from

 Iran. Hamas, an outgrowth of Palestinian Muslim Brotherhood founder Abdullah Azzam,



                                               293
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 295 of 962




 is closely associated with Hezbollah.        Azzam, along with Osama bin Laden, were

 cofounders of the Maktab al-Khidamir (MAK), a precursor to Al Qaeda. Iran is known

 to have appointed Hezbollah’s terrorist chief, Imad Mughniyeh as coordinator of Iran’s

 activities with the Hamas and the Palestinian Islamic Jihad in Lebanon.

          57.       Defendant Asat Trust Reg. of Baduz, Liechtenstein, is another money

 laundering organization whose assets were frozen after the events of September 11, 2001.

 Defendant Yousef M. Nada founded and operated Asat Trust Reg.

          58.       Defendant Abu Musab Zarqawi is a senior Al Qaeda member who escaped

 through Iran to Iraq following the U.S. attack on Afghanistan. While in Iraq, Zarqawi

 received medical attention in Baghdad where he remained to recuperate for several

 months. During the months Zarqawi remained in Iraq, he was protected and shielded

 from U.S. government efforts to arrest him by the Iraqi regime.

          59.       Defendant Zarqawi was also a leader of the Ansar al-Islam which operated

 in Northern Iraq to assist the Iraqi regime in going after Kurdish dissidents. Defendant

 Abu Waiel was a senior Iraq Intelligence agent who, along with Defendant Zarqawi,

 operated the Ansar al-Islam camp.

          60.       Defendant The Muslim Brotherhood numbers some 70 branches around

 the world. Defendant Egyptian Islamic Jihad is part of the Egyptian branch of the

 Muslim Brotherhood, to which most of the September 11th hijackers belonged. Defendant

 Mohammad Atta belonged to three professional engineering associations controlled by

 the Muslim Brotherhood. Defendants Mohammad Zammar and Mouman Darkazanli

 were two Al Qaeda operatives who belonged to the Syrian Branch of the Muslim

 Brotherhood, and who directed the Al Qaeda cell in Hamburg, Germany. Both Zammar



                                               294
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 296 of 962




 and Darkazanli were closely associated with Atta. Zammar was Atta's mentor and is

 credited with recruiting Atta into Al Qaeda.      Defendant Khalid Mohammed is known to

 have met with Defendant Atta in Hamburg, Germany.

          61.       The relationship of the Syrian Muslim Brotherhood members with Osama

 Bin Laden and later Al Qaeda goes back more than 20 years. Over the years, Osama Bin

 Laden and his brother Mahrous have provided financial assistance to the Syrian Muslim

 Brotherhood.

          62.       The Syrian Muslim Brotherhood was established to undermine the regime

 of the late Syrian President Hafez al-Assad. During the 1980’s Iraq worked with the

 Syrian Muslim Brotherhood, a group with intellectual leanings similar to Al Qaeda,

 against the regime of Syria’s President Assad. The Baath party, secular in nature, was the

 ruling party of both Syria’s President Assad and Iraqi President Saddam Hussein.

 Despite the Muslim Brotherhood’s antipathy toward Baath secularism, Iraqi support for

 the Syrian Muslim Brotherhood continued until the end of the Saddam Hussein’s regime

 in April 2003. As such, Iraqi support of the Hamburg cell comprising the September 11th

 hijackers flowed to their Syrian Muslim Brotherhood backers, all of whom belonged to

 Al Qaeda. Defendants Faroq Hijazi and Ma’Amouri, members of the Iraqi Intelligence

 Agency, frequently met with Defendant Atta in Hamburg. In effect, Mohammed Atta,

 through his close connections to Iraqi intelligence and his activities as a conduit of

 information and funding, became an agent of the Iraqi Intelligence Agency.

          63.       Defendant Abu Sayyaf was founded more than a decade ago with help

 from Jamal Mohammad Khalifa, a brother-in-law of Al Qaeda leader Osama Bin Laden.




                                             295
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 297 of 962




          64.       Defendants John Does 1-67 are other officials, employees, and/or agents

 of the Republic of Iraq or of the Islamic Republic of Iran, or others, whose identities are

 presently unknown, who performed acts that resulted in acts of terrorism, including the

 actions relating to the attacks on the World Trade Center on September 11, 2001 which

 caused the extrajudicial killing of Plaintiffs’ decedent John Patrick O'Neill, Sr.

 Defendants John Does 1-67 acted as agents, performed acts within the scope of their

 office, employment and/or agency, within the meaning of 28 U.S.C. § 1605 note, which

 caused the extrajudicial killings described below.


 COMMON FACTUAL ALLEGATIONS RELEVANT TO ALL OF THE COUNTS
                                    OF THE COMPLAINT.

          65.       The horrific events of September 11th were the result of a world-wide

 terror conspiracy against the United States involving Defendants Saddam Hussein, the

 Estate of Qusay Hussein, the Estate of Uday Hussein, Husham Hussein, Tahya Yassin

 Ramadan, Muhammed Madhi Salah, Faruq Al-Hijazi, Salah Suleiman, Ahmed Khalil

 Ibrahim Samir al-Ani, Habib Faris Adullah al-Mamouri, Abdel Hussein, a/k/a “The

 Ghost,” Osama Bin Laden, Saad Bin Laden, Haqui Ismail, Taha Al Alwani, Abu Agab,

 and Abu Waiel, Osama Bin Laden, The Al Qaeda Islamic Agency, Egyptian Islamic

 Jihad, Abu Sayyaf, Hamsiraji Sali, Abu Musab Zarqawi, Abu Zubaydh, Khalid Sheikh

 Mohammed, Abu Abdul Rahman, Al Jazeera, Mohammed Jasmin al-Ali, Schreiber &

 Zindel, Dr. Frank Zindel, Engelbert Schreiber, Engelbert Schreiber, Jr., Martin Wachter,

 Erwin Wachter, Sercor Treuhand Anstalt, Abdul Rahman Yasin, Ahmad I. Nasreddin, Al

 Taqwa Bank, Al Taqwa Trade, Property, and Industry, Ltd., Al-Gammah Al Islamiah,

 Ayman al-Zawahiri, Albert Freidrich Armand Huber a/k/a/ “Armand Huber,” Ali Ghaleb


                                               296
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 298 of 962




 Himmat, Asat Trust Reg., Nada Management Organization, S.A., Yousef M. Nada,

 Yousef M. Nada & Co, Gesellschaft, M.B.H, Barzan e-Tikriti, Metalor, Banca del

 Gottardo, Abdulaziz al Omari, Wail al Shehri, Waleed M. Al Shehri, Satam M.A. al

 Suqami, Mohammed Atta, Fayez Ahmed a/k/a Banihammad Fayez, Ahmed al-Ghamdi,

 Hamza al-Ghamdi, Marwan al-Shehhi, Mohald al-Shehri, Khalid al-Midhar, Nawaf al-

 Hazmi, Salem al-Hazmi, Hani Hanjour, Majed Moqued, Saeed al Ghamdi, Ahmed

 Ibrahim A. al Haznawi, Ahmed al Nami, Ziad Samir Jarrah, Zaracias Moussaui,

 Muhammad Atef, The Taliban, Muhammad Omar, Muslim Brotherhood – Syrian Branch,

 Muslim Brotherhood – Egyptian Branch, Muslim Brotherhood – Jordanian Branch,

 Muslim Brotherhood – Kuwaiti Branch, Muslim Brotherhood – Iraqi Branch, Iranian

 Ministry of Intelligence and Security, Iranian Revolutionary Guard Corps, Iranian

 Revolutionary Guard Corps – Qods Division, Akida Bank Private Limited, Akida

 Investment Co. Ltd, Nasco Business Residence, CenterSAS DI Nasreddin Ahmed Idris

 EC, Nasco Nasreddin Holding A.S., Nascoservice S.R. L., Nascotex S.A., Nasreddin

 Company Nasco SAS DI Ahmed Idris Nasreddin EC, Nasreddin Foundation, Nasreddin

 Group International Holding Limited, Nasreddin International Group Limited Holding,

 Abu Hafs the Maritanian, Saif al-Adil. Imad Mughniyeh, Hezbollah Secretary General

 Hassan Nasrallah, Iranian Supreme Leader Ayatollah Ali Khamenei, Usbat al-Ansar,

 Ahmad Vahedi, Hossein Mosleh, Morteza Reza’i, Salah Hajir and Adib Sha’ban (A/K/A

 Adeeb Shabaan), and John Does 1-67, who have conspired for many years to attack the

 United States and murder United States’ citizens. Defendants supported, conspired, aided

 and abetted, sponsored, planned and executed the September 11th terror attacks that killed

 thousands of people and injured many thousands more.



                                            297
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 299 of 962




           66.      Iraq has sworn revenge against the United States since 1992 for Iraq’s

 humiliating defeat in the Persian Gulf War. Since Iraq could not defeat the U.S. Military,

 it resorted to terror attacks on U.S. citizens. In order to avoid another confrontation with

 U.S. military forces, Iraq contracted with or sponsored Islamic fundamentalists who were

 willing to commit terrorist attacks on Iraq’s behalf. Indeed, in 1993, Iraqi agents tried to

 destroy the World Trade Center by planting a bomb in the World Trade Center parking

 garage.

           67.      For many years, Al Qaeda wanted to drive the United States from the

 Arabian Peninsula, topple Middle Eastern governments supported by the United States,

 including Egypt and Israel, and create an Islamic empire based upon its narrow

 interpretation of the Koran. Over the years, Al Qaeda has grown, as it absorbed or

 became allied with other like-minded Islamic terrorist groups, including the Egyptian

 Islamic Jihad.

           68.      Over the past 10 years, Iraq’s leadership, Iran’s Leadership and Al Qaeda

 shared a virulent hatred of the United States.

           69.      As early as 1992, Al Qaeda terrorists established close working relations

 with Iraqi Intelligence agents in Iraq, the Sudan, Afghanistan, and elsewhere. Soon

 thereafter, Iraqi Intelligence decided to support Al Qaeda and to employ Al Qaeda

 terrorists willing to carry out Iraq’s terror attacks. The Iraq-Al Qaeda relationship

 benefited Iraq because it provided that state with trained terrorists willing to die in terror

 attacks. As a secular state, Iraq does not have a large number of citizens wishing to

 become martyr warriors. In addition, by using Al Qaeda suicide terrorists, Iraq could

 disavow involvement in attacks and avoid retribution. The relationship benefited Al



                                                298
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 300 of 962




 Qaeda who received support, funding, facilities, and training that it needed to carry out its

 terror campaigns.

          70.       During the mid-1990’s Iraq began actively supporting Al Qaeda

 operations by providing intelligence, training, weapons, supplies, passports, travel

 documents, and financial support to co-conspirators, Significantly, one of Iraq’s training

 camps contained the fuselage of a Boeing 707 used to train Al Qaeda terrorists in

 hijacking a commercial aircraft. The training camp was established at Salman Pak by

 members of the Iraqi intelligence service (Mukhabarat), who had contact with some of

 the September 11th hijackers. The terrorist training camp adjoins a facility at Salman Pak

 used for chemical weapons development. Al Qaeda members who were at Salman Pak

 may have also received training in chemical weapons.

          71.       Al Qaeda, backed by Iraq, Iran and others, carried out the September 11th

 terror attacks with the financial and logistical support of numerous individuals and

 organizations. These individuals and organizations provided Al Qaeda with the means to

 recruit, train, and employ thousands of terrorists, including the twenty assigned to the

 heinous mission to murder United States citizens and destroy U.S. landmarks on

 September 11, 2001.

          72.       This lawsuit seeks to strip the assets of Iraq, Iran, Hezbollah, Al Qaeda,

 Bin Laden, and those individuals and organizations who participated in or supported the

 September 11th terror attacks and to recover compensatory and punitive damages for the

 Plaintiffs. By doing so, Plaintiffs hope to obtain a measure of justice and to deter future

 acts of terrorism.




                                                 299
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 301 of 962




                                      The Birth of Al Qaeda

          73.       Starting in 1989, an international terrorist group emerged dedicated to

 opposing non-islamic governments with brutal force and terrifying violence. This

 organization grew out of the “mekhtab al khidernat” (the “Azzam Service Center”)

 organization which maintained offices in Peshawar, Pakistan, and received funds from

 Islamic charities, wealthy Saudi families, mosques, legitimate businesses and criminal

 enterprises, among others.

          74.       Under the leadership of Defendants Bin Laden, Muhammad Atef, a/k/a

 “Abu Hafs al Masry,” Sheikh Tasyir Abdullah, Abu Fatima, Abu Khadija, together with

 “Abu Ubaidah al Banshiri” (Deceased in 1996), Ayman al Zawahiri and others, the

 Azzam Service Center expanded, created terrorist cells in various parts of the world,

 including Afghanistan, Pakistan, and the United States, financed and supported other

 terrorist groups dedicated to committing acts of violence, murder, destruction and

 mayhem. From approximately 1989 until the present, this terrorist group called itself “Al

 Qaeda” (“the Base”).

          75.       At all relevant times, Al Qaeda was led by Bin Laden. Members of Al

 Qaeda pledged an oath of allegiance (called a “bayat”) to Bin Laden and Al Qaeda,

 committing them to become martyrs in their depraved cause.

          76.       Al Qaeda actively and vehemently opposed the United States for several

 reasons. First, it regarded the United States as a “kafir” or “infidel” nation governed in a

 manner inconsistent with the group’s interpretation of Islam. Second, it believed the

 United States was providing essential support for other “infidel” nations and

 organizations, particularly the government of Egypt, Israel, and the United Nations,



                                                300
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 302 of 962




 which Al Qaeda regarded as enemies. Third, Al Qaeda opposed the involvement of the

 United States armed forces in the Gulf War in 1991 and its presence in Muslim-

 dominated countries afterwards as illustrated by Operation Restore Hope in Somalia in

 1992 and 1993. Al Qaeda viewed these as pretextual preparations for an American

 occupation of Islamic Countries. In particular, Al Qaeda opposed the continued presence

 of American Military forces in Saudi Arabia and elsewhere on the Saudi Arabian

 peninsula following the Gulf War. Fourth, Al Qaeda opposed the United States

 Government because of the arrest, conviction, and imprisonment of Al Qaeda members

 or other terrorists, with whom it worked, including the Islamic Group’s Sheik Omar

 Abdel Rahman who was convicted of conspiring to bomb bridges and tunnels in New

 York City. Fifth, Al Qaeda believed United Nation sanctions against Iraq were

 orchestrated by the United States out of eagerness to destroy Iraq.

          77.       One of the Al Qaeda’s principal goals was to use violence to drive the

 United States armed forces out of Saudi Arabia and Somalia. Members of Al Qaeda

 issued fatwas (rulings on Islamic law) stating that attacks on the United States were both

 proper and necessary.

          78.       At least as early as 1991, Bin Laden and Al Qaeda began working closely

 with Defendant Ayman al Zawahiri, a/k/a “Abdel Muaz,” a/k/a Dr. Ayman al Zawahiri,”

 a/k/a “the Doctor,” a/k/a “Nur,” a/k/a “Ustaz,” a/k/a/ “Abu Mohammed,” a/k/a “Dr.

 Mohammed Nur Al-Deen” whose Egyptian Islamic Jihad terrorist group shared Bin

 Laden and Al Qaeda’s goals. Bin Laden had met Zawahiri in Peshawar, Pakistan, in

 1987 during the Afghan-Soviet war.




                                                301
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 303 of 962




          79.       From in or about 1987, until in or about December 1997, Ayman al

 Zawahiri led the Egyptian Islamic Jihad, a group dedicated to the forceful overthrow of

 the Egyptian Government and committing violence against the United States, in part, for

 what Zawahiri believed to be the United States support of the Egyptian Government.

 Members of the Egyptian Islamic Jihad pledged allegiance to al Zawahiri. Many of the

 leading members of the Egyptian Islamic Jihad ultimately became influential members of

 Al Qaeda, including Ayman al Zawahiri and Muhammad Atef. By February 1998, the

 Egyptian Islamic Jihad led by Al Zawahiri had effectively merged with Al Qaeda and had

 joined with Al Qaeda in targeting United States citizens. In turn, Al Qaeda and the

 Egyptian Islamic Jihad in February 1998 founded an umbrella terrorist organization

 called the “International Islamic Front for the Jihad Against Jews and Crusaders.” In

 May 1998, Bin Laden declared a fatwa in the name of the “International Islamic Front for

 the Jihad against Jews and Crusaders,” to “kill the Americans and their allies – civilians

 and military.”

          80.       Al Qaeda had a command and control structure which included a "majalis

 al shura" (consultation council) of 10 members that discussed and approved major

 undertakings, including terrorist operations. Bin Laden, Muhammad Atef, a/k/a “Abu

 Hafs,” Ayman al Zawahiri, Saif al Adel, Mamdouh Mahmud Salim a/k/a/ “Abu Hajer”

 a/k/a Abu Hajer al Iraqi and Abdullah Ahmed Abdullah, a/k/a “Abu Mohammed el

 Masry,” a/k/a “Saleh,” among others, sat on the majalis al shura (or consultation council)

 of Al Qaeda. Its affiliate, the Egyptian Islamic Jihad, had a Founding Council, on which

 Ibrahim Eidarous sat.




                                              302
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 304 of 962




          81.       Al Qaeda also maintained a “military committee” which considered and

 approved “military” matters. Defendant Muhammad Atef sat on the military committee

 and was one of Bin Laden’s two principal military commanders, together with “Abu

 Ubaidah al Banshiri,” until his death in May 1996. Muhammad Atef had the principal

 responsibility for supervising the training of Al Qaeda members. Saif al Adel also served

 on the military committee reporting to Muhammed Atef. He took over the military

 committee after Atef’s death.

          82.       Al Qaeda functioned both on its own and as a conduit for other terrorist

 organizations in other parts of the World that shared its ideology, such as the Egyptian

 Islamic Jihad, Ahmed Refai Taha, a/k/a “Abu Yasser al Masri,” and a member of jihad

 terrorist groups in other countries, including the Sudan, Egypt, Saudi Arabia, Yemen,

 Somalia, Eritrea, Djibouti, Afghanistan, Pakistan, Bosnia, Croatia, Albania, Algeria,

 Tunisia, Lebanon, Indonesia, the Philippines, Tajikistan, Azerbaijan, the Kashmiri region

 of India and the Chechnyan region of Russia. Al Qaeda camps were used to train

 terrorists to fight in Islamic causes, such as supporting Pakistan in its dispute with India

 over the province of Kashmir. Al Qaeda maintained terrorist cells and personnel in a

 number of countries to facilitate its activities, including Kenya, Germany, Tanzania, the

 United Kingdom, Canada, and the United States.

          83.       Bin Laden and Al Qaeda also forged alliances with the National Islamic

 Front in the Sudan and with representatives of the government of Iran, and its associated

 terrorist group Hezbollah, for the purpose of working together against their perceived

 common enemies in the West, particularly the United States.




                                                303
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 305 of 962




          84.       At various times from as early as 1989, Bin Laden, and others known and

 unknown, ran terrorist training “camps and guesthouses” in various areas, including

 Afghanistan, Iraq, Iran, Pakistan, the Sudan, Somalia, Kenya, Malaysia, Philippines, and

 Germany for the use of Al Qaeda and its affiliated groups. Mamdouh Mahmud Salim

 a/k/a Abu Hajer al Iraqi managed some of these training camps and guesthouses in

 Afghanistan and Pakistan.

          85.       Since 1991, Bin Laden, Al Qaeda, and many of their co-defendants

 unlawfully, willfully and knowingly combined, conspired, confederated, and agreed to

 murder and injure United States citizens throughout the world, including in the United

 States, and to conceal their activities and methods by, among other things, establishing

 front companies, providing false identity and travel documents, financing terrorist

 operations, engaging in coded correspondence, providing false information to the

 authorities in various countries, and seeking to detect and kill informants.

                                         Iraqi Terrorism

          86.       Since the early 1990s, Iraq and Iraqi Intelligence have used both Iraqi

 agents and independent “contractors” to commit terrorist acts against the United States in

 revenge for Iraq’s Gulf War defeat. Al Qaeda was Iraq’s favorite partner in terror.

          87.       Upon information and belief, there have been numerous meetings between

 Iraqi Intelligence agents and high-ranking Al Qaeda terrorists to plan terror attacks. One

 such meeting occurred in 1992, when Defendant Zawahiri (Egyptian Islamic Jihad leader

 and Al Qaeda officer) met with Iraqi Intelligence agents in Baghdad, Iraq over several

 days. An Iraqi serving with the Taliban who fled Afghanistan in the fall of 2001, was

 captured in Kurdistan and has corroborated this meeting and confirmed that Iraqi contacts


                                                304
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 306 of 962




 with Al Qaeda began in 1992. In fact, Abu Iman al-Maliki, who spied on the Kurds as an

 Iraqi intelligence officer for 20 years, said that the 1992 meeting not only included Iraqi

 intelligence officers, but also Defendant Dr. al-Zawahiri, top lieutenant of Bin Laden,

 who was known to have met with Saddam Hussein.

                            The 1993 World Trade Center Bombing

          88.       On February 26, 1993, a bomb was detonated in the World Trade Center

 underground parking lot, killing six (6) U.S. citizens and injuring close to one thousand

 (1,000). Iraqi sponsored terrorists planned, financed, executed and carried out that World

 Trade Center bombing.

          89.       The 1993 World Trade Center bombing took place on the Friday before

 the two year anniversary of Iraq’s defeat in Kuwait, which was February 28, 1991. The

 anniversary in 1993 was a Sunday, and few people would have been working at the

 World Trade Center that day; and Iraq and the terrorists wanted to maximize the number

 of American casualties.

          90.       During the initial planning of the World Trade Center bombing, Mahmud

 Abu Halima (who was later convicted for his role in the bombing), was in regular and

 frequent contact with his uncle, Kadri Abu Bakr, who lived in Iraq and had been a

 member of a PLO faction allied with Saddam Hussein. Shortly after these calls, the

 mastermind of the bombing, Ramzi Ahmed Yousef, on information and belief, an Iraqi

 Intelligence agent and/or asset and/or associate, traveled to the United States using travel

 documents forged in Kuwait during the Iraqi occupation of that country in 1991.

          91.       Ramzi Yousef arrived in New York on September 1, 1992 using an Iraqi

 passport and requesting asylum. On December 31, 1992, he presented photocopies of


                                              305
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 307 of 962




 passports for Abdul Basit at the Pakistani consulate in New York, claiming to be Basit

 and requesting replacement of his “lost” passport. The real Basit was a Pakistani citizen

 who had moved to Kuwait and disappeared during the Iraqi occupation in August 1990.

 Iraqi Intelligence had access to the Kuwaiti Interior Ministry files and upon information

 and belief, inserted Yousef’s fingerprints into the file and provided him with photocopies

 of two older passports from Basit’s file. The Pakistani Consulate, accordingly, provided

 Yousef a temporary passport, based on the false documents. This provided Yousef with a

 means to escape the U.S. two days after the World Trade Center bombing. In fleeing the

 United States after the bombing, Yousef first traveled through Baluchistan, an

 uncontrolled region of Iran straddling the border of Iran and Pakistan with strong ties to

 Iraq. By the following year, 1994, Yousef was living in the Philippines. He fled from

 there, however, after authorities discovered a plan he was working on to bomb United

 States’ airliners. Yousef fled to Pakistan and was eventually sheltered at an Al Qaeda

 guesthouse. He was arrested in February 1995 in Pakistan and transported to the U.S. for

 prosecution and was eventually convicted in the 1993 World Trade Center bombing

 conspiracy.

          92.       Abdul Rahaman Yasin, who was born in the United States to Iraqi parents

 but had been raised in Iraq, was questioned in New York and New Jersey in connection

 with the World Trade Center bombing, but was released after appearing to cooperate with

 U.S. officials. He fled the country the next day and traveled to Baghdad, Iraq. U.S.

 prosecutors later learned that he, along with others, had prior training in bomb making,

 and had mixed the chemicals and constructed the bomb that was used on the World Trade

 Center. Iraqi intelligence knew of Yasin’s presence in Iraq and provided him with



                                              306
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 308 of 962




 refuge. On August 4, 1993, Yasin was indicted in absentia for the World Trade Center

 bombing.

          93.       In June 1994, Yasin was seen in Baghdad by an ABC news correspondent

 who was told that Yasin worked for the Iraqi government. U.S. law enforcement officials

 confirmed that fugitive Yasin worked for the Iraqi government. U.S. law enforcement

 officials confirmed that fugitive Yasin has been sheltered in Iraq, a continuing violation

 of United Nations Security Council Resolution 687, which makes it unlawful to harbor a

 suspected terrorist. In June 2002, Yasin was interviewed in Baghdad by Leslie Stahl

 from CBS. Upon information and belief, Yasin still remains in Iraq.

          94.       Ramzi Ahmed Yousef, Mohammed Salameh, Nidal Ayyad, Mahmud Abu

 Halima and Ahmad Mohammed Ajaj were all eventually convicted in the Southern

 District of New York for the 1993 conspiracy to bomb the World Trade Center.

          95.       Following his arrest in 1995, Ramzi Yousef told U.S. investigators that his

 intent was to create an explosion that would cause one of the World Trade Center Towers

 to fall over onto the other, destroying both and causing massive American casualties.

 Yousef had also planned to use sodium cyanide to create a toxic cyanide gas cloud

 throughout the area that would poison those in the building. Fortunately, the sodium

 cyanide was consumed in the blast and vaporized. Before the Gulf War, Iraq had the

 largest and most diversified terrorist chemical weapons program in stockpiles of sodium

 cyanide, and had experience in the late 1980’s using chemical weapons against its

 Kurdish population. Upon information and belief, it was Iraq that supplied Yousef with

 the sodium cyanide and/or trained him in the use and/or manufacture of chemical

 weapons.



                                                307
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 309 of 962




          96.       Upon information and belief, Al Qaeda terrorists met and conspired in

 November, 1995, with Iraqi Intelligence and the Iranian Hezbollah to bomb the Khobar

 towers complex located in Dhahran, Saudi Arabia. Their plan called for the detonation of

 a truck bomb outside an apartment complex that was used as a barracks for United States

 servicemen. The resultant attack on Khobar Towers of June 25, 1996, took the lives of

 19 U.S. Servicemen. Fearing further attacks by Bin Laden and Al Qaeda, some Saudi

 government officials and businessmen agreed to provide financial support to Al Qaeda

 and began funneling millions of dollars to charities that would then forward the money to

 Al Qaeda. Some of these charities were Madras schools that preached a form of Islam

 that is intolerant of non-Muslims and provided new recruits for terrorism.

                               Bin Laden's Return to Afghanistan

          97.       In 1996, Bin Laden was asked to leave the Sudan by Sudanese officials

 pressured by the United States to crack down on terrorism. Bin Laden returned to

 Afghanistan after the Taliban seized control of most of that country. The number of Al

 Qaeda members and terrorist training camps in Afghanistan grew rapidly following Bin

 Laden’s return. Al Qaeda actively supported the Taliban and violently suppressed all

 opposition to the Taliban. Bin Laden and Omar developed a very close relationship.

          98.       From 1996 until 2001, Bin Laden with the financial and logistical support

 of Omar and others in the Taliban and Iraq and Iraqi Intelligence, created, supplied and

 operated at least five training camps in order to create an “Islamic Foreign Legion”

 capable of attacking their enemies throughout the world. These camps trained men from

 15 nations in guerrilla warfare, terrorist activities, rocket warfare, demolition and

 bombing, including the use of mines, grenades, TNT, nitroglycerine and plastic


                                               308
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 310 of 962




 explosives. Classes were also given in “how to kill a policeman” and “traps, murder, and

 terrorist moves.”

          99.       On August 23, 1996, a strengthened Bin Laden issued another fatwa

 declaring a jihad against Americans present in Muslim lands. The message was

 disseminated throughout all Al Qaeda cells and associated terrorist groups, such as the

 Egyptian Islamic Jihad. The London Al Qaeda cell, run by Khalid Al Fawwaz under the

 name Advice and Reformation Committee, and the Egyptian cell, run by al Zawahiri and

 Abdel Barry, were used to send the fatwa to Muslims living in the Western World.

 Wadih El Hage was also used by Bin Laden in order to deliver messages, money and

 terrorist material to Al Qaeda operatives in the U.S. and U.K.

                      The Public Merger of Iraqi and Al Qaeda Interests

        100.        In February 1997, Bin Laden publicly expressed his support for Iraq in its

 conflict with the United States, stating:

                    “The hearts of the Muslims are filled with hatred towards
                    the United States of America and the American President
                    for American conduct towards Iraq.”

        101.        Having decided to carry out acts of terrorism, Saddam Hussein, with the

 advice and prompting of his son and Iraqi Intelligence chief, the late Qusay Hussein and

 his other son, the late Uday Hussein, head of an Iraqi Intelligence Subdivision known as

 the “Fedayeen” and “Al-Qare,” concluded that a campaign of terrorist attacks against the

 United States, under the banner of Bin Laden and Al Qaeda, was the most effective

 means of both deflecting U.S. attempts to topple his regime and obtaining Iraqi revenge.

        102.        Upon information and belief, Iraq agreed to supply arms to Al Qaeda and

 provide Al Qaeda with access to and training in the use of chemical and biological

                                                309
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 311 of 962




 weapons. Iraq also agreed to instruct Al Qaeda terror trainers at its Salman Pak camp in

 Baghdad that contained a Boeing 707 used to practice hijacking. Iraq also agreed to

 supply Al Qaeda terrorists with new identities and passports from Yemen and the United

 Arab Emirates.

          103.      In exchange, Al Qaeda agreed to provide protection from political

 opponents to Iraq and Saddam Hussein, and to commit assassinations and other acts of

 violence to create instability in regions of Iraq, particularly Kurdistan, to assist the regime

 of Saddam Hussein. Al Qaeda further agreed to provide trained terrorists, assassins, and

 martyrs to carry out terror attacks in concert with Iraq against their common enemies,

 including the United States.

          104.      On February 22, 1998, Bin Laden, Khalid Al Fawwaz, and Ayman al

 Zawahiri of the Egyptian Islamic Jihad issued a fatwa published in the Arabic newspaper

 Al-Quds stating:

                    “The ruling to kill the Americans and their allies – civilians
                    and military – is an individual duty for every Muslim who
                    can do it in any country in which it is possible to do it…”

          105.      In their February 22, 1998 fatwa, Bin Laden and Al Qaeda expressly

 referenced the United States’ “continuing aggression” towards Iraq as one of their

 reasons for calling on all Muslims to kill Americans “wherever and whenever” they are

 found:

                    “The best proof of this is the Americans’ continuing
                    aggression against the Iraqi people using the [Arabian]
                    Peninsula as a staging post, even though all its rulers are
                    against their territories being used to that end, still they are
                    helpless.”



                                                  310
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 312 of 962




        106.        The Bin Laden and Al Qaeda fatwa also cited the alleged “great

 devastation inflicted on the Iraqi people” by the United States, as well as the United

 States’ alleged “eagerness to destroy Iraq.”

        107.        Additional fatwas of a similar nature were issued in May 1998 and

 published in Al-Quds under the banner of the Ulema Union Of Afghanistan. A May 29,

 1998 Fatwa issued by Bin Laden called to the use of a nuclear bomb to “terrorize the

 Jews and Crusaders who were enemies of God.” At the time Bin Laden was seeking to

 obtain nuclear material from Iraq and others who possessed nuclear material and was in

 the process of developing nuclear weapons.

        108.        Between April 25 and May 1, 1998, two of Bin Laden’s senior military

 commanders, Muhammad Abu-Islam and Abdullah Qassim visited Baghdad for

 discussions with Saddam Hussein’s son – Qasay Hussein – the “czar” of Iraqi

 Intelligence.

        109.        The late Qusay Hussein’s participation in those meetings highlights the

 importance of the talks in both symbolic and practical terms. Upon information and

 belief, as a direct result of those meetings, Iraq again made commitments to provide

 training, intelligence, clandestine Saudi border crossings, financial support and weapons

 and explosives to Al Qaeda.

        110.        Iraqi Intelligence officials met with Bin Laden in Afghanistan several

 more times. A second group of Bin Laden and Al Qaeda operatives from Saudi Arabia

 were then trained by Iraqi Intelligence in Iraq to smuggle weapons and explosives into

 Saudi Arabia and other countries, which they later accomplished in an effort to carry out

 future terrorist acts of violence. A third group of Bin Laden and Al Qaeda operatives



                                                311
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 313 of 962




 received a month of sophisticated guerilla operations training from Iraqi Intelligence

 officials later in the Summer of 1998.

        111.        Despite philosophical and religious differences with Saddam Hussein, Bin

 Laden continually sought to strengthen and reinforce the support he and Al Qaeda

 received from Iraq.

        112.        Upon information and belief, documents recently found in the bombed

 headquarters of the Mukhabarat, Iraq’s intelligence service, reveal that an Al Qaeda

 envoy was invited clandestinely to Baghdad in March 1998. The documents reveal that

 the purpose of the meeting was to establish a relationship between Baghdad and Al

 Qaeda based on their mutual hatred of America and Saudi Arabia. The meeting

 apparently went so well that it ended with arrangements being discussed for Bin Laden to

 visit Baghdad.

        113.        In March 1998, Bin Laden had reportedly visited Baghdad for

 consultations. According to Giovanni DeStafant, an international lawyer visiting

 Baghdad on business, he encountered Bin Laden in the lobby of the five-star Al-Rashid

 Hotel in Baghdad. They engaged in light conversation.

        114.        In mid-July, 1998, Bin Laden sent Dr. Ayaman al-Zawahiri, the Egyptian

 co-founder of Al Qaeda, to Iraq to meet with senior Iraqi officials, including the Iraqi

 vice-president Taha Yassin Ramadan. Upon information and belief, the purpose of this

 meeting was to discuss and plan a joint strategy for a terrorist campaign in the United

 States. Five months later, the American embassies in Kenya and Tanzania were bombed.

        115.        Upon information and belief, Iraqi Intelligence officials pledged Iraq’s full

 support and cooperation in exchange for a promise that Bin Laden and Al Qaeda would



                                                312
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 314 of 962




 not incite the Iraqi Muslim Brotherhood inside Iraq to oppose, undermine or attack the

 regime of Iraqi dictator Saddam Hussein.

        116.        During the July 1998 visit, Zawahiri toured a potential site for a new

 headquarters for Bin Laden and Al Qaeda, and went to an Iraqi military base and nuclear

 and chemical weapons facility near al-Fallujah in Iraq. Upon information and belief, Dr.

 Zawahiri observed training by Iraqi Intelligence officials of Al Qaeda operatives at the al-

 Nasiyirah military and chemical weapons facility in Iraq. In recognition of Bin Laden’s

 and Al Qaeda’s leadership role in the terrorist war against the United States, Iraqi

 officials allowed Zawahiri to assume formal command over the al-Nasiyirah training

 camp in the name of Bin Laden and Al Qaeda.

                                     U.S. Embassy Bombings

        117.        To demonstrate its commitment to Iraq and its anti-U.S. policies, in the

 Spring of 1998, Al Qaeda planned terrorist bombing attacks on the U.S. Embassies in

 Nairobi, Kenya, and Dar Es Salaam, Tanzania. Khalfan Khamis Mohamed, Mustafa

 Mohamed Fadhil, Mohamed Rashed Daoud Al-‘Owali, Sheikh Ahmed Salim Swedan,

 Fahid Mohamed Aly Msalam and an individual known as Abdulla Azzam were chosen as

 some of the Al Qaeda terrorists who would conduct the coordinated attacks in Nairobi

 and Dar Es Salaam.

        118.        In July and early August 1998, Al Qaeda terrorist Mustafa Mohamed

 Fadhil, Khalfan Khamis Mohamed, Ahmed Khalfan Ghailini, Fahid Mohammed Ally

 Msalam, Ahmed the German, Sheikh Ahmed Salim Swedan, Mohamed Sadeek Odeh and

 Fazul Abdullah Mohammed were stationed in Dar es Salaam where they purchased a

 1987 Nissan Atlas truck and outfitted it with oxygen, acetylene tanks, TNT, batteries,


                                                313
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 315 of 962




 detonators, fertilizer and sand bags, creating a massive bomb to be driven into the U.S.

 Embassy. Odeh, Fazul Adullah Mohammed and others who participated in the bombings

 had been with Bin Laden since the early 1990s and Bin Laden’s days in the Sudan.

        119.        On July 30, 1998, Iraq warned it would take action unless the United

 Nations embargo was lifted. Iraq blamed the United States for the United Nations

 embargo. On August 4, 1998, Iraq refused to cooperate with the United Nations

 embargo. On August 4, 1998, Iraq refused to cooperate with United Nations weapons

 inspectors in Iraq and talks for a resolution of the crisis collapsed, causing U.N.

 inspectors to leave.

        120.        Three days later, on August 7, 1998, at approximately 10:30 a.m., Fazul,

 Al-‘Owhali and Azzam drove a Toyota Dyna truck (outfitted similarly to a Nissan Atlas

 truck in Dar Es Salaam) to the U.S. Embassy in Nairobi, Kenya, and detonated a large

 bomb damaging the Embassy and demolishing a nearby Secretarial College building and

 Cooperative Bank building, resulting in the more than 213 deaths (12 Americans) and

 injuries to more than 4.500 people.

        121.        On August 7, 1998, at approximately 10:40 a.m., ten minutes after the

 bombing in Kenya, Khalfan Khamis Mohamed and Ahmed the German detonated the

 Dar Es Salaam bomb in the vicinity of the U.S. Embassy in Dar Es Salaam, Tanzania,

 severely damaging the Embassy building and resulting in the death of 11 people and

 injuries to more than 85 people.

        122.        On August 6, 1998, shortly before the bombing, Eidarous, an Al Qaeda

 member in London, sent a letter to news organizations in Paris, Doha, Qatar and Dubai,




                                               314
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 316 of 962




 UAE, claiming responsibility for the embassy bombings under the fictitious name Islamic

 Army for the Liberation of Holy Places.

        123.        At the trial in New York of some of the Al Qaeda-U.S. Embassy bombers,

 some of the defendants elicited testimony in their defense that cited the poor living

 conditions in Iraq. They blamed those conditions on the U.S.-U.N. sanctions, and used it

 as motivation and explanation for the Al Qaeda attacks on the Embassies.

                             The 1998 U.S. Air Strikes on Al Qaeda

        124.        On August 20, 1998, the United States initiated a pre-emptive and

 retaliatory air strike with cruise missiles on Al Qaeda training camps in Khost,

 Afghanistan and a factory in Khartoum, Sudan, believed at the time to be a chemical

 weapons plant used by the Sudanese and Iraqi governments to manufacture weapons for

 their use and that of Al Qaeda terrorists.

        125.        On August 20, 1998, President Clinton issued a statement on the air strike:

                    “Our target was terror…our mission was clear to strike at
                    the network of radical groups affiliated with and funded by
                    Bin Laden, perhaps the preeminent organizer and financier
                    of international terrorism in the world today.”

        126.        By mid-November, 1998, Saddam Hussein reportedly came to the

 conclusion (with the advice and prompting of his son and intelligence chief, the late

 Qusay Hussein) that a campaign of terrorist attacks against the United States, under the

 banner of Bin Laden and Al Qaeda, was the most effective means of deflecting U.S.

 attempts to topple his regime.

        127.        Shortly thereafter, Iraqi intelligence officials reportedly met with Bin

 Laden in Afghanistan. Bin Laden, Al Qaeda, and Iraq reportedly agreed to join efforts in


                                                 315
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 317 of 962




 a detailed, coordinated plan for a protracted terrorist war against the United States. Iraq

 also reportedly agreed to provide Bin Laden and Al Qaeda with the assistance of an

 expert in chemical weapons, and Bin Laden reportedly agreed to hunt down Iraqi

 opposition leaders who cooperated with the United States against Hussein. In furtherance

 of this agreement, Bin Laden reportedly dispatched four hundred of Al Qaeda’s “Afghan”

 Arabs to Iraq to fight Kurdish dissidents.

         128.       In December 1998, after a standoff between the U.N. and Iraq and a

 discovery of weapons violations in Iraq, the United States with U.N. approval, led a

 coalition of allies in a four-day air strike on Iraq. Iraqi Trade Minister Muhammed

 Madhi Salah then stated that he expected terrorist activities against the United States to

 increase as a result of the bombing of Iraq. The Arabic language daily newspaper Al-

 Quds Al-Arabi a/k/a Al Quds cited the cooperation between Iraq, Bin Laden and Al

 Qaeda in a late December 1998 editorial which predicted that

                    “President Saddam Hussein, whose country was subjected
                    to a four day air strike, will look for support in taking
                    revenge on the United States and Britain by cooperating
                    with Saudi oppositionist Osama Bin Laden, whom the
                    United States considers to be the most wanted person in the
                    world.”

         129.       The editorial noted that this type of cooperation was already taking place,

 considering that “Bin Laden was planning on moving to Iraq before the recent strike.”

         130.       Following the December 1998 air strikes on Iraq, Saddam Hussein

 dispatched Faruq al-Hijazi to Kandahar, Afghanistan in order to meet with Bin Laden and

 plot their revenge. Al-Hijazi also offered Bin Laden terrorist resources and asylum in

 Iraq.


                                                316
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 318 of 962




           131.     The late Qusay Hussein had also dispatched representatives to follow-up

 with Bin Laden and obtained his firm commitment to exact revenge against the United

 States for the December 1998 bombing campaign. Iraq offered Bin Laden and Al Qaeda

 an open-ended commitment to joint operations against the United States and its

 “moderate” Arab allies in exchange for an absolute guarantee that Bin Laden, Al Qaeda

 and their allies would not attempt to overthrow Saddam Hussein’s regime in Iraq.

           132.     To demonstrate Iraq’s commitment to Bin Laden and Al Qaeda, Hijazi

 presented Bin Laden with a pack of blank, official Yemeni passports, supplied to Iraqi

 Intelligence from their Yemeni contacts. Hijazi’s visit to Khandahar was followed by a

 contingent of Iraqi Intelligence officials who provided additional training and instruction

 to Bin Laden and Al Qaeda operatives in Afghanistan.

           133.     Upon information and belief, Bin Laden, Al Qaeda and Iraq agreed to join

 efforts in a detailed, coordinated plan for a protracted terrorist war against the United

 States.

           134.     “Unit 999” was located at Salman Pak, south of Baghdad. It was here that

 training would be given to Al Qaeda fighters to use chemical and biological weapons in

 sabotage operations in Europe and across the United States.

           135.     In 1998, reports revealed that Saudi and Palestinian dissidents were

 trained in Iraq at secret camps run by an Iraqi Intelligence group known as Unit 999.

           136.     A trainer at Unit 999, Abu Mohammad, who had escaped Iraq, confirmed

 that such training was underway on how to lay bombs and how to use chemical and

 biological weapons in operations in the Middle East and the West. Unit 999 ran a course

 for a number of extremist Middle Eastern groups, including Al Qaeda. Mohhamad was



                                                317
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 319 of 962




 recruited into Saddam Fedayeen in 1998 and had his first encounter with Bin Laden

 fighters that year at Salman Pak.

        137.        Iraq maintained an advanced chemical and biological weapons program,

 part of which was located at Salman Pak. Iraq is one of only three countries in the world

 producing a highly developed weaponized anthrax. Sometime during or after 1998, Iraq

 agreed to help Bin Laden and Al Qaeda develop a laboratory in Afghanistan designed to

 produce anthrax.

        138.        In addition to the al-Nasiriyah and Salman Pak training camps, by January

 1999, Bin Laden and Al Qaeda operatives were being trained by Iraqi Intelligence and

 military officers at other training camps on the outskirts of Baghdad.

        139.        Those locations were the Nahrawan camp at the old Diyala Bridge,

 southeast of Baghdad and Tell Aswad Ridhwaniya, northwest of Baghdad. The

 Mukhabarat (Iraqi Intelligence Agency) runs the training facilities at both locations.

 Relocation occurred due to publicity surrounding Salman Pak, where kamikaze,

 explosives, and assassination training included “foreigners” said to be Palestinians and

 Iranians from the Mujahedin-e Khalq (MEK). Iraq supports the anti-Iranian terrorist

 group, MEK, to which Ramzi Yousef was connected due to his Iraqi background. Bin

 Laden also reportedly is being sheltered by the Iranian guerilla fighters of the MEK in the

 eastern portion of Iran. He and close associates reportedly crossed into Iran using

 smuggling routes with the help of the MEK, and took refuge in caves said to be more

 extensive and sophisticated than those of the Tora Bora mountain chain in Afghanistan.

 The MEK, who are fighting a war against the Shiite government of Tehran, are minority

 Sunnis. They maintain good relations with certain Afghan and Pakistani tribes. When



                                               318
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 320 of 962




 the Iranian government cracks down on the group, MEK members take refuge in the

 Pakistani or Afghani tribal areas.

        140.        In January 1999, Iraq began reorganizing and mobilizing Iraqi Intelligence

 front operations throughout Europe in support of Bin Laden and Al Qaeda. Haqi Ismail,

 believed to be a member of Iraq’s Mukhabarat Secret Service, left Iraq to train in an

 Afghanistan Al Qaeda camp. Ismael was believed to be a liaison between Iraq, the

 Taliban, and Al Qaeda and was rewarded with a position in the Taliban Foreign Ministry.

                               Attack on the U.S.S. Cole DDG-67

        141.        In the spring of 2000, Iraqi Intelligence began planning to attack United

 States warships in the Persian Gulf in an effort to prompt a United States withdrawal.

 Iraq sought suicide bombers who would employ small boats packed with explosives to

 ram United States’ warships.

        142.        On October 12, 2000, Iraqi Intelligence and members of Al Qaeda

 including Bin Laden, Jamal al-Badawi, Khalid al-Midhar, Mohammed Omar al –Harazi,

 Walid al Sourori, Fatha Abdul Rahman, Yasser Al-Azzani, Jamal Ba Khorsh, Ahmad Al-

 Shinni, Raed Hijazi, Jamil Quasim Saeed Mohammed, as well as the two suicide boat

 bombers Abd Al-Mushin Al-Taifi (deceased) (and a suspect in the August 1998 Embassy

 bombings) and Hassan Said Awadh Khemeri (deceased) carried out their plan to bomb

 the U.S.S. Cole by ramming a small boat loaded with explosives into the side of the ship

 as it was anchored in the harbor at Aden, Yemen, resulting in the deaths of 17 American

 sailors and injuring an additional 39.

        143.        The Yemeni government investigation reported that the terrorists behind

 the attack were Islamic extremists who fought the Soviets in the Afghan war and who


                                                319
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 321 of 962




 were tied to the Egyptian Islamic Jihad and Al Qaeda and who were trained in

 Afghanistan. Four were arrested in Yemen. Jamil Qaseri Saeed Mohammed was

 arrested a year later in Pakistan. After his arrest, Al-Badawi admitted that he received his

 instructions to bomb the U.S.S. Cole from Al Qaeda member Al-Harazi whom he had

 met during the war in Afghanistan.

                              Al Qaeda Hijacking of Saudi Airline

        144.        On October 14, 2000, just two days after the attack on the U.S.S. Cole,

 two Saudis hijacked a Boeing 777 from Saudi Arabia and it had flown to Baghdad, Iraq.

 The hijackers were given “asylum” in Iraq. They were extensively interviewed in the

 Iraqi press and criticized the Saudi government.

        145.        Upon information and belief, this hijacking was a message between Bin

 Laden and Iraq intended to demonstrate that Al Qaeda terrorists could seize control of

 large commercial aircraft that could be used as a weapon in the hands of suicide

 terrorists, foreshadowing a coordinated attack that was less than a year away.

                                  Iraqi Launch of Terror War

        146.        On January 22, 2001, the Arab language newspaper Al Watan Al Arabi,

 reported that Saddam Hussein and his sons had called for an Arab alliance to “launch a

 global terrorist war against the United States and its allies.” The newspaper characterized

 Hussein’s statement as calling for an uncompromising campaign and “scorched earth

 policy.”

        147.        In May 2001, Al Qaeda operatives in Kurdistan assassinated Franso

 Hariri, a member of the Kurdish Democratic Party, as part of a deal with Saddam




                                                320
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 322 of 962




 Hussein. The killing of Hariri created instability in the region by damaging relations

 between the co-leaders of Kurdistan. This benefited the Hussein regime in Iraq.

        148.        Also in May 2001, Iraqi physician and kidney specialist Dr. Mohammed

 Khyal was dispatched from Baghdad to Afghanistan for three days to treat Bin Laden’s

 kidney problem, further demonstrating the important relationship between Iraq and Bin

 Laden less than four months before the single largest terrorist attack in history.

        149.        During the May 2001 trial of some of the Al Qaeda defendants who

 bombed the U.S. Embassies in Africa, the defendants expressed sympathy, solidarity, and

 support for Iraq, and further expressed condemnation of the United States as their

 motivation for the bombings.

        150.        On May 29, 2001, Wadih El-Hage, a U.S. citizen believed to be Bin

 Laden’s personal secretary, was convicted in the Southern District of New York, along

 with Mohamed Sadeek Odeh, Mohammed Rashed Daoud Al-‘Owali and Khalfan Khamis

 Mohamed, for participating in the conspiracy to bomb the Untied States Embassies in

 Nairobi and Dar es Salaam in August of 1998. Bin Laden and other Al Qaeda members

 were indicted but still remain at large.

                        Iraqi Involvement in the September 11th Attacks

                                   Al Nasiriyah News Article:

        151.        Iraq knew in advance that Al Qaeda was planning to attack U.S.

 landmarks and civilians in September 2001 in Washington and New York and supported

 the planned attacks.

        152.        Upon information and belief, Iraqi news columnist Naeem Abd Mulhalhal

 has been connected with Iraqi intelligence since the early 1980s. As such, he has


                                               321
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 323 of 962




 commented on matters of Iraqi political interest for the Al Nasiriyah newspaper, a weekly

 paper published in the provincial capital city of Al Nasiriyah. On September 1, 2001, he

 was honored for his “documentation of important events and heroic deeds that proud

 Iraqis have accomplished” and praised by Saddam Hussein. In addition, Al Nasiriyah

 contains a military base that is believed to house a chemical weapons storage facility.

 Iraq had previously denied access to this base to U.N. weapons inspectors. It was visited

 by Zawahiri as early as 1998 and Al Qaeda terrorists trained there for several years.

        153.        On July 21, approximately six weeks before the September 11th attacks,

 Iraqi columnist Mulhalhal reported that Bin Laden was making plans to “demolish the

 Pentagon after he destroys the White House.”

        154.        Mulhalhal’s July 21 article further informed that Bin Laden would strike

 America “on the arm that is already hurting.” Upon information and belief, this

 references a second Iraqi sponsored attack on the World Trade Center. This

 interpretation is further bolstered by another reference to New York as “[Bin Laden] will

 curse the memory of Frank Sinatra every time he hears his songs.” (e.g. “New York, New

 York”) identifying New York, New York as a target.

        155.        Mulhalhal further indicated “The wings of a dove and the bullet are all but

 one in the same in the heart of a believer.” (Emphasis supplied). This appears to be a

 reference to the use of commercial aircraft as a weapon. The information was reported in

 an Iraqi newspaper whose editor-in-chief served as secretary to the late Uday Hussein’s

 Iraqi Syndicate of Journalists. The article expressed Iraqi admiration and support for Bin

 Laden’s plans and its appearance in the newspaper would clearly have to be endorsed by

 Saddam Hussein himself.



                                                322
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 324 of 962




        156.        All Iraqi news media were strictly controlled and censored by the

 government of Saddam Hussein and were under the direct oversight of the late Uday

 Hussein. Various members of Iraqi intelligence worked at and controlled the context of

 each and every newspaper published inside Iraq.

        157.        The information contained in Mulhalhal’s published statements was

 known prior to the events of September 11th, as was the fact that Mulhalhal had ties to

 Iraqi intelligence. His actions and words demonstrated foreknowledge of the planned

 attacks by Bin Laden and indicated support by Iraqi co-conspirators.

        158.        Iraq’s July 21 public statements also exemplify the Bin Laden pattern of

 publicly threatening violent strikes against the United States prior to and after committing

 them. For example, weeks before the August 1998 Al Qaeda attacks on the U.S.

 embassies in Africa, Bin Laden threatened U.S. civilians and shortly thereafter bombed

 the embassies in Kenya and Tanzania within minutes of each other, killing 223 civilians.

        159.        Additionally, after the suicide boat bombing of the U.S.S. Cole in Yemen

 in October 2000, Bin Laden publicly threatened violence against America while wearing

 traditional Yemeni clothing including a Yemeni war dagger. Bin Laden sought media

 attention to taunt the United States and to recruit additional Muslim supporters.

                             Preparation For September 11th Attacks

        160.        According to U.S. and foreign intelligence officials, in the Spring of 2000,

 Iraqi Intelligence agents met with September 11th plot hijackers Zaid Samir Jarrah and

 Marwan al-Shehhi in Dubai, UAE in order to advance the hijacking of U.S. aircraft to

 commit terrorist acts. Not long after the meeting, al-Shehhi entered the United States on

 May 29 and Jarrah entered on June 27 to begin preparations for the attacks.


                                                323
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 325 of 962




        161.        According to Czech intelligence sources, on June 2, 2000, co-conspirator

 and Defendant Mohammad Atta, a pilot and the operational leader of the September 11th

 terrorist attacks, traveled to Prague to meet other co-conspirators. The following day,

 Atta arrived at Newark International Airport in the United States.

        162.        According to the FBI, from July 2000 through March 2001, Atta, Shehhi,

 Hanjour, Jarran and Hamzi traveled to the U.S., where they resided and took pilot courses

 to learn to fly the Boeing 747, 757, 767 and Airbus A320 in furtherance of the Al Qaeda

 Iraqi conspiracy to hijack U.S. aircraft to commit terrorist acts.

        163.        Upon information and belief, between April 8-11, 2001, Atta left Florida

 where he was a flight student, to again meet in Prague with Iraqi Intelligence agent al-

 Ani. Czech Interior Minister Stanislav Gross confirmed that Atta met with al-Ani in

 early April 2001 in Prague. Atta returned to Florida and within two weeks opened a Sun

 Trust Bank account with $100,000 sent through a money changer in the UAE. Later in

 2001, al-Ani was expelled from the Czech Republic for espionage activities. Other

 intelligence reports indicate that al-Ani met with another September 11th hijacker, Khalid

 al Midhar as well. Atta reportedly also met with the Iraqi ambassador to Turkey and

 former Iraqi Deputy Intelligence director Farour al-Hijaziin in Prague sometime in early

 April, 2001.

        164.        Italian security sources reported that Iraq made use of its embassy in

 Rome to foster and cultivate Iraq’s partnership with Bin Laden and Al Qaeda. Habib

 Faris Abdullah al-Mamouri, a general in the Iraqi Secret Service, and a member of Iraq’s

 M-8 Special Operations branch, who was responsible for developing links with Islamist

 militants in Pakistan and Afghanistan, was stationed in Rome as an “instructor” for



                                                324
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 326 of 962




 children of Iraqi diplomats. Al-Mamouri met with September 11th pilot hijacker

 Mohammed Atta in Rome, Hamburg, and Prague. Al-Mamouri has not been seen in

 Rome since July 2001, shortly after he last met with Atta.

        165.        Al-Mamouri’s meeting with Atta was in keeping with his previous duties

 at Salman Pak. Al-Hijazihad recommended to Saddam Hussein the appointment of al-

 Mamouri to head the Special Operations Branch at Salman Pak. Al-Mamouri’s working

 relationship with al-Hijazihad had been strengthened when they worked together at

 Salman Pak to devise a new range of terrorist methods. It is here that the plan of

 controlling a civilian airplane with full fuel tanks by teams of five using items that can be

 easily carried aboard a plane and using the plane as a guided missile was developed by al-

 Mamouri and al-Hijazi at Salman Pak, sometime before 1995.

        166.        At Salman Pak, al-Mamouri was placed in charge of coordinating

 activities with fundamentalist Islamic movements in Pakistan, Afghanistan, the Persian

 Gulf Countries and Sudan. This came about after Saddam Hussein had decided to seek

 links with the Islamic terrorist network after the Gulf War. From 1982 to 1990, al-

 Mamouri worked for the secret service’s Special Operations Branch at Salman Pak. In

 1990, he was put in charge of relations with the various Islamic fundamentalist

 movements. Until 1996, al-Mamouri then traveled to strengthen his relations with

 various fundamentalist organizations under the auspices of Section M4, the clandestine

 division of the Mukhabarat. Saddam Hussein, realizing that he could not defeat the U.S

 in a conflict, decided to resort to terrorism. He then realized that the simplest and most

 effective way was to resort to Kamikaze terrorism. He gave instructions to the




                                              325
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 327 of 962




 Mukhabarat to establish contacts with those fundamentalist groups, including the

 Hamburg cell, thereby making Atta a co-optee of the Iraqi Mukhabarat.

        167.        Between on or about April 23, 2001 and on or about June 29, 2001, Satam

 M.A. al-Suqami (Flt. 11), Waleed al Shehri (Flt. 11), Ahmed al Ghamdi (Flt. 175),

 Majeed Moqued (Flt. 77), Ahmed al Nami (Flt. 93), Hamza al Ghamdi (Flt. 175), Mohald

 al Shehri (Flt. 175), Wael al Shehri (Flt. 11), Ahmed al Haznawi(Flt. 93), and Fayez

 Ahmed(Flt. 175), traveled from various points in the world to the United States.

        168.        The FBI has reported that Atta visited commercial crop dusting aircraft

 facilities in Florida in March and August of 2001. In the wake of the September 11th

 attacks, authorities concluded that Atta was investigating the possibility of spraying

 chemical or biological weapons on U.S. civilians. In July and August 2001, on several

 occasions several other Middle Eastern men also visited the same crop dusting facility.

        169.        On July 7, 2001, two members of the Iraqi Mukhabarat, Abu Agab and

 Abu Wa'el traveled together from Germany to Afghanistan and eventually to Kurdistan.

 Abu Wa'el trained at Al Qaeda terror camps and became the authority for fundamentalist

 groups operating in Kurdistan intent on crushing opposition to Saddam Hussein. The

 Iraqi Mujabarat agent, Abu Wa'el is regarded as the real leader of Arsar al-Islam, a

 Taliban-style group of radical Islamists with links, including financial, to Osama Bin

 Laden and Saddam Hussein. Indeed, former Anser al-Islam leader Mallah Krekar, while

 in detention in Norway, told ABC News that he would bring Abu Wa’el who is in

 Baghdad to the United States for an interview. Ansar al-Islam reportedly had received

 more than $600,000 from Bin Laden.




                                                326
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 328 of 962




        170.        The FBI reported that in furtherance of his participation in the hijacking

 conspiracy, Zacarias Moussoui purchased flight deck videos for the Boeing 747 on June

 20, 2001 and took a three day Boeing 747 simulator course in Minneapolis, Minnesota on

 August 13-15, 2001. He also purchased two knives in Oklahoma City, Oklahoma on

 August 3, 2001. Moussaoui received approximately $14,000 from Ramzi Bin al-Shibh

 on August 1-3, 2001.

        171.        U.S. government officials reported that in the summer of 2001, Fayez

 Banihammad (Flt. 175), Saeed Al Ghamdi (Flt. 93), Hamza Al Ghamdi (Flt. 175),

 Waleed al Shehri (Flt. 11), Ziad Jarrah (Flt. 93), Satam Al Suqami (Flt. 11), Mohald al-

 Shehri (Flt. 175), Ahmed al Ghamdi (Flt. 93) and Ahmed al Hanzawi (Flt. 93) each

 opened a Florida Sun Trust Bank account with a cash deposit. These and other bank

 accounts were used by the September 11th hijackers for living expenses, travel, pilot

 training, weapons, and other incidentals and served as places where Al Qaeda operatives

 could wire money to support the terrorist conspiracy in the months and weeks leading up

 to September 11, 2001.

        172.        On September 9, 2001, Bin Laden and other Al Qaeda members, Omar

 and other members of the Taliban, carried out their plan to assassinate Ahmad Shah

 Masood, the military leader of the Afghanistan Northern Alliance opposition forces that

 had been fighting the Taliban for many years. Al Qaeda terrorists posed as television

 journalists seeking an interview with Masood. The video camera was armed with

 explosives and when detonated at the purported interview, killed Ahmad Shah Masood,

 one of the suicide terrorists and other high ranking members of the Afghanistan Northern

 Alliance opposition forces.



                                                327
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 329 of 962




        173.        This assassination solidified Bin Laden’s asylum and protection in Taliban

 controlled Afghanistan and cleared the way for Al Qaeda’s unprecedented attack on the

 United States two days later. The Taliban would continue to refuse to surrender Bin

 Laden or Al Qaeda members to the United States after the September 11th attacks.

                                    Hezbollah and its Leaders

        174.        Hezbollah receives its principal financing of some $100 million a year and

 logistical support and training from the government of Iran. This assistance is funneled

 to Hezbollah through the Iranian Republican Guard (IRGC) and the Ministry of

 Intelligence and Security (MOIS) with the knowledge of the Iranian Supreme leader

 Ayatollah Ali Hoseini-Khamenei. In addition, Hezbollah earns tens of millions of dollars

 a year from the drug trade. To show the closeness of Hezbollah to the Government of

 Iran, the website for “Hezbollah Party of God” pictures Hezbollah Secretary General

 Hassan Nasrallah along with the late Iranian Supreme Leader Ayatollah Khomeni and the

 current Supreme Leader Ayatollah Ali Hoseini-Khamenei. . In 1997, the United States

 placed the Hezbollah on the State Department terrorist list.

        175.        Iran, through Hezbollah, has provided direct assistance to groups

 connected to the Palestinian conflict and, although Shiite, shares many of the goals of Al

 Qaeda and the International Islamic Front for the Jihad Against Jews and Crusaders. For

 example, the capture of the Karine A, a vessel loaded with more than 50 tons of high

 quality arms and explosives, points to the very close cooperation on an official level

 between Iran and the Palestinian Authority. The assistance came through Iran’s primary

 subcontractor and proxy, Hezbollah.




                                                328
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 330 of 962




        176.        For 18 years, with financial and intelligence support from Iran, Hezbollah

 fought to end Israel’s military occupation of a buffer zone in southern Lebanon. It

 attacked American targets through suicide attacks in an attempt to drive the United States

 from the country. In the past 20 years, Hezbollah has killed some 300 Americans

 overseas, including 241 U.S. Marines in the suicide attack on the U.S. Marine barracks in

 Beirut in 1983. In a bench trial, U.S. District Judge Royce C. Lamberth concluded that

 Hezbollah was formed under the auspices of the Iranian government, was completely

 reliant on Iran in the 1983 attack and assisted Iranian Ministry of Intelligence and

 Security agents in carrying out the operation.

        177.        Imad Mughniyeh, who heads the terrorist wing of Hezbollah and Dr.

 Ayman-Alzawahiri, senior member of Al-Qaeda directed the terrorist attacks on

 September 11, 2001, according to Israeli intelligence.

        178.        Defendant Mughniyeh is regarded as being behind the terrorist attack that

 took more than 300 American lives in Beirut durng the 1980s. Mughniyeh also oversaw

 the kidnapping, torture and death of the CIA Beirut station chief William Buckley and the

 kidnapping, torture and death of Lt.Col. William Higgins, a Marine officer serving with

 UN forces in Lebanon. Mughniyeh now is said to reside in Iran and has had significant

 contact with bin Laden’s leadership, including Ayman al-Zawahiri. The September 11,

 2001 hijackings show a remarkable similarity to Mughniyeh’s methods. According to the

 U.S. Justice Department, Imad Mughniyeh has close ties to bin Laden. Contacts between

 Imad Mughniyeh and Osama bin Laden, for example, mainly have occurred through

 Usbat al-Ansar, a Palestinian Sunni Islamist group operating primarily at the Ein al-

 Hilweh Palestinian refugee camp in the southern Lebanese port of Sidon and the Nahr al-



                                                329
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 331 of 962




 Bared camp in northern Lebanon. Usbat al-Ansar received considerable financing during

 the late 1990s from bin Laden. In addition, dozens of Palestinian refugees in Lebanon

 were sent to bin Laden’s training camps in Afghanistan under the auspices of Usbat al-

 Ansar.

          179.      A recent defector, Hamid Reza Zakeri, has linked Iran’s Revolutionary

 Guards and Ministry of Intelligence with Al Qaeda. Zakeri said that Al Qaeda also had

 contacts with an Iranian elite military unit which has helped terrorists train and plot

 attacks against Americans. Zakeri said that Al Qaeda leader Ayman Zawahiri maintained

 close ties with the Islamic Revolutionary Guards Corps (IRGC) – Qods Division, said to

 be Iran’s Islamic shock troops. Zakeri said that Zawahiri is close to Revolutionary

 Guards deputy commander Brig. General Mohammad Baqer Zolqadr.

          180.      Zolqadr has ties to other Revolutionary Guards, or IRGC Qods Forces

 commanders including Ahmad Vahedi and Hossein Mosleh who are the Guards’ former

 commander in Lebanon. The IRGC Qods forces are a special operations unit that

 conducts terrorist operations abroad. Separate information also reveals that Zawahiri was

 a frequent guest of Iran’s Minister of Intelligence and Security, Ali Fallahian, in addition

 to Ahmad Vahedi, whose position as commander of Qods forces places him as the head

 of foreign terrorist operations. Zakeri confirms the relationship of Al Qaeda to Hezbollah

 dating back to the 1990s. Zakeri said that Mughniyah remained the liaison officer with

 Zawahiri and other fundamentalist organizations’ leaders. Zakeri confirms reports of

 other informants that there were models of the two towers of the World Trade Center in

 New York and the Pentagon in Washington. In addition, there were models of the White

 House and CIA headquarters. Zakeri said that Mughniyeh had come to Iran and met with



                                               330
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 332 of 962




 some senior officials and had brought with him a message from Zawahiri. That message

 said that Al Qaeda needed help to “carry out an extremely serious operation in the Great

 Satan’s country.” While Iranian officials didn’t want any direct involvement, Zakeri said

 that the head of his department had asked Mughniyeh to maintain his ties with Zawahiri.

 Iranian knowledge of the Septembert 11, 2001 terrorist attack coincides with comments

 made by another Iranian national, Abdolghassem Meshabi who resides in Munich,

 Germany.

        181.        Meshabi claims that a friend of his in Tehran with access to intelligence

 plans in Tehran sent an urgent message on/about 02 September 2001. It warned that

 Iranian-backed terrorists, interpreted by Meshabi to be members of Hezbollah, planned to

 hijack commercial airlines with plans to crash them into major U.S. targets. Meshabi

 said that his friend, who is part of the Iranian intelligence service (MOIS), had told him

 that the MOIS had received a coded message signifying that an attack was imminent.

 The coded message read: “Shaitan der artash,” (The U.S.) Satan in flames.” Meshabi

 said he received a second such message on 05 September 2001. Zakeri maintains that

 Imad Mughniyeh still is in Iran and believes that he organized escape of dozens of Al

 Qaeda into Iran. Zakeri’s belief that Mughniyeh is in Iran coincides with separate,

 independent reports. Zakeri further asserts that Osama bin Laden could have entered Iran

 with Mughniyeh’s help. This prospect reinforces separate information by knowledgeable

 sources that bin Laden may have escaped into eastern Iran, a part of Baluchestan under

 heavy influence from Iraq due to its Sunni influence to offset the Shiite government in

 Tehran. Zakeri’s linkage of Mughniyeh to Zawahiri reinforces earlier analysis by the

 Israeli military intelligence service, Aman, that Mughniyeh and Zawahiri directed the



                                                331
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 333 of 962




 suicide attacks against the World Trade Center towers and the Pentagon, while Iraq

 sponsored the attacks.

        182.        In addition to Iran’s close ties to Hezbollah, an Iraqi intelligence officer,

 Salah Suleiman who was captured by the Pakistanis near the border with Afghanistan,

 said that Iraq also had established strong ties with Imad Mughniyeh. This reinforces

 information from other sources which reveal that Mughniyeh, who is a Palestinian, in his

 past had been a bodyguard for Yasser Arafat and had lived in Baghdad.            According to

 Israeli intelligence, Israel had put out a warning some six weeks prior to September 11,

 2001 that an “unprecedented massive terror attack” was expected. Israeli sources said

 that one indication was that Mughniyeh met with agents on a secret trip to Germany.

 Despite the fact that Mughniyeh is known to have been going back and forth to Iran, the

 Aman believes the operational brains behind the 9-11 attacks were Mughniyeh and

 Zawahiri. In turn, they probably were financed and received logistical support from both

 the Iranian and Iraqi intelligence services, as well as financial contributions from Saudi

 Arabia.

                             Hezbollah’s Relationship with Al Qaeda

        183.        The relationship between Al Qaeda and the Government of Iran goes back

 to at least 1992 in Albania when they both supported the Kosovo Liberation Army to

 fight in the Muslim province of Kosovo in neighboring Serbia. U.S. intelligence has

 acknowledged bin Laden’s al Qaeda link to the KLA and had “both trained and

 financially supported” the Albanians and that the Kosovo border had been infiltrated by

 Bosnian, Chechnyn and Afghan mujaheedin…” Other information suggests bin Laden’s




                                                 332
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 334 of 962




 support for KLA from Albania began in 1994, after telling the Albanian government that

 he headed a Saudi humanitarian agency to help Albania.

        184.        In a December 18, 2001 statement, J. T. Caruso, then Acting Assistant

 Director of the Counter-Terrorism Division of the Federal Bureau of Investigation,

 testified that a witness recounted how the Al Qaeda network had privately declared war

 on America and was operating both on its own and as an umbrella for other terrorist

 groups. The FBI witness, who is a former member of bin Laden’s Al Qaeda network,

 recounted that bin Laden and Al Qaeda were seeking to obtain nuclear and chemical

 weapons and that the organization engaged in sophisticated training. The witness also

 revealed that Al Qaeda obtained specialized terrorist training from and worked with

 Iranian government officials and the terrorist group Hezbollah. Considerable information

 is available to show that there not only was ideological but operational connections

 between Hezbollah and Al Qaeda. U.S. officials report that they had first detected the

 alliance of Hezbollah and Al Qaeda in early 2002. In March, envoys from Al Qaeda,

 Hamas and Hezbollah had met in Lebanon’s Bekaa Valley to discuss strategy. The

 officials said that by April 2002, Hezbollah leaders were meeting with Al Qaeda

 operatives who had escaped Afghanistan for Iran. In expressing concern over the link,

 U.S. officials said that the Hezbollah-Al Qaeda links are tactical and involve mid- and

 low-level operatives from both groups. They add that this cooperation between the two

 groups mutes years of rivalry between Hezbollah, which is Shiite, and Al Qaeda, which is

 predominantly Sunni. U.S. officials also believe that the assets and organization of

 Hezbollah’s formidable militant wing will enable a hobbled Al Qaeda network to

 increase its ability to attack American targets. Although Hezbollah and Al Qaeda have



                                               333
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 335 of 962




 their differences, their alliance shows that they share the goals of crippling the United

 States, forcing the U.S. military out of the Middle East and Israel out of Palestinian

 territory. In testimony in the East Africa embassy bombings trial, it was revealed that

 there were connections between Al Qaeda and the Iranian government, along with an

 unidentified senior Iranian religious leader and Hezbollah beginning in the early 1990s.

          185.      Trial transcripts reveal that by 1998, the U.S. Government was aware that

 on various occasions during the early to mid-1990s, high-ranking Al Qaeda members met

 with Iranian officials and that Osama bin Laden himself met with the Imad Mughniyeh,

 leader of the terrorist wing of Hezbollah, to “cooperate against the perceived common

 enemy,” the United States. Ali Mohammed, bin Laden’s security chief and a former

 U.S. army intelligence analyst, stated during the guilty plea in the embassy bombings

 case in October 2000 that “I was aware of certain contacts between al Qaeda and

 Egyptian Islamic Jihad on one side and Iran and Hezbollah on the other side. I arranged

 security for a meeting in the Sudan between Mughniyeh, Hezbollah’s chief and bin

 Laden.

          186.      Hezbollah provided explosives training for al Qaeda and Egyptian Islamic

 Jihad. Iran supplied Egyptian Jihad with weapons. Iran also used Hezbollah to supply

 explosives that were disguised to look like rocks.”Upon information and belief, such

 disguised explosives were used extensively by Hezbollah against Israeli army patrols in

 South Lebanon. Mohamed testified that “much of this type of training is actually carried

 out at a training camp there, in Iran, run by the Iranian Ministry of Information and

 Security.”




                                               334
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 336 of 962




        187.        A former CIA official has been cited as saying that Al Qaeda relied on

 experts from Hezbollah to build the shaped charge that badly damaged the U.S.S. Cole in

 Yemen in October 2000. According to UPI:

                    “A U.S. government official told (UPI) that the blast was a
                    ‘cone-shaped charge’ tht used ‘moldable high explosives
                    such as SEMTEX H,’ shaped to create a high-speed, high
                    temperature blast wave. During the first state of the blast,
                    the explosion ‘forces all the air out with tremendous force,’
                    creating a vacuum, but as air rushes back in, it creates
                    another tremendous force that causes further damage. ‘It’s
                    a trademark of bombs made by Hezbollah and raises the
                    question of the involvement of Iran,’ he said. A former
                    CIA official agreed: ‘We have to start looking at Iran’s
                    involvement in the incident. The evidence warrants this.’”

        188.        Ali Mohammed also stated that Mughniyeh had discussed how Hezbollah

 had forced the United States out of Beirut by blowing up the Marine barracks.

 Mohammed added that al Qaeda planned to “use the same method to force the United

 States out from Saudi Arabia.” Mohammed further testified that Al Qaeda’s method for

 driving the United States out of the Middle East was to be modeled on the successes of

 the Lebanese Hezbollah, which implied suicide bombings.

        189.        Magnus Ranstorp, deputy director of the Centre for the Study of Terrorism

 and Political Violence at the University of St. Andrews in Scotland, stated that the

 suspects in the East Africa embassy bombings mentioned individuals who had gone to

 Lebanon for explosives training from Hezbollah. “The military manuals of Al Qaeda

 showed innovation in the making of explosives including RDX and C4,” he said, “but

 there was an admission that some of its members had gone to Lebanon to get that

 expertise.” Such expertise would have come from the Hezbollah.




                                                335
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 337 of 962




        190.        The meetings between Al Qaeda and an Iranian religious leader took place

 in Sudan with Mamdouh Mahmud Salim a/k/a Abu Hajer al Iraqi, Osama bin Laden’s

 former financial manager, representing Al Qaeda. The meetings took place at various

 times between 1992 and 1996, according to trial prosecutors, and the bin Laden meeting

 with Mughniyeh, held in 1994 took place in the Sudan. Prosecutors further stated that the

 meetings held “at various times” between 1992 and 1996 were to arrange a tripartite

 agreement among Al Qaeda, the National Islamic Front of Sudan and elements of the

 government of Iran “to work together against the United States, Israel and other western

 countries.”

        191.        U.S. intelligence has stated that Osama bin Laden’s operatives had

 approached Iranian Ministry of Intelligence and Security agents in 1995 and again in

 1996, offering to join forces against the United States. Phone records obtained by U.S.

 officials investigating the 1998 embassy bombings in Kenya and Tanzania reveal that 10

 percent of the calls made from the Compact-M satellite phone used by bin Laden and his

 key lieutenants were to Iran. In its 1998 indictment, the U.S. Justice Department said that

 bin Laden, working through al Qaeda, forged alliances with government officials in Iran,

 the National Islamic Front in the Sudan and the Iranian terrorist organization Hezbollah.

  Hezbollah’s Connection with the International Islamic Front for the Jihad against
                               Jews and Crusaders

        192.        Al Qaeda, Al-Gamma Al-Islamiyya and the Egyptian Islamic Jihad,

 formed the International Islamic Front (“The Front”) for the Jihad Against Jews and

 Crusaders in 1988. Among other things, the goal of Al Qaeda and purpose of the Front is

 support of the Palestinians against Israel, as well as expulsion of non-Muslims from

 Muslim countries. The Front is a group of some 50 independent terrorist organizations

                                               336
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 338 of 962




 from such countries as Sudan, Egypt, Saudi Arabia, Yemen, Somalia, Eritrea, Djibouti,

 Afghanistan, Pakistan, Bosnia, Croatia, Albania, Algeria, Tunisia, Lebanon, the

 Philippines, Tajikistan, Azerbaijan, the Kashmiri region of India and the Chechnyn

 region of Russia. Those Iranian-supported organizations that belong to the Front include

 the Gama’a al-Islamiyah, the Egyptian al-Jihad, the Algerian GIA and the Egyptian

 Islamic Jihad whose leader, Ayman Zawahiri, is the second in command in Al Qaeda.

 While Muslims of the Iranian Government are Shiites, the organizations which belong to

 the Front and supported by Iran are Sunni.

        193.        Among the prominent groups belonging to the Front is the Hezbollah,

 which is regarded as Iran’s proxy army and serves as the chief tool for the

 implementation of Iran’s foreign policy. In turn, Hezbollah is funded, armed and trained

 by the Iranian Revolutionary Guards. Lebanon’s Hezbollah movement was founded by

 Ali Akbar Mohtashemi, an Iranian Shiite cleric, in the aftermath of the 1982 Israeli

 invasion of Lebanon. Its purpose is to support the Palestinians in Lebanon and fight

 against Israeli occupation of Lebanon.

                    Iranian Provision of Safe Haven to Al Qaeda Fugutives

        194.        Iran has become a safe haven to senior al Qaeda fugitives. There have

 also been reports that Iranian Revolutionary Guards assisted al Qaeda commanders in

 entering Iran from Afghanistan to Iran. In addition to being a transit route, Iran also has

 allowed Al Qaeda to use the country as a staging area.

        195.        On February 15, 2002, Turkish police arrested two Palestinians and a

 Jordanian who entered Turkey illegally from Iran on their way to conduct bombing

 attacks in Israel. Turkish police said the three had fought for the Taliban, receiving


                                               337
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 339 of 962




 terrorist training from Afghanistan and were members of Beyyiat el-Imam, a group

 linked to al Qaeda. The terrorists said they were acting on orders from Abu Musaab,

 whom Israeli intelligence has identified as Abu Musaab Zarqawi. U.S. and Israeli

 intelligence agencies say that Zarqawi had fled Afghanistan in October 2001 and later

 turned u n Tehran under the protection of Iranian security forces.

        196.        Upon information and belief, Zarqawi then left for Iraq where he received

 medical treatment for one of his legs. He then went to Syria. Zarqawi also is linked with

 Hezbollah.

        197.        Although Iran was against the Taliban in Afghanistan prior to U.S. action,

 that opposition did not translate into opposition to Osama bin Laden or Al Qaeda. Under

 the watchful surveillance of Iran’s military and intelligence services, U.S. intelligence has

 detected what it describes as a suspected Al Qaeda training camp in a remote area of

 eastern Iran along the border with Afghanistan. Overhead imagery shows a training

 camp complete with a terrorist obstacle course and a rifle range, much like those Al

 Qaeda used in Afghanistan to train for assassinations.

        198.        For some time, the U.S. Government believes, Iranian officials who

 control the military and intelligence services are working with Al Qaeda. In April 2002,

 Defense Secretary Donald Rumsfeld said “there is no question but that Al Qaeda has

 moved into Iran, out of Iran to the south and dispersed to some other countries.” Israeli

 intelligence also has told U.S. officials that it had strong evidence that Al Qaeda members

 went through Iran and Iraq to the Bekaa Valley of Lebanon and teamed up with

 Hezbollah.




                                                338
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 340 of 962




        199.        In a February 6, 2002 Christian Science Monitor article, a Saudi captive,

 Haji Mohamad Akram, a chef to Osama bin Laden, said in an interview that bin Laden

 had escaped to Iran following the bombing of Tora Bora in November 2001. The

 captured Saudi chef further claims that bin Laden had three offers of escape. “One from

 Iraq, one from Iran, and another from some mafia types…We received a lot of Iranian

 currency, and the commanders distributed it to the soldier,” he said, adding that he

 received 700,000 rials ($1,400) for personal use.

        200.        Western intelligence sources also say that Al Qaeda has extended its

 involvement in the Palestinian areas by transferring a base of operation from Afghanistan

 to Lebanon and seeking to develop operatives and recruit personnel. On 1 February

 2002, the British daily, The Times, reported that a senior al Qaeda operative traveled to

 Lebanon in January 2002 to discuss the relocation with Hizballah leaders. The operative

 was identified as a Yemeni national traveling under the alias of Salah Hajir. He

 reportedly had discussed relocating with Hezbollah in Palestinan camps, particularly Ein

 al-Hilweh in southern Lebanon.

        201.        Western intelligence agencies confirm that Syria has allowed between 150

 and 200 al Qaeda operatives to settle in Ein el-Hilweh since the start of the U.S. offensive

 in Afghanistan. These sources report that the group, including senior Al Qaeda

 commanders, arrived from Afghanistan through Iran and went directly to Lebanon.

        202.        In August 2002, fighting had erupted when Al Qaeda operatives tried to

 gain control over the camp. Lebanese officials said that the fighting was initiated by Al

 Qaeda in the camps, three of whom were killed. There have been at least 19 bombings in




                                                339
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 341 of 962




 Ein al-Hilweh since the end of September 2002. Usbat al-Ansar is seen as the culprit

 behind the violence.

        203.        Upon information and belief, Al Qaeda terrorists have escaped to eastern

 Iran following U.S. action in Afghanistan, in addition to western Pakistan. Both areas are

 known for a concentration of Sunni Muslims. The area encompasses the region called

 Baluchestan, with the eastern part of Iran being a haven for Sunni Arabs under heavy

 influence of Iraq to offset the Shiite regime in Tehran. The Iranian Ministry of

 Intelligence and Security (MOIS) is aware of the concentration of Al Qaeda terrorists in

 the region but has taken no action against them. MOIS began to monitor the eastern part

 of Iran due to the Mujahedin-E-Khalq (MEK), which is anti-Iranian but pro-Iraqi. The

 MEK has assisted the escape of members of Al Qaeda into Iran. In February 2003, U.S.

 intelligence agencies reported that Osama bin Laden’s oldest son, Saad, is in Iran along

 with other senior al Qaeda terrorists. Saad bin Laden had been spotted in Iran in January

 2003, according to U.S. officials. Saad bin Laden is believed to be a key leader of the Al

 Qaeda terrorist network since U.S. and allied forces ousted the ruling Taliban militia in

 Afghanistan. In testimony before the U.S. Senate in February 2003, CIA Director

 George Tenet said that “we see disturbing signs that al Qaeda has established a presence

 in both Iran and Iraq.”

        204.        Defense Secretary Donald H. Rumsfeld also said in a Senate hearing in

 September 2002 that the Iranian government is “currently harboring reasonably large

 numbers of al Qaeda.” The al Qaeda (is) functioning in that country, both transiting and

 located, and operating, “Secretary Rumsfeld told the Senate Armed Services Committee.




                                               340
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 342 of 962




                    Cooperation among Hezbollah, Al Qaeda, Iran, and Iraq

        205.        Intelligence officials said Iran’s support for terrorists, including al Qaeda,

 in the past was carried out by agents of the Ministry of Intelligence and Security, and the

 Islamic Revolutionary Guards Corps Qods Force a/k/a Qods Division a/k/a a/k/a

 Jerusalem Force. The Defense Intelligence Agency in 2000 uncovered information

 linking al Qaeda to Iran’s government. Such cooperation among Iran, Iraq and the

 Hezbollah and Al Qaeda terrorist groups they support became publicly apparent in a

 February 18, 2003 Al-Zaman article in which Uday Hussein, son of deposed Iraqi

 President Saddam Hussein, conveyed messages to Hezbollah.              Adib Sha’ban (also

 spelled Adeeb Shabaan), trade and press secretary to Uday Hussein, reportedly conveyed

 messages to leaders of Hezbollah and other influential organizations and figures in

 Lebanon.      In a speech in Beirut in the presence of the Iranian ambassador to Lebanon,

 Hezbollah Secretary General Shaykh Hasan Nasrallah reportedly had called on the Iraqi

 opposition groups to reconcile with the Iraqi regime. Uday Hussein urged Hezbollah and

 other Lebanese leaders to coordinate with party militias and Uday’s organization, called

 the “fedayeen commandos of Saddam” if the United States launched a war against Iraq.

 Uday reportedly also had invited some of the leaders to a secret meeting in Iraq to discuss

 cooperation to carry out joint operations against U.S. interests in the world.

        206.        In addition to Al Qaeda training bases, intelligence reports in August 2002

 revealed that Al Qaeda leaders Abu Hafs the Mauritanian and Saif al-Adil were in eastern

 Iran. The Washington Post reported that the two may have been planning Al Qaeda

 operations from Iran. This information coincides with reports of Zarqawi also going to

 Iran but leaving for Iraq and then Syria and possibly to Syrian-controlled territory in



                                                 341
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 343 of 962




 Lebanon where Hezbollah operates. This complicated picture mirrors an observation by

 Zakeri that Iranian Guards’ intelligence under Morteza Reza’i had a close connection

 with Iraq. Zakeri said that Reza’i had established commercial companies to create jobs

 for the Iranian Republican Guard. He said that these companies started to deal with the

 Babil Company that had been chaired by Qusay Hussein since the mid-1990s. In

 addition to smuggling and marketing Iraqi oil, the Iranian companies also smuggled Iraqi

 dates.

          207.      In published accounts, Zakeri asserts that smuggling and trade cooperation

 between the Guards’ intelligence and Iraq stopped about a year ago. However, the

 Guards’ intelligence had maintained some ties with Hussein and Iraqi intelligence up

 until U.S. action against Iraq. In a further indication of Iranian-Iraqi intelligence

 cooperation, Zakeri said that there was coordination between the two on issues like

 confining the Kurds and confronting the United States. Zakeri also revealed that the

 Ansar al-Islam organization in northern Iraq had the support and protection of the Iranian

 Guards and the Iraqi intelligence services. Separately, it is known that members of Ansar

 al-Islam went back and forth to Iran and had as one of its leaders Abu Wa’il, whom

 separate data reveals was an Iraqi intelligence officer in Baghdad assisting Ansar al-

 Islam.

                 Iranian Assistance to Other Islamic Terrorist Organizations

          208.      According to claims made by Albanian authorities and the U.S. Central

 Intelligence Agency in 1998, Osama bin Laden set up the terrorist network in Albania, a

 Muslim country, to be used as a springboard for operations in Europe. On March 22,

 1998, the Times of London confirms that Bin Laden and the Iranian Revolutionary


                                               342
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 344 of 962




 Guards had “joined forces” by signing a pact on 16 February 1998 in Tehran to

 consolidate their operations in Albania and Kosovo, hoping “to turn the region into their

 main base for Islamic armed activity in Europe.”

        209.        These fighters were bolstered by hundreds of Iranian fighters, called

 Mujahadeen, who infiltrated from nearby Albania and called themselves the Kosovo

 Liberation Army. Separate reporting reveals that the Iranian Revolutionary Guard

 operated from Albania to train KLA members. Iran also used Albania as a base from

 which it smuggled arms and ammunition to the KLA. According to Ephraim Kam,

 deputy director of Tel Aviv University’s Jaffee Center for Strategic Studies, “Iran has

 been active in helping out the Kosovo rebels. Iran sees Kosovo and Albania as

 containing Moslem communities that require help and Teheran is willing to do it.” In

 Albania, Iranian and Saudi representatives opened foundations to provide patronage. An

 Islamic bank was launched in the Albanian capital of Tirana. In Skadar, Iranian agents

 opened the Society of Ayatollah Khomeini. In the Kosovo town of Prizren, Islamic

 fundamentalists formed a society funded by the Iranian Culture Center in Belgrade.

 Selected groups of Albanians were sent to Iran to study that country’s version of militant

 Islam. Based on U.S. congressional sources, the former Clinton administration was fully

 aware of Iranian activities in Bosnia and Kosovo, but looked the other way to maintain

 the 1995 Dayton Accords. One congressional source asserts that the Clinton

 administration wanted “to keep the lid on the pot at all costs. And if that means that Iran

 benefits and operates freely in the region,” he added, “so be it. Needless to say, the

 Europeans have been quite upset by this.”




                                                343
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 345 of 962




                         The Terrorist Attacks on September 11, 2001

        210.        On September 11, 2001, Defendants Mohammed Atta, Abdul Aziz al-

 Omari, Wa'il al-Shehri, Waleed al-Shehri, and Satam Al Suqami hijacked American

 Airlines flight 11 carrying 92 persons, bound from Boston to Los Angeles, and at

 approximately 8:46 a.m., crashed it into the North Tower (also known as Tower 1) of the

 World Trade Center in New York.

        211.        On September 11, 2001, Defendants Marwan al-Shehhi, Fayez Ahmed

 a/k/a/ “Banihamad Fayez,” Ahmed al-Ghamdi, Hamza al-Ghamdi, and Mohaud al-Shehri

 hijacked United Airlines Flight 175 carrying 65 persons, bound from Boston to Los

 Angeles, and at approximately 9:02 a.m. crashed it into the South Tower (also known as

 Tower 2) of the World Trade Center in New York.

        212.        On September 11, 2001, Defendants Khalid al-Mihdhar, Nawaf al-Hazmi,

 Hani Hanjour, Salem al-Hazmi and Majed Moqed hijacked American Airlines Flight 77

 carrying 64 persons, bound from Virginia to Los Angeles, and at approximately 9:37

 AM, crashed it into the Pentagon.

        213.        On September 11, 2001, Defendants Zihad Jarrah, Ahmed al-Haznawu,

 Saeed al-Ghamdi, and Ahmed al-Nami hijacked American Airlines flight 93 carrying 45

 persons, bound from Newark to San Francisco with the intention of crashing it into a

 target in Washington, D.C., probably the White House or U.S. Capitol. At approximately

 10:10 a.m., because of the heroic intervention of Flight 93’s passengers, the aircraft

 crashed into a field in Shanksville, Pennsylvania.

        214.        At approximately 9:59 a.m. the South Tower of the World Trade Center (2

 World Trade Center) collapsed; at approximately 10:28 a.m. the North Tower of the



                                              344
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 346 of 962




 World Trade Center (1 World Trade Center) collapsed. Defendants intentionally caused

 the deaths of and injuries to thousands of innocent persons, including Plaintiffs' decedent

 John Patrick O'Neill, Sr.

        215.        The hijackings referenced above were the culmination of a conspiracy

 among the defendants to attack the United States and murder United States citizens and to

 disrupt economic activities within the United States and of the victims of the attacks.

                             AFTERMATH OF SEPTEMBER 11th

        216.        On two videotapes made by Al Qaeda in September and October 2001,

 Bin Laden took credit for the September 11th attacks and stated that the attacks went

 better than expected.

        217.        Saddam Hussein is the only national leader who publicly praised the

 attacks and said that the United States of America deserved them. Iraq has offered

 sanctuary to Bin Laden and Taliban leaders. Abu Zeinab al-Quarairy, an Iraqi defector

 who was an officer in the Mukhabarat and was familiar with its operations, reported that

 when he learned about the World Trade Center attacks on September 11th, he turned to a

 friend and said “That’s ours.”

        218.        Upon information and belief, several hundred Al Qaeda members,

 including Abu Abdul Rahman, fled Afghanistan for Kurdistan in Iraq to try to take

 control of towns not under the control of Saddam Hussein and Iraq, including Halabja,

 Tawela, and Biyarah. On September 23, 2001, Kurdish forces ousted Ansar al-Islam

 from Halabja, but the Islamic fundamentalist group remained in control of Tawela and

 Biyarah.




                                               345
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 347 of 962




        219.        Israeli intelligence sources verify that for the past two years, Iraqi

 Intelligence officers have been shuttling back and forth between Baghdad and

 Afghanistan. According to the Israelis, one of these Iraqi Intelligence officers, Salah

 Suleiman, was captured in October 2001 by Pakistani officials near the border between

 Pakistan and Afghanistan.

        220.        The British Government has also identified at least two individuals who

 are Iraqi Intelligence officers trained in Iraq in the use of terror against the Kurds in

 Northern Iraq. They are Fowzi Saad al-Obeijdi, a/k/a Abu Zubair and Abu Omer al-

 Kurdi, a/k/a Rafid Fatah. Although they are Iraqi Intelligence officers still linked to the

 former Hussein Iraqi government, they are also Al Qaeda operatives. In its published

 dossier to show Iraq's links to Osama Bin Laden, the British government added that Iraq

 had allowed al-Qaeda and Bin Laden to train in Iraq.

        221.        In March 2002, U.S. and allied forces discovered a laboratory near

 Khandahar, Afghanistan that was designed to produce weapons-grade anthrax. Upon

 information and belief, Iraqi Intelligence were supplying technology, materials, and

 training to develop this facility in coordination with Al Qaeda and the Taliban.

 Instruction documents on an artillery weapon known as the “Super Gun” were found in

 Al Qaeda camps when they were captured by U.S. forces in the winter of 2001-2002.

 Iraq is the only state known to have purchased and assembled the Super Gun, a weapon

 so large it must be constructed in segments. It has a range of several hundred miles.

 U.S. Government officials, including the U.S. Defense Secretary, confirm the relationship

 between Al Qaeda and the Iraqi regime. The Secretary of Defense as recently as March




                                                 346
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 348 of 962




 2003 stated that there is “solid evidence” that senior Al Qaeda operatives have visited

 Baghdad and that the intelligence on these activities is “current.”

        222.        Attached hereto as Exhibits and incorporated herein as if set forth at length

 are the following More Definite Statements/Additional Allegations:

                    a)     Exhibit A- Victims List

                    b)     Exhibit B- More Definite Statement- Erwin Wachter

                    c)     Exhibit C- More Definite Statement- Martin Wachter

                    d)     Exhibit D- More Definite Statement- Schreiber & Zindel, Frank

                           Zindel, Engelbert Schreiber, and Engelbert Schreiber, Jr.

                    e)     Exhibit E- More Definite Statement- Sercor Trehand Anstalt

                    f)     Exhibit F- Asat Trust Reg.

                    g)     Exhibit G- Taha Al Alwani


                                      CAUSES OF ACTION


                         AS AND FOR THE FIRST CAUSE OF ACTION

                                             COUNT I
                                     WRONGFUL DEATH

        223.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

        224.        As a direct and proximate cause of the willful, wrongful, intentional and

 reckless acts of Defendants, John Patrick O’Neill, Sr. was killed by the attack upon and

 subsequent collapse of the World Trade Center in New York City.




                                                347
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 349 of 962




        225.        Defendants are directly and vicariously responsible for the terrorists’

 actions, because they funded, trained and directed the terrorist hijackers and acted in

 concert in sponsoring the terrorist attack on the World Trade Center.

        226.        As a proximate result of these acts, Plaintiffs have suffered injury and loss,

 including both economic and non-economic damages, in an amount to be proven at trial.

 The economic damages, include, but are not limited to, losses to business and property,

 loss of income, loss of support, loss and/or damage to personal property, and funeral and

 burial expenses.

        227.        For the reasons stated above, Defendants are jointly and severally liable to

 Plaintiffs.

         WHEREFORE, Plaintiffs demand that judgment be entered against Defendants,

 jointly and severally, in the amount of ONE HUNDRED MILLION DOLLARS

 ($100,000,000.00) in compensatory damages, plus interest, costs, punitive damages, and

 such other monetary and equitable relief as is just and proper for each Plaintiff.


                     AS AND FOR THE SECOND CAUSE OF ACTION

                                            COUNT II
                           ACTION FOR SURVIVAL DAMAGES

        228.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

        229.        Immediately before his death, Decedent John Patrick O’Neill, Sr. suffered

 extreme bodily pain and suffering as a result of the attack upon and subsequent collapse

 World Trade Center thereby entitling his Estate to compensatory damages.



                                                 348
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 350 of 962




        230.        Defendants are directly and vicariously responsible for the attack upon and

 subsequent collapse of the World Trade Center because they funded, trained, and directed

 the terrorist hijackers and acted in concert in sponsoring the terrorist attack on the World

 Trade Center.

        231.        As a proximate result of these acts, Plaintiffs have suffered injury and loss

 in an amount to be proven at trial.

        232.        For the reasons stated above, Defendants are jointly and severally liable to

 Decedent’s estate.

         WHEREFORE, Plaintiffs demand that judgment be entered against Defendants,

 jointly and severally, in the amount of ONE HUNDRED MILLION DOLLARS

 ($100,000,000.00) in compensatory damages, plus interest, costs, punitive damages, and

 such other monetary and equitable relief as is just and proper for each Plaintiff.


                      AS AND FOR THE THIRD CAUSE OF ACTION

                                            COUNT III
                           ACTION FOR ECONOMIC DAMAGES

        233.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

        234.        As a direct and proximate result of the willful, wrongful, intentional, and

 reckless acts of the Defendants, Plaintiffs incurred economic damages through the

 deprivation of Decedent’s income in an amount to be proven at trial.

        235.        Defendants are directly and vicariously responsible for the terrorists’

 actions, because they funded, trained and directed the terrorist hijackers and acted in



                                                 349
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 351 of 962




 concert in sponsoring the attack upon and subsequent collapse of the World Trade Center.

 As a proximate result of these acts, Plaintiffs have suffered injury and loss.

        236.        For the reasons stated above, Defendants are jointly and severally liable to

 the Decedent’s Estate.

         WHEREFORE, Plaintiffs demand that judgment be entered against Defendants,

 jointly and severally, in the amount of ONE HUNDRED MILLION DOLLARS

 ($100,000,000.00) in compensatory damages, plus interest, costs, punitive damages, and

 such other monetary and equitable relief as is just and proper for each Plaintiff.


                     AS AND FOR THE FOURTH CAUSE OF ACTION

                                            COUNT IV
  ACTION FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        237.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

        238.        The act of crashing two airplanes into the twin towers of the World Trade

 Center in New York, NY with the intent to kill Americans, and which, in fact, did kill

 American John Patrick O’Neill, Sr. constituted extreme and outrageous conduct on the

 part of the Defendants.

        239.        Plaintiff John Patrick O'Neill Jr. was on his way to visit his father at the

 World Trade Center at the time the attacks occurred. He was on a New York-bound

 commuter train from New Jersey, when a fellow passenger told him that a plane had just

 struck the World Trade Center. Plaintiff John Patrick O’Neill, Jr. reached his father by

 cell phone at 9:17 A.M., and confirmed that the Center had been attacked and that his

 father was alive and well. When the commuter train got nearer to Manhattan, John

                                                 350
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 352 of 962




 Patrick O’Neill Jr. could see the smoke billowing from the World Trade Center site.

 John Patrick O’Neill, Jr. arrived at Penn Station, and immediately ran downtown towards

 the World Trade Center. John Patrick O’Neill, Jr. made it to the vicinity of St. Vincent’s

 hospital from where he watched in horror as the first of the towers collapsed, knowing

 that his father was probably inside. From there he ran to the police station known as

 Southern District of Manhattan, First Precinct, which is approximately four blocks away

 from the Trade Center. From there he witnessed the collapse of the second tower. John

 Patrick O’Neill, Jr. repeatedly tried to call his father’s cell phone number, and could not

 get through. When he finally did get through, he only reached his father’s voicemail. He

 would have been inside his father's office and become a casualty himself had he taken an

 earlier train.

        240.        Plaintiff Christine Irene O’Neill received a call from John Patrick O’Neill,

 Sr. at 8:53 A.M., less then ten minutes after the first plane struck. He told her what had

 occurred and that he was alive and well. She turned on the television and was horrified

 as she watched the live coverage of the second plane striking and of the subsequent

 collapses of both towers.

        241.        Plaintiff Carol O’Neill is the daughter of the late John Patrick O’Neill, Sr.

 She was in her high school class in New Jersey at the time of the attacks on September

 11, 2001. When the first plane hit the World Trade Center, classes were interrupted and

 every student in the school was given access to a television to watch the events unfold.

 Soon thereafter, she watched the Second plane hit the World Trade Center, and then

 watched both Towers collapse. She knew that her father was in one of the two Towers,

 and was fearful for his life.



                                                 351
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 353 of 962




        242.        Plaintiff Dorothy A. O’Neill was the mother of John Patrick O’Neill, Sr.

 John Patrick O’Neill, Sr. was her only son. She was at her home in New Jersey at the

 time of the attacks of September 11, 2001. She was watching television when the news

 interrupted the show she was watching, to show the first plane hit the World Trade

 Center. She subsequently watched the second plane hit the World Trade Center, and then

 both Towers collapsing. She knew that her only son was in one of the two Towers, and

 was fearful for his life.

        243.        As a direct and proximate result of the willful, wrongful, intentional, and

 reckless acts of the Defendants, Plaintiffs suffered extreme emotional distress, including

 extreme mental anguish and emotional and physical pain and suffering in an amount to be

 proven at trial.

        244.        Defendants are directly and vicariously responsible for the terrorist

 hijackers’ actions, because they funded, trained and directed the terrorist hijackers and

 acted in concert in sponsoring the attack upon and subsequent collapse of the World

 Trade Center.

        245.        As a proximate result of these acts, Plaintiffs have suffered injury and loss.

         WHEREFORE, Plaintiffs demand that judgment be entered against Defendants,

 jointly and severally, in the amount of ONE HUNDRED MILLION DOLLARS

 ($100,000,000.00) in compensatory damages, plus interest, costs, punitive damages, and

 such other monetary and equitable relief as is just and proper for each Plaintiff.




                                                 352
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 354 of 962




                       AS AND FOR THE FIFTH CAUSE OF ACTION

                                            COUNT V
                          ACTION FOR LOSS OF CONSORTIUM

        246.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

        247.        As a direct and proximate result of the willful, wrongful, intentional, and

 reckless acts of the terrorist hijackers, Plaintiff Christine Irene O’Neill was deprived of

 the assistance, society, companionship, and consortium of her husband, John Patrick

 O’Neill, Sr. This caused Plaintiff Christine Irene O’Neill to suffer, among other things,

 extreme mental anguish and emotional and physical pain and suffering in an amount to be

 proven at trial.

         WHEREFORE, Plaintiffs demand that judgment be entered against Defendants,

 jointly and severally, in the amount of ONE HUNDRED MILLION DOLLARS

 ($100,000,000.00) in compensatory damages, plus interest, costs, punitive damages, and

 such other monetary and equitable relief as is just and proper for each Plaintiff.


                       AS AND FOR THE SIXTH CAUSE OF ACTION

                                            COUNT VI
                            ACTION FOR LOSS OF SOLATIUM

        248.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

        249.        As a direct and proximate result of the willful, wrongful, intentional, and

 reckless acts of the terrorist hijackers, John Patrick O’Neill, Jr., Christine Irene O’Neill,



                                                353
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 355 of 962




 Carol O’Neill and Dorothy A. O’Neill, and were deprived of the assistance, society, and

 companionship of their father, husband and son, respectively, John Patrick O’Neill, Sr.

 This loss caused John Patrick O’Neill, Jr., Christine Irene O’Neill, Carol O’Neill and

 Dorothy A. O’Neill to suffer, among other things, extreme mental anguish and emotional

 and physical pain and suffering in an amount to be proven at trial.

        250.        For the reasons stated above, and pursuant to 28 U.S.C. §1605, which

 specifically authorizes a cause of action of solatium in civil actions for money damages

 resulting from terrorist acts, Defendants are jointly and severally liable to Plaintiffs.

         WHERFORE, Plaintiffs demand that judgment be entered against Defendants,

 jointly and severally, in compensatory damages, plus interest, costs, punitive damages,

 and such other monetary and equitable relief as is just and proper for each Plaintiff, in the

 amount of ONE HUNDRED MILLION DOLLARS ($100,000,000.00) for each Plaintiff.


                    AS AND FOR THE SEVENTH CAUSE OF ACTION

                                           COUNT VII
                                         CONSPIRACY

        251.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

        252.        As set forth above, the defendants unlawfully, willfully and knowingly

 combined, conspired, confederated, aided and abetted, tacitly and/or expressly agreed to

 participate in unlawful and tortious acts pursuant to a common course of conduct,

 resulting in the death and injury of Plaintiffs.




                                                354
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 356 of 962




        253.        As set forth above, the defendants conspired with and agreed to provide

 material support, funding, sponsorship and/or resources to Al Qaeda, Osama bin Laden,

 and the sponsors of terror.

        254.        As set forth above, Defendants engaged in common, concerted and

 conspiratorial acts, efforts, transactions, and activities designed and intended to cause a

 terrorist attack on the United States, its citizens and society, and attack those foreign

 citizens found within the United States, resulting in the harm to Plaintiffs, which was

 done pursuant to and furtherance of this common scheme.

        255.        Defendants’ concert of action and conspiracy to support and promote

 Osama bin Laden and Al Qaeda were a proximate cause of the September 11, 2001,

 terrorist attacks that killed and injured the Plaintiffs.

        256.        As a result of Defendants’ concert of action and conspiracy to further

 terror, Plaintiff has suffered damages as set forth herein.

         WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants,

 jointly, severally, and/or individually, in an amount in excess of ONE HUNDRED

 MILLION DOLLARS ($100,000,000.00) in compensatory damages, plus interest,

 punitive damages, costs, and such other monetary and equitable relief as this Honorable

 Court deems appropriate to prevent Defendants from ever again committing terrorist acts.


                     AS AND FOR THE EIGHTH CAUSE OF ACTION

                                          COUNT VIII
            18 U.S.C. §2333-TREBLE DAMAGES FOR U.S. NATIONALS

        257.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

                                                355
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 357 of 962




        258.        As set forth above, Defendants, jointly, severally and proximately caused

 the deaths and injuries of Plaintiff’s person, property and business through and by reason

 of acts of international terrorism.

        259.        As set forth above, Defendants provided material support and assistance to

 Osama bin Laden, Al Qaeda and the September 11, 2001 terrorists, enabling them to

 carry out terrorist attacks on the United States, including the September 11, 2001 terrorist

 attacks.

        260.        As a result of Defendants’ acts in furtherance of international terrorism,

 Plaintiff suffered damages as set forth herein.

        261.        Pursuant to 18 U.S.C. §2333, et. seq., the estates, survivors and heirs of

 the decedents who are nationals of the United States are entitled to recover threefold the

 damages they have sustained and the cost of suit, including attorneys’ fees.

         WHEREFORE, Plaintiffs, who are nationals of the United States, demand

 judgment in their favor against all Defendants, jointly, severally, and/or individually, and

 demand treble damages in excess of THREE HUNDRED MILLION DOLLARS

 ($300,000,000.00), plus interest, costs, and such other monetary and equitable relief as

 this Honorable Court deems appropriate to prevent Defendants from ever again

 committing such terrorist acts.




                                                 356
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 358 of 962




                      AS AND FOR THE NINTH CAUSE OF ACTION

                                           COUNT IX
         VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT
                         ORGANIZATIONS ACT
                             18 U.S.C. § 1964

          262.      Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

          263.      Non-sovereign Defendants are each “persons” within the meaning of the

 Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq.

 (“RICO”).

          264.      The Defendant charities, banks, and terrorists are each an “enterprise”

 within the meaning of RICO, the activities of which affects interstate and foreign

 commerce.

          265.      The enterprise (“Radical Muslim Terrorism”) is comprised of the

 defendants named in the First Amended Complaint well as the defendants in Estate of

 John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al. (SDNY 04-CV-1922

 (RCC)) and Estate of John P. O’Neill, et al. v. Iraq, et al. (SDNY 04-CV-1076 (RCC)),

 and is a collection of the persons, organizations, businesses, and nations associated in

 fact.

          266.      Alternatively, the enterprise (“al Qaida”) is comprised of the defendants

 named in the First Amended Complaint well as the defendants in Estate of John P.

 O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al. (SDNY 04-CV-1922 (RCC)) and

 Estate of John P. O’Neill, et al. v. Iraq, et al. (SDNY 04-CV-1076(RCC)), and is a

 collection of the persons, organizations, businesses, and nations associated in fact.


                                                357
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 359 of 962




        267.        Alternatively, the enterprise (“International Islamic Front for the Jihad

 Against Jews and Crusaders”) is comprised of the defendants named in the First

 Amended Complaint well as the defendants in Estate of John P. O’Neill, Sr., et al. v.

 Kingdom of Saudi Arabia, et al. (SDNY 04-CV-1922 (RCC)) and Estate of John P.

 O’Neill, et al. v. Iraq, et al. (SDNY 04-CV-1076 (RCC)), and is a collection of the

 persons, organizations, businesses, and nations associated in fact.

        268.        “Radical Muslim Terrorism”, “al Qaida”, and “The International Islamic

 Front for Jihad against Jews and Crusaders” are each an “enterprise” within the meaning

 of RICO, the activities of which affects interstate and foreign commerce.

        269.        By virtue of the predicate acts described in this Complaint, including

 without limitations, engaging in the predicate acts of terrorism, murder, kidnapping,

 forgery, false use and misuse of passports, fraud and misuse of visas, laundering of

 monetary instruments, engaging in monetary transaction in improperly derived from

 unlawful activity, the use of interstate commerce, interstate transportation of terrorist

 property, and bringing in and harboring illegal aliens, and aiding and assisting illegal

 aliens in entering the United States, Osama bin Laden and Al Qaeda, along with other

 non-sovereign Defendants herein, transferred, received, and supplied financing and

 income that was derived, both directly and indirectly, from a pattern of racketeering

 activity in which each of them participated as a principal, and used and invested, both

 directly and indirectly, such income and the proceeds of such income, in establishing and

 operating terrorist enterprises in violation of 18 U.S.C. § 1962(b), (c) and/or (d).

        270.        The non-sovereign Defendants herein conducted or participated, directly

 or indirectly, in the conduct of the Enterprise's affairs and participated in the operation or



                                                 358
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 360 of 962




 management of the operation of the Enterprise itself. Such defendants conspired to

 conduct or participate, directly or indirectly, in the conduct of the Enterprise's affairs and

 conspired to participate in the operation or management of the operation of the Enterprise

 itself.

           271.     The Enterprise was formed and funded for the purpose of extortion: to

 force the United States, Israel, and other Western nations, and their citizens, to

 discontinue support of certain governments in the Middle East and otherwise to

 disengage from the Middle East. The extortion was carried out under the threat and

 practice of the predicate acts of murder, kidnapping, piracy, bombing, and other crimes

 directed at the citizens, business, and economic infrastructure of the target countries.

 Over time, these threats have escalated into threats and accompanying efforts to inflict

 the maximum possible damage through each such predicate act.

           272.     As a direct and proximate result of Defendants’ violation of 18 U.S.C. §

 1962(b), (c) and/or (d). , Plaintiffs suffered the loss of valuable property, financial

 services and support, and suffered other pecuniary damages in an amount to be

 determined at trial, and are entitled to bring this action pursuant to 18 U.S.C. Sec.

 1964(c).

           273.     Plaintiffs and Plaintiffs’ Decedent’s loss of business and property included

 loss of tangible and intangible personal property, loss of employment, personal effects,

 pecuniary losses, past and future wages and profits, business opportunities, personal

 property, support, funeral and burial expenses, prospective inheritance, and the other

 economic contributions that the Decedents would have made to the Plaintiffs’

 households. Such losses were intended by Defendants, whose purpose was to inflict the



                                                359
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 361 of 962




 maximum possible damage on the United States, its citizens, residents, visitors,

 businesses, and property.

        274.        The loss of life and the damages to business and property related thereto

 that resulted from the actions of the defendants are a direct causal result of the violation

 of the RICO statute, and are not a derivative claim of damage to a third party. The

 Plaintiffs, both named and as a class, were the “reasonably foreseeable victims of a RICO

 violation” and the “intended victims of the racketeering enterprise.”

        275.        Each defendant is jointly and severally liable for all damages sustained by

 each plaintiff in the loss of life and damage to business and property related thereto.

         WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants,

 jointly, severally, and/or individually, in an amount to be determined at trial, but not less

 than ONE HUNDRED MILLION DOLLARS ($100,000,000.00) and for treble damages

 in an amount in excess of THREE HUNDRED MILLION DOLLARS ($300,000,000.00)

 plus interest, costs, legal fees, and such other monetary and equitable relief as this

 Honorable Court deems appropriate to prevent Defendants from ever again committing

 such terrorist acts.


                      AS AND FOR THE TENTH CAUSE OF ACTION

                                            COUNT X
                            ACTION FOR PUNITIVE DAMAGES

        276.        Plaintiffs repeat, allege and hereby incorporate by reference the preceding

 allegations as though the same were fully and completely set forth herein.

        277.        The actions of Defendants, acting in concert to carry out their unlawful

 objectives, were malicious and willful, wanton and reckless in their disregard of the life

                                                360
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 362 of 962




 of John Patrick O’Neill, Sr. and the other victims of the September 11 terrorist attacks.

 Defendants intended to carry out actions that would end the lives of persons at the World

 Trade Center, including the life of John Patrick O’Neill, Sr.

        278.        Defendants Saddam Hussein, the Estate of Qusay Hussein, the Estate of

 Uday Hussein, Husham Hussein, Tahya Yassin Ramadan, Muhammed Madhi Salah,

 Faruq Al-Hijazi, Salah Suleiman, Ahmed Khalil Ibrahim Samir al-Ani, Habib Faris

 Adullah al-Mamouri, Abdel Hussein, a/k/a “The Ghost,” Osama Bin Laden, Saad Bin

 Laden, Haqui Ismail, Taha Al Alwani, Abu Agab, and Abu Waiel, Osama Bin Laden,

 The Al Qaeda Islamic Agency, Egyptian Islamic Jihad, Abu Sayyaf, Hamsiraji Sali, Abu

 Musab Zarqawi, Abu Zubaydh, Khalid Sheikh Mohammed, Abu Abdul Rahman,

 Mohammed Jasmin al-Ali, Schreiber & Zindel, Dr. Frank Zindel, Engelbert Schreiber,

 Engelbert Schreiber, Jr., Martin Wachter, Erwin Wachter, Sercor Treuhand Anstalt,

 Abdul Rahman Yasin, Ahmad I. Nasreddin, Al Taqwa Bank, Al Taqwa Trade, Property,

 and Industry, Ltd., Al-Gammah Al Islamiah, Ayman al-Zawahiri, Albert Freidrich

 Armand Huber a/k/a/ “Armand Huber,” Ali Ghaleb Himmat, Asat Trust Reg., Nada

 Management Organization, S.A., Yousef M. Nada, Yousef M. Nada & Co, Gesellschaft,

 M.B.H, Barzan e-Tikriti, Metalor, Banca del Gottardo, Abdulaziz al Omari, Wail al

 Shehri, Waleed M. Al Shehri, Satam M.A. al Squami, Mohammed Atta, Fayez Ahmed

 a/k/a Banihammad Fayez, Ahmed al-Ghamdi, Hamza al-Ghamdi, Marwan al-Shehhi,

 Mohald al-Shehri, Khalid al-Midhar, Nawaf al-Hazmi, Salem al-Hazmi, Hani Hanjour,

 Majed Moqued, Saeed al Ghamdi, Ahmed Ibrahim A. al Haznawi, Ahmed al Nami, Ziad

 Samir Jarrah, Zaracias Moussaui, Muhammad Atef, The Taliban, Muhammad Omar,

 Muslim Brotherhood – Syrian Branch, Muslim Brotherhood – Egyptian Branch, Muslim



                                              361
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 363 of 962




 Brotherhood – Jordanian Branch, Muslim Brotherhood – Kuwaiti Branch, Muslim

 Brotherhood – Iraqi Branch, Iranian Ministry of Intelligence and Security (MOIS),

 Iranian Revolutionary Guard Corps, Iranian Revolutionary Guard Corps – Qods Division,

 Akida Bank Private Limited, Akida Investment Co. Ltd, Nasco Business Residence,

 CenterSAS DI Nasreddin Ahmed Idris EC, Nasco Nasreddin Holding A.S., Nascoservice

 S.R. L., Nascotex S.A., Nasreddin Company Nasco SAS DI Ahmed Idris Nasreddin EC,

 Nasreddin Foundation, Nasreddin Group International Holding Limited, Nasreddin

 International Group Limited Holding, Abu Hafs the Maritanian, Saif al-Adil. Imad

 Mughniyeh, Hezbollah Secretary General Hassan Nasrallah, Iranian Supreme Leader

 Ayatollah Ali Khamenei, Usbat al-Ansar, Ahmad Vahedi, Hossein Mosleh, Morteza

 Reza’i, Salah Hajir and Adib Sha’ban a/k/a Adeeb Shabaan, Hezbollah, Iranian Minister

 of Intelligence and Security Ali Fallahian, Iranian Revoluntionary Guard Corpos Deputy

 Commander Brig General Mohammad Baqer Zolqadr, Ayman al-Zawarhiri, Ali Ghaleb

 Himmat, Nada International Anstalt, Youssef M. Nada & Co., and John Does 1-67,

 caused the extrajudicial killing of John Patrick O’Neill, Sr.

        279.        For the reasons stated above, and pursuant to 28 U.S.C. §1605 note and 28

 U.S.C. §1606, which specifically authorizes a cause of action for punitive damages in

 civil actions for money damages resulting from terrorist acts, Defendants are jointly and

 severally liable to Plaintiffs.

         WHEREFORE, Plaintiffs collectively demand that judgment in their favor be

 entered against Defendants, jointly and severally, in the amount of ONE BILLION

 DOLLARS ($1,000,000,000.00) in punitive damages, costs, and such other monetary and




                                               362
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 364 of 962




 equitable relief as this Court deems appropriate to prevent Defendants from ever again

 committing terrorist acts.


       ADDITIONAL PLAINTIFFS’ COUNTS AND REQUESTED RELIEF
                                   AGAINST THE TALIBAN

        280.        Additional Plaintiffs in Appendix 1 repeat, allege, incorporate by

 reference and adopt the preceding and forthcoming allegations and Causes of Action I

 through X against the Taliban and seek comparable relief to the O’Neill Plaintiffs in

 amounts to be determined at trial against the Taliban arising out of the death or injury of

 a 9/11 Victim as set forth in Appendix 1.

         WHEREFORE, Additional Plaintiffs in Appendix 1 collectively demand that

 judgment in their favor be entered against the Taliban, jointly and severally, in the

 amount of ONE TRILLION DOLLARS ($1,000,000,000,000.00) in compensatory

 damages, plus pre- and post-interest, punitive damages, costs and expenses, attorneys’

 fees, treble damages and such other monetary and equitable relief as this Court deems

 appropriate to prevent the Taliban from ever again committing terrorist acts.


                                     RELIEF REQUESTED

        281.        WHEREFORE, Plaintiffs request that the court grant judgment in their

 favor and against Defendants, jointly and severally, on Counts I through X, and grant

 plaintiffs:

                a.          Compensatory Damages against Defendants, for each cause of

                    action in the amounts described above, including Counts I, II, III, IV, V,

                    VI, VII, and IX, as established at trial;



                                                  363
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 365 of 962




                b.          Punitive damages against Defendants, as provided for in Counts I-

                     VII, and X, inclusive, in the amount of ONE BILLION DOLLARS

                     ($1,000,000,000.00), as determined by the trier of fact;

                c.          Treble damages as provided for by law as to counts VIII and IX;

                d.          Reasonable costs and expenses;

                e.          For prejudgment and post-judgment interest on those damages as

                     allowed by law;

                f.          Reasonable attorneys’ fees; and,

                g.          Such other and further relief that the court may determine to be just

                     and equitable under the circumstances.


     Dated: October 28, 2022
                                               Respectfully submitted,

                                               /s/ Jerry S. Goldman
                                               Jerry S. Goldman, Esquire
                                               Bruce Strong, Esquire
                                               Hon. Ethan Greenberg (ret.)
                                               Alexander Greene, Esquire
                                               ANDERSON KILL P.C.
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                                               egreenberg@andersonkill.com
                                               agreene@andersonkill.com

                                               Attorneys for the Plaintiffs




                                                 364
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 366 of 962




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 __________________________________________x

 In re Terrorist Attacks on September 11, 2001                       03 MDL 1570
 __________________________________________x


 ___________________________________________
                                                       :
 ESTATE OF JOHN P. O’NEILL, et al.,                    :
                  Plaintiffs,                          :             2004 CV 1076
                                                       :
                    v.                                 :             DEMAND
                                                       :             FOR JURY TRIAL
                                                       :
 REPUBLIC OF IRAN, et. al.                             :
                   Defendants.                         :
 ___________________________________                  _:


          Plaintiffs hereby demands trial by jury pursuant to the Federal Rules of Civil

 Procedure, Rule 38(b) on all issues properly heard by a jury.




 Dated:    October 28, 2022



                                             By /s/ Jerry S. Goldman
                                                Jerry S. Goldman, Esquire
                                                ANDERSON KILL P.C.
                                                1251 Avenue of the Americas
                                                New York, New York 10020
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                                                jgoldman@andersonkill.com

                                                  Attorneys for the Plaintiffs




                                            365
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 367 of 962




                                       APPENDIX 1

 1.        Erik K. Aamoth, individually, as surviving sibling of Gordon McCannel Aamoth,
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Erik K.
 Aamoth is a resident of Minnesota. Gordon McCannel Aamoth, Jr. is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2.     Gordon Aamoth, Sr., individually, as surviving parent of Gordon McCannel
 Aamoth, Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Gordon Aamoth, Sr. is a resident of Minnesota. Gordon McCannel Aamoth, Jr. is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3.        Gordon Aamoth, Sr., as the Personal Representative of the Estate of Gordon
 McCannell Aamoth, Jr., deceased, on behalf of the Estate, and on behalf of all survivors
 and all legally entitled beneficiaries and family members of Gordon McCannel Aamoth,
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Gordon
 Aamoth, Sr. is a resident of Minnesota. Gordon McCannel Aamoth, Jr. is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 4.        Mary Aamoth, individually, as surviving parent of Gordon McCannel Aamoth,
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Mary
 Aamoth is a resident of Minnesota. Gordon McCannel Aamoth, Jr. is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 5.        Peter Aamoth, individually, as surviving sibling of Gordon McCannel Aamoth,
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Peter
 Aamoth is a resident of Minnesota. Gordon McCannel Aamoth, Jr. is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 6.      Lloyd A. Abel Jr., individually, as surviving sibling of Laurence C. Abel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lloyd A. Abel Jr. is
 a resident of New York. Laurence C. Abel is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 7.      Lloyd A. Abel Sr., individually, as surviving parent of Laurence C. Abel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lloyd A. Abel Sr. is
 a resident of New York. Laurence C. Abel is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                            366
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 368 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 8.      Lloyd A. Abel Sr., as the Personal Representative of the Estate of Laurence C.
 Abel, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Laurence C. Abel, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lloyd A. Abel Sr. is a resident of
 New York. Laurence C. Abel is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 9.      Roberta Agyeman, individually, as surviving child of Sophia Addo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Roberta Agyeman is a
 resident of New York. Sophia Addo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 10.     Joseph Ameyaw, individually, as surviving spouse of Sophia Addo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joseph Ameyaw is a resident
 of New York. Sophia Addo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 11.     BNY Mellon, as the Personal Representative of the Estate of Sophia Addo,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Sophia Addo, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Sophia Addo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 12.    Angeli Ylanan Agarwala, individually, as surviving child of Mukul Kumar
 Agarwala, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Angeli Ylanan Agarwala is a resident of New Jersey. Mukul Kumar Agarwala is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 13.     Robert Langdon, as Personal Representative of the Estate of Edward Ahearn,
 deceased, the late parent of Lt. Brian G. Ahearn, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Robert Langdon, as Personal Representative of the
 Estate of Edward Ahearn is a resident of New York. Lt. Brian G. Ahearn is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.



                                            367
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 369 of 962




 14.     Elizabeth A. Ahearn, individually, as surviving sibling of Lt. Brian G. Ahearn, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth A.
 Ahearn is a resident of New York. Lt. Brian G. Ahearn is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 15.     Debra Ahearn, as the Personal Representative of the Estate of Brian G. Ahearn,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Lt. Brian G. Ahearn, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Debra Ahearn is a resident of New York. Lt.
 Brian G. Ahearn is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 16.     June Ahearn, individually, as surviving parent of Lt. Brian G. Ahearn, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. June Ahearn is a
 resident of Florida. Lt. Brian G. Ahearn is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 17.     Jeba Ahmed, individually, as surviving spouse of Shabbir Ahmed, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jeba Ahmed is a resident of
 New York. Shabbir Ahmed is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 18.     Nadia Ahmed, individually, as surviving child of Shabbir Ahmed, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nadia Ahmed is a resident of
 New York. Shabbir Ahmed is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 19.     Thanbir Ahmed, individually, as surviving child of Shabbir Ahmed, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thanbir Ahmed is a resident
 of New York. Shabbir Ahmed is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 20.      Salma Ahmed-Green, individually, as surviving child of Shabbir Ahmed, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Salma Ahmed-Green
 is a resident of New York. Shabbir Ahmed is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                            368
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 370 of 962




 21.     Abdul Mosobbir, individually, as surviving sibling of Shabbir Ahmed, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Abdul Mosobbir is a
 resident of New York. Shabbir Ahmed is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 22.     Jeba Ahmed, as the Personal Representative of the Estate of Shabbir Ahmed,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Shabbir Ahmed, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jeba Ahmed is a resident of New York. Shabbir
 Ahmed is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 23.     Andrew Albero, individually, as surviving sibling of Gary Albero, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Andrew Albero is a resident
 of New Jersey. Gary Albero is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 24.     Aracelis Albero, individually, as surviving spouse of Gary Albero, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Aracelis Albero is a resident
 of New Jersey. Gary Albero is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 25.     Aracelis Albero, as the Personal Representative of the Estate of Gary Albero,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Gary Albero, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Aracelis Albero is a resident of New Jersey. Gary
 Albero is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 26.     Kevin Albero, individually, as surviving sibling of Gary Albero, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Albero is a resident of
 New Jersey. Gary Albero is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 27.     Michael A. Albero, individually, as surviving child of Gary Albero, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael A. Albero is a
 resident of New Jersey. Gary Albero is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                             369
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 371 of 962




 28.     Kevin Albero and Andrew Albero as co-Personal Representatives of the Estate of
 Andrew P. Albero, deceased, the late parent of Gary Albero, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Kevin Albero and Andrew Albero as co-
 Personal Representatives of the Estate of Andrew P. Albero are residents of New Jersey.
 Gary Albero is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 29.     Patricia Albero (c/o Attorney-in-Fact, Fred Corrado), individually, as surviving
 parent of Gary Albero, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Patricia Albero (c/o Attorney-in-Fact, Fred Corrado) is a resident of Florida. Gary
 Albero is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 30.      Willie Aldridge Jr., individually, as surviving sibling of Jacquelyn D. Aldridge, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Willie Aldridge Jr.
 is a resident of Georgia. Jacquelyn D. Aldridge is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 31.     Delores Aldridge a/k/a Delores Aldridge Essuon, individually, as surviving
 sibling of Jacquelyn D. Aldridge, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Delores Aldridge a/k/a Delores Aldridge Essuon is a resident of
 Georgia. Jacquelyn D. Aldridge is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 32.     Marjorie Aldridge-Holder, individually, as surviving sibling of Jacquelyn D.
 Aldridge, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Marjorie Aldridge-Holder is a resident of Georgia. Jacquelyn D. Aldridge is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 33.     Lafayette Frederick, individually, as surviving spouse of Jacquelyn D. Aldridge,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Lafayette
 Frederick is a resident of North Carolina. Jacquelyn D. Aldridge is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 34.     Lafayette Frederick, as the Personal Representative of the Estate of Jacquelyn D.
 Aldridge, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Jacquelyn D. Aldridge, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lafayette Frederick is a resident of
 North Carolina. Jacquelyn D. Aldridge is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                             370
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 372 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 35.     Barry Allen, individually, as surviving sibling of Eric Allen, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Barry Allen is a resident of New
 Jersey. Eric Allen is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 36.    Marian Allen, individually, as surviving sibling of Eric Allen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marian Allen is a resident of
 Florida. Eric Allen is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 37.     Barry Allen as Personal Representative of the Estate of Edward Allen , deceased,
 the late sibling of Eric Allen, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Barry Allen as Personal Representative of the Estate of Edward
 Allen is a resident of New Jersey. Eric Allen is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 38.     Barry Allen as Personal Representative of the Estate of Laetita "Letty" Allen,
 deceased, the late parent of Eric Allen, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Barry Allen as Personal Representative of the Estate of Laetita
 "Letty" Allen is a resident of New Jersey. Eric Allen is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 39.     Denise Allen, individually, as surviving parent of Richard L. Allen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Denise Allen is a resident of
 New York. Richard L. Allen is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 40.     Denise Allen, as the Personal Representative of the Estate of Richard L. Allen,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Richard L. Allen, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Denise Allen is a resident of New York. Richard
 L. Allen is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 41.     Richard Allen, individually, as surviving parent of Richard L. Allen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Richard Allen is a resident of
 New York. Richard L. Allen is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                              371
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 373 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 42.     Robert C. Alonso, individually, as surviving spouse of Janet Alonso, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Robert C. Alonso is a
 resident of New York. Janet Alonso is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 43.     Robert C. Alonso, as the Personal Representative of the Estate of Janet Alonso,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Janet Alonso, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Robert C. Alonso is a resident of New York. Janet
 Alonso is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 44.     Victoria Alonso, individually, as surviving child of Janet Alonso, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Victoria Alonso is a resident
 of New York. Janet Alonso is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 45.      Robert C. Alonso Jr., individually, as surviving child of Janet Alonso, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert C. Alonso Jr.
 is a resident of New York. Janet Alonso is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 46.     Karen Banyo, individually, as surviving sibling of Janet Alonso, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karen Banyo is a resident of
 New York. Janet Alonso is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 47.     Cheryl A. Russo, individually, as surviving sibling of Janet Alonso, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Cheryl A. Russo is a resident
 of New York. Janet Alonso is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 48.     Filiberta Barragan, individually, as surviving spouse of Antonio J. Alvarez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Filiberta Barragan is
 a resident of New York. Antonio J. Alvarez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

                                             372
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 374 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 49.     Giovanni Javier, individually, as surviving child of Antonio J. Alvarez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Giovanni Javier is a
 resident of New York. Antonio J. Alvarez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 50.     BNY Mellon, as the Personal Representative of the Estate of Antonio J. Alvarez,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Antonio J. Alvarez, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. BNY Mellon is a resident of New York. Antonio
 J. Alvarez is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 51.      Anthony Amatuccio, individually, as surviving sibling of Joseph Amatuccio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Amatuccio
 is a resident of Minnesota. Joseph Amatuccio is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 52.     Antoinette Amatuccio a/k/a Antoinette R. Callori, individually, as surviving
 sibling of Joseph Amatuccio, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Antoinette Amatuccio a/k/a Antoinette R. Callori is a resident of
 Pennsylvania. Joseph Amatuccio is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 53.     Debra Amatuccio, individually, as surviving spouse of Joseph Amatuccio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Debra Amatuccio is
 a resident of New York. Joseph Amatuccio is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 54.     Debra Amatuccio, as the Personal Representative of the Estate of Joseph
 Amatuccio, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Joseph Amatuccio, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Debra Amatuccio is a
 resident of New York. Joseph Amatuccio is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                            373
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 375 of 962




 55.     Dina Amatuccio, individually, as surviving child of Joseph Amatuccio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dina Amatuccio is a
 resident of New York. Joseph Amatuccio is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 56.     Joseph Amatuccio, individually, as surviving child of Joseph Amatuccio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Amatuccio is
 a resident of New York. Joseph Amatuccio is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 57.     Karen Amundson, individually, as surviving parent of Spc. Craig Amundson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Karen Amundson is
 a resident of Missouri. Spc. Craig Amundson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 58.     Orland Amundson, individually, as surviving parent of Spc. Craig Amundson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Orland Amundson is
 a resident of Missouri. Spc. Craig Amundson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 59.     Ryan Amundson, individually, as surviving sibling of Spc. Craig Amundson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ryan Amundson is a
 resident of Missouri. Spc. Craig Amundson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 60.     Amber A. Amundson, as the Personal Representative of the Estate of Spc. Craig
 Amundson, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Spc. Craig Amundson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Amber A. Amundson is a
 resident of New Mexico. Spc. Craig Amundson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 61.     Rachel Dana Aron Weiner, individually, as surviving spouse of Joshua Aron, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rachel Dana Aron
 Weiner is a resident of Pennsylvania. Joshua Aron is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                            374
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 376 of 962




 62.     Rachel Dana Aron Weiner, as the Personal Representative of the Estate of Joshua
 Aron, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Joshua Aron, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Rachel Dana Aron Weiner is a resident of
 Pennsylvania. Joshua Aron is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 63.     Carl Asaro, individually, as surviving child of Carl Asaro, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Carl Asaro is a resident of New York.
 Carl Asaro is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 64.    Heloiza Asaro, individually, as surviving spouse of Carl Asaro, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Heloiza Asaro is a resident of
 New York. Carl Asaro is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 65.     Heloiza Asaro, as the Personal Representative of the Estate of Carl Asaro,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Carl Asaro, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Heloiza Asaro is a resident of New York. Carl
 Asaro is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 66.     Marc Asaro, individually, as surviving child of Carl Asaro, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Marc Asaro is a resident of New
 York. Carl Asaro is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 67.     Matthew Asaro, individually, as surviving child of Carl Asaro, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Matthew Asaro is a resident
 of New York. Carl Asaro is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 68.     Phillip Asaro, individually, as surviving child of Carl Asaro, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Phillip Asaro is a resident of New
 York. Carl Asaro is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 69.    Rebecca Asaro, individually, as surviving child of Carl Asaro, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rebecca Asaro is a resident

                                              375
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 377 of 962




 of New York. Carl Asaro is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 70.     Jason Audiffred, individually, as surviving child of James Audiffred, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jason Audiffred is a resident
 of Florida. James Audiffred is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 71.     Robin Audiffred, individually, as surviving spouse of James Audiffred, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robin Audiffred is a
 resident of New York. James Audiffred is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 72.     Robin Audiffred, as the Personal Representative of the Estate of James Audiffred,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of James Audiffred, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Robin Audiffred is a resident of New York. James
 Audiffred is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 73.     Antonio Aversano, individually, as surviving child of Louis F. Aversano Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Antonio Aversano is
 a resident of California. Louis F. Aversano Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 74.     Doris Aversano, individually, as surviving spouse of Louis F. Aversano Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Doris Aversano is a
 resident of New Jersey. Louis F. Aversano Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 75.     Doris Aversano, as the Personal Representative of the Estate of Louis F. Aversano
 Jr., deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Louis F. Aversano Jr., is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Doris Aversano is a resident of New Jersey.
 Louis F. Aversano Jr. is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.



                                              376
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 378 of 962




 76.      Rosemary Aversano, individually, as surviving child of Louis F. Aversano Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rosemary Aversano
 is a resident of New York. Louis F. Aversano Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 77.     Lisa R. Procaccio, individually, as surviving child of Louis F. Aversano Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lisa R. Procaccio is
 a resident of New Jersey. Louis F. Aversano Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 78.     Leyda Colon-Ayala, individually, as surviving spouse of Samuel (Sandy) Ayala,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Leyda Colon-
 Ayala is a resident of New York. Samuel (Sandy) Ayala is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 79.     Leyda Colon-Ayala, as the Personal Representative of the Estate of Samuel
 (Sandy) Ayala, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Samuel (Sandy) Ayala, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Leyda Colon-Ayala is a
 resident of New York. Samuel (Sandy) Ayala is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 80.     Samantha Ayala, individually, as surviving child of Samuel (Sandy) Ayala, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Samantha Ayala is a
 resident of Kentucky. Samuel (Sandy) Ayala is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 81.     Vincent Babakitis, individually, as surviving child of Arlene T. Babakitis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Vincent Babakitis is
 a resident of New Jersey. Arlene T. Babakitis is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 82.     James Babakitis, as the Personal Representative of the Estate of Arlene T.
 Babakitis, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Arlene T. Babakitis, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. James Babakitis is a resident of New
 Jersey. Arlene T. Babakitis is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             377
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 379 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 83.     Evelyn Pettignano, individually, as surviving sibling of Arlene T. Babakitis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Evelyn Pettignano is
 a resident of New Jersey. Arlene T. Babakitis is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 84.     Evelyn Pettignano and Karen Reoch, as co-Personal Representatives of the Estate
 of Sadie Reoch, deceased, the late parent of Arlene T. Babakitis, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Karen Reoch, as co-Personal
 Representative of the Estate of Sadie Reoch is a resident of New York. Evelyn
 Pettignano, as co-Personal Representative of the Estate of Sadie Reoch is a resident of
 New Jersey. Arlene T. Babakitis is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 85.     Karen Ann Reoch, individually, as surviving sibling of Arlene T. Babakitis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Karen Ann Reoch is
 a resident of New York. Arlene T. Babakitis is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 86.     Laura Baierwalter, individually, as surviving spouse of Robert J. Baierwalter, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Laura Baierwalter is
 a resident of New York. Robert J. Baierwalter is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 87.     Laura Baierwalter, as the Personal Representative of the Estate of Robert J.
 Baierwalter, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Robert J. Baierwalter, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Laura Baierwalter is a
 resident of New York. Robert J. Baierwalter is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 88.     Raymond Baierwalter, individually, as surviving child of Robert J. Baierwalter, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Raymond
 Baierwalter is a resident of New York. Robert J. Baierwalter is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.


                                            378
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 380 of 962




 89.      Richard Baierwalter, individually, as surviving child of Robert J. Baierwalter, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Richard Baierwalter
 is a resident of New York. Robert J. Baierwalter is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 90.     Veronica Baierwalter, individually, as surviving child of Robert J. Baierwalter, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Veronica
 Baierwalter is a resident of New York. Robert J. Baierwalter is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 91.     Maureen Schlowinski, individually, as surviving sibling of Robert J. Baierwalter,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen
 Schlowinski is a resident of New York. Robert J. Baierwalter is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 92.     Daniel Barnes, individually, as surviving sibling of Matthew Barnes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daniel Barnes is a resident of
 New York. Matthew Barnes is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 93.     Denise Barnes, individually, as surviving sibling of Matthew Barnes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Denise Barnes is a resident of
 New York. Matthew Barnes is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 94.     Jesse Barnes, individually, as surviving child of Matthew Barnes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jesse Barnes is a resident of
 New York. Matthew Barnes is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 95.      Matthew Barnes Jr., individually, as surviving child of Matthew Barnes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew Barnes Jr.
 is a resident of New York. Matthew Barnes is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                             379
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 381 of 962




 96.     Russell Barnes, individually, as surviving sibling of Matthew Barnes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Russell Barnes is a resident
 of New York. Matthew Barnes is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 97.     Suzanne Barnes, individually, as surviving sibling of Matthew Barnes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Suzanne Barnes is a
 resident of South Carolina. Matthew Barnes is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 98.     Thomas Barnes, individually, as surviving child of Matthew Barnes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas Barnes is a resident
 of New York. Matthew Barnes is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 99.      Susan Barnes-Ford, individually, as surviving spouse of Matthew Barnes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Susan Barnes-Ford
 is a resident of New York. Matthew Barnes is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 100. Susan Barnes-Ford, as the Personal Representative of the Estate of Matthew
 Barnes, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Matthew Barnes, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Susan Barnes-Ford is a resident of
 New York. Matthew Barnes is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 101. John Doe 104, as the Personal Representative of the Estate of Yvette Mell,
 deceased, the late parent of Matthew Barnes, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Matthew Barnes is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 102. Ricardo Barnes, individually, as surviving spouse of Sheila P. Barnes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ricardo Barnes is a
 resident of New York. Sheila P. Barnes is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             380
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 382 of 962




 103. Ricardo Barnes, as the Personal Representative of the Estate of Sheila P. Barnes,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Sheila P. Barnes, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Ricardo Barnes is a resident of New York. Sheila P.
 Barnes is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 104. Christine Barnes-Murrell, individually, as surviving child of Sheila P. Barnes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christine Barnes-
 Murrell is a resident of New York. Sheila P. Barnes is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 105. Zulema Barnes-Robinson, individually, as surviving child of Sheila P. Barnes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Zulema Barnes-
 Robinson is a resident of New York. Sheila P. Barnes is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 106. Elizabeth a/k/a Betty Bennett, individually, as surviving parent of Eric L. Bennett,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth a/k/a
 Betty Bennett is a resident of Michigan. Eric L. Bennett is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 107. Elizabeth a/k/a Betty Bennett, as the Personal Representative of the Estate of Eric
 L. Bennett, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Eric L. Bennett, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Elizabeth a/k/a Betty Bennett is a resident of
 Michigan. Eric L. Bennett is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 108. Kimberly Ann Bennett, individually, as surviving sibling of Eric L. Bennett, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kimberly Ann
 Bennett is a resident of Michigan. Eric L. Bennett is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 109. Terry Bennett, individually, as surviving parent of Eric L. Bennett, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Terry Bennett is a resident of
 Michigan. Eric L. Bennett is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                             381
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 383 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 110. William J. Biggart, individually, as surviving child of William G. Biggart, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William J. Biggart is
 a resident of Washington. William G. Biggart is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 111. Elizabeth Linker, individually, as surviving sibling of William G. Biggart, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Linker is a
 resident of New York. William G. Biggart is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 112. Margaret Burke a/k/a Margaret Burke, individually, as surviving sibling of
 William G. Biggart, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Margaret Burke a/k/a Margaret Burke is a resident of New York. William G.
 Biggart is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 113. William Bishop, individually, as surviving child of George Bishop, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. William Bishop is a resident
 of New Jersey. George Bishop is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 114. John Doe 4, being intended to designate the Personal Representative of the Estate
 of George Bishop, deceased, said name being fictitious, her/his true name is not presently
 known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of George Bishop, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. George Bishop is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 115. John Doe 5, being intended to designate the Personal Representative of the Estate
 of Carrie R. Blagburn, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Carrie R. Blagburn, is a Plaintiff seeking justice for the tragic events

                                             382
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 384 of 962




 of September 11, 2001. Carrie R. Blagburn is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 116. Kevin Smith, individually, as surviving child of Carrie R. Blagburn, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Smith is a resident of
 Texas. Carrie R. Blagburn is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 117. Kim Williams, individually, as surviving child of Carrie R. Blagburn, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kim Williams is a resident of
 Maryland. Carrie R. Blagburn is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 118. Esther Jackson-Blanding, as the Personal Representative of the Estate of
 Alexander Blanding, deceased, the late sibling of Harry J. Blanding, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Esther Jackson-Blanding, as the
 Personal Representative of the Estate of Alexander Blanding is a resident of California.
 Harry J. Blanding is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 119. Dorothy Blanding, individually, as surviving parent of Harry J. Blanding, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dorothy Blanding is
 a resident of New Jersey. Harry J. Blanding is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 120. Carol Boccardi, individually, as surviving parent of Michael A. Boccardi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carol Boccardi is a
 resident of New York. Michael A. Boccardi is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 121. Carol Boccardi, as the co-Personal Representative of the Estate of Michael A.
 Boccardi, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Michael A. Boccardi, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Carol Boccardi is a resident of New
 York. Michael A. Boccardi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                             383
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 385 of 962




 122. Michelle Bronson, as Personal Representative of the Estate of Michael R.
 Boccardi, deceased, the late parent of Michael A. Boccardi, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Michelle Bronson, as Personal
 Representative of the Estate of Michael R. Boccardi, is a resident of New York. Michael
 A. Boccardi is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 123. Roya Bolourchi Touran, individually, as surviving child of Touran (Touri)
 Bolourchi, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Roya
 Bolourchi Touran is a resident of Massachusetts. Touran (Touri) Bolourchi is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 124. John Doe 67, being intended to designate the Personal Representative of the
 Estate of Touran (Touri) Bolourchik, deceased, said name being fictitious, her/his true
 name is not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Touran (Touri) Bolourchi, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. John Doe 67 is a resident of California. Touran
 (Touri) Bolourchi is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 125. Kathryn B. Agugliaro, individually, as surviving parent of Frank J. Bonomo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathryn B.
 Agugliaro is a resident of Florida. Frank J. Bonomo is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 126. Joseph Anthony Bonomo, individually, as surviving child of Frank J. Bonomo, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Anthony
 Bonomo is a resident of New York. Frank J. Bonomo is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 127. Juliana Rose Bonomo, individually, as surviving child of Frank J. Bonomo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Juliana Rose
 Bonomo is a resident of New York. Frank J. Bonomo is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 128. Margarite Bonomo, individually, as surviving spouse of Frank J. Bonomo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Margarite Bonomo

                                              384
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 386 of 962




 is a resident of New York. Frank J. Bonomo is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 129. Margarite Bonomo, as the Personal Representative of the Estate of Frank J.
 Bonomo, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Frank J. Bonomo, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Margarite Bonomo is a resident of
 New York. Frank J. Bonomo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 130. Lenore B. Williams, individually, as surviving sibling of Frank J. Bonomo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lenore B. Williams
 is a resident of Florida. Frank J. Bonomo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 131. Alexandra Bowen, individually, as surviving child of Donna Bowen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alexandra Bowen is a
 resident of Florida. Donna Bowen is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 132. Anastasia Bowen, individually, as surviving child of Donna Bowen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Anastasia Bowen is a resident
 of Florida. Donna Bowen is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 133. Eugene Bowen, individually, as surviving spouse of Donna Bowen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eugene Bowen is a resident
 of Florida. Donna Bowen is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 134. Eugene Bowen, as the Personal Representative of the Estate of Donna Bowen,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Donna Bowen, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Eugene Bowen is a resident of Florida. Donna
 Bowen is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.


                                            385
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 387 of 962




 135. Eugene Bowen Jr., individually, as surviving child of Donna Bowen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eugene Bowen Jr. is a
 resident of Florida. Donna Bowen is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 136. Dior P. Gordon, individually, as surviving child of Veronique N. Bowers, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dior P. Gordon is a
 resident of New York. Veronique N. Bowers is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 137. John Doe 115, being intended to designate the Personal Representative of the
 Estate of Veronique N. Bowers, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Veronique N. Bowers, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Veronique N. Bowers is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 138. Jeffery M. Bright, individually, as surviving sibling of Gary L. Bright, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jeffery M. Bright is
 a resident of Tennessee. Gary L. Bright is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 139. Jeffery M. Bright, as the Personal Representative of the Estate of Gary L. Bright,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Gary L. Bright, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jeffery M. Bright is a resident of Tennessee. Gary
 L. Bright is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 140. John Doe 124 as Personal Representative of the Estate of William Bright,
 deceased, the late parent of Gary L. Bright, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Gary L. Bright is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 141. Michael Hornback II, as Personal Representative of the Estate of Michelle L.
 Hornback, deceased, the late sibling of Gary L. Bright, is a Plaintiff seeking justice for

                                              386
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 388 of 962




 the tragic events of September 11, 2001. Michael Hornback II, as Personal
 Representative of the Estate of Michelle L. Hornback is a resident of Indiana. Gary L.
 Bright is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 142. Andrea Caballero Valadez, individually, as surviving sibling of Daniel M.
 Caballero, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Andrea Caballero Valadez is a resident of Texas. Daniel M. Caballero is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 143. Andres Caballero, individually, as surviving parent of Daniel M. Caballero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andres Caballero is
 a resident of Texas. Daniel M. Caballero is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 144. Claudia Caballero, individually, as surviving sibling of Daniel M. Caballero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Claudia Caballero is
 a resident of Texas. Daniel M. Caballero is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 145. Maria Caballero, individually, as surviving parent of Daniel M. Caballero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Caballero is a
 resident of Texas. Daniel M. Caballero is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 146. Maria Caballero, as the Personal Representative of the Estate of Daniel M.
 Caballero, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Daniel M. Caballero, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Maria Caballero is a resident of
 Texas. Daniel M. Caballero is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 147. Jamie Cachia, individually, as surviving sibling of Brian Cachia, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jamie Cachia is a resident of
 Texas. Brian Cachia is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.



                                             387
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 389 of 962




 148. Sabrina C. Spencer, individually, as surviving parent of Brian Cachia, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sabrina C. Spencer
 is a resident of New York. Brian Cachia is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 149. Joseph Cachia, individually, as surviving parent of Brian Cachia, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joseph Cachia is a resident of
 Florida. Brian Cachia is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 150. Joseph Cachia, as the Personal Representative of the Estate of Brian Cachia,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Brian Cachia, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Joseph Cachia is a resident of Florida. Brian Cachia
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 151. Alexander Calabro, individually, as surviving child of Salvatore B. Calabro, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexander Calabro
 is a resident of New Jersey. Salvatore B. Calabro is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 152. Daniel Calabro, individually, as surviving child of Salvatore B. Calabro, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel Calabro is a
 resident of New Jersey. Salvatore B. Calabro is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 153. Francine Calabro, individually, as surviving spouse of Salvatore B. Calabro, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Francine Calabro is
 a resident of New Jersey. Salvatore B. Calabro is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 154. Francine Calabro, as the Personal Representative of the Estate of Salvatore B.
 Calabro, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Salvatore B. Calabro, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Francine Calabro is a resident of New
 Jersey. Salvatore B. Calabro is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                            388
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 390 of 962




 155. Carl Calabro, individually, as surviving sibling of Salvatore B. Calabro, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carl Calabro is a
 resident of New York. Salvatore B. Calabro is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 156. Martin Armstrong, individually, as surviving sibling of Felix Calixte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Martin Armstrong is a
 resident of Colorado. Felix Calixte is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 157. Rhonda Branch, individually, as surviving sibling of Felix Calixte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rhonda Branch is a resident
 of U.S. Virgin Islands . Felix Calixte is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 158. Peter Anderson Calixte, individually, as surviving sibling of Felix Calixte, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter Anderson
 Calixte is a resident of U.S. Virgin Islands. Felix Calixte is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 159. Marguerite Calixte-Williams, individually, as surviving parent of Felix Calixte, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Marguerite
 Calixte-Williams is a resident of Colorado. Felix Calixte is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 160. Marguerite Calixte-Williams, as the Co-Personal Representative of the Estate of
 Felix Calixte, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Felix Calixte, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Marguerite Calixte-Williams is a
 resident of Colorado. Felix Calixte is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 161. Nina DeSouza, individually, as surviving sibling of Felix Calixte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nina DeSouza is a resident of
 Texas. Felix Calixte is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.


                                             389
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 391 of 962




 162. Keream Williams, individually, as surviving sibling of Felix Calixte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Keream Williams is a
 resident of Texas. Felix Calixte is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 163. Kizzy Williams, individually, as surviving sibling of Felix Calixte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kizzy Williams is a resident
 of North Carolina. Felix Calixte is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 164. Remy Williams, individually, as surviving sibling of Felix Calixte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Remy Williams is a resident
 of Illinois. Felix Calixte is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 165. Terra Williams, individually, as surviving sibling of Felix Calixte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Terra Williams is a resident
 of Louisiana. Felix Calixte is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 166. Angela Callahan, individually, as surviving spouse of Francis J. Callahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Angela Callahan is a
 resident of New York. Francis J. Callahan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 167. Angela Callahan, as the Personal Representative of the Estate of Francis J.
 Callahan, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Francis J. Callahan, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Angela Callahan is a resident of New
 York. Francis J. Callahan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 168. Harry Callahan, individually, as surviving child of Francis J. Callahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Harry Callahan is a
 resident of New York. Francis J. Callahan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             390
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 392 of 962




 169. Nora M. Callahan, individually, as surviving child of Francis J. Callahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nora M. Callahan is
 a resident of New York. Francis J. Callahan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 170. Peter Callahan, individually, as surviving child of Francis J. Callahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter Callahan is a
 resident of Michigan. Francis J. Callahan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 171. Rose (Callahan) Verno, individually, as surviving child of Francis J. Callahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rose (Callahan)
 Verno is a resident of New York. Francis J. Callahan is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 172. Tereza Antonios, individually, as surviving child of Roko Camaj, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tereza Antonios is a resident
 of Austrailia. Roko Camaj is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 173. Angelina Camaj, individually, as surviving child of Roko Camaj, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Angelina Camaj is a resident
 of New York. Roko Camaj is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 174. Katrina Camaj, individually, as surviving spouse of Roko Camaj, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Katrina Camaj is a resident of
 New York. Roko Camaj is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 175. Katrina Camaj, as the Personal Representative of the Estate of Roko Camaj,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Roko Camaj, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Katrina Camaj is a resident of New York. Roko
 Camaj is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.


                                             391
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 393 of 962




 176. Vincent Camaj, individually, as surviving child of Roko Camaj, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Vincent Camaj is a resident
 of New York. Roko Camaj is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 177. Darrick Carlone, individually, as surviving child of David G. Carlone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Darrick Carlone is a
 resident of New Jersey. David G. Carlone is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 178. Matthew Carlone, individually, as surviving child of David G. Carlone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew Carlone is
 a resident of Connecticut. David G. Carlone is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 179. Nicholas A. Carlone, individually, as surviving child of David G. Carlone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nicholas A. Carlone
 is a resident of Connecticut. David G. Carlone is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 180. Daniel R. Carlson, individually, as surviving child of Rosemarie C. Carlson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel R. Carlson is
 a resident of New Jersey. Rosemarie C. Carlson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 181. James D. Carlson, individually, as surviving child of Rosemarie C. Carlson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James D. Carlson is
 a resident of New York. Rosemarie C. Carlson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 182. Kimberly R. Carlson, individually, as surviving child of Rosemarie C. Carlson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Kimberly R.
 Carlson is a resident of New Jersey. Rosemarie C. Carlson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.



                                            392
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 394 of 962




 183. Stephen J. Carlson, individually, as surviving child of Rosemarie C. Carlson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephen J. Carlson is
 a resident of New Jersey. Rosemarie C. Carlson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 184. Crystal Ortiz, individually, as surviving child of Rosemarie C. Carlson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Crystal Ortiz is a
 resident of New York. Rosemarie C. Carlson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 185. Evita Ortiz, individually, as surviving child of Rosemarie C. Carlson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Evita Ortiz is a resident of
 Florida. Rosemarie C. Carlson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 186. Debra Carson, individually, as surviving spouse of James Carson Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Debra Carson is a resident of
 New York. James Carson Jr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 187. Debra Carson, as the Personal Representative of the Estate of James Carson Jr.,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of James Carson Jr., is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Debra Carson is a resident of New York. James
 Carson Jr. is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 188. James M. Carson, individually, as surviving child of James Carson Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James M. Carson is
 a resident of New York. James Carson Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 189. Angenette Cash, individually, as surviving child of Angelene C. Carter, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Angenette Cash is a
 resident of Maryland. Angelene C. Carter is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             393
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 395 of 962




 190. Freddye Jean Carter-Perry a/k/a Freddye Carter-Perry, individually, as surviving
 child of Angelene C. Carter, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Freddye Jean Carter-Perry a/k/a Freddye Carter-Perry is a resident
 of Maryland. Angelene C. Carter is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 191. Freddye Jean Carter-Perry a/k/a Freddye Carter-Perry, as the Personal
 Representative of the Estate of Angelene C. Carter, deceased, on behalf of the Estate, and
 on behalf of all survivors and all legally entitled beneficiaries and family members of
 Angelene C. Carter, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Freddye Jean Carter-Perry a/k/a Freddye Carter-Perry is a resident of Maryland.
 Angelene C. Carter is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 192. Angilic Casalduc, individually, as surviving child of Vivian Casalduc, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Angilic Casalduc is
 a resident of New York. Vivian Casalduc is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 193. Paul Casalduc, individually, as surviving child of Vivian Casalduc, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Paul Casalduc is a resident of
 Florida. Vivian Casalduc is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 194. Yon-Paul Casalduc, as the Personal Representative of the Estate of Vivian
 Casalduc, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Vivian Casalduc, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Yon-Paul Casalduc is a resident of
 New York. Vivian Casalduc is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 195. Jeanette Kirby, individually, as surviving sibling of Vivian Casalduc, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jeanette Kirby is a resident of
 Florida. Vivian Casalduc is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 196. Maria Poliard, individually, as surviving parent of Vivian Casalduc, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maria Poliard is a resident of
 Florida. Vivian Casalduc is one of the Decedents murdered as a result of the terrorist

                                             394
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 396 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 197. Evan Cascio, individually, as surviving sibling of Paul R. Cascio, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Evan Cascio is a resident of
 California. Paul R. Cascio is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 198. Evan Cascio, as the Personal Representative of the Estate of Paul R. Cascio,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Paul R. Cascio, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Evan Cascio is a resident of California. Paul R.
 Cascio is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 199. Janet Cascio, individually, as surviving parent of Paul R. Cascio, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Janet Cascio is a resident of
 New York. Paul R. Cascio is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 200. Paul Cascio, individually, as surviving parent of Paul R. Cascio, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Paul Cascio is a resident of
 New York. Paul R. Cascio is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 201. Diana P. Castano, individually, as surviving spouse of Alejandro Castano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Diana P. Castano is
 a resident of Connecticut. Alejandro Castano is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 202. Diana P. Castano, as the Personal Representative of the Estate of Alejandro
 Castano, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Alejandro Castano, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Diana P. Castano is a resident of
 Connecticut. Alejandro Castano is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.



                                             395
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 397 of 962




 203. Francisco Castano, individually, as surviving parent of Alejandro Castano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Francisco Castano is
 a resident of New Jersey. Alejandro Castano is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 204. Steven Castano, individually, as surviving child of Alejandro Castano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Steven Castano is a
 resident of North Carolina. Alejandro Castano is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 205. Yolanda Castano, individually, as surviving parent of Alejandro Castano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yolanda Castano is a
 resident of New Jersey. Alejandro Castano is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 206. Claudia Rodriguez, individually, as surviving sibling of Alejandro Castano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Claudia Rodriguez is
 a resident of New Jersey. Alejandro Castano is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 207. John Doe 7, being intended to designate the Personal Representative of the Estate
 of Arcelia Castillo, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Arcelia Castillo, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Arcelia Castillo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 208. Rodrigo Gomez Castillo, individually, as surviving sibling of Arcelia Castillo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rodrigo Gomez
 Castillo is a resident of South Carolina. Arcelia Castillo is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 209. Anthony Roman, individually, as surviving child of Arcelia Castillo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Anthony Roman is a resident
 of New Jersey. Arcelia Castillo is one of the Decedents murdered as a result of the

                                             396
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 398 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 210. Silvio Roman, individually, as surviving child of Arcelia Castillo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Silvio Roman is a resident of
 New Jersey. Arcelia Castillo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 211. Ana L. Centeno, individually, as surviving sibling of Ana M. Centeno, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ana L. Centeno is a
 resident of New Jersey. Ana M. Centeno is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 212. Jesus Centeno, individually, as surviving sibling of Ana M. Centeno, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jesus Centeno is a resident of
 Pennsylvania. Ana M. Centeno is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 213. John Doe 100, as Personal Representative of the Estate of Julio Masa Lebron,
 deceased, the late parent of Ana M. Centeno, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Ana M. Centeno is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 214. Harry Massa, individually, as surviving sibling of Ana M. Centeno, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Harry Massa is a resident of
 Puerto Rico. Ana M. Centeno is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 215. Havier Massa, individually, as surviving sibling of Ana M. Centeno, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Havier Massa is a resident of
 New Jersey. Ana M. Centeno is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 216. Margarita Perez, individually, as surviving sibling of Ana M. Centeno, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Margarita Perez is a
 resident of New Jersey. Ana M. Centeno is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                             397
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 399 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 217. Angeles Rivera, individually, as surviving sibling of Ana M. Centeno, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Angeles Rivera is a
 resident of New Jersey. Ana M. Centeno is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 218. Angeles Rivera, as the Personal Representative of the Estate of Ana M. Centeno,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Ana M. Centeno, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Angeles Rivera is a resident of New Jersey. Ana M.
 Centeno is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 219. Antonia Torres Ayala, individually, as surviving parent of Ana M. Centeno, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Antonia Torres
 Ayala is a resident of Puerto Rico. Ana M. Centeno is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 220. Maria Zayas, individually, as surviving sibling of Ana M. Centeno, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maria Zayas is a resident of
 New Jersey. Ana M. Centeno is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 221. Tammy Marie Merritt a/k/a Tammy Marie Chada Merritt, individually, as
 surviving child of John Chada, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Tammy Marie Merritt a/k/a Tammy Marie Chada Merritt is a
 resident of Virginia. John Chada is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 222. Virginia Chada, individually, as surviving spouse of John Chada, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Virginia Chada is a resident
 of Missouri. John Chada is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 223. Virginia Chada, as the Personal Representative of the Estate of John Chada,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of John Chada, is a Plaintiff seeking justice for the

                                             398
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 400 of 962




 tragic events of September 11, 2001. Virginia Chada is a resident of Missouri. John
 Chada is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 224. Darien P. Cherry, individually, as surviving child of Vernon P. Cherry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Darien P. Cherry is a
 resident of Virginia. Vernon P. Cherry is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 225. John Doe 109 as Personal Representative of the Estate of Joanne Cherry,
 deceased, as the late spouse of Vernon P. Cherry, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Vernon P. Cherry is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 226. Selena Cherry-Daniel, individually, as surviving child of Vernon P. Cherry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Selena Daniel is a
 resident of Maryland. Vernon P. Cherry is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 227. John Doe 110, being intended to designate the Personal Representative of the
 Estate of Vernon P. Cherry, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Vernon P. Cherry, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Vernon P. Cherry is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 228. Scott Donovan, Esq. as Personal Representative of the Estate of Ryan Cherry,
 deceased, the late child of Vernon P. Cherry, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Scott Donovan, Esq. as Personal Representative of the
 Estate of Ryan Cherry is a resident of Maryland. Vernon P. Cherry is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 229. Ana Soria, individually, as surviving spouse of Luis A. Chimbo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ana Soria is a resident of
 New York. Luis A. Chimbo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             399
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 401 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 230. BNY Mellon, as the Personal Representative of the Estate of Luis A. Chimbo,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Luis A. Chimbo, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Luis A. Chimbo is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 231. Luis Chimbo, individually, as surviving child of Luis A. Chimbo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Luis Chimbo is a resident of
 New York. Luis A. Chimbo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 232. Fahina Chowdhury, individually, as surviving child of Mohammed S.
 Chowdhury, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Fahina Chowdhury is a resident of Pennsylvania. Mohammed S. Chowdhury is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 233. Farqad Chowdhury, individually, as surviving child of Mohammed S.
 Chowdhury, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Farqad Chowdhury is a resident of Pennsylvania. Mohammed S. Chowdhury is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 234. Baraheen Ashrafi, individually, as surviving spouse of Mohammed S.
 Chowdhury, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Baraheen Ashrafi is a resident of Pennsylvania. Mohammed S. Chowdhury is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 235. Baraheen Ashrafi, as the Personal Representative of the Estate of Mohammed S.
 Chowdhury, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Mohammed S. Chowdhury, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Baraheen Ashrafi is
 a resident of Pennsylvania. Mohammed S. Chowdhury is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 236. William Cintron-Lugos a/k/a William Cintron, as the Personal Representative of
 the Estate of Edna Cintron, deceased, on behalf of the Estate, and on behalf of all

                                            400
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 402 of 962




 survivors and all legally entitled beneficiaries and family members of Edna Cintron, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William Cintron-
 Lugos a/k/a William Cintron is a resident of Florida. Edna Cintron is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 237. William Cintron-Lugos a/k/a William Cintron, individually, as surviving spouse
 of Edna Cintron, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 William Cintron-Lugos a/k/a William Cintron is a resident of Florida. Edna Cintron is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 238. Anthony Clark, individually, as surviving sibling of Benjamin K. Clark, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Clark is a
 resident of New York. Benjamin K. Clark is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 239. Courtland Jerome Clark, individually, as surviving sibling of Benjamin K. Clark,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Courtland
 Jerome Clark is a resident of New York. Benjamin K. Clark is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 240. Elsie Clark, individually, as surviving parent of Benjamin K. Clark, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elsie Clark is a resident of
 New York. Benjamin K. Clark is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 241. Gabriel Clark, individually, as surviving child of Benjamin K. Clark, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gabriel Clark is a resident of
 Pennsylvania. Benjamin K. Clark is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 242. LaShawn Clark, individually, as surviving spouse of Benjamin K. Clark, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. LaShawn Clark is a
 resident of Pennsylvania. Benjamin K. Clark is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                             401
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 403 of 962




 243. LaShawn Clark, as the Personal Representative of the Estate of Benjamin K.
 Clark, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Benjamin K. Clark, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. LaShawn Clark is a resident of
 Pennsylvania. Benjamin K. Clark is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 244. Randy Clark, individually, as surviving sibling of Benjamin K. Clark, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Randy Clark is a
 resident of Illinois. Benjamin K. Clark is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 245. Sean Clark, individually, as surviving child of Benjamin K. Clark, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sean Clark is a resident of
 New York. Benjamin K. Clark is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 246. Taj-Pierre Clark, individually, as surviving child of Benjamin K. Clark, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Taj-Pierre Clark is a
 resident of Pennsylvania. Benjamin K. Clark is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 247. Elsie Clark as Personal Representative of the Estate of Benjamin Clark, Sr. ,
 deceased, the late parent of Benjamin K. Clark, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Elsie Clark as Personal Representative of the Estate of
 Benjamin Clark. Sr. is a resident of New York. Benjamin K. Clark is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 248. Brittany Hantz, individually, as surviving child of Benjamin K. Clark, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brittany Hantz is a
 resident of Pennsylvania. Benjamin K. Clark is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 249. Sharon McAvinue, individually, as surviving sibling of Donna Clarke, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sharon McAvinue is
 a resident of New York. Donna Clarke is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                              402
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 404 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 250. Thomas G. McAvinue, individually, as surviving sibling of Donna Clarke, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas G.
 McAvinue is a resident of New York. Donna Clarke is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 251. Stephanie Marie Sampson, individually, as surviving child of Donna Clarke, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephanie Marie
 Sampson is a resident of New York. Donna Clarke is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 252. Stephanie Marie Sampson, as the Personal Representative of the Estate of Donna
 Clarke, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Donna Clarke, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Stephanie Marie Sampson is a resident of
 New York. Donna Clarke is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 253. Patricia McAvinue McCarthy, individually, as surviving sibling of Donna Clarke,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia
 McAvinue McCarthy is a resident of New York. Donna Clarke is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 254. Cathleen Mary Cleary, individually, as surviving sibling of Kevin F. Cleary, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cathleen Mary
 Cleary is a resident of Rhode Island. Kevin F. Cleary is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 255. Christopher James Cleary, individually, as surviving sibling of Kevin F. Cleary, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher James
 Cleary is a resident of North Carolina. Kevin F. Cleary is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 256. Christopher James Cleary, as the co-Personal Representative of the Estate of
 Kevin F. Cleary, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Kevin F. Cleary, is a Plaintiff

                                             403
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 405 of 962




 seeking justice for the tragic events of September 11, 2001. Christopher James Cleary is a
 resident of North Carolina. Kevin F. Cleary is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 257. Christopher J. Cleary and Patricia M. Cleary, as co-Personal Representatives of
 the Estate of Elizabeth Cleary, deceased, the late parent of Kevin F. Cleary, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Christopher J. Cleary is a
 resident of North Carolina and Patricia M. Cleary is a resident of Connecticut. Kevin F.
 Cleary is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 258. Michael G. Cleary, individually, as surviving sibling of Kevin F. Cleary, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael G. Cleary is
 a resident of Connecticut. Kevin F. Cleary is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 259. Patricia Mary Cleary, individually, as surviving sibling of Kevin F. Cleary, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Mary Cleary
 is a resident of Connecticut. Kevin F. Cleary is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 260. Patricia Mary Cleary, as the co-Personal Representative of the Estate of Kevin F.
 Cleary, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Kevin F. Cleary, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Patricia Mary Cleary is a resident of
 Connecticut. Kevin F. Cleary is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 261. Thomas J. Cleary, individually, as surviving sibling of Kevin F. Cleary, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas J. Cleary is
 a resident of the District of Columbia. Kevin F. Cleary is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 262. Maureen Cleary Colligan, individually, as surviving sibling of Kevin F. Cleary, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Cleary
 Colligan is a resident of Connecticut. Kevin F. Cleary is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.

                                             404
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 406 of 962




 263. Mio Cloud, individually, as surviving spouse of Geoffrey Cloud, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mio Cloud is a resident of
 Connecticut. Geoffrey Cloud is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 264. Mio Cloud, as the Personal Representative of the Estate of Geoffrey Cloud,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Geoffrey Cloud, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Mio Cloud is a resident of Connecticut. Geoffrey
 Cloud is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 265. John Doe 8, being intended to designate the Personal Representative of the Estate
 of Patricia A. Cody, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Patricia A. Cody, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Patricia A. Cody is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 266. Beth Schutte, individually, as surviving child of Patricia A. Cody, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Beth Schutte is a resident of
 Pennsylvania. Patricia A. Cody is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 267. Joyce Cohen-Day, individually, as surviving child of Florence Cohen, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joyce Cohen-Day is
 a resident of Florida. Florence Cohen is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 268. Joyce Cohen-Day, as the Personal Representative of the Estate of Florence
 Cohen, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Florence Cohen, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Joyce Cohen-Day is a resident of
 Florida. Florence Cohen is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             405
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 407 of 962




 269. John Doe 9 as Personal Representative of the Estate of Mildred Gordonson,
 deceased, the late parent of Florence Cohen, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Florence Cohen is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 270. Juana Colon, individually, as surviving spouse of Jaime Concepcion, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Juana Colon is a resident of
 New York. Jaime Concepcion is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 271. Juana Colon, as the Personal Representative of the Estate of Jaime Concepcion,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Jaime Concepcion, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Juana Colon is a resident of New York. Jaime
 Concepcion is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 272. Orquidia Colon, individually, as surviving child of Jaime Concepcion, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Orquidia Colon is a
 resident of New York. Jaime Concepcion is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 273. Reginald Colon, individually, as surviving child of Jaime Concepcion, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Reginald Colon is a
 resident of New York. Jaime Concepcion is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 274. Rosa Colon, individually, as surviving child of Jaime Concepcion, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rosa Colon is a resident of
 New York. Jaime Concepcion is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 275. Mercedes Concepcion, individually, as surviving child of Jaime Concepcion, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mercedes
 Concepcion is a resident of Arizona. Jaime Concepcion is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.


                                            406
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 408 of 962




 276. Jaime Concepcion Jr., individually, as surviving child of Jaime Concepcion, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jaime Concepcion
 Jr. is a resident of New York. Jaime Concepcion is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 277. Virginia Concepcion Desoto, individually, as surviving child of Jaime
 Concepcion, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Virginia Concepcion Desoto is a resident of New York. Jaime Concepcion is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 278. Kirsy Concepcion Salazar, individually, as surviving child of Jaime Concepcion,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Kirsy
 Concepcion Salazar is a resident of New York. Jaime Concepcion is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 279. April Alexander, individually, as surviving sibling of Brenda E. Conway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. April Alexander is a
 resident of New York. Brenda E. Conway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 280. Stanley Alexander, individually, as surviving sibling of Brenda E. Conway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stanley Alexander is
 a resident of Georgia. Brenda E. Conway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 281. Mandell Conway, individually, as surviving child of Brenda E. Conway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mandell Conway is
 a resident of New York. Brenda E. Conway is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 282. Russell Conway, individually, as surviving spouse of Brenda E. Conway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Russell Conway is a
 resident of Georgia. Brenda E. Conway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                            407
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 409 of 962




 283. Russell Conway, as the Personal Representative of the Estate of Brenda E.
 Conway, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Brenda E. Conway, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Russell Conway is a resident of
 Georgia. Brenda E. Conway is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 284. Linda McGee, individually, as surviving sibling of Brenda E. Conway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Linda McGee is a
 resident of New York. Brenda E. Conway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 285. Shelly Ray Watford as Personal Representative of the Estate of Edith Watford,
 deceased, the late parent of Brenda E. Conway, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Shelly Ray Watford as Personal Representative of the
 Estate of Edith Watford is a resident of New York. Brenda E. Conway is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 286. Danielle Alexander, individually, as surviving child of Brenda E. Conway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Danielle Alexander
 is a resident of New York. Brenda E. Conway is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 287. Jermaine Cook, as the Personal Representative of the Estate of Helen Cook,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Helen Cook, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jermaine Cook is a resident of Maryland. Helen
 Cook is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 288. Blanca M. Garcia, individually, as surviving sibling of Helen Cook, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Blanca M. Garcia is a
 resident of New York. Helen Cook is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 289. Edson Garcia, individually, as surviving sibling of Helen Cook, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Edson Garcia is a resident of
 Florida. Helen Cook is one of the Decedents murdered as a result of the terrorist attacks


                                             408
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 410 of 962




 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 290. Keidy Garcia, individually, as surviving sibling of Helen Cook, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Keidy Garcia is a resident of
 Louisiana. Helen Cook is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 291. Teoflia Garcia, individually, as surviving parent of Helen Cook, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Teoflia Garcia is a resident of
 New York. Helen Cook is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 292. Moises Cordero, individually, as surviving parent of Alejandro Cordero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Moises Cordero is a
 resident of New York. Alejandro Cordero is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 293. Moises Cordero, as the Personal Representative of the Estate of Alejandro
 Cordero, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Alejandro Cordero, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Moises Cordero is a resident of New
 York. Alejandro Cordero is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 294. Teresa Cordero, individually, as surviving parent of Alejandro Cordero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Teresa Cordero is a
 resident of New York. Alejandro Cordero is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 295. Wellington Cordero, individually, as surviving sibling of Alejandro Cordero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Wellington Cordero
 is a resident of New York. Alejandro Cordero is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 296. Moises Cordero Jr., individually, as surviving sibling of Alejandro Cordero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Moises Cordero Jr.
 is a resident of New York. Alejandro Cordero is one of the Decedents murdered as a

                                             409
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 411 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 297. Marina Correa, individually, as surviving parent of Danny Correa-Gutierrez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marina Correa is a
 resident of New Jersey. Danny Correa-Gutierrez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 298. Jessica Correa , individually, as surviving sibling of Danny Correa-Gutierrez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jessica Correa is a
 resident of New Jersey. Danny Correa-Gutierrez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 299. John Doe 11, being intended to designate the Personal Representative of the
 Estate of Danny Correa-Gutierrez, deceased, said name being fictitious, her/his true name
 is not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Danny Correa-Gutierrez, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Danny Correa-Gutierrez is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 300. Robert E. Marisay Jr., individually, as surviving sibling of Georgine R. Corrigan,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Robert E.
 Marisay Jr. is a resident of Georgia. Georgine R. Corrigan is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 301. Laura Buck, individually, as surviving child of Georgine R. Corrigan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Laura Buck is a
 resident of Hawaii. Georgine R. Corrigan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 302. Laura Buck, as the Personal Representative of the Estate of Georgine R. Corrigan,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Georgine R. Corrigan, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Laura Buck is a resident of Hawaii. Georgine
 R. Corrigan is one of the Decedents murdered as a result of the terrorist attacks of


                                              410
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 412 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 303. Albertina Rivera, individually, as surviving parent of Digna Costanza, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Albertina Rivera is a
 resident of New York. Digna Costanza is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 304. Ingrid Rivera, individually, as surviving sibling of Digna Costanza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ingrid Rivera is a resident of
 New York. Digna Costanza is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 305. Uriel Rivera Jr., individually, as surviving sibling of Digna Costanza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Uriel Rivera Jr. is a resident
 of New York. Digna Costanza is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 306. Uriel Rivera Sr., individually, as surviving parent of Digna Costanza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Uriel Rivera Sr. is a resident
 of New York. Digna Costanza is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 307. John Costanza, individually, as surviving spouse of Digna Costanza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Costanza is a resident of
 New York. Digna Costanza is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 308. John Costanza, as the Personal Representative of the Estate of Digna Costanza,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Digna Costanza, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. John Costanza is a resident of New York. Digna
 Costanza is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 309. Kathleen Birch, individually, as surviving sibling of Charles Costello, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Birch is a
 resident of New Jersey. Charles Costello, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

                                             411
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 413 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 310. Charles Costello, individually, as surviving child of Charles Costello, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charles Costello is a
 resident of New Jersey. Charles Costello, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 311. Mary Costello, individually, as surviving spouse of Charles Costello, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Costello is a
 resident of New Jersey. Charles Costello, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 312. Mary Costello, as the Personal Representative of the Estate of Charles Costello,
 Jr., deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Charles Costello, Jr., is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Mary Costello is a resident of New Jersey.
 Charles Costello, Jr. is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 313. Patricia Costello, individually, as surviving sibling of Charles Costello, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Costello is a
 resident of New Jersey. Charles Costello, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 314. Raymond Costello, individually, as surviving sibling of Charles Costello, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Raymond Costello is
 a resident of Florida. Charles Costello, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 315. Patricia Costello as Personal Representative of the Estate of Charles Costello, Sr.,
 deceased, the late parent of Charles Costello, Jr., is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Patricia Costello as Personal Representative of the
 Estate of Charles Costello, Sr. is a resident of New Jersey. Charles Costello, Jr. is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 316. MaryKate Naples, individually, as surviving child of Charles Costello, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. MaryKate Naples is
 a resident of New Jersey. Charles Costello, Jr. is one of the Decedents murdered as a

                                              412
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 414 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 317. Amanda Taylor, individually, as surviving child of Charles Costello, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Amanda Taylor is a
 resident of New Jersey. Charles Costello, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 318. James Coyle, individually, as surviving parent of James R. Coyle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Coyle is a resident of
 New York. James R. Coyle is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 319. James Coyle, as the Personal Representative of the Estate of James R. Coyle,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of James R. Coyle, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. James Coyle is a resident of New York. James R.
 Coyle is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 320. Katherine Coyle, individually, as surviving sibling of James R. Coyle, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Katherine Coyle is a
 resident of New York. James R. Coyle is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 321. Regina Coyle, individually, as surviving parent of James R. Coyle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Regina Coyle is a resident of
 New York. James R. Coyle is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 322. Joseph Coyle, individually, as surviving sibling of James R. Coyle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joseph Coyle is a resident of
 New York. James R. Coyle is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 323. Charles Cross, individually, as surviving sibling of Dennis Cross, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Charles Cross is a resident of
 New York. Dennis Cross is one of the Decedents murdered as a result of the terrorist

                                            413
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 415 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 324. Virginia Fredriksen, individually, as surviving sibling of Dennis Cross, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Virginia Fredriksen
 is a resident of New York. Dennis Cross is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 325. Carol Cubas, individually, as surviving spouse of Kenneth J. Cubas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Carol Cubas is a resident of
 Maine. Kenneth J. Cubas is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 326. Carol Cubas, as the Personal Representative of the Estate of Kenneth J. Cubas,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Kenneth J. Cubas, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Carol Cubas is a resident of Maine. Kenneth J.
 Cubas is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 327. Helga Curtin, individually, as surviving spouse of Michael Curtin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Helga Curtin is a resident of
 New York. Michael Curtin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 328. Helga Curtin, as the Personal Representative of the Estate of Michael Curtin,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Michael Curtin, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Helga Curtin is a resident of New York. Michael
 Curtin is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 329. Erika C. Sufilka, individually, as surviving child of Michael Curtin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Erika C. Sufilka is a resident
 of New York. Michael Curtin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 330. Anand A. Dataram, individually, as surviving sibling of Annette A. Dataram, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anand A. Dataram

                                             414
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 416 of 962




 is a resident of New York. Annette A. Dataram is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 331. Mahadai Dataram, individually, as surviving parent of Annette A. Dataram, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mahadai Dataram is
 a resident of New York. Annette A. Dataram is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 332. Mahadai Dataram, as the Personal Representative of the Estate of Annette A.
 Dataram, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Annette A. Dataram, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Mahadai Dataram is a resident of
 Delaware. Annette A. Dataram is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 333. Ronald Dataram, individually, as surviving sibling of Annette A. Dataram, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ronald Dataram is a
 resident of New York. Annette A. Dataram is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 334. Adam Davidson, individually, as surviving child of Lawrence Davidson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Adam Davidson is a
 resident of Oregon. Lawrence Davidson is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 335. Adam Davidson, as the co-Personal Representative of the Estate of Lawrence
 Davidson, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Lawrence Davidson, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Adam Davidson is a resident of
 Oregon. Lawrence Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 336. Daniel Davidson, as the co-Personal Representative of the Estate of Lawrence
 Davidson, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Lawrence Davidson, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Daniel Davidson is a resident of New
 York. Lawrence Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             415
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 417 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 337. Marc Davidson, individually, as surviving child of Lawrence Davidson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marc Davidson is a
 resident of Canada. Lawrence Davidson is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 338. Delores Akinshara a/k/a Monica Akinshara, individually, as surviving sibling of
 Titus Davidson, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Delores Akinshara a/k/a Monica Akinshara is a resident of Canada. Titus Davidson is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 339. Tanya Dale, individually, as surviving child of Titus Davidson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tanya Dale is a resident of
 New York. Titus Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 340. Tanya Dale, as the Personal Representative of the Estate of Titus Davidson,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Titus Davidson, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Tanya Dale is a resident of New York. Titus
 Davidson is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 341. Denzil Davidson, individually, as surviving sibling of Titus Davidson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Denzil Davidson is a
 resident of Jamaica. Titus Davidson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 342. Janet Davidson, individually, as surviving sibling of Titus Davidson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Janet Davidson is a resident
 of Canada. Titus Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 343. Merna Davidson, individually, as surviving sibling of Titus Davidson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Merna Davidson is a
 resident of Canada. Titus Davidson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

                                            416
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 418 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 344. Michelle Davidson, individually, as surviving sibling of Titus Davidson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michelle Davidson
 is a resident of Canada. Titus Davidson is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 345. Noel Davidson, individually, as surviving sibling of Titus Davidson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Noel Davidson is a resident
 of Jamaica. Titus Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 346. Phillip Davidson, individually, as surviving sibling of Titus Davidson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Phillip Davidson is a
 resident of Jamaica. Titus Davidson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 347. Rose Davidson, individually, as surviving sibling of Titus Davidson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rose Davidson is a resident
 of Canada. Titus Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 348. Sam Davidson, individually, as surviving sibling of Titus Davidson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sam Davidson is a resident of
 Canada. Titus Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 349. Trevor Davidson, individually, as surviving sibling of Titus Davidson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Trevor Davidson is a
 resident of Canada. Titus Davidson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 350. William Davidson, individually, as surviving sibling of Titus Davidson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William Davidson is
 a resident of Canada. Titus Davidson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                             417
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 419 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 351. Phillip Davidson as Personal Representative of the Estate of Ragland Davidson,
 deceased, the late parent of Titus Davidson, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Phillip Davidson as Personal Representative of the Estate
 of Ragland Davidson is a resident of Jamaica. Titus Davidson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 352. Carol Davidson-Simpson, individually, as surviving sibling of Titus Davidson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Carol Davidson-
 Simpson is a resident of Jamaica. Titus Davidson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 353. Evis Jones, individually, as surviving sibling of Titus Davidson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Evis Jones is a resident of
 Jamaica. Titus Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 354. Amy M. Knight, individually, as surviving sibling of Titus Davidson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Amy M. Knight is a resident
 of Jamaica. Titus Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 355. Shirley White, individually, as surviving sibling of Titus Davidson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shirley White is a resident of
 Canada. Titus Davidson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 356. Paige Debek, individually, as surviving child of Tara Debek, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Paige Debek is a resident of New
 York. Tara Debek is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 357. Dariusz Debek, as the Personal Representative of the Estate of Tara Debek,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Tara Debek, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Dariusz Debek is a resident of New York. Tara
 Debek is one of the Decedents murdered as a result of the terrorist attacks of September

                                             418
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 420 of 962




 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 358. Maureen Moore, individually, as surviving parent of Tara Debek, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maureen Moore is a resident
 of New York. Tara Debek is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 359. Robert Moore, individually, as surviving sibling of Tara Debek, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Robert Moore is a resident of
 New York. Tara Debek is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 360. Lisa Reahl, individually, as surviving sibling of Tara Debek, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lisa Reahl is a resident of New York.
 Tara Debek is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 361. Dale Choate, individually, as surviving sibling of Gerald F. DeConto, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dale Choate is a resident of
 Massachusetts. Gerald F. DeConto is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 362. David DeConto, individually, as surviving sibling of Gerald F. DeConto, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. David DeConto is a
 resident of Massachusetts. Gerald F. DeConto is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 363. G. Don Westfall, as the Personal Representative of the Estate of Gerald F.
 DeConto, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Gerald F. DeConto, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. G. Don Westfall is a resident of
 Virginia. Gerald F. DeConto is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 364. Patricia DeConto, individually, as surviving parent of Gerald F. DeConto, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia DeConto is
 a resident of Massachusetts. Gerald F. DeConto is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

                                            419
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 421 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 365. Raymond DeConto, individually, as surviving sibling of Gerald F. DeConto, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Raymond DeConto
 is a resident of Connecticut. Gerald F. DeConto is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 366. Marie DeConto LeBlanc, individually, as surviving sibling of Gerald F. DeConto,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Marie DeConto
 LeBlanc is a resident of Massachusetts. Gerald F. DeConto is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 367. Alfred DeMartini, individually, as surviving sibling of Francis DeMartini, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alfred DeMartini is
 a resident of Pennsylvania. Francis DeMartini is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 368. Dominic DeMartini, individually, as surviving child of Francis DeMartini, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dominic DeMartini
 is a resident of New York. Francis DeMartini is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 369. Nicole Fasnacht-DeMartini, individually, as surviving spouse of Francis
 DeMartini, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Nicole Fasnacht-DeMartini is a resident of New York. Francis DeMartini is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 370. Nicole Fasnacht-DeMartini, as the Personal Representative of the Estate of
 Francis DeMartini, deceased, on behalf of the Estate, and on behalf of all survivors and
 all legally entitled beneficiaries and family members of Francis DeMartini, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicole Fasnacht-DeMartini is
 a resident of New York. Francis DeMartini is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 371. Paul DeMartini, individually, as surviving sibling of Francis DeMartini, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paul DeMartini is a
 resident of New Jersey. Francis DeMartini is one of the Decedents murdered as a result of

                                            420
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 422 of 962




 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 372. Rosemary DeMartini, individually, as surviving sibling of Francis DeMartini, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rosemary DeMartini
 is a resident of Colorado. Francis DeMartini is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 373. Sabrina DeMartini, individually, as surviving child of Francis DeMartini, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sabrina DeMartini is
 a resident of New York. Francis DeMartini is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 374. Nina DeMartini Day, individually, as surviving sibling of Francis DeMartini, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nina DeMartini Day
 is a resident of New York. Francis DeMartini is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 375. Alfred DeMartini, as Personal Representative of the Estate of Alberta DeMartini,
 deceased, the late parent of Francis DeMartini, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Alfred DeMartini, as Personal Representative of the Estate
 of Alberta DeMartini is a resident of Pennsylvania. Francis DeMartini is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 376. Paul DeMartini, as Personal Representative of the Estate of Alfred DeMartini,
 deceased, the late parent of Francis DeMartini, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Paul DeMartini, as Personal Representative of the Estate
 of Alfred DeMartini is a resident of New York. Francis DeMartini is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 377. Juan De Jesus Rodriguez, individually, as surviving sibling of Jose Depena, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Juan De Jesus
 Rodriguez is a resident of Massachusetts. Jose Depena is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 378. Anny De Jesus De Pena Rodriguez, individually, as surviving sibling of Jose
 Depena, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Anny

                                              421
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 423 of 962




 De Jesus De Pena Rodriguez is a resident of the Dominican Republic. Jose Depena is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 379. Edwin N. Depena, individually, as surviving child of Jose Depena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Edwin N. Depena is a
 resident of Rhode Island. Jose Depena is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 380. Marlin Nicole Depena, individually, as surviving child of Jose Depena, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marlin Nicole
 Depena is a resident of Rhode Island. Jose Depena is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 381. Victor T. Depena, individually, as surviving sibling of Jose Depena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Victor T. Depena is a resident
 of Massachusetts. Jose Depena is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 382. Virgilio N. Depena, individually, as surviving parent of Jose Depena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Virgilio N. Depena is a
 resident of New York. Jose Depena is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 383. Daniel N. Depena Mora, individually, as surviving child of Jose Depena, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel N. Depena
 Mora is a resident of Czech Republic. Jose Depena is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 384. Belkis A. Depena Rodriguez, individually, as surviving sibling of Jose Depena, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Belkis A. Depena
 Rodriguez is a resident of the Dominican Republic. Jose Depena is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 385. Jorge A. Depena Rodriguez, individually, as surviving sibling of Jose Depena, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jorge A. Depena
 Rodriguez is a resident of the Dominican Republic. Jose Depena is one of the Decedents

                                            422
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 424 of 962




 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 386. BNY Mellon, as the Personal Representative of the Estate of Jose Depena,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Jose Depena, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jose Depena is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 387. Yanet Del Carmen Rodriguez De La Cruz, as Personal Representative of the
 Estate of Miguel Angel Rodriguez, deceased, the late sibling of Jose Depena, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yanet Del Carmen
 Rodriguez De La Cruz, as Personal Representative of the Estate of Miguel Angel
 Rodriguez is a resident of the Dominican Republic. Jose Depena is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 388. Pura A. Rodriguez, individually, as surviving parent of Jose Depena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Pura A. Rodriguez is a
 resident of Massachusetts. Jose Depena is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 389. Veronica Altagracia Sanchez Depena, individually, as surviving sibling of Jose
 Depena, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Veronica Altagracia Sanchez Depena is a resident of Connecticut. Jose Depena is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 390. Clara Depena, individually, as surviving sibling of Jose Depena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Clara Depena is a resident of
 Massachusetts. Jose Depena is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 391. Maxima Depena, individually, as surviving spouse of Jose Depena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maxima Depena is a resident
 of Rhode Island. Jose Depena is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             423
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 425 of 962




 392. Quilcio Depena, individually, as surviving sibling of Jose Depena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Quilcio Depena is a resident
 of the Dominican Republic. Jose Depena is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 393. William Depena, individually, as surviving sibling of Jose Depena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. William Depena is a resident
 of Massachusetts. Jose Depena is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 394. Angela DeRubbio, individually, as surviving sibling of David P. DeRubbio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Angela DeRubbio is
 a resident of North Carolina. David P. DeRubbio is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 395. Anthony J. DeRubbio, individually, as surviving sibling of David P. DeRubbio, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony J.
 DeRubbio is a resident of New Hampshire. David P. DeRubbio is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 396. Dominick A. DeRubbio, individually, as surviving sibling of David P. DeRubbio,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Dominick A.
 DeRubbio is a resident of New York. David P. DeRubbio is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 397. Jessica DeRubbio, individually, as surviving child of David P. DeRubbio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jessica DeRubbio is
 a resident of New Jersey. David P. DeRubbio is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 398. Lorraine D. DeRubbio, individually, as surviving spouse of David P. DeRubbio,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Lorraine D.
 DeRubbio is a resident of New York. David P. DeRubbio is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.



                                             424
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 426 of 962




 399. Lorraine D. DeRubbio, as the Personal Representative of the Estate of David P.
 DeRubbio, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of David P. DeRubbio, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lorraine D. DeRubbio is a resident of
 New York. David P. DeRubbio is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 400. Marion DeRubbio, individually, as surviving parent of David P. DeRubbio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marion DeRubbio is
 a resident of New York. David P. DeRubbio is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 401. Robert Anthony DeRubbio, individually, as surviving sibling of David P.
 DeRubbio, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Robert Anthony DeRubbio is a resident of North Carolina. David P. DeRubbio is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 402. Mary Lee Ianno, individually, as surviving sibling of David P. DeRubbio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Lee Ianno is a
 resident of New York. David P. DeRubbio is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 403. Mary Lee Ianno as Personal Representative of the Estate of Albert DeRubbio (Sr.)
 , deceased, the late parent of David P. DeRubbio, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Mary Lee Ianno as Personal Representative of the
 Estate of Albert DeRubbio (Sr.) is a resident of New York. David P. DeRubbio is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 404. Anthony Desperito, individually, as surviving child of Andrew Desperito, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Desperito
 is a resident of Florida. Andrew Desperito is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 405. David Desperito, individually, as surviving child of Andrew Desperito, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. David Desperito is a
 resident of New York. Andrew Desperito is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                            425
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 427 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 406. Laura Desperito-Filiberto, individually, as surviving spouse of Andrew Desperito,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Laura Desperito-
 Filiberto is a resident of Florida. Andrew Desperito is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 407. Laura Desperito-Filiberto, as the Personal Representative of the Estate of Andrew
 Desperito, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Andrew Desperito, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Laura Desperito-Filiberto is a resident
 of Florida. Andrew Desperito is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 408. Joseph A. Deuel, individually, as surviving sibling of Cindy Ann Deuel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph A. Deuel is a
 resident of Florida. Cindy Ann Deuel is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 409. Joseph P. Deuel, individually, as surviving parent of Cindy Ann Deuel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph P. Deuel is a
 resident of Pennsylvania. Cindy Ann Deuel is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 410. Richard A. Deuel, individually, as surviving sibling of Cindy Ann Deuel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Richard A. Deuel is
 a resident of California. Cindy Ann Deuel is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 411. John Doe 15, being intended to designate the Personal Representative of the
 Estate of Cindy Ann Deuel, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Cindy Ann Deuel, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Cindy Ann Deuel is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                             426
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 428 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 412. Patricia Kocian, individually, as surviving parent of Cindy Ann Deuel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Kocian is a
 resident of Pennsylvania. Cindy Ann Deuel is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 413. Casey Devlin, individually, as surviving child of Dennis L. Devlin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Casey Devlin is a resident of
 New York. Dennis L. Devlin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 414. Dennis Devlin, individually, as surviving child of Dennis L. Devlin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dennis Devlin is a resident of
 New York. Dennis L. Devlin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 415. Kathleen A. Devlin, individually, as surviving spouse of Dennis L. Devlin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen A. Devlin
 is a resident of New York. Dennis L. Devlin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 416. Kathleen A. Devlin, as the Personal Representative of the Estate of Dennis L.
 Devlin, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Dennis L. Devlin, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Kathleen A. Devlin is a resident of
 New York. Dennis L. Devlin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 417. Kathleen E. Devlin, individually, as surviving child of Dennis L. Devlin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen E. Devlin
 is a resident of New York. Dennis L. Devlin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 418. Kerry Sharkey, individually, as surviving child of Dennis L. Devlin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kerry Sharkey is a resident of
 New York. Dennis L. Devlin is one of the Decedents murdered as a result of the terrorist

                                             427
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 429 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 419. Sandra Ahern as Personal Representative of the Estate of Christopher Diaz,
 deceased, the late sibling of Matthew Diaz, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Sandra Ahern as Personal Representative of the Estate of
 Christopher Diaz is a resident of Florida. Matthew Diaz is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 420. Christopher J. Diaz, individually, as surviving child of Matthew Diaz, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher J. Diaz
 is a resident of New York. Matthew Diaz is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 421. Michael C. Diaz, individually, as surviving sibling of Matthew Diaz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael C. Diaz is a resident
 of Pennsylvania. Matthew Diaz is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 422. Christopher J. Diaz as Personal Representative of the Estate of Michael Diaz,
 deceased, the late child of Matthew Diaz, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Christopher J. Diaz as Personal Representative of the
 Estate of Michael Diaz is a resident of New York. Matthew Diaz is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 423. Florence Kneff, as the Personal Representative of the Estate of Matthew Diaz,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Matthew Diaz, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Florence Kneff is a resident of New York. Matthew
 Diaz is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 424. Florence Kneff as Personal Representative of the Estate of Karen Diaz, deceased,
 the late spouse of Matthew Diaz, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Florence Kneff as Personal Representative of the Estate of Karen
 Diaz is a resident of New York. Matthew Diaz is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.


                                            428
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 430 of 962




 425. James E. DiCharo as Personal Representative of the Estate of Joseph L. DiChiaro,
 deceased, the late spouse of Patricia F. DiChiaro, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. James E. DiCharo as Personal Representative of the
 Estate of Joseph L. DiChiaro is a resident of New York. Patricia F. DiChiaro is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 426. James E. DiChiaro, individually, as surviving child of Patricia F. DiChiaro, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James E. DiChiaro is
 a resident of New York. Patricia F. DiChiaro is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 427. James E. DiChiaro, as the Personal Representative of the Estate of Patricia F.
 DiChiaro, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Patricia F. DiChiaro, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. James E. DiChiaro is a resident of
 New York. Patricia F. DiChiaro is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 428. Thomas L. DiChiaro, individually, as surviving child of Patricia F. DiChiaro, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas L. DiChiaro
 is a resident of New York. Patricia F. DiChiaro is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 429. Camille Doany, individually, as surviving sibling of Ramzi A. Doany, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Camille Doany is a
 resident of Jordan. Ramzi A. Doany is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 430. Samia Doany, individually, as surviving parent of Ramzi A. Doany, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Samia Doany is a resident of
 Virginia. Ramzi A. Doany is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 431. Dina Doany-Azzam, individually, as surviving sibling of Ramzi A. Doany, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dina Doany-Azzam
 is a resident of Virginia. Ramzi A. Doany is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                             429
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 431 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 432. Dina Doany-Azzam, as the Personal Representative of the Estate of Ramzi A.
 Doany, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Ramzi A. Doany, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Dina Doany-Azzam is a resident of
 Virginia. Ramzi A. Doany is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 433. Ibrahim Doany, individually, as surviving sibling of Ramzi A. Doany, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ibrahim Doany is a
 resident of Jordan. Ramzi A. Doany is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 434. Daryl Gabriel, individually, as surviving child of Benilda Domingo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daryl Gabriel is a resident of
 New York. Benilda Domingo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 435. Benjamin Dominguez, Jr., individually, as surviving sibling of Carlos
 Dominguez, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Benjamin Dominguez, Jr. is a resident of Vermont. Carlos Dominguez is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 436. Benjamin Dominguez, Jr. as Personal Representative of the Estate of Benjamin
 Dominguez, Sr., deceased, the late parent of Carlos Dominguez, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Benjamin Dominguez, Jr. as Personal
 Representative of the Estate of Benjamin Dominguez, Sr. is a resident of Vermont. Carlos
 Dominguez is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 437. Benjamin Dominguez, Jr. as Personal Representative of the Estate of Eugenia
 Dominguez, deceased, the late parent of Carlos Dominguez, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Benjamin Dominguez, Jr. as Personal
 Representative of the Estate of Eugenia Dominguez is a resident of Vermont. Carlos
 Dominguez is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.



                                            430
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 432 of 962




 438. Chang Don Kim, individually, as surviving parent of Lawrence Don Kim, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Chang Don Kim is a
 resident of Washington. Lawrence Don Kim is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 439. Chang Don Kim, as the Personal Representative of the Estate of Lawrence Don
 Kim, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Lawrence Don Kim, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Chang Don Kim is a resident of
 Washington. Lawrence Don Kim is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 440. Catherine Fleming as Personal Representative of the Estate of Soh Ryang Kim,
 deceased, the late parent of Lawrence Don Kim, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Catherine Fleming as Personal Representative of the
 Estate of Soh Ryang Kim is a resident of Washington. Lawrence Don Kim is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 441. Catherine Fleming, individually, as surviving sibling of Lawrence Don Kim, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine Fleming is
 a resident of Washington. Lawrence Don Kim is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 442. John Doe 106, as the Personal Representative of the Estate of George A. Cuellar,
 deceased, the late life partner of Luke Dudek, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Luke Dudek is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 443. John Doe 107, as the Personal Representative of the Estate of Luke Dudek,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Luke Dudek, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Luke Dudek is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 444. April Horton, individually, as surviving sibling of Edward T. Earhart, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. April Horton is a resident of
 Kentucky. Edward T. Earhart is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             431
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 433 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 445. Andrea Stauter, individually, as surviving sibling of Edward T. Earhart, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrea Stauter is a
 resident of Kentucky. Edward T. Earhart is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 446. Andrea Stauter, as the Personal Representative of the Estate of Edward T. Earhart,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Edward T. Earhart, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Andrea Stauter is a resident of Kentucky.
 Edward T. Earhart is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 447. Andrea Stauter as Personal Representative of the Estate of Charlotte Earhart,
 deceased, the late parent of Edward T. Earhart, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Andrea Stauter as Personal Representative of the Estate of
 Charlotte Earhart is a resident of Kentucky. Edward T. Earhart is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 448. Andrea Stauter as Personal Representative of the Estate of Thomas Earhart,
 deceased, the late parent of Edward T. Earhart, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Andrea Stauter as Personal Representative of the Estate of
 Thomas Earhart is a resident of Kentucky. Edward T. Earhart is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 449. Christopher Aiello as Personal Representative of the Estate of Joan Aiello,
 deceased, the late sibling of John E. Eichler, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Christopher Aiello is a resident of Florida. John E. Eichler
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 450. John Churchill as Personal Representative of the Estate of Lois Churchill,
 deceased, the late sibling of John E. Eichler, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. John Churchill as Personal Representative of the Estate of
 Lois Churchill is a resident of New Jersey. John E. Eichler is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.



                                             432
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 434 of 962




 451. John R. Eichler, individually, as surviving child of John E. Eichler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John R. Eichler is a resident
 of New Jersey. John E. Eichler is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 452. John R. Eichler, as the Personal Representative of the Estate of John E. Eichler,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of John E. Eichler, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. John R. Eichler is a resident of New Jersey. John E.
 Eichler is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 453. John R. Eichler as Personal Representative of the Estate of Margaret L. Eichler,
 deceased, the late spouse of John E. Eichler, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. John R. Eichler as Personal Representative of the Estate of
 Margaret L. Eichler is a resident of New Jersey. John E. Eichler is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 454. Catherine Ericson, individually, as surviving child of Ulf Ramm Ericson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine Ericson is
 a resident of Connecticut. Ulf Ramm Ericson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 455. Catherine Ericson, as Personal Representative of the Estate of Helen Carole
 Ericson, deceased, the late spouse of Ulf Ramm Ericson, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Catherine Ericson, as Personal Representative of
 the Estate of Helen Carole Ericson, is a resident of Connecticut. Ulf Ramm Ericson is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 456. Catherine Ericson, as the Personal Representative of the Estate of Ulf Ramm
 Ericson, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Ulf Ramm Ericson, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Catherine Ericsonis a resident of
 Connecticut. Ulf Ramm Ericson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 457. Itauma Ette, individually, as surviving sibling of Sadie Ette, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Itauma Ette is a resident of New
 York. Sadie Ette is one of the Decedents murdered as a result of the terrorist attacks of

                                             433
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 435 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 458. Benjamin Edokpayi, as the Personal Representative of the Estate of Sadie Ette,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Sadie Ette, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Benjamin Edokpayi is a resident of California. Sadie Ette
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 459. Sarah DeSimone, individually, as surviving child of Catherine Fagan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sarah DeSimone is a resident
 of New York. Catherine Fagan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 460. Sarah DeSimone, as the Personal Representative of the Estate of Catherine Fagan,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Catherine Fagan, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Sarah DeSimone is a resident of New York.
 Catherine Fagan is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 461. Jane M. Cristiano, individually, as surviving child of Thomas Farino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jane M. Cristiano is a
 resident of New York. Thomas Farino is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 462. Daniel Farino, individually, as surviving sibling of Thomas Farino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daniel Farino is a resident of
 New York. Thomas Farino is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 463. Frank Farino, individually, as surviving sibling of Thomas Farino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Frank Farino is a resident of
 New York. Thomas Farino is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 464. James Farino, individually, as surviving child of Thomas Farino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Farino is a resident of
 New York. Thomas Farino is one of the Decedents murdered as a result of the terrorist

                                             434
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 436 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 465. Patrick Farino, individually, as surviving sibling of Thomas Farino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patrick Farino is a resident of
 New York. Thomas Farino is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 466. Mary A. Farino-Thomas, individually, as surviving spouse of Thomas Farino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary A. Farino-
 Thomas is a resident of New York. Thomas Farino is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 467. Mary A. Farino-Thomas, as the Personal Representative of the Estate of Thomas
 Farino, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Thomas Farino, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Mary A. Farino-Thomas is a resident of New
 York. Thomas Farino is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 468. Kathryn Nesbit, individually, as surviving child of Elizabeth A. Farmer, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathryn Nesbit is a
 resident of Georgia. Elizabeth A. Farmer is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 469. Kathryn Nesbit, as the Personal Representative of the Estate of Elizabeth A.
 Farmer, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Elizabeth A. Farmer, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Kathryn Nesbit is a resident of
 Georgia. Elizabeth A. Farmer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 470. Jennifer Artola, individually, as surviving child of Francis J. Feely, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jennifer Artola is a resident
 of New York. Francis J. Feely is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             435
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 437 of 962




 471. Caitlin Feely, individually, as surviving child of Francis J. Feely, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Caitlin Feely is a resident of
 New York. Francis J. Feely is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 472. Lori Feely, individually, as surviving spouse of Francis J. Feely, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lori Feely is a resident of
 New York. Francis J. Feely is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 473. Jennifer Artola, as the Personal Representative of the Estate of Francis J. Feely,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Francis J. Feely, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jennifer Artola is a resident of New York. Francis J.
 Feely is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 474. Alice Feely, as Personal Representative of the Estate of Patricia Feely, deceased,
 the late parent of Francis J. Feely, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Alice Feely, as Personal Representative of the Estate of Patricia
 Feely is a resident of Pennsylvania. Francis J. Feely is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 475. Stephanie Feely, individually, as surviving child of Francis J. Feely, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stephanie Feely is a resident
 of New York. Francis J. Feely is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 476. Lauren Ludvigsen, individually, as surviving child of Francis J. Feely, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lauren Ludvigsen is
 a resident of New York. Francis J. Feely is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 477. Catherine Curley, individually, as surviving sibling of Sean B. Fegan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine Curley is a
 resident of New York. Sean B. Fegan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                             436
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 438 of 962




 478. Peter Fegan Jr., individually, as surviving sibling of Sean B. Fegan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peter Fegan Jr. is a resident
 of New York. Sean B. Fegan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 479. Peter Fegan, individually, as surviving parent of Sean B. Fegan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peter Fegan is a resident of
 New York. Sean B. Fegan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 480. Peter Fegan, as the Personal Representative of the Estate of Sean B. Fegan,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Sean B. Fegan, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Peter Fegan is a resident of New York. Sean B.
 Fegan is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 481. Anne Marie Hartney, individually, as surviving sibling of Sean B. Fegan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anne Marie Hartney
 is a resident of New York. Sean B. Fegan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 482. Peter Fegan as Personal Representative of the Estate of Margaret Colette Fegan,
 deceased, the late parent of Sean B. Fegan, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Peter Fegan as Personal Representative of the Estate of
 Margaret Colette Fegan is a resident of New York. Sean B. Fegan is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 483. Alexis Feliciano, individually, as surviving child of Rosa Maria Feliciano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexis Feliciano is a
 resident of New York. Rosa Maria Feliciano is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 484. Amanda Feliciano, individually, as surviving child of Rosa Maria Feliciano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Amanda Feliciano is
 a resident of New York. Rosa Maria Feliciano is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                             437
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 439 of 962




 485. Isaac Feliciano, individually, as surviving spouse of Rosa Maria Feliciano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Isaac Feliciano is a
 resident of New York. Rosa Maria Feliciano is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 486. Isaac Feliciano, as the Personal Representative of the Estate of Rosa Maria
 Feliciano, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Rosa Maria Feliciano, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Isaac Feliciano is a resident of New
 York. Rosa Maria Feliciano is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 487. Angela Fields, individually, as surviving spouse of Samuel Fields Sr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Angela Fields is a
 resident of Georgia. Samuel Fields Sr. is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 488. Angela Fields, as the Personal Representative of the Estate of Samuel Fields Sr.,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Samuel Fields Sr., is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Angela Fields is a resident of Georgia. Samuel
 Fields Sr. is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 489. Demetrius Fields, individually, as surviving child of Samuel Fields Sr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Demetrius Fields is a
 resident of Georgia. Samuel Fields Sr. is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 490. Samuel Fields Jr., individually, as surviving child of Samuel Fields Sr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Samuel Fields Jr. is
 a resident of Georgia. Samuel Fields Sr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 491. Stefan Fields, individually, as surviving child of Samuel Fields Sr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stefan Fields is a resident of
 Georgia. Samuel Fields Sr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                             438
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 440 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 492. Sharif Fields, individually, as surviving child of Samuel Fields Sr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sharif Fields is a resident of
 Georgia. Samuel Fields Sr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 493. Sharaia Fields, individually, as surviving child of Samuel Fields Sr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sharaia Fields is a resident of
 New York. Samuel Fields Sr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 494. Christina D. Fisher, individually, as surviving sibling of Andrew Fisher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christina D. Fisher
 is a resident of California. Andrew Fisher is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 495. John Fisher, individually, as surviving sibling of Andrew Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Fisher is a resident of
 New York. Andrew Fisher is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 496. Maria R. Fisher, individually, as surviving sibling of Andrew Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maria R. Fisher is a resident
 of New York. Andrew Fisher is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 497. Marie E. Fisher, individually, as surviving parent of Andrew Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marie E. Fisher is a resident
 of New York. Andrew Fisher is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 498. Nina A. Fisher, individually, as surviving sibling of Andrew Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nina A. Fisher is a resident
 of New York. Andrew Fisher is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                             439
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 441 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 499. Peter Fisher, individually, as surviving sibling of Andrew Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peter Fisher is a resident of
 Kentucky. Andrew Fisher is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 500. Nina Fisher & John Fisher as Personal Representatives of the Estate of John F.
 Fisher, deceased, the late parent of Andrew Fisher, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Nina Fisher & John Fisher as Personal
 Representatives of the Estate of John F. Fisher are residents of New York. Andrew Fisher
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 501. Stephanie E. Lang, individually, as surviving spouse of Andrew Fisher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephanie E. Lang is
 a resident of New York. Andrew Fisher is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 502. Stephanie E. Lang, as the Personal Representative of the Estate of Andrew Fisher,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Andrew Fisher, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Stephanie E. Lang is a resident of New York.
 Andrew Fisher is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 503. Catherine A. Chiola, individually, as surviving sibling of John Roger Fisher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine A. Chiola
 is a resident of New Jersey. John Roger Fisher is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 504. Catherine A. Chiola, as the Personal Representative of the Estate of John Roger
 Fisher, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of John Roger Fisher, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Catherine A. Chiola is a resident of
 New Jersey. John Roger Fisher is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.



                                             440
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 442 of 962




 505. Bridget E. Fisher, individually, as surviving child of John Roger Fisher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Bridget E. Fisher is a
 resident of California. John Roger Fisher is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 506. Evan H. Fisher, individually, as surviving child of John Roger Fisher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Evan H. Fisher is a
 resident of Georgia. John Roger Fisher is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 507. Kyle Fisher, individually, as surviving child of John Roger Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kyle Fisher is a resident of
 Georgia. John Roger Fisher is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 508. Ryan P. Fisher, individually, as surviving child of John Roger Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ryan P. Fisher is a resident
 of Arizona. John Roger Fisher is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 509. Tina M. Fisher, individually, as surviving sibling of John Roger Fisher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tina M. Fisher is a
 resident of Massachusetts. John Roger Fisher is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 510. Erin N. Siegel, individually, as surviving child of John Roger Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Erin N. Siegel is a resident of
 California. John Roger Fisher is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 511. Kylie Eve Florio, individually, as surviving child of John J. Florio, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kylie Eve Florio is a resident
 of New York. John J. Florio is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             441
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 443 of 962




 512. Michael J. Florio, individually, as surviving child of John J. Florio, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael J. Florio is a resident
 of New York. John J. Florio is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 513. Shari Florio, individually, as surviving spouse of John J. Florio, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shari Florio is a resident of
 New York. John J. Florio is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 514. Shari Florio, as the Personal Representative of the Estate of John J. Florio,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of John J. Florio, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Shari Florio is a resident of New York. John J.
 Florio is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 515. Brittany Fogel, individually, as surviving child of Stephen M. Fogel, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brittany Fogel is a resident of
 New Jersey. Stephen M. Fogel is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 516. David Fogel, individually, as surviving sibling of Stephen M. Fogel, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Fogel is a resident of
 Florida. Stephen M. Fogel is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 517. Joseph Fogel, individually, as surviving child of Stephen M. Fogel, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joseph Fogel is a resident of
 New Jersey. Stephen M. Fogel is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 518. David Fogel as Personal Representative of the Estate of Beth Fogel, deceased, the
 late parent of Stephen M. Fogel, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. David Fogel as Personal Representative of the Estate of Beth Fogel
 is a resident of Florida. Stephen M. Fogel is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             442
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 444 of 962




 519. Karen Hamorsky, individually, as surviving sibling of Stephen M. Fogel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Karen Hamorsky is a
 resident of Florida. Stephen M. Fogel is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 520. Laurie Pater, individually, as surviving spouse of Stephen M. Fogel, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Laurie Pater is a resident of
 New Jersey. Stephen M. Fogel is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 521. Laurie Pater, as the Personal Representative of the Estate of Stephen M. Fogel,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Stephen M. Fogel, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Laurie Pater is a resident of New Jersey.
 Stephen M. Fogel is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 522. Elaine Cunnea, individually, as surviving sibling of Godwin Forde, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elaine Cunnea is a resident of
 the United Kingdom. Godwin Forde is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 523. Charlene Carmen Forde, individually, as surviving child of Godwin Forde, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charlene Carmen
 Forde is a resident of the United Kingdom. Godwin Forde is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 524. Charlene Carmen Forde, as the co-Personal Representative of the Estate of
 Godwin Forde, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Godwin Forde, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Charlene Carmen Forde is a resident
 of the United Kingdom. Godwin Forde is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 525. Dorepha Forde, individually, as surviving parent of Godwin Forde, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dorepha Forde is a resident
 of the United Kingdom. Godwin Forde is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                             443
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 445 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 526. Dorna Forde, individually, as surviving sibling of Godwin Forde, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dorna Forde is a resident of
 the United Kingdom. Godwin Forde is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 527. Dorolyne Forde, individually, as surviving sibling of Godwin Forde, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dorolyne Forde is a resident
 of North Carolina. Godwin Forde is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 528. Raymond Forde, individually, as surviving sibling of Godwin Forde, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Raymond Forde is a resident
 of the United Kingdom. Godwin Forde is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 529. Romel DaCosta Forde, individually, as surviving child of Godwin Forde, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Romel DaCosta
 Forde is a resident of the United Kingdom. Godwin Forde is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 530. Godwin Marlon Junior Forde, individually, as surviving child of Godwin Forde, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Godwin Marlon
 Junior Forde is a resident of the United Kingdom. Godwin Forde is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 531. Myrna Thomas, individually, as surviving sibling of Godwin Forde, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Myrna Thomas is a resident
 of the United Kingdom. Godwin Forde is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 532. Angela Alleyne, as the co-Personal Representative of the Estate of Godwin Forde,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Godwin Forde, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Angela Alleyne is a resident of the United
 Kingdom. Godwin Forde is one of the Decedents murdered as a result of the terrorist

                                             444
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 446 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 533. David Foreman, individually, as surviving sibling of Donald A. Foreman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. David Foreman is a
 resident of New York. Donald A. Foreman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 534. Marcus Foreman, individually, as surviving child of Donald A. Foreman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marcus Foreman is a
 resident of Indiana. Donald A. Foreman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 535. Shirley Foreman, individually, as surviving parent of Donald A. Foreman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shirley Foreman is a
 resident of New York. Donald A. Foreman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 536. Shirley Foreman, as the Personal Representative of the Estate of Donald A.
 Foreman, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Donald A. Foreman, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Shirley Foreman is a resident of New
 York. Donald A. Foreman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 537. John Doe 117, as the Personal Representative of the Estate of Barbara E. Hill,
 deceased, the late parent of Sandra N. Foster, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Sandra N. Foster is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 538. Lawrence Hill, as the Personal Representative of the Estate of Sandra N. Foster,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Sandra N. Foster, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Lawrence Hill is a resident of the District of
 Columbia. Sandra N. Foster is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                             445
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 447 of 962




 539. Lawrence Hill, individually, as surviving sibling of Sandra N. Foster, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lawrence Hill is a resident of
 the District of Columbia. Sandra N. Foster is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 540. Allison Fox-Breland, individually, as surviving child of Virginia E. Fox, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Allison Fox-Breland
 is a resident of New Jersey. Virginia E. Fox is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 541. Allison Fox-Breland, as the Personal Representative of the Estate of Virgina E.
 Fox, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Virginia E. Fox, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Allison Fox-Breland is a resident of New
 Jersey. Virginia E. Fox is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 542. Patrick T. Wynn, individually, as surviving child of Virginia E. Fox, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patrick T. Wynn is a resident
 of New York. Virginia E. Fox is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 543. Raymond Durant, individually, as surviving child of Virgin (Lucy) Francis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Raymond Durant is
 a resident of Pennsylvania. Virgin (Lucy) Francis is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 544. Joseph Francis, individually, as surviving child of Virgin (Lucy) Francis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Francis is a
 resident of New York. Virgin (Lucy) Francis is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 545. Joseph Francis, as the Personal Representative of the Estate of Virgin (Lucy)
 Francis, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Virgin (Lucy) Francis, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Joseph Francis is a resident of New
 York. Virgin (Lucy) Francis is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             446
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 448 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 546. Peter Francis, individually, as surviving child of Virgin (Lucy) Francis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter Francis is a
 resident of Barbados W.I. Virgin (Lucy) Francis is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 547. Troy Francis, individually, as surviving child of Virgin (Lucy) Francis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Troy Francis is a
 resident of New York. Virgin (Lucy) Francis is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 548. Felicia Cappo, individually, as surviving sibling of Gary J. Frank, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Felicia Cappo is a resident of
 New Jersey. Gary J. Frank is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 549. Felicia Cappo and Laurie Vigeant, as co-Personal Representatives of the Estate of
 Ellen Vigeant, deceased, the late parent of Gary J. Frank, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Felicia Cappo and Laurie Vigeant, as co-
 Personal Representatives of the Estate of Ellen Vigeant is a resident of New Jersey. Gary
 J. Frank is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 550. John Doe 111, being intended to designate as the Personal Representative of the
 Estate of Gary J. Frank, deceased, on behalf of the Estate, said name being fictitious,
 her/his true name is not presently known, confirmed, and/or has not been duly appointed
 by a court of competent jurisdiction (or having been so appointed, his or her appointment
 has expired, and/or he or she has ceased to serve, and his or her successor has not yet
 been appointed), and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Gary J. Frank, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Gary J. Frank is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 551. Laurie Vigeant, individually, as surviving sibling of Gary J. Frank, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Laurie Vigeant is a resident
 of New Jersey. Gary J. Frank is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             447
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 449 of 962




 552. Daniel Frawley, individually, as surviving sibling of Kevin Frawley, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daniel Frawley is a resident
 of South Carolina. Kevin Frawley is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 553. Theresa Frawley, individually, as surviving sibling of Kevin Frawley, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Theresa Frawley is a
 resident of New York. Kevin Frawley is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 554. Theresa Frawley as Personal Representative of the Estate of Theresa M. Conklin,
 deceased, the late parent of Kevin Frawley, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Theresa Frawley as Personal Representative of the Estate
 of Theresa M. Conklin is a resident of New York. Kevin Frawley is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 555. Margaret Frawley-Gardini, individually, as surviving sibling of Kevin Frawley, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Margaret Frawley-
 Gardini is a resident of New York. Kevin Frawley is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 556. Frances McCarthy, individually, as surviving sibling of Kevin Frawley, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Frances McCarthy is
 a resident of New York. Kevin Frawley is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 557. Martin Fredericks, individually, as surviving sibling of Andrew Fredericks, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Martin Fredericks is
 a resident of New York. Andrew Fredericks is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 558. Allen Freeman, individually, as surviving parent of Tamitha Freeman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Allen Freeman is a
 resident of North Carolina. Tamitha Freeman is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.


                                             448
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 450 of 962




 559. Allen Freeman, as the co-Personal Representative of the Estate of Tamitha
 Freeman, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Tamitha Freeman, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Allen Freeman is a resident of North
 Carolina. Tamitha Freeman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 560. Carla Freeman, individually, as surviving sibling of Tamitha Freeman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carla Freeman is a
 resident of New York. Tamitha Freeman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 561. Juanita Freeman, individually, as surviving parent of Tamitha Freeman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Juanita Freeman is a
 resident of North Carolina. Tamitha Freeman is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 562. Xavier White, individually, as surviving child of Tamitha Freeman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Xavier White is a resident of
 North Carolina. Tamitha Freeman is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 563. Michael Freiman, individually, as surviving sibling of Brett O. Freiman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Freiman is a
 resident of Alabama. Brett O. Freiman is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 564. Bonnie Freiman a/k/a Bonnie Freiman-Magnes, individually, as surviving parent
 of Brett O. Freiman, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Bonnie Freiman a/k/a Bonnie Freiman-Magnes is a resident of Florida. Brett O.
 Freiman is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 565. Pamela J. Freiman, individually, as surviving sibling of Brett O. Freiman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Pamela J. Freiman is
 a resident of New York. Brett O. Freiman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                            449
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 451 of 962




 566. Pamela J. Freiman, as the Personal Representative of the Estate of Brett O.
 Freiman, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Brett O. Freiman, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Pamela J. Freiman is a resident of
 New York. Brett O. Freiman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 567. Burt A. Lewis as Personal Representative of the Estate of Herbert Freiman,
 deceased, the late parent of Brett O. Freiman, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Burt A. Lewis as Personal Representative of the Estate of
 Herbert Freiman is a resident of New York. Brett O. Freiman is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 568. Audrey Ades, individually, as surviving spouse of Paul Friedman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Audrey Ades is a resident of
 Florida. Paul Friedman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 569. Audrey Ades, as the Personal Representative of the Estate of Paul Friedman,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Paul Friedman, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Audrey Ades is a resident of Florida. Paul Friedman
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 570. Richard Hyun-Soo Friedman Fox, individually, as surviving child of Paul
 Friedman, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Richard Hyun-Soo Friedman Fox is a resident of Florida. Paul Friedman is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 571. Selma M. Friedman, individually, as surviving parent of Paul Friedman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Selma M. Friedman
 is a resident of New Jersey. Paul Friedman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 572. Amy Radin, individually, as surviving sibling of Paul Friedman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Amy Radin is a resident of
 New Jersey. Paul Friedman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             450
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 452 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 573. John Doe 18, being intended to designate the Personal Representative of the
 Estate of Lisa Frost, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Lisa Frost, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Lisa Frost is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 574. Daniel Frost, individually, as surviving sibling of Lisa Frost, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Daniel Frost is a resident of Montana.
 Lisa Frost is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 575. Suzanne G. Adams, individually, as surviving sibling of Anthony E. Gallagher, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Suzanne G. Adams
 is a resident of Connecticut. Anthony E. Gallagher is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 576. Carolyn Belford, individually, as surviving sibling of Anthony E. Gallagher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carolyn Belford is a
 resident of New York. Anthony E. Gallagher is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 577. Rose Costello, individually, as surviving parent of Anthony E. Gallagher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rose Costello is a
 resident of New York. Anthony E. Gallagher is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 578. John Doe 19 as Personal Representative of the Estate of Carrie A. Gallagher,
 deceased, the late spouse of Anthony E. Gallagher, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Anthony E. Gallagher is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.



                                             451
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 453 of 962




 579. John Doe 68, being intended to designate the Personal Representative of the
 Estate of Anthony E. Gallagher, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Anthony E. Gallagher, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anthony E. Gallagher is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 580. Joseph Gallagher, individually, as surviving sibling of Anthony E. Gallagher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Gallagher is
 a resident of California. Anthony E. Gallagher is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 581. Donna Struzzieri, individually, as surviving sibling of Bruce Gary, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Donna Struzzieri is a resident
 of New York. Bruce Gary is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 582. Donna Struzzieri as Personal Representative of the Estate of Alice Gary,
 deceased, the late parent of Bruce Gary, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Donna Struzzieri as Personal Representative of the Estate of
 Alice Gary is a resident of New York. Bruce Gary is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 583. Christopher Geis, individually, as surviving sibling of Julie M. Geis, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Christopher Geis is a resident
 of Nebraska. Julie M. Geis is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 584. James P. Geis, individually, as surviving sibling of Julie M. Geis, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James P. Geis is a resident of
 Nebraska. Julie M. Geis is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 585. Rebecca Loethen, individually, as surviving life partner of Julie M. Geis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rebecca Loethen is

                                              452
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 454 of 962




 a resident of California. Julie M. Geis is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 586. Rebecca Loethen, as the Personal Representative of the Estate of Julie M. Geis,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Julie M. Geis, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Rebecca Loethen is a resident of California. Julie
 M. Geis is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 587. Carol Varland, individually, as surviving sibling of Julie M. Geis, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Carol Varland is a resident of
 Oregon. Julie M. Geis is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 588. Michael Geis, individually, as surviving sibling of Julie M. Geis, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Geis is a resident of
 Nebraska. Julie M. Geis is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 589. Janet Baronian, individually, as surviving sibling of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Janet Baronian is a
 resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 590. Lynn Cannata, individually, as surviving sibling of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lynn Cannata is a
 resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 591. Colin Geraghty, individually, as surviving child of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Colin Geraghty is a
 resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 592. Colleen Geraghty, individually, as surviving sibling of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Colleen Geraghty is
 a resident of South Carolina. Edward F. Geraghty is one of the Decedents murdered as a

                                             453
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 455 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 593. Connor Geraghty, individually, as surviving child of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Connor Geraghty is
 a resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 594. James Geraghty, individually, as surviving child of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James Geraghty is a
 resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 595. Mary Geraghty, individually, as surviving spouse of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Geraghty is a
 resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 596. Mary Geraghty, as the Personal Representative of the Estate of Edward F.
 Geraghty, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Edward F. Geraghty, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Mary Geraghty is a resident of New
 York. Edward F. Geraghty is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 597. Maureen Geraghty, individually, as surviving sibling of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Geraghty is
 a resident of Arizona. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 598. Norma Geraghty, individually, as surviving parent of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Norma Geraghty is a
 resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 599. Stephen Geraghty, individually, as surviving sibling of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephen Geraghty is

                                             454
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 456 of 962




 a resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 600. Norma Geraghty as Personal Representative of the Estate of James F. Geraghty,
 deceased, the late parent of Edward F. Geraghty, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Norma Geraghty as Personal Representative of the
 Estate of James F. Geraghty is a resident of New York. Edward F. Geraghty is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 601. Debra Giordano, individually, as surviving sibling of Jeffrey J. Giordano, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Debra Giordano is a
 resident of New York. Jeffrey J. Giordano is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 602. Edward Goldstein, as the Personal Representative of the Estate of Michelle H.
 Goldstein, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Michelle H. Goldstein, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Edward Goldstein is a resident of
 New York. Michelle H. Goldstein is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 603. Annete Herman, individually, as surviving sibling of Michelle H. Goldstein, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Annete Herman is a
 resident of Florida. Michelle H. Goldstein is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 604. Ingrid Jaffe, individually, as surviving parent of Michelle H. Goldstein, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ingrid Jaffe is a
 resident of Florida. Michelle H. Goldstein is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 605. Rafael Herman, individually, as surviving parent of Michelle H. Goldstein, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rafael Herman is a
 resident of Florida. Michelle H. Goldstein is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             455
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 457 of 962




 606. Tatiana R. Gomez, individually, as surviving spouse of Wilder A. Gomez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tatiana R. Gomez is
 a resident of New York. Wilder A. Gomez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 607. BNY Mellon, as the Personal Representative of the Estate of Wilder A. Gomez,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Wilder A. Gomez, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Wilder A. Gomez is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 608. Tatiana S. Gomez, individually, as surviving child of Wilder A. Gomez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tatiana S. Gomez is
 a resident of California. Wilder A. Gomez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 609. Dawn Gonzalez, individually, as surviving sibling of Jenine Gonzalez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dawn Gonzalez is a
 resident of New York. Jenine Gonzalez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 610. Dawn Gonzalez, as the co-Personal Representative of the Estate of Jenine
 Gonzalez, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Jenine Gonzalez, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Dawn Gonzalez is a resident of New
 York. Jenine Gonzalez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 611. Corina Murillo, individually, as surviving parent of Mauricio Gonzalez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Corina Murillo is a
 resident of New York. Mauricio Gonzalez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 612. Dora Murillo, individually, as surviving sibling of Mauricio Gonzalez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dora Murillo is a
 resident of New York. Mauricio Gonzalez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                             456
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 458 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 613. Evan V. Vandommelen-Gonzalez, as the Personal Representative of the Estate of
 Mauricio Gonzalez, deceased, on behalf of the Estate, and on behalf of all survivors and
 all legally entitled beneficiaries and family members of Mauricio Gonzalez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Evan V. Dandommelen-
 Gonzalez is a resident of California. Mauricio Gonzalez is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 614. Brenda S. Goody, individually, as surviving spouse of Harry Goody, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brenda S. Goody is a resident
 of South Carolina. Harry Goody is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 615. Brenda S. Goody, as the Personal Representative of the Estate of Harry Goody,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Harry Goody, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Brenda S. Goody is a resident of South Carolina.
 Harry Goody is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 616. Jonathan Goody, individually, as surviving child of Harry Goody, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jonathan Goody is a resident
 of New York. Harry Goody is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 617. Alexis Goody-Harding, individually, as surviving child of Harry Goody, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexis Goody-
 Harding is a resident of South Carolina. Harry Goody is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 618. Adilakshumma Gopu, individually, as surviving parent of Kiran Kumar Reddy
 Gopu, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Adilakshumma Gopu is a resident of India. Kiran Kumar Reddy Gopu is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 619. Deepa R. Gopu, individually, as surviving sibling of Kiran Kumar Reddy Gopu, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Deepa R. Gopu is

                                            457
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 459 of 962




 a resident of Texas. Kiran Kumar Reddy Gopu is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 620. Deepa R. Gopu, as the Personal Representative of the Estate of Kiran Kumar
 Reddy Gopu, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Kiran Kumar Reddy Gopu, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Deepa R. Gopu is a
 resident of Texas. Kiran Kumar Reddy Gopu is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 621. Venkata Subba Reddy Gopu, individually, as surviving parent of Kiran Kumar
 Reddy Gopu, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Venkata Subba Reddy Gopu is a resident of India. Kiran Kumar Reddy Gopu is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 622. Carly Gordenstein, individually, as surviving child of Lisa F. Gordenstein, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carly Gordenstein is
 a resident of the District of Columbia. Lisa F. Gordenstein is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 623. David Gordenstein, individually, as surviving spouse of Lisa F. Gordenstein, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. David Gordenstein
 is a resident of Massachusetts. Lisa F. Gordenstein is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 624. David Gordenstein, as the Personal Representative of the Estate of Lisa F.
 Gordenstein, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Lisa F. Gordenstein, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Gordenstein is a
 resident of Massachusetts. Lisa F. Gordenstein is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 625. Samantha Gordenstein, individually, as surviving child of Lisa F. Gordenstein, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Samantha
 Gordenstein is a resident of Massachusetts. Lisa F. Gordenstein is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.

                                            458
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 460 of 962




 626. Dorothy Fenn Grodberg, individually, as surviving parent of Lisa F. Gordenstein,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Dorothy Fenn
 Grodberg is a resident of Massachusetts. Lisa F. Gordenstein is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 627. Deborah Fenn, individually, as surviving sibling of Lisa F. Gordenstein, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Deborah Fenn is a
 resident of Massachusetts. Lisa F. Gordenstein is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 628. Erika Lutzner, individually, as surviving spouse of Jon R. Grabowski, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Erika Lutzner is a
 resident of New York. Jon R. Grabowski is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 629. Erika Lutzner, as the Personal Representative of the Estate of Jon R. Grabowski,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Jon R. Grabowski, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Erika Lutzner is a resident of New York. Jon R.
 Grabowski is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 630. Kristen C. Graf, individually, as surviving child of Edwin J. Graf III, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kristen C. Graf is a resident
 of Maryland. Edwin J. Graf III is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 631. Tyler W. Graf, individually, as surviving child of Edwin J. Graf, III, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tyler W. Graf is a resident of
 Maryland. Edwin J. Graf, III is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 632. Maureen Granados, individually, as surviving child of Gilbert Granados, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Granados
 is a resident of New York. Gilbert Granados is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                            459
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 461 of 962




 633. Teresa Granados, individually, as surviving spouse of Gilbert Granados, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Teresa Granados is a
 resident of New York. Gilbert Granados is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 634. Teresa Granados, as the Personal Representative of the Estate of Gilbert
 Granados, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Gilbert Granados, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Teresa Granados is a resident of New
 York. Gilbert Granados is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 635. Lawrence Gray, individually, as surviving spouse of Tara McCloud Gray, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lawrence Gray is a
 resident of New York. Tara McCloud Gray is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 636. Lawrence Gray, as the Personal Representative of the Estate of Tara McCloud
 Gray, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Tara McCloud Gray, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lawrence Gray is a resident of New
 York. Tara McCloud Gray is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 637. John Doe 22, being intended to designate the Personal Representative of the
 Estate of Andrew Peter Charles Curry Green, deceased, said name being fictitious,
 her/his true name is not presently known, confirmed, and/or has not been duly appointed
 by a court of competent jurisdiction (or having been so appointed, his or her appointment
 has expired, and/or he or she has ceased to serve, and his or her successor has not yet
 been appointed) on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Andrew Peter Charles Curry Green, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew Peter
 Charles Curry Green is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 638. Matthew Green, individually, as surviving sibling of Andrew Peter Charles Curry
 Green, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew
 Green is a resident of Florida. Andrew Peter Charles Curry Green is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out


                                            460
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 462 of 962




 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 639. Peter E. Green, individually, as surviving parent of Andrew Peter Charles Curry
 Green, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Peter E.
 Green is a resident of Massachusetts. Andrew Peter Charles Curry Green is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 640. Kevin Anthony Green as Personal Representative of the Estate of Razelda Bailey-
 Green, deceased, the late parent of Derrick A. Green, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Kevin Anthony Green as Personal Representative of
 the Estate of Razelda Bailey-Green is a resident of Connecticut. Derrick A. Green is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 641. Melrose Morrison Green, individually, as surviving spouse of Derrick A. Green,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Melrose
 Morrison Green is a resident of New York. Derrick A. Green is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 642. Melrose Morrison Green, as the Personal Representative of the Estate of Derrick
 A. Green, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Derrick A. Green, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Melrose Morrison Green is a resident
 of New York. Derrick A. Green is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 643. Delroy Llewellyn, individually, as surviving sibling of Derrick A. Green, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Delroy Llewellyn is
 a resident of Connecticut. Derrick A. Green is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 644. Jennifer Green, individually, as surviving child of Wanda Green, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jennifer Green is a resident
 of New Jersey. Wanda Green is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 645. Jennifer Green, as the Personal Representative of the Estate of Wanda Green,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled

                                             461
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 463 of 962




 beneficiaries and family members of Wanda Green, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jennifer Green is a resident of New Jersey. Wanda
 Green is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 646. Joe Green, individually, as surviving child of Wanda Green, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Joe Green is a resident of New Jersey.
 Wanda Green is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 647. Sandra Jamerson, individually, as surviving sibling of Wanda Green, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sandra Jamerson is a resident
 of California. Wanda Green is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 648. Aserene Smith, individually, as surviving parent of Wanda Green, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Aserene Smith is a resident
 of California. Wanda Green is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 649. Tommy Smith, individually, as surviving sibling of Wanda Green, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tommy Smith is a resident of
 Nevada. Wanda Green is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 650. John Doe 23, being intended to designate the Personal Representative of the
 Estate of Denise Gregory, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Denise Gregory, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Denise Gregory is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 651. Lenworth Sewell, individually, as surviving sibling of Denise Gregory, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lenworth Sewell is a
 resident of New York. Denise Gregory is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                            462
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 464 of 962




 652. Evelyn Griffin, individually, as surviving parent of John M. Griffin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Evelyn Griffin is a resident of
 Florida. John M. Griffin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 653. John Griffin, individually, as surviving parent of John M. Griffin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Griffin is a resident of
 Florida. John M. Griffin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 654. Julie Griffin, individually, as surviving child of John M. Griffin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Julie Griffin is a resident of
 Tennessee. John M. Griffin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 655. June Griffin, individually, as surviving spouse of John M. Griffin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. June Griffin is a resident of
 New Jersey. John M. Griffin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 656. June Griffin, as the Personal Representative of the Estate of John M. Griffin,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of John M. Griffin, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. June Griffin is a resident of New Jersey. John M.
 Griffin is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 657. Michael T. Griffin, individually, as surviving sibling of John M. Griffin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael T. Griffin is
 a resident of New Jersey. John M. Griffin is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 658. Jenna Griffin, individually, as surviving child of John M. Griffin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jenna Griffin is a resident of
 New Jersey. John M. Griffin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                             463
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 465 of 962




 659. Nenita Grijalvo, individually, as surviving spouse of Ramon Grijalvo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nenita Grijalvo is a
 resident of New York. Ramon Grijalvo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 660. Nenita Grijalvo, as the Personal Representative of the Estate of Ramon Grijalvo,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Ramon Grijalvo, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Nenita Grijalvo is a resident of New York. Ramon
 Grijalvo is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 661. Rachel Grijalvo, individually, as surviving child of Ramon Grijalvo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rachel Grijalvo is a resident
 of Massachusetts. Ramon Grijalvo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 662. Raymond Grijalvo, individually, as surviving child of Ramon Grijalvo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Raymond Grijalvo is
 a resident of New York. Ramon Grijalvo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 663. Frances Grouzalis, individually, as surviving spouse of Kenneth Grouzalis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Frances Grouzalis is
 a resident of New Jersey. Kenneth Grouzalis is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 664. Frances Grouzalis, as the Personal Representative of the Estate of Kenneth
 Grouzalis, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Kenneth Grouzalis, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Frances Grouzalis is a resident of
 New Jersey. Kenneth Grouzalis is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 665. Lisa Grouzalis, individually, as surviving child of Kenneth Grouzalis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lisa Grouzalis is a
 resident of New Jersey. Kenneth Grouzalis is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and


                                             464
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 466 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 666. Myrta Gschaar, individually, as surviving spouse of Robert Gschaar, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Myrta Gschaar is a resident
 of Michigan. Robert Gschaar is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 667. Myrta Gschaar, as the Personal Representative of the Estate of Robert Gschaar,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Robert Gschaar, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Myrta Gschaar is a resident of Michigan. Robert
 Gschaar is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 668. Genevieve Gyulavary, individually, as surviving child of Peter Gyulavary, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Genevieve
 Gyulavary is a resident of New York. Peter Gyulavary is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 669. Jane Gyulavary, individually, as surviving spouse of Peter Gyulavary, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jane Gyulavary is a
 resident of New York. Peter Gyulavary is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 670. Jane Gyulavary, as the Personal Representative of the Estate of Peter Gyulavary,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Peter Gyulavary, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jane Gyulavary is a resident of New York. Peter
 Gyulavary is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 671. Paul Gyulavary, individually, as surviving sibling of Peter Gyulavary, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paul Gyulavary is a
 resident of Australia. Peter Gyulavary is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 672. Bebe Hafiz, individually, as surviving parent of Nezam Hafiz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Bebe Hafiz is a resident of
 New York. Nezam Hafiz is one of the Decedents murdered as a result of the terrorist

                                            465
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 467 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 673. Sharon Hafiz, individually, as surviving sibling of Nezam Hafiz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sharon Hafiz is a resident of
 Florida. Nezam Hafiz is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 674. Bebe Hafiz as Personal Representative of the Estate of Cecil Mohammed Ishmael
 Hafiz, deceased, the late parent of Nezam Hafiz, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Bebe Hafiz as Personal Representative of the Estate
 of Cecil Mohammed Ishmael Hafiz is a resident of New York. Nezam Hafiz is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 675. Deborah Khublall, individually, as surviving sibling of Nezam Hafiz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Deborah Khublall is a
 resident of New York. Nezam Hafiz is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 676. Deborah Khublall, as the Personal Representative of the Estate of Nezam Hafiz,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Nezam Hafiz, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Deborah Khublall is a resident of New York.
 Nezam Hafiz is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 677. Gary McKinzy, individually, as surviving spouse of Diane Hale-McKinzy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gary McKinzy is a
 resident of Arkansas. Diane Hale-McKinzy is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 678. Gary McKinzy, as the Personal Representative of the Estate of Diane Hale-
 McKinzy, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Diane Hale-McKinzy, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Gary McKinzy is a resident of
 Arkansas. Diane Hale-McKinzy is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.



                                            466
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 468 of 962




 679. Douglas W. Hall, individually, as surviving sibling of Richard Hall, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Douglas W. Hall is a resident
 of New York. Richard Hall is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 680. Shawn C. Hall, individually, as surviving child of Richard Hall, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shawn C. Hall is a resident of
 Illinois. Richard Hall is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 681. Douglas Hall as Personal Representative of the Estate of Herman W. Hall ,
 deceased, the late parent of Richard Hall, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Douglas Hall as Personal Representative of the Estate of
 Herman W. Hall is a resident of New York. Richard Hall is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 682. Douglas Hall as Personal Representative of the Estate of Ruth Hall, deceased, the
 late parent of Richard Hall, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Douglas Hall as Personal Representative of the Estate of Ruth Hall
 is a resident of New York. Richard Hall is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 683. Alisha Halmon, individually, as surviving child of Carolyn Halmon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alisha Halmon is a resident
 of the District of Columbia. Carolyn Halmon is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 684. Herman Halmon, individually, as surviving spouse of Carolyn Halmon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Herman Halmon is a
 resident of South Carolina. Carolyn Halmon is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 685. Herman Halmon, as the Personal Representative of the Estate of Carolyn Halmon,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Carolyn Halmon, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Herman Halmon is a resident of South Carolina.
 Carolyn Halmon is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.

                                             467
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 469 of 962




 686. Standish Halmon, individually, as surviving child of Carolyn Halmon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Standish Halmon is
 a resident of the District of Columbia. Carolyn Halmon is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 687. Talat Hamdani, individually, as surviving parent of Mohammad S. Hamdani, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Talat Hamdani is a
 resident of New York. Mohammad S. Hamdani is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 688. Zeshan Hamdani, individually, as surviving sibling of Mohammad S. Hamdani, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Zeshan Hamdani is
 a resident of New York. Mohammad S. Hamdani is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 689. Talat Hamdani, as the Personal Representative of the Estate of Mohammad S.
 Hamdani, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Mohammad S. Hamdani, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Talat Hamdani is a resident
 of New York. Mohammad S. Hamdani is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 690. Talat Hamdani as Personal Representative of the Estate of Mohammad Saleem
 Hamdani, deceased, the late parent of Mohammad S. Hamdani, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Talat Hamdani as Personal
 Representative of the Estate of Mohammad Saleem Hamdani is a resident of New York.
 Mohammad S. Hamdani is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 691. Mohammad Hamdani, individually, as surviving sibling of Mohammad S.
 Hamdani, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Mohammad Hamdani is a resident of New York. Mohammad S. Hamdani is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 692. John Doe 24, being intended to designate the Personal Representative of the
 Estate of Melissa M. Harrington-Hughes, deceased, said name being fictitious, her/his
 true name is not presently known, confirmed, and/or has not been duly appointed by a
 court of competent jurisdiction (or having been so appointed, his or her appointment has

                                            468
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 470 of 962




 expired, and/or he or she has ceased to serve, and his or her successor has not yet been
 appointed) on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Melissa M. Harrington-Hughes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Melissa M. Harrington-
 Hughes is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 693. Beverly Harrington, individually, as surviving parent of Melissa M. Harrington-
 Hughes, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Beverly
 Harrington is a resident of Massachusetts. Melissa M. Harrington-Hughes is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 694. Robert J. Harrington, individually, as surviving parent of Melissa M. Harrington-
 Hughes, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Robert
 J. Harrington is a resident of Massachusetts. Melissa M. Harrington-Hughes is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 695. Dawn Haskell Carbone, individually, as surviving sibling of Thomas Haskell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dawn Haskell
 Carbone is a resident of New York. Thomas Haskell is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 696. John Doe 25 as Personal Representative of the Estate of Timothy Haskell,
 deceased, the late sibling of Thomas Haskell, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Thomas Haskell is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 697. Barbara Haskell, individually, as surviving spouse of Thomas Haskell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara Haskell is a
 resident of New York. Thomas Haskell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 698. Barbara Haskell, as the Personal Representative of the Estate of Thomas Haskell,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Thomas Haskell, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Barbara Haskell is a resident of New York. Thomas
 Haskell is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.

                                             469
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 471 of 962




 699. Erin Haskell, individually, as surviving child of Thomas Haskell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Erin Haskell is a resident of
 New York. Thomas Haskell is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 700. Maureen Haskell, individually, as surviving parent of Thomas Haskell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Haskell is a
 resident of New York. Thomas Haskell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 701. Meaghan Haskell, individually, as surviving child of Thomas Haskell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Meaghan Haskell is
 a resident of New York. Thomas Haskell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 702. Tara Haskell, individually, as surviving child of Thomas Haskell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tara Haskell is a resident of
 New York. Thomas Haskell is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 703. Kevin Haskell, individually, as surviving sibling of Thomas Haskell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Haskell is a resident of
 New York. Thomas Haskell is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 704. Dawn H. Carbone, individually, as surviving sibling of Timothy Haskell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dawn H. Carbone is
 a resident of New York. Timothy Haskell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 705. John Doe 26, being intended to designate the Personal Representative of the
 Estate of Timothy Haskell, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Timothy Haskell, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Timothy Haskell is one of the Decedents murdered as a result of the

                                             470
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 472 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 706. Kevin Haskell, individually, as surviving sibling of Timothy Haskell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Haskell is a resident of
 New York. Timothy Haskell is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 707. Maureen Haskell, individually, as surviving parent of Timothy Haskell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Haskell is a
 resident of New York. Timothy Haskell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 708. Barbara Haskell as Personal Representative of the Estate of Thomas Haskell,
 deceased, the late sibling of Timothy Haskell, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Barbara Haskell as Personal Representative of the Estate
 of Thomas Haskell is a resident of New York. Timothy Haskell is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 709. Melissa J. Bernstein, individually, as surviving child of Roberta B. Heber, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Melissa J. Bernstein
 is a resident of Pennsylvania. Roberta B. Heber is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 710. Stuart Bernstein, individually, as surviving child of Roberta B. Heber, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stuart Bernstein is a
 resident of Tennessee. Roberta B. Heber is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 711. Robyn Bernstein Donati, individually, as surviving child of Roberta B. Heber, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robyn Bernstein
 Donati is a resident of Massachusetts. Roberta B. Heber is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 712. Jacob Heber, individually, as surviving spouse of Roberta B. Heber, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jacob Heber is a resident of
 New York. Roberta B. Heber is one of the Decedents murdered as a result of the terrorist

                                              471
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 473 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 713. Melissa J. Bernstein, as the co-Personal Representative of the Estate of Roberta B.
 Heber, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Roberta B. Heber, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Melissa J. Bernstein is a resident of
 Pennsylvania. Roberta B. Heber is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 714. Marinella Hemenway, as the Personal Representative of the Estate of Ronald J.
 Hemenway, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Ronald J. Hemenway, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marinella Hemenway is a
 resident of Kansas. Ronald J. Hemenway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 715. Desiree Hemenway, individually, as surviving child of Ronald J. Hemenway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Desiree Hemenway
 is a resident of Kansas. Ronald J. Hemenway is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 716. Marinella Hemenway, individually, as surviving spouse of Ronald J. Hemenway,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Marinella
 Hemenway is a resident of Kansas. Ronald J. Hemenway is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 717. Robert B. Hemenway Jr., individually, as surviving sibling of Ronald J.
 Hemenway, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Robert B. Hemenway Jr. is a resident of Missouri. Ronald J. Hemenway is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 718. Robert B. Hemenway Sr., individually, as surviving parent of Ronald J.
 Hemenway, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Robert B. Hemenway Sr. is a resident of Kansas. Ronald J. Hemenway is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.


                                            472
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 474 of 962




 719. Shirley Hemenway, individually, as surviving parent of Ronald J. Hemenway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shirley Hemenway
 is a resident of Kansas. Ronald J. Hemenway is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 720. Stefan Hemenway, individually, as surviving child of Ronald J. Hemenway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stefan Hemenway is
 a resident of Kansas. Ronald J. Hemenway is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 721. Kathleen Novich, individually, as surviving sibling of Ronald J. Hemenway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Novich is a
 resident of Kansas. Ronald J. Hemenway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 722. Bernice Dawn Dillard, individually, as surviving sibling of Ronnie Henderson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Bernice Dawn
 Dillard is a resident of New York. Ronnie Henderson is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 723. Valestine Henderson, individually, as surviving sibling of Ronnie Henderson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Valestine Henderson
 is a resident of New York. Ronnie Henderson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 724. Tara Butzbaugh, individually, as surviving sibling of John Christopher Henwood,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Tara Butzbaugh
 is a resident of Connecticut. John Christopher Henwood is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 725. Catherine M. Eklund, individually, as surviving sibling of John Christopher
 Henwood, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Catherine M. Eklund is a resident of Connecticut. John Christopher Henwood is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.



                                            473
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 475 of 962




 726. David D. Henwood III, individually, as surviving sibling of John Christopher
 Henwood Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 David D. Henwood III is a resident of Connecticut. John Christopher Henwood is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 727. David Henwood III, as Personal Representatives of the Estate of David D.
 Henwood Jr., deceased, the late parent of John Christopher Henwood, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Henwood III as
 Personal Representative of the Estate of David D. Henwood Jr. is a resident of
 Connecticut. John Christopher Henwood is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 728. Mary C. Henwood, individually, as surviving parent of John Christopher
 Henwood, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Mary
 C. Henwood is a resident of Connecticut. John Christopher Henwood is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 729. Mary L. Henwood, individually, as surviving sibling of John Christopher
 Henwood, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Mary
 L. Henwood is a resident of Connecticut. John Christopher Henwood is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 730. Pamela Dixon, individually, as surviving parent of DaJuan Hodges, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Pamela Dixon is a resident of
 New York. DaJuan Hodges is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 731. Sherard Dixon, individually, as surviving sibling of DaJuan Hodges, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sherard Dixon is a resident of
 New York. DaJuan Hodges is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 732. Jamielah Persol, as the Personal Representative of the Estate of DaJuan Hodges,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of DaJuan Hodges, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jamielah Persol is a resident of New Jersey. DaJuan
 Hodges is one of the Decedents murdered as a result of the terrorist attacks of September


                                            474
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 476 of 962




 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 733. Jatair Persol, individually, as surviving child of DaJuan Hodges, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jatair Persol is a resident of
 New Jersey. DaJuan Hodges is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 734. Kenneth Alan Davidson as Personal Representative of the Estate of David
 Cannella, deceased, the late child of Judith Hofmiller, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Kenneth Alan Davidson as Personal Representative
 of the Estate of David Cannella is a resident of Connecticut. Judith Hofmiller is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 735. Robert Hofmiller, individually, as surviving sibling of Judith Hofmiller, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Hofmiller is
 a resident of Connecticut. Judith Hofmiller is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 736. Robert Hofmiller as Personal Representative of the Estate of Emma Graves,
 deceased, the late parent of Judith Hofmiller, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Robert Hofmiller as Personal Representative of the Estate
 of Emma Graves is a resident of Connecticut. Judith Hofmiller is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 737. Kelly Marchese as Personal Representative of the Estate of William J. Houston,
 deceased, the late sibling of Charles J. Houston, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Kelly Marchese as Personal Representative of the Estate
 of William J. Houston is a resident of New York. Charles J. Houston is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 738. Francis X. Houston, individually, as surviving sibling of Charles J. Houston, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Francis X. Houston
 is a resident of Florida. Charles J. Houston is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 739. Joan M. Houston, individually, as surviving sibling of Charles J. Houston, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joan M. Houston is a

                                              475
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 477 of 962




 resident of New Jersey. Charles J. Houston is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 740. Linda Houston, individually, as surviving spouse of Charles J. Houston, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Linda Houston is a
 resident of New York. Charles J. Houston is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 741. Linda Houston, as the Personal Representative of the Estate of Charles J.
 Houston, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Charles J. Houston, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Linda Houston is a resident of New
 York. Charles J. Houston is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 742. Joan M. Houston as Personal Representative of the Estate of Joan McQuillen,
 deceased, the late parent of Charles J. Houston, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Joan M. Houston as Personal Representative of the Estate
 of Joan McQuillen is a resident of New Jersey. Charles J. Houston is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 743. Brian Howley, individually, as surviving spouse of Jennifer L. Howley, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brian Howley is a
 resident of New York. Jennifer L. Howley is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 744. Brian Howley, as the Personal Representative of the Estate of Jennifer L. Howley,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Jennifer L. Howley, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Brian Howley is a resident of New York.
 Jennifer L. Howley is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 745. Gerald Hrycak, individually, as surviving sibling of Marian R. Hrycak, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gerald Hrycak is a
 resident of New York. Marian R. Hrycak is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                              476
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 478 of 962




 746. Joanne Hrycak, individually, as surviving spouse of Marian R. Hrycak, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joanne Hrycak is a
 resident of New York. Marian R. Hrycak is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 747. Joanne Hrycak, as the Personal Representative of the Estate of Marian R. Hrycak,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Marian R. Hrycak, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Joanne Hrycak is a resident of New York.
 Marian R. Hrycak is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 748. Christine Buividas, individually, as surviving child of Marian R. Hrycak, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christine Buividas is
 a resident of New York. Marian R. Hrycak is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 749. Gregory Hrycak, individually, as surviving child of Marian R. Hrycak, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gregory Hrycak is a
 resident of New York. Marian R. Hrycak is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 750. Trina Sabb, individually, as surviving sibling of Lamar D. Hulse, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Trina Sabb is a resident of
 Florida. Lamar D. Hulse is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 751. Harold Singleton, individually, as surviving sibling of Lamar D. Hulse, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Harold Singleton is a
 resident of New York. Lamar D. Hulse is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 752. Linda Hulse, individually, as surviving parent of Lamar D. Hulse, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Linda Hulse is a resident of
 New York. Lamar D. Hulse is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                             477
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 479 of 962




 753. Linda Hulse, as the Personal Representative of the Estate of Lamar D. Hulse,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Lamar D. Hulse, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Linda Hulse is a resident of New York. Lamar D.
 Hulse is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 754. Brenda Garrett as Personal Representative of the Estate of Dorothy Lee Coles,
 deceased, the late parent of Peggie Hurt, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Brenda Garrett as Personal Representative of the Estate of
 Dorothy Lee Coles is a resident of Virginia. Peggie Hurt is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 755. Arthur Harris, individually, as surviving parent of Peggie Hurt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Arthur Harris is a resident of
 Virginia. Peggie Hurt is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 756. Arthur Harris, as the Personal Representative of the Estate of Peggie Hurt,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Peggie Hurt, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Arthur Harris is a resident of Virginia. Peggie Hurt
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 757. Edith Otelia Harris, individually, as surviving close, immediate family member of
 Peggie Hurt, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Edith Otelia Harris is a resident of Virginia. Peggie Hurt is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 758. Margaret Ann Williams, individually, as surviving close, immediate family
 member of Peggie Hurt, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Margaret Ann Williams is a resident of Virginia. Peggie Hurt is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 759. Christine Sandra Wilson, individually, as surviving close, immediate family
 member of Peggie Hurt, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Christine Sandra Wilson is a resident of Virginia. Peggie Hurt is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.

                                              478
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 480 of 962




 760. Carlene Wynn as Personal Representative of the Estate of Lelia Mae Wynn,
 deceased, the late close, immediate family member of Peggie Hurt, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Carlene Wynn as Personal
 Representative of the Estate of Lelia Mae Wynn is a resident of Virginia. Peggie Hurt is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 761. Katherine Wynn, individually, as surviving close, immediate family member of
 Peggie Hurt, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Katherine Wynn is a resident of Virginia. Peggie Hurt is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 762. Ben Huttler, individually, as surviving child of Joseph S. Huttler , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ben Huttler is a resident of
 California. Joseph S. Huttler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 763. Frida Huttler, individually, as surviving child of Joseph S. Huttler , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Frida Huttler is a resident of
 California. Joseph S. Huttler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 764. Gideon Huttler, individually, as surviving child of Joseph S. Huttler , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gideon Huttler is a resident
 of California. Joseph S. Huttler is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 765. Miriam Zehava Huttler, individually, as surviving spouse of Joseph S. Huttler , is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Miriam Zehava
 Huttler is a resident of California. Joseph S. Huttler is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 766. Miriam Zehava Huttler, as the Personal Representative of the Estate of Joseph S.
 Huttler, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Joseph S. Huttler , is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Miriam Zehava Huttler is a resident
 of California. Joseph S. Huttler is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                             479
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 481 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 767. Patricia Catherine Hardy, individually, as surviving sibling of Stephen N. Hyland,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia
 Catherine Hardy is a resident of California. Stephen N. Hyland is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 768. Charles Hyland, individually, as surviving sibling of Stephen N. Hyland, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charles Hyland is a
 resident of California. Stephen N. Hyland is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 769. Stephen Hyland, individually, as surviving parent of Stephen N. Hyland, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephen Hyland is a
 resident of California. Stephen N. Hyland is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 770. Stephen Hyland, as the Personal Representative of the Estate of Stephen N.
 Hyland, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Stephen N. Hyland, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Stephen Hyland is a resident of
 California. Stephen N. Hyland is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 771. Cheryl Hyland, individually, as surviving sibling of Stephen N. Hyland, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cheryl Hyland is a
 resident of California. Stephen N. Hyland is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 772. Rachel James, individually, as surviving sibling of Ernest James, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rachel James is a resident of
 New York. Ernest James is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 773. Rachel James, as the Personal Representative of the Estate of Ernest James,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Ernest James, is a Plaintiff seeking justice for the

                                             480
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 482 of 962




 tragic events of September 11, 2001. Rachel James is a resident of New York. Ernest
 James is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 774. Rachel James as Personal Representative of the Estate of Esther James, deceased,
 the late parent of Ernest James, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Rachel James as Personal Representative of the Estate of Esther
 James is a resident of New York. Ernest James is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 775. Michael James Beckford, individually, as surviving spouse of Gricelda E. James,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Michael James
 Beckford is a resident of Honduras. Gricelda E. James is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 776. Michael James Beckford, as the Personal Representative of the Estate of Gricelda
 E. James, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Gricelda E. James, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Michael James Beckford is a resident
 of Honduras. Gricelda E. James is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 777. Madlene Brown, individually, as surviving sibling of Gricelda E. James, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Madlene Brown is a
 resident of Florida. Gricelda E. James is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 778. Jacobo Castro, individually, as surviving child of Gricelda E. James, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jacobo Castro is a resident of
 Massachusetts. Gricelda E. James is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 779. Darril Garo, individually, as surviving sibling of Gricelda E. James, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Darril Garo is a resident of
 Honduras. Gricelda E. James is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                             481
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 483 of 962




 780. Obed Garo, individually, as surviving sibling of Gricelda E. James, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Obed Garo is a resident of
 Honduras. Gricelda E. James is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 781. Jairo Castro, individually, as surviving child of Gricelda E. James, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jairo Castro is a resident of
 Massachusetts. Gricelda E. James is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 782. Michael Zinkofsky, individually, as surviving spouse of Maxima Jean-Pierre, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Zinkofsky
 is a resident of New York. Maxima Jean-Pierre is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 783. Michael Zinkofsky, as the Personal Representative of the Estate of Maxima Jean-
 Pierre, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Maxima Jean-Pierre, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Michael Zinkofsky is a resident of
 New York. Maxima Jean-Pierre is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 784. Natalie Jeffries, individually, as surviving sibling of Alva Cynthia Jeffries-
 Sanchez, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Natalie
 Jeffries is a resident of Georgia. Alva Cynthia Jeffries-Sanchez is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 785. Ryan Rogers, individually, as surviving child of Alva Cynthia Jeffries-Sanchez, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Ryan Rogers is a
 resident of New York. Alva Cynthia Jeffries-Sanchez is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 786. Ryan Rogers, as the Personal Representative of the Estate of Alva Cynthia
 Jeffries-Sanchez, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Alva Cynthia Jeffries-Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ryan Rogers is a
 resident of New York. Alva Cynthia Jeffries-Sanchez is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-

                                             482
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 484 of 962




 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 787. John Doe 29, being intended to designate the Personal Representative of the
 Estate of John C. Jenkins, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of John C. Jenkins, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. John Doe 29 is a resident of Kentucky. John C. Jenkins is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 788. John Doe 30 as Personal Representative of the Estate of Florence Detherage,
 deceased, the late parent of John C. Jenkins, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. John C. Jenkins is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 789. Jeffrey Jenkins, individually, as surviving sibling of John C. Jenkins, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jeffrey Jenkins is a resident
 of Kentucky. John C. Jenkins is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 790. Alexander Jimenez, individually, as surviving sibling of Eliezer Jimenez, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexander Jimenez
 is a resident of North Carolina. Eliezer Jimenez, Jr., is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 791. John Doe 123, as Personal Representative of the Estate of Eliezer S. Jimenez Sr.,
 deceased, the late parent of Eliezer Jimenez, Jr., is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Eliezer Jimenez, Jr., is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 792. Elizabeth Jimenez, individually, as surviving sibling of Eliezer Jimenez, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Jimenez is
 a resident of Massachusetts. Eliezer Jimenez, Jr., is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.


                                               483
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 485 of 962




 793. Erick Jimenez, individually, as surviving sibling of Eliezer Jimenez, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Erick Jimenez is a
 resident of North Carolina. Eliezer Jimenez, Jr., is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 794. Genesis Belinda Jimenez, individually, as surviving child of Eliezer Jimenez, Jr.,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Genesis Belinda
 Jimenez is a resident of Texas. Eliezer Jimenez, Jr., is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 795. Jonathan Jimenez, individually, as surviving child of Eliezer Jimenez, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jonathan Jimenez is
 a resident of Texas. Eliezer Jimenez, Jr., is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 796. Melissa Jimenez, individually, as surviving child of Eliezer Jimenez, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Melissa Jimenez is a
 resident of Florida. Eliezer Jimenez, Jr., is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 797. Rosa Jimenez, individually, as surviving spouse of Eliezer Jimenez, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rosa Jimenez is a
 resident of Texas. Eliezer Jimenez, Jr., is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 798. Rosa Jimenez, as the Personal Representative of the Estate of Eliezer Jimenez, Jr.,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Eliezer Jimenez, Jr., is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Rosa Jimenez is a resident of Texas. Eliezer
 Jimenez, Jr. is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 799. Anthony Salas, individually, as surviving child of Eliezer Jimenez, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Salas is a
 resident of Tennessee. Eliezer Jimenez, Jr., is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             484
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 486 of 962




 800. Zamani Davis, individually, as surviving sibling of Charles G. John, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Zamani Davis is a resident of
 Georgia. Charles G. John is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 801. John Doe 32, being intended to designate the Personal Representative of the
 Estate of Charles G. John, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Charles G. John, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Charles G. John is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 802. Cleveland B. John, individually, as surviving sibling of Charles G. John, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cleveland B. John is
 a resident of New York. Charles G. John is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 803. Orwyn John, individually, as surviving sibling of Charles G. John, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Orwyn John is a resident of
 New York. Charles G. John is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 804. Veronica John, individually, as surviving parent of Charles G. John, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Veronica John is a resident of
 Georgia. Charles G. John is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 805. Royston Roach, individually, as surviving sibling of Charles G. John, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Royston Roach is a resident
 of Georgia. Charles G. John is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 806. Charlene Cumberbatch, individually, as surviving sibling of Charles G. John, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charlene
 Cumberbatch is a resident of New York. Charles G. John is one of the Decedents

                                            485
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 487 of 962




 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 807. Gary Jones, individually, as surviving sibling of Brian L. Jones, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gary Jones is a resident of
 Texas. Brian L. Jones is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 808. Leander Jones, individually, as surviving parent of Brian L. Jones, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Leander Jones is a resident of
 New York. Brian L. Jones is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 809. Leander Jones, as the Personal Representative of the Estate of Brian L. Jones,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Brian L. Jones, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Leander Jones is a resident of New York. Brian L.
 Jones is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 810. Patricia Jones, individually, as surviving parent of Brian L. Jones, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Jones is a resident of
 New York. Brian L. Jones is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 811. Teri Marshall, individually, as surviving sibling of Brian L. Jones, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Teri Marshall is a resident of
 Maryland. Brian L. Jones is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 812. June Jurgens a/k/a June Drescher, individually, as surviving child of Paul W.
 Jurgens, is a Plaintiff seeking justice for the tragic events of September 11, 2001. June
 Jurgens a/k/a June Drescher is a resident of New York. Paul W. Jurgens is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 813. Lindsay Jurgens, individually, as surviving child of Paul W. Jurgens, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lindsay Jurgens is a resident
 of New York. Paul W. Jurgens is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

                                             486
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 488 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 814. Maria Jurgens, individually, as surviving spouse of Paul W. Jurgens, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maria Jurgens is a resident of
 New York. Paul W. Jurgens is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 815. Maria Jurgens, as the Personal Representative of the Estate of Paul W. Jurgens,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Paul W. Jurgens, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Maria Jurgens is a resident of New York. Paul W.
 Jurgens is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 816. Paul Jurgens, individually, as surviving child of Paul W. Jurgens, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Paul Jurgens is a resident of
 New York. Paul W. Jurgens is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 817. Bakhtiyar Kamardinov, individually, as surviving sibling of Gavkharoy
 Kamardinova, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Bakhtiyar Kamardinov is a resident of Virginia. Gavkharoy Kamardinova is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 818. Farida Kamardinova, individually, as surviving parent of Gavkharoy
 Kamardinova, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Farida Kamardinova is a resident of Virginia. Gavkharoy Kamardinova is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 819. Fotima Kamardinova, individually, as surviving sibling of Gavkharoy
 Kamardinova, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Fotima Kamardinova is a resident of Virginia. Gavkharoy Kamardinova is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 820. Mukhamet Kamardinov, individually, as surviving parent of Gavkharoy
 Kamardinova, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Mukhamet Kamardinov is a resident of Virginia. Gavkharoy Kamardinova is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

                                             487
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 489 of 962




 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 821. Zahro Kamardinova a/k/a Zakhro Kamardinova , individually, as surviving
 sibling of Gavkharoy Kamardinova, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Zahro Kamardinova a/k/a Zakhro Kamardinova is a resident of
 Virginia. Gavkharoy Kamardinova is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 822. Zahro Kamardinova a/k/a Zakhro Kamardinova , as the Personal Representative
 of the Estate of Gavkharoy Kamardinova, deceased, on behalf of the Estate, and on
 behalf of all survivors and all legally entitled beneficiaries and family members of
 Gavkharoy Kamardinova, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Zahro Kamardinova a/k/a Zakhro Kamardinova is a resident of Virginia.
 Gavkharoy Kamardinova is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 823. Zukhra Koragoz, individually, as surviving sibling of Gavkharoy Kamardinova, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Zukhra Koragoz is
 a resident of Virginia. Gavkharoy Kamardinova is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 824. Faye Kane, individually, as surviving parent of Jennifer L. Kane, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Faye Kane is a resident of
 Massachusetts. Jennifer L. Kane is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 825. George Kane, individually, as surviving parent of Jennifer L. Kane, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. George Kane is a resident of
 Massachusetts. Jennifer L. Kane is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 826. George Kane, as the Personal Representative of the Estate of Jennifer L. Kane,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Jennifer L. Kane, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. George Kane is a resident of Massachusetts.
 Jennifer L. Kane is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.


                                            488
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 490 of 962




 827. Timothy Kane, individually, as surviving sibling of Jennifer L. Kane, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Timothy Kane is a resident of
 Massachusetts. Jennifer L. Kane is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 828. Matthew Kane, individually, as surviving sibling of Jennifer L. Kane, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Matthew Kane is a resident
 of Massachussetts. Jennifer L. Kane is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 829. Craig Griffin, individually, as surviving spouse of Lisa Kearney-Griffin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Craig Griffin is a
 resident of New York. Lisa Kearney-Griffin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 830. Craig Griffin, as the Personal Representative of the Estate of Lisa Kearney-
 Griffin, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Lisa Kearney-Griffin, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Craig Griffin is a resident of New
 York. Lisa Kearney-Griffin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 831. Lorraine Griffin, individually, as surviving child of Lisa Kearney-Griffin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lorraine Griffin is a
 resident of New York. Lisa Kearney-Griffin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 832. Maurice Corbett Kearney, individually, as surviving sibling of Lisa Kearney-
 Griffin, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maurice
 Corbett Kearney is a resident of Delaware. Lisa Kearney-Griffin is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 833. McKinley Kearney, individually, as surviving parent of Lisa Kearney-Griffin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. McKinley Kearney
 is a resident of Florida. Lisa Kearney-Griffin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             489
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 491 of 962




 834. Brityne Sprauve, individually, as surviving child of Lisa Kearney-Griffin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brityne Sprauve is a
 resident of Florida. Lisa Kearney-Griffin is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 835. Christine Keating, individually, as surviving sibling of Paul Hanlon Keating, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christine Keating is
 a resident of New Jersey. Paul Hanlon Keating is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 836. Cornelius H. Keating, individually, as surviving sibling of Paul Hanlon Keating,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Cornelius H.
 Keating is a resident of New Jersey. Paul Hanlon Keating is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 837. Cornelius J. Keating, individually, as surviving parent of Paul Hanlon Keating, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Cornelius J.
 Keating is a resident of New Jersey. Paul Hanlon Keating is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 838. Cornelius J. Keating, as the Personal Representative of the Estate of Paul Hanlon
 Keating, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Paul Hanlon Keating, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Cornelius J. Keating is a resident of
 New Jersey. Paul Hanlon Keating is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 839. Jeanne Keating, individually, as surviving sibling of Paul Hanlon Keating, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jeanne Keating is a
 resident of New Jersey. Paul Hanlon Keating is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 840. Jeffrey Keating, individually, as surviving sibling of Paul Hanlon Keating, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jeffrey Keating is a
 resident of New Jersey. Paul Hanlon Keating is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             490
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 492 of 962




 841. Cornelius J. Keating as Personal Representative of the Estate of Muriel Keating,
 deceased, the late parent of Paul Hanlon Keating, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Cornelius J. Keating as Personal Representative of
 the Estate of Muriel Keating is a resident of New Jersey. Paul Hanlon Keating is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 842. Kathleen A. Matthews, individually, as surviving sibling of Paul Hanlon Keating,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen A.
 Matthews is a resident of New Jersey. Paul Hanlon Keating is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 843. Belinda Bennett a/k/a Belinda Carter, individually, as surviving child of Brenda
 Kegler, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Belinda
 Bennett a/k/a Belinda Carter is a resident of Maryland. Brenda Kegler is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 844. Andre Hunter, individually, as surviving sibling of Brenda Kegler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Andre Hunter is a resident of
 Maryland. Brenda Kegler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 845. Robert Lee Hunter, individually, as surviving sibling of Brenda Kegler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Lee Hunter is
 a resident of Maryland. Brenda Kegler is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 846. Simara Warren, individually, as surviving child of Brenda Kegler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Simara Warren is a resident
 of Maryland. Brenda Kegler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 847. Simara Warren, as the Personal Representative of the Estate of Brenda Kegler,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Brenda Kegler, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Simara Warren is a resident of Maryland. Brenda
 Kegler is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.

                                             491
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 493 of 962




 848. Bing Kegler, individually, as surviving spouse of Brenda Kegler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Bing Kegler is a resident of
 Florida. Brenda Kegler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 849. David Royal, individually, as surviving sibling of Brenda Kegler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Royal is a resident of
 the District of Columbia. Brenda Kegler is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 850. Anne K. Blauvelt, individually, as surviving spouse of Thomas M. Kelly, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anne K. Blauvelt is
 a resident of New Jersey. Thomas M. Kelly is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 851. Anne K. Blauvelt, as the Personal Representative of the Estate of Thomas M.
 Kelly, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Thomas M. Kelly, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Anne K. Blauvelt is a resident of New
 Jersey. Thomas M. Kelly is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 852. Kathleen Kelly, individually, as surviving spouse of Thomas W. Kelly, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Kelly is a
 resident of New York. Thomas W. Kelly is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 853. Kathleen Kelly, as the Personal Representative of the Estate of Thomas W. Kelly,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Thomas W. Kelly, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Kathleen Kelly is a resident of New York.
 Thomas W. Kelly is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 854. Thomas Kelly, individually, as surviving child of Thomas W. Kelly, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas Kelly is a resident of
 New York. Thomas W. Kelly is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                            492
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 494 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 855. Francis Kelly, individually, as surviving child of Thomas W. Kelly, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Francis Kelly is a resident of
 New York. Thomas W. Kelly is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 856. Allison Garger, individually, as surviving spouse of Thomas Kennedy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Allison Garger is a
 resident of New York. Thomas Kennedy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 857. Allison Garger, as the Personal Representative of the Estate of Thomas Kennedy,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Thomas Kennedy, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Allison Garger is a resident of New York.
 Thomas Kennedy is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 858. Brian Kennedy, individually, as surviving sibling of Thomas Kennedy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brian Kennedy is a
 resident of Virginia. Thomas Kennedy is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 859. Brian Kennedy as Personal Representative of the Estate of Eileen Kennedy,
 deceased, the late parent of Thomas Kennedy, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Brian Kennedy as Personal Representative of the Estate of
 Eileen Kennedy is a resident of Virginia. Thomas Kennedy is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 860. James Kennedy, individually, as surviving child of Thomas Kennedy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James Kennedy is a
 resident of New York. Thomas Kennedy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 861. Michael Kennedy, individually, as surviving child of Thomas Kennedy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Kennedy is
 a resident of New York. Thomas Kennedy is one of the Decedents murdered as a result of

                                            493
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 495 of 962




 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 862. Robert Kennedy, individually, as surviving sibling of Thomas Kennedy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Kennedy is a
 resident of New York. Thomas Kennedy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 863. Brian Kennedy as Personal Representative of the Estate of William Kennedy,
 deceased, the late parent of Thomas Kennedy, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Brian Kennedy as Personal Representative of the Estate of
 William Kennedy is a resident of Virginia. Thomas Kennedy is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 864. Elizabeth Khalif, individually, as surviving parent of Boris Khalif, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elizabeth Khalif is a resident
 of New York. Boris Khalif is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 865. Lev Khalif, individually, as surviving parent of Boris Khalif, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lev Khalif is a resident of New York.
 Boris Khalif is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 866. Dara Berliner, individually, as surviving sibling of Mary Jo Kimelman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dara Berliner is a
 resident of New York. Mary Jo Kimelman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 867. Michael G. Kimelman, individually, as surviving parent of Mary Jo Kimelman, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Michael G.
 Kimelman is a resident of New York. Mary Jo Kimelman is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 868. Michael G. Kimelman, as the co-Personal Representative of the Estate of Mary Jo
 Kimelman, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Mary Jo Kimelman, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Michael G. Kimelman is a resident of

                                             494
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 496 of 962




 New York. Mary Jo Kimelman is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 869. Michael P. Kimelman, individually, as surviving sibling of Mary Jo Kimelman, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Michael P.
 Kimelman is a resident of New York. Mary Jo Kimelman is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 870. Scott Kimelman, individually, as surviving sibling of Mary Jo Kimelman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Scott Kimelman is a
 resident of New York. Mary Jo Kimelman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 871. Terre Susan Wallach, individually, as surviving parent of Mary Jo Kimelman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Terre Susan Wallach
 is a resident of Florida. Mary Jo Kimelman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 872. Terre Susan Wallach, as the co-Personal Representative of the Estate of Mary Jo
 Kimelman, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Mary Jo Kimelman, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Terre Susan Wallach is a resident of
 Florida. Mary Jo Kimelman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 873. Kathryn D'Amico, individually, as surviving sibling of Karen Kincaid, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathryn D'Amico is
 a resident of Iowa. Karen Kincaid is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 874. John Doe 33, being intended to designate the Personal Representative of the
 Estate of Karen Kincaid, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Karen Kincaid, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Karen Kincaid is one of the Decedents murdered as a result of the

                                            495
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 497 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 875. Kristian G. Kincaid, individually, as surviving sibling of Karen Kincaid, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kristian G. Kincaid
 is a resident of Iowa. Karen Kincaid is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 876. Karyl Kincaid-Noel, individually, as surviving sibling of Karen Kincaid, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Karyl Kincaid-Noel
 is a resident of Iowa. Karen Kincaid is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 877. Kellie Work, individually, as surviving sibling of Amy R. King, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kellie Work is a resident of
 New York. Amy R. King is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 878. Susan M. King, individually, as surviving parent of Amy R. King, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Susan M. King is a resident
 of New York. Amy R. King is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 879. Raymond Murray, as Personal Representative of the Estate of Richard King,
 deceased, the late spouse of Lucille T. King, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Raymond Murray, as Personal Representative of the
 Estate of Richard King is a resident of North Carolina. Lucille T. King is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 880. Robert Murray, as the co-Personal Representative of the Estate of Lucille T. King,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Lucille T. King, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Robert Murray is a resident of New Jersey. Lucille
 T. King is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 881. Raymond Murray, as the co-Personal Representative of the Estate of Lucille T.
 King, deceased, on behalf of the Estate, and on behalf of all survivors and all legally

                                             496
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 498 of 962




 entitled beneficiaries and family members of Lucille T. King, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Raymond Murray is a resident of North
 Carolina. Lucille T. King is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 882. Karen Barrett, as the co-Personal Representative of the Estate of Lucille T. King,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Lucille T. King, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Karen Barrett is a resident of New Jersey. Lucille T.
 King is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 883. Hans A. Klein, individually, as surviving parent of Peter A. Klein, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Hans A. Klein is a resident of
 New York. Peter A. Klein is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 884. Dawn Kloepfer, as the Personal Representative of the Estate of Ronald Philip
 Kloepfer, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Ronald Philip Kloepfer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dawn Kloepfer is a resident
 of New York. Ronald Philip Kloepfer is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 885. Jill Graziano, individually, as surviving sibling of Ronald Philip Kloepfer, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jill Graziano is a
 resident of South Carolina. Ronald Philip Kloepfer is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 886. Christopher Kloepfer, individually, as surviving sibling of Ronald Philip
 Kloepfer, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Christopher Kloepfer is a resident of New York. Ronald Philip Kloepfer is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 887. Janet C. Kloepfer, individually, as surviving parent of Ronald Philip Kloepfer, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Janet C. Kloepfer is
 a resident of New York. Ronald Philip Kloepfer is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda


                                             497
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 499 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 888. Michael Kloepfer, individually, as surviving sibling of Ronald Philip Kloepfer, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Kloepfer
 is a resident of New Jersey. Ronald Philip Kloepfer is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 889. Robert Kloepfer Jr., individually, as surviving sibling of Ronald Philip Kloepfer,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Kloepfer
 Jr. is a resident of New York. Ronald Philip Kloepfer is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 890. Kim McKenna, individually, as surviving sibling of Ronald Philip Kloepfer, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kim McKenna is a
 resident of New York. Ronald Philip Kloepfer is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 891. John Koecheler, individually, as surviving child of Gary E. Koecheler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Koecheler is a
 resident of New York. Gary E. Koecheler is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 892. Mary Jo Koecheler, individually, as surviving sibling of Gary E. Koecheler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Jo Koecheler
 is a resident of Minnesota. Gary E. Koecheler is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 893. Maureen Koecheler, individually, as surviving spouse of Gary E. Koecheler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Koecheler
 is a resident of New York. Gary E. Koecheler is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 894. Maureen Koecheler, as the Personal Representative of the Estate of Gary E.
 Koecheler, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Gary E. Koecheler, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Maureen Koecheler is a resident of
 New York. Gary E. Koecheler is one of the Decedents murdered as a result of the

                                             498
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 500 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 895. Paul Koecheler, individually, as surviving child of Gary E. Koecheler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paul Koecheler is a
 resident of New York. Gary E. Koecheler is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 896. Judy Schneider, individually, as surviving sibling of Gary E. Koecheler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Judy Schneider is a
 resident of Minnesota. Gary E. Koecheler is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 897. Gene Koecheler, individually, as surviving sibling of Gary E. Koecheler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gene Koecheler is a
 resident of California. Gary E. Koecheler is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 898. Thomas Kuras, individually, as surviving sibling of Patricia A. Kuras, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas Kuras is a
 resident of New York. Patricia A. Kuras is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 899. Thomas Kuras, as the Personal Representative of the Estate of Patricia A. Kuras,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Patricia A. Kuras, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Thomas Kuras is a resident of New York.
 Patricia A. Kuras is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 900. Michael B. Kuras, individually, as surviving sibling of Patricia A. Kuras, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael B. Kuras is
 a resident of New York. Patricia A. Kuras is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 901. Thomas Kuras as Personal Representative of the Estate of Frances Kuras,
 deceased, the late parent of Patricia A. Kuras, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Thomas Kuras as Personal Representative of the Estate of

                                              499
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 501 of 962




 Frances Kuras is a resident of New York. Patricia A. Kuras is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 902. Morgan Kyte, individually, as surviving child of Angela R. Kyte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Morgan Kyte is a resident of
 New Jersey. Angela R. Kyte is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 903. Roger Kyte, individually, as surviving spouse of Angela R. Kyte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Roger Kyte is a resident of
 New Jersey. Angela R. Kyte is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 904. Roger Kyte, as the Personal Representative of the Estate of Angela R. Kyte,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Angela R. Kyte, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Roger Kyte is a resident of New Jersey. Angela R.
 Kyte is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 905. Jem A. Howard, individually, as surviving child of Alan LaFrance, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jem A. Howard is a resident
 of Connecticut. Alan LaFrance is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 906. Jody C. Howard, individually, as surviving child of Alan LaFrance, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jody C. Howard is a resident
 of New Jersey. Alan LaFrance is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 907. Andre LaFrance, individually, as surviving sibling of Alan LaFrance, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Andre LaFrance is a resident
 of New York. Alan LaFrance is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 908. Carolyn LaFrance, individually, as surviving sibling of Alan LaFrance, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carolyn LaFrance is

                                             500
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 502 of 962




 a resident of Georgia. Alan LaFrance is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 909. Steven LaFrance, individually, as surviving sibling of Alan LaFrance, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Steven LaFrance is a
 resident of California. Alan LaFrance is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 910. Annmarie Williams, individually, as surviving sibling of Alan LaFrance, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Annmarie Williams
 is a resident of Florida. Alan LaFrance is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 911. John Doe 35, being intended to designate, as the Personal Representative of the
 Estate of William D. Lake, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed), on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of William D. Lake, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. William D. Lake is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 912. Kyler Lake, individually, as surviving child of William D. Lake, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kyler Lake is a resident of
 Florida. William D. Lake is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 913. Jeanne Kavinski, individually, as surviving sibling of Carol A. LaPlante, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jeanne Kavinski is a
 resident of Maryland. Carol A. LaPlante is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 914. Jeanne Kavinski, as the Personal Representative of the Estate of Carol A.
 LaPlante, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Carol A. LaPlante, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jeanne Kavinski is a resident of
 Maryland. Carol A. LaPlante is one of the Decedents murdered as a result of the terrorist

                                             501
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 503 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 915. Marilyn Matthews, individually, as surviving sibling of Carol A. LaPlante, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marilyn Matthews is
 a resident of New Jersey. Carol A. LaPlante is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 916. Catherine Lauria, individually, as surviving sibling of Stephen J. Lauria, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine Lauria is a
 resident of Florida. Stephen J. Lauria is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 917. Catherine Lauria, as Personal Representatives of the Estate of Antoinette Lauria,
 deceased, the late parent of Stephen J. Lauria, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Catherine Lauria as Personal Representative of the Estate
 of Antoinette Lauria is a resident of Florida. Stephen J. Lauria is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 918. Catherine Lauria, as the Personal Representative of the Estate of Stephen J.
 Lauria, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Stephen J. Lauria, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Catherine Lauria is a resident of
 Florida. Stephen J. Lauria is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 919. Pamela Lawson Dixon, individually, as surviving child of Nathaniel Lawson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Pamela Lawson
 Dixon is a resident of Colorado. Nathaniel Lawson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 920. Pamela Lawson Dixon, as the Personal Representative of the Estate of Nathaniel
 Lawson, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Nathaniel Lawson, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Pamela Lawson Dixon is a resident of
 Colorado. Nathaniel Lawson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                              502
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 504 of 962




 921. Betty Moore-Gooding, individually, as surviving sibling of Nathaniel Lawson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Betty Moore-
 Gooding is a resident of North Carolina. Nathaniel Lawson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 922. Evelyn Robinson, individually, as surviving sibling of Nathaniel Lawson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Evelyn Robinson is
 a resident of Georgia. Nathaniel Lawson is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 923. Mary Ann Ledee, as the Personal Representative of the Estate of Kenneth Charles
 Ledee, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Kenneth Charles Ledee, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mary Ann Ledee is a resident
 of Florida. Kenneth Charles Ledee is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 924. Anna Ledee, individually, as surviving parent of Kenneth Charles Ledee, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anna Ledee is a
 resident of New York. Kenneth Charles Ledee is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 925. Olivia Ledee Lindsey, individually, as surviving child of Kenneth Charles Ledee,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Olivia Ledee
 Lindsey is a resident of Florida. Kenneth Charles Ledee is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 926. Alexica Leduc, individually, as surviving child of Alexis Leduc, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alexica Leduc is a resident of
 Pennsylvania. Alexis Leduc is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 927. Alexis John Leduc, individually, as surviving child of Alexis Leduc, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alexis John Leduc is a
 resident of New Jersey. Alexis Leduc is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                            503
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 505 of 962




 928. Elvis Leduc, individually, as surviving child of Alexis Leduc, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elvis Leduc is a resident of
 New York. Alexis Leduc is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 929. Jessica Leduc, individually, as surviving child of Alexis Leduc, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jessica Leduc is a resident of
 New Jersey. Alexis Leduc is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 930. Cindy Leduc-Sanchez, individually, as surviving child of Alexis Leduc, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cindy Leduc-
 Sanchez is a resident of New York. Alexis Leduc is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 931. Katherine Lenoir, individually, as surviving sibling of John R. Lenoir, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Katherine Lenoir is a
 resident of Tennessee. John R. Lenoir is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 932. Patricia Lenoir, individually, as surviving parent of John R. Lenoir, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Lenoir is a resident
 of Tennessee. John R. Lenoir is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 933. Patrick Lenoir, individually, as surviving sibling of John R. Lenoir, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patrick Lenoir is a resident of
 Tennessee. John R. Lenoir is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 934. Patrick Lenoir, as Personal Representative of the Estate of John A. Lenoir,
 deceased, the late parent of John R. Lenoir, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Patrick Lenoir, as Personal Representative of the Estate of
 John A. Lenoir, is a resident of Tennessee. John R. Lenoir is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.


                                             504
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 506 of 962




 935. Elaine Farrally-Plourde, individually, as surviving child of Charles A.
 Lesperance, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Elaine Farrally-Plourde is a resident of New York. Charles A. Lesperance is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 936. Elaine Farrally-Plourde, as the co-Personal Representative of the Estate of
 Charles A. Lesperance, deceased, on behalf of the Estate, and on behalf of all survivors
 and all legally entitled beneficiaries and family members of Charles A. Lesperance, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elaine Farrally-
 Plourde is a resident of New York. Charles A. Lesperance is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 937. Leslie K. Lesperance, individually, as surviving child of Charles A. Lesperance, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Leslie K.
 Lesperance is a resident of Florida. Charles A. Lesperance is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 938. Leslie K. Lesperance, as the co-Personal Representative of the Estate of Charles
 A. Lesperance, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Charles A. Lesperance, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Leslie K. Lesperance is a
 resident of Florida. Charles A. Lesperance is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 939. Nilaja A. Shealy-Loveless, individually, as surviving child of Charles A.
 Lesperance, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Nilaja A. Shealy-Loveless is a resident of New Jersey. Charles A. Lesperance is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 940. Audrey Levin, individually, as surviving parent of Alisha C. Levin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Audrey Levin is a resident of
 Pennsylvania. Alisha C. Levin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 941. Marvin Levin, individually, as surviving parent of Alisha C. Levin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marvin Levin is a resident of
 Pennsylvania. Alisha C. Levin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

                                             505
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 507 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 942. Mindy Gottenberg, individually, as surviving sibling of Alisha C. Levin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mindy Gottenberg is
 a resident of Pennsylvania. Alisha C. Levin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 943. Mindy Gottenberg, as the Personal Representative of the Estate of Alisha C.
 Levin, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Alisha C. Levin, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Mindy Gottenberg is a resident of
 Pennsylvania. Alisha C. Levin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 944. John E. Allen Jr. , individually, as surviving child of Samantha Lightbourn-Allen,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. John E. Allen Jr.
 is a resident of Maryland. Samantha Lightbourn-Allen is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 945. Rennea Butler, individually, as surviving sibling of Samantha Lightbourn-Allen,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Rennea Butler is
 a resident of Virginia. Samantha Lightbourn-Allen is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 946. Raymond Lightbourn, individually, as surviving sibling of Samantha Lightbourn-
 Allen, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Raymond
 Lightbourn is a resident of Maryland. Samantha Lightbourn-Allen is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 947. Rebecca Lightbourn, individually, as surviving parent of Samantha Lightbourn-
 Allen, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Rebecca
 Lightbourn is a resident of Maryland. Samantha Lightbourn-Allen is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 948. Rebecca Lightbourn, as the Personal Representative of the Estate of Samantha
 Lightbourn-Allen, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Samantha Lightbourn-Allen, is a

                                             506
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 508 of 962




 Plaintiff seeking justice for the tragic events of September 11, 2001. Rebecca Lightbourn
 is a resident of Maryland. Samantha Lightbourn-Allen is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 949. Rebecca Lightbourn as Personal Representative of the Estate of Raymond
 Lightbourn, Sr., deceased, the late parent of Samantha Lightbourn-Allen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rebecca Lightbourn as
 Personal Representative of the Estate of Raymond Lightbourn, Sr. is a resident of
 Maryland. Samantha Lightbourn-Allen is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 950. Olga Colon, individually, as surviving sibling of Carlos R. Lillo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Olga Colon is a resident of
 Florida. Carlos R. Lillo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 951. Iliana E. Flores, individually, as surviving sibling of Carlos R. Lillo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Iliana E. Flores is a resident
 of New York. Carlos R. Lillo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 952. Julio C. Lillo, individually, as surviving sibling of Carlos R. Lillo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Julio C. Lillo is a resident of
 New Jersey. Carlos R. Lillo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 953. Alexander Lopez, individually, as surviving sibling of Carlos R. Lillo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexander Lopez is
 a resident of Puerto Rico. Carlos R. Lillo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 954. Ilia E. Rodriguez, individually, as surviving parent of Carlos R. Lillo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ilia E. Rodriguez is a resident
 of Puerto Rico. Carlos R. Lillo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.


                                             507
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 509 of 962




 955. Ilia E. Rodriguez as Personal Representative of the Estate of Julio Cesar Lillo
 Torres, deceased, the late parent of Carlos R. Lillo, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Ilia E. Rodriguez as Personal Representative of the
 Estate of Julio Cesar Lillo Torres is a resident of Puerto Rico. Carlos R. Lillo is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 956. Nahid Mashayekhi Lin, individually, as surviving parent of Darya Lin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nahid Mashayekhi
 Lin is a resident of Florida. Darya Lin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 957. Berdie Hicks, individually, as surviving parent of Nickie Lindo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Berdie Hicks is a resident of
 Georgia. Nickie Lindo is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 958. Walter Hicks, individually, as surviving sibling of Nickie Lindo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Walter Hicks is a resident of
 Georgia. Nickie Lindo is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 959. Vincent Linnane, individually, as surviving sibling of Robert T. Linnane, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Vincent Linnane is a
 resident of New York. Robert T. Linnane is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 960. Vincent Linnane, as the Personal Representative of the Estate of Robert T.
 Linnane, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Robert T. Linnane, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Vincent Linnane is a resident of New
 York. Robert T. Linnane is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 961. Matthew J. Liz-Ramirez, as the Personal Representative of the Estate of Nancy
 Liz, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Nancy Liz, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Matthew J. Liz-Ramirez is a resident of Florida.
 Nancy Liz is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.

                                             508
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 510 of 962




 962. Jose Liz a/k/a Domingo Liz, individually, as surviving sibling of Nancy Liz, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jose Liz a/k/a
 Domingo Liz is a resident of Texas. Nancy Liz is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 963. Jose Liz a/k/a Domingo Liz as Personal Representative of the Estate of Jose Liz,
 Sr., deceased, the late parent of Nancy Liz, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Jose Liz a/k/a Domingo Liz as Personal Representative of
 the Estate of Jose Liz, Sr. is a resident of New York. Nancy Liz is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 964. Matthew J. Liz-Ramirez, individually, as surviving child of Nancy Liz, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew J. Liz-
 Ramirez is a resident of Florida. Nancy Liz is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 965. Elisa P. Malani, as the Personal Representative of the Estate of Michael Lomax,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Michael Lomax, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Elisa P. Malani is a resident of Florida. Michael
 Lomax is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 966. Elisa P. Malani as Personal Representative of the Estate of Erica Partosoedarso,
 deceased, the late spouse of Michael Lomax, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Elisa P. Malani as Personal Representative of the Estate of
 Erica Partosoedarso is a resident of Florida. Michael Lomax is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 967. Alexandra Lopes, individually, as surviving child of Salvatore Lopes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alexandra Lopes is a resident
 of New York. Salvatore Lopes is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 968. Bernard Lopes, individually, as surviving sibling of Salvatore Lopes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Bernard Lopes is a resident
 of Florida. Salvatore Lopes is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                            509
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 511 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 969. Lorraine Lopes, individually, as surviving spouse of Salvatore Lopes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lorraine Lopes is a resident
 of New York. Salvatore Lopes is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 970. Lorraine Lopes, as the Personal Representative of the Estate of Salvatore Lopes,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Salvatore Lopes, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Lorraine Lopes is a resident of New York. Salvatore
 Lopes is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 971. Nicole Lopes, individually, as surviving child of Salvatore Lopes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicole Lopes is a resident of
 New York. Salvatore Lopes is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 972. Antoinette Solowsky, individually, as surviving sibling of Salvatore Lopes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Antoinette Solowsky
 is a resident of New York. Salvatore Lopes is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 973. Michael Lopez Feliciano, individually, as surviving child of George Lopez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Lopez
 Feliciano is a resident of Florida. George Lopez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 974. Sophia W. M. Feliciano, individually, as surviving spouse of George Lopez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sophia W. M.
 Feliciano is a resident of Florida. George Lopez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 975. Sophia W. M. Feliciano, as the Personal Representative of the Estate of George
 Lopez, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of George Lopez, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Sophia W. M. Feliciano is a resident of

                                            510
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 512 of 962




 Florida. George Lopez is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 976. Carolyn DeRosier, individually, as surviving sibling of James T. Lynch, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carolyn DeRosier is
 a resident of Connecticut. James T. Lynch is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 977. Judith M. Hesse, individually, as surviving sibling of James T. Lynch, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Judith M. Hesse is a
 resident of Connecticut. James T. Lynch is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 978. Judith M. Hesse as Personal Representative of the Estate of Michael B. Lynch ,
 deceased, the late sibling of James T. Lynch, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Judith M. Hesse as Personal Representative of the Estate
 of Michael B. Lynch is a resident of Connecticut. James T. Lynch is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 979. Brenda Lynch, individually, as surviving spouse of James T. Lynch, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brenda Lynch is a resident of
 Arkansas. James T. Lynch is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 980. Brenda Lynch, as the Personal Representative of the Estate of James T. Lynch,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of James T. Lynch, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Brenda Lynch is a resident of Arkansas. James T.
 Lynch is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 981. Paul Thomas Lynch, individually, as surviving child of James T. Lynch, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paul Thomas Lynch
 is a resident of Florida. James T. Lynch is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 982. Maureen MacDonald, individually, as surviving sibling of James T. Lynch, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen

                                             511
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 513 of 962




 MacDonald is a resident of Connecticut. James T. Lynch is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 983. Kathleen E. Zetscher, individually, as surviving sibling of James T. Lynch, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen E. Zetscher
 is a resident of Maryland. James T. Lynch is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 984. Rodney Bush, individually, as surviving sibling of Nehamon Lyons, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rodney Bush is a resident of
 Texas. Nehamon Lyons is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 985. Corey Hawkins, individually, as surviving sibling of Nehamon Lyons, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Corey Hawkins is a
 resident of Arizona. Nehamon Lyons is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 986. Christian Lyons, individually, as surviving sibling of Nehamon Lyons, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christian Lyons is a
 resident of Arizona. Nehamon Lyons is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 987. John Doe 108, as Personal Representative of the Estate of Jewel Lyons, deceased,
 the late parent of Nehamon Lyons, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Nehamon Lyons is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 988. John Doe 102 as Personal Representative of the Estate of Nehamon Lyons,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Nehamon Lyons, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Nehamon Lyons is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 989. Marquis Lyons, individually, as surviving sibling of Nehamon Lyons, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marquis Lyons is a

                                             512
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 514 of 962




 resident of Arkansas. Nehamon Lyons is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 990. Andrew Magazine, individually, as surviving child of Jay R. Magazine, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew Magazine is
 a resident of New York. Jay R. Magazine is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 991. Michele Magazine, individually, as surviving sibling of Jay R. Magazine, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michele Magazine is
 a resident of New York. Jay R. Magazine is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 992. Susan Lori Magazine, individually, as surviving spouse of Jay R. Magazine, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Susan Lori
 Magazine is a resident of Massachusetts. Jay R. Magazine is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 993. Susan Lori Magazine, as the Personal Representative of the Estate of Jay R.
 Magazine, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Jay R. Magazine, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Susan Lori Magazine is a resident of
 Massachusetts. Jay R. Magazine is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 994. Janet Wexler Magee, individually, as surviving spouse of Charles W. Magee, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Janet Wexler Magee
 is a resident of New York. Charles W. Magee is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 995. Janet Wexler Magee, as the Personal Representative of the Estate of Charles W.
 Magee, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Charles W. Magee, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Janet Wexler Magee is a resident of
 New York. Charles W. Magee is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                             513
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 515 of 962




 996. Ali Mohamed Malahi, individually, as surviving parent of Abdu Ali Malahi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ali Mohamed
 Malahi is a resident of New York. Abdu Ali Malahi is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 997. Ali Mohamed Malahi, as the Personal Representative of the Estate of Abdu Ali
 Malahi, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Abdu Ali Malahi, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Ali Mohamed Malahi is a resident of
 New York. Abdu Ali Malahi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 998. Malek Malahi, individually, as surviving child of Abdu Ali Malahi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Malek Malahi is a resident of
 Michigan. Abdu Ali Malahi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 999. Nabeela Malahi, individually, as surviving spouse of Abdu Ali Malahi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nabeela Malahi is a
 resident of Michigan . Abdu Ali Malahi is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1000. Fares Malahi, individually, as surviving child of Abdu Ali Malahi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Fares Malahi is a resident of
 Michigan. Abdu Ali Malahi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1001. Miriam R. Carrasquillo, individually, as surviving sibling of Debora I.
 Maldonado, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Miriam R. Carrasquillo is a resident of New York. Debora I. Maldonado is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1002. Elvia Diaz, individually, as surviving parent of Debora I. Maldonado, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elvia Diaz is a resident of
 New York. Debora I. Maldonado is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                            514
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 516 of 962




 1003. Leslie Edwards, individually, as surviving sibling of Debora I. Maldonado, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Leslie Edwards is a
 resident of New York. Debora I. Maldonado is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1004. Jarid Maldonado, individually, as surviving child of Myrna Maldonado-Agosto, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Jarid Maldonado is
 a resident of Washington. Myrna Maldonado-Agosto is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1005. Jordan Maldonado, individually, as surviving child of Myrna Maldonado-Agosto,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jordan
 Maldonado is a resident of Florida. Myrna Maldonado-Agosto is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1006. Frances Mercado, individually, as surviving sibling of Myrna Maldonado-Agosto,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Frances
 Mercado is a resident of New York. Myrna Maldonado-Agosto is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1007. April Fitzgerald as Personal Representative of the Estate of Merlyn Maloy,
 deceased, the late parent of Gene Maloy, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. April Fitzgerald as Personal Representative of the Estate of
 Merlyn Maloy is a resident of Virginia. Gene Maloy is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1008. Gene Maloy, individually, as surviving parent of Gene Maloy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gene Maloy is a resident of
 Virginia. Gene Maloy is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1009. April Fitzgerald, individually, as surviving sibling of Gene Maloy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. April Fitzgerald is a resident
 of Virginia. Gene Maloy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             515
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 517 of 962




 1010. Margaret Randazzo-Maloy, as the Personal Representative of the Estate of Gene
 Maloy, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Gene Maloy, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Margaret Randazzo-Maloy is a resident of
 California. Gene Maloy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1011. Anthony Mancini, individually, as surviving sibling of Francisco M. Mancini
 a/k/a Frank Mancini, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Anthony Mancini is a resident of New York. Francisco M. Mancini a/k/a Frank
 Mancini is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1012. Anastasia Mancini a/k/a Anastasia Zouvelos, individually, as surviving spouse of
 Francisco M. Mancini a/k/a Frank Mancini, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anastasia Mancini a/k/a Anastasia Zouvelos is a resident
 of New York. Francisco M. Mancini a/k/a Frank Mancini is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1013. Anastasia Mancini a/k/a Anastasia Zouvelos, as the Personal Representative of
 the Estate of Francisco Mancini (a/k/a Frank Mancini), deceased, on behalf of the Estate,
 and on behalf of all survivors and all legally entitled beneficiaries and family members of
 Francisco M. Mancini a/k/a Frank Mancini, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anastasia Mancini a/k/a Anastasia Zouvelos is a resident
 of New York. Francisco M. Mancini a/k/a Frank Mancini is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1014. Sophia Mancini, individually, as surviving child of Francisco M. Mancini a/k/a
 Frank Mancini, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Sophia Mancini is a resident of New York. Francisco M. Mancini a/k/a Frank Mancini is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1015. Anthony Mancini as the Personal Representative of the Estate of Lea Sola (a/k/a
 Lea Mancini), deceased, the late parent of Francisco M. Mancini a/k/a Frank Mancini, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Mancini
 as the Personal Representative of the Estate of Lea Sola (a/k/a Lea Mancini) is a resident
 of New York. Francisco M. Mancini a/k/a Frank Mancini is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.

                                            516
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 518 of 962




 1016. Laura aka Laura E. Mardovich Balemian, individually, as surviving spouse of
 Edward J. Mardovich, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Laura aka Laura E. Mardovich Balemian is a resident of New York. Edward J.
 Mardovich is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1017. Victoria Catanese, individually, as surviving child of Edward J. Mardovich, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Victoria Catanese is
 a resident of New York. Edward J. Mardovich is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1018. Edward J. Mardovich III, individually, as surviving child of Edward J.
 Mardovich, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Edward J. Mardovich III is a resident of New York. Edward J. Mardovich is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1019. Joseph Mardovich, individually, as surviving child of Edward J. Mardovich, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Mardovich is
 a resident of California. Edward J. Mardovich is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1020. Leigh Massi, individually, as surviving child of Edward J. Mardovich, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Leigh Massi is a
 resident of New York. Edward J. Mardovich is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1021. Laura Mardovich a/k/a Laura E. Balemian, as the Personal Representative of the
 Estate of Edward J. Mardovich, deceased, on behalf of the Estate, and on behalf of all
 survivors and all legally entitled beneficiaries and family members of Edward J.
 Mardovich, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Laura Mardovich a/k/a Laura E. Balemian is a resident of New York. Edward J.
 Mardovich is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1022. Lauren Peters, as Personal Representative of the Estate of Louis N. Mariani,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Louis N. Mariani, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Lauren Peters is a resident of New York. Louis
 N. Mariani is one of the Decedents murdered as a result of the terrorist attacks of


                                             517
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 519 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1023. Christine Mariani, individually, as surviving sibling of Louis N. Mariani, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christine Mariani is
 a resident of Massachusetts. Louis N. Mariani is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1024. Christina Martinez, individually, as surviving child of Betsy Martinez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christina Martinez is
 a resident of Florida. Betsy Martinez is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1025. Gabriel Martinez, as the Co-Personal Representative of the Estate of Robert G
 Martinez, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Robert G. Martinez, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Gabriel Martinez is a resident of New
 York. Robert G. Martinez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1026. Gabriel Martinez, individually, as surviving parent of Robert G. Martinez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gabriel Martinez is a
 resident of New York. Robert G. Martinez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1027. Marie Martinez, individually, as surviving parent of Robert G. Martinez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marie Martinez is a
 resident of New York. Robert G. Martinez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1028. Francis Firth, individually, as surviving sibling of Robert G. Martinez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Francis Firth is a
 resident of New Jersey. Robert G. Martinez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1029. Arnold F. Mascali Jr., individually, as surviving sibling of Joseph A. Mascali, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Arnold F. Mascali
 Jr. is a resident of Florida. Joseph A. Mascali is one of the Decedents murdered as a result

                                             518
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 520 of 962




 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1030. Catherine Mascali, individually, as surviving parent of Joseph A. Mascali, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine Mascali is
 a resident of New York. Joseph A. Mascali is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1031. John Mascali, individually, as surviving sibling of Joseph A. Mascali, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Mascali is a
 resident of New York. Joseph A. Mascali is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1032. Catherine Mascali as Personal Representative of the Estate of Arnold Mascali, Sr.
 , deceased, the late parent of Joseph A. Mascali, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Catherine Mascali as Personal Representative of the Estate
 of Arnold Mascali, Sr. is a resident of New York. Joseph A. Mascali is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1033. Donna Mascali Russo, individually, as surviving sibling of Joseph A. Mascali, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Donna Mascali
 Russo is a resident of New York. Joseph A. Mascali is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1034. Cathyanne Mascali Sprenger, individually, as surviving sibling of Joseph A.
 Mascali, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Cathyanne Mascali Sprenger is a resident of New York. Joseph A. Mascali is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1035. Sherman Acker, individually, as surviving spouse of Ada L. Mason, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sherman Acker is a resident
 of Virginia. Ada L. Mason is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1036. Annie Harris, individually, as surviving sibling of Ada L. Mason, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Annie Harris is a resident of
 Connecticut. Ada L. Mason is one of the Decedents murdered as a result of the terrorist

                                              519
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 521 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1037. JoAnn Wilson-Johnson, individually, as surviving sibling of Ada L. Mason, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. JoAnn Wilson-
 Johnson is a resident of Mississippi. Ada L. Mason is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1038. Nelson Johnson, as the Personal Representative of the Estate of Ada L. Mason,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Ada L. Mason, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Nelson Johnson is a resident of Tennessee. Ada L.
 Mason is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1039. JoAnn Wilson-Johnson as Personal Representative of the Estate of Searetha E.
 Wilson, deceased, the late parent of Ada L. Mason, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. JoAnn Wilson-Johnson as Personal Representative
 of the Estate of Searetha E. Wilson is a resident of Mississippi. Ada L. Mason is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1040. Shaun Mason, individually, as surviving child of Ada L. Mason, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shaun Mason is a resident of
 Maryland. Ada L. Mason is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1041. Jimmie L. Willson, individually, as surviving sibling of Ada L. Mason, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jimmie L. Willson is
 a resident of Connecticut. Ada L. Mason is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1042. Shannon Mason, individually, as surviving child of Ada L. Mason, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shannon Mason is a resident
 of Virginia. Ada L. Mason is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1043. Kathleen Mathesen, as the Personal Representative of the Estate of William A.
 Mathesen, deceased, on behalf of the Estate, and on behalf of all survivors and all legally

                                             520
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 522 of 962




 entitled beneficiaries and family members of William A. Mathesen, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Kathleen Mathesen is a resident of
 New Jersey. William A. Mathesen is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1044. Deborah Moloney, individually, as surviving sibling of William A. Mathesen, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Deborah Moloney is
 a resident of New York. William A. Mathesen is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1045. Joanne Mathesen, as Personal Representative of the Estate of Stephen Mathesen,
 deceased, the late sibling of William A. Mathesen, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Joanne Mathesen, as Personal Representative of the
 Estate of Stephen Mathesen is a resident of New York. William A. Mathesen is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1046. Karen Schubert, individually, as surviving sibling of William A. Mathesen, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Karen Schubert is a
 resident of Florida. William A. Mathesen is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1047. Patricia Sarrantonio, individually, as surviving sibling of William A. Mathesen, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia
 Sarrantonio is a resident of New York. William A. Mathesen is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1048. Vivian Mattic, individually, as surviving sibling of Margaret E. Mattic, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Vivian Mattic is a
 resident of Michigan. Margaret E. Mattic is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1049. Jean Neal a/k/a Elvin Jean Neal, individually, as surviving sibling of Margaret E.
 Mattic, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jean
 Neal a/k/a Elvin Jean Neal is a resident of Michigan. Margaret E. Mattic is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.


                                            521
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 523 of 962




 1050. Jean Neal a/k/a Elvin Jean Neal, as the Personal Representative of the Estate of
 Margaret E. Mattic, deceased, on behalf of the Estate, and on behalf of all survivors and
 all legally entitled beneficiaries and family members of Margaret E. Mattic, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jean Neal a/k/a Elvin Jean
 Neal is a resident of Michigan. Margaret E. Mattic is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1051. Jean Neal a/k/a Elvin Jean Neal, as Personal Representative of the Estate of Katie
 I. Mattic, deceased, the late parent of Margaret E. Mattic, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Jean Neal a/k/a Elvin Jean Neal, as Personal
 Representative of the Estate of Katie I. Mattic is a resident of Michigan. Margaret E.
 Mattic is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1052. Frances Douglas, individually, as surviving sibling of Margaret E. Mattic, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Frances Douglas is a
 resident of Michigan. Margaret E. Mattic is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1053. William Eugene Clark a/k/a Eugene W. Clark, as the Personal Representative of
 the Estate of Dean E. Mattson, deceased, on behalf of the Estate, and on behalf of all
 survivors and all legally entitled beneficiaries and family members of Dean E. Mattson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. William Eugene
 Clark a/k/a Eugene W. Clark is a resident of California. Dean E. Mattson is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1054. Dale Mattson, individually, as surviving sibling of Dean E. Mattson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dale Mattson is a resident of
 Wisconsin. Dean E. Mattson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1055. Dale Mattson as Personal Representative of the Estate of Bernice Mattson,
 deceased, the late parent of Dean E. Mattson, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Dale Mattson as Personal Representative of the Estate of
 Bernice Mattson is a resident of Wisconsin. Dean E. Mattson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1056. Mary Mattson as Personal Representative of the Estate of Glenn Mattson,
 deceased, the late sibling of Dean E. Mattson, is a Plaintiff seeking justice for the tragic

                                              522
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 524 of 962




 events of September 11, 2001. Mary Mattson as Personal Representative of the Estate of
 Glenn Mattson is a resident of Wisconsin. Dean E. Mattson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1057. John Doe 119 as the Personal Representative of the Estate of Dwain Mattson,
 deceased, the late sibling of Dean E. Mattson, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Dean E. Mattson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1058. Donald Mauro, individually, as surviving spouse of Nancy Mauro, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Donald Mauro is a resident of
 New York. Nancy Mauro is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1059. Donald Mauro, as the Personal Representative of the Estate of Nancy Mauro,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Nancy Mauro, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Donald Mauro is a resident of New York. Nancy
 Mauro is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1060. Anne McCloskey, individually, as surviving parent of Katie M. McCloskey, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anne McCloskey is
 a resident of Indiana. Katie M. McCloskey is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1061. Anne McCloskey, as the Personal Representative of the Estate of Katie M.
 McCloskey, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Katie M. McCloskey, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Anne McCloskey is a
 resident of Indiana. Katie M. McCloskey is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1062. Noah R. McCloskey, individually, as surviving sibling of Katie M. McCloskey, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Noah R.
 McCloskey is a resident of Indiana. Katie M. McCloskey is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.

                                             523
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 525 of 962




 1063. Linda D. May, individually, as surviving sibling of Thomas McHale, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Linda D. May is a resident of
 North Carolina. Thomas McHale is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1064. Elizabeth ("Beth") McCarthy (nee McHale), individually, as surviving sibling of
 Thomas McHale, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Elizabeth ("Beth") McCarthy (nee McHale) is a resident of New York. Thomas
 McHale is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1065. Elizabeth ("Beth") McCarthy (nee McHale) and Joseph McHale as co-Personal
 Representatives of the Estate of John F. McHale, deceased, the late parent of Thomas
 McHale, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Elizabeth ("Beth") McCarthy (nee McHale) and Joseph McHale are residents of New
 York. Thomas McHale is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1066. Joseph M. McHale, individually, as surviving sibling of Thomas McHale, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph M. McHale
 is a resident of New York. Thomas McHale is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1067. Kevin J. McHale, individually, as surviving sibling of Thomas McHale, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kevin J. McHale is a
 resident of North Carolina. Thomas McHale is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1068. John F. McHale Jr. a/k/a Jack McHale, individually, as surviving sibling of
 Thomas McHale, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. John F. McHale Jr. a/k/a Jack McHale is a resident of North Carolina. Thomas
 McHale is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1069. John Doe 40, being intended to designate the Personal Representative of the
 Estate of Robert G. McIlvaine, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries

                                              524
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 526 of 962




 and family members of Robert G. McIlvaine, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Robert G. McIlvaine is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1070. Jeffrey A. McIlvaine, individually, as surviving sibling of Robert G. McIlvaine, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Jeffrey A.
 McIlvaine is a resident of New Jersey. Robert G. McIlvaine is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1071. Julie E. McMahon, individually, as surviving spouse of Robert D. McMahon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Julie E. McMahon is
 a resident of Connecticut. Robert D. McMahon is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1072. Julie E. McMahon, as the Personal Representative of the Estate of Robert D.
 McMahon, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Robert D. McMahon, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Julie E. McMahon is a resident of
 Connecticut. Robert D. McMahon is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1073. Matthew McMahon, individually, as surviving child of Robert D. McMahon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew McMahon
 is a resident of Connecticut. Robert D. McMahon is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1074. Peter McMahon, individually, as surviving sibling of Robert D. McMahon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter McMahon is a
 resident of New York. Robert D. McMahon is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1075. Nancy McMahon as Personal Representative of the Estate of Robert Martin
 McMahon, deceased, the late parent of Robert D. McMahon, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Nancy McMahon as Personal Representative
 of the Estate of Robert Martin McMahon is a resident of New York. Robert D. McMahon
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.

                                            525
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 527 of 962




 1076. Patrick McMahon, individually, as surviving child of Robert D. McMahon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patrick McMahon is
 a resident of Connecticut. Robert D. McMahon is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1077. Andrew McMahon, individually, as surviving sibling of Robert D. McMahon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew McMahon
 is a resident of New York. Robert D. McMahon is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1078. Damon McMahon, individually, as surviving sibling of Robert D. McMahon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Damon McMahon is
 a resident of New York. Robert D. McMahon is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1079. Michael McMahon, individually, as surviving sibling of Robert D. McMahon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael McMahon
 is a resident of Florida. Robert D. McMahon is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1080. Kim McNeil-Hightower, individually, as surviving child of Walter A. McNeil, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Kim McNeil-
 Hightower is a resident of North Carolina. Walter A. McNeil is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1081. Kim McNeil-Hightower, as the Personal Representative of the Estate of Walter A.
 McNeil, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Walter A. McNeil, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Kim McNeil-Hightower is a resident
 of North Carolina. Walter A. McNeil is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1082. Walter A. McNeil II, individually, as surviving child of Walter A. McNeil, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Walter A. McNeil II
 is a resident of New Jersey. Walter A. McNeil is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                            526
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 528 of 962




 1083. Kim McNeil-Hightower, as Personal Representative of the Estate of Judith
 McNeil, deceased, the late sibling of Walter A. McNeil, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Kim McNeil-Hightower, as Personal
 Representative of the Estate of Judith McNeil, is a resident of North Carolina. Walter A.
 McNeil is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1084. Dolores Lara, individually, as surviving parent of Manuel E. Mejia, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dolores Lara is a resident of
 New York. Manuel E. Mejia is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1085. Scarlyn Mejia, individually, as surviving child of Manuel E. Mejia, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Scarlyn Mejia is a resident of
 New York. Manuel E. Mejia is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1086. Scarlyn Mejia, as the Personal Representative of the Estate of Manuel E. Mejia,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Manuel E. Mejia, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Scarlyn Mejia is a resident of New York.
 Manuel E. Mejia is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1087. Jacqueline Mejia Peguero, individually, as surviving child of Manuel E. Mejia, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Jacqueline Mejia
 Peguero is a resident of New York. Manuel E. Mejia is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1088. Jose Miguel Mejia Peguero, individually, as surviving child of Manuel E. Mejia,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jose Miguel
 Mejia Peguero is a resident of New York. Manuel E. Mejia is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1089. Manuel E. Mejia Peguero, individually, as surviving child of Manuel E. Mejia, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Manuel E. Mejia
 Peguero is a resident of New York. Manuel E. Mejia is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                             527
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 529 of 962




 1090. Yaritza Franco Estudillo, individually, as surviving child of Antonio Melendez, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Yaritza Franco
 Estudillo is a resident of New York. Antonio Melendez is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1091. Daisy N. Melendez, individually, as surviving child of Antonio Melendez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daisy N. Melendez
 is a resident of New York. Antonio Melendez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1092. Marco A. Melendez, individually, as surviving child of Antonio Melendez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marco A. Melendez
 is a resident of New York. Antonio Melendez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1093. Saul Melendez-Hernandez, individually, as surviving child of Antonio Melendez,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Saul Melendez-
 Hernandez is a resident of New York. Antonio Melendez is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1094. Bronx Public Administrator, as the Personal Representative of the Estate of
 Antonio Melendez, deceased, on behalf of the Estate, and on behalf of all survivors and
 all legally entitled beneficiaries and family members of Antonio Melendez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Bronx Public Administrator
 is a resident of New York. Antonio Melendez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1095. Douglas Mello, individually, as surviving parent of Christopher D. Mello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Douglas Mello is a
 resident of Florida. Christopher D. Mello is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1096. Ellen Mello, individually, as surviving parent of Christopher D. Mello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ellen Mello is a
 resident of Florida. Christopher D. Mello is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                            528
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 530 of 962




 1097. Ellen Mello, as the Personal Representative of the Estate of Christopher D. Mello,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Christopher D. Mello, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Ellen Mello is a resident of Florida.
 Christopher D. Mello is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1098. John Mello, individually, as surviving sibling of Christopher D. Mello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Mello is a
 resident of Connecticut. Christopher D. Mello is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1099. Aleksandr Melnichenko, individually, as surviving spouse of Yelena
 Melnichenko, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Aleksandr Melnichenko is a resident of New York. Yelena Melnichenko is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1100. Aleksandr Melnichenko, as the Personal Representative of the Estate of Yelena
 Melnichenko, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Yelena Melnichenko, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Aleksandr Melnichenko is a
 resident of New York. Yelena Melnichenko is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1101. Erik F. Melnichenko, individually, as surviving child of Yelena Melnichenko, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Erik F. Melnichenko
 is a resident of New York. Yelena Melnichenko is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1102. Mary Cooper, individually, as surviving sibling of Wesley Mercer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mary Cooper is a resident of
 the District of Columbia. Wesley Mercer is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1103. Mary Cooper as Personal Representative of the Estate of Elizabeth M. Parker,
 deceased, the late sibling of Wesley Mercer, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Mary Cooper as Personal Representative of the Estate of
 Elizabeth M. Parker is a resident of the District of Columbia. Wesley Mercer is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

                                            529
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 531 of 962




 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1104. Linda Loran, individually, as surviving child of Wesley Mercer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Linda Loran is a resident of
 New York. Wesley Mercer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1105. Jackie J. Mercer, individually, as surviving sibling of Wesley Mercer, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jackie J. Mercer is a
 resident of New Jersey. Wesley Mercer is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1106. Kimberly Lee King Anderson, as the Personal Representative of the Estate of
 Queen Mercer deceased, the late spouse of Wesley Mercer, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Kimberly Lee King Anderson, as the
 Personal Representative of the Estate of Queen Mercer, is a resident of New York.
 Wesley Mercer is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1107. Kimberly Lee King Anderson, as the Personal Representative of the Estate of
 Wesley Mercer, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Wesley Mercer, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Kimberly Lee King Anderson, is a
 resident of New York. Wesley Mercer is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1108. Sharif Chowdhury and Showkatara Sharif as co-Personal Representatives of the
 Estate of Shakila Yasmin, deceased, the late spouse of Nurul Miah, are Plaintiffs seeking
 justice for the tragic events of September 11, 2001. Sharif Chowdhury and Showkatara
 Sharif are residents of Virginia. Nurul Miah is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1109. Nur Miah and Rokshana Miah, as the co-Personal Representatives of the Estate of
 Nurul Miah, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Nurul Miah, are Plaintiffs seeking
 justice for the tragic events of September 11, 2001. Nur Miah and Rokshana Miah are
 residents of New York. Nurul Miah is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                             530
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 532 of 962




 1110. Bakul Miah, individually, as surviving sibling of Nurul Miah, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Bakul Miah is a resident of
 New Jersey. Nurul Miah is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1111. Maria Revilla, individually, as surviving spouse of Luis Clodoaldo Revilla Mier,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Revilla is
 a resident of Florida. Luis Clodoaldo Revilla Mier is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1112. Maria Revilla, as the Personal Representative of the Estate of Luis Clodoaldo
 Revilla Mier, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Luis Clodoaldo Revilla Mier, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Revilla is a
 resident of Florida. Luis Clodoaldo Revilla Mier is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1113. Jacqueline Milam, individually, as surviving spouse of Major Ronald D. Milam,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jacqueline
 Milam is a resident of Texas. Major Ronald D. Milam is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1114. Jacqueline Milam, as the Personal Representative of the Estate of Major Ronald
 D. Milam, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Major Ronald D. Milam, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jacqueline Milam is a
 resident of Texas. Major Ronald D. Milam is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1115. Ronald D. Milam Jr., individually, as surviving child of Major Ronald D. Milam,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Ronald D.
 Milam Jr. is a resident of Texas. Major Ronald D. Milam is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1116. MyeJoi Milam, individually, as surviving child of Major Ronald D. Milam, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. MyeJoi Milam is a
 resident of Texas. Major Ronald D. Milam is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

                                             531
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 533 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1117. Laurie Miller, individually, as surviving spouse of Douglas C. Miller, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Laurie Miller is a resident of
 Pennsylvania. Douglas C. Miller is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1118. Laurie Miller, as the Personal Representative of the Estate of Douglas C. Miller,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Douglas C. Miller, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Laurie Miller is a resident of Pennsylvania.
 Douglas C. Miller is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1119. Rachel Miller, individually, as surviving child of Douglas C. Miller, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rachel Miller is a resident of
 Pennsylvania. Douglas C. Miller is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1120. Katherine Miller, individually, as surviving child of Douglas C. Miller, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Katherine Miller is a
 resident of Pennsylvania. Douglas C. Miller is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1121. Sheryl Miller Bechor, individually, as surviving child of Philip D. Miller, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sheryl Miller
 Bechor is a resident of Florida . Philip D. Miller is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1122. Arlene Miller as the Personal Representatives of the Estate of Philip D. Miller,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Philip D. Miller, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Arlene Miller is a resident of Florida. Philip D.
 Miller is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1123. Arlene Miller, individually, as surviving spouse of Philip D. Miller, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Arlene Miller is a resident of
 Florida. Philip D. Miller is one of the Decedents murdered as a result of the terrorist

                                             532
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 534 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1124. Frank Moccia, Jr., as the Personal Representative of the Estate of Elaine Moccia,
 deceased, the late spouse of Frank V. Moccia, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Frank Moccia, Jr., as the Personal Representative of the
 Estate of Elaine Moccia, is a resident of New York. Frank V. Moccia is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1125. Frank Moccia, Jr. and Donna M. Velazquez, as the Co-Personal Representatives
 of the Estate of Frank V. Moccia, deceased, on behalf of the Estate, and on behalf of all
 survivors and all legally entitled beneficiaries and family members of Frank V. Moccia,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Frank Moccia,
 Jr. & Donna M. Velazquez are residents of New York. Frank V. Moccia is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1126. Donna Velazquez, individually, as surviving child of Frank V. Moccia, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Donna Velazquez is
 a resident of New York. Frank V. Moccia is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1127. Frank Moccia, individually, as surviving child of Frank V. Moccia, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Frank Moccia is a resident of
 New York. Frank V. Moccia is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1128. Patricia Codispoti, individually, as surviving sibling of Louis J. Modafferi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Codispoti is
 a resident of New York. Louis J. Modafferi is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1129. Anthony Modafferi, individually, as surviving sibling of Louis J. Modafferi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Modafferi
 is a resident of New York. Louis J. Modafferi is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.



                                             533
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 535 of 962




 1130. Raffaela Modafferi, individually, as surviving parent of Louis J. Modafferi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Raffaela Modafferi
 is a resident of New York. Louis J. Modafferi is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1131. Mercedes Hernandez Molina, individually, as surviving spouse of Manuel De
 Jesus Molina, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Mercedes Hernandez Molina is a resident of New York. Manuel De Jesus Molina is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1132. Mercedes Hernandez Molina, as the Personal Representative of the Estate of
 Manuel De Jesus Molina, deceased, on behalf of the Estate, and on behalf of all survivors
 and all legally entitled beneficiaries and family members of Manuel De Jesus Molina, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mercedes Hernandez
 Molina is a resident of New York. Manuel De Jesus Molina is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1133. Amanda Castrillon, individually, as surviving spouse of Antonio Montoya, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Amanda Castrillon
 is a resident of Massachusetts. Antonio Montoya is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1134. Amanda Castrillon, as the Co-Personal Representative of the Estate of Antonio
 Montoya, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Antonio Montoya, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Amanda Castrillon is a resident of
 Massachusetts. Antonio Montoya is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1135. Cindy Montoya, individually, as surviving child of Antonio Montoya, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cindy Montoya is a
 resident of Massachusetts. Antonio Montoya is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1136. Jorge Montoya, individually, as surviving child of Antonio Montoya, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jorge Montoya is a resident
 of Massachusetts. Antonio Montoya is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

                                            534
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 536 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1137. Kelly Montoya, individually, as surviving child of Antonio Montoya, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kelly Montoya is a resident
 of Massachusetts. Antonio Montoya is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1138. Margarita Londono de Montoya, individually, as surviving parent of Carlos A.
 Montoya, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Margarita Londono de Montoya is a resident of Colombia. Carlos A. Montoya is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1139. Gilberto Montoya-Londono, individually, as surviving sibling of Carlos A.
 Montoya, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Gilberto Montoya-Londono is a resident of Colombia. Carlos A. Montoya is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1140. Jaime Montoya-Londono, individually, as surviving sibling of Carlos A.
 Montoya, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jaime
 Montoya-Londono is a resident of Colombia. Carlos A. Montoya is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1141. Luis F. Montoya-Londono, individually, as surviving sibling of Carlos A.
 Montoya, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Luis
 F. Montoya-Londono is a resident of Colombia. Carlos A. Montoya is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1142. Stacey Montoya, individually, as surviving spouse of Carlos A. Montoya, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stacey Montoya is a
 resident of California. Carlos A. Montoya is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1143. Stacey Montoya, as the Personal Representative of the Estate of Carlos A.
 Montoya, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Carlos A. Montoya, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Stacey Montoya is a resident of
 California. Carlos A. Montoya is one of the Decedents murdered as a result of the

                                            535
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 537 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1144. Deirdre Moody, individually, as surviving child of Capt. Thomas Moody, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Deirdre Moody is a
 resident of New York. Capt. Thomas Moody is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1145. Jessica Moody, individually, as surviving child of Capt. Thomas Moody, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jessica Moody is a
 resident of New York. Capt. Thomas Moody is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1146. Sean Moody, individually, as surviving child of Capt. Thomas Moody, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sean Moody is a
 resident of New York. Capt. Thomas Moody is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1147. Maureen Moody-Theinert, individually, as surviving spouse of Capt. Thomas
 Moody, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Maureen Moody-Theinert is a resident of New York. Capt. Thomas Moody is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1148. Maureen Moody-Theinert, as the Personal Representative of the Estate of Thomas
 Capt.) Moody, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Capt. Thomas Moody, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maureen Moody-Theinert is
 a resident of New York. Capt. Thomas Moody is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1149. Erin Moody Brennan, individually, as surviving child of Capt. Thomas Moody, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Erin Moody
 Brennan is a resident of Massachusetts. Capt. Thomas Moody is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1150. Portia Morales, individually, as surviving child of Paula E. Morales, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Portia Morales is a resident

                                            536
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 538 of 962




 of Pennsylvania. Paula E. Morales is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1151. Sherwin Morales, individually, as surviving child of Paula E. Morales, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sherwin Morales is a
 resident of Florida. Paula E. Morales is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1152. Stephanie Morales-Guerrero, individually, as surviving child of Paula E. Morales,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Stephanie
 Morales-Guerrero is a resident of Florida. Paula E. Morales is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1153. Stephanie Morales-Guerrero, as the Personal Representative of the Estate of Paula
 E. Morales, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Paula E. Morales, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stephanie Morales-Guerrero
 is a resident of Florida. Paula E. Morales is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1154. Petal S. Stanford-Sylvert, individually, as surviving child of Paula E. Morales, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Petal S. Stanford-
 Sylvert is a resident of New Jersey. Paula E. Morales is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1155. Kevin Moran, individually, as surviving sibling of Gerard Moran, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Moran is a resident of
 Pennsylvania. Gerard Moran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1156. Shannon Moran, individually, as surviving child of Gerard Moran, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shannon Moran is a resident
 of Maryland. Gerard Moran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                            537
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 539 of 962




 1157. Shannon Moran, as the Personal Representative of the Estate of Gerard Moran,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Gerard Moran, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Shannon Moran is a resident of Maryland. Gerard
 Moran is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1158. Ellen Moran, individually, as surviving sibling of John Moran, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ellen Moran is a resident of
 New York. John Moran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1159. Dylan Moran, individually, as surviving child of John Moran, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dylan Moran is a resident of
 Washington. John Moran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1160. Michael Moran, individually, as surviving sibling of John Moran, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Moran is a resident
 of New York. John Moran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1161. Ryan Moran, individually, as surviving child of John Moran, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Ryan Moran is a resident of
 Washington. John Moran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1162. Ellen Moran a/k/a Ellen Brennan, as Personal Representative of the Estate of
 Margaret Murphy Moran, deceased, the late parent of John Moran, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Ellen Moran a/k/a Ellen Brennan, as
 Personal Representative of the Estate of Margaret Murphy Moran is a resident of New
 York. John Moran is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1163. Mona O’Connor, individually, as surviving sibling of John Moran, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mona O’Connor is a resident
 of New York. John Moran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             538
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 540 of 962




 1164. Kim Racklin, individually, as surviving spouse of John Moran, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kim Racklin is a resident of
 Washington. John Moran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1165. Kim Racklin, as the Personal Representative of the Estate of John Moran,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of John Moran, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Kim Racklin is a resident of Washington. John
 Moran is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1166. Alfia L. Gilligan (nee Morello), individually, as surviving child of Steven
 Morello, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Alfia
 L. Gilligan (nee Morello) is a resident of New Jersey. Steven Morello is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1167. Eileen M. Morello, individually, as surviving spouse of Steven Morello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Eileen M. Morello is
 a resident of New Jersey. Steven Morello is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1168. Eileen M. Morello, as the Personal Representative of the Estate of Steven
 Morello, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Steven Morello, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Eileen M. Morello is a resident of New
 Jersey. Steven Morello is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1169. Steven Morello, individually, as surviving child of Steven Morello, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Steven Morello is a resident
 of South Carolina. Steven Morello is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1170. Jessica Spiers, individually, as surviving child of Steven Morello, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jessica Spiers is a resident of
 New Jersey. Steven Morello is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                             539
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 541 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1171. Winford F. Lamb, individually, as surviving sibling of Odessa V. Morris, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Winford F. Lamb is
 a resident of Maryland. Odessa V. Morris is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1172. Dahlia Morris, individually, as surviving child of Odessa V. Morris, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dahlia Morris is a resident of
 California. Odessa V. Morris is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1173. Horace Morris, individually, as surviving spouse of Odessa V. Morris, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Horace Morris is a
 resident of Maryland. Odessa V. Morris is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1174. Horace Morris, as the Personal Representative of the Estate of Odessa V. Morris,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Odessa V. Morris, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Horace Morris is a resident of Maryland. Odessa
 V. Morris is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1175. Jan-Sheri Morris, individually, as surviving child of Odessa V. Morris, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jan-Sheri Morris is a
 resident of Maryland. Odessa V. Morris is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1176. Keith Morris, individually, as surviving child of Odessa V. Morris, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Keith Morris is a resident of
 Maryland. Odessa V. Morris is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1177. Ferdinand Morrone, individually, as surviving child of Ferdinand Morrone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ferdinand Morrone
 is a resident of Georgia. Ferdinand Morrone is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

                                             540
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 542 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1178. Gregory Morrone, individually, as surviving child of Ferdinand Morrone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gregory Morrone is
 a resident of New Jersey. Ferdinand Morrone is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1179. Linda Morrone, individually, as surviving spouse of Ferdinand Morrone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Linda Morrone is a
 resident of Florida. Ferdinand Morrone is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1180. Linda Morrone, as the Personal Representative of the Estate of Ferdinand
 Morrone, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Ferdinand Morrone, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Linda Morrone is a resident of
 Florida. Ferdinand Morrone is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1181. Alyssa Morrone, individually, as surviving child of Ferdinand Morrone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alyssa Morrone is a
 resident of Florida. Ferdinand Morrone is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1182. George Jebrine, as the co-Personal Representative of the Estate of Jude Moussa,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Jude Moussa, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. George Jebrine is a resident of Paris. Jude Moussa is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1183. Joseph Moussa, individually, as surviving parent of Jude Moussa, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joseph Moussa is a resident
 of El Kura, Lebanon. Jude Moussa is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1184. Mazen Moussa, individually, as surviving sibling of Jude Moussa, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mazen Moussa is a resident

                                             541
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 543 of 962




 of El Kura, Lebanon. Jude Moussa is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1185. Michael Moussa, individually, as surviving sibling of Jude Moussa, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Moussa is a resident
 of El Kura, Lebanon. Jude Moussa is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1186. Yvette Moussa, individually, as surviving parent of Jude Moussa, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Yvette Moussa is a resident
 of El Kura, Lebanon. Jude Moussa is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1187. Andre Mowatt, individually, as surviving sibling of Damion Mowatt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Andre Mowatt is a resident of
 New York. Damion Mowatt is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1188. Andrea Mowatt, individually, as surviving parent of Damion Mowatt, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrea Mowatt is a
 resident of New York. Damion Mowatt is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1189. Andrea Mowatt, as the Personal Representative of the Estate of Damion Mowatt,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Damion Mowatt, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Andrea Mowatt is a resident of New York. Damion
 Mowatt is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1190. Deval Mowatt, individually, as surviving sibling of Damion Mowatt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Deval Mowatt is a resident of
 New York. Damion Mowatt is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1191. Devon Mowatt, individually, as surviving parent of Damion Mowatt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Devon Mowatt is a resident

                                            542
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 544 of 962




 of New York. Damion Mowatt is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1192. Mary Muldowney, as the Personal Representative of the Estate of Anne
 Muldowney, deceased, the late parent of Richard Muldowney Jr., is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Mary Muldowney as Personal
 Representative for the Estate of Anne Muldowney is a resident of New York. Richard
 Muldowney Jr. is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1193. Brian Muldowney, individually, as surviving sibling of Richard Muldowney Jr., is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Brian Muldowney
 is a resident of Florida. Richard Muldowney Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1194. Kevin Muldowney, individually, as surviving sibling of Richard Muldowney Jr.,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Kevin
 Muldowney is a resident of New York. Richard Muldowney Jr. is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1195. Mary Muldowney, individually, as surviving sibling of Richard Muldowney Jr., is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Muldowney
 is a resident of New York. Richard Muldowney Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1196. Timothy Muldowney, individually, as surviving sibling of Richard Muldowney
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Timothy
 Muldowney is a resident of Florida. Richard Muldowney Jr. is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1197. Colleen Andello, individually, as surviving sibling of Richard Muldowney Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Colleen Andello is a
 resident of Florida. Richard Muldowney Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1198. Constance Muldowney, individually, as surviving spouse of Richard Muldowney
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Constance

                                             543
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 545 of 962




 Muldowney is a resident of New York. Richard Muldowney Jr. is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1199. Constance Muldowney, as the Personal Representative of the Estate of Richard
 Muldowney, Jr., deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Richard Muldowney Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Constance Muldowney is a
 resident of New York. Richard Muldowney Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1200. John Proodian, individually, as surviving child of Richard Muldowney Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Proodian is a
 resident of Texas. Richard Muldowney Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1201. Constance Muldowney, as Personal Representative of the Estate of Kathryn
 Proodian, deceased, the late child of Richard Muldowney Jr., is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Constance Muldowney, as Personal
 Representative of the Estate of Kathryn Proodian is a resident of New York. Richard
 Muldowney Jr. is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1202. Kevin Mulligan, individually, as surviving sibling of Dennis M. Mulligan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kevin Mulligan is a
 resident of Connecticut. Dennis M. Mulligan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1203. Michael Mulligan, individually, as surviving sibling of Dennis M. Mulligan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Mulligan is
 a resident of New York. Dennis M. Mulligan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1204. Patricia Mulligan, individually, as surviving sibling of Dennis M. Mulligan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Mulligan is
 a resident of New York. Dennis M. Mulligan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             544
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 546 of 962




 1205. Patricia Mulligan, as the Personal Representative of the Estate of Dennis M.
 Mulligan, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Dennis M. Mulligan, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Patricia Mulligan is a resident of New
 York. Dennis M. Mulligan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1206. Patricia Mulligan, as Personal Representative of the Estate of Edward Mulligan,
 deceased, the late parent of Dennis M. Mulligan, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Patricia Mulligan, as Personal Representative of the
 Estate of Edward Mulligan is a resident of New York. Dennis M. Mulligan is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1207. Patricia Mulligan, as Personal Representative of the Estate of Mary Frigo a/k/a
 Mary Catherine Brady , deceased, the late parent of Dennis M. Mulligan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Mulligan, as Personal
 Representative of the Estate of Mary Frigo a/k/a Mary Catherine Brady is a resident of
 New York. Dennis M. Mulligan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1208. Brian Mulligan, individually, as surviving sibling of Dennis M. Mulligan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brian Mulligan is a
 resident of New York. Dennis M. Mulligan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1209. Masako Murphy, individually, as surviving spouse of Patrick J. Murphy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Masako Murphy is a
 resident of Maryland. Patrick J. Murphy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1210. Masako Murphy, as the Personal Representative of the Estate of Patrick J.
 Murphy, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Patrick J. Murphy, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Masako Murphy is a resident of
 Maryland. Patrick J. Murphy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                             545
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 547 of 962




 1211. Mitchell Murphy, individually, as surviving child of Patrick J. Murphy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mitchell Murphy is a
 resident of New Jersey. Patrick J. Murphy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1212. Michael Murray, individually, as surviving child of Valerie V. Murray, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Murray is a
 resident of Wisconsin. Valerie V. Murray is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1213. Michael Murray, as the Personal Representative of the Estate of Valerie V.
 Murray, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Valerie V. Murray, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Michael Murray is a resident of
 Wisconsin. Valerie V. Murray is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1214. Michael Murray as Personal Representative of the Estate of Kenneth Murray,
 deceased, the late child of Valerie V. Murray, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Michael Murray as Personal Representative of the Estate
 of Kenneth Murray is a resident of Wisconsin. Valerie V. Murray is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1215. Veronica Stinga, individually, as surviving child of Valerie V. Murray, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Veronica Stinga is a
 resident of Florida. Valerie V. Murray is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1216. Valerie J. Murray, individually, as surviving child of Valerie V. Murray, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Valerie J. Murray is
 a resident of New York. Valerie V. Murray is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1217. Timothy Murray, individually, as surviving child of Valerie V. Murray, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Timothy Murray is a
 resident of New York. Valerie V. Murray is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                             546
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 548 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1218. John Capodanno, as the Personal Representative of the Estate of Mario Nardone
 Jr., deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Mario Nardone Jr., is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. John Capodanno is a resident of New York.
 Mario Nardone Jr. is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1219. Christopher Nardone, individually, as surviving sibling of Mario Nardone Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Nardone
 is a resident of New Jersey. Mario Nardone Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1220. Jeanine Rao, individually, as surviving sibling of Mario Nardone Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jeanine Rao is a resident of
 New York. Mario Nardone Jr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1221. Jeanine Rao as Personal Representative of the Estate of Linda Nardone, deceased,
 the late parent of Mario Nardone Jr., is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Jeanine Rao as Personal Representative of the Estate of Linda
 Nardone is a resident of New York. Mario Nardone Jr. is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1222. Jerrell Nedd, individually, as surviving child of Jerome O. Nedd, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jerrell Nedd is a resident of
 New York. Jerome O. Nedd is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1223. Roxanne Nedd, individually, as surviving spouse of Jerome O. Nedd, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Roxanne Nedd is a resident
 of New York. Jerome O. Nedd is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1224. Roxanne Nedd, as the Personal Representative of the Estate of Jerome O. Nedd,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Jerome O. Nedd, is a Plaintiff seeking justice for the

                                              547
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 549 of 962




 tragic events of September 11, 2001. Roxanne Nedd is a resident of New York. Jerome
 O. Nedd is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1225. Jerome Nedd, individually, as surviving child of Jerome O. Nedd, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jerome Nedd is a resident of
 New York. Jerome O. Nedd is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1226. Lyndsi Nelson, as the Personal Representative of the Estate of Peter A. Nelson,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Peter A. Nelson, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Lyndsi Nelson is a resident of Florida. Peter A.
 Nelson is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1227. Ryan Nelson, individually, as surviving child of Peter A. Nelson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ryan Nelson is a resident of
 Pennsylvania. Peter A. Nelson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1228. Earlrick Nesbitt, individually, as surviving sibling of Oscar F. Nesbitt, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Earlrick Nesbitt is a
 resident of New York. Oscar F. Nesbitt is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1229. John Nesbitt, individually, as surviving sibling of Oscar F. Nesbitt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Nesbitt is a resident of
 Trinidad, W.I.. Oscar F. Nesbitt is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1230. Leslie Nesbitt, individually, as surviving sibling of Oscar F. Nesbitt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Leslie Nesbitt is a resident of
 New York. Oscar F. Nesbitt is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1231. Leslie Nesbitt, as the Personal Representative of the Estate of Oscar F. Nesbitt,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled

                                             548
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 550 of 962




 beneficiaries and family members of Oscar F. Nesbitt, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Leslie Nesbitt is a resident of New York. Oscar F.
 Nesbitt is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1232. Joycelyn Nesbitt-Arneaud, individually, as surviving sibling of Oscar F. Nesbitt,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Joycelyn
 Nesbitt-Arneaud is a resident of Trinidad, W.I.. Oscar F. Nesbitt is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1233. Rosia Nesbitt as Personal Representative of the Estate of Rawlins Anthony
 Nesbitt , deceased, the late sibling of Oscar F. Nesbitt, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Rosia Nesbitt as Personal Representative of the
 Estate of Rawlins Anthony Nesbitt is a resident of Maryland. Oscar F. Nesbitt is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1234. Daniel Nevins, individually, as surviving child of Gerard T. Nevins, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daniel Nevins is a resident of
 New York. Gerard T. Nevins is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1235. Marie Nevins, individually, as surviving spouse of Gerard T. Nevins, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marie Nevins is a resident of
 New York. Gerard T. Nevins is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1236. Marie Nevins, as the Personal Representative of the Estate of Gerard T. Nevins,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Gerard T. Nevins, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Marie Nevins is a resident of New York. Gerard
 T. Nevins is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1237. Andrew Nevins, individually, as surviving child of Gerard T. Nevins, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Andrew Nevins is a resident
 of Colorado. Gerard T. Nevins is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.


                                               549
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 551 of 962




 1238. Robin Loconto, individually, as surviving sibling of Nancy Yuen Ngo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robin Loconto is a
 resident of New Hampshire. Nancy Yuen Ngo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1239. Ashley Ngo, individually, as surviving child of Nancy Yuen Ngo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ashley Ngo is a resident of
 New Jersey. Nancy Yuen Ngo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1240. Lindsay Ngo, individually, as surviving child of Nancy Yuen Ngo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lindsay Ngo is a resident of
 New Jersey. Nancy Yuen Ngo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1241. Man Ngo, individually, as surviving spouse of Nancy Yuen Ngo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Man Ngo is a resident of
 New Jersey. Nancy Yuen Ngo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1242. Man Ngo, as the Personal Representative of the Estate of Nancy Yuen Ngo,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Nancy Yuen Ngo, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Man Ngo is a resident of New Jersey. Nancy
 Yuen Ngo is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1243. Ho Ying Yee, individually, as surviving parent of Nancy Yuen Ngo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ho Ying Yee is a resident of
 New Jersey. Nancy Yuen Ngo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1244. Dorothy Ogren, individually, as surviving parent of Joseph J. Ogren, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dorothy Ogren is a resident
 of New Jersey. Joseph J. Ogren is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.


                                            550
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 552 of 962




 1245. Lance Edward Ogren, individually, as surviving sibling of Joseph J. Ogren, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lance Edward
 Ogren is a resident of South Carolina. Joseph J. Ogren is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1246. James Davies, as Personal Representative of the Estate of Robert T. Ogren,
 deceased, the late parent of Joseph J. Ogren, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. James Davies, as Personal Representative of the Estate of
 Robert T. Ogren is a resident of Florida. Joseph J. Ogren is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1247. Lance Ogren, as the Personal Representative of the Estate of Joseph J. Ogren,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Joseph J. Ogren, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Lance Ogren is a resident of South Carolina. Joseph
 J. Ogren is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1248. Jessica Marrero, individually, as surviving child of Samuel Oitice, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jessica Marrero is a resident
 of New York. Samuel Oitice is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1249. Jean Oitice, individually, as surviving spouse of Samuel Oitice, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jean Oitice is a resident of
 New York. Samuel Oitice is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1250. Jean Oitice, as the Personal Representative of the Estate of Samuel Oitice,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Samuel Oitice, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jean Oitice is a resident of New York. Samuel
 Oitice is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1251. John Oitice, individually, as surviving child of Samuel Oitice, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Oitice is a resident of
 New York. Samuel Oitice is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                             551
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 553 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1252. Duane Orloske, individually, as surviving spouse of Margaret Orloske, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Duane Orloske is a
 resident of Connecticut. Margaret Orloske is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1253. Duane Orloske, as the Personal Representative of the Estate of Margaret Orloske,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Margaret Orloske, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Duane Orloske is a resident of Connecticut.
 Margaret Orloske is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1254. Stephen Orloske, individually, as surviving child of Margaret Orloske, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephen Orloske is a
 resident of Vermont. Margaret Orloske is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1255. Duane Orloske as Personal Representative of the Estate of Sylvia Quinn,
 deceased, the late parent of Margaret Orloske, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Duane Orloske as Personal Representative of the Estate of
 Sylvia Quinn is a resident of Connecticut. Margaret Orloske is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1256. Elizabeth O. Kenworthy, individually, as surviving child of Virginia Ormiston, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth O.
 Kenworthy is a resident of New York. Virginia Ormiston is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1257. James H. Kenworthy, individually, as surviving spouse of Virginia Ormiston, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James H. Kenworthy
 is a resident of New York. Virginia Ormiston is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1258. James H. Kenworthy, as the Personal Representative of the Estate of Virginia
 Ormiston, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Virginia Ormiston, is a Plaintiff seeking

                                             552
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 554 of 962




 justice for the tragic events of September 11, 2001. James H. Kenworthy is a resident of
 New York. Virginia Ormiston is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1259. William O. Kenworthy, individually, as surviving child of Virginia Ormiston, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William O.
 Kenworthy is a resident of Virginia. Virginia Ormiston is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1260. Jonathan Ortiz, individually, as surviving sibling of Paul Ortiz Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jonathan Ortiz is a resident of
 New Jersey. Paul Ortiz Jr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1261. Pablo Ortiz Sr., individually, as surviving parent of Paul Ortiz Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Pablo Ortiz Sr. is a resident
 of New Jersey. Paul Ortiz Jr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1262. Estrellita a/k/a Estrellita Sanchez Ortiz, individually, as surviving spouse of Paul
 Ortiz Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Estrellita a/k/a Estrellita Sanchez Ortiz is a resident of Florida. Paul Ortiz Jr. is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1263. Estrellita a/k/a Estrellita Sanchez Ortiz, as the Personal Representative of the
 Estate of Paul Ortiz Jr., deceased, on behalf of the Estate, and on behalf of all survivors
 and all legally entitled beneficiaries and family members of Paul Ortiz Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Estrellita a/k/a Estrellita
 Sanchez Ortiz is a resident of Florida. Paul Ortiz Jr. is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1264. Rebecca Brianne Ortiz, individually, as surviving child of Paul Ortiz Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rebecca Brianne
 Ortiz is a resident of Florida. Paul Ortiz Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                               553
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 555 of 962




 1265. Sophie Ortiz, individually, as surviving parent of Paul Ortiz Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sophie Ortiz is a resident of
 New Jersey. Paul Ortiz Jr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1266. Crystal Marie Ortiz, individually, as surviving child of David Ortiz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Crystal Marie Ortiz is a
 resident of New York. David Ortiz is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1267. Ilianette Ortiz, individually, as surviving spouse of David Ortiz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ilianette Ortiz is a resident of
 New York. David Ortiz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1268. Ilianette Ortiz, as the Personal Representative of the Estate of David Ortiz,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of David Ortiz, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Ilianette Ortiz is a resident of New York. David
 Ortiz is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1269. Richard Ortiz, individually, as surviving child of David Ortiz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Richard Ortiz is a resident of
 New York. David Ortiz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1270. Paola Cepeda, individually, as surviving child of Isidro D. Ottenwalder, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paola Cepeda is a
 resident of New York. Isidro D. Ottenwalder is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1271. Maria Delgado, individually, as surviving sibling of Isidro D. Ottenwalder, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Delgado is a
 resident of New York. Isidro D. Ottenwalder is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             554
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 556 of 962




 1272. Ana Silvia Diaz, individually, as surviving sibling of Isidro D. Ottenwalder, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ana Silvia Diaz is a
 resident of New York. Isidro D. Ottenwalder is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1273. Maria Fernandez, individually, as surviving spouse of Isidro D. Ottenwalder, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Fernandez is a
 resident of the Dominican Republic. Isidro D. Ottenwalder is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1274. Maria Fernandez, as the co-Personal Representative of the Estate of Isidro D.
 Ottenwalder, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Isidro D. Ottenwalder, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maria Fernandez is a resident
 of the Dominican Republic. Isidro D. Ottenwalder is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1275. Altagracia Ottenwalder, individually, as surviving sibling of Isidro D.
 Ottenwalder, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Altagracia Ottenwalder is a resident of New York. Isidro D. Ottenwalder is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1276. Homero Ottenwalder, individually, as surviving sibling of Isidro D. Ottenwalder,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Homero
 Ottenwalder is a resident of New Jersey. Isidro D. Ottenwalder is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1277. Jose Ottenwalder, individually, as surviving sibling of Isidro D. Ottenwalder, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jose Ottenwalder is
 a resident of New Jersey. Isidro D. Ottenwalder is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1278. Jose Ottenwalder, as the co-Personal Representative of the Estate of Isidro D.
 Ottenwalder, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Isidro D. Ottenwalder, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jose Ottenwalder is a resident
 of New Jersey. Isidro D. Ottenwalder is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

                                            555
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 557 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1279. Maria Ottenwalder, individually, as surviving sibling of Isidro D. Ottenwalder, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Ottenwalder
 is a resident of New York. Isidro D. Ottenwalder is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1280. Pedro Ottenwalder, individually, as surviving sibling of Isidro D. Ottenwalder, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Pedro Ottenwalder
 is a resident of Florida. Isidro D. Ottenwalder is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1281. Rafael Ottenwalder, individually, as surviving sibling of Isidro D. Ottenwalder, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Rafael
 Ottenwalder is a resident of New Jersey. Isidro D. Ottenwalder is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1282. William Ottenwalder, individually, as surviving sibling of Isidro D. Ottenwalder,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. William
 Ottenwalder is a resident of New York. Isidro D. Ottenwalder is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1283. Rafael Ottenwalder, as Personal Representative for the Estate of Ana Pena di
 Ottenwalder, deceased, the late parent of Isidro D. Ottenwalder, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Rafael Ottenwalder, as Personal
 Representative for the Estate of Ana Pena di Ottenwalder is a resident of New Jersey.
 Isidro D. Ottenwalder is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1284. Maria Cruz Rodriguez, individually, as surviving sibling of Isidro D. Ottenwalder,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Cruz
 Rodriguez is a resident of New York. Isidro D. Ottenwalder is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1285. Josefina Tolentino, individually, as surviving sibling of Isidro D. Ottenwalder, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Josefina Tolentino
 is a resident of New York. Isidro D. Ottenwalder is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

                                             556
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 558 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1286. John Owens, individually, as surviving sibling of Peter Owens, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Owens is a resident of
 New York. Peter Owens is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1287. Kevin Owens, individually, as surviving sibling of Peter Owens, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Owens is a resident of
 New York. Peter Owens is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1288. Terence Owens, individually, as surviving sibling of Peter Owens, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Terence Owens is a resident
 of New York. Peter Owens is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1289. Thomas F. Owens, individually, as surviving sibling of Peter Owens, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas F. Owens is a
 resident of New York. Peter Owens is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1290. Felipe Oyola, individually, as surviving spouse of Adianes Oyola, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Felipe Oyola is a resident of
 Florida. Adianes Oyola is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1291. Felipe Oyola, as the Personal Representative of the Estate of Adianes Oyola,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Adianes Oyola, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Felipe Oyola is a resident of Florida. Adianes Oyola
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1292. Hannah Pabon, individually, as surviving child of Israel Pabon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Hannah Pabon is a resident of
 New Jersey. Israel Pabon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                            557
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 559 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1293. Karen Pabon, individually, as surviving spouse of Israel Pabon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karen Pabon is a resident of
 New Jersey. Israel Pabon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1294. Karen Pabon, as the Co-Personal Representative of the Estate of Israel Pabon,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Israel Pabon, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Karen Pabon is a resident of New Jersey. Israel
 Pabon is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1295. Sara Pabon, individually, as surviving child of Israel Pabon, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Sara Pabon is a resident of New
 Jersey. Israel Pabon is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1296. Alyssa Palmer, individually, as surviving child of Orio J. Palmer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alyssa Palmer is a resident of
 New York. Orio J. Palmer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1297. Dana M. Runfola and Keith Palmer, as co-Personal Representatives for the Estate
 of Deborah Palmer, deceased, the late spouse of Orio J. Palmer, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Dana M. Runfola and Keith Palmer
 are residents of New York. Orio J. Palmer is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1298. Dana M. Runfola and Keith Palmer, as co-Personal Representatives for the Estate
 of of Orio J. Palmer, deceased, on behalf of the Estate, and on behalf of all survivors and
 all legally entitled beneficiaries and family members of Orio J. Palmer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dana M. Runfola and Keith
 Palmer are residents of New York. Orio J. Palmer is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1299. Keith Palmer, individually, as surviving child of Orio J. Palmer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Keith Palmer is a resident of

                                             558
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 560 of 962




 New Jersey. Orio J. Palmer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1300. Dana M. Runfola, individually, as surviving child of Orio J. Palmer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dana M. Runfola is a resident
 of New York. Orio J. Palmer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1301. John Doe 44, being intended to designate the Personal Representative of the
 Estate of James W. Parham, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of James W. Parham, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. James W. Parham is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1302. Leno Parham Jr., individually, as surviving sibling of James W. Parham, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Leno Parham Jr. is a
 resident of Maryland. James W. Parham is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1303. Kevin Parham, individually, as surviving sibling of James W. Parham, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kevin Parham is a
 resident of New Jersey. James W. Parham is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1304. Sonia Lowe, individually, as surviving parent of Michael Parkes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sonia Lowe is a resident of
 Georgia. Michael Parkes is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1305. Sonia Lowe, as the Personal Representative of the Estate of Michael Parkes,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Michael Parkes, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Sonia Lowe is a resident of Georgia. Michael
 Parkes is one of the Decedents murdered as a result of the terrorist attacks of September

                                            559
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 561 of 962




 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1306. Anya Monique Parkes, individually, as surviving sibling of Michael Parkes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anya Monique
 Parkes is a resident of Georgia. Michael Parkes is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1307. Ralph Parkes, individually, as surviving parent of Michael Parkes, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ralph Parkes is a resident of
 Jamaica. Michael Parkes is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1308. Mirna Huerta Aguirre, individually, as surviving spouse of Leobardo L. Pascual,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Mirna Huerta
 Aguirre is a resident of Mexico. Leobardo L. Pascual is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1309. John Doe 45, being intended to designate the Personal Representative of the
 Estate of Leobardo L. Pascual, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Leobardo L. Pascual, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Leobardo L. Pascual is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1310. Carmen Yosef Lopez, individually, as surviving sibling of Leobardo L. Pascual, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Carmen Yosef
 Lopez is a resident of California. Leobardo L. Pascual is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1311. Cristobal Lopez, individually, as surviving sibling of Leobardo L. Pascual, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cristobal Lopez is a
 resident of California. Leobardo L. Pascual is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                              560
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 562 of 962




 1312. Lizeth Lopez Huerta, individually, as surviving child of Leobardo L. Pascual, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lizeth Lopez Huerta
 is a resident of Mexico. Leobardo L. Pascual is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1313. Mariela Lopez Huerta, individually, as surviving child of Leobardo L. Pascual, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Mariela Lopez
 Huerta is a resident of Mexico. Leobardo L. Pascual is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1314. Ana Luisa Lopez Pascual, individually, as surviving sibling of Leobardo L.
 Pascual, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Ana
 Luisa Lopez Pascual is a resident of Mexico. Leobardo L. Pascual is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1315. Elena De La Cruz Lopez Pascual, individually, as surviving sibling of Leobardo
 L. Pascual, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Elena De La Cruz Lopez Pascual is a resident of Mexico. Leobardo L. Pascual is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1316. Flor Lopez Pascual, individually, as surviving sibling of Leobardo L. Pascual, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Flor Lopez Pascual
 is a resident of Mexico. Leobardo L. Pascual is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1317. Graciela Lopez Pascual, individually, as surviving sibling of Leobardo L. Pascual,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Graciela Lopez
 Pascual is a resident of California. Leobardo L. Pascual is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1318. Janet Lopez Pascual, individually, as surviving sibling of Leobardo L. Pascual, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Janet Lopez
 Pascual is a resident of Mexico. Leobardo L. Pascual is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.



                                            561
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 563 of 962




 1319. Manuela Lopez Pascual, individually, as surviving sibling of Leobardo L.
 Pascual, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Manuela Lopez Pascual is a resident of Mexico. Leobardo L. Pascual is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1320. Maria Elvia Lopez Pascual, individually, as surviving sibling of Leobardo L.
 Pascual, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maria
 Elvia Lopez Pascual is a resident of Mexico. Leobardo L. Pascual is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1321. Rafael Lopez Pascual, individually, as surviving sibling of Leobardo L. Pascual,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Rafael Lopez
 Pascual is a resident of California. Leobardo L. Pascual is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1322. Raquel Lopez Pascual, individually, as surviving sibling of Leobardo L. Pascual,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Raquel Lopez
 Pascual is a resident of Mexico. Leobardo L. Pascual is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1323. Diego Lopez Reyes, individually, as surviving child of Leobardo L. Pascual, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Diego Lopez Reyes
 is a resident of New Jersey. Leobardo L. Pascual is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1324. Juan Lopez Reyes, individually, as surviving child of Leobardo L. Pascual, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Juan Lopez Reyes is
 a resident of New Jersey. Leobardo L. Pascual is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1325. Ana Pascual Ortiz, individually, as surviving parent of Leobardo L. Pascual, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ana Pascual Ortiz is
 a resident of California. Leobardo L. Pascual is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                            562
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 564 of 962




 1326. Terilyn Patrick Esse a/k/a Terilyn Patrick, individually, as surviving spouse of
 James Patrick, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Terilyn Patrick Esse a/k/a Terilyn Patrick is a resident of Connecticut. James Patrick is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1327. Terilyn Patrick Esse a/k/a Terilyn Patrick, as the Personal Representative of the
 Estate of James Patrick, deceased, on behalf of the Estate, and on behalf of all survivors
 and all legally entitled beneficiaries and family members of James Patrick, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Terilyn Patrick Esse a/k/a
 Terilyn Patrick is a resident of Connecticut. James Patrick is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1328. Jack James Patrick Esse a/k/a Jack James Patrick, individually, as surviving child
 of James Patrick, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Jack James Patrick Esse a/k/a Jack James Patrick is a resident of Connecticut. James
 Patrick is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1329. Alex M. Patrocino, individually, as surviving child of Manuel D. Patrocino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alex M. Patrocino is
 a resident of New York. Manuel D. Patrocino is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1330. Keyla Patrocino, individually, as surviving child of Manuel D. Patrocino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Keyla Patrocino is a
 resident of New York. Manuel D. Patrocino is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1331. Sandra Patrocino, individually, as surviving spouse of Manuel D. Patrocino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sandra Patrocino is a
 resident of New York. Manuel D. Patrocino is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1332. Sandra Patrocino, as the Personal Representative of the Estate of Manuel D.
 Patrocino, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Manuel D. Patrocino, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Sandra Patrocino is a resident of New
 York. Manuel D. Patrocino is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             563
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 565 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1333. Barry Pearlman, individually, as surviving parent of Richard A. Pearlman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Barry Pearlman is a
 resident of New York. Richard A. Pearlman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1334. Dorie Pearlman, individually, as surviving parent of Richard A. Pearlman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dorie Pearlman is a
 resident of New York. Richard A. Pearlman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1335. Dorie Pearlman, as the Personal Representative of the Estate of Richard A.
 Pearlman, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Richard A. Pearlman, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Dorie Pearlman is a resident of New
 York. Richard A. Pearlman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1336. Lisa Pearlman-Mason, individually, as surviving sibling of Richard A. Pearlman,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Lisa Pearlman-
 Mason is a resident of New York. Richard A. Pearlman is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1337. Patrizia Davis, individually, as surviving sibling of Salvatore F. Pepe, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patrizia Davis is a
 resident of New Jersey. Salvatore F. Pepe is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1338. Anna Faustini as Personal Representative of the Estate of Anna Maria Allen,
 deceased, the late sibling of Salvatore F. Pepe, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anna Faustini as Personal Representative of the Estate of
 Anna Maria Allen is a resident of New Jersey. Salvatore F. Pepe is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1339. Catherine Ng-Pepe, individually, as surviving spouse of Salvatore F. Pepe, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine Ng-Pepe

                                              564
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 566 of 962




 is a resident of New York. Salvatore F. Pepe is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1340. Catherine Ng-Pepe, as the Personal Representative of the Estate of Salvatore F.
 Pepe, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Salvatore F. Pepe, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Catherine Ng-Pepe is a resident of
 New York. Salvatore F. Pepe is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1341. Rosa Occhicone, individually, as surviving sibling of Salvatore F. Pepe, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rosa Occhicone is a
 resident of New York. Salvatore F. Pepe is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1342. Genoveffa Palmieri, individually, as surviving sibling of Salvatore F. Pepe, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Genoveffa Palmieri
 is a resident of New York. Salvatore F. Pepe is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1343. Leonida R. Pepe, individually, as surviving sibling of Salvatore F. Pepe, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Leonida R. Pepe is a
 resident of New Jersey. Salvatore F. Pepe is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1344. Salvatore L. Pepe, individually, as surviving child of Salvatore F. Pepe, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Salvatore L. Pepe is
 a resident of New York. Salvatore F. Pepe is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1345. Rosemary Pepe as Personal Representative of the Estate of Antonio Pepe,
 deceased, the late sibling of Salvatore F. Pepe, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Rosemary Pepe as Personal Representative of the Estate of
 Antonio Pepe is a resident of New York. Salvatore F. Pepe is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.


                                              565
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 567 of 962




 1346. Marina Z. Perez, individually, as surviving spouse of Alejo Perez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marina Z. Perez is a resident
 of the Dominican Republic. Alejo Perez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1347. Marina Z. Perez, as the Personal Representative of the Estate of Alejo Perez,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Alejo Perez, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Marina Z. Perez is a resident of the Dominican
 Republic. Alejo Perez is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1348. Antonio Perez, individually, as surviving parent of Anthony Perez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Antonio Perez is a resident of
 New York. Anthony Perez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1349. Brian Perez, individually, as surviving sibling of Anthony Perez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brian Perez is a resident of
 Pennsylvania. Anthony Perez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1350. Maria Perez, individually, as surviving parent of Anthony Perez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maria Perez is a resident of
 New York. Anthony Perez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1351. Scott Perez, individually, as surviving sibling of Anthony Perez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Scott Perez is a resident of
 New York. Anthony Perez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1352. Olivia Vilardi-Perez, individually, as surviving child of Anthony Perez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Olivia Vilardi-Perez
 is a resident of New York. Anthony Perez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                            566
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 568 of 962




 1353. Yolanda Knepper, individually, as surviving sibling of Nancy E. Perez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yolanda Knepper is
 a resident of New Jersey. Nancy E. Perez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1354. Berta Perez, individually, as surviving parent of Nancy E. Perez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Berta Perez is a resident of
 New Jersey. Nancy E. Perez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1355. Mario Perez, individually, as surviving parent of Nancy E. Perez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mario Perez is a resident of
 New Jersey. Nancy E. Perez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1356. Mario Perez, as the Personal Representative of the Estate of Nancy E. Perez,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Nancy E. Perez, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Mario Perez is a resident of New Jersey. Nancy E.
 Perez is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1357. Minerva Conti, individually, as surviving sibling of Nancy E. Perez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Minerva Conti is a resident of
 New Jersey. Nancy E. Perez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1358. Melissa Perry, individually, as surviving child of Emelda Perry, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Melissa Perry is a resident of
 New York. Emelda Perry is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1359. Melissa Perry, as the Personal Representative of the Estate of Emelda Perry,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Emelda Perry, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Melissa Perry is a resident of New York. Emelda
 Perry is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.

                                             567
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 569 of 962




 1360. William Perry, individually, as surviving child of Emelda Perry, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. William Perry is a resident of
 New York. Emelda Perry is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1361. Caitlin Bender (Perry), individually, as surviving child of Glenn Perry Sr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Caitlin Bender
 (Perry) is a resident of New York. Glenn Perry Sr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1362. Glenn Perry Jr., individually, as surviving child of Glenn Perry Sr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Glenn Perry Jr. is a resident
 of New York. Glenn Perry Sr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1363. Peggy Perry, individually, as surviving spouse of Glenn Perry Sr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peggy Perry is a resident of
 New York. Glenn Perry Sr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1364. Peggy Perry, as the Personal Representative of the Estate of Glenn Perry Sr.,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Glenn Perry Sr., is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Peggy Perry is a resident of New York. Glenn Perry
 Sr. is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1365. Meaghan Wilt, individually, as surviving child of Glenn Perry Sr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Meaghan Wilt is a resident of
 Virginia. Glenn Perry Sr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1366. Dianne Lynn Hudder, individually, as surviving sibling of William R. Peterson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Dianne Lynn
 Hudder is a resident of Georgia. William R. Peterson is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.


                                            568
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 570 of 962




 1367. Robert M. Peterson, individually, as surviving sibling of William R. Peterson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert M. Peterson
 is a resident of Florida. William R. Peterson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1368. Robin Peterson, individually, as surviving spouse of William R. Peterson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robin Peterson is a
 resident of New York. William R. Peterson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1369. Robin Peterson, as the Personal Representative of the Estate of William R.
 Peterson, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of William R. Peterson, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Robin Peterson is a resident of New
 York. William R. Peterson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1370. Robert M. Peterson as Personal Representative of the Estate of Robert Benjamin
 Peterson, deceased, the late parent of William R. Peterson, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Robert M. Peterson as Personal
 Representative of the Estate of Robert Benjamin Peterson is a resident of Florida.
 William R. Peterson is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1371. Deirdre Kroupa, individually, as surviving sibling of Glen Pettit, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Deirdre Kroupa is a resident
 of New York. Glen Pettit is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1372. Neil Pettit, individually, as surviving sibling of Glen Pettit, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Neil Pettit is a resident of New York.
 Glen Pettit is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1373. Jane Wixted, individually, as surviving parent of Glen Pettit, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jane Wixted is a resident of New
 York. Glen Pettit is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.


                                             569
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 571 of 962




 1374. Tara Felice, individually, as surviving sibling of Glen Pettit, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Tara Felice is a resident of New
 York. Glen Pettit is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1375. Jane Wixted , as the Personal Representative of the Estate of Glen Pettit,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Glen Pettit, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jane Wixted is a resident of New York. Glen Pettit
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1376. Thomas Knobel, individually, as surviving spouse of Tu-Anh Pham, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas Knobel is a resident
 of New York. Tu-Anh Pham is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1377. Thomas Knobel, as the Personal Representative of the Estate of Tu-Anh Pham,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Tu-Anh Pham, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Thomas Knobel is a resident of New York. Tu-Anh
 Pham is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1378. Vivienne Hoang-Anh Knobel, individualyl, as surviving child of Tu-Anh Pham, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Vivienne Hoang-
 Anh Knobel is a resident of New York. Tu-Anh Pham is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1379. Daniel T. Phelan, individually, as surviving child of Kenneth Phelan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daniel T. Phelan is a resident
 of New York. Kenneth Phelan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1380. Erin Phelan, individually, as surviving child of Kenneth Phelan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Erin Phelan is a resident of
 New York. Kenneth Phelan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                             570
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 572 of 962




 1381. Kenneth J. Phelan Jr., individually, as surviving child of Kenneth Phelan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kenneth J. Phelan Jr.
 is a resident of New York. Kenneth Phelan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1382. Kimberly Phelan, individually, as surviving child of Kenneth Phelan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kimberly Phelan is a resident
 of New York. Kenneth Phelan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1383. Patricia Phelan-Byrnes, individually, as surviving spouse of Kenneth Phelan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Phelan-
 Byrnes is a resident of New York. Kenneth Phelan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1384. Patricia Phelan-Byrnes, as the Personal Representative of the Estate of Kenneth
 Phelan, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Kenneth Phelan, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Patricia Phelan-Byrnes is a resident of
 New York. Kenneth Phelan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1385. Mary Phelan-Cox, individually, as surviving sibling of Kenneth Phelan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Phelan-Cox is
 a resident of New York. Kenneth Phelan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1386. Erin Cherubin, individually, as surviving child of Zandra Marie Cooper Ploger
 (nee Flores), is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Erin Cherubin is a resident of Virginia. Zandra Marie Cooper Ploger (nee Flores) is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1387. Gerald Thomas Flores, individually, as surviving sibling of Zandra Marie Cooper
 Ploger (nee Flores), is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Gerald Thomas Flores is a resident of Texas. Zandra Marie Cooper Ploger (nee
 Flores) is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.

                                             571
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 573 of 962




 1388. Gilbert Norman Flores, individually, as surviving sibling of Zandra Marie Cooper
 Ploger (nee Flores), is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Gilbert Norman Flores is a resident of Arizona. Zandra Marie Cooper Ploger (nee
 Flores) is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1389. Zaneta Frances Flores, individually, as surviving sibling of Zandra Marie Cooper
 Ploger (nee Flores), is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Zaneta Frances Flores is a resident of Texas. Zandra Marie Cooper Ploger (nee
 Flores) is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1390. Zenda F. Gutierrez-Klingberg, as Personal Representative of the Estate of Zenaida
 Frances Flores, deceased, the late parent of Zandra Marie Cooper Ploger (nee Flores), is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Zenda F. Gutierrez-
 Klingberg, as Personal Representative of the Estate of Zenaida Frances Flores is a
 resident of Texas. Zandra Marie Cooper Ploger (nee Flores) is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1391. Zenda Flores Gutierrez-Klingenberg, individually, as surviving sibling of Zandra
 Marie Cooper Ploger (nee Flores), is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Zenda Flores Gutierrez-Klingenberg is a resident of Texas. Zandra
 Marie Cooper Ploger (nee Flores) is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1392. Zenda Flores Gutierrez-Klingenberg, as the Personal Representative of the Estate
 of Zandra Marie Cooper Ploger (nee Flores), deceased, on behalf of the Estate, and on
 behalf of all survivors and all legally entitled beneficiaries and family members of Zandra
 Marie Cooper Ploger (nee Flores), is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Zenda Flores Gutierrez-Klingenberg is a resident of Texas. Zandra
 Marie Cooper Ploger (nee Flores) is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1393. Wendy L. Ploger, as Personal Representative of the Estate of Robert R. Ploger,
 III, deceased, the late spouse of Zandra Marie Cooper Ploger (nee Flores), is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Wendy L. Ploger, as Personal
 Representative of the Estate of Robert R. Ploger, III is a resident of Arizona. Zandra
 Marie Cooper Ploger (nee Flores) is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                            572
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 574 of 962




 1394. Zena T. Wilderman, individually, as surviving child of Zandra Marie Cooper
 Ploger (nee Flores), is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Zena T. Wilderman is a resident of Virginia. Zandra Marie Cooper Ploger (nee
 Flores) is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1395. Zenda Gutierrez-Klingenberg, as Personal Representative of the Estate of Zandra
 Marie Ploger (nee Flores), deceased, the late spouse of Robert R. Ploger III, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Zenda Gutierrez-
 Klingenberg, as Personal Representative of the Estate of Zandra Marie Ploger (nee
 Flores) is a resident of Texas. Robert R. Ploger III is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1396. Marianne Ploger Hill, individually, as surviving sibling of Robert R. Ploger III, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Marianne Ploger
 Hill is a resident of Tennessee. Robert R. Ploger III is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1397. Daniel B. Ploger, individually, as surviving sibling of Robert R. Ploger III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel B. Ploger is a
 resident of Florida. Robert R. Ploger III is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1398. Gregory Fiehrer Ploger, individually, as surviving sibling of Robert R. Ploger III,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Gregory Fiehrer
 Ploger is a resident of Bologna, Italy. Robert R. Ploger III is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1399. Marguerite Ploger, individually, as surviving sibling of Robert R. Ploger III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marguerite Ploger is
 a resident of Washington. Robert R. Ploger III is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1400. Wayne D. Ploger, individually, as surviving sibling of Robert R. Ploger III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Wayne D. Ploger is
 a resident of Virginia. Robert R. Ploger III is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             573
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 575 of 962




 1401. Wendy Lynn Ploger, individually, as surviving child of Robert R. Ploger III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Wendy Lynn Ploger
 is a resident of New York. Robert R. Ploger III is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1402. Wendy Lynn Ploger, as the Personal Representative of the Estate of Robert R.
 Ploger III, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Robert R. Ploger III, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Wendy Lynn Ploger is a resident of
 Arizona. Robert R. Ploger III is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1403. Wayne D. Ploger as Personal Representative of the Estate of Maj. General Robert
 R. Ploger, II, deceased, the late parent of Robert R. Ploger III, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Wayne D. Ploger as Personal
 Representative of the Estate of Maj. General Robert R. Ploger, II is a resident of Virginia.
 Robert R. Ploger III is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1404. Craig Pohlmann, individually, as surviving child of William H. Pohlmann, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Craig Pohlmann is a
 resident of Florida. William H. Pohlmann is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1405. Roxana Olivieri, individually, as surviving sibling of Giovanna Porras, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Roxana Olivieri is a
 resident of New York. Giovanna Porras is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1406. Adela Romero, as the Personal Representative of the Estate of Giovanna Porras,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Giovanna Porras, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Adela Romero is a resident of New York.
 Giovanna Porras is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1407. Adela Romero, individually, as surviving parent of Giovanna Porras, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Adela Romero is a resident of
 New York. Giovanna Porras is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                              574
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 576 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1408. John Doe 46, being intended to designate the Personal Representative of the
 Estate of Anthony Portillo, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Anthony Portillo, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Anthony Portillo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1409. Zachary Portillo, individually, as surviving sibling of Anthony Portillo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Zachary Portillo is a
 resident of Georgia. Anthony Portillo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1410. David Potorti, individually, as surviving sibling of James E. Potorti, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Potorti is a resident of
 North Carolina. James E. Potorti is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1411. Monique Powell, individually, as surviving sibling of Shawn E. Powell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Monique Powell is a
 resident of New York. Shawn E. Powell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1412. Maureen Pugliese as Personal Representative of the Estate of Josephine Pugliese,
 deceased, the late parent of Robert D. Pugliese, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Maureen Pugliese is a resident of New York. Robert D.
 Pugliese is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1413. Lisa Marie Hand a/k/a Lisa Pugliese, individually, as surviving child of Robert D.
 Pugliese, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Lisa
 Marie Hand a/k/a Lisa Pugliese is a resident of California. Robert D. Pugliese is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.


                                              575
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 577 of 962




 1414. Maureen Pugliese, individually, as surviving spouse of Robert D. Pugliese, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Pugliese is
 a resident of New York. Robert D. Pugliese is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1415. Maureen Pugliese, as the Personal Representative of the Estate of Robert D.
 Pugliese, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Robert D. Pugliese, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Maureen Pugliese is a resident of
 New York. Robert D. Pugliese is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1416. Michael Pugliese, individually, as surviving child of Robert D. Pugliese, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Pugliese is
 a resident of Texas. Robert D. Pugliese is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1417. Dennis Pugliese, individually, as surviving child of Robert D. Pugliese, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dennis Pugliese is a
 resident of New York. Robert D. Pugliese is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1418. Robert Pycior, individually, as surviving child of Joseph J. Pycior, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Robert Pycior is a resident of
 New Jersey. Joseph J. Pycior is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1419. Teresa J. Pycior, individually, as surviving spouse of Joseph J. Pycior, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Teresa J. Pycior is a
 resident of New Jersey. Joseph J. Pycior is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1420. Teresa J. Pycior, as the Personal Representative of the Estate of Joseph J. Pycior,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Joseph J. Pycior, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Teresa J. Pycior is a resident of New Jersey. Joseph
 J. Pycior is one of the Decedents murdered as a result of the terrorist attacks of


                                             576
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 578 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1421. Joseph Pycior, individually, as surviving child of Joseph J. Pycior, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joseph Pycior is a resident of
 New Jersey. Joseph J. Pycior is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1422. Tara O’Connell, individually, as surviving sibling of Lincoln Quappe, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tara O’Connell is a
 resident of New York. Lincoln Quappe is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1423. Charles Quappe, individually, as surviving parent of Lincoln Quappe, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charles Quappe is a
 resident of Florida. Lincoln Quappe is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1424. Clint Quappe, individually, as surviving child of Lincoln Quappe, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Clint Quappe is a resident of
 New York. Lincoln Quappe is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1425. Jane Quappe, individually, as surviving spouse of Lincoln Quappe, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jane Quappe is a resident of
 New York. Lincoln Quappe is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1426. Jane Quappe, as the Personal Representative of the Estate of Lincoln Quappe,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Lincoln Quappe, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jane Quappe is a resident of New York. Lincoln
 Quappe is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1427. Natalie Quappe, individually, as surviving child of Lincoln Quappe, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Natalie Quappe is a resident
 of New York. Lincoln Quappe is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

                                            577
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 579 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1428. Bruce Tooker as Personal Representative of the Estate of Doris Tooker, deceased,
 the late parent of Lincoln Quappe, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Bruce Tooker as Personal Representative of the Estate of Doris
 Tooker is a resident of New York. Lincoln Quappe is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1429. Samantha Blake a/k/a Samantha Bianca Herring, individually, as surviving child
 of Carol Rabalais a/k/a Carol South-Rabalais, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Samantha Blake a/k/a Samantha Bianca Herring is a
 resident of California. Carol Rabalais a/k/a Carol South-Rabalais is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1430. Selvyn Neil Patrick Blake, individually, as surviving child of Carol Rabalais a/k/a
 Carol South-Rabalais, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Selvyn Neil Patrick Blake is a resident of New York. Carol Rabalais a/k/a Carol
 South-Rabalais is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1431. Kerene Reeves aka Kerene Sherica Clarke, individually, as surviving child of
 Carol Rabalais a/k/a Carol South-Rabalais, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Kerene Reeves aka Kerene Sherica Clarke is a resident of
 New York. Carol Rabalais a/k/a Carol South-Rabalais is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1432. Kerene Reeves aka Kerene Sherica Clarke, as the Personal Representative of the
 Estate of Carol Rabalais a/k/a Carol South-Rabalais, deceased, on behalf of the Estate,
 and on behalf of all survivors and all legally entitled beneficiaries and family members of
 Carol Rabalais a/k/a Carol South-Rabalais, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Kerene Reeves aka Kerene Sherica Clarke is a resident of
 New York. Carol Rabalais a/k/a Carol South-Rabalais is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1433. Mary Agatha South, individually, as surviving parent of Carol Rabalais a/k/a
 Carol South-Rabalais, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Mary Agatha South is a resident of New York. Carol Rabalais a/k/a Carol South-
 Rabalais is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.

                                             578
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 580 of 962




 1434. James Buro, individually, as surviving child of Laura Ragonese-Snik, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Buro is a resident of
 Florida. Laura Ragonese-Snik is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1435. John J. Buro, as the Personal Representative of the Estate of Laura Ragonese-
 Snik, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Laura Ragonese-Snik, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. John J. Buro is a resident of Florida.
 Laura Ragonese-Snik is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1436. JoAnn Boutureira, individually, as surviving sibling of Harry Raines, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. JoAnn Boutureira is a
 resident of New York. Harry Raines is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1437. Joseph Raines, individually, as surviving sibling of Harry Raines, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joseph Raines is a resident of
 Arizona. Harry Raines is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1438. Mark S. Raines, individually, as surviving sibling of Harry Raines, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mark S. Raines is a resident
 of New York. Harry Raines is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1439. Gloria Reinholtz, individually, as surviving sibling of Harry Raines, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gloria Reinholtz is a resident
 of Pennsylvania. Harry Raines is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1440. Ida Riese, individually, as surviving sibling of Harry Raines, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Ida Riese is a resident of New York.
 Harry Raines is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1441. Ida Riese as Personal Representative of the Estate of Gloria Raines, deceased, the
 late parent of Harry Raines, is a Plaintiff seeking justice for the tragic events of

                                             579
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 581 of 962




 September 11, 2001. Ida Riese as Personal Representative of the Estate of Gloria Raines
 is a resident of New York. Harry Raines is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1442. Ann Ramsaur, individually, as surviving child of Deborah Ramsaur, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ann Ramsaur is a resident of
 Pennsylvania. Deborah Ramsaur is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1443. Brian Ramsaur, individually, as surviving child of Deborah Ramsaur, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brian Ramsaur is a resident
 of Pennsylvania. Deborah Ramsaur is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1444. John Ramsaur, individually, as surviving spouse of Deborah Ramsaur, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Ramsaur is a
 resident of Pennsylvania. Deborah Ramsaur is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1445. John Ramsaur, as the Personal Representative of the Estate of Deborah Ramsaur,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Deborah Ramsaur, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. John Ramsaur is a resident of Pennsylvania.
 Deborah Ramsaur is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1446. Kimberly J. Rescorla, individually, as surviving child of Richard C. Rescorla, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kimberly J. Rescorla
 is a resident of New Jersey. Richard C. Rescorla is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1447. Susan G. Rescorla, individually, as surviving spouse of Richard C. Rescorla, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Susan G. Rescorla is
 a resident of New Jersey. Richard C. Rescorla is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.



                                            580
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 582 of 962




 1448. Susan G. Rescorla, as the Co-Personal Representative of the Estate of Richard C.
 Rescorla, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Richard C. Rescorla, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Susan G. Rescorla is a resident of
 New Jersey. Richard C. Rescorla is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1449. Trevor S. Rescorla, individually, as surviving child of Richard C. Rescorla, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Trevor S. Rescorla is
 a resident of New Jersey. Richard C. Rescorla is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1450. Mark Anthony Jonas, individually, as surviving child of Martha M. Reszke, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mark Anthony Jonas
 is a resident of Georgia. Martha M. Reszke is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1451. Mark A. Jonas as Personal Representative of the Estate of Martha Magdalena
 Brunson, deceased, the late parent of Martha M. Reszke, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Mark A. Jonas as Personal Representative of the
 Estate of Martha Magdalena Brunson is a resident of Georgia. Martha M. Reszke is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1452. James Reszke, individually, as surviving spouse of Martha M. Reszke, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James Reszke is a
 resident of Ohio. Martha M. Reszke is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1453. James Reszke, as the Personal Representative of the Estate of Martha M. Reszke,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Martha M. Reszke, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. James Reszke is a resident of Ohio. Martha M.
 Reszke is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1454. Lina Dicola, individually, as surviving child of Martha M. Reszke, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lina Dicola is a resident of
 North Carolina. Martha M. Reszke is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin

                                             581
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 583 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1455. Aaron Andre Scott as Personal Representative of the Estate of J.A. Reynolds,
 deceased, as late parent of Bruce A. Reynolds, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Aaron Andre Scott as Personal Representative of the
 Estate of J.A. Reynolds is a resident of New York. Bruce A. Reynolds is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1456. Linda Rhodes, as the Personal Representative of the Estate of John Rhodes,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of John Rhodes, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Linda Rhodes is a resident of New Jersey. John
 Rhodes is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1457. John Frederick Rhodes IV, individually, as surviving child of John Rhodes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Frederick
 Rhodes IV is a resident of Connecticut. John Rhodes is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1458. Christiana Riccardelli, individually, as surviving child of Francis Riccardelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christiana
 Riccardelli is a resident of New Jersey. Francis Riccardelli is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1459. Genevieve Riccardelli, individually, as surviving child of Francis Riccardelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Genevieve
 Riccardelli is a resident of New Jersey. Francis Riccardelli is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1460. Marielle Riccardelli, individually, as surviving child of Francis Riccardelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marielle Riccardelli
 is a resident of New Jersey. Francis Riccardelli is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1461. Meghan Riccardelli, individually, as surviving child of Francis Riccardelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Meghan Riccardelli
 is a resident of New Jersey. Francis Riccardelli is one of the Decedents murdered as a

                                             582
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 584 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1462. Theresa Riccardelli, individually, as surviving spouse of Francis Riccardelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Theresa Riccardelli
 is a resident of New Jersey. Francis Riccardelli is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1463. Theresa Riccardelli, as the Personal Representative of the Estate of Francis
 Riccardelli, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Francis Riccardelli, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Theresa Riccardelli is a
 resident of New Jersey. Francis Riccardelli is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1464. Zachary Riccardelli, individually, as surviving child of Francis Riccardelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Zachary Riccardelli
 is a resident of New Jersey. Francis Riccardelli is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1465. Brian Keegan, individually, as surviving child of Eileen M. Rice, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brian Keegan is a resident of
 New York. Eileen M. Rice is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1466. Brian Keegan, as the co-Personal Representative of the Estate of Eileen M. Rice,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Eileen M. Rice, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Brian Keegan is a resident of New York. Eileen M.
 Rice is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1467. Francis Keegan, individually, as surviving sibling of Eileen M. Rice, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Francis Keegan is a resident
 of New York. Eileen M. Rice is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                            583
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 585 of 962




 1468. Lesli Rice, individually, as surviving child of Eileen M. Rice, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lesli Rice is a resident of
 New Jersey. Eileen M. Rice is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1469. Lesli Rice, as the co-Personal Representative of the Estate of Eileen M. Rice,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Eileen M. Rice, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Lesli Rice is a resident of New Jersey. Eileen M.
 Rice is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1470. John Doe 123 as Personal Representative of the Estate of Renee Baldwin,
 deceased, the late sibling of Cecelia E. Richard, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Cecelia E. Richard is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1471. Cynthia Lawson, individually, as surviving sibling of Cecelia E. Richard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cynthia Lawson is a
 resident of Maryland. Cecelia E. Richard is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1472. Mazie Lawson, individually, as surviving parent of Cecelia E. Richard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mazie Lawson is a
 resident of Maryland. Cecelia E. Richard is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1473. Monica L. Lawson, individually, as surviving sibling of Cecelia E. Richard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Monica L. Lawson
 is a resident of Maryland. Cecelia E. Richard is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1474. Michael Richard, individually, as surviving spouse of Cecelia E. Richard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Richard is a
 resident of Maryland. Cecelia E. Richard is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                              584
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 586 of 962




 1475. Michael Richard, as the Personal Representative of the Estate of Cecelia E.
 Richard, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Cecelia E. Richard, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Michael Richard is a resident of
 Maryland. Cecelia E. Richard is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1476. Valerie Walls, individually, as surviving sibling of Cecelia E. Richard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Valerie Walls is a
 resident of Maryland. Cecelia E. Richard is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1477. Vernon A. Richard II, as the co-Personal Representative of the Estate of Vernon
 A. Richard, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Vernon A. Richard, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Vernon A. Richard II is a
 resident of North Carolina. Vernon A. Richard is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1478. Vernessa Richard, as the co-Personal Representative of the Estate of Vernon A.
 Richard, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Vernon A. Richard, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Vernessa Richard is a resident of
 New York. Vernon A. Richard is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1479. Vernon A. Richard II, individually, as surviving child of Vernon A. Richard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Vernon A. Richard
 II is a resident of North Carolina. Vernon A. Richard is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1480. Vernessa Richard & Vernon A. Richard II as Personal Representatives of the
 Estate of Dorothy Richard, deceased, the late spouse of Vernon A. Richard, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Vernessa Richard & Vernon
 A. Richard II as Personal Representatives of the Estate of Dorothy Richard are residents
 of New York and North Carolina respectively. Vernon A. Richard is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.

                                            585
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 587 of 962




 1481. Vernessa Richard, individually, as surviving child of Vernon A. Richard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Vernessa Richard is
 a resident of New York. Vernon A. Richard is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1482. Lelith Bergen, individually, as surviving parent of Venesha Richards, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lelith Bergen is a resident of
 New Jersey. Venesha Richards is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1483. Naquan Bergen, individually, as surviving sibling of Venesha Richards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Naquan Bergen is a
 resident of New Jersey. Venesha Richards is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1484. Queena Bergen, individually, as surviving sibling of Venesha Richards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Queena Bergen is a
 resident of New Jersey. Venesha Richards is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1485. Hopeton Richards, individually, as surviving spouse of Venesha Richards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Hopeton Richards is
 a resident of New Jersey. Venesha Richards is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1486. Hopeton Richards, as the Personal Representative of the Estate of Venesha
 Richards, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Venesha Richards, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Hopeton Richards is a resident of
 New Jersey. Venesha Richards is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1487. Kayla Richards, individually, as surviving child of Venesha Richards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kayla Richards is a
 resident of New Jersey. Venesha Richards is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             586
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 588 of 962




 1488. Omar Rodgers, individually, as surviving sibling of Venesha Richards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Omar Rodgers is a
 resident of New Jersey. Venesha Richards is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1489. Cheryl Rivelli, individually, as surviving spouse of Joseph Rivelli Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Cheryl Rivelli is a resident of
 New York. Joseph Rivelli Jr. is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1490. Cheryl Rivelli, as the Personal Representative of the Estate of Joseph Rivelli Jr.,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Joseph Rivelli Jr., is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Cheryl Rivelli is a resident of New York. Joseph
 Rivelli Jr. is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1491. Michael Rivelli, individually, as surviving sibling of Joseph Rivelli Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Rivelli is a
 resident of New York. Joseph Rivelli Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1492. Donna Ambrosino, individually, as surviving sibling of Joseph Rivelli Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Donna Ambrosino is
 a resident of New York. Joseph Rivelli Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1493. Joseph Rivelli Sr., individually, as surviving parent of Joseph Rivelli Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Rivelli Sr. is
 a resident of Florida. Joseph Rivelli Jr. is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1494. James G. Wall, as the Personal Representative of the Estate of Lynda M. Wall,
 deceased, the late sibling of Joseph Rivelli Jr., is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. James G. Wall is a resident of New York. Joseph Rivelli
 Jr. is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.


                                               587
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 589 of 962




 1495. Britney Rivera, individually, as surviving child of Carmen A. Rivera, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Britney Rivera is a resident
 of New York. Carmen A. Rivera is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1496. Luis E. Rivera Sr., individually, as surviving spouse of Carmen A. Rivera, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Luis E. Rivera Sr. is
 a resident of New York. Carmen A. Rivera is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1497. Luis E. Rivera Sr., as the Personal Representative of the Estate of Carmen A.
 Rivera, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Carmen A. Rivera, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Luis E. Rivera Sr. is a resident of
 New York. Carmen A. Rivera is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1498. Luis Rivera Jr., individually, as surviving child of Carmen A. Rivera, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Luis Rivera Jr. is a resident
 of New York. Carmen A. Rivera is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1499. Racine Concepcion, individually, as surviving child of Carmen A. Rivera, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Racine Concepcion
 is a resident of New Jersey. Carmen A. Rivera is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1500. Carmen Alvarado Rivera, individually, as surviving parent of Linda I. Rivera, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carmen Alvarado
 Rivera is a resident of Florida. Linda I. Rivera is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1501. Rafael J. Rivera, individually, as surviving sibling of Linda I. Rivera, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rafael J. Rivera is a resident
 of Florida. Linda I. Rivera is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             588
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 590 of 962




 1502. Jose R. Rivera a/k/a Jose Rivera Ramos, individually, as surviving parent of
 Linda I. Rivera, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Jose R. Rivera a/k/a Jose Rivera Ramos is a resident of Florida. Linda I. Rivera is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1503. Jose R. Rivera a/k/a Jose Rivera Ramos, as the Personal Representative of the
 Estate of Linda I. Rivera, deceased, on behalf of the Estate, and on behalf of all survivors
 and all legally entitled beneficiaries and family members of Linda I. Rivera, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jose R. Rivera a/k/a Jose
 Rivera Ramos is a resident of Florida. Linda I. Rivera is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1504. Rafael A. Rivera, individually, as surviving sibling of Linda I. Rivera, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rafael A. Rivera is a
 resident of Florida. Linda I. Rivera is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1505. Daniel Henry, individually, as surviving sibling of Catherina Robinson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel Henry is a
 resident of New York. Catherina Robinson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1506. Daniel Henry, as the Personal Representative of the Estate of Catherina Robinson,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Catherina Robinson, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Daniel Henry is a resident of New York.
 Catherina Robinson is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1507. Jennifer Renee McKenzie, individually, as surviving child of Marsha A
 Rodriguez, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Jennifer Renee McKenzie is a resident of Texas. Marsha A Rodriguez is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1508. Vanessa Phillips, individually, as surviving sibling of Marsha A Rodriguez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Vanessa Phillips is a
 resident of Florida. Marsha A Rodriguez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                             589
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 591 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1509. Daniel Rodriguez, individually, as surviving spouse of Marsha A Rodriguez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel Rodriguez is
 a resident of Georgia. Marsha A Rodriguez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1510. Daniel Rodriguez, as the Personal Representative of the Estate of Marsha A.
 Rodriguez, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Marsha A. Rodriguez, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Daniel Rodriguez is a resident of
 Georgia. Marsha A. Rodriguez is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1511. Flossie J. Foster, individually, as surviving parent of Marsha A. Rodriguez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Flossie J. Foster is a
 resident of Florida. Marsha A. Rodriguez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1512. Shavonne Cobb, individually, as surviving child of Marsha A. Rodriguez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shavonne Cobb is a
 resident of Texas. Marsha A. Rodriguez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1513. Elias Rodriguez, as Personal Representative of the Estate of Arnulfo Rodriguez,
 deceased, the late spouse of Mayra V. Rodriguez, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Elias Rodriguez, as Personal Representative of the
 Estate of Arnulfo Rodriguez is a resident of Connecticut. Mayra V. Rodriguez is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1514. John Doe 113, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Mayra V. Rodriguez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mayra V. Rodriguez is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1515. Anibal Valdez, individually, as surviving sibling of Mayra V. Rodriguez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anibal Valdez is a

                                              590
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 592 of 962




 resident of New York. Mayra V. Rodriguez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1516. Jose Valdez, individually, as surviving sibling of Mayra V. Rodriguez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jose Valdez is a
 resident of New York. Mayra V. Rodriguez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1517. John Doe 121 as the Personal Representative of the Estate of Lydia Valdez,
 deceased, the late parent of Mayra V. Rodriguez, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Mayra V. Rodriguez is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1518. Elias Rodriguez, individually, as surviving child of Mayra V. Rodriguez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elias Rodriguez is a
 resident of Connecticut. Mayra V. Rodriguez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1519. Michele Flannery, individually, as surviving sibling of Joseph M. Romagnolo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michele Flannery is
 a resident of New York. Joseph M. Romagnolo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1520. Alexis Romagnolo, individually, as surviving child of Joseph M. Romagnolo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexis Romagnolo is
 a resident of New York. Joseph M. Romagnolo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1521. Anthony Romagnolo, individually, as surviving child of Joseph M. Romagnolo, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony
 Romagnolo is a resident of New York. Joseph M. Romagnolo is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1522. Joseph Romagnolo, individually, as surviving child of Joseph M. Romagnolo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Romagnolo
 is a resident of New York. Joseph M. Romagnolo is one of the Decedents murdered as a

                                             591
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 593 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1523. Maria Romagnolo, individually, as surviving parent of Joseph M. Romagnolo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Romagnolo is
 a resident of New York. Joseph M. Romagnolo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1524. Maria Romagnolo, as the Personal Representative of the Estate of Salvatore
 Romagnolo, deceased, the late parent of Joseph M. Romagnolo, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Maria Romagnolo, as the Personal
 Representative of the Estate of Salvatore Romagnolo, is a resident of New York. Joseph
 M. Romagnolo is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1525. Sandra Romagnolo, individually, as surviving spouse of Joseph M. Romagnolo, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Sandra Romagnolo
 is a resident of New York. Joseph M. Romagnolo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1526. Sandra Romagnolo, as the Personal Representative of the Estate of Joseph M.
 Romagnolo, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Joseph M. Romagnolo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sandra Romagnolo is a
 resident of New York. Joseph M. Romagnolo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1527. Christofer Romagnolo, individually, as surviving child of Joseph M. Romagnolo,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Christofer
 Romagnolo is a resident of New York. Joseph M. Romagnolo is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1528. Josephine Romito, as the Personal Representative of the Estate of James Romito,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of James Romito, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Josephine Romito is a resident of New Jersey.
 James Romito is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.


                                            592
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 594 of 962




 1529. Laura Fasulo, individually, as surviving sibling of James Romito, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Laura Fasulo is a resident of
 Florida. James Romito is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1530. Laura Fasulo as Personal Representative of the Estate of Anthony Romito Sr.,
 deceased, the late parent of James Romito, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Laura Fasulo as Personal Representative of the Estate of
 Anthony Romito Sr. is a resident of Florida. James Romito is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1531. Laura Fasulo as Personal Representative of the Estate of Catherine Romito,
 deceased, the late parent of James Romito, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Laura Fasulo as Personal Representative of the Estate of
 Catherine Romito is a resident of Florida. James Romito is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1532. Anthony Romito Jr., individually, as surviving sibling of James Romito, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Romito Jr.
 is a resident of Florida. James Romito is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1533. Jennifer Horwitz, individually, as surviving spouse of Mark L. Rosenberg, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jennifer Horwitz is a
 resident of New Jersey. Mark L. Rosenberg is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1534. Jennifer Horwitz, as the Personal Representative of the Estate of Mark L
 Rosenberg, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Mark L. Rosenberg, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jennifer Horwitz is a resident
 of New Jersey. Mark L. Rosenberg is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1535. Janet Rosenberg, individually, as surviving parent of Mark L. Rosenberg, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Janet Rosenberg is a
 resident of New Jersey. Mark L. Rosenberg is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and


                                             593
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 595 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1536. Sheldon Rosenberg, individually, as surviving parent of Mark L. Rosenberg, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sheldon Rosenberg
 is a resident of New Jersey. Mark L. Rosenberg is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1537. Sara L. Rosenberg Sharvit, individually, as surviving sibling of Mark L.
 Rosenberg, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Sara
 L. Rosenberg Sharvit is a resident of California. Mark L. Rosenberg is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1538. Harvey Rosenberg, individually, as surviving sibling of Mark L. Rosenberg, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Harvey Rosenberg is
 a resident of New York. Mark L. Rosenberg is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1539. Tracy Rowenhorst, being intended to designate the Personal Representative of the
 Estate of Edward Rowenhorst, deceased, on behalf of the Estate, and on behalf of all
 survivors and all legally entitled beneficiaries and family members of Edward
 Rowenhorst, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Tracy Rowenhorst is a resident of Iowa. Edward Rowenhorst is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1540. Matthew Rowenhorst, individually, as surviving sibling of Edward Rowenhorst, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew
 Rowenhorst is a resident of Iowa. Edward Rowenhorst is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1541. Sicely N. McCants, individually, as surviving child of Judy Rowlett, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sicely N. McCants is a
 resident of Alabama. Judy Rowlett is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1542. Sicely N. McCants, as the Personal Representative of the Estate of Judy Rowlett,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Judy Rowlett, is a Plaintiff seeking justice for the

                                            594
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 596 of 962




 tragic events of September 11, 2001. Sicely N. McCants is a resident of Alabama. Judy
 Rowlett is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1543. Caitlyn Roy, individually, as surviving child of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Caitlyn Roy is a resident of
 New York. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1544. Timothy Roy Jr., individually, as surviving child of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Timothy Roy Jr. is a resident
 of New York. Timothy A. Roy is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1545. Stacey Roy-Christ, individually, as surviving spouse of Timothy A. Roy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stacey Roy-Christ is
 a resident of New York. Timothy A. Roy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1546. Stacey Roy-Christ, as the Personal Representative of the Estate of Timothy A.
 Roy, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Timothy A. Roy, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Stacey Roy-Christ is a resident of
 New York. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1547. Brittney Roy, individually, as surviving child of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brittney Roy is a resident of
 New York. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1548. David Ruback, individually, as surviving child of Paul G. Ruback, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Ruback is a resident of
 New York. Paul G. Ruback is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                            595
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 597 of 962




 1549. Rita L. Ruback, individually, as surviving spouse of Paul G. Ruback, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rita L. Ruback is a resident
 of New York. Paul G. Ruback is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1550. Rita L. Ruback, as the Personal Representative of the Estate of Paul G. Ruback,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Paul G. Ruback, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Rita L. Ruback is a resident of New York. Paul G.
 Ruback is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1551. Shannon Ruback, individually, as surviving child of Paul G. Ruback, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shannon Ruback is a resident
 of New York. Paul G. Ruback is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1552. Gina Ruback, individually, as surviving child of Paul G. Ruback, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gina Ruback is a resident of
 New York. Paul G. Ruback is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1553. Hillary Hans, individually, as surviving sibling of Ronald J. Ruben, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Hillary Hans is a resident of
 New Jersey. Ronald J. Ruben is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1554. Hillary Hans, as the co-Personal Representative of the Estate of Ronald J. Ruben,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Ronald J. Ruben, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Hillary Hans is a resident of New Jersey. Ronald J.
 Ruben is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1555. Leslie C. Ruben, individually, as surviving sibling of Ronald J. Ruben, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Leslie C. Ruben is a
 resident of New Jersey. Ronald J. Ruben is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             596
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 598 of 962




 1556. Leslie C. Ruben, as the co-Personal Representative of the Estate of Ronald J.
 Ruben, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Ronald J. Ruben, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Leslie C. Ruben is a resident of New
 Jersey. Ronald J. Ruben is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1557. Anthony Rubino, individually, as surviving sibling of Joanne Rubino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Rubino is a
 resident of Kentucky. Joanne Rubino is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1558. Anthony Rubino as Personal Represntative of the Estate of Antoinette Rubino,
 deceased, the late parent of Joanne Rubino, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anthony Rubino as Personal Represntative of the Estate of
 Antoinette Rubino is a resident of Kentucky. Joanne Rubino is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1559. Anthony Rubino, as the Personal Representative of the Estate of Joanne Rubino,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Joanne Rubino, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Anthony Rubino is a resident of Kentucky. Joanne
 Rubino is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1560. Margaret Grigonis, individually, as surviving parent of Susan A. Ruggiero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Margaret Grigonis is
 a resident of New York. Susan A. Ruggiero is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1561. Paul Grigonis, individually, as surviving parent of Susan A. Ruggiero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paul Grigonis is a
 resident of New York. Susan A. Ruggiero is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1562. Peggy Ann Asciutto, individually, as surviving sibling of Susan A. Ruggiero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peggy Ann Asciutto
 is a resident of New York. Susan A. Ruggiero is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

                                            597
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 599 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1563. Frank Ruggiero, individually, as surviving spouse of Susan A. Ruggiero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Frank Ruggiero is a
 resident of New York. Susan A. Ruggiero is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1564. Frank Ruggiero, as the Personal Representative of the Estate of Susan A.
 Ruggiero, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Susan A. Ruggiero, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Frank Ruggiero is a resident of New
 York. Susan A. Ruggiero is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1565. Theresa Russo-Kempf, as the Personal Representative of the Estate of Michael
 Russo, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Michael Russo, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Theresa Russo-Kempf is a resident of New
 York. Michael Russo is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1566. Anthony F. Russo, individually, as surviving sibling of Michael Russo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony F. Russo is
 a resident of New Jersey. Michael Russo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1567. Dolores Russo, individually, as surviving parent of Michael Russo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dolores Russo is a resident of
 Pennsylvania. Michael Russo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1568. Cyrina Morrison, individually, as surviving sibling of Brock J. Safronoff, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cyrina Morrison is a
 resident of Michigan. Brock J. Safronoff is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1569. Aaron Safronoff, individually, as surviving sibling of Brock J. Safronoff, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Aaron Safronoff is a

                                             598
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 600 of 962




 resident of California. Brock J. Safronoff is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1570. Debra M. Safronoff, individually, as surviving parent of Brock J. Safronoff, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Debra M. Safronoff
 is a resident of Michigan. Brock J. Safronoff is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1571. Joel Safronoff, individually, as surviving parent of Brock J. Safronoff, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joel Safronoff is a
 resident of Michigan. Brock J. Safronoff is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1572. Tara Safronoff, individually, as surviving spouse of Brock J. Safronoff, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tara Safronoff is a
 resident of California. Brock J. Safronoff is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1573. Tara Safronoff, as the Personal Representative of the Estate of Brock J. Safronoff,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Brock J. Safronoff, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Tara Safronoff is a resident of California. Brock
 J. Safronoff is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1574. Ruthellen Saiya, as Personal Representative of the Estate of Frank Saiya,
 deceased, the late sibling of Edward Saiya, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Ruthellen Saiya, as Personal Representative of the Estate
 of Frank Saiya is a resident of Kansas. Edward Saiya is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1575. Shawn Saiya, individually, as surviving child of Edward Saiya, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shawn Saiya is a resident of
 Maryland. Edward Saiya is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                            599
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 601 of 962




 1576. Shawn Saiya, as the co-Personal Representative of the Estate of Edward Saiya,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Edward Saiya, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Shawn Saiya is a resident of Maryland. Edward
 Saiya is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1577. Katherine R. Schlosser, individually, as surviving child of Edward Saiya, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Katherine R.
 Schlosser is a resident of Maryland. Edward Saiya is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1578. Katherine R. Schlosser, as the co-Personal Representative of the Estate of Edward
 Saiya, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Edward Saiya, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Katherine R. Schlosser is a resident of
 Maryland. Edward Saiya is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1579. Madeline Reed, individually, as surviving parent of John P. Salamone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Madeline Reed is a
 resident of North Carolina. John P. Salamone is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1580. Benedict Salamone, individually, as surviving parent of John P. Salamone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Benedict Salamone
 is a resident of South Carolina. John P. Salamone is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1581. Mary E. Salamone, individually, as surviving spouse of John P. Salamone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary E. Salamone is
 a resident of New Jersey. John P. Salamone is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1582. Mary E. Salamone, as the Personal Representative of the Estate of John P.
 Salamone, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of John P. Salamone, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Mary E. Salamone is a resident of
 New Jersey. John P. Salamone is one of the Decedents murdered as a result of the

                                             600
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 602 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1583. Michael Salamone, individually, as surviving sibling of John P. Salamone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Salamone is
 a resident of North Carolina. John P. Salamone is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1584. Catherine Mary Sauer, individually, as surviving sibling of John P. Salamone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine Mary
 Sauer is a resident of North Carolina. John P. Salamone is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1585. Michelle Cataline, individually, as surviving sibling of John P. Salamone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michelle Cataline is
 a resident of North Carolina. John P. Salamone is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1586. Carlos Salas, individually, as surviving child of Hernando R. Salas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Carlos Salas is a resident of
 New York. Hernando R. Salas is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1587. Carlos Salas, as the Personal Representative of the Estate of Hernando R. Salas,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Hernando R. Salas, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Carlos Salas is a resident of New York.
 Hernando R. Salas is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1588. Carlos Salas, as the Personal Representative of the Estate of Carolina Salas,
 deceased, the late spouse of Hernando R. Salas, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Carlos Salas, as the Personal Representative of the Estate
 of Carolina Salas is a resident of New York. Hernando R. Salas is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1589. Nelcy Salas, individually, as surviving child of Hernando R. Salas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nelcy Salas is a resident of

                                             601
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 603 of 962




 New York. Hernando R. Salas is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1590. Afkham Salie, individually, as surviving sibling of Rahma Salie, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Afkham Salie is a resident of
 Massachusetts. Rahma Salie is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1591. Haleema Salie, individually, as surviving parent of Rahma Salie, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Haleema Salie is a resident of
 Massachusetts. Rahma Salie is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1592. Haleema Salie, as the Personal Representative of the Estate of Rahma Salie,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Rahma Salie, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Haleema Salie is a resident of Massachusetts.
 Rahma Salie is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1593. Ysuff Salie, individually, as surviving parent of Rahma Salie, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ysuff Salie is a resident of
 Massachusetts. Rahma Salie is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1594. Jordanis Theodoridis, as Personal Representative of the Estate of Michael
 Theodoridis, deceased, the late spouse of Rahma Salie, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Jordanis Theodoridis, as Personal
 Representative of the Estate of Michael Theodoridis is a resident of Switzerland. Rahma
 Salie is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1595. John Doe 55, being intended to designate the Personal Representative of the
 Estate of Nolbert Salomon, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Nolbert Salomon, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Nolbert Salomon is one of the Decedents murdered as a result of the

                                            602
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 604 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1596. Antoine Salomon, individually, as surviving parent of Nolbert Salomon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Antoine Salomon is
 a resident of Florida. Nolbert Salomon is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1597. Edison Salomon, individually, as surviving sibling of Nolbert Salomon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Edison Salomon is a
 resident of Florida. Nolbert Salomon is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1598. James Salomon, individually, as surviving sibling of Nolbert Salomon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James Salomon is a
 resident of New York. Nolbert Salomon is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1599. John Doe 101 as Personal Representative of the Estate of Dania Salomon a/k/a
 Dania Salomon Macharie, deceased, the late sibling of Nolbert Salomon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nolbert Salomon is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1600. Deborah Rooney, individually, as surviving spouse of John Sammartino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Deborah Rooney is a
 resident of Virginia. John Sammartino is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1601. Deborah Rooney, as the Personal Representative of the Estate of John
 Sammartino, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of John Sammartino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Deborah Rooney is a resident
 of Virginia. John Sammartino is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1602. Nicole Sammartino, individually, as surviving child of John Sammartino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nicole Sammartino

                                            603
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 605 of 962




 is a resident of Virginia. John Sammartino is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1603. Clara Sanay, individually, as surviving spouse of Hugo Sanay, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Clara Sanay is a resident of
 New York. Hugo Sanay is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1604. Clara Sanay, as the Personal Representative of the Estate of Hugo Sanay,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Hugo Sanay, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Clara Sanay is a resident of New York. Hugo Sanay
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1605. Hugo Sanay Jr., individually, as surviving child of Hugo Sanay, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Hugo Sanay Jr. is a resident
 of New York. Hugo Sanay is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1606. Michelle Sanay, individually, as surviving child of Hugo Sanay, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michelle Sanay is a resident
 of New York. Hugo Sanay is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1607. Steven Sanay, individually, as surviving child of Hugo Sanay, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Steven Sanay is a resident of
 New York. Hugo Sanay is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1608. Sonia Hernandez, individually, as surviving sibling of Ayleen J. Santiago, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sonia Hernandez is a
 resident of Texas. Ayleen J. Santiago is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1609. Jose A. Medina, individually, as surviving sibling of Ayleen J. Santiago, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jose A. Medina is a

                                            604
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 606 of 962




 resident of New Jersey. Ayleen J. Santiago is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1610. Julio Medina, individually, as surviving parent of Ayleen J. Santiago, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Julio Medina is a resident of
 Florida. Ayleen J. Santiago is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1611. Cassandra Nash, individually, as surviving child of Anthony Savas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Cassandra Nash is a resident
 of New York. Anthony Savas is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1612. John Savas, individually, as surviving child of Anthony Savas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Savas is a resident of
 Virginia. Anthony Savas is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1613. Phaedra Savas, individually, as surviving spouse of Anthony Savas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Phaedra Savas is a resident of
 New York. Anthony Savas is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1614. Phaedra Savas, as the Personal Representative of the Estate of Anthony Savas,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Anthony Savas, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Phaedra Savas is a resident of New York. Anthony
 Savas is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1615. Karen Scheffold Onorio, individually, as surviving child of Frederick C.
 Scheffold, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Karen
 Scheffold Onorio is a resident of Connecticut. Frederick C. Scheffold is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1616. Claudette Scheffold, individually, as surviving child of Frederick C. Scheffold, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Claudette

                                             605
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 607 of 962




 Scheffold is a resident of New York. Frederick C. Scheffold is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1617. Joan Scheffold, individually, as surviving spouse of Frederick C. Scheffold, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joan Scheffold is a
 resident of New York. Frederick C. Scheffold is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1618. Joan Scheffold, as the Personal Representative of the Estate of Frederick C.
 Scheffold, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Frederick C. Scheffold, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Joan Scheffold is a resident of New
 York. Frederick C. Scheffold is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1619. Kim Scheffold Stiefel, individually, as surviving child of Frederick C. Scheffold,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Kim Scheffold
 Stiefel is a resident of New York. Frederick C. Scheffold is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1620. Dawn Schlegel, individually, as surviving spouse of Robert A. Schlegel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dawn Schlegel is a
 resident of Virginia. Robert A. Schlegel is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1621. Dawn Schlegel, as the Personal Representative of the Estate of Robert A.
 Schlegel, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Robert A. Schlegel, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Dawn Schlegel is a resident of
 Virginia. Robert A. Schlegel is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1622. Laurence Schlissel, individually, as surviving sibling of Jon S. Schlissel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Laurence Schlissel is
 a resident of New Jersey. Jon S. Schlissel is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                             606
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 608 of 962




 1623. Laurence Schlissel, as the Personal Representative of the Estate of Jon S.
 Schlissel, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Jon S. Schlissel, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Laurence Schlissel is a resident of New
 Jersey. Jon S. Schlissel is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1624. Laurence Schlissel as Personal Representative of the Estate of Ruth Schlissel,
 deceased, the late parent of Jon S. Schlissel, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Laurence Schlissel as Personal Representative of the
 Estate of Ruth Schlissel is a resident of New Jersey. Jon S. Schlissel is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1625. Jaclyn McManus, individually, as surviving child of Gerard P. Schrang, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jaclyn McManus is a
 resident of New York. Gerard P. Schrang is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1626. Denise Schrang, individually, as surviving spouse of Gerard P. Schrang, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Denise Schrang is a
 resident of New York. Gerard P. Schrang is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1627. Denise Schrang, as the Personal Representative of the Estate of Gerald P.
 Schrang, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Gerard P. Schrang, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Denise Schrang is a resident of New
 York. Gerard P. Schrang is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1628. Katherine R. Krieger, individually, as surviving sibling of Susan Lee Schuler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Katherine R. Krieger
 is a resident of Oregon. Susan Lee Schuler is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1629. Jude Laspa, individually, as surviving sibling of Susan Lee Schuler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jude Laspa is a resident of
 California. Susan Lee Schuler is one of the Decedents murdered as a result of the terrorist

                                              607
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 609 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1630. Jude Laspa, as the Personal Representative of the Estate of Susan Lee Schuler,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Susan Lee Schuler, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Jude Laspa is a resident of California. Susan Lee
 Schuler is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1631. Tevis Laspa, individually, as surviving sibling of Susan Lee Schuler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tevis Laspa is a resident of
 Washington. Susan Lee Schuler is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1632. Ted Slanker, individually, as surviving child of Susan Lee Schuler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ted Slanker is a resident of
 Texas. Susan Lee Schuler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1633. Sandra Slanker, individually, as surviving child of Susan Lee Schuler, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sandra Slanker is a
 resident of Texas. Susan Lee Schuler is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1634. Elizabeth Schlehr, individually, as surviving sibling of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Schlehr is
 a resident of Ohio. Margaret Seeliger is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1635. Bruce Seeliger, individually, as surviving spouse of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Bruce Seeliger is a
 resident of Connecticut. Margaret Seeliger is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1636. Bruce Seeliger, as the Personal Representative of the Estate of Margaret Seeliger,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Margaret Seeliger, is a Plaintiff seeking justice for

                                             608
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 610 of 962




 the tragic events of September 11, 2001. Bruce Seeliger is a resident of Connecticut.
 Margaret Seeliger is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1637. Andrew T. Walier, individually, as surviving sibling of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew T. Walier is
 a resident of New York. Margaret Seeliger is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1638. Arthur A. Walier, individually, as surviving parent of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Arthur A. Walier is a
 resident of New York. Margaret Seeliger is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1639. James M. Walier, individually, as surviving sibling of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James M. Walier is a
 resident of New Jersey. Margaret Seeliger is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1640. John P. Walier, individually, as surviving sibling of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John P. Walier is a
 resident of New York. Margaret Seeliger is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1641. Joseph Walier, individually, as surviving sibling of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Walier is a
 resident of New York. Margaret Seeliger is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1642. Paul Walier, individually, as surviving sibling of Margaret Seeliger, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Paul Walier is a resident of
 New York. Margaret Seeliger is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1643. Peter Joseph Walier, individually, as surviving sibling of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter Joseph Walier
 is a resident of Georgia. Margaret Seeliger is one of the Decedents murdered as a result

                                             609
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 611 of 962




 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1644. Arthur Walier as Personal Representative of the Estate of Kathryn Ann Walier,
 deceased, the late parent of Margaret Seeliger, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Arthur Walier as Personal Representative of the Estate of
 Kathryn Ann Walier is a resident of New York. Margaret Seeliger is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1645. Matthew Walier, individually, as surviving sibling of Margaret Seeliger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew Walier is a
 resident of New York. Margaret Seeliger is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1646. Jahnan Shajahan, individually, as surviving child of Mohammed Shajahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jahnan Shajahan is a
 resident of Florida. Mohammed Shajahan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1647. Layla Shajahan, individually, as surviving child of Mohammed Shajahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Layla Shajahan is a
 resident of Florida. Mohammed Shajahan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1648. Mansura Shajahan, individually, as surviving spouse of Mohammed Shajahan, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Mansura Shajahan
 is a resident of Florida. Mohammed Shajahan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1649. Mansura Shajahan, as the Personal Representative of the Estate of Mohammed
 Shajahan, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Mohammed Shajahan, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Mansura Shajahan is a resident of
 Florida. Mohammed Shajahan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.



                                              610
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 612 of 962




 1650. Shirin Shajahan, individually, as surviving child of Mohammed Shajahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shirin Shajahan is a
 resident of Florida. Mohammed Shajahan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1651. Yusuf Shajahan, individually, as surviving child of Mohammed Shajahan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yusuf Shajahan is a
 resident of Florida. Mohammed Shajahan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1652. Christopher Davidson, individually, as surviving sibling of Kathryn A. Shatzoff,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher
 Davidson is a resident of New York. Kathryn A. Shatzoff is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1653. Francis Shea, individually, as surviving sibling of Daniel Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Francis Shea is a resident of
 New York. Daniel Shea is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1654. Kathleen Shea, individually, as surviving sibling of Daniel Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kathleen Shea is a resident of
 Connecticut. Daniel Shea is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1655. Thomas J. Shea, individually, as surviving sibling of Daniel Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas J. Shea is a resident
 of New Jersey. Daniel Shea is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1656. Francis Shea, individually, as surviving sibling of Joseph Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Francis Shea is a resident of
 New York. Joseph Shea is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             611
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 613 of 962




 1657. Kathleen Shea, individually, as surviving sibling of Joseph Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kathleen Shea is a resident of
 Connecticut. Joseph Shea is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1658. Thomas J. Shea, individually, as surviving sibling of Joseph Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas J. Shea is a resident
 of New Jersey. Joseph Shea is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1659. Charles Clarke, individually, as surviving parent of Antionette Sherman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charles Clarke is a
 resident of Maryland. Antionette Sherman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1660. Eloise Clarke, individually, as surviving parent of Antionette Sherman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Eloise Clarke is a
 resident of Maryland. Antionette Sherman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1661. Eloise Clarke, as the Personal Representative of the Estate of Antionette Sherman,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Antionette Sherman, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Eloise Clarke is a resident of Maryland.
 Antionette Sherman is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1662. John Doe 122 as the Personal Representative of the Estate of John Sigmund Sr.,
 deceased, the late parent of Johanna Sigmund, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Johanna Sigmund is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1663. John Sigmund, individually, as surviving sibling of Johanna Sigmund, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Sigmund is a
 resident of Pennsylvania. Johanna Sigmund is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                            612
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 614 of 962




 1664. Ruth Sigmund, individually, as surviving parent of Johanna Sigmund, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ruth Sigmund is a
 resident of Pennsylvania. Johanna Sigmund is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1665. Ruth Sigmund, as the Personal Representative of the Estate of Johanna Sigmund,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Johanna Sigmund, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Ruth Sigmund is a resident of Pennsylvania.
 Johanna Sigmund is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1666. John T. Signer and James M. Signer, as Co-Personal Representatives of the Estate
 of John F. Signer, deceased, the late sibling of Dianne Signer, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. John T. Signer and James M. Signer
 are residents of New York. Dianne Signer is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1667. Kenneth Signer, individually, as surviving sibling of Dianne Signer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kenneth Signer is a resident
 of Florida. Dianne Signer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1668. Patricia Signer, individually, as surviving parent of Dianne Signer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Signer is a resident
 of New York. Dianne Signer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1669. Patricia Signer, as the Personal Representative of the Estate of Dianne Signer,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Dianne Signer, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Patricia Signer is a resident of New York. Dianne
 Signer is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1670. Marie Sikorsky, as the Personal Representative of the Estate of Gregory Sikorsky,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Gregory Sikorsky, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Marie Sikorsky is a resident of New York.
 Gregory Sikorsky is one of the Decedents murdered as a result of the terrorist attacks of

                                             613
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 615 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1671. George Sikorsky, individually, as surviving sibling of Gregory Sikorsky, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. George Sikorsky is a
 resident of New York. Gregory Sikorsky is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1672. Kenneth Sikorsky, individually, as surviving sibling of Gregory Sikorsky, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kenneth Sikorsky is
 a resident of New York. Gregory Sikorsky is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1673. Perry V. Sikorsky, individually, as surviving sibling of Gregory Sikorsky, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Perry V. Sikorsky is
 a resident of New York. Gregory Sikorsky is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1674. Jennifer Simon Berardi, individually, as surviving child of Arthur Simon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jennifer Simon
 Berardi is a resident of New York. Arthur Simon is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1675. Jennifer Simon Berardi, as the Personal Representative of the Estate of Arthur
 Simon, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Arthur Simon, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Jennifer Simon Berardi is a resident of New
 York. Arthur Simon is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1676. Mandy Exantus, individually, as surviving child of Arthur Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mandy Exantus is a resident
 of California. Arthur Simon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1677. Stanley Simon, individually, as surviving sibling of Arthur Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stanley Simon is a resident of
 New York. Arthur Simon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             614
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 616 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1678. Susan Simon, individually, as surviving spouse of Arthur Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Susan Simon is a resident of
 South Carolina. Arthur Simon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1679. Todd Simon, individually, as surviving child of Arthur Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Todd Simon is a resident of
 California. Arthur Simon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1680. Jennifer Simon Berardi, individually, as surviving sibling of Kenneth Simon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jennifer Simon
 Berardi is a resident of New York. Kenneth Simon is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1681. Karen Simon, as Personal Representative of the Estate of Kenneth Simon,
 deceased, the late child of Arthur Simon, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Karen Simon, as Personal Representative of the Estate of
 Kenneth Simon is a resident of New Jersey. Arthur Simon is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1682. Karen Simon, as the Personal Representative of the Estate of Kenneth Simon,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Kenneth Simon, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Karen Simon is a resident of New Jersey. Kenneth
 Simon is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1683. Jennifer Simon Berardi, as Personal Representative of the Estate of Arthur Simon,
 deceased, the late parent of Kenneth Simon, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Jennifer Simon Berardi, as Personal Representative of the
 Estate of Arthur Simon is a resident of New York. Kenneth Simon is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1684. Mandy Exantus, individually, as surviving sibling of Kenneth Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mandy Exantus is a resident

                                              615
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 617 of 962




 of California. Kenneth Simon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1685. Susan Simon, individually, as surviving parent of Kenneth Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Susan Simon is a resident of
 South Carolina. Kenneth Simon is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1686. Todd Simon, individually, as surviving sibling of Kenneth Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Todd Simon is a resident of
 California. Kenneth Simon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1687. Jill S. Polansky, individually, as surviving sibling of Thomas E. Sinton III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jill S. Polansky is a
 resident of New Jersey. Thomas E. Sinton III is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1688. Sally Sinton, individually, as surviving sibling of Thomas E. Sinton III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sally Sinton is a
 resident of Austrailia. Thomas E. Sinton III is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1689. Susan M. Sinton, individually, as surviving parent of Thomas E. Sinton III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Susan M. Sinton is a
 resident of New Jersey. Thomas E. Sinton III is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1690. Marilyn Smith Pusey, individually, as surviving spouse of Leon Smith, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marilyn Smith
 Pusey is a resident of North Carolina. Leon Smith is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1691. Marilyn Smith Pusey, as the Personal Representative of the Estate of Leon Smith,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Leon Smith, is a Plaintiff seeking justice for the

                                             616
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 618 of 962




 tragic events of September 11, 2001. Marilyn Smith Pusey is a resident of North
 Carolina. Leon Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1692. Irene Smith, individually, as surviving parent of Leon Smith, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Irene Smith is a resident of New
 York. Leon Smith is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1693. Jasmine Michele Smith, individually, as surviving child of Leon Smith, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jasmine Michele
 Smith is a resident of New York. Leon Smith is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1694. Nakia Smith, individually, as surviving child of Leon Smith, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Nakia Smith is a resident of New
 York. Leon Smith is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1695. Tiffany Smith, individually, as surviving child of Leon Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tiffany Smith is a resident of
 Florida. Leon Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1696. Yolanda Smith-Purdy, individually, as surviving child of Leon Smith, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yolanda Smith-
 Purdy is a resident of Florida. Leon Smith is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1697. Mary Elizabeth Reddy, individually, as surviving sibling of Moira A. Smith, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Elizabeth
 Reddy is a resident of New York. Moira A. Smith is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1698. James Smith, individually, as surviving spouse of Moira A. Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Smith is a resident of
 New York. Moira A. Smith is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                            617
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 619 of 962




 1699. James Smith, as the Personal Representative of the Estate of Moira A. Smith,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Moira A. Smith, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. James Smith is a resident of New York. Moira A.
 Smith is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1700. Patricia Mary Smith, individually, as surviving child of Moira A. Smith, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Mary Smith
 is a resident of New York. Moira A. Smith is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1701. Patricia S. Rafter, as the Personal Representative of the Estate of Bonnie
 Smithwick, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Bonnie Smithwick, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia S. Rafter is a resident
 of New York. Bonnie Smithwick is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1702. Patricia S. Rafter as Personal Representative of the Estate of Thomas J.
 Smithwick, deceased, the late spouse of Bonnie Smithwick, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Patricia S. Rafter as Personal Representative
 of the Estate of Thomas J. Smithwick is a resident of New York. Bonnie Smithwick is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1703. Peter Shihadeh, individually, as surviving sibling of Bonnie Smithwick, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter Shihadeh is a
 resident of Pennsylvania. Bonnie Smithwick is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1704. Peter Shihadeh as Personal Representative of the Estate of Jeanne Santamarie
 Shihadeh, deceased, the late parent of Bonnie Smithwick, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Peter Shihadeh as Personal Representative of the
 Estate of Jeanne Santamarie Shihadeh is a resident of Pennsylvania. Bonnie Smithwick is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1705. Peter Shihadeh as Personal Representative of the Estate of Theodore D. Shihadeh,
 deceased, the late parent of Bonnie Smithwick, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Peter Shihadeh as Personal Representative of the Estate of

                                             618
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 620 of 962




 Theodore D. Shihadeh is a resident of Pennsylvania. Bonnie Smithwick is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1706. James W. Smithwick, individually, as surviving child of Bonnie Smithwick, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James W. Smithwick
 is a resident of New York. Bonnie Smithwick is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1707. Katharine E. Smithwick, individually, as surviving child of Bonnie Smithwick, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Katharine E.
 Smithwick is a resident of New York. Bonnie Smithwick is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1708. Joanne Messina, individually, as surviving sibling of Michael C. Sorresse, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joanne Messina is a
 resident of New Jersey. Michael C. Sorresse is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1709. Catherine Ricciardelli, individually, as surviving spouse of Michael C. Sorresse,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine
 Ricciardelli is a resident of New Jersey. Michael C. Sorresse is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1710. Catherine Ricciardelli, as the Personal Representative of the Estate of Michael C.
 Sorresse, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Michael C. Sorresse, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Catherine Ricciardelli is a resident of
 New Jersey. Michael C. Sorresse is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1711. Leonard M. Sorresse Jr., individually, as surviving sibling of Michael C. Sorresse,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Leonard M.
 Sorresse Jr. is a resident of New Jersey. Michael C. Sorresse is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.



                                             619
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 621 of 962




 1712. Leonard M. Sorresse Sr., individually, as surviving parent of Michael C. Sorresse,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Leonard M.
 Sorresse Sr. is a resident of New Jersey. Michael C. Sorresse is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1713. Maria Sorresse, individually, as surviving parent of Michael C. Sorresse, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Sorresse is a
 resident of New Jersey. Michael C. Sorresse is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1714. Nicholas Sorresse, individually, as surviving sibling of Michael C. Sorresse, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nicholas Sorresse is
 a resident of New Jersey. Michael C. Sorresse is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1715. Andrew Soulas, individually, as surviving child of Timothy Soulas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Andrew Soulas is a resident
 of New York. Timothy Soulas is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1716. Christopher Soulas, individually, as surviving child of Timothy Soulas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Soulas
 is a resident of New Jersey. Timothy Soulas is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1717. Katherine Soulas, individually, as surviving spouse of Timothy Soulas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Katherine Soulas is a
 resident of New Jersey. Timothy Soulas is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1718. Katherine Soulas, as the Personal Representative of the Estate of Timothy Soulas,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Timothy Soulas, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Katherine Soulas is a resident of New Jersey.
 Timothy Soulas is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.


                                             620
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 622 of 962




 1719. Matthew Soulas, individually, as surviving child of Timothy Soulas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Matthew Soulas is a resident
 of New Jersey. Timothy Soulas is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1720. Timothy Soulas, Jr., individually, as surviving child of Timothy Soulas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Timothy Soulas, Jr.
 is a resident of New Jersey. Timothy Soulas is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1721. Daniel Reid Soulas, individually, as surviving child of Timothy Soulas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel Reid Soulas
 is a resident of New Jersey. Timothy Soulas is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1722. Linda E. Spampinato a/k/a Linda E. Melville, individually, as surviving sibling of
 Donald F. Spampinato, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Linda E. Spampinato a/k/a Linda E. Melville is a resident of North Carolina.
 Donald F. Spampinato is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1723. Michael Spampinato, individually, as surviving sibling of Donald F. Spampinato,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Michael
 Spampinato is a resident of Michigan. Donald F. Spampinato is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1724. Michael Spampinato as Personal Representative of the Estate of Mary
 Spampinato, deceased, the late parent of Donald F. Spampinato, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Michael Spampinato as Personal
 Representative of the Estate of Mary Spampinato is a resident of Michigan. Donald F.
 Spampinato is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1725. Barbara Carroll Spence, individually, as surviving spouse of Maynard S. Spence,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara Carroll
 Spence is a resident of Georgia. Maynard S. Spence is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.


                                            621
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 623 of 962




 1726. Barbara Carroll Spence, as the Personal Representative of the Estate of Maynard
 S. Spence, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Maynard S. Spence, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Barbara Carroll Spence is a resident
 of Georgia. Maynard S. Spence is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1727. Kristina Spence, individually, as surviving child of Maynard S. Spence, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kristina Spence is a
 resident of Florida. Maynard S. Spence is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1728. Shannon Spence, individually, as surviving child of Maynard S. Spence, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shannon Spence is a
 resident of Florida. Maynard S. Spence is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1729. Dorothy Spence Evans, individually, as surviving sibling of Maynard S. Spence,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Dorothy Spence
 Evans is a resident of North Carolina. Maynard S. Spence is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1730. Susan Spitz, individually, as surviving spouse of William Spitz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Susan Spitz is a resident of
 New York. William Spitz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1731. Susan Spitz, as the Personal Representative of the Estate of William Spitz,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of William Spitz, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Susan Spitz is a resident of New York. William
 Spitz is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1732. Kathy Buell, individually, as surviving sibling of Timothy Stackpole, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kathy Buell is a resident of
 New York. Timothy Stackpole is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                             622
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 624 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1733. Tara Stackpole, as the Personal Representative of the Estate of Timothy
 Stackpole, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Timothy Stackpole, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Tara Stackpole is a resident of New
 York. Timothy Stackpole is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1734. Patricia Murphy, individually, as surviving sibling of Timothy Stackpole, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Murphy is a
 resident of New York. Timothy Stackpole is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1735. Edward Stackpole, individually, as surviving sibling of Timothy Stackpole, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Edward Stackpole is
 a resident of New York. Timothy Stackpole is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1736. Michael Stackpole, individually, as surviving sibling of Timothy Stackpole, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Stackpole is
 a resident of New York. Timothy Stackpole is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1737. Daniel Carroll, individually, as surviving child of Patricia J. Statz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daniel Carroll is a resident of
 Maryland. Patricia J. Statz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1738. David Carroll, individually, as surviving spouse of Patricia J. Statz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Carroll is a resident of
 Maryland. Patricia J. Statz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1739. David Carroll, as the Personal Representative of the Estate of Patricia J. Statz,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Patricia J. Statz, is a Plaintiff seeking justice for the

                                              623
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 625 of 962




 tragic events of September 11, 2001. David Carroll is a resident of Maryland. Patricia J.
 Statz is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1740. Erick Carroll, individually, as surviving child of Patricia J. Statz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Erick Carroll is a resident of
 Maryland. Patricia J. Statz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1741. Pamela Statz, individually, as surviving sibling of Patricia J. Statz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Pamela Statz is a resident of
 Oregon. Patricia J. Statz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1742. Vincent A. Statz, individually, as surviving parent of Patricia J. Statz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Vincent A. Statz is a resident
 of Wisconsin. Patricia J. Statz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1743. Phil Statz, individually, as surviving sibling of Patricia J. Statz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Phil Statz is a resident of
 Wisconsin. Patricia J. Statz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1744. Gloria Darrisaw, individually, as surviving sibling of Edna L. Stephens, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gloria Darrisaw is a
 resident of Georgia. Edna L. Stephens is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1745. Eunice W. Stephens, individually, as surviving sibling of Edna L. Stephens, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Eunice W. Stephens
 is a resident of Georgia. Edna L. Stephens is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1746. Betty Jo Hill, individually, as surviving sibling of Edna L. Stephens, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Betty Jo Hill is a resident of
 Georgia. Edna L. Stephens is one of the Decedents murdered as a result of the terrorist

                                              624
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 626 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1747. Brenda Stephens Pyant, individually, as surviving sibling of Edna L. Stephens, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Brenda Stephens
 Pyant is a resident of Georgia. Edna L. Stephens is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1748. Eddie Stephens, individually, as surviving sibling of Edna L. Stephens, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Eddie Stephens is a
 resident of Georgia. Edna L. Stephens is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1749. Marvin Stephens, individually, as surviving sibling of Edna L. Stephens, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marvin Stephens is a
 resident of Georgia. Edna L. Stephens is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1750. Mary L. Stephens, individually, as surviving sibling of Edna L. Stephens, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary L. Stephens is
 a resident of Georgia. Edna L. Stephens is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1751. Barbara Stephens-Cobb, individually, as surviving sibling of Edna L. Stephens, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara Stephens-
 Cobb is a resident of South Carolina. Edna L. Stephens is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1752. Torrass Allen-Stephens, individually, as surviving child of Edna L. Stephens, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Torrass Allen-
 Stephens is a resident of Georgia. Edna L. Stephens is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1753. Torrass Allen-Stephens, as the Personal Representative of the Estate of Edna L.
 Stephens, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Edna L. Stephens, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Torrass Allen-Stephens is a resident

                                             625
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 627 of 962




 of Georgia. Edna L. Stephens is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1754. Eric Stoller, individually, as surviving child of Sanford M. Stoller, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eric Stoller is a resident of
 New York. Sanford M. Stoller is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1755. Glen Stoller, individually, as surviving child of Sanford M. Stoller, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Glen Stoller is a resident of
 Maine . Sanford M. Stoller is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1756. Trudy Stoller, individually, as surviving spouse of Sanford M. Stoller, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Trudy Stoller is a
 resident of New York. Sanford M. Stoller is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1757. Trudy Stoller, as the Personal Representative of the Estate of Sanford M. Stoller,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Sanford M. Stoller, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Trudy Stoller is a resident of New York. Sanford
 M. Stoller is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1758. Leslie A. Intindoli, individually, as surviving sibling of Steven Strauss, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Leslie A. Intindoli is
 a resident of New York. Steven Strauss is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1759. Leslie A. Intindoli as Personal Representative of the Estate of Albert Strauss,
 deceased, the late parent of Steven Strauss, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Leslie A. Intindoli as Personal Representative of the Estate
 of Albert Strauss is a resident of New York. Steven Strauss is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.



                                             626
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 628 of 962




 1760. Leslie A. Intindoli as Personal Representative of the Estate of Theresa Strauss,
 deceased, the late parent of Steven Strauss, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Leslie A. Intindoli as Personal Representative of the Estate
 of Theresa Strauss is a resident of New York. Steven Strauss is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1761. Derek Strauss, individually, as surviving child of Steven Strauss, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Derek Strauss is a resident of
 New York. Steven Strauss is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1762. Melanie Strauss, individually, as surviving child of Steven Strauss, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Melanie Strauss is a resident
 of New York. Steven Strauss is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1763. Jean Strauss a/k/a Jeannie Strauss, individually, as surviving spouse of Steven
 Strauss, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jean
 Strauss a/k/a Jeannie Strauss is a resident of New York. Steven Strauss is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1764. Jean Strauss a/k/a Jeannie Strauss, as the Personal Representative of the Estate of
 Steven Strauss, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Steven Strauss, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jean Strauss a/k/a Jeannie Strauss is a
 resident of New York. Steven Strauss is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1765. Brian Sullivan, individually, as surviving child of Christopher P. Sullivan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brian Sullivan is a
 resident of New York. Christopher P. Sullivan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1766. Dolores Sullivan, individually, as surviving spouse of Christopher P. Sullivan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dolores Sullivan is a
 resident of New York. Christopher P. Sullivan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda


                                             627
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 629 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1767. Dolores Sullivan, as the Personal Representative of the Estate of Christopher P.
 Sullivan, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Christopher P. Sullivan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dolores Sullivan is a resident
 of New York. Christopher P. Sullivan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1768. James R. Sullivan, individually, as surviving parent of Christopher P. Sullivan, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. James R. Sullivan
 is a resident of New York. Christopher P. Sullivan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1769. Joan R. Sullivan, individually, as surviving parent of Christopher P. Sullivan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joan R. Sullivan is a
 resident of New York. Christopher P. Sullivan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1770. Kevin M. Sullivan, individually, as surviving sibling of Christopher P. Sullivan, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Kevin M. Sullivan
 is a resident of New York. Christopher P. Sullivan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1771. Matthew J. Sullivan, individually, as surviving sibling of Christopher P. Sullivan,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew J.
 Sullivan is a resident of California. Christopher P. Sullivan is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1772. Peter Q. Sullivan, individually, as surviving sibling of Christopher P. Sullivan, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Peter Q. Sullivan is
 a resident of Florida. Christopher P. Sullivan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1773. Robert J. Sullivan, individually, as surviving sibling of Christopher P. Sullivan, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Robert J. Sullivan
 is a resident of New York. Christopher P. Sullivan is one of the Decedents murdered as a

                                             628
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 630 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1774. Sean Sullivan, individually, as surviving child of Christopher P. Sullivan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sean Sullivan is a
 resident of New York. Christopher P. Sullivan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1775. Joan Wolffer, individually, as surviving sibling of Christopher P. Sullivan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joan Wolffer is a
 resident of New York. Christopher P. Sullivan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1776. Jill Marsella, individually, as surviving spouse of Thomas F. Swift, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jill Marsella is a resident of
 New Jersey. Thomas F. Swift is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1777. Jill Marsella, as the Personal Representative of the Estate of Thomas F. Swift,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Thomas F. Swift, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Jill Marsella is a resident of New Jersey.
 Thomas F. Swift is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1778. Kathleen F. Deloughery, as Personal Representative of the Estate of Frances
 Swift, deceased, the late parent of Thomas F. Swift, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Kathleen F. Deloughery, as Personal Representative
 of the Estate of Frances Swift is a resident of New Jersey. Thomas F. Swift is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1779. Elisabeth L. Swift, as Personal Representative of the Estate of James S. Swift.,
 deceased, the late sibling of Thomas F. Swift, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Elisabeth L. Swift, as Personal Representative of the
 Estate of James S. Swift. is a resident of New Jersey. Thomas F. Swift is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.



                                              629
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 631 of 962




 1780. Patrick T. Swift, individually, as surviving sibling of Thomas F. Swift, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patrick T. Swift is a
 resident of New Jersey. Thomas F. Swift is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1781. Peter T. Swift Jr., individually, as surviving sibling of Thomas F. Swift, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter T. Swift Jr. is a
 resident of New Jersey. Thomas F. Swift is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1782. John Doe 114, as Personal Representative of the Estate of Peter T. Swift, Sr.,
 deceased, the late parent of Thomas F. Swift, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Thomas F. Swift is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1783. Octavia Bangura, individually, as surviving child of Hilda E. Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Octavia Bangura is a resident
 of Maryland. Hilda E. Taylor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1784. Yvette Jones, individually, as surviving sibling of Hilda E. Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Yvette Jones is a resident of
 Maryland. Hilda E. Taylor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1785. Edna Mbayo, individually, as surviving sibling of Hilda E. Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Edna Mbayo is a resident of
 Maryland. Hilda E. Taylor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1786. Dennis Stafford, individually, as surviving child of Hilda E. Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dennis Stafford is a resident
 of Sierra Leone. Hilda E. Taylor is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.



                                              630
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 632 of 962




 1787. George O. Taylor, individually, as surviving sibling of Hilda E. Taylor, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. George O. Taylor is
 a resident of Maryland. Hilda E. Taylor is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1788. George O. Taylor, as the Personal Representative of the Estate of Hilda E. Taylor,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Hilda E. Taylor, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. George O. Taylor is a resident of Maryland. Hilda
 E. Taylor is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1789. Pallavi Shirolkar, individually, as surviving spouse of Harshad S. Thatte, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Pallavi Shirolkar is a
 resident of North Carolina. Harshad S. Thatte is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1790. Pallavi Shirolkar, as the Personal Representative of the Estate of Harshad S.
 Thatte, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Harshad S. Thatte, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Pallavi Shirolkar is a resident of
 North Carolina. Harshad S. Thatte is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1791. Elina Shirolkar, individually, as surviving child of Harshad S. Thatte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elina Shirolkar is a resident
 of North Carolina. Harshad S. Thatte is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1792. Haleema Salie, as Personal Representative of the Estate of Rahma Salie,
 deceased, the late spouse of Michael Theodoridis, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Haleema Salie, as Personal Representative of the
 Estate of Rahma Salie is a resident of Massachusetts. Michael Theodoridis is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1793. Jordanis Theodoridis, individually, as surviving sibling of Michael Theodoridis, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Jordanis
 Theodoridis is a resident of Switzerland. Michael Theodoridis is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

                                             631
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 633 of 962




 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1794. Jordanis Theodoridis, as the Personal Representative of the Estate of Michael
 Theodoridis, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Michael Theodoridis, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jordanis Theodoridis is a
 resident of Switzerland. Michael Theodoridis is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1795. Margarita Theodoridis, individually, as surviving parent of Michael Theodoridis,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Margarita
 Theodoridis is a resident of Switzerland. Michael Theodoridis is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1796. Jordanis Theodoridis, as Personal Representative of the Estate of Constantinos
 Theodoridis, deceased, the late parent of Michael Theodoridis, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jordanis Theodoridis, as Personal
 Representative of the Estate of Constantinos Theodoridis is a resident of Switzerland.
 Michael Theodoridis is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1797. Sarah Kashetta, individually, as surviving child of Brian T. Thompson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sarah Kashetta is a
 resident of New York. Brian T. Thompson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1798. Kathleen Thompson, individually, as surviving spouse of Brian T. Thompson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Thompson
 is a resident of New York. Brian T. Thompson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1799. Kathleen Thompson, as the Personal Representative of the Estate of Brian T.
 Thompson, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Brian T. Thompson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kathleen Thompson is a
 resident of New York. Brian T. Thompson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             632
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 634 of 962




 1800. Daniel Thompson, individually, as surviving child of Brian T. Thompson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel Thompson is
 a resident of New Jersey. Brian T. Thompson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1801. Tsahai S. Santiago, individually, as surviving sibling of Vanavah Thompson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tsahai S. Santiago is
 a resident of New York. Vanavah Thompson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1802. Doreen Thompson, individually, as surviving parent of Vanavah Thompson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Doreen Thompson is
 a resident of New York. Vanavah Thompson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1803. Doreen Thompson, as the Personal Representative of the Estate of Vanavah
 Thompson, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Vanavah Thompson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Doreen Thompson is a
 resident of New York. Vanavah Thompson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1804. Nia Jah-Selah Thompson, individually, as surviving child of Vanavah Thompson,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Nia Jah-Selah
 Thompson is a resident of North Carolina. Vanavah Thompson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1805. Giovanni McKenzie, individually, as surviving sibling of Vanavah Thompson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Giovanni
 McKenzie is a resident of Virginia. Vanavah Thompson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1806. Michael K. Thompson, individually, as surviving child of William Harry
 Thompson, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Michael K. Thompson is a resident of New Jersey. William Harry Thompson is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.

                                             633
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 635 of 962




 1807. Michael K. Thompson, as the Personal Representative of the Estate of William
 Harry Thompson, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of William Harry Thompson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael K.
 Thompson is a resident of New Jersey. William Harry Thompson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1808. Rahsaan Thompson, individually, as surviving child of William Harry Thompson,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Rahsaan
 Thompson is a resident of New Jersey. William Harry Thompson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1809. Beatrice Woolen, individually, as surviving sibling of Tamara Thurman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Beatrice Woolen is a
 resident of Georgia. Tamara Thurman is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1810. Saundra Faye Woolen, individually, as surviving parent of Tamara Thurman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Saundra Faye
 Woolen is a resident of Georgia. Tamara Thurman is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1811. Emory E. Hackman, Jr., as the Personal Representative of the Estate of Tamara
 Thurman, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Tamara Thurman, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Emory E. Hackman, Jr. is a resident
 of Virginia. Tamara Thurman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1812. Jennifer Dolan, individually, as surviving child of John Tobin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jennifer Dolan is a resident
 of New Jersey. John Tobin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1813. Barbara Tobin, individually, as surviving spouse of John Tobin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Barbara Tobin is a resident of
 New Jersey. John Tobin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                            634
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 636 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1814. Barbara Tobin, as the Personal Representative of the Estate of John Tobin,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of John Tobin, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Barbara Tobin is a resident of New Jersey. John
 Tobin is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1815. Margaret M. Tobin, individually, as surviving sibling of John Tobin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Margaret M. Tobin is a
 resident of New York. John Tobin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1816. Michael Tobin, individually, as surviving sibling of John Tobin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Tobin is a resident
 of New Jersey. John Tobin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1817. Sean Tobin, individually, as surviving child of John Tobin, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Sean Tobin is a resident of New
 Jersey. John Tobin is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1818. Teresa Traina, individually, as surviving parent of Christopher M Traina, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Teresa Traina is a
 resident of Florida. Christopher M Traina is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1819. Teresa Traina, as the Personal Representative of the Estate of Christopher M
 Traina, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Christopher M. Traina, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Teresa Traina is a resident of Florida.
 Christopher M. Traina is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1820. Salvatore M. Traina Jr., individually, as surviving sibling of Christopher M.
 Traina, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Salvatore M. Traina Jr. is a resident of New Jersey. Christopher M. Traina is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

                                             635
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 637 of 962




 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1821. Salvatore Traina, individually, as surviving parent of Christopher M. Traina, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Salvatore Traina is a
 resident of Florida. Christopher M. Traina is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1822. Theresa Corio, individually, as surviving sibling of Diane M. Urban, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Theresa Corio is a resident of
 New York. Diane M. Urban is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1823. Theresa Corio, as the Personal Representative of the Estate of Diane M. Urban,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Diane M. Urban, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Theresa Corio is a resident of New York. Diane M.
 Urban is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1824. Ann Van Hine, individually, as surviving spouse of Richard B. Van Hine, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ann Van Hine is a
 resident of New York. Richard B. Van Hine is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1825. Ann Van Hine, as the Personal Representative of the Estate of Richard B. Van
 Hine, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Richard B. Van Hine, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Ann Van Hine is a resident of
 Pennsylvania. Richard B. Van Hine is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1826. Meghan Sensenig, individually, as surviving child of Richard B. Van Hine, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Meghan Sensenig is
 a resident of Pennsylvania. Richard B. Van Hine is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1827. Emily Small, individually, as surviving child of Richard B. Van Hine, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Emily Small is a

                                             636
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 638 of 962




 resident of New York. Richard B. Van Hine is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1828. Vasanta Velamuri, individually, as surviving spouse of Sankara Velamuri, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Vasanta Velamuri is
 a resident of New Jersey. Sankara Velamuri is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1829. Vasanta Velamuri, as the Personal Representative of the Estate of Sankara
 Velamuri, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Sankara Velamuri, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Vasanta Velamuri is a resident of
 New Jersey. Sankara Velamuri is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1830. Ramon Velazquez, individually, as surviving child of Jorge L. Velazquez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ramon Velazquez is
 a resident of New Jersey. Jorge L. Velazquez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1831. Migdalia Lopez, as Personal Representative of the Estate of Carmen Guzman,
 deceased, the late parent of David Vera, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Migdalia Lopez is a resident of New York. David Vera is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1832. Javier Guzman, individually, as surviving sibling of David Vera, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Javier Guzman is a resident
 of Pennsylvania. David Vera is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1833. Migdalia Lopez, individually, as surviving sibling of David Vera, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Migdalia Lopez is a resident
 of New York. David Vera is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                              637
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 639 of 962




 1834. Jennica Perez a/k/a Jennica Vera, individually, as surviving child of David Vera,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jennica Perez
 a/k/a Jennica Vera is a resident of North Carolina. David Vera is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1835. Jennica Perez a/k/a Jennica Vera, as the Personal Representative of the Estate of
 David Vera, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of David Vera, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jennica Perez a/k/a Jennica Vera is a
 resident of New York. David Vera is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1836. Anthony Vola, individually, as surviving sibling of Maria P. Vola, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Anthony Vola is a resident of
 Florida. Maria P. Vola is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1837. Anthony Vola and Brittney Vola, as Co-Personal Representatives of the Estate of
 Clotilda Vola, deceased, the late sibling of Maria P. Vola, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Anthony Vola and Brittney Vola, as Co-
 Personal Representatives of the Estate of Clotilda Vola, is a resident of New York. Maria
 P. Vola is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1838. Anthony Vola, as the Personal Representative of the Estate of Maria P. Vola,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Maria P. Vola, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Anthony Vola, as the Personal Representative of the
 Estate of Maria P. Vola is a resident of Florida. Maria P. Vola is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1839. Anthony Vola as Personal Representative of the Estate of John Vola, deceased,
 the late parent of Maria P. Vola, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Anthony Vola as Personal Representative of the Estate of John Vola
 is a resident of Florida. Maria P. Vola is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1840. Anthony Vola as Personal Representative of the Estate of Rita Vola, deceased, the
 late parent of Maria P. Vola, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Anthony Vola as Personal Representative of the Estate of Rita Vola

                                             638
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 640 of 962




 is a resident of New York. Maria P. Vola is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1841. Kim Wagner, individually, as surviving sibling of Karen J. Wagner, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kim Wagner is a resident of
 Texas. Karen J. Wagner is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1842. Kim Wagner, as the Personal Representative of the Estate of Karen J. Wagner,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Karen J. Wagner, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Kim Wagner is a resident of Texas. Karen J.
 Wagner is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1843. Warren Wagner, individually, as surviving sibling of Karen J. Wagner, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Warren Wagner is a
 resident of Texas. Karen J. Wagner is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1844. Kim Wagner as Personal Representative of the Estate of Mattie B. Wagner,
 deceased, the late parent of Karen J. Wagner, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Kim Wagner as Personal Representative of the Estate of
 Mattie B. Wagner is a resident of Texas. Karen J. Wagner is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1845. Karl Wagner, individually, as surviving sibling of Karen J. Wagner, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karl Wagner is a resident of
 Maryland. Karen J. Wagner is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1846. Andrea Treble, individually, as surviving sibling of Gabriela Waisman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrea Treble is a
 resident of New York. Gabriela Waisman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                             639
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 641 of 962




 1847. Andrea Treble, as the Personal Representative of the Estate of Gabriela Waisman,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Gabriela Waisman, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Andrea Treble is a resident of New York.
 Gabriela Waisman is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1848. Armando Waisman, individually, as surviving parent of Gabriela Waisman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Armando Waisman
 is a resident of New York. Gabriela Waisman is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1849. Marta Waisman, individually, as surviving parent of Gabriela Waisman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marta Waisman is a
 resident of New York. Gabriela Waisman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1850. Rebecca Clemento, individually, as surviving spouse of Victor Wald, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rebecca Clemento is a
 resident of Pennsylvania. Victor Wald is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1851. Rebecca Clemento, as the Personal Representative of the Estate of Victor Wald,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Victor Wald, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Rebecca Clemento is a resident of Pennsylvania.
 Victor Wald is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1852. Clarissa B. Kirschenbaum, individually, as surviving sibling of Victor Wald, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Clarissa B.
 Kirschenbaum is a resident of New York. Victor Wald is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1853. Daniella Wald Spielman, individually, as surviving child of Victor Wald, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniella Wald
 Spielman is a resident of New Jersey. Victor Wald is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                            640
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 642 of 962




 1854. Alexandra Wald Bortz, individually, as surviving child of Victor Wald, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexandra Wald
 Bortz is a resident of Maryland. Victor Wald is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1855. Reagan Koniuch, individually, as surviving child of Peter G. Wallace, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Reagan Koniuch is a
 resident of New York. Peter G. Wallace is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1856. Alison W. Smith, individually, as surviving child of Peter G. Wallace, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alison W. Smith is a
 resident of New Jersey. Peter G. Wallace is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1857. Charlotte Wallace, individually, as surviving spouse of Peter G. Wallace, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charlotte Wallace is
 a resident of New Jersey. Peter G. Wallace is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1858. Charlotte Wallace, as the Personal Representative of the Estate of Peter G.
 Wallace, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Peter G. Wallace, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Charlotte Wallace is a resident of
 New Jersey. Peter G. Wallace is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1859. Nancy Wallace, as the Personal Representative of the Estate of Robert F. Wallace,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Robert F. Wallace, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Nancy Wallace is a resident of New York.
 Robert F. Wallace is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1860. Robert Wallace, individually, as surviving child of Robert F. Wallace, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Wallace is a
 resident of New York. Robert F. Wallace is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                            641
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 643 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1861. Angela Watson Cucciniello, individually, as surviving child of Kenneth Watson,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Angela Watson
 Cucciniello is a resident of New York. Kenneth Watson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1862. Glenn Watson, as the Personal Representative of the Estate of Andrew Watson,
 deceased, the late parent of Kenneth Watson, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Glenn Watson, as the Personal Representative of the
 Estate of Andrew Watson, is a resident of New York. Kenneth Watson is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1863. Carmella Watson, individually, as surviving parent of Kenneth Watson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carmella Watson is
 a resident of West Virginia. Kenneth Watson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1864. Christopher Watson, individually, as surviving child of Kenneth Watson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Watson
 is a resident of New York. Kenneth Watson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1865. Gary Watson, individually, as surviving child of Kenneth Watson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gary Watson is a resident of
 New York. Kenneth Watson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1866. Glenn Watson, individually, as surviving sibling of Kenneth Watson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Glenn Watson is a resident of
 New York. Kenneth Watson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1867. James Watson, individually, as surviving sibling of Kenneth Watson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Watson is a resident of
 Florida. Kenneth Watson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             642
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 644 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1868. Kenneth Watson, Jr., individually, as surviving child of Kenneth Watson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kenneth Watson, Jr.
 is a resident of New York. Kenneth Watson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1869. Susan Watson, individually, as surviving spouse of Kenneth Watson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Susan Watson is a resident of
 New York. Kenneth Watson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1870. Susan Watson, as the Personal Representative of the Estate of Kenneth Watson,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Kenneth Watson, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Susan Watson is a resident of New York.
 Kenneth Watson is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1871. Tina Watson-Tirabassi, individually, as surviving sibling of Kenneth Watson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tina Watson-
 Tirabassi is a resident of New York. Kenneth Watson is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1872. Chin Sok Wells, individually, as surviving sibling of Chin Sun Pak Wells, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Chin Sok Wells is a
 resident of Texas. Chin Sun Pak Wells is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1873. Kum Son Wells, individually, as surviving parent of Chin Sun Pak Wells, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kum Son Wells is a
 resident of Oklahoma. Chin Sun Pak Wells is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1874. Chin Yong Wells, as the Personal Representative of the Estate of Norman Wells,
 deceased, the late parent of Chin Sun Pak Wells, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Chin Yong Wells, as the Personal Representative of
 the Estate of Norman Wells, is a resident of Oklahoma. Chin Sun Pak Wells is one of the

                                            643
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 645 of 962




 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1875. Kum Son Wells, as the Personal Representative of the Estate of Chin Sun Pak
 Wells, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Chin Sun Pak Wells, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Kum Son Wells is a resident of
 Oklahoma. Chin Sun Pak Wells is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1876. Enid White, individually, as surviving spouse of John White, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Enid White is a resident of Florida.
 John White is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1877. Enid White, as the Personal Representative of the Estate of John White, deceased,
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of John White, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Enid White is a resident of Florida. John White is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1878. Maxine White, individually, as surviving child of John White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maxine White is a resident of
 Florida. John White is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1879. Shirley Nottingham, individually, as surviving sibling of Leonard A. White, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shirley Nottingham
 is a resident of Virginia. Leonard A. White is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1880. Shirley Nottingham, as the Personal Representative of the Estate of Leonard A.
 White, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Leonard A. White, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Shirley Nottingham is a resident of
 Virginia. Leonard A. White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                              644
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 646 of 962




 1881. Shirley Nottingham as Personal Representative of the Estate of Thelma White,
 deceased, the late parent of Leonard A. White, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Shirley Nottingham as Personal Representative of the
 Estate of Thelma White is a resident of Virginia. Leonard A. White is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1882. Sylvia Ball, individually, as surviving sibling of Malissa White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sylvia Ball is a resident of
 Arkansas. Malissa White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1883. Wakeland Higgins, individually, as surviving spouse of Malissa White, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Wakeland Higgins is
 a resident of Florida. Malissa White is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1884. Wakeland Higgins, as the Personal Representative of the Estate of Malissa White,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Malissa White, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Wakeland Higgins is a resident of Florida. Malissa
 White is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1885. Marc C. White, individually, as surviving sibling of Malissa White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marc C. White is a resident
 of Tennessee. Malissa White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1886. Phillip White, individually, as surviving sibling of Malissa White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Phillip White is a resident of
 Arkansas. Malissa White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1887. John Doe 64, being intended to designate the Personal Representative of the
 Estate of Sandra L. White, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and

                                             645
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 647 of 962




 family members of Sandra L. White, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Sandra L. White is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1888. Connie Murray, individually, as surviving sibling of Sandra L. White, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Connie Murray is a
 resident of Maryland. Sandra L. White is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1889. John Doe 65, being intended to designate the Personal Representative of the
 Estate of Wayne White, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Wayne White, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Wayne White is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1890. Hilda Ventura, individually, as surviving sibling of Wayne White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Hilda Ventura is a resident of
 New York. Wayne White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1891. Daren White, individually, as surviving sibling of Wayne White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daren White is a resident of
 New York. Wayne White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1892. Kathleen Wik, individually, as surviving sibling of William Wik, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kathleen Wik is a resident of
 New York. William Wik is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1893. Thomas C. Wik, individually, as surviving sibling of William Wik, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas C. Wik is a resident
 of New York. William Wik is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                            646
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 648 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1894. Raphael Wik, individually, as surviving sibling of William Wik, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Raphael Wik is a resident of
 Florida. William Wik is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1895. Christopher Wong, individually, as surviving child of Yuk Ping Wong, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Wong is
 a resident of New York. Yuk Ping Wong is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1896. Eddie Wong, individually, as surviving child of Yuk Ping Wong, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eddie Wong is a resident of
 New York. Yuk Ping Wong is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1897. Eddie Wong, as the Personal Representative of the Estate of Yuk Ping Wong,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Yuk Ping Wong, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Eddie Wong is a resident of New York. Yuk Ping
 Wong is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1898. Fahim Chowdhury, individually, as surviving sibling of Shakila Yasmin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Fahim Chowdhury is
 a resident of Virginia. Shakila Yasmin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1899. Sharif Chowdhury, individually, as surviving parent of Shakila Yasmin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sharif Chowdhury is
 a resident of Virginia. Shakila Yasmin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1900. Sharif Chowdhury, as the co-Personal Representative of the Estate of Shakila
 Yasmin, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Shakila Yasmin, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Sharif Chowdhury is a resident of
 Virginia. Shakila Yasmin is one of the Decedents murdered as a result of the terrorist

                                             647
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 649 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1901. John Doe 66, as Personal Representative of the Estate of Nurul Miah, deceased,
 the late spouse of Shakila Yasmin, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Shakila Yasmin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1902. Showkatara Sharif, individually, as surviving parent of Shakila Yasmin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Showkatara Sharif is
 a resident of Virginia. Shakila Yasmin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1903. Showkatara Sharif, as the co-Personal Representative of the Estate of Shakila
 Yasmin, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Shakila Yasmin, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Showkatara Sharif is a resident of
 Virginia. Shakila Yasmin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1904. Mary Kessler, individually, as surviving sibling of Suzanne Youmans, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Kessler is a
 resident of Ohio. Suzanne Youmans is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1905. Mary Kessler, as the co-Personal Representative of the Estate of Suzanne
 Youmans, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Suzanne Youmans, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Mary Kessler is a resident of Ohio.
 Suzanne Youmans is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1906. William Youmans, individually, as surviving sibling of Suzanne Youmans, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William Youmans is
 a resident of Florida. Suzanne Youmans is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                            648
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 650 of 962




 1907. Joan Youmans as Personal Representative of the Estate of John Youmans,
 deceased, the late sibling of Suzanne Youmans, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Joan Youmans as Personal Representative of the Estate of
 John Youmans is a resident of New York. Suzanne Youmans is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1908. Edmond Young Sr., individually, as surviving parent of Edmond G. Young Jr., is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Edmond Young Sr.
 is a resident of Maryland. Edmond G. Young Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1909. Margaret Young, individually, as surviving parent of Edmond G. Young Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Margaret Young is a
 resident of Maryland. Edmond G. Young Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1910. Markia Young, individually, as surviving sibling of Edmond G. Young Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Markia Young is a
 resident of Maryland. Edmond G. Young Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1911. Marvene Young, individually, as surviving sibling of Edmond G. Young Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marvene Young is a
 resident of Maryland. Edmond G. Young Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1912. Marvene Young, as the Personal Representative of the Estate of Edmond G.
 Young Jr., deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Edmond G. Young Jr., is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Marvene Young is a resident of
 Maryland. Edmond G. Young Jr. is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1913. Stephan Young, individually, as surviving child of Edmond G. Young Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephan Young is a
 resident of Maryland. Edmond G. Young Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and


                                             649
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 651 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1914. Chaquita Young, individually, as surviving child of Lisa L. Young, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Chaquita Young is a resident
 of Maryland. Lisa L. Young is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1915. Chaquita Young, as the Personal Representative of the Estate of Lisa L. Young,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Lisa L. Young, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Chaquita Young is a resident of Maryland. Lisa L.
 Young is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1916. Desiree Zambrana, individually, as surviving sibling of Edwin J. Zambrana, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Desiree Zambrana is
 a resident of New York. Edwin J. Zambrana is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1917. Lillian Zambrana, individually, as surviving parent of Edwin J. Zambrana, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lillian Zambrana is
 a resident of New York. Edwin J. Zambrana is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1918. Lillian Zambrana, as the Personal Representative of the Estate of Edwin J.
 Zambrana, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Edwin J. Zambrana, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lillian Zambrana is a resident of New
 York. Edwin J. Zambrana is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1919. Michael Zampieri, individually, as surviving sibling of Robert A. Zampieri, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Zampieri is
 a resident of New Jersey. Robert A. Zampieri is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1920. Jeannie Schlesinger, individually, as surviving sibling of Robert A. Zampieri, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jeannie Schlesinger

                                             650
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 652 of 962




 is a resident of New Jersey. Robert A. Zampieri is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1921. Evelyn Zelmanowitz, as the Personal Representative of the Estate of Jack
 Zelmanowitz, , deceased, the late sibling of Abraham Zelmanowitz, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Evelyn Zelmanowitz, as the Personal
 Representative of the Estate of Jack Zelmanowitz, is a resident of New York. Abraham
 Zelmanowitz is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1922. Evelyn Zelmanowitz, as the Personal Representative of the Estate of Abraham
 Zelmanowitz, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Abraham Zelmanowitz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Evelyn Zelmanowitz is a
 resident of New York. Abraham Zelmanowitz is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1923. Gonzalo Morales, individually, as surviving sibling of Martin Morales
 Zempoaltecatl, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Gonzalo Morales is a resident of New York. Martin Morales Zempoaltecatl is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1924. Benjamin Morales Zempoaltecatl, individually, as surviving sibling of Martin
 Morales Zempoaltecatl, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Benjamin Morales Zempoaltecatl is a resident of Louisiana. Martin Morales
 Zempoaltecatl is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1925. Delfino Morales Zempoaltecatl, individually, as surviving sibling of Martin
 Morales Zempoaltecatl, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Delfino Morales Zempoaltecatl is a resident of Louisiana. Martin Morales
 Zempoaltecatl is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1926. Eusebio Morales Zempoaltecatl, individually, as surviving sibling of Martin
 Morales Zempoaltecatl, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Eusebio Morales Zempoaltecatl is a resident of New York. Martin Morales
 Zempoaltecatl is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.


                                            651
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 653 of 962




 1927. Glafira Morales Zempoaltecatl, individually, as surviving sibling of Martin
 Morales Zempoaltecatl, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Glafira Morales Zempoaltecatl is a resident of Louisiana. Martin Morales
 Zempoaltecatl is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1928. Jose Morales Zempoaltecatl, individually, as surviving sibling of Martin Morales
 Zempoaltecatl, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Jose Morales Zempoaltecatl is a resident of New York. Martin Morales Zempoaltecatl is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1929. Julia Morales Zempoaltecatl, individually, as surviving sibling of Martin Morales
 Zempoaltecatl, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Julia Morales Zempoaltecatl is a resident of Mexico. Martin Morales Zempoaltecatl is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1930. Maria P.M. Zempoaltecatl Cortez, individually, as surviving parent of Martin
 Morales Zempoaltecatl, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Maria P.M. Zempoaltecatl Cortez is a resident of New York. Martin Morales
 Zempoaltecatl is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1931. BNY Mellon, as the Personal Representative of the Estate of Martin Morales
 Zempoaltecatl, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Martin Morales Zempoaltecatl, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Martin Morales
 Zempoaltecatl is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1932. Debra Zeplin, as the Personal Representative of the Estate of Marc Scott Zeplin,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Marc Scott Zeplin, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Debra Zeplin is a resident of New York. Marc
 Scott Zeplin is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1933. Debra Zeplin, individually, as surviving spouse of Marc Scott Zeplin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Debra Zeplin is a resident of
 New York. Marc Scott Zeplin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                            652
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 654 of 962




 1934. Ethan Gabriel Zeplin, individually, as surviving child of Marc Scott Zeplin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ethan Gabriel Zeplin
 is a resident of New York. Marc Scott Zeplin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1935. Ryan Harris Zeplin , individually, as surviving child of Marc Scott Zeplin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ryan Harris Zeplin
 is a resident of New York. Marc Scott Zeplin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1936. John P. O'Neill, Jr., individually, as an injured person, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. John P. O'Neill, Jr. is a resident of Maryland.
 John P. O'Neill, Jr. was injured as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 1937. Elizabeth Ann Kiel, individually, as surviving sibling of John Joseph Florio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Ann Kiel
 is a resident of New York. John Joseph Florio is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1938. John Florio, individually, as surviving parent of John Joseph Florio, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Florio is a resident of
 Florida. John Joseph Florio is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1939. Timothy Geraghty, individually, as surviving sibling of Edward F. Geraghty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Timothy Geraghty is
 a resident of New York. Edward F. Geraghty is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1940. Maureen Bernadette Paglia, individually, as surviving sibling of Thomas William
 Kelly, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen
 Bernadette Paglia is a resident of Florida. Thomas William Kelly is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1941. William J. Kelly, individually, as surviving sibling of Thomas William Kelly, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William J. Kelly is a

                                              653
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 655 of 962




 resident of Florida. Thomas William Kelly is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1942. Dennis T. Kelly , individually, as surviving sibling of Thomas William Kelly, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dennis T. Kelly is a
 resident of Connecticut. Thomas William Kelly is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1943. Wendy Santimays , individually, as surviving sibling of Ronald Kloepfer, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Wendy Santimays is
 a resident of Connecticut. Ronald Kloepfer is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1944. Jaime Reali, individually, as surviving child of Ronald Kloepfer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jaime Reali is a resident of
 New York. Ronald Kloepfer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1945. Taylor Kloepfer, individually, as surviving child of Ronald Kloepfer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Taylor Kloepfer is a resident
 of New York. Ronald Kloepfer is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1946. Dawn Kloepfer, individually, as surviving spouse of Ronald Kloepfer, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dawn Kloepfer is a
 resident of New York. Ronald Kloepfer is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1947. Casey Kloepfer, individually, as surviving child of Ronald Kloepfer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Casey Kloepfer is a resident
 of New York. Ronald Kloepfer is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1948. Anthony B. McMahon, individually, as surviving sibling of Robert Dismas
 McMahon, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Anthony B. McMahon is a resident of Australia. Robert Dismas McMahon is one of the

                                            654
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 656 of 962




 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1949. Irene McMahon, individually, as surviving sibling of Robert Dismas McMahon,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Irene McMahon
 is a resident of New York. Robert Dismas McMahon is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1950. Marie Sikorsky, individually, as surviving spouse of Gregory Sikorsky, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marie Sikorsky is a
 resident of New York. Gregory Sikorsky is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1951. Steven Sikorsky, individually, as surviving child of Gregory Sikorsky, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Steven Sikorsky is a
 resident of New York. Gregory Sikorsky is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1952. Christine O'Neill, as Personal Representative of the Estate of John F. O'Neill,
 deceased, the late parent of John P. O'Neill, Sr., is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Christine O'Neill, as Personal Representative of the Estate
 of John F. O'Neill is a resident of New Jersey. John P. O'Neill, Sr. is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1953. Yon-Paul Casalduc, individually, as surviving sibling of Vivian Casalduc, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yon-Paul Casalduc
 is a resident of New York. Vivian Casalduc is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1954. Frank Camaj, individually, as surviving sibling of Roko Camaj, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Frank Camaj is a resident of
 New Jersey. Roko Camaj is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1955. Kole Camaj, individually, as surviving sibling of Roko Camaj, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kole Camaj is a resident of
 New York. Roko Camaj is one of the Decedents murdered as a result of the terrorist

                                               655
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 657 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1956. Preta Berisha, individually, as surviving sibling of Roko Camaj, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Preta Berisha is a resident of
 New Jersey. Roko Camaj is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1957. BNY Mellon, as the Personal Representative of the Estate of Humberto Ailinger,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Humberto Ailinger, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Humberto Ailinger is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1958. Frank Aversano as Personal Representative of the Estate of Francis L. Aversano,
 deceased, the late sibling of Louis F. Aversano, Jr., is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Frank Aversano as Personal Representative of the
 Estate of Francis L. Aversano is a resident of Pennsylvania. Louis F. Aversano, Jr. is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1959. Frank Aversano as Personal Representative of the Estate of Philip Aversano,
 deceased, the late sibling of Louis F. Aversano, Jr., is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Frank Aversano as Personal Representative of the
 Estate of Philip Aversano is a resident of Pennsylvania. Louis F. Aversano, Jr. is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1960. BNY Mellon, as the Personal Representative of the Estate of Ivhan Bautista,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Ivhan Bautista, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Ivhan Bautista is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1961. Anthony Chiofalo, individually, as surviving sibling of Nicholas Chiofalo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony Chiofalo is
 a resident of New York. Nicholas Chiofalo is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                              656
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 658 of 962




 1962. Donna Chiofalo, individually, as surviving sibling of Nicholas Chiofalo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Donna Chiofalo is a
 resident of North Carolina. Nicholas Chiofalo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1963. Annette Melillo, individually, as surviving sibling of Nicholas Chiofalo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Annette Melillo is a
 resident of Georgia. Nicholas Chiofalo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1964. Rosemarie Maggiore, individually, as surviving parent of Nicholas Chiofalo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rosemarie Maggiore
 is a resident of North Carolina. Nicholas Chiofalo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1965. George Coughlin, individually, as surviving sibling of John G. Coughlin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. George Coughlin is
 a resident of New Jersey. John G. Coughlin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1966. Carol L. D'Allara, as the Personal Representative of the Estate of John D'Allara,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of John D'Allara, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Carol L. D'Allara is a resident of New York. John
 D'Allara is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 1967. Daniel D'Allara as Personal Representative of the Estate of John D'Allara, Sr.,
 deceased, the late parent of John D'Allara, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Daniel D'Allara as Personal Representative of the Estate
 of John D'Allara, Sr. is a resident of New York. John D'Allara is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1968. Daniel D'Allara as Personal Representative of the Estate of Helen D'Allara,
 deceased, the late parent of John D'Allara, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Daniel D'Allara as Personal Representative of the Estate
 of Helen D'Allara is a resident of New York. John D'Allara is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out


                                             657
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 659 of 962




 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1969. John Joseph D'Allara, individually, as surviving child of John D'Allara, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Joseph
 D'Allara is a resident of New York. John D'Allara is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1970. Nicholas Michael D'Allara, individually, as surviving child of John D'Allara, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nicholas Michael
 D'Allara is a resident of New York. John D'Allara is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1971. Carol L. D'Allara, individually, as surviving spouse of John D'Allara, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Carol L. D'Allara is a
 resident of New York. John D'Allara is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 1972. Dariusz Debek, individually, as surviving spouse of Tara Debek, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dariusz Debek is a resident
 of New York. Tara Debek is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 1973. Albert DeRubbio, Jr., individually, as surviving sibling of David DeRubbio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Albert DeRubbio, Jr.
 is a resident of Texas. David DeRubbio is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1974. RoseEllen Dowdell, individually, as surviving spouse of Kevin Christopher
 Dowdell , is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 RoseEllen Dowdell is a resident of New York. Kevin Christopher Dowdell is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1975. RoseEllen Dowdell, as the Personal Representative of the Estate of Kevin
 Christopher Dowdell, deceased, on behalf of the Estate, and on behalf of all survivors and
 all legally entitled beneficiaries and family members of Kevin Christopher Dowdell , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. RoseEllen Dowdell
 is a resident of New York. Kevin Christopher Dowdell is one of the Decedents murdered

                                            658
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 660 of 962




 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1976. Patrick Kevin Dowdell, individually, as surviving child of Kevin Christopher
 Dowdell , is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Patrick Kevin Dowdell is a resident of New York. Kevin Christopher Dowdell is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1977. James Michael Dowdell, individually, as surviving child of Kevin Christopher
 Dowdell , is a Plaintiff seeking justice for the tragic events of September 11, 2001. James
 Michael Dowdell is a resident of New York. Kevin Christopher Dowdell is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1978. Catherine Chiola as Personal Representative of the Estate of Anne T. Fisher,
 deceased, the late parent of John Roger Fisher, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Catherine Chiola as Personal Representative of the Estate
 of Anne T. Fisher is a resident of New Jersey. John Roger Fisher is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1979. Laurie Gambino, individually, as surviving sibling of Thomas Gambino, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Laurie Gambino is a
 resident of Florida. Thomas Gambino, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1980. Marilyn Hess, individually, as surviving parent of Thomas Gambino, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marilyn Hess is a
 resident of Florida. Thomas Gambino, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1981. Thomas Gambino, Sr., individually, as surviving parent of Thomas Gambino, Jr.,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas
 Gambino, Sr. is a resident of Florida. Thomas Gambino, Jr. is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1982. Keith Gambino, individually, as surviving sibling of Thomas Gambino, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Keith Gambino is a
 resident of Florida. Thomas Gambino, Jr. is one of the Decedents murdered as a result of

                                              659
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 661 of 962




 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1983. Valerie Gambino, individually, as surviving sibling of Thomas Gambino, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Valerie Gambino is
 a resident of Florida. Thomas Gambino, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1984. Thomas Gambino, III, individually, as surviving child of Thomas Gambino, Jr., is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas Gambino,
 III is a resident of New York. Thomas Gambino, Jr. is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1985. Brian Gambino, individually, as surviving child of Thomas Gambino, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brian Gambino is a
 resident of New York. Thomas Gambino, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1986. Janet Gambino, individually, as surviving spouse of Thomas Gambino, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Janet Gambino is a
 resident of New York. Thomas Gambino, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1987. Janet Gambino, as the Personal Representative of the Estate of Thomas Gambino,
 Jr., deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Thomas Gambino, Jr., is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Janet Gambino is a resident of New York.
 Thomas Gambino, Jr. is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 1988. John T. Genovese, individually, as surviving sibling of Steven Genovese, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John T. Genovese is
 a resident of New York. Steven Genovese is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1989. John T. Genovese as Personal Representative of the Estate of Veronica Genovese,
 deceased, the late parent of Steven Genovese, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. John T. Genovese as Personal Representative of the Estate

                                              660
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 662 of 962




 of Veronica Genovese is a resident of New York. Steven Genovese is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1990. John T. Genovese as Personal Representative of the Estate of John G. Genovese,
 deceased, the late parent of Steven Genovese, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. John T. Genovese as Personal Representative of the Estate
 of John G. Genovese is a resident of New York. Steven Genovese is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 1991. Patti Ann Valerio, individually, as surviving sibling of Matthew J. Grzymalski , is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Patti Ann Valerio
 is a resident of New York. Matthew J. Grzymalski is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1992. Paul Joseph Grzymalski, individually, as surviving sibling of Matthew J.
 Grzymalski , is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Paul Joseph Grzymalski is a resident of New York. Matthew J. Grzymalski is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1993. Peter John Grzymalski, individually, as surviving sibling of Matthew J.
 Grzymalski , is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Peter John Grzymalski is a resident of North Carolina. Matthew J. Grzymalski is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1994. Joseph Walter Grzymalski, individually, as surviving sibling of Matthew J.
 Grzymalski , is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Joseph Walter Grzymalski is a resident of New York. Matthew J. Grzymalski is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 1995. Jo Ann McManus, individually, as surviving sibling of Matthew J. Grzymalski , is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Jo Ann McManus
 is a resident of South Carolina. Matthew J. Grzymalski is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 1996. Patricia Byrne, individually, as surviving sibling of Joseph Gullickson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Byrne is a

                                             661
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 663 of 962




 resident of New York. Joseph Gullickson is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1997. Ralph Gullickson and Patricia Byrne as Co-Personal Representatives of the Estate
 of Robert Gullickson, Sr., deceased, the late parent of Joseph Gullickson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ralph Gullickson and
 Patricia Byrne as Co-Personal Representatives of the Estate of Robert Gullickson, Sr. is a
 resident of New York. Joseph Gullickson is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 1998. Thomas Gullickson, individually, as surviving sibling of Joseph Gullickson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas Gullickson
 is a resident of New York. Joseph Gullickson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 1999. Patricia Gullickson, individually, as surviving parent of Joseph Gullickson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Gullickson
 is a resident of New York. Joseph Gullickson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2000. Ralph Gullickson, individually, as surviving sibling of Joseph Gullickson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ralph Gullickson is
 a resident of New York. Joseph Gullickson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2001. Robert Gullickson, Jr., individually, as surviving sibling of Joseph Gullickson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Gullickson,
 Jr. is a resident of New Jersey. Joseph Gullickson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2002. Jake Halloran , individually, as surviving child of Vincent G. Halloran, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jake Halloran is a
 resident of New York. Vincent G. Halloran is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                            662
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 664 of 962




 2003. Kieran Halloran, individually, as surviving child of Vincent G. Halloran, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kieran Halloran is a
 resident of New Jersey. Vincent G. Halloran is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2004. Phelan Halloran, as surviving child of Vincent G. Halloran, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Phelan Halloran is a resident of New
 York. Vincent G. Halloran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2005. Declan Halloran , individually, as surviving child of Vincent G. Halloran, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Declan Halloran is a
 resident of New York. Vincent G. Halloran is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2006. Marie Halloran , individually, as surviving spouse of Vincent G. Halloran, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marie Halloran is a
 resident of New York. Vincent G. Halloran is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2007. Marie Halloran , as the Personal Representative of the Estate of Vincent Gerard
 Halloran, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Vincent G. Halloran, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Marie Halloran is a resident of New
 York. Vincent G. Halloran is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2008. Iris Marie Holohan, individually, as surviving parent of Thomas P. Holohan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Iris Marie Holohan
 is a resident of New York. Thomas P. Holohan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2009. Mary Alice Holohan, individually, as surviving sibling of Thomas P. Holohan, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Alice
 Holohan is a resident of New York. Thomas P. Holohan is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.

                                             663
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 665 of 962




 2010. Megan Holohan, individually, as surviving sibling of Thomas P. Holohan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Megan Holohan is a
 resident of New York. Thomas P. Holohan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2011. Sean Holohan, individually, as surviving sibling of Thomas P. Holohan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sean Holohan is a
 resident of New York. Thomas P. Holohan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2012. Harold Hughes, individually, as surviving sibling of Thomas F. Hughes, Jr. , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Harold Hughes is a
 resident of New Jersey. Thomas F. Hughes, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2013. Tara Leonardi, individually, as surviving sibling of Thomas F. Hughes, Jr. , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tara Leonardi is a
 resident of Pennsylvania. Thomas F. Hughes, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2014. Kathleen Creran as Personal Representative of the Estate of Kevin T. Hughes,
 deceased, the late sibling of Thomas F. Hughes, Jr., is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Kathleen Creran is a resident of New Jersey.
 Thomas F. Hughes, Jr. is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2015. Mark F. Hughes, individually, as surviving sibling of Thomas F. Hughes, Jr. , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mark F. Hughes is a
 resident of North Carolina. Thomas F. Hughes, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2016. Deborah Bodner as Personal Representative of the Estate of Frances S. Hughes,
 deceased, the late parent of Thomas F. Hughes, Jr., is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Deborah Bodner as Personal Representative of the
 Estate of Frances S. Hughes is a resident of North Carolina. Thomas F. Hughes, Jr. is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.


                                            664
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 666 of 962




 2017. Martin S. Hughes, individually, as surviving sibling of Thomas F. Hughes, Jr. , is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Martin S. Hughes
 is a resident of California. Thomas F. Hughes, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2018. Deborah Bodner, individually, as surviving sibling of Thomas F. Hughes, Jr. , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Deborah Bodner is a
 resident of North Carolina. Thomas F. Hughes, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2019. Matthew Jordan, individually, as surviving child of Andrew Jordan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Matthew Jordan is a resident
 of New York. Andrew Jordan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2020. Kelsey Jordan, individually, as surviving child of Andrew Jordan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kelsey Jordan is a resident of
 New York. Andrew Jordan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2021. Sean Jordan, individually, as surviving child of Andrew Jordan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sean Jordan is a resident of
 New York. Andrew Jordan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2022. Lisa Jordan, individually, as surviving spouse of Andrew Jordan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lisa Jordan is a resident of
 New York. Andrew Jordan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2023. Lisa Jordan, as the Personal Representative of the Estate of Andrew Jordan,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Andrew Jordan, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Lisa Jordan is a resident of New York. Andrew
 Jordan is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.


                                            665
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 667 of 962




 2024. Philomena Ann Karczewski, individually, as surviving spouse of Charles Henry
 Karczewski, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Philomena Ann Karczewski is a resident of New Jersey. Charles Henry Karczewski is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2025. Philomena Ann Karczewski, as the Personal Representative of the Estate of
 Charles Henry Karczewski, deceased, on behalf of the Estate, and on behalf of all
 survivors and all legally entitled beneficiaries and family members of Charles Henry
 Karczewski, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Philomena Ann Karczewski is a resident of New Jersey. Charles Henry Karczewski is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2026. Mary Kelly as Personal Representative of the Estate of Robert J. Kelly, deceased,
 the late sibling of Thomas William Kelly, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Mary Kelly as Personal Representative of the Estate of
 Robert J. Kelly is a resident of New York. Thomas William Kelly is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2027. Daniel T. Kirwin, individually, as surviving sibling of Glenn Kirwin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daniel T. Kirwin is a resident
 of Rhode Island. Glenn Kirwin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2028. Jon D. Kirwin, individually, as surviving sibling of Glenn Kirwin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jon D. Kirwin is a resident of
 New York. Glenn Kirwin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2029. Peter M. Kirwin, individually, as surviving sibling of Glenn Kirwin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peter M. Kirwin is a resident
 of New York. Glenn Kirwin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2030. Andrew Kirwin, individually, as surviving sibling of Glenn Kirwin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Andrew Kirwin is a resident
 of New York. Glenn Kirwin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                            666
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 668 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2031. Jennifer Kirwin Masse, individually, as surviving sibling of Glenn Kirwin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jennifer Kirwin
 Masse is a resident of Vermont. Glenn Kirwin is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2032. Virginia Krukowski , individually, as surviving sibling of William Krukowski, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Virginia
 Krukowski is a resident of Florida. William Krukowski is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2033. Barbara Rastelli , individually, as surviving parent of William Krukowski, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara Rastelli is a
 resident of Florida. William Krukowski is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2034. Corey LaFrance, individually, as surviving sibling of Alan LaFrance, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Corey LaFrance is a resident
 of Florida. Alan LaFrance is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2035. Aubrey LaFrance, individually, as surviving sibling of Alan LaFrance, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Aubrey LaFrance is
 a resident of New York. Alan LaFrance is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2036. JoAnn Langone, individually, as surviving spouse of Thomas Langone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. JoAnn Langone is a
 resident of New York. Thomas Langone is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2037. JoAnn Langone, as the Personal Representative of the Estate of Thomas Langone,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Thomas Langone, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. JoAnn Langone is a resident of New York.
 Thomas Langone is one of the Decedents murdered as a result of the terrorist attacks of

                                             667
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 669 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2038. JoAnn Langone as Personal Representative of the Estate of Thomas Langone,
 deceased, the late sibling of Peter Langone, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. JoAnn Langone as Personal Representative of the Estate
 of Thomas Langone is a resident of New York. Peter Langone is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2039. Caitlin Langone-Brewer, individually, as surviving child of Thomas Langone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Caitlin Langone-
 Brewer is a resident of New Jersey. Thomas Langone is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2040. Brian Langone, individually, as surviving child of Thomas Langone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brian Langone is a resident
 of California. Thomas Langone is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2041. Joanne Langone, individually, as surviving sibling of Thomas Langone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joanne Langone is a
 resident of New York. Thomas Langone is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2042. Rosemarie Langone, individually, as surviving sibling of Thomas Langone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rosemarie Langone
 is a resident of New York. Thomas Langone is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2043. Rosemarie Langone as Personal Representative of the Estate of Sheila Langone,
 deceased, the late parent of Thomas Langone, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Rosemarie Langone as Personal Representative of the
 Estate of Sheila Langone is a resident of New York. Thomas Langone is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2044. Joanne Langone, individually, as surviving sibling of Peter Langone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joanne Langone is a resident
 of New York. Peter Langone is one of the Decedents murdered as a result of the terrorist

                                             668
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 670 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2045. Rosemarie Langone, individually, as surviving sibling of Peter Langone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rosemarie Langone
 is a resident of New York. Peter Langone is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2046. Terri Langone, individually, as surviving spouse of Peter Langone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Terri Langone is a resident of
 New York. Peter Langone is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2047. Terri Langone, as the Personal Representative of the Estate of Peter Langone,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Peter Langone, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Terri Langone is a resident of New York. Peter
 Langone is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2048. Terri Langone as Personal Representative of the Estate of Peter Langone,
 deceased, the late sibling of Thomas Langone, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Terri Langone as Personal Representative of the Estate of
 Peter Langone is a resident of New York. Thomas Langone is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2049. Nikki Langone, individually, as surviving child of Peter Langone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nikki Langone is a resident
 of New York. Peter Langone is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2050. Karli Langone, individually, as surviving child of Peter Langone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karli Langone is a resident of
 New York. Peter Langone is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2051. Rosemarie Langone as Personal Representative of the Estate of Sheila Langone,
 deceased, the late parent of Peter Langone, is a Plaintiff seeking justice for the tragic

                                             669
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 671 of 962




 events of September 11, 2001. Rosemarie Langone as Personal Representative of the
 Estate of Sheila Langone is a resident of New York. Peter Langone is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2052. Jose Domingo Liz, individually, as surviving sibling of Nancy Liz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jose Domingo Liz is a
 resident of New York. Nancy Liz is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2053. Jose Domingo Liz as Personal Representative of the Estate of Elena Liz,
 deceased, the late parent of Nancy Liz, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Jose Domingo Liz as Personal Representative of the Estate of
 Elena Liz is a resident of New York. Nancy Liz is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2054. William Stone Luckett, individually, as surviving child of Edward H. Luckett, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William Stone
 Luckett is a resident of New Jersey. Edward H. Luckett is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2055. Jennifer Grace Luckett, individually, as surviving child of Edward H. Luckett, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jennifer Grace
 Luckett is a resident of New Jersey. Edward H. Luckett is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2056. Lisa Luckett, individually, as surviving spouse of Edward H. Luckett, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lisa Luckett is a
 resident of New Jersey. Edward H. Luckett is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2057. Timothy Wyatt Luckett, individually, as surviving child of Edward H. Luckett, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Timothy Wyatt
 Luckett is a resident of New Jersey. Edward H. Luckett is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.



                                             670
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 672 of 962




 2058. Lisa Luckett, as the Personal Representative of the Estate of Edward H. Luckett,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Edward H. Luckett, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Lisa Luckett is a resident of New Jersey.
 Edward H. Luckett is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2059. Kathryn Crawford Luckett, individually, as surviving sibling of Edward H.
 Luckett, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Kathryn
 Crawford Luckett is a resident of Rhode Island. Edward H. Luckett is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2060. Alexandra Ward Luckett, individually, as surviving sibling of Edward H. Luckett,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Alexandra Ward
 Luckett is a resident of Florida. Edward H. Luckett is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2061. James Taylor Luckett, individually, as surviving sibling of Edward H. Luckett, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. James Taylor
 Luckett is a resident of North Carolina. Edward H. Luckett is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2062. Alexandra Ward Luckett as Personal Representative of the Estate of Diana Ward
 Luckett, deceased, the late parent of Edward H. Luckett, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Alexandra Ward Luckett as Personal
 Representative of the Estate of Diana Ward Luckett is a resident of Rhode Island. Edward
 H. Luckett is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2063. Caterina Tavolacci, individually, as surviving sibling of Anthony Luparello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Caterina Tavolacci
 is a resident of New York. Anthony Luparello is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2064. Domenica Anna Lopez, individually, as surviving sibling of Anthony Luparello,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Domenica Anna
 Lopez is a resident of New York. Anthony Luparello is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                             671
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 673 of 962




 2065. Lauren Peters, individually, as surviving child of Louis Neil Mariani, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lauren Peters is a resident of
 New York. Louis Neil Mariani is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2066. Donna Mercurio, as Personal Representative of the Estate of Edna May Massa,
 deceased, the late spouse of Nicholas G. Massa, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Donna Mercurio is a resident of New Jersey. Nicholas G.
 Massa is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2067. Donna Mercurio, individually, as surviving child of Nicholas G. Massa, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Donna Mercurio is a
 resident of New Jersey. Nicholas G. Massa is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2068. Nicholas T. Massa, individually, as surviving child of Nicholas G. Massa, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nicholas T. Massa is
 a resident of Florida. Nicholas G. Massa is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2069. Josephine R. Redd as Personal Representative of the Estate of Virgie Mattic
 Binford, deceased, the late sibling of Margaret Elaine Mattic, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Josephine R. Redd as Personal
 Representative of the Estate of Virgie Mattic Binford is a resident of Michigan. Margaret
 Elaine Mattic is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2070. Denise McDonnell, individually, as surviving sibling of Michael Patrick
 McDonnell, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Denise McDonnell is a resident of New York. Michael Patrick McDonnell is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2071. Vincenza McDonnell, individually, as surviving parent of Michael Patrick
 McDonnell, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Vincenza McDonnell is a resident of New York. Michael Patrick McDonnell is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.


                                             672
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 674 of 962




 2072. Patrick A. McDonnell, individually, as surviving parent of Michael Patrick
 McDonnell, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Patrick A. McDonnell is a resident of New York. Michael Patrick McDonnell is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2073. Kathleen Murphy, individually, as surviving sibling of Patrick McGuire, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Murphy is
 a resident of New York. Patrick McGuire is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2074. Thomas McGuire, individually, as surviving sibling of Patrick McGuire, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas McGuire is
 a resident of New York. Patrick McGuire is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2075. John McGuire, individually, as surviving sibling of Patrick McGuire, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John McGuire is a resident of
 New York. Patrick McGuire is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2076. Deborah Lynn Temple, individually, as surviving spouse of Vincent S. Morello, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Deborah Lynn
 Temple is a resident of Virginia. Vincent S. Morello is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2077. Justin John Morello, individually, as surviving child of Vincent S. Morello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Justin John Morello
 is a resident of Virginia. Vincent S. Morello is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2078. Paige Celine Morello, individually, as surviving child of Vincent S. Morello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paige Celine
 Morello is a resident of Virginia. Vincent S. Morello is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.



                                            673
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 675 of 962




 2079. John Morello, individually, as surviving parent of Vincent S. Morello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Morello is a
 resident of New York. Vincent S. Morello is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2080. Patricia Morello, individually, as surviving parent of Vincent S. Morello, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Morello is a
 resident of New York. Vincent S. Morello is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2081. Deborah Lynn Temple, as the Personal Representative of the Estate of Vincent S.
 Morello, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Vincent S. Morello, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Deborah Lynn Temple is a resident of
 Virginia. Vincent S. Morello is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2082. Colleen Golden, individually, as surviving child of Richard Morgan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Colleen Golden is a resident
 of New Jersey. Richard Morgan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2083. John Michael Nee, individually, as surviving sibling of Luke Gerard Nee, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Michael Nee is
 a resident of New York. Luke Gerard Nee is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2084. Dolores Laguerre, individually, as surviving sibling of Diana O'Connor, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dolores Laguerre is
 a resident of New York. Diana O'Connor is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2085. Jimmy Vega, individually, as surviving sibling of Diana O'Connor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jimmy Vega is a resident of
 Pennsylvania. Diana O'Connor is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                             674
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 676 of 962




 2086. Minerva Galarza, individually, as surviving sibling of Diana O'Connor, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Minerva Galarza is a
 resident of Florida. Diana O'Connor is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2087. Sonia Vega, individually, as surviving sibling of Diana O'Connor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sonia Vega is a resident of
 New York. Diana O'Connor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2088. Peter Roman, as the Personal Representative of the Estate of Miriam Roman,
 deceased, the late sibling of Diana O'Connor, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Peter Roman, as the Personal Representative of the Estate
 of Miriam Roman is a resident of New York. Diana O'Connor is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2089. Aida Cintron, individually, as surviving sibling of Diana O'Connor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Aida Cintron is a resident of
 New York. Diana O'Connor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2090. Johnny Vega, individually, as surviving sibling of Diana O'Connor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Johnny Vega is a resident of
 New York. Diana O'Connor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2091. Johnny Vega as Personal Representatives of the Estate of Maria Vega, deceased,
 the late parent of Diana O'Connor, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Johnny Vega as Personal Representatives of the Estate of Maria
 Vega is a resident of New York. Diana O'Connor is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2092. Maria Vega, as the Personal Representative of the Estate of Robert Vega,
 deceased, the late sibling of Diana O'Connor, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Maria Vega is a resident of New York. Diana O'Connor is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.

                                             675
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 677 of 962




 2093. Eddie Ottenwalder, individually, as surviving sibling of Isidro Ottenwalder, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Eddie Ottenwalder is
 a resident of Florida. Isidro Ottenwalder is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2094. Nilda Ottenwalder, individually, as surviving sibling of Isidro Ottenwalder, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nilda Ottenwalder is
 a resident of Florida. Isidro Ottenwalder is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2095. Olga Ottenwalder, individually, as surviving sibling of Isidro Ottenwalder, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Olga Ottenwalder is
 a resident of New Jersey. Isidro Ottenwalder is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2096. John Owens as Personal Representative of the Estate of Dolores Owens,
 deceased, the late parent of Peter Owens, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. John Owens as Personal Representative of the Estate of Dolores
 Owens is a resident of New York. Peter Owens is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2097. Pamela Rancke Schroeder, individually, as surviving sibling of Alfred Todd
 Rancke, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Pamela
 Rancke Schroeder is a resident of New Jersey. Alfred Todd Rancke is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2098. Elizabeth Rivas, as the Personal Representative of the Estate of Moises Norberto
 Rivas, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Moises Norberto Rivas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elizabeth Rivas is a resident
 of Pennsylvania. Moises Norberto Rivas is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2099. Elizabeth Rivas, individually, as surviving spouse of Moises Norberto Rivas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Rivas is a
 resident of Pennsylvania. Moises Norberto Rivas is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda


                                              676
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 678 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2100. Moesha Rivas, individually, as surviving child of Moises Norberto Rivas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Moesha Rivas is a
 resident of Pennsylvania. Moises Norberto Rivas is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2101. Moises Norberto Rivas, Jr., individually, as surviving child of Moises Norberto
 Rivas, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Moises
 Norberto Rivas, Jr. is a resident of Pennsylvania. Moises Norberto Rivas is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2102. Lorene Rosenberg, individually, as surviving sibling of Lloyd Rosenberg , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lorene Rosenberg is
 a resident of New York. Lloyd Rosenberg is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2103. Lawrence Rosenberg, individually, as surviving parent of Lloyd Rosenberg , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lawrence Rosenberg
 is a resident of New York. Lloyd Rosenberg is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2104. Lorene Rosenberg as Personal Representative for the Estate of Michele
 Rosenberg, deceased, the late parent of Lloyd Rosenberg, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Lorene Rosenberg as Personal Representative
 for the Estate of Michele Rosenberg is a resident of New York. Lloyd Rosenberg is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2105. Linda Amato, individually, as surviving sibling of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Linda Amato is a resident of
 New York. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2106. James Roy, individually, as surviving sibling of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Roy is a resident of
 New Jersey. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                            677
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 679 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2107. John Roy, individually, as surviving sibling of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Roy is a resident of
 New York. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2108. John Roy as Personal Representative of the Estate of Ida Mae Roy, deceased, the
 late parent of Timothy A. Roy, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. John Roy as Personal Representative of the Estate of Ida Mae Roy
 is a resident of New York. Timothy A. Roy is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2109. Gary Roy, individually, as surviving sibling of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gary Roy is a resident of
 New York. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2110. Kenneth Roy, individually, as surviving sibling of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kenneth Roy is a resident of
 Florida. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2111. Brendan Ryan, individually, as surviving sibling of Matthew Ryan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brendan Ryan is a resident of
 New York. Matthew Ryan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2112. Kathleen Sanchez , individually, as surviving child of Raymond Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Sanchez is
 a resident of Wisconsin. Raymond Sanchez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2113. Christian Santos, individually, as surviving child of Rafael Humberto Santos, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christian Santos is a
 resident of New York. Rafael Humberto Santos is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

                                             678
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 680 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2114. Jonnathan Santos, individually, as surviving child of Rafael Humberto Santos, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jonnathan Santos is
 a resident of New York. Rafael Humberto Santos is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2115. Yubelly Santos, as the Personal Representative of the Estate of Rafael Humberto
 Santos, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Rafael Humberto Santos, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Yubelly Santos is a resident
 of New York. Rafael Humberto Santos is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2116. Yubelly Santos, individually, as surviving spouse of Rafael Humberto Santos, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yubelly Santos is a
 resident of New York. Rafael Humberto Santos is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2117. Christopher John Saucedo, individually, as surviving sibling of Gregory Saucedo,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher John
 Saucedo is a resident of New York. Gregory Saucedo is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2118. Elizabeth Isacowitz as Personal Representative of the Estate of Helen Seaman,
 deceased, the late parent of Michael H. Seaman, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Elizabeth Isacowitz as Personal Representative of the
 Estate of Helen Seaman is a resident of Florida. Michael H. Seaman is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2119. Elizabeth Isacowitz, individually, as surviving sibling of Michael H. Seaman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Isacowitz
 is a resident of Florida. Michael H. Seaman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2120. Maryellen Michalenko, individually, as surviving sibling of Michael H. Seaman,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maryellen

                                             679
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 681 of 962




 Michalenko is a resident of New York. Michael H. Seaman is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2121. Paul Simon and Stu Simon, as Personal Representatives of the Estate of Philip
 Simon, deceased, the late sibling of Arthur Simon, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Paul Simon and Stu Simon, as Personal
 Representatives of the Estate of Philip Simon is a resident of Maine. Arthur Simon is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2122. Brian Stackpole, individually, as surviving child of Timothy Stackpole, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brian Stackpole is a
 resident of New York. Timothy Stackpole is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2123. Brendan Stackpole, individually, as surviving child of Timothy Stackpole, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brendan Stackpole
 is a resident of New York. Timothy Stackpole is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2124. Kaitlyn Welsh, individually, as surviving child of Timothy Stackpole, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kaitlyn Welsh is a
 resident of New York. Timothy Stackpole is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2125. Kevin Carlton, individually, as surviving child of Timothy Stackpole, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Carlton is a resident of
 New York. Timothy Stackpole is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2126. Tara A. Stackpole, individually, as surviving spouse of Timothy Stackpole, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tara A. Stackpole is
 a resident of New York. Timothy Stackpole is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2127. Terence Stackpole, individually, as surviving child of Timothy Stackpole, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Terence Stackpole is

                                             680
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 682 of 962




 a resident of New York. Timothy Stackpole is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2128. Barbara Strobert, individually, as surviving parent of Steven Frank Strobert, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara Strobert is a
 resident of New Jersey. Steven Frank Strobert is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2129. Frank Steven Strobert, individually, as surviving child of Steven Frank Strobert, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Frank Steven
 Strobert is a resident of New Jersey. Steven Frank Strobert is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2130. Tara Strobert-Nolan, individually, as surviving spouse of Steven Frank Strobert,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Tara Strobert-
 Nolan is a resident of New Jersey. Steven Frank Strobert is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2131. Kathleen Deloughery, individually, as surviving sibling of Thomas F. Swift, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen
 Deloughery is a resident of New Jersey. Thomas F. Swift is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2132. Alexander John Wallace, individually, as surviving child of Robert F. Wallace, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Alexander John
 Wallace is a resident of New York. Robert F. Wallace is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2133. Jeanine L. Fusco, individually, as surviving child of Robert F. Wallace, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jeanine L. Fusco is a
 resident of New York. Robert F. Wallace is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2134. Nancy T. Wallace, individually, as surviving spouse of Robert F. Wallace, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nancy T. Wallace is
 a resident of New York. Robert F. Wallace is one of the Decedents murdered as a result

                                             681
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 683 of 962




 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2135. Nancy T. Wallace as Personal Representative of the Estate of Daniel Wallace,
 deceased, the late child of Robert F. Wallace, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Nancy T. Wallace as Personal Representative of the Estate
 of Daniel Wallace is a resident of New York. Robert F. Wallace is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2136. Karin Charles, individually, as surviving spouse of Kenneth Zelman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karin Charles is a resident of
 Massachusetts. Kenneth Zelman is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2137. Karin Charles, as the Personal Representative of the Estate of Kenneth Zelman,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Kenneth Zelman, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Karin Charles is a resident of Massachusetts.
 Kenneth Zelman is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2138. Olivia Zelman Charles, individually, as surviving child of Kenneth Zelman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Olivia Zelman
 Charles is a resident of Massachusetts. Kenneth Zelman is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2139. Ethan Zelman Charles, individually, as surviving child of Kenneth Zelman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ethan Zelman
 Charles is a resident of Massachusetts. Kenneth Zelman is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2140. Justin Johnson, individually, as surviving child of Janice Brown, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Justin Johnson is a resident of
 New Jersey. Janice Brown is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2141. George Coughlin, as Personal Representative of the Estate of Mary Elizabeth
 Coughlin, deceased, the late parent of John G. Coughlin, is a Plaintiff seeking justice for

                                             682
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 684 of 962




 the tragic events of September 11, 2001. George Coughlin, as Personal Representative of
 the Estate of Mary Elizabeth Coughlin is a resident of New Jersey. John G. Coughlin is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2142. Beverly Epps, individually, as surviving sibling of Christopher Samuel Epps, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Beverly Epps is a
 resident of South Carolina. Christopher Samuel Epps is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2143. Debra Epps, individually, as surviving sibling of Christopher Samuel Epps, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Debra Epps is a
 resident of New York. Christopher Samuel Epps is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2144. Valerie Epps Kendall, individually, as surviving sibling of Christopher Samuel
 Epps, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Valerie
 Epps Kendall is a resident of New York. Christopher Samuel Epps is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2145. Chundera Epps, individually, as surviving sibling of Christopher Samuel Epps, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Chundera Epps is a
 resident of New York. Christopher Samuel Epps is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2146. Robert Epps, individually, as surviving sibling of Christopher Samuel Epps, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Epps is a
 resident of Pennsylvania. Christopher Samuel Epps is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2147. Anne Ielpi, individually, as surviving parent of Jonathan Ielpi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Anne Ielpi is a resident of
 New York. Jonathan Ielpi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2148. AnneMarie Holleran, individually, as surviving sibling of Jonathan Ielpi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. AnneMarie Holleran

                                            683
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 685 of 962




 is a resident of New York. Jonathan Ielpi is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2149. Donna A. Cavanaugh, as Personal Representative of the Estate of Rose C.
 Karczewski, deceased, the late parent of Charles Henry Karczewski, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Donna A. Cavanaugh, as Personal
 Representative of the Estate of Rose C. Karczewski is a resident of New Jersey. Charles
 Henry Karczewski is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2150. Donna Cavanaugh, individually, as surviving sibling of Charles Henry
 Karczewski, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Donna Cavanaugh is a resident of New Jersey. Charles Henry Karczewski is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2151. Donna A. Cavanaugh as Personal Representative of the Estate of Henry
 Karczewski, deceased, the late parent of Charles Henry Karczewski, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Donna A. Cavanaugh is a
 resident of New Jersey. Charles Henry Karczewski is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2152. Maurice Corbett Kearney, as Personal Representative of the Estate of Lorraine
 Kearney, deceased, the late parent of Lisa Kearney-Griffin, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Maurice Corbett Kearney, as Personal
 Representative of the Estate of Lorraine Kearney is a resident of Delaware. Lisa Kearney-
 Griffin is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2153. Virginia Krukowski, as Personal Representative of the Estate of Walter
 Krukowski , deceased, the late parent of William Krukowski, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Virginia Krukowski, as Personal
 Representative of the Estate of Walter Krukowski is a resident of Florida. William
 Krukowski is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2154. Maureen Simpson, individually, as surviving sibling of Patrick McGuire, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Simpson is
 a resident of New York. Patrick McGuire is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                            684
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 686 of 962




 2155. James McGuire, individually, as surviving sibling of Patrick McGuire, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James McGuire is a
 resident of Massachusetts. Patrick McGuire is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2156. Jody Myers, as Personal Representative of the Estate of Terrence McGuire ,
 deceased, the late sibling of Patrick McGuire, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Jody Myers, as Personal Representative of the Estate of
 Terrence McGuire is a resident of Massachusetts. Patrick McGuire is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2157. John Owens, as Personal Representative of the Estate of Peter J. Owens, Sr.,
 deceased, the late parent of Peter Owens, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. John Owens, as Personal Representative of the Estate of Peter J.
 Owens, Sr. is a resident of New York. Peter Owens is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2158. John Owens, as Personal Representative of the Estate of Kathleen Owens,
 deceased, the late sibling of Peter Owens, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. John Owens, as Personal Representative of the Estate of
 Kathleen Owens is a resident of New York. Peter Owens is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2159. Douglas Roy, individually, as surviving sibling of Timothy A. Roy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Douglas Roy is a resident of
 Florida. Timothy A. Roy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2160. Barbara Strobert, as Personal Representative of the Estate of Frank Strobert,
 deceased, the late parent of Steven Frank Strobert, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Barbara Strobert, as Personal Representative of the
 Estate of Frank Strobert is a resident of New Jersey. Steven Frank Strobert is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2161. Joan Ruth Puwalski, individually, as surviving spouse of Steven J. Bates, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joan Ruth Puwalski
 is a resident of New York. Steven J. Bates is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                              685
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 687 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2162. Jeffrey A. Bloom, Esq., as Personal Representative of the Estate of Hazel Lillian
 Mariani, deceased, the late parent of Louis Mariani, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jeffrey A. Bloom, Esq., as Personal Representative
 of the Estate of Hazel Lillian Mariani is a resident of Massachusetts. Louis Mariani is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2163. Bruce Mariani, individually, as surviving sibling of Louis Mariani, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Bruce Mariani is a resident of
 New Hampshire. Louis Mariani is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2164. Elizabeth Miller, individually, as surviving child of Douglas Miller, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elizabeth Miller is a resident
 of Pennsylvania. Douglas Miller is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2165. Laura Nogaj, individually, as surviving spouse of Stephen Philip Morris, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Laura Nogaj is a
 resident of Florida. Stephen Philip Morris is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2166. Jude Monteserrato a/k/a Judith Monteserrato, individually, as surviving spouse of
 John Michael Sbarbaro, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Jude Monteserrato a/k/a Judith Monteserrato is a resident of Rhode Island. John
 Michael Sbarbaro is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2167. Tara Strobert-Nolan, as the Personal Representative of the Estate of Steven Frank
 Strobert, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Steven Frank Strobert, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Tara Strobert-Nolan is a resident of
 New Jersey. Steven Frank Strobert is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2168. John Doe 70, being intended to designate the Personal Representative of the
 Estate of Steven J. Bates, deceased, said name being fictitious, her/his true name is not

                                             686
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 688 of 962




 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Steven J. Bates, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Steven J. Bates is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2169. John Doe 71, being intended to designate the Personal Representative of the
 Estate of Stephen Philip Morris, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Stephen Philip Morris, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Stephen Philip Morris is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2170. John Doe 72, being intended to designate the Personal Representative of the
 Estate of John Michael Sbarbaro, deceased, said name being fictitious, her/his true name
 is not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of John Michael Sbarbaro, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. John Michael Sbarbaro is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2171. Chundera Epps, as Personal Representative of the Estate of Geneva Epps,
 deceased, the late parent of Christopher Samuel Epps, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Chundera Epps, as Personal Representative of the
 Estate of Geneva Epps is a resident of New York. Christopher Samuel Epps is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2172. Chundera Epps, as Personal Representative of the Estate of Christopher Samuel
 Epps, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Christopher Samuel Epps, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Chundera Epps is a resident
 of New York Christopher Samuel Epps is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                              687
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 689 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2173. Nicole Mayer, individually, as surviving child of Peter J. Carroll, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicole Mayer is a resident of
 New York. Peter J. Carroll is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2174. Pete Carroll, individually, as surviving child of Peter J. Carroll, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Pete Carroll is a resident of
 New York. Peter J. Carroll is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2175. Christopher Carroll, individually, as surviving child of Peter J. Carroll, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Carroll
 is a resident of New York. Peter J. Carroll is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2176. Michael Carroll, individually, as surviving child of Peter J. Carroll, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Carroll is a resident
 of New York. Peter J. Carroll is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2177. Kevin Carroll, individually, as surviving sibling of Peter J. Carroll, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Carroll is a resident of
 New York. Peter J. Carroll is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2178. Patricia D'Agata, individually, as surviving sibling of Peter J. Carroll, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia D'Agata is a
 resident of New York. Peter J. Carroll is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2179. Thomas Gonzalez, Jr., as the Personal Representative of the Estate of Jenine
 Gonzalez, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Jenine Gonzalez, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Thomas Gonzalez, Jr. is a resident of
 New York. Jenine Gonzalez is one of the Decedents murdered as a result of the terrorist

                                             688
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 690 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2180. Thomas Gonzalez, Jr., individually, as surviving sibling of Jenine Gonzalez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas Gonzalez,
 Jr. is a resident of New York. Jenine Gonzalez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2181. Laura Israilov, as Personal Representative of the Estate of Malkisadikh Ilkanayev,
 deceased, the late parent of Daniel Ilkanayev, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Laura Israilov, as Personal Representative of the Estate of
 Malkisadikh Ilkanayev is a resident of New York. Daniel Ilkanayev is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2182. Laura Israilov, individually, as surviving sibling of Daniel Ilkanayev, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Laura Israilov is a resident of
 New York. Daniel Ilkanayev is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2183. Brendan Ryan, as Personal Representative of the Estate of Teresa Ryan, deceased,
 the late parent of Matthew Ryan, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Brendan Ryan, as Personal Representative of the Estate of Teresa
 Ryan is a resident of New York. Matthew Ryan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2184. Michael Stackpole, as Personal Representative of the Estate of Edward Stackpole,
 Sr., deceased, the late parent of Timothy Stackpole, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Michael Stackpole, as Personal Representative of
 the Estate of Edward Stackpole, Sr. is a resident of New York. Timothy Stackpole is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2185. Janice Dukes, individually, as surviving spouse of Donnie Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Janice Dukes is a resident of
 New York. Donnie Taylor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             689
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 691 of 962




 2186. Janice Dukes, as the Personal Representative of the Estate of Donnie Taylor,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Donnie Taylor, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Janice Dukes is a resident of New York. Donnie
 Taylor is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2187. Kristina Nicole York, individually, as surviving child of Raymond York, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kristina Nicole York
 is a resident of New York. Raymond York is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2188. Joan York, as the Personal Representative of the Estate of Raymond York,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Raymond York, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Joan York is a resident of New York. Raymond
 York is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2189. Joan York, individually, as surviving spouse of Raymond York, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joan York is a resident of
 New York. Raymond York is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2190. Jesse Kemp, individually, as surviving child of Timothy Haviland, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jesse Kemp is a resident of
 South Carolina. Timothy Haviland is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2191. John Doe 83, being intended to designate the Personal Representative of the
 Estate of Timothy Haviland, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Timothy Haviland, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Timothy Haviland is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             690
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 692 of 962




 2192. Barbara Keane, as Personal Representative of the Estate of Amy Haviland,
 deceased, the late spouse of Timothy Haviland, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Barbara Keane, as Personal Representative of the Estate of
 Amy Haviland is a resident of Pennsylvania. Timothy Haviland is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2193. Sean McShane, individually, as surviving child of Terence McShane, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sean McShane is a resident
 of New York. Terence McShane is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2194. Aidan McShane, individually, as surviving child of Terence McShane, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Aidan McShane is a
 resident of Florida. Terence McShane is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2195. Colin McShane, individually, as surviving child of Terence McShane, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Colin McShane is a
 resident of New York. Terence McShane is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2196. Catherine McShane, individually, as surviving spouse of Terence McShane, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Catherine McShane
 is a resident of New York. Terence McShane is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2197. Catherine McShane, as the Personal Representative of the Estate of Terence
 McShane, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Terence McShane, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Catherine McShane is a resident of
 New York. Terence McShane is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2198. Phylicia Ruggieri, individually, as surviving child of Joseph Rivelli, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Phylicia Ruggieri is
 a resident of New York. Joseph Rivelli, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and


                                             691
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 693 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2199. Matthew Casey, individually, as surviving child of Kathleen Hunt-Casey, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew Casey is a
 resident of New Jersey. Kathleen Hunt-Casey is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2200. Kevin Casey, individually, as surviving spouse of Kathleen Hunt-Casey, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kevin Casey is a
 resident of New Jersey. Kathleen Hunt-Casey is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2201. Kevin Casey, as the Personal Representative of the Estate of Kathleen Hunt-
 Casey, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Kathleen Hunt-Casey, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Kevin Casey is a resident of New
 Jersey. Kathleen Hunt-Casey is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2202. Theresa Fiorelli, individually, as surviving spouse of Stephen J. Fiorelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Theresa Fiorelli is a
 resident of New Jersey. Stephen J. Fiorelli is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2203. Theresa Fiorelli, as the Personal Representative of the Estate of Stephen J.
 Fiorelli, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Stephen J. Fiorelli, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Theresa Fiorelli is a resident of New
 Jersey. Stephen J. Fiorelli is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2204. Stephen J. Fiorelli, Jr., individually, as surviving child of Stephen J. Fiorelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephen J. Fiorelli,
 Jr. is a resident of New Jersey. Stephen J. Fiorelli is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.



                                             692
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 694 of 962




 2205. Christine Epstein, individually, as surviving child of Stephen J. Fiorelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christine Epstein is
 a resident of New Jersey. Stephen J. Fiorelli is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2206. William Fiorelli, individually, as surviving sibling of Stephen J. Fiorelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William Fiorelli is a
 resident of New Jersey. Stephen J. Fiorelli is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2207. Kenneth Fiorelli, individually, as surviving sibling of Stephen J. Fiorelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kenneth Fiorelli is a
 resident of New Jersey. Stephen J. Fiorelli is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2208. Karen Fiorelli, individually, as surviving sibling of Stephen J. Fiorelli, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Karen Fiorelli is a
 resident of New Jersey. Stephen J. Fiorelli is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2209. Kaitlyn Fisher, individually, as surviving child of John Roger Fisher, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kaitlyn Fisher is a resident of
 California. John Roger Fisher is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2210. Margaret Fisher, individually, as surviving child of John Roger Fisher, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Margaret Fisher is a
 resident of New York. John Roger Fisher is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2211. Brian Wilkes, individually, as surviving spouse of Lorraine Antigua, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brian Wilkes is a resident of
 New Jersey. Lorraine Antigua is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             693
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 695 of 962




 2212. John Doe 76, being intended to designate the Personal Representative of the
 Estate of Lorraine Antigua, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Lorraine Antigua, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Lorraine Antigua is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2213. Mildred Calderon, individually, as surviving sibling of Vivian Casalduc, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mildred Calderon is
 a resident of North Carolina. Vivian Casalduc is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2214. Wendell Acevedo, individually, as surviving sibling of Vivian Casalduc, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Wendell Acevedo is
 a resident of North Carolina. Vivian Casalduc is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2215. Eugene A. Harris, individually, as surviving sibling of Peggie Hurt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eugene A. Harris is a resident
 of New York. Peggie Hurt is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2216. Cynthia M. Harris, individually, as surviving sibling of Peggie Hurt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Cynthia M. Harris is a
 resident of New York. Peggie Hurt is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2217. Anthony D. Harris, individually, as surviving sibling of Peggie Hurt, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Anthony D. Harris is a
 resident of Maryland. Peggie Hurt is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2218. Shawn Patrick, individually, as surviving sibling of James Matthew Patrick, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shawn Patrick is a
 resident of New York. James Matthew Patrick is one of the Decedents murdered as a

                                            694
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 696 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2219. Christopher Ruggieri, individually, as surviving child of Joseph Rivelli, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Ruggieri
 is a resident of New York. Joseph Rivelli, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2220. Aidan Salamone, individually, as surviving child of John Patrick Salamone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Aidan Salamone is a
 resident of New Jersey. John Patrick Salamone is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2221. Alexander Salamone, individually, as surviving child of John Patrick Salamone, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Alexander
 Salamone is a resident of New Jersey. John Patrick Salamone is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2222. Anna Salamone, individually, as surviving child of John Patrick Salamone, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anna Salamone is a
 resident of New Jersey. John Patrick Salamone is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2223. James Babakitis, as Personal Representative of the Estate of Kevin Babakitis,
 deceased, the late child of Arlene T. Babakitis, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. James Babakitis, as Personal Representative of the Estate
 of Kevin Babakitis is a resident of the Dominican Republic. Arlene T. Babakitis is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2224. Brieann Centro, individually, as surviving child of Alexander Centro, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brieann Centro is a
 resident of New York. Alexander Centro, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2225. Alexander Centro, individually, as surviving child of Alexander Centro, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexander Centro is
 a resident of New York. Alexander Centro, Jr. is one of the Decedents murdered as a

                                              695
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 697 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2226. Alexander Centro, as the Personal Representative of the Estate of Alexander
 Centro, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Alexander Centro, Jr., is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Alexander Centro is a resident of
 New York. Alexander Centro, Jr. is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2227. Craig Centro, individually, as surviving child of Alexander Centro, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Craig Centro is a
 resident of New York. Alexander Centro, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2228. Craig Centro, as Personal Representative of the Estate of Italia Centro, deceased,
 the late parent of Alexander Centro, Jr., is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Craig Centro, as Personal Representative of the Estate of Italia
 Centro is a resident of New York. Alexander Centro, Jr. is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2229. Amy Eberling, individually, as surviving spouse of Dean P. Eberling, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Amy Eberling is a resident of
 New Jersey. Dean P. Eberling is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2230. Amy Eberling, as the Personal Representative of the Estate of Dean P. Eberling,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Dean P. Eberling, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Amy Eberling is a resident of New Jersey. Dean
 P. Eberling is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2231. Corinne Ardente, individually, as surviving child of Dean P. Eberling, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Corinne Ardente is a
 resident of New Jersey. Dean P. Eberling is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                              696
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 698 of 962




 2232. Lauren Eberling, individually, as surviving child of Dean P. Eberling, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lauren Eberling is a
 resident of New Jersey. Dean P. Eberling is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2233. Christopher Ahearn, individually, as surviving child of Brian Ahearn, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Christopher Ahearn is a
 resident of New York. Brian Ahearn is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2234. Lauren Sosa, individually, as surviving child of Brian Ahearn, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lauren Sosa is a resident of
 New York. Brian Ahearn is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2235. Debra Ahearn, individually, as surviving spouse of Brian Ahearn, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Debra Ahearn is a resident of
 New York. Brian Ahearn is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2236. Marian Owens, individually, as surviving sibling of Kenneth Phelan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marian Owens is a resident
 of New York. Kenneth Phelan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2237. Sami Nassar, as the Personal Representative of the Estate of Jude Moussa,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Jude Moussa, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Sami Nassar is a resident of Massachusetts. Jude
 Moussa is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2238. John Morris III, individually, as surviving sibling of Seth Morris, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Morris III is a resident
 of Pennsylvania. Seth Morris is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                             697
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 699 of 962




 2239. Emily Cournoyer, as Personal Representative of the Estate of Alice Beaton,
 deceased, the late sibling of John Cahill, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Emily Cournoyer, as Personal Representative of the Estate of
 Alice Beaton is a resident of Massachusetts. John Cahill is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2240. Eric Johnson, as Personal Representative of the Estate of Janice Brown, deceased,
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Janice Brown, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Eric Johnson is a resident of New Jersey. Janice Brown is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2241. Aidan Halloran, individually, as surviving child of Vincent G. Halloran, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Aidan Halloran is a
 resident of New York. Vincent G. Halloran is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2242. Conor Halloran , individually, as surviving child of Vincent G. Halloran, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Conor Halloran is a
 resident of the District of Columbia. Vincent G. Halloran is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2243. Eileen Lunder Baynes, individually, as surviving sibling of Christopher Lunder, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Eileen Lunder
 Baynes is a resident of New York. Christopher Lunder is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2244. Hector Mejia, individually, as surviving sibling of Manuel Mejia, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Hector Mejia is a resident of
 New York. Manuel Mejia is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2245. Diane Brierley, individually, as surviving sibling of Mary Catherine Boffa, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Diane Brierley is a
 resident of New Jersey. Mary Catherine Boffa is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                              698
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 700 of 962




 2246. Margaret Trudeau, individually, as surviving sibling of Mary Catherine Boffa, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Margaret Trudeau is
 a resident of New Jersey. Mary Catherine Boffa is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2247. John Boffa, individually, as surviving spouse of Mary Catherine Boffa, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Boffa is a
 resident of New Jersey. Mary Catherine Boffa is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2248. John Boffa, as the Co-Personal Representative of the Estate of Mary Catherine
 Boffa, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Mary Catherine Boffa, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. John Boffa is a resident of New
 Jersey. Mary Catherine Boffa is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2249. John T. Genovese, as the Personal Representative of the Estate of Steven
 Genovese, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Steven Genovese, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. John T. Genovese is a resident of
 New York. Steven Genovese is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2250. August Bernaerts, individually, as surviving sibling of Donna Bernaerts-Kearns,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. August
 Bernaerts is a resident of New Jersey. Donna Bernaerts-Kearns is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2251. Ellen Macri, individually, as surviving sibling of Katherine McGarry Noack, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ellen Macri is a
 resident of North Carolina. Katherine McGarry Noack is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2252. Patrick McGarry, individually, as surviving sibling of Katherine McGarry Noack,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Patrick McGarry
 is a resident of Florida. Katherine McGarry Noack is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

                                             699
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 701 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2253. Marianne Burke, individually, as surviving sibling of Katherine McGarry Noack,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Marianne Burke
 is a resident of Georgia. Katherine McGarry Noack is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2254. Deborah M. Brink, individually, as surviving sibling of Katherine McGarry
 Noack, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Deborah
 M. Brink is a resident of Georgia. Katherine McGarry Noack is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2255. Francis J. Moody as Personal Representative of the Estate of Angelina Moody,
 deceased, the late parent of Thomas Moody, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Francis J. Moody as Personal Representative of the Estate
 of Angelina Moody is a resident of New York. Thomas Moody is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2256. Francis J. Moody, individually, as surviving sibling of Thomas Moody, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Francis J. Moody is
 a resident of New York. Thomas Moody is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2257. Lorraine Antoniello, individually, as surviving sibling of Thomas Moody, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lorraine Antoniello
 is a resident of New York. Thomas Moody is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2258. Michael L. Moody, individually, as surviving sibling of Thomas Moody, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael L. Moody is
 a resident of Florida. Thomas Moody is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2259. Patrick Nee, individually, as surviving child of Luke Gerard Nee, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patrick Nee is a resident of
 New York. Luke Gerard Nee is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                            700
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 702 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2260. Irene Lavelle, as the Personal Representative of the Estate of Luke G. Nee,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Luke Gerard Nee, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Irene Lavelle is a resident of New York. Luke
 Gerard Nee is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2261. Irene Lavelle, individually, as surviving spouse of Luke Gerard Nee, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Irene Lavelle is a resident of
 New York. Luke Gerard Nee is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2262. Jean Diaz, individually, as surviving sibling of Kenneth John Phelan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jean Diaz is a resident of
 New York. Kenneth John Phelan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2263. Lourdes Mireya Mejia De La Cruz, individually, as surviving sibling of Manuel
 Mejia, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Lourdes
 Mireya Mejia De La Cruz is a resident of New York. Manuel Mejia is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2264. Rafael Mejia, individually, as surviving sibling of Manuel Mejia, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rafael Mejia is a resident of
 New York. Manuel Mejia is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2265. James Morris, as Personal Representative of the Estate of Barbara Morris,
 deceased, the late parent of Seth Morris, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. James Morris, as Personal Representative of the Estate of Barbara
 Morris, is a resident of Virginia. Seth Morris is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2266. James Morris as Personal Representative of John R. Morris, Jr., deceased, the late
 parent of Seth Morris, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. James Morris is a resident of Virginia. Seth Morris is one of the Decedents

                                              701
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 703 of 962




 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2267. James Morris, individually, as surviving sibling of Seth Morris, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Morris is a resident of
 Virginia. Seth Morris is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2268. John Doe 79, being intended to designate the Personal Representative of the
 Estate of Raymond Sanchez, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Raymond Sanchez, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Raymond Sanchez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2269. Jennifer Holohan, individually, as surviving sibling of Thomas P. Holohan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jennifer Holohan is
 a resident of New York. Thomas P. Holohan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2270. John Doe 82 as Personal Representative of theEstate of Guiseppe Luparello,
 deceased, the late sibling of Anthony Luparello, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anthony Luparello is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2271. John Doe 103, as the Personal Representative of the Estate of Rosa Campisi,
 deceased, the late sibling of Anthony Luparello, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anthony Luparello is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2272. Patrice A. Regan, as the Personal Representative of the Estate of Nicholas G.
 Massa, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Nicholas G. Massa, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Patrice A. Regan is a resident of
 Florida. Nicholas G. Massa is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                              702
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 704 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2273. Gloria Eleanor Moran, individually, as surviving sibling of Nicholas G. Massa, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Gloria Eleanor
 Moran is a resident of New York. Nicholas G. Massa is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2274. Colleen Golden , as the Personal Representative of the Estate of Richard Morgan,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Richard Morgan, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Colleen Golden is a resident of New Jersey. Richard
 Morgan is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2275. Colleen Golden as Personal Representative of the Estate of Patricia Morgan,
 deceased, the late spouse of Richard Morgan, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Colleen Golden as Personal Representative of the Estate
 of Patricia Morgan is a resident of New Jersey. Richard Morgan is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2276. Brendan Ielpi, individually, as surviving sibling of Jonathan Ielpi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brendan Ielpi is a resident of
 New York. Jonathan Ielpi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2277. Melissa Brengel, individually, as surviving sibling of Jonathan Ielpi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Melissa Brengel is a resident
 of New York. Jonathan Ielpi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2278. Freddye Jean Carter-Perry, as Personal Representative of the Estate of Fred A.
 Carter, deceased, the late spouse of Angelene C. Carter, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Freddye Jean Carter-Perry, as Personal
 Representative of the Estate of Fred A. Carter is a resident of Maryland. Angelene C.
 Carter is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2279. Rachel Uchitel, individually, as surviving spouse of Andrew O’Grady, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rachel Uchitel is a

                                             703
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 705 of 962




 resident of New York. Andrew O’Grady is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2280. John Doe 80, being intended to designate the Personal Representative of the
 Estate of Andrew O'Grady, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Andrew O’Grady, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Andrew O’Grady is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2281. Maureen Sullivan, individually, as surviving spouse of Derek O. Sword, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Sullivan is
 a resident of New York. Derek O. Sword is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2282. John Doe 81, being intended to designate the Personal Representative of the
 Estate of Derek O. Sword, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Derek O. Sword, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Derek O. Sword is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2283. Jose D. Liz as Guardian of Maria Liz, individually, as surviving sibling of Nancy
 Liz, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Liz is
 a resident of New York. Nancy Liz is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2284. Maya Simon, individually, as surviving child of Kenneth Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maya Simon is a resident of
 New Jersey. Kenneth Simon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             704
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 706 of 962




 2285. Karen Simon, individually, as surviving spouse of Kenneth Simon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karen Simon is a resident of
 New Jersey. Kenneth Simon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2286. Stanley Frank, individually, as surviving parent of Gary J. Frank, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stanley Frank is a resident of
 New Jersey. Gary J. Frank is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2287. Thomas Shea as Personal Representative of the Estate of Joan Shea, deceased, the
 late parent of Joseph Shea, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Thomas Shea as Personal Representative of the Estate of Joan Shea is a
 resident of New Jersey. Joseph Shea is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2288. Thomas Shea as Personal Representative of the Estate of Joan Shea, deceased, the
 late parent of Daniel Shea, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Thomas Shea as Personal Representative of the Estate of Joan Shea is a
 resident of New Jersey. Daniel Shea is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2289. Mindy Gabler, individually, as surviving spouse of Fredric Gabler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mindy Gabler is a resident of
 New York. Fredric Gabler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2290. Mindy Gabler, as the Personal Representative of the Estate of Fredric Gabler,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Fredric Gabler, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Mindy Gabler is a resident of New York. Fredric
 Gabler is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2291. Alexis Gabler, individually, as surviving child of Fredric Gabler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alexis Gabler is a resident of
 New York. Fredric Gabler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                             705
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 707 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2292. Howard Gabler, individually, as surviving parent of Fredric Gabler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Howard Gabler is a resident
 of New York. Fredric Gabler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2293. Leslie Gabler, individually, as surviving parent of Fredric Gabler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Leslie Gabler is a resident of
 New York. Fredric Gabler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2294. Jolie Gabler, individually, as surviving sibling of Fredric Gabler, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jolie Gabler is a resident of
 New York. Fredric Gabler is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2295. Steven Romagnolo, individually, as surviving sibling of Joseph M. Romagnolo, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Steven Romagnolo
 is a resident of New York. Joseph M. Romagnolo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2296. Jonathan Martinez, individually, as surviving child of Robert G. Martinez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jonathan Martinez is
 a resident of Arizona. Robert G. Martinez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2297. Barbara Keane as Personal Representative of the Estate of Amy Haviland,
 deceased, the late sibling of Robert Spear, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Barbara Keane as Personal Representative of the Estate of
 Amy Haviland is a resident of Pennsylvania. Robert Spear is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2298. Nicholas Kemp, individually, as surviving child of Timothy Haviland, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nicholas Kemp is a
 resident of New York. Timothy Haviland is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                             706
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 708 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2299. John Doe 84, being intended to designate the Personal Representative of the
 Estate of Donna Bernaerts-Kearns, deceased, said name being fictitious, her/his true
 name is not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Donna Bernaerts-Kearns, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Donna Bernaerts-Kearns is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2300. Bradley D. Noack, as Personal Representative of the Estate of Katherine McGarry
 Noack, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Katherine McGarry Noack, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Bradley D. Noack is a
 resident of New Jersey. Katherine McGarry Noack is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2301. Patricia Kavanagh Edwards, individually, as surviving spouse of Dennis Edwards,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia
 Kavanagh Edwards is a resident of New York. Dennis Edwards is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2302. Patricia Kavanagh Edwards, as the Personal Representative of the Estate of
 Dennis Edwards, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Dennis Edwards, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Kavanagh Edwards
 is a resident of New York. Dennis Edwards is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2303. Alexa Marie Edwards, individually, as surviving child of Dennis Edwards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexa Marie
 Edwards is a resident of New York. Dennis Edwards is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2304. Sheila Edwards Doyle as Personal Representative of the Estate of Julia Edwards,
 deceased, the late parent of Dennis Edwards, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Sheila Edwards Doyle as Personal Representative of the

                                              707
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 709 of 962




 Estate of Julia Edwards is a resident of New York. Dennis Edwards is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2305. Morgan Edwards, individually, as surviving sibling of Dennis Edwards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Morgan Edwards is
 a resident of New York. Dennis Edwards is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2306. Sheila Doyle, individually, as surviving sibling of Dennis Edwards, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sheila Doyle is a resident of
 New York. Dennis Edwards is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2307. Elizabeth Cortese, individually, as surviving sibling of Dennis Edwards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Cortese is
 a resident of New York. Dennis Edwards is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2308. Eileen O'Brien, individually, as surviving sibling of Dennis Edwards, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eileen O'Brien is a resident
 of New York. Dennis Edwards is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2309. Gale DiFrancisco, individually, as surviving sibling of Donald A. Foreman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gale DiFrancisco is
 a resident of New York. Donald A. Foreman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2310. Eric Ogren, individually, as surviving sibling of Joseph J. Ogren, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eric Ogren is a resident of
 New Jersey. Joseph J. Ogren is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2311. Patricia Golden, individually, as surviving sibling of Joseph J. Ogren, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Golden is a resident
 of New Jersey. Joseph J. Ogren is one of the Decedents murdered as a result of the

                                             708
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 710 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2312. Shaun Rodgers, individually, as surviving sibling of Venesha Richards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shaun Rodgers is a
 resident of New Jersey. Venesha Richards is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2313. Robert R. Ploger, IV, individually, as surviving child of Robert R. Ploger III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert R. Ploger, IV
 is a resident of Arizona. Robert R. Ploger III is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2314. Edward Goldstein, individually, as surviving spouse of Michelle H. Goldstein, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Edward Goldstein
 is a resident of New Jersey. Michelle H. Goldstein is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2315. Patricia Singh, individually, as surviving child of James T. Lynch, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Singh is a resident of
 Virginia. James T. Lynch is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2316. Ber Barry Aron, individually, as surviving parent of Joshua Aron, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ber Barry Aron is a resident
 of Maryland. Joshua Aron is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2317. Dana Aron Weiner, individually, as surviving sibling of Joshua Aron, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dana Aron Weiner
 is a resident of Illinois. Joshua Aron is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2318. Barbara Ann Sullivan, individually, as surviving sibling of James W. Barbella, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara Ann
 Sullivan is a resident of Texas. James W. Barbella is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

                                             709
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 711 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2319. Dorothy Blanding as Personal Representative of the Estate of Harry Blanding, Sr.,
 deceased, the late parent of Harry Blanding, Jr., is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Dorothy Blanding as Personal Representative of the Estate
 of Harry Blanding, Sr. is a resident of New Jersey. Harry Blanding, Jr. is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2320. Anthony Bocchi, individually, as surviving sibling of John Bocchi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Anthony Bocchi is a resident
 of New Jersey. John Bocchi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2321. Elena Bocchi, individually, as surviving parent of John Bocchi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elena Bocchi is a resident of
 New Jersey. John Bocchi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2322. Matthew Bocchi, individually, as surviving child of John Bocchi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Matthew Bocchi is a resident
 of New Jersey. John Bocchi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2323. Michael Bocchi, individually, as surviving child of John Bocchi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Bocchi is a resident
 of New Jersey. John Bocchi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2324. Michele Bocchi-Sandello, individually, as surviving spouse of John Bocchi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michele Bocchi-
 Sandello is a resident of New Jersey. John Bocchi is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2325. Nicholas Bocchi, individually, as surviving child of John Bocchi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicholas Bocchi is a resident
 of New Jersey. John Bocchi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                              710
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 712 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2326. Paul Bocchi, individually, as surviving child of John Bocchi, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Paul Bocchi is a resident of New
 Jersey. John Bocchi is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2327. Ann Bocchi-Schwimmer , individually, as surviving sibling of John Bocchi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ann Bocchi-
 Schwimmer is a resident of New Jersey. John Bocchi is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2328. Diane Bocchi Esola, individually, as surviving sibling of John Bocchi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Diane Bocchi Esola
 is a resident of Florida. John Bocchi is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2329. Ann Bocchi-Schwimmer as Personal Representative of the Estate of Camillo
 Bocchi, deceased, the late parent of John Bocchi, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Ann Bocchi-Schwimmer as Personal Representative
 of the Estate of Camillo Bocchi is a resident of New Jersey. John Bocchi is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2330. Lucy Bocchi Kraus, individually, as surviving sibling of John Bocchi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lucy Bocchi Kraus
 is a resident of New Jersey. John Bocchi is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2331. Michele Bocchi-Sandello, as the Personal Representative of the Estate of John
 Bocchi, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of John Bocchi, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Michele Bocchi-Sandello is a resident of
 New Jersey. John Bocchi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2332. Elizabeth Murphy, individually, as surviving sibling of Mary Catherine Boffa, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Murphy is
 a resident of New Jersey. Mary Catherine Boffa is one of the Decedents murdered as a

                                             711
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 713 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2333. Elizabeth Murphy, as the Co-Personal Representative of the Estate of Mary
 Catherine Boffa, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Mary Catherine Boffa, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elizabeth Murphy is a
 resident of New Jersey. Mary Catherine Boffa is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2334. Daphne Bowers, individually, as surviving parent of Veronique Bowers, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daphne Bowers is a
 resident of New York. Veronique Bowers is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2335. Andrew Broderick, individually, as surviving child of Mark Broderick, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew Broderick is
 a resident of New Jersey. Mark Broderick is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2336. Carolina Broderick, individually, as surviving spouse of Mark Broderick, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carolina Broderick
 is a resident of New Jersey. Mark Broderick is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2337. James Broderick, individually, as surviving child of Mark Broderick, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Broderick is a resident
 of New Jersey. Mark Broderick is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2338. Matthew Broderick, individually, as surviving child of Mark Broderick, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew Broderick
 is a resident of New Jersey. Mark Broderick is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2339. Carolina Broderick, as the Personal Representative of the Estate of Mark
 Broderick, deceased, on behalf of the Estate, and on behalf of all survivors and all legally

                                             712
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 714 of 962




 entitled beneficiaries and family members of Mark Broderick, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Carolina Broderick is a resident of
 New Jersey. Mark Broderick is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2340. Angus Jacques, as the Personal Representative of the Estate of Felix Calixte,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Felix Calixte, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Angus Jacques is a resident of Soufriere. Felix
 Calixte is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2341. Angus Jacques, individually, as surviving parent of Felix Calixte, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Angus Jacques is a resident
 of Soufriere. Felix Calixte is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2342. Christine Brozon, individually, as surviving spouse of Luigi Calvi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Christine Brozon is a resident
 of New York. Luigi Calvi is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2343. Christine Brozon, as the Personal Representative of the Estate of Luigi Calvi,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Luigi Calvi, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Christine Brozon is a resident of New York. Luigi
 Calvi is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2344. James Cherry, individually, as surviving sibling of Vernon Cherry, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Cherry is a resident of
 Maryland. Vernon Cherry is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2345. Cynthia Taylor, individually, as surviving sibling of Vernon Cherry, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Cynthia Taylor is a resident
 of Georgia. Vernon Cherry is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             713
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 715 of 962




 2346. Germaine Alexander, individually, as surviving sibling of Brenda Conway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Germaine Alexander
 is a resident of New York. Brenda Conway is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2347. Tammi Alexander, individually, as surviving sibling of Brenda Conway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tammi Alexander is
 a resident of New York. Brenda Conway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2348. Dennis Coughlin, individually, as surviving sibling of Timothy Coughlin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dennis Coughlin is a
 resident of New York. Timothy Coughlin is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2349. Francis Coughlin, Jr., individually, as surviving sibling of Timothy Coughlin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Francis Coughlin, Jr.
 is a resident of New York. Timothy Coughlin is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2350. Robert Coughlin, individually, as surviving sibling of Timothy Coughlin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Coughlin is a
 resident of New York. Timothy Coughlin is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2351. Maura Coughlin-Roberti, individually, as surviving spouse of Timothy Coughlin,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Maura
 Coughlin-Roberti is a resident of New York. Timothy Coughlin is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2352. Riley Coughlin-Roberti, individually, as surviving child of Timothy Coughlin, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Riley Coughlin-
 Roberti is a resident of New York. Timothy Coughlin is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.



                                             714
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 716 of 962




 2353. Ryann Coughlin-Roberti, individually, as surviving child of Timothy Coughlin, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Ryann Coughlin-
 Roberti is a resident of New York. Timothy Coughlin is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2354. Sean Coughlin-Roberti, individually, as surviving child of Timothy Coughlin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sean Coughlin-
 Roberti is a resident of New York. Timothy Coughlin is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2355. Francis Coughlin, Jr., Dennis Coughlin, and Robert Coughlin as Co-Personal
 Representatives of the Estate of Alice Coughlin, deceased, the late parent of Timothy
 Coughlin, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Francis Coughlin, Jr., Dennis Coughlin, and Robert Coughlin as Co-Personal
 Representatives of the Estate of Alice Coughlin are residents of New York. Timothy
 Coughlin is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2356. Robert Coughlin and Francis Coughlin as Co-Personal Representatives of the
 Estate of Francis Coughlin, Sr., deceased, the late parent of Timothy Coughlin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Coughlin and
 Francis Coughlin as Co-Personal Representatives of the Estate of Francis Coughlin, Sr. is
 a resident of New York. Timothy Coughlin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2357. Francis Coughlin, Jr., as the Co-Personal Representative of the Estate of Timothy
 Coughlin, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Timothy Coughlin, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Francis Coughlin, Jr. is a resident of
 New York. Timothy Coughlin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2358. Maura Coughlin-Roberti, as the Co-Personal Representative of the Estate of
 Timothy Coughlin, deceased, on behalf of the Estate, and on behalf of all survivors and
 all legally entitled beneficiaries and family members of Timothy Coughlin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maura Coughlin-Roberti is a
 resident of New York. Timothy Coughlin is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.

                                            715
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 717 of 962




 2359. Regina Martin as Personal Representative of the Estate of Francis Cove,
 deceased, the late sibling of James Cove, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Regina Martin as Personal Representative of the Estate of Francis
 Cove is a resident of Florida. James Cove is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2360. Regina Martin as Personal Representative of the Estate of Margaret Cove,
 deceased, the late parent of James Cove, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Regina Martin as Personal Representative of the Estate of
 Margaret Cove is a resident of Florida. James Cove is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2361. Regina Martin, individually, as surviving sibling of James Cove, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Regina Martin is a resident of
 Florida. James Cove is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2362. Vancena Dawson Donovan, individually, as surviving sibling of Calvin Dawson,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Vancena
 Dawson Donovan is a resident of U.S. Virgin Islands. Calvin Dawson is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2363. Vanita Aviles, individually, as surviving sibling of Calvin Dawson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Vanita Aviles is a resident of
 Puerto Rico. Calvin Dawson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2364. Janita Clyne, individually, as surviving sibling of Calvin Dawson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Janita Clyne is a resident of
 New York. Calvin Dawson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2365. Alvin Dawson, individually, as surviving sibling of Calvin Dawson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alvin Dawson is a resident of
 Georgia. Calvin Dawson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                              716
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 718 of 962




 2366. Annette Simon, individually, as surviving sibling of Calvin Dawson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Annette Simon is a resident
 of New York. Calvin Dawson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2367. Charles Dawson, individually, as surviving sibling of Calvin Dawson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charles Dawson is a
 resident of Tortola. Calvin Dawson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2368. Janet Dawson, individually, as surviving sibling of Calvin Dawson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Janet Dawson is a resident of
 New York. Calvin Dawson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2369. Tatiana Dawson, individually, as surviving child of Calvin Dawson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tatiana Dawson is a resident
 of Georgia. Calvin Dawson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2370. Lena Dawson, individually, as surviving spouse of Calvin Dawson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lena Dawson is a resident of
 Georgia. Calvin Dawson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2371. Lena Dawson, as the Personal Representative of the Estate of Calvin Dawson,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Calvin Dawson, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Lena Dawson is a resident of Georgia. Calvin
 Dawson is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2372. Victorine Dawson, individually, as surviving sibling of Calvin Dawson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Victorine Dawson is
 a resident of Virgin Islands. Calvin Dawson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                            717
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 719 of 962




 2373. Doris Hetherington, individually, as surviving sibling of Calvin Dawson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Doris Hetherington
 is a resident of Virgin Islands. Calvin Dawson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2374. Daniella De La Pena, individually, as surviving child of Emerita De la Pena, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniella De La Pena
 is a resident of Florida. Emerita De la Pena is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2375. Gabriel De La Pena, individually, as surviving spouse of Emerita De La Pena, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gabriel De La Pena
 is a resident of Florida. Emerita De La Pena is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2376. Gabriel De La Pena, as the Personal Representative of the Estate of Emerita De
 La Pena, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Emerita De La Pena, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Gabriel De La Pena is a resident of
 Florida. Emerita De La Pena is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2377. Ronald Sierra, individually, as surviving spouse of Judith Berquis Diaz-Sierra, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Ronald Sierra is a
 resident of New York. Judith Berquis Diaz-Sierra is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2378. Ronald Sierra, as the Personal Representative of the Estate of Judith Berquis
 Diaz-Sierra, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Judith Berquis Diaz-Sierra, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ronald Sierra is a
 resident of New York. Judith Berquis Diaz-Sierra is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2379. Marlyse Salome Bosley, individually, as surviving sibling of Jose Espinal, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marlyse Salome
 Bosley is a resident of Arizona. Jose Espinal is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

                                            718
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 720 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2380. Saul Espinal Ramos, individually, as surviving sibling of Jose Espinal, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Saul Espinal Ramos
 is a resident of Manitoba. Jose Espinal is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2381. Eileen Esquilin, individually, as surviving sibling of Ruben Esquilin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eileen Esquilin is a resident
 of New Jersey. Ruben Esquilin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2382. Marybelle Vargas, individually, as surviving sibling of Ruben Esquilin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marybelle Vargas is
 a resident of New York. Ruben Esquilin is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2383. Lynn A. Faulkner, as the Personal Representative of the Estate of Wendy R.
 Faulkner, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Wendy Faulkner, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lynn A. Faulkner is a resident of
 Ohio. Wendy Faulkner is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2384. Stephen Morris, individually, as surviving sibling of Wendy Faulkner, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephen Morris is a
 resident of New York. Wendy Faulkner is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2385. Annette Fields, individually, as surviving sibling of Samuel Fields, Sr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Annette Fields is a
 resident of New York. Samuel Fields, Sr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2386. Felicia Fields, individually, as surviving sibling of Samuel Fields, Sr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Felicia Fields is a
 resident of New York. Samuel Fields, Sr. is one of the Decedents murdered as a result of

                                             719
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 721 of 962




 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2387. Michael Fields, individually, as surviving sibling of Samuel Fields, Sr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Fields is a
 resident of New York. Samuel Fields, Sr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2388. Kevin Finnerty, individually, as surviving sibling of Timothy Finnerty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kevin Finnerty is a
 resident of Minnesota. Timothy Finnerty is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2389. Peter Finnerty, individually, as surviving parent of Timothy Finnerty, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peter Finnerty is a resident of
 New Jersey. Timothy Finnerty is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2390. Theresa Roberts, individually, as surviving spouse of Timothy Finnerty, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Theresa Roberts is a
 resident of New Jersey. Timothy Finnerty is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2391. Theresa Roberts, as the Personal Representative of the Estate of Timothy
 Finnerty, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Timothy Finnerty, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Theresa Roberts is a resident of New
 Jersey. Timothy Finnerty is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2392. Lisa Madden, as Personal Representative of the Estate of Carl J. Flickinger,
 deceased, the late parent of Carl M. Flickinger, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Louise Flickinger as Personal Representative of the Estate
 of Carl J. Flickinger is a resident of New York. Carl M. Flickinger is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.



                                              720
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 722 of 962




 2393. Alana Flickinger, individually, as surviving child of Carl M. Flickinger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alana Flickinger is a
 resident of New York. Carl M. Flickinger is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2394. Carl J. Flickinger, individually, as surviving child of Carl M. Flickinger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carl J. Flickinger is
 a resident of New York. Carl M. Flickinger is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2395. Craig T. Flickinger, individually, as surviving child of Carl M. Flickinger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Craig T. Flickinger
 is a resident of New York. Carl M. Flickinger is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2396. Edmund Flickinger, individually, as surviving sibling of Carl M. Flickinger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Edmund Flickinger
 is a resident of New York. Carl M. Flickinger is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2397. Kathleen Flickinger, individually, as surviving spouse of Carl M. Flickinger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Flickinger
 is a resident of New York. Carl M. Flickinger is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2398. Lisa Madden, as Personal Representative of the Estate of Louise Flickinger,
 deceased, the late parent of Carl M. Flickinger, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Lisa Madden as Personal Representative of the Estate of
 Louise Flickinger is a resident of New Jersey. Carl M. Flickinger is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2399. Robert Flickinger, individually, as surviving sibling of Carl M. Flickinger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Flickinger is
 a resident of New York. Carl M. Flickinger is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                              721
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 723 of 962




 2400. Lisa Madden, individually, as surviving sibling of Carl M. Flickinger, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lisa Madden is a
 resident of New Jersey. Carl M. Flickinger is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2401. Kathleen Flickinger, as the Personal Representative of the Estate of Carl M.
 Flickinger, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Carl M. Flickinger, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Kathleen Flickinger is a resident of
 New York. Carl M. Flickinger is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2402. Sylvia Aleman, individually, as surviving sibling of Claudia Foster, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sylvia Aleman is a resident
 of New York. Claudia Foster is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2403. Blanca Martinez, individually, as surviving parent of Claudia Foster, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Blanca Martinez is a resident
 of New York. Claudia Foster is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2404. Carlos Martinez, individually, as surviving parent of Claudia Foster, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Carlos Martinez is a resident
 of New York. Claudia Foster is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2405. Karen Carlucci , individually, as surviving spouse of Peter Frank , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karen Carlucci is a resident
 of New York. Peter Frank is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2406. Constance Frank , individually, as surviving parent of Peter Frank , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Constance Frank is a resident
 of New York. Peter Frank is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             722
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 724 of 962




 2407. Michelle Frank , individually, as surviving sibling of Peter Frank , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michelle Frank is a resident
 of Rhode Island. Peter Frank is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2408. Peter Frank , individually, as surviving parent of Peter Frank , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peter Frank is a resident of
 New York. Peter Frank is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2409. Peter Frank, as the Personal Representative of the Estate of Peter Frank, deceased,
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Peter Frank, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Peter Frank is a resident of New York. Peter Frank is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2410. Edward Gnazzo, individually, as surviving sibling of John Gnazzo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Edward Gnazzo is a resident
 of New York. John Gnazzo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2411. Nicholas Gnazzo, individually, as surviving sibling of John Gnazzo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicholas Gnazzo is a resident
 of New York. John Gnazzo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2412. Song Jeng, individually, as surviving parent of John Gnazzo, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Song Jeng is a resident of New York.
 John Gnazzo is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2413. Luz America Piedrahita Ayala, individually, as surviving parent of Wilder
 Gomez, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Luz
 America Piedrahita Ayala is a resident of New York. Wilder Gomez is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.



                                              723
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 725 of 962




 2414. Jairo Gomez, individually, as surviving sibling of Wilder Gomez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jairo Gomez is a resident of
 New York. Wilder Gomez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2415. Omar Gomez, individually, as surviving sibling of Wilder Gomez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Omar Gomez is a resident of
 New York. Wilder Gomez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2416. Walter Gomez, individually, as surviving sibling of Wilder Gomez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Walter Gomez is a resident of
 New York. Wilder Gomez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2417. Kathleen Griffin, individually, as surviving sibling of John Griffin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kathleen Griffin is a resident
 of New Jersey. John Griffin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2418. Kathryn M. Quinn, as Personal Representative of the Estate of Kathryn Hargrave,
 deceased, the late parent of Timothy J. Hargrave, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Kathryn M. Quinn, as Personal Representative of
 the Estate of Kathryn Hargrave is a resident of New Jersey. Timothy J. Hargrave is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2419. Jeanmarie Hargrave, individually, as surviving sibling of Timothy J. Hargrave, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Jeanmarie
 Hargrave is a resident of New Jersey. Timothy J. Hargrave is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2420. James Hargrave Jr, individually, as surviving sibling of Timothy J. Hargrave, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James Hargrave Jr is
 a resident of New Jersey. Timothy J. Hargrave is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.


                                             724
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 726 of 962




 2421. Carolyn Marie Kelly, individually, as surviving sibling of Timothy J. Hargrave, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Carolyn Marie
 Kelly is a resident of New Jersey. Timothy J. Hargrave is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2422. Patricia Mansfield, individually, as surviving sibling of Timothy J. Hargrave, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Patricia Mansfield is
 a resident of New Hampshire. Timothy J. Hargrave is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2423. Maureen Murphy, individually, as surviving sibling of Timothy J. Hargrave, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maureen Murphy is
 a resident of New Jersey. Timothy J. Hargrave is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2424. Kathryn M. Quinn, individually, as surviving sibling of Timothy J. Hargrave, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathryn M. Quinn is
 a resident of New Jersey. Timothy J. Hargrave is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2425. Mary Ann Struble, individually, as surviving sibling of Timothy J. Hargrave, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Ann Struble is
 a resident of Massachusetts. Timothy J. Hargrave is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2426. Kenneth Haskell, individually, as surviving sibling of Thomas Haskell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kenneth Haskell is a
 resident of New York. Thomas Haskell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2427. Kenneth Haskell, individually, as surviving sibling of Timothy Haskell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kenneth Haskell is a
 resident of New York. Timothy Haskell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                             725
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 727 of 962




 2428. Belinda Barino Dillard, individually, as surviving sibling of Ronnie Henderson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Belinda Barino
 Dillard is a resident of New York. Ronnie Henderson is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2429. Sharon Henderson , individually, as surviving sibling of Ronnie Henderson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sharon Henderson is
 a resident of California. Ronnie Henderson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2430. Lucy Aita, individually, as surviving spouse of Paul Innella , is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Lucy Aita is a resident of New Jersey.
 Paul Innella is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2431. Maria Rich, as the Personal Representative of the Estate of Paul Innella, deceased,
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Paul Innella , is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Maria Rich is a resident of New Jersey. Paul Innella is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2432. James Jenkins, Jr., individually, as surviving sibling of John Jenkins, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Jenkins, Jr. is a
 resident of Kentucky. John Jenkins is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2433. Joan Kirwin, individually, as surviving spouse of Glenn Kirwin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joan Kirwin is a resident of
 Connecticut. Glenn Kirwin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2434. Joan Kirwin, as the Personal Representative of the Estate of Glenn Kirwin,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Glenn Kirwin, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Joan Kirwin is a resident of Connecticut. Glenn
 Kirwin is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.


                                              726
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 728 of 962




 2435. Miles Kirwin, individually, as surviving child of Glenn Kirwin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Miles Kirwin is a resident of
 New York. Glenn Kirwin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2436. Troy Kirwin, individually, as surviving child of Glenn Kirwin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Troy Kirwin is a resident of
 California. Glenn Kirwin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2437. John Doe 88, being intended to designate the Personal Representative of the
 Estate of Vanessa Lang Langer, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed)
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Vanessa Lang Langer, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Vanessa Lang Langer is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2438. Jackson S. O’Connor, individually, as surviving sibling of Vanessa Lang Langer,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jackson S.
 O’Connor is a resident of New York. Vanessa Lang Langer is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2439. James T. O’Connor, individually, as surviving sibling of Vanessa Lang Langer, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. James T.
 O’Connor is a resident of New York. Vanessa Lang Langer is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2440. Berdie Hicks as Personal Representative of the Estate of Walter W. Hicks,
 deceased, the late parent of Nickie Lindo, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Berdie Hicks as Personal Representative of the Estate of
 Walter W. Hicks is a resident of Georgia. Nickie Lindo is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2441. Lauren Baker, individually, as surviving child of Joseph R Marchbanks Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lauren Baker is a

                                              727
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 729 of 962




 resident of Connecticut. Joseph R Marchbanks Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2442. Ryan Marchbanks, individually, as surviving child of Joseph R Marchbanks Jr., is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Ryan Marchbanks
 is a resident of New Jersey. Joseph R Marchbanks Jr. is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2443. Teresa Marchbanks, individually, as surviving spouse of Joseph R Marchbanks
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Teresa
 Marchbanks is a resident of New York. Joseph R Marchbanks Jr. is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2444. Teresa Marchbanks, as the Personal Representative of the Estate of Joseph R.
 Marchbanks, Jr., deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Joseph R Marchbanks Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Teresa Marchbanks
 is a resident of New York. Joseph R Marchbanks Jr. is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2445. Chasity DeLeon, as the Personal Representative of the Estate of Robert Gabriel
 Martinez, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Robert Gabriel Martinez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Chasity DeLeon is a resident
 of Florida. Robert Gabriel Martinez is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2446. Kathleen A. Koehler, individually, as surviving child of Timothy Maude, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen A. Koehler
 is a resident of Iowa. Timothy Maude is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2447. Karen E. Maude, individually, as surviving child of Timothy Maude, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karen E. Maude is a resident
 of Virginia. Timothy Maude is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             728
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 730 of 962




 2448. Teresa Maude, individually, as surviving spouse of Timothy Maude, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Teresa Maude is a resident of
 South Carolina. Timothy Maude is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2449. Teresa Maude, as the Personal Representative of the Estate of Timothy Maude,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Timothy Maude, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Teresa Maude is a resident of South Carolina.
 Timothy Maude is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2450. Christopher Delosh, individually, as surviving spouse of Kathy N. Mazza, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Delosh
 is a resident of New York. Kathy N. Mazza is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2451. John Mazza, individually, as surviving sibling of Kathy N. Mazza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Mazza is a resident of
 New York. Kathy N. Mazza is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2452. Ronald Mazza, individually, as surviving sibling of Kathy N. Mazza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ronald Mazza is a resident of
 New York. Kathy N. Mazza is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2453. Rose Mazza, individually, as surviving parent of Kathy N. Mazza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rose Mazza is a resident of
 New York. Kathy N. Mazza is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2454. Victor Mazza, individually, as surviving sibling of Kathy N. Mazza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Victor Mazza is a resident of
 New York. Kathy N. Mazza is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.


                                            729
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 731 of 962




 2455. Christopher Delosh, as the Personal Representative of the Estate of Kathy N.
 Mazza, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Kathy N. Mazza, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Christopher Delosh is a resident of
 New York. Kathy N. Mazza is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2456. Andrea Madonna and Joanne Los Kamp, as Co-Personal Representatives of the
 Estate of Joan Micciulli, deceased, the late parent of William Micciulli, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Andrea Madonna and Joanne
 Los Kamp, as Co-Personal Representatives of the Estate of Joan Micciulli are residents of
 New Jersey and Florida respectively. William Micciulli is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2457. Andrea Madonna, as Personal Representative of the Estate of William Edward
 Micciulli, deceased, the late parent of William Micciulli, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Andrea Madonna, as Personal Representative of
 the Estate of William Edward Micciulli is a resident of New Jersey. William Micciulli is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2458. Joanne Los Kamp, individually, as surviving sibling of William Micciulli , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joanne Los Kamp is
 a resident of Florida. William Micciulli is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2459. Andrea Madonna , individually, as surviving sibling of William Micciulli , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrea Madonna is
 a resident of New Jersey. William Micciulli is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2460. Emily Micciulli, individually, as surviving child of William Micciulli , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Emily Micciulli is a
 resident of New York. William Micciulli is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2461. Sara Micciulli, individually, as surviving child of William Micciulli , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sara Micciulli is a resident of
 New York. William Micciulli is one of the Decedents murdered as a result of the terrorist

                                             730
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 732 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2462. Colleen Micciulli-Foley, individually, as surviving spouse of William Micciulli ,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Colleen
 Micciulli-Foley is a resident of New York. William Micciulli is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2463. Colleen Micciulli-Foley, as the Personal Representative of the Estate of William
 Micciulli, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of William Micciulli , is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Colleen Micciulli-Foley is a resident
 of New York. William Micciulli is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2464. Daniel Lamb, individually, as surviving sibling of Odessa Morris, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Daniel Lamb is a resident of
 Virginia. Odessa Morris is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2465. Ethel Scott, individually, as surviving sibling of Odessa Morris, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ethel Scott is a resident of
 Florida. Odessa Morris is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2466. Joseph Lamb, Sr., individually, as surviving sibling of Odessa Morris, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph Lamb, Sr. is
 a resident of Virginia. Odessa Morris is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2467. Rachel Quinnie, individually, as surviving sibling of Odessa Morris, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rachel Quinnie is a resident
 of Virginia. Odessa Morris is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2468. Jeanine Murphy, individually, as surviving spouse of James Murphy, IV, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jeanine Murphy is a

                                             731
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 733 of 962




 resident of Pennsylvania. James Murphy, IV is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2469. Jeanine Murphy, as the Personal Representative of the Estate of James Murphy,
 IV, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of James Murphy, IV, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jeanine Murphy is a resident of
 Pennsylvania. James Murphy, IV is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2470. Jessica A. Navas, individually, as surviving child of Joseph M. Navas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jessica A. Navas is a
 resident of New Jersey. Joseph M. Navas is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2471. Joseph M. Navas, Jr., individually, as surviving child of Joseph M. Navas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph M. Navas, Jr.
 is a resident of New Jersey. Joseph M. Navas is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2472. Justin C. Navas, individually, as surviving child of Joseph M. Navas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Justin C. Navas is a resident
 of New Jersey. Joseph M. Navas is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2473. Karen A. Navas, individually, as surviving spouse of Joseph M. Navas, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Karen A. Navas is a
 resident of New Jersey. Joseph M. Navas is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2474. Karen A. Navas, as the Personal Representative of the Estate of Joseph M. Navas,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Joseph M. Navas, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Karen A. Navas is a resident of New Jersey.
 Joseph M. Navas is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.


                                             732
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 734 of 962




 2475. Stephen Nevins as the Personal Representative of the Estate of Lorraine B. Foley,
 deceased, the late parent of Gerard Nevins, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Stephen Nevins is a resident of New York. Gerard Nevins
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2476. Stephen Nevins, individually, as surviving sibling of Gerard Nevins, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stephen Nevins is a resident
 of New York. Gerard Nevins is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2477. Iris Vega, individually, as surviving sibling of Diana O'Connor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Iris Vega is a resident of
 California. Diana O'Connor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2478. Maria Vega, individually, as surviving sibling of Diana O'Connor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maria Vega is a resident of
 New York. Diana O'Connor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2479. Gia L. Morris-Kern, as the Co-Personal Representative of the Estate of Israel
 Pabon, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Israel Pabon, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Gia L. Morris-Kern is a resident of New
 York. Israel Pabon is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2480. Virginia Parro, individually, as surviving parent of Robert Parro, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Virginia Parro is a resident of
 New York. Robert Parro is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2481. Barbara Dunleavy, individually, as surviving sibling of Glenn C. Perry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara Dunleavy is
 a resident of New Jersey. Glenn C. Perry is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             733
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 735 of 962




 2482. Frank Perry A/K/A Francis Perry, individually, as surviving sibling of Glenn C.
 Perry, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Frank
 Perry A/K/A Francis Perry is a resident of New Jersey. Glenn C. Perry is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2483. Catherine Perry, individually, as surviving parent of Glenn C. Perry, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Catherine Perry is a resident
 of New York. Glenn C. Perry is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2484. Patrick Perry, individually, as surviving sibling of Glenn C. Perry, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patrick Perry is a resident of
 New York. Glenn C. Perry is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2485. Jennifer Bruno, individually, as surviving sibling of Maria Ramirez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jennifer Bruno is a resident
 of Florida. Maria Ramirez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2486. Miriam Carter, individually, as surviving sibling of Maria Ramirez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Miriam Carter is a resident of
 Florida. Maria Ramirez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2487. Elsie Cintron-Rosado, individually, as surviving parent of Maria Ramirez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elsie Cintron-
 Rosado is a resident of Florida. Maria Ramirez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2488. Elsie Cintron-Rosado, as the Personal Representative of the Estate of Maria
 Ramirez, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Maria Ramirez, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Elsie Cintron-Rosado is a resident of Florida.
 Maria Ramirez is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.


                                             734
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 736 of 962




 2489. Jessica Darden, individually, as surviving sibling of Maria Ramirez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jessica Darden is a resident
 of Florida. Maria Ramirez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2490. Maureen Regan, individually, as surviving sibling of Donald Regan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maureen Regan is a resident
 of New York. Donald Regan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2491. William Regan, individually, as surviving sibling of Donald Regan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. William Regan is a resident
 of New York. Donald Regan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2492. Joan Reilly and Regina Madigan as Legal Guardians of Edward Reilly,
 individually, as surviving sibling of Kevin Reilly, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Joan Reilly and Regina Madigan as Legal
 Guardians of Edward Reilly is a resident of New York. Kevin Reilly is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2493. John McManus, as the Personal Representative of the Estate of Richard Rescorla,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Richard Rescorla, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. John McManus is a resident of New Jersey.
 Richard Rescorla is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2494. Susan Brand a/k/a Siegel a/k/a Retik, individually, as surviving sibling of David
 Retik, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Susan
 Brand a/k/a Siegel a/k/a Retik is a resident of New York. David Retik is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2495. Mark Retik as Personal Representative of the Estate of Lynne Retik, deceased, the
 late parent of David Retik, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Mark Retik as Personal Representative of the Estate of Lynne Retik is a
 resident of New Jersey. David Retik is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                             735
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 737 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2496. John Doe 125 as Personal Representative of the Estate of Alan Retik, deceased,
 the late parent of David Retik, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. David Retik is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2497. Benjamin Retik, individually, as surviving child of David Retik, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Benjamin Retik is a resident
 of Massachusetts. David Retik is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2498. Dina Retik, individually, as surviving child of David Retik, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Dina Retik is a resident of
 Massachusetts. David Retik is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2499. Mark Retik, individually, as surviving sibling of David Retik, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mark Retik is a resident of
 New Jersey. David Retik is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2500. Molly Retik, individually, as surviving child of David Retik, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Molly Retik is a resident of
 Massachusetts. David Retik is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2501. Susan Zalesne Retik, individually, as surviving spouse of David Retik, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Susan Zalesne Retik
 is a resident of Massachusetts. David Retik is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2502. Susan Retik, as the Personal Representative of the Estate of David Retik,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of David Retik, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Susan Retik is a resident of Massachusetts. David
 Retik is one of the Decedents murdered as a result of the terrorist attacks of September

                                             736
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 738 of 962




 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2503. Stanley Rodgers, individually, as surviving parent of Venesha Richards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stanley Rodgers is a
 resident of Georgia. Venesha Richards is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2504. Cristal Barragan, individually, as surviving child of Moises Rivas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Cristal Barragan is a resident
 of Pennsylvania. Moises Rivas is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2505. Katherin Pleitez, individually, as surviving child of Moises Rivas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Katherin Pleitez is a resident
 of Pennsylvania. Moises Rivas is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2506. Karen Robertson-Jurczak, as the Personal Representative of the Estate of Donald
 Robertson, Jr., deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Donald Robertson, Jr., is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Karen Robertson-Jurczak is a
 resident of New Jersey. Donald Robertson, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2507. Karen Robertson-Jurczak, individually, as surviving spouse of Donald Robertson,
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Karen
 Robertson-Jurczak is a resident of New Jersey. Donald Robertson, Jr. is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2508. Denyse Betcher, individually, as surviving child of Paul Ruback, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Denyse Betcher is a resident
 of New York. Paul Ruback is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2509. Danny J. Marino, individually, as surviving child of Paul Ruback, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Danny J. Marino is a resident
 of South Carolina. Paul Ruback is one of the Decedents murdered as a result of the

                                             737
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 739 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2510. Raysa Rodriguez, individually, as surviving sibling of Esmerlin Salcedo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Raysa Rodriguez is a
 resident of New York. Esmerlin Salcedo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2511. Amarcimeve Jimenez Salcedo, individually, as surviving parent of Esmerlin
 Salcedo, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Amarcimeve Jimenez Salcedo is a resident of New York. Esmerlin Salcedo is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2512. Amber Salcedo, individually, as surviving child of Esmerlin Salcedo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Amber Salcedo is a resident
 of Massachusetts. Esmerlin Salcedo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2513. Francisco Salcedo, individually, as surviving sibling of Esmerlin Salcedo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Francisco Salcedo is
 a resident of New York. Esmerlin Salcedo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2514. Joel Salcedo, individually, as surviving sibling of Esmerlin Salcedo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joel Salcedo is a resident of
 New York. Esmerlin Salcedo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2515. Kayla Salcedo, individually, as surviving child of Esmerlin Salcedo, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kayla Salcedo is a resident of
 Massachusetts. Esmerlin Salcedo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2516. Markos Salcedo, individually, as surviving child of Esmerlin Salcedo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Markos Salcedo is a
 resident of Massachusetts. Esmerlin Salcedo is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

                                            738
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 740 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2517. Matilde Salcedo, individually, as surviving spouse of Esmerlin Salcedo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matilde Salcedo is a
 resident of Massachusetts. Esmerlin Salcedo is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2518. Melody Salcedo, individually, as surviving child of Esmerlin Salcedo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Melody Salcedo is a
 resident of Florida. Esmerlin Salcedo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2519. Miriam Salcedo, individually, as surviving parent of Esmerlin Salcedo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Miriam Salcedo is a
 resident of New York. Esmerlin Salcedo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2520. Orson Salcedo, individually, as surviving sibling of Esmerlin Salcedo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Orson Salcedo is a
 resident of New York. Esmerlin Salcedo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2521. Oscar Salcedo, individually, as surviving sibling of Esmerlin Salcedo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Oscar Salcedo is a
 resident of New York. Esmerlin Salcedo is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2522. Matilde Salcedo, as the Personal Representative of the Estate of Esmerlin
 Salcedo, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Esmerlin Salcedo, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Matilde Salcedo is a resident of New
 York. Esmerlin Salcedo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2523. Melissa Magazine, individually, as surviving child of Jay Magazine, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Melissa Magazine is a
 resident of New York. Jay Magazine is one of the Decedents murdered as a result of the

                                            739
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 741 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2524. Paul Asaro, individually, as surviving sibling of Carl Asaro, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Paul Asaro is a resident of New York.
 Carl Asaro is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2525. Peter Asaro, individually, as surviving sibling of Carl Asaro, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Peter Asaro is a resident of New
 York. Carl Asaro is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2526. Dolores Audiffred, individually, as surviving sibling of James Audiffred, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dolores Audiffred is
 a resident of New York. James Audiffred is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2527. Mark Anthony Barrett, Sr., individually, as surviving sibling of Renee Barrett-
 Arjune, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Mark
 Anthony Barrett, Sr. is a resident of New York. Renee Barrett-Arjune is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2528. Mark Anthony Barrett, Sr., as the Personal Representative of the Estate of Renee
 Barrett-Arjune, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Renee Barrett-Arjune, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mark Anthony Barrett, Sr. is
 a resident of New York. Renee Barrett-Arjune is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2529. Edward Arjune, individually, as surviving child of Renee Barrett-Arjune, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Edward Arjune is a
 resident of New Jersey. Renee Barrett-Arjune is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2530. John Joseph Curtin, individually, as surviving sibling of Michael Curtin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Joseph Curtin
 is a resident of Georgia. Michael Curtin is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                            740
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 742 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2531. Kathleen Wojslaw, individually, as surviving sibling of Michael Curtin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Wojslaw is
 a resident of New York. Michael Curtin is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2532. Jeanne Osterndorf, individually, as surviving sibling of Michael Curtin, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jeanne Osterndorf is
 a resident of North Carolina. Michael Curtin is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2533. James Devlin, individually, as surviving sibling of Dennis Devlin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Devlin is a resident of
 Indiana. Dennis Devlin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2534. John Duffy, individually, as surviving sibling of Michael Duffy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Duffy is a resident of
 New York. Michael Duffy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2535. Barbara Duffy, individually, as surviving parent of Michael Duffy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Barbara Duffy is a resident of
 New York. Michael Duffy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2536. Barbara Duffy, as the Personal Representative of the Estate of Michael Duffy,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Michael Duffy, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Barbara Duffy is a resident of New York. Michael
 Duffy is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2537. Marykay Kemper, individually, as surviving sibling of Michael Duffy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marykay Kemper is
 a resident of New York. Michael Duffy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                             741
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 743 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2538. Jane Gollan, individually, as surviving sibling of Barbara G. Edwards, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jane Gollan is a
 resident of Arizona. Barbara G. Edwards is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2539. Douglas Evans, individually, as surviving sibling of Eric Evans, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Douglas Evans is a resident
 of New Jersey. Eric Evans is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2540. Iris J. Friedman, individually, as surviving sibling of Paul Friedman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Iris J. Friedman is a resident
 of Massachusetts. Paul Friedman is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2541. Meryl Friedman Price, individually, as surviving sibling of Paul Friedman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Meryl Friedman
 Price is a resident of Massachusetts. Paul Friedman is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2542. James Friedman, individually, as surviving sibling of Paul Friedman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Friedman is a resident
 of New Jersey. Paul Friedman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2543. Thomas Gary, individually, as surviving child of Bruce Gary, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas Gary is a resident of
 New York. Bruce Gary is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2544. Josefina Gonzalez , individually, as surviving parent of Rosa Gonzalez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Josefina Gonzalez is
 a resident of Pennsylvania. Rosa Gonzalez is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and


                                             742
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 744 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2545. Eneida Ramos, individually, as surviving sibling of Rosa Gonzalez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eneida Ramos is a resident of
 New Jersey. Rosa Gonzalez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2546. Lydia E. Ramos-Gonzalez, individually, as surviving sibling of Rosa Gonzalez, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Lydia E. Ramos-
 Gonzalez is a resident of Pennsylvania. Rosa Gonzalez is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2547. Esterlina Rivera , individually, as surviving sibling of Rosa Gonzalez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Esterlina Rivera is a
 resident of New Jersey. Rosa Gonzalez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2548. Reinaldo Ramos-Gonzalez, individually, as surviving sibling of Rosa Gonzalez, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Reinaldo Ramos-
 Gonzalez is a resident of Pennsylvania. Rosa Gonzalez is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2549. Maria Gonzalez , individually, as surviving sibling of Rosa Gonzalez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Gonzalez is a
 resident of New Jersey. Rosa Gonzalez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2550. Nelida Gonzalez , individually, as surviving sibling of Rosa Gonzalez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nelida Gonzalez is a
 resident of Pennsylvania. Rosa Gonzalez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2551. Jose Gonzalez, individually, as surviving sibling of Rosa Gonzalez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jose Gonzalez is a resident of
 New Jersey. Rosa Gonzalez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                             743
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 745 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2552. Wesley Graf, individually, as surviving child of Edwin Graf, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Wesley Graf is a resident of Georgia.
 Edwin Graf is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2553. Mary Hasson, as the Personal Representative of the Estate of Joseph John Hasson,
 III, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Joseph John Hasson, III, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mary Hasson is a resident of
 New York. Joseph John Hasson, III is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2554. Mary Hasson, individually, as surviving spouse of Joseph John Hasson, III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Hasson is a
 resident of New York. Joseph John Hasson, III is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2555. Joseph John Hasson, IV, individually, as surviving child of Joseph John Hasson,
 III, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph John
 Hasson, IV is a resident of New York. Joseph John Hasson, III is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2556. Joseph John Hasson, Jr, individually, as surviving parent of Joseph John Hasson,
 III, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph John
 Hasson, Jr is a resident of New York. Joseph John Hasson, III is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2557. Paulette Hasson, individually, as surviving parent of Joseph John Hasson, III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paulette Hasson is a
 resident of New York. Joseph John Hasson, III is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2558. Victoria Zanotto, individually, as surviving sibling of Joseph John Hasson, III, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Victoria Zanotto is
 a resident of New York. Joseph John Hasson, III is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

                                             744
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 746 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2559. Christopher Hasson, individually, as surviving sibling of Joseph John Hasson, III,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher
 Hasson is a resident of New York. Joseph John Hasson, III is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2560. Maria Rich, individually, as surviving sibling of Paul Innella, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maria Rich is a resident of
 Florida. Paul Innella is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2561. Maria Rich, as Personal Representative of the Estate of Shirley Innella, deceased,
 the late parent of Paul Innella, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Maria Rich is a resident of New Jersey. Paul Innella is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2562. Lisa Iraci as Personal Representative of the Estate of Francis Kelly, deceased, the
 late sibling of Thomas William Kelly, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Lisa Iraci as Personal Representative of the Estate of Francis Kelly
 is a resident of New York. Thomas William Kelly is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2563. Nancy Kelly, individually, as surviving sibling of Thomas Michael Kelly, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nancy Kelly is a
 resident of New York. Thomas Michael Kelly is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2564. Nancy Kelly as Personal Representative of the Estate of Sylvia Kelly, deceased,
 the late parent of Thomas Michael Kelly, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Nancy Kelly as Personal Representative of the Estate of Sylvia
 Kelly is a resident of New York. Thomas Michael Kelly is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2565. Yolanda Cerda, individually, as surviving spouse of Matthew Leonard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yolanda Cerda is a
 resident of New York. Matthew Leonard is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                             745
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 747 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2566. Yolanda Cerda, as the Personal Representative of the Estate of Matthew Leonard,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Matthew Leonard, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Yolanda Cerda is a resident of New York.
 Matthew Leonard is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2567. Christina Leonard, individually, as surviving child of Matthew Leonard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christina Leonard is
 a resident of New York. Matthew Leonard is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2568. Samantha Allen, individually, as surviving child of Samantha Lightbourn-Allen,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Samantha Allen
 is a resident of Massachusetts. Samantha Lightbourn-Allen is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2569. Michael Magee, individually, as surviving sibling of Charles Magee, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Magee is a resident
 of Florida. Charles Magee is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2570. Margaret Randazzo-Maloy, individually, as surviving spouse of Gene Maloy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Margaret Randazzo-
 Maloy is a resident of California. Gene Maloy is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2571. Rosalie Marti, individually, as surviving parent of Michael Marti, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rosalie Marti is a resident of
 New York. Michael Marti is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2572. Mario Truglio as Personal Representative of the Estate of Rodger Marti,
 deceased, the late parent of Michael Marti, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Mario Truglio as Personal Representative of the Estate of
 Rodger Marti is a resident of New York. Michael Marti is one of the Decedents murdered

                                             746
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 748 of 962




 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2573. Rosalie Marti, as the Personal Representative of the Estate of Michael Marti,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Michael Marti, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Rosalie Marti is a resident of New York. Michael
 Marti is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2574. Nixia Mena-Alexis, individually, as surviving sibling of Diarelia Mena, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nixia Mena-Alexis
 is a resident of New Jersey. Diarelia Mena is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2575. Diana Mena, individually, as surviving parent of Diarelia Mena, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Diana Mena is a resident of
 New Jersey. Diarelia Mena is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2576. Nixia Mena-Alexis as Personal Representative of the Estate of Aurelio Mena,
 deceased, the late parent of Diarelia Mena, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Nixia Mena-Alexis as Personal Representative of the
 Estate of Aurelio Mena is a resident of New Jersey. Diarelia Mena is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2577. Sandra O'Connor Carey, individually, as surviving spouse of Keith O'Connor, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sandra O'Connor
 Carey is a resident of New Jersey. Keith O'Connor is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2578. Sandra O'Connor Carey, as the Personal Representative of the Estate of Keith
 O'Connor, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Keith O'Connor, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Sandra O'Connor Carey is a resident
 of New Jersey. Keith O'Connor is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.


                                             747
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 749 of 962




 2579. Susan O'Connor, individually, as surviving parent of Keith O'Connor, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Susan O'Connor is a
 resident of New Jersey. Keith O'Connor is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2580. Susan O'Connor, as Personal Representative of the Estate of Francis O'Connor,
 deceased, the late parent of Keith O'Connor, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Susan O'Connor, as Personal Representative of the Estate
 of Francis O'Connor is a resident of New Jersey. Keith O'Connor is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2581. Neil Peraza, individually, as surviving sibling of Robert Peraza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Neil Peraza is a resident of
 Florida. Robert Peraza is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2582. Neil Peraza, as the Personal Representative of the Estate of Robert Peraza,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Robert Peraza, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Neil Peraza is a resident of Florida. Robert Peraza is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2583. Neil Peraza, as Personal Representative of the Estate of Robert D. Peraza,
 deceased, the late parent of Robert Peraza, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Neil Peraza, as Personal Representative of the Estate of
 Robert D. Peraza is a resident of Florida. Robert Peraza is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2584. Lee Gargano, individually, as surviving sibling of Karen Renda, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lee Gargano is a resident of
 North Carolina. Karen Renda is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2585. Minerva Rosario, as the Personal Representative of the Estate of Aida Rosario,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Aida Rosario, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Minerva Rosario is a resident of New Jersey. Aida
 Rosario is one of the Decedents murdered as a result of the terrorist attacks of September


                                             748
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 750 of 962




 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2586. Minerva Rosario as Personal Representative of the Estate of Rodolfo Rosario,
 deceased, the late sibling of Aida Rosario, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Minerva Rosario as Personal Representative of the Estate
 of Rodolfo Rosario is a resident of New Jersey. Aida Rosario is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2587. Amy Vazquez, individually, as surviving child of Aida Rosario, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Amy Vazquez is a resident of
 New Jersey. Aida Rosario is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2588. Jasmine DeJesus, individually, as surviving child of Aida Rosario, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jasmine DeJesus is a resident
 of New Jersey. Aida Rosario is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2589. Farah Frenkel, individually, as surviving sibling of Rahma Salie, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Farah Frenkel is a resident of
 California. Rahma Salie is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2590. Christina Savas, individually, as surviving child of Anthony Savas, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Christina Savas is a resident
 of South Carolina. Anthony Savas is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2591. David Schlegel, individually, as surviving sibling of Robert Schlegel, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Schlegel is a resident
 of Maine. Robert Schlegel is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2592. Richard Schlegel, individually, as surviving sibling of Robert Schlegel, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Richard Schlegel is a
 resident of Pennsylvania. Robert Schlegel is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                             749
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 751 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2593. Elvin Schlegel, individually, as surviving parent of Robert Schlegel, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elvin Schlegel is a resident of
 Florida. Robert Schlegel is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2594. Robert Davenport, individually, as surviving sibling of Antionette Sherman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Davenport is
 a resident of Maryland. Antionette Sherman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2595. Christopher Charles Clarke, individually, as surviving sibling of Antionette
 Sherman, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Christopher Charles Clarke is a resident of Maryland. Antionette Sherman is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2596. Jamal Green, individually, as surviving child of Antionette Sherman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jamal Green is a resident of
 Maryland. Antionette Sherman is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2597. Perry Sikorsky as Personal Representative of the Estate of George K. Sikorsky,
 deceased, the late parent of Gregory Sikorsky, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Perry Sikorsky as Personal Representative of the Estate of
 George K. Sikorsky is a resident of New York. Gregory Sikorsky is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2598. Perry Sikorsky as Personal Representative of the Estate of Luzia Sikorsky,
 deceased, the late parent of Gregory Sikorsky, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Perry Sikorsky as Personal Representative of the Estate of
 Luzia Sikorsky is a resident of New York. Gregory Sikorsky is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2599. Toolsiedai Seepersaud a/k/a Ruby Awan, individually, as surviving parent of
 Khamladai Khami Singh, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Toolsiedai Seepersaud a/k/a Ruby Awan is a resident of New York. Khamladai

                                             750
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 752 of 962




 Khami Singh is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2600. Toolsiedai Seepersaud a/k/a Ruby Awan, as the Personal Representative of the
 Estate of Khamladai Khami Singh, deceased, on behalf of the Estate, and on behalf of all
 survivors and all legally entitled beneficiaries and family members of Khamladai Khami
 Singh, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Toolsiedai Seepersaud a/k/a Ruby Awan is a resident of New York. Khamladai Khami
 Singh is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2601. Toolsiedai Seepersaud a/k/a Ruby Awan, as Personal Representative of the Estate
 of Roshan Ramesh Singh, deceased, the late sibling of Khamladai Khami Singh, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Toolsiedai
 Seepersaud a/k/a Ruby Awan, as Personal Representative of the Estate of Roshan
 Ramesh Singh is a resident of New York. Khamladai Khami Singh is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2602. Toolsiedai Seepersaud a/k/a Ruby Awan, individually, as surviving parent of
 Roshan Ramesh Singh, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Toolsiedai Seepersaud a/k/a Ruby Awan is a resident of New York. Roshan
 Ramesh Singh is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2603. Toolsiedai Seepersaud a/k/a Ruby Awan, as the Personal Representative of the
 Estate of Roshan Ramesh Singh, deceased, on behalf of the Estate, and on behalf of all
 survivors and all legally entitled beneficiaries and family members of Roshan Ramesh
 Singh, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Toolsiedai Seepersaud a/k/a Ruby Awan is a resident of New York. Roshan Ramesh
 Singh is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2604. Toolsiedai Seepersaud a/k/a Ruby Awan, as Personal Representative of the Estate
 of Khamladai Khami Singh, deceased, the late sibling of Roshan Ramesh Singh, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Toolsiedai
 Seepersaud a/k/a Ruby Awan, as Personal Representative of the Estate of Khamladai
 Khami Singh is a resident of New York. Roshan Ramesh Singh is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2605. Leandra Hart, individually, as surviving child of Leon Smith, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Leandra Hart is a resident of New
 York. Leon Smith is one of the Decedents murdered as a result of the terrorist attacks of

                                            751
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 753 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2606. Alex Stone, individually, as surviving child of Lonny Jay Stone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alex Stone is a resident of
 New York. Lonny Jay Stone is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2607. Stacey Stone, individually, as surviving spouse of Lonny Jay Stone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stacey Stone is a resident of
 New York. Lonny Jay Stone is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2608. Stacey Stone, as the Co-Personal Representative of the Estate of Lonny Stone,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Lonny Jay Stone, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Stacey Stone is a resident of New York. Lonny
 Jay Stone is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2609. Joshua Stone, individually, as surviving child of Lonny Jay Stone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joshua Stone is a resident of
 New York. Lonny Jay Stone is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2610. Graeme Sword, individually, as surviving sibling of Derek O. Sword, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Graeme Sword is a resident
 of the United Kingdom. Derek O. Sword is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2611. John Doe 105, as the Personal Representative of the Estate of Allan Sword,
 deceased, the late sibling of Derek O. Sword, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Derek O. Sword is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2612. Irene Sword, individually, as surviving parent of Derek O. Sword, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Irene Sword is a resident of
 Angus. Derek O. Sword is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                            752
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 754 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2613. David Sword, individually, as surviving parent of Derek O. Sword, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. David Sword is a resident of
 Angus. Derek O. Sword is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2614. Luz Vale, individually, as surviving spouse of Ivan Vale, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Luz Vale is a resident of Puerto Rico.
 Ivan Vale is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2615. Luz Vale, as the Personal Representative of the Estate of Ivan Vale, deceased, on
 behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Ivan Vale, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Luz Vale is a resident of Puerto Rico. Ivan Vale is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2616. Clarissa Kirschenbaum, as Personal Representative of the Estate of Adolph Wald,
 deceased, the late parent of Victor Wald, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Clarissa Kirschenbaum, as Personal Representative of the Estate
 of Adolph Wald is a resident of New York. Victor Wald is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2617. Clarissa Kirschenbaum, as Personal Representative of the Estate of Fanni Wald,
 deceased, the late parent of Victor Wald, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Clarissa Kirschenbaum, as Personal Representative of the Estate
 of Fanni Wald is a resident of New York. Victor Wald is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2618. Robert Weingard, individually, as surviving sibling of Scott Weingard, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Weingard is
 a resident of New York. Scott Weingard is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2619. Marc Weingard as Personal Representative of the Estate of Bonnie Weingard,
 deceased, the late parent of Scott Weingard, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Marc Weingard as Personal Representative of the Estate

                                              753
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 755 of 962




 of Bonnie Weingard is a resident of New York. Scott Weingard is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2620. Marc Weingard, individually, as surviving sibling of Scott Weingard, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marc Weingard is a resident
 of New York. Scott Weingard is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2621. Marc Weingard, as the Personal Representative of the Estate of Scott Weingard,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Scott Weingard, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Marc Weingard is a resident of New York. Scott
 Weingard is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2622. Denise White, individually, as surviving child of John White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Denise White is a resident of
 Florida. John White is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2623. Lillian Zambrana as Personal Representative of the Estate of Edwin Zambrana,
 Sr., deceased, the late parent of Edwin Zambrana, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Lillian Zambrana as Personal Representative of the
 Estate of Edwin Zambrana, Sr. is a resident of New York. Edwin Zambrana is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2624. Michael Bianco, individually, as surviving child of Joseph Agnello, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Bianco is a resident
 of New Jersey. Joseph Agnello is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2625. Charlotte Amundson, individually, as surviving child of Craig Amundson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charlotte Amundson
 is a resident of New Mexico. Craig Amundson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2626. Elliot Amundson, individually, as surviving child of Craig Amundson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Elliot Amundson is a

                                             754
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 756 of 962




 resident of Minnesota. Craig Amundson is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2627. Amber A. Amundson, individually, as surviving spouse of Craig Amundson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Amber A.
 Amundson is a resident of New Mexico. Craig Amundson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2628. Natalie Pollack, individually, as surviving child of Louis F. Aversano, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Natalie Pollack is a
 resident of Florida. Louis F. Aversano, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2629. Ronda Boyle, individually, as surviving spouse of Allen Boyle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ronda Boyle is a resident of
 Montana. Allen Boyle is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2630. Ronda Boyle, as the Personal Representative of the Estate of Allen Boyle,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Allen Boyle, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Ronda Boyle is a resident of Montana. Allen Boyle
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2631. Allen Richard Boyle, individually, as surviving child of Allen Boyle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Allen Richard Boyle is a
 resident of Montana. Allen Boyle is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2632. Dylan Boyle, individually, as surviving child of Allen Boyle, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Dylan Boyle is a resident of Montana.
 Allen Boyle is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2633. Nathan Boyle, individually, as surviving child of Allen Boyle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nathan Boyle is a resident of
 Montana. Allen Boyle is one of the Decedents murdered as a result of the terrorist attacks


                                            755
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 757 of 962




 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2634. Patrick Cartier, individually, as surviving parent of James Cartier, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patrick Cartier is a resident of
 New York. James Cartier is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2635. John Doe 96, being intended to designate the Personal Representative of the
 Estate of James Cartier, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of James Cartier, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. James Cartier is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2636. Douglas Caufield, individually, as surviving sibling of Robert Caufield, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Douglas Caufield is
 a resident of New York. Robert Caufield is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2637. John Doe 93, being intended to designate the Personal Representative of the
 Estate of Robert Caufield, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Robert Caufield, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Robert Caufield is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2638. Jermaine Cook, individually, as surviving spouse of Helen Cook, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jermaine Cook is a resident
 of Maryland. Helen Cook is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2639. Mary Doherty, as the Personal Representative of the Estate of John Doherty,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled

                                             756
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 758 of 962




 beneficiaries and family members of John Doherty, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Mary Doherty is a resident of New York. John
 Doherty is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2640. Mary Doherty, individually, as surviving spouse of John Doherty, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mary Doherty is a resident of
 New York. John Doherty is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2641. Barbara Doherty, individually, as surviving child of John Doherty, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Barbara Doherty is a resident
 of New York. John Doherty is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2642. Maureen Reed, individually, as surviving child of John Doherty, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Maureen Reed is a resident of
 New York. John Doherty is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2643. Sarah Dwyer, individually, as surviving child of Patrick Dwyer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sarah Dwyer is a resident of
 New York. Patrick Dwyer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2644. Jo Ann Dwyer, individually, as surviving spouse of Patrick Dwyer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jo Ann Dwyer is a resident of
 New York. Patrick Dwyer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2645. Jo Ann Dwyer, as the Personal Representative of the Estate of Patrick Dwyer,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Patrick Dwyer, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Jo Ann Dwyer is a resident of New York. Patrick
 Dwyer is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.



                                             757
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 759 of 962




 2646. Brendan Dwyer, individually, as surviving child of Patrick Dwyer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brendan Dwyer is a resident
 of Oregon. Patrick Dwyer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2647. Barbara Echtermann, individually, as surviving parent of Margaret Echtermann, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara
 Echtermann is a resident of Florida. Margaret Echtermann is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2648. Johanna Kmetz, as the Personal Representative of the Estate of Margaret
 Echtermann, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Margaret Echtermann, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Johanna Kmetz is a resident
 of New York. Margaret Echtermann is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2649. Annette Elseth, individually, as surviving spouse of Robert Elseth, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Annette Elseth is a resident
 of Virginia. Robert Elseth is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2650. Annette Elseth, as the Personal Representative of the Estate of Robert Elseth,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Robert Elseth, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Annette Elseth is a resident of Virginia. Robert
 Elseth is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2651. Faith Elseth, individually, as surviving child of Robert Elseth, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Faith Elseth is a resident of
 Virginia. Robert Elseth is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2652. Berta Elseth, individually, as surviving parent of Robert Elseth, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Berta Elseth is a resident of
 Florida. Robert Elseth is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.

                                             758
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 760 of 962




 2653. James Elseth as Personal Representative for the Estate of Curtis Elseth, deceased,
 the late parent of Robert Elseth, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. James Elseth as Personal Representative for the Estate of Curtis
 Elseth is a resident of Florida. Robert Elseth is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2654. James Elseth, individually, as surviving sibling of Robert Elseth, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Elseth is a resident of
 Florida. Robert Elseth is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2655. Harlan Elseth, individually, as surviving sibling of Robert Elseth, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Harlan Elseth is a resident of
 Minnesota. Robert Elseth is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2656. Nancy Bolger, individually, as surviving sibling of Robert Elseth, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nancy Bolger is a resident of
 Ontario. Robert Elseth is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2657. Alfredo Samuel Espinal, individually, as surviving sibling of Jose Espinal, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alfredo Samuel
 Espinal is a resident of Idaho. Jose Espinal is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2658. Dorothy Swick, individually, as surviving sibling of Catherine Fagan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dorothy Swick is a
 resident of Pennsylvania. Catherine Fagan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2659. Veronica Morris, as the Personal Representative of the Estate of Eileen Flecha,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Eileen Flecha, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Veronica Morris is a resident of Virginia. Eileen
 Flecha is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.



                                             759
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 761 of 962




 2660. Veronica Morris, individually, as surviving parent of Eileen Flecha, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Veronica Morris is a resident
 of Virginia. Eileen Flecha is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2661. Jane Thompson, individually, as surviving parent of Jon Grabowski, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jane Thompson is a resident
 of Delaware. Jon Grabowski is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2662. Desmond Green, individually, as surviving sibling of Derrick Green, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Desmond Green is a resident
 of Connecticut. Derrick Green is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2663. Ester Yevdayeva, individually, as surviving parent of Daniel Ilkanayev, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ester Yevdayeva is a
 resident of New York. Daniel Ilkanayev is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2664. Alfred Jeffries, Sr., individually, as surviving parent of Alva Jeffries Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alfred Jeffries, Sr. is
 a resident of New Jersey. Alva Jeffries Sanchez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2665. Malikah Jeffries, individually, as surviving sibling of Alva Jeffries Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Malikah Jeffries is a
 resident of Massachusetts. Alva Jeffries Sanchez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2666. Alexandra Lopez Feliciano, individually, as surviving child of George Lopez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexandra Lopez
 Feliciano is a resident of Florida. George Lopez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.



                                              760
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 762 of 962




 2667. Doris McCloud, individually, as surviving parent of Tara McCloud Gray, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Doris McCloud is a
 resident of Iowa. Tara McCloud Gray is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2668. Tommie Milam, individually, as surviving parent of Ronald Milam, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tommie Milam is a resident
 of Oklahoma. Ronald Milam is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2669. Effie Milam, individually, as surviving parent of Ronald Milam, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Effie Milam is a resident of
 Texas. Ronald Milam is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2670. Steven Wayne Milam, individually, as surviving sibling of Ronald Milam, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Steven Wayne
 Milam is a resident of Oklahoma. Ronald Milam is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2671. Winsome Nelson-Reid, individually, as surviving parent of Michele Ann Nelson,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Winsome
 Nelson-Reid is a resident of New York. Michele Ann Nelson is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2672. Winsome Nelson-Reid, as the Personal Representative of the Estate of Michele
 Nelson, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Michele Ann Nelson, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Winsome Nelson-Reid is a resident of
 New York. Michele Ann Nelson is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2673. Monique Riviere, individually, as surviving sibling of Michele Ann Nelson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Monique Riviere is a
 resident of Maryland. Michele Ann Nelson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                            761
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 763 of 962




 2674. Sheila O'Shea, as the Personal Representative of the Estate of Patrick O'Shea,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Patrick O'Shea, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Sheila O'Shea is a resident of New York. Patrick
 O'Shea is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2675. Sheila O'Shea, individually, as surviving spouse of Patrick O'Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sheila O'Shea is a resident of
 New York. Patrick O'Shea is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2676. Patrick O'Shea, Jr., individually, as surviving child of Patrick O'Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patrick O'Shea, Jr. is a
 resident of New York. Patrick O'Shea is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2677. Megan O'Shea, individually, as surviving child of Patrick O'Shea, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Megan O'Shea is a resident of
 New York. Patrick O'Shea is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2678. Edwin Ovalles, individually, as surviving child of Jesus Ovalles, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Edwin Ovalles is a resident
 of Pennsylvania. Jesus Ovalles is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2679. John Doe 90, being intended to designate the Personal Representative of the
 Estate of Jesus Ovalles, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Jesus Ovalles, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Jesus Ovalles is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2680. Pamela Pabon, individually, as surviving child of Israel Pabon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Pamela Pabon is a resident of

                                             762
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 764 of 962




 Puerto Rico. Israel Pabon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2681. Terry Paul, individually, as surviving sibling of James Paul, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Terry Paul is a resident of the District
 of Columbia. James Paul is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2682. John Doe 94, being intended to designate the Personal Representative of the
 Estate of James Paul, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of James Paul, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. James Paul is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2683. Carey Pierce, individually, as surviving sibling of Dennis Pierce, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Carey Pierce is a resident of
 France. Dennis Pierce is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2684. Barbara Timpone, individually, as surviving sibling of Dennis Pierce, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Barbara Timpone is a
 resident of Arizona. Dennis Pierce is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2685. John Doe 97, being intended to designate the Personal Representative of the
 Estate of Dennis Pierce, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Dennis Pierce, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Dennis Pierce is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.


                                             763
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 765 of 962




 2686. Cynthia Lesemann, individually, as surviving sibling of James Sands, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cynthia Lesemann is
 a resident of New Jersey. James Sands, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2687. Geraldine Sands, individually, as surviving parent of James Sands, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Geraldine Sands is a
 resident of New Jersey. James Sands, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2688. Loreen Fremaint, individually, as surviving sibling of James Sands, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Loreen Fremaint is a
 resident of New Jersey. James Sands, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2689. Dinnette Medina, individually, as surviving sibling of Ayleen Santiago, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dinnette Medina is a
 resident of Pennsylvania. Ayleen Santiago is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2690. Otis Tolbert, individually, as surviving parent of Otis Tolbert, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Otis Tolbert is a resident of
 California. Otis Tolbert is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2691. Nancy Tolbert, individually, as surviving parent of Otis Tolbert, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nancy Tolbert is a resident of
 California. Otis Tolbert is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2692. John Doe 91, being intended to designate the Personal Representative of the
 Estate of Otis Tolbert, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Otis Tolbert, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Otis Tolbert is one of the Decedents murdered as a result of the

                                             764
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 766 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2693. Alda Walcott, as the Personal Representative of the Estate of Courtney Walcott,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Courtney Walcott, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Alda Walcott is a resident of Florida. Courtney
 Walcott is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2694. Alda Walcott, individually, as surviving parent of Courtney Walcott, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alda Walcott is a resident of
 Florida. Courtney Walcott is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2695. Hector L. Walcott, individually, as surviving parent of Courtney Walcott, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Hector L. Walcott is
 a resident of Florida. Courtney Walcott is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2696. Andrew Walcott, individually, as surviving sibling of Courtney Walcott, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew Walcott is a
 resident of New York. Courtney Walcott is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2697. Delano Walcott, individually, as surviving sibling of Courtney Walcott, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Delano Walcott is a
 resident of Arizona. Courtney Walcott is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2698. John Doe 89, being intended to designate the Personal Representative of the
 Estate of Edward White, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed) on behalf
 of the Estate, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Edward White, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Edward White is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                            765
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 767 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2699. Christopher White, individually, as surviving sibling of Edward White, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher White is
 a resident of New York. Edward White is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2700. Regina White, individually, as surviving parent of Edward White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Regina White is a resident of
 New York. Edward White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2701. Regina White, as Personal Represntative of the Estate of Edward James White,
 Jr., deceased, the late parent of Edward White, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Regina White, as Personal Represntative of the Estate of
 Edward James White, Jr. is a resident of New York. Edward White is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2702. William White, individually, as surviving sibling of Edward White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. William White is a resident
 of New York. Edward White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2703. Suzanne Antoniou, individually, as surviving sibling of Edward White, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Suzanne Antoniou is
 a resident of New York. Edward White is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2704. James White, individually, as surviving sibling of Edward White, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James White is a resident of
 New York. Edward White is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2705. Wanda Rose, individually, as surviving sibling of Lisa Young, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Wanda Rose is a resident of
 Maryland. Lisa Young is one of the Decedents murdered as a result of the terrorist attacks


                                              766
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 768 of 962




 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2706. Barry Amundson, individually, as surviving sibling of Craig Amundson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Barry Amundson is
 a resident of Oregon. Craig Amundson is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2707. Ramona Schroeder, individually, as surviving parent of Lorraine Antigua, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ramona Schroeder
 is a resident of Florida. Lorraine Antigua is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2708. Charles Schroeder, individually, as surviving parent of Lorraine Antigua, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Charles Schroeder is
 a resident of Florida. Lorraine Antigua is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2709. Sasha Cardona, individually, as surviving child of Jose Cardona , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sasha Cardona is a resident
 of New York. Jose Cardona is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2710. Daniel Acevedo , individually, as surviving sibling of Vivian Casalduc, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel Acevedo is a
 resident of Florida. Vivian Casalduc is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2711. Jennifer Sullivan, individually, as surviving child of Michael Curtin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jennifer Sullivan is a resident
 of Massachusetts. Michael Curtin is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2712. Barbara Echtermann as Personal Representative of the Estate of Helmut
 Echtermann, deceased, the late parent of Margaret Echtermann, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Barbara Echtermann as Personal
 Representative of the Estate of Helmut Echtermann is a resident of Florida. Margaret
 Echtermann is one of the Decedents murdered as a result of the terrorist attacks of

                                             767
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 769 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2713. Dietrich Echtermann, individually, as surviving sibling of Margaret Echtermann,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Dietrich
 Echtermann is a resident of California. Margaret Echtermann is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2714. Heidemarie Echtermann-Toribio, individually, as surviving sibling of Margaret
 Echtermann, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Heidemarie Echtermann-Toribio is a resident of Singapore. Margaret Echtermann is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2715. Christopher Fagan, individually, as surviving child of Catherine Fagan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Fagan is
 a resident of New York. Catherine Fagan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2716. Brenda Fallon, as the Personal Representative of the Estate of William Fallon,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of William Fallon, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Brenda Fallon is a resident of New Jersey. William
 Fallon is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2717. Brenda Fallon, individually, as surviving spouse of William Fallon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brenda Fallon is a resident of
 New Jersey. William Fallon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2718. Christopher Fallon, individually, as surviving child of William Fallon, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christopher Fallon is
 a resident of North Carolina. William Fallon is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2719. Patricia Quinlan, individually, as surviving sibling of William Fallon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Quinlan is a resident
 of Vermont. William Fallon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

                                             768
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 770 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2720. Stephen Fallon, individually, as surviving sibling of William Fallon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stephen Fallon is a resident
 of Iowa. William Fallon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2721. Donald Fallon, individually, as surviving sibling of William Fallon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Donald Fallon is a resident of
 New Jersey. William Fallon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2722. Peter Fallon, individually, as surviving sibling of William Fallon, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peter Fallon is a resident of
 New Jersey. William Fallon is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2723. Reehan Syed a/k/a Syed Reehan, individually, as surviving child of Syed Abdul
 Fatha, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Reehan
 Syed a/k/a Syed Reehan is a resident of India. Syed Abdul Fatha is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2724. Banu Khursheed a/k/a Khursheed Banu, individually, as surviving child of Syed
 Abdul Fatha, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Banu Khursheed a/k/a Khursheed Banu is a resident of India. Syed Abdul Fatha is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2725. Yaseen Syed a/k/a Syed Yaseen, individually, as surviving child of Syed Abdul
 Fatha, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Yaseen
 Syed a/k/a Syed Yaseen is a resident of India. Syed Abdul Fatha is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2726. Syed Zeeshan a/k/a Zeeshan Syed, individually, as surviving child of Syed Abdul
 Fatha, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Syed
 Zeeshan a/k/a Zeeshan Syed is a resident of India. Syed Abdul Fatha is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were


                                             769
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 771 of 962




 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2727. Farhan Syed a/k/a Syed Farhan, individually, as surviving child of Syed Abdul
 Fatha, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Farhan
 Syed a/k/a Syed Farhan is a resident of India. Syed Abdul Fatha is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2728. Loren Smith, individually, as surviving child of Wendy Faulkner, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Loren Smith is a resident of
 Tennessee. Wendy Faulkner is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2729. Ashley Faulkner, individually, as surviving child of Wendy Faulkner, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ashley Faulkner is a resident
 of Ohio. Wendy Faulkner is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2730. Lynn Faulkner, individually, as surviving spouse of Wendy Faulkner, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lynn Faulkner is a resident
 of Ohio. Wendy Faulkner is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2731. Stephen Feely, individually, as surviving sibling of Francis Feely, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stephen Feely is a resident of
 Pennsylvania. Francis Feely is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2732. Alice Feely, individually, as surviving sibling of Francis Feely, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alice Feely is a resident of
 New York. Francis Feely is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2733. Michael Feely, individually, as surviving sibling of Francis Feely, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Michael Feely is a resident of
 New York. Francis Feely is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                             770
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 772 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2734. Jessica Geier, individually, as surviving child of Paul Hamilton Geier , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jessica Geier is a
 resident of New York. Paul Hamilton Geier is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2735. Jessica Geier, as the Personal Representative of the Estate of Paul Hamilton
 Geier, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Paul Hamilton Geier , is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jessica Geier is a resident of New
 York. Paul Hamilton Geier is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2736. Nicole Rasanen and Jessica Geier as the Co-Personal Representatives of the
 Estate of Eleanor Geier, deceased, the late spouse of Paul Hamilton Geier, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicole Rasanen and Jessica
 Geier are residents of New York. Paul Hamilton Geier is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2737. Claudie Nash, individually, as surviving sibling of Diane Hale-McKinzy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Claudie Nash is a
 resident of Georgia. Diane Hale-McKinzy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2738. Craig Hannan, individually, as surviving sibling of Michael Hannan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Craig Hannan is a resident of
 New York. Michael Hannan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2739. Andrea Hannan, as the Personal Representative of the Estate of Michael Hannan,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Michael Hannan, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Andrea Hannan is a resident of South Carolina.
 Michael Hannan is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.



                                            771
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 773 of 962




 2740. Andrea Hannan, individually, as surviving spouse of Michael Hannan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrea Hannan is a
 resident of South Carolina. Michael Hannan is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2741. Rachel Hannan, individually, as surviving child of Michael Hannan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rachel Hannan is a resident
 of South Carolina. Michael Hannan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2742. Alexandra Hannan, individually, as surviving child of Michael Hannan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alexandra Hannan is
 a resident of South Carolina. Michael Hannan is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2743. Jennifer Muller as Personal Representative of the Estate ofBarbara Hannan ,
 deceased, the late parent of Michael Hannan, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Jennifer Muller as Personal Representative of the Estate
 ofBarbara Hannan is a resident of New York. Michael Hannan is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2744. Jennifer Muller, individually, as surviving sibling of Michael Hannan, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jennifer Muller is a
 resident of New York. Michael Hannan is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2745. Peter Hannan, individually, as surviving sibling of Michael Hannan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Peter Hannan is a resident of
 New York. Michael Hannan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2746. Sheri Lynn Berger, individually, as surviving sibling of Ronald Hemenway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sheri Lynn Berger is
 a resident of Kansas. Ronald Hemenway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                             772
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 774 of 962




 2747. Susan Hermer, as the Personal Representative of the Estate of Harvey Hermer,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Harvey Hermer, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Susan Hermer is a resident of New York. Harvey
 Hermer is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2748. Kyra Houston, individually, as surviving sibling of Uhuru Houston, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kyra Houston is a resident of
 New York. Uhuru Houston is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2749. Anane Crandon, individually, as surviving sibling of Uhuru Houston, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Anane Crandon is a resident
 of New York. Uhuru Houston is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2750. Efia Crandon, individually, as surviving sibling of Uhuru Houston, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Efia Crandon is a resident of
 New York. Uhuru Houston is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2751. Efia Crandon as Personal Representative of the Estate of Estella Crandon,
 deceased, the late parent of Uhuru Houston, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Efia Crandon as Personal Representative of the Estate of
 Estella Crandon is a resident of New York. Uhuru Houston is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2752. Matthew Dorsey, individually, as surviving sibling of Jennifer Howley, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew Dorsey is a
 resident of Nebraska. Jennifer Howley is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2753. Victoria Jones, individually, as surviving child of Paul Innella, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Victoria Jones is a resident of
 New York. Paul Innella is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             773
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 775 of 962




 2754. Andy Jean-Pierre, individually, as surviving child of Maxima Jean-Pierre, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andy Jean-Pierre is
 a resident of New York. Maxima Jean-Pierre is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2755. Rachel Jean-Pierre, individually, as surviving child of Maxima Jean-Pierre, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rachel Jean-Pierre is
 a resident of New Jersey. Maxima Jean-Pierre is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2756. Anjunelly Jean-Pierre, individually, as surviving child of Maxima Jean-Pierre, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anjunelly Jean-
 Pierre is a resident of Virginia. Maxima Jean-Pierre is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2757. Ajax Jean-Pierre Jr. , individually, as surviving child of Maxima Jean-Pierre, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ajax Jean-Pierre Jr.
 is a resident of New York. Maxima Jean-Pierre is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2758. Emmet Clyde Jeffries, individually, as surviving sibling of Alva Jeffries Sanchez,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Emmet Clyde
 Jeffries is a resident of California. Alva Jeffries Sanchez is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2759. Kieran Lyons, individually, as surviving sibling of Michael Lyons, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kieran Lyons is a resident of
 Connecticut. Michael Lyons is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2760. Mary Lyons, individually, as surviving child of Michael Lyons, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mary Lyons is a resident of
 New York. Michael Lyons is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             774
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 776 of 962




 2761. Elaine Lyons, individually, as surviving spouse of Michael Lyons, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elaine Lyons is a resident of
 New York. Michael Lyons is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2762. Elaine Lyons, as the Personal Representative of the Estate of Michael Lyons,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Michael Lyons, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Elaine Lyons is a resident of New York. Michael
 Lyons is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2763. Caitlyn Lyons, individually, as surviving child of Michael Lyons, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Caitlyn Lyons is a resident of
 New York. Michael Lyons is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2764. Mirella Matricciano , individually, as surviving parent of Marcellus Matricciano ,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Mirella
 Matricciano is a resident of New York. Marcellus Matricciano is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2765. Umberto Matricciano , individually, as surviving parent of Marcellus Matricciano
 , is a Plaintiff seeking justice for the tragic events of September 11, 2001. Umberto
 Matricciano is a resident of New York. Marcellus Matricciano is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2766. Bruno Matricciano, individually, as surviving sibling of Marcellus Matricciano ,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Bruno
 Matricciano is a resident of Arizona. Marcellus Matricciano is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2767. Rosie Matricciano-Vetere, as Personal Representative of the Estate of Marcellus
 Matricciano, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Marcellus Matricciano , is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Rosie Matricciano-Vetere is a
 resident of Florida. Marcellus Matricciano is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama


                                             775
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 777 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2768. Leslie Faulstich, individually, as surviving sibling of Katie McCloskey, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Leslie Faulstich is a
 resident of Missouri. Katie McCloskey is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2769. Julie Gardner, individually, as surviving sibling of Katie McCloskey, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Julie Gardner is a resident of
 Iowa. Katie McCloskey is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2770. Garland Mercer, individually, as surviving sibling of Wesley Mercer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Garland Mercer is a resident
 of New York. Wesley Mercer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2771. Shannon Moran as Personal Representative of the Estate ofJoyce Moran,
 deceased, the late spouse of Gerard Moran, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Shannon Moran as Personal Representative of the Estate
 ofJoyce Moran is a resident of Maryland. Gerard Moran is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2772. Shannon Moran as Personal Representative of the Estate ofDane Moran,
 deceased, the late child of Gerard Moran, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Shannon Moran as Personal Representative of the Estate
 ofDane Moran is a resident of Maryland. Gerard Moran is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2773. Masako Murphy as Personal Representative of the Estate of Casey Murphy,
 deceased, the late child of Patrick J. Murphy, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Masako Murphy as Personal Representative of the Estate
 of Casey Murphy is a resident of New Jersey. Patrick J. Murphy is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2774. Jamie Nelson, individually, as surviving child of Peter Nelson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jamie Nelson is a resident of

                                             776
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 778 of 962




 Colorado. Peter Nelson is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2775. Chin Yong Wells, individually, as surviving sibling of Chin Sun Pak Wells, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Chin Yong Wells is
 a resident of Oklahoma. Chin Sun Pak Wells is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2776. Suzanne Peraza, individually, as surviving parent of Robert Peraza, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Suzanne Peraza is a resident
 of Florida. Robert Peraza is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2777. Peter Snik as Personal Representative of the Estate ofJohn W. Snik, deceased, the
 late spouse of Laura Ragonese-Snik, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Peter Snik as Personal Representative of the Estate ofJohn W. Snik
 is a resident of Pennsylvania. Laura Ragonese-Snik is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2778. Nadia Ramsaroop, individually, as surviving child of Vishnoo Ramsaroop, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nadia Ramsaroop is
 a resident of Nevada. Vishnoo Ramsaroop is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2779. Shelly Ann Ramkhelawan, individually, as surviving child of Vishnoo
 Ramsaroop, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Shelly Ann Ramkhelawan is a resident of New York. Vishnoo Ramsaroop is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2780. Michelle Ramsaroop, individually, as surviving child of Vishnoo Ramsaroop, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michelle Ramsaroop
 is a resident of Missouri. Vishnoo Ramsaroop is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2781. Ernest LaRoche , individually, as surviving sibling of Deborah Ramsaur , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ernest LaRoche is a

                                            777
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 779 of 962




 resident of New York. Deborah Ramsaur is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2782. Wesley Gargano, individually, as surviving sibling of Karen Renda, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Wesley Gargano is a resident
 of North Carolina. Karen Renda is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2783. Deborah Malek, individually, as surviving child of John Frederick Rhodes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Deborah Malek is a
 resident of New Jersey. John Frederick Rhodes is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2784. Linda Rhodes, individually, as surviving spouse of John Frederick Rhodes , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Linda Rhodes is a
 resident of New Jersey. John Frederick Rhodes is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2785. Matthew Robertson, individually, as surviving child of Donald Robertson, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Matthew Robertson
 is a resident of New Jersey. Donald Robertson, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2786. Michael Robertson, individually, as surviving child of Donald Robertson, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Robertson
 is a resident of New Jersey. Donald Robertson, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2787. Madison Robertson, individually, as surviving child of Donald Robertson, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Madison Robertson
 is a resident of New Jersey. Donald Robertson, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2788. Kevin Robertson, individually, as surviving child of Donald Robertson, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kevin Robertson is a
 resident of New Jersey. Donald Robertson, Jr. is one of the Decedents murdered as a

                                            778
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 780 of 962




 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2789. Neanta McCants as the Personal Representative of the Estate of Trisha McCants,
 deceased, the late child of Judy Rowlett, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Neanta McCants as the Personal Representative of the Estate of
 Trisha McCants is a resident of Virginia. Judy Rowlett is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2790. William Grigonis, individually, as surviving sibling of Susan Ruggiero, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William Grigonis is
 a resident of New York. Susan Ruggiero is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2791. Kim Coleman, individually, as surviving parent of Jacquelyn Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kim Coleman is a
 resident of New York. Jacquelyn Sanchez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2792. Cedric Pitt Sr., as the Personal Representatives of the Estate of Jacquelyn
 Sanchez, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Jacquelyn Sanchez, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Cedric Pitt Sr. is a resident of North
 Carolina. Jacquelyn Sanchez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2793. Michael Coleman, individually, as surviving sibling of Jacquelyn Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Coleman is
 a resident of Virginia. Jacquelyn Sanchez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2794. Ericka Brown, individually, as surviving sibling of Jacquelyn Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ericka Brown is a
 resident of New York. Jacquelyn Sanchez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                              779
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 781 of 962




 2795. Cedric Pitt, Jr., individually, as surviving child of Jacquelyn Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Cedric Pitt, Jr. is a
 resident of North Carolina. Jacquelyn Sanchez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2796. James Signer, individually, as surviving sibling of Dianne Signer, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Signer is a resident of
 New York. Dianne Signer is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2797. JoAnne Romano, individually, as surviving sibling of William Spitz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. JoAnne Romano is a resident
 of New Jersey. William Spitz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2798. Jacqueline Statz, individually, as surviving sibling of Patricia Statz, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jacqueline Statz is a resident
 of Wisconsin. Patricia Statz is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2799. Justin Strauss, individually, as surviving child of Edward Strauss, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Justin Strauss is a resident of
 New Jersey. Edward Strauss is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2800. Yolanda Calderon, individually, as surviving sibling of Jorge Velazquez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Yolanda Calderon is
 a resident of New York. Jorge Velazquez is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2801. Nelson White, Jr., individually, as surviving sibling of Leonard White, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nelson White, Jr. is
 a resident of Virginia. Leonard White is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.



                                             780
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 782 of 962




 2802. Robert Rawlston White, individually, as surviving sibling of Leonard White, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robert Rawlston
 White is a resident of Virginia. Leonard White is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2803. John Robertson, individually, as surviving sibling of Donald Robertson, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Robertson is a
 resident of New Jersey. Donald Robertson, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2804. Abdo Hashem, individually, as surviving sibling of Peter Hashem, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Abdo Hashem is a resident of
 Massachusetts. Peter Hashem is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2805. Chaz Clark, individually, as surviving child of Benjamin K. Clark, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Chaz Clark is a resident of
 Georgia. Benjamin K. Clark is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2806. Salvatore DiFazio, individually, as surviving sibling of Vincent DiFazio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Salvatore DiFazio is
 a resident of New Jersey. Vincent DiFazio is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2807. Teresa Kestenbaum, individually, as surviving sibling of Vincent DiFazio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Teresa Kestenbaum
 is a resident of New Jersey. Vincent DiFazio is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2808. Grace Brennan, individually, as surviving sibling of Vincent DiFazio, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Grace Brennan is a
 resident of New Jersey. Vincent DiFazio is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                            781
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 783 of 962




 2809. Ringo Fernandez, individually, as surviving child of Julio Fernandez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ringo Fernandez is a resident
 of New York. Julio Fernandez is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2810. Edu Umana, individually, as surviving sibling of Sadie Ette, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Edu Umana is a resident of
 Pennsylvania. Sadie Ette is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2811. Itauma Ette and Edu Umana as co-Personal Representatives of the Estate Sunday
 Itauma Ette, deceased, the late parent of Sadie Ette, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Itauma Ette is a resident of New York. Edu Umana
 is a resident of Pennsylvania. Sadie Ette is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2812. Edu Umana as Personal Representative of the Estate of Ekaette Ette, deceased, the
 late parent of Sadie Ette, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Edu Umana as Personal Representative of the Estate of Ekaette Ette is a
 resident of Pennsylvania. Sadie Ette is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2813. Nolton Davis, Jr., individually, as surviving spouse of Ada Davis, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nolton Davis, Jr. is a resident
 of Maryland. Ada Davis is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2814. Nolton Davis, Jr., as the Personal Representative of the Estate of Ada Davis,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Ada Davis, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Nolton Davis, Jr. is a resident of Maryland. Ada
 Davis is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2815. Najwah Miceli, individually, as surviving sibling of Peter Hashem, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Najwah Miceli is a resident
 of Massachusetts. Peter Hashem is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                             782
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 784 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2816. Sabah Hashem-Daher, individually, as surviving sibling of Peter Hashem, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sabah Hashem-
 Daher is a resident of Massachusetts. Peter Hashem is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2817. Najat Arsenault, individually, as surviving sibling of Peter Hashem, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Najat Arsenault is a resident
 of Massachusetts. Peter Hashem is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2818. Najat Arsenault as Personal Representative of the Estate of Rose Sue Hashem,
 deceased, the late sibling of Peter Hashem, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Najat Arsenault as Personal Representative of the Estate
 of Rose Sue Hashem is a resident of Massachusetts. Peter Hashem is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2819. Ryan John Cove, individually, as surviving child of James Cove, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ryan John Cove is a resident
 of Florida. James Cove is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2820. Ann Smith, individually, as surviving spouse of Gary Smith, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Ann Smith is a resident of Virginia.
 Gary Smith is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2821. Ann Smith, as the Personal Representative of the Estate of Gary Smith, deceased,
 on behalf of the Estate, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Gary Smith, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Ann Smith is a resident of Virginia. Gary Smith is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2822. Natalie Smith, individually, as surviving child of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Natalie Smith is a resident of
 Utah. Gary Smith is one of the Decedents murdered as a result of the terrorist attacks of


                                              783
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 785 of 962




 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2823. Nicole Amato, individually, as surviving child of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicole Amato is a resident of
 Virginia. Gary Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2824. Teresa Cheezum, individually, as surviving child of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Teresa Cheezum is a resident
 of Indiana. Gary Smith is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2825. Kristina Smith, individually, as surviving child of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kristina Smith is a resident of
 Maryland. Gary Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2826. Annette Smith, individually, as surviving sibling of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Annette Smith is a resident of
 Virginia. Gary Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2827. Christine McKee, individually, as surviving sibling of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Christine McKee is a resident
 of Arizona. Gary Smith is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2828. Donald Smith, individually, as surviving sibling of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Donald Smith is a resident of
 Virginia. Gary Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2829. Mark Smith, individually, as surviving sibling of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mark Smith is a resident of
 Virginia. Gary Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2830. Annette Smith and Mark Smith as Personal Representatives of the Estate of
 Dorothy Smith, deceased, the late parent of Gary Smith, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Annette Smith and Mark Smith as Personal
 Representatives of the Estate of Dorothy Smith is a resident of Virginia. Gary Smith is

                                             784
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 786 of 962




 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2831. Stephan Smith, individually, as surviving sibling of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stephan Smith is a resident of
 Virginia. Gary Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2832. Mason Smith, individually, as surviving sibling of Gary Smith, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mason Smith is a resident of
 Colorado. Gary Smith is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2833. Brian Schrang, individually, as surviving child of Gerard P. Schrang, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brian Schrang is a resident of
 Florida. Gerard P. Schrang is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2834. Amanda Trerotola, as the Personal Representative of the Estate of Lisa Trerotola,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Lisa Trerotola, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Amanda Trerotola is a resident of New Jersey. Lisa
 Trerotola is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2835. Elizabeth Trerotola as Personal Representative of the Estate of Michael Trerotola,
 deceased, the late spouse of Lisa Trerotola, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Elizabeth Trerotola as Personal Representative of the
 Estate of Michael Trerotola is a resident of New Jersey. Lisa Trerotola is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2836. Amanda Trerotola, individually, as surviving child of Lisa Trerotola, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Amanda Trerotola is a
 resident of Ohio. Lisa Trerotola is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2837. Michael L. Trerotola, individually, as surviving child of Lisa Trerotola, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael L. Trerotola
 is a resident of New Jersey. Lisa Trerotola is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

                                            785
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 787 of 962




 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2838. Jacqueline Fanning , individually, as surviving child of John Fanning, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jacqueline Fanning
 is a resident of New York. John Fanning is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2839. Ryan Fanning, individually, as surviving child of John Fanning, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ryan Fanning is a resident of
 New York. John Fanning is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2840. Jeremy Fanning, individually, as surviving child of John Fanning, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jeremy Fanning is a resident
 of New York. John Fanning is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2841. Tracy Zorpette as Personal Representative of the Estate of Dorothy Burke,
 deceased, the late parent of Brooke Rosenbaum, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Tracy Zorpette as Personal Representative of the Estate of
 Dorothy Burke is a resident of the District of Columbia. Brooke Rosenbaum is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2842. Evan V. Vandommelen-Gonzalez, individually, as surviving spouse of Mauricio
 Gonzalez, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Evan
 V. Vandommelen-Gonzalez is a resident of California. Mauricio Gonzalez is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2843. Sheryl Miller Bechor, as the co-Personal Representative of the Estate of Philip D.
 Miller, deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Philip D. Miller, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Sheryl Miller Bechor is a resident of Florida. Philip D. Miller is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2844. Robin Davis, individually, as surviving sibling of Edward Rowenhorst, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Robin Davis is a
 resident of Indiana. Edward Rowenhorst is one of the Decedents murdered as a result of

                                             786
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 788 of 962




 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2845. Jacob Heber, as the Co-Personal Representative of the Estate of Roberta B.
 Heber, deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Roberta B. Heber, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Jacob Heber is a resident of New York. Roberta B. Heber is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2846. William Youmans, as the co-Personal Representative of the Estate of Suzanne
 Youmans, deceased, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Suzanne Youmans, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. William Youmans is a resident of Florida. Suzanne
 Youmans is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2847. Andrew Strobert, individually, as surviving sibling of Steven Frank Strobert, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew Strobert is a
 resident of New Jersey. Steven Frank Strobert is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2848. Kathleen Shagi, as Personal Representative of the Estate of Michael Shagi,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Michael Shagi, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Kathleen Shagi is a resident of New York. Michael Shagi was
 injured as a result of the terrorist attacks of September 11, 2001, that were carried out by
 al-Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2849. Kathleen Shagi, individually, as surviving spouse of Michael Shagi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kathleen Shagi is a resident
 of New York. Michael Shagi was injured as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2850. Christie Shagi, individually, as surviving child of Michael Shagi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Christie Shagi is a resident of
 New York. Michael Shagi was injured as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2851. Tracie Shagi-Uriguen, individually, as surviving child of Michael Shagi, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tracie Shagi-
 Uriguen is a resident of New York. Michael Shagi was injured as a result of the terrorist

                                             787
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 789 of 962




 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2852. Nicole Shagi, individually, as surviving child of Michael Shagi, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicole Shagi is a resident of
 New York. Michael Shagi was injured as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2853. Helman Correa, individually, as surviving parent of Danny Correa-Gutierrez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Helman Correa is a
 resident of New Jersey. Danny Correa-Gutierrez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2854. Justin Cook, individually, as surviving child of Helen Cook, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Justin Cook is a resident of Maryland.
 Helen Cook is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2855. Mary Ann Ledee, individually, as surviving spouse of Kenneth Charles Ledee, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Mary Ann Ledee is
 a resident of Colorado. Kenneth Charles Ledee is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2856. Anna Ledee as Personal Representative of the Estate of Carlos Ledee, deceased,
 the late parent of Kenneth Charles Ledee, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anna Ledee is a resident of New York. Kenneth Charles
 Ledee is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2857. Jamielah Persol, individually, as surviving spouse of DaJuan Hodges, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jamielah Persol is a resident
 of New Jersey. DaJuan Hodges is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2858. Diane L. Fredericks, individually, as surviving sibling of Andrew Fredericks, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Diane L. Fredericks
 is a resident of California. Andrew Fredericks is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                            788
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 790 of 962




 2859. Nancy Jean Fredericks , individually, as surviving sibling of Andrew Fredericks,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Nancy Jean
 Fredericks is a resident of Wisconsin. Andrew Fredericks is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2860. Timothy Kuveikis, individually, as surviving sibling of Thomas Kuveikis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Timothy Kuveikis is
 a resident of New York. Thomas Kuveikis is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2861. Christine Peschel, individually, as surviving sibling of Thomas Kuveikis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Christine Peschel is
 a resident of Connecticut. Thomas Kuveikis is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2862. Heather Curtin, individually, as surviving child of Michael Curtin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Heather Curtin is a resident
 of New York. Michael Curtin is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2863. Lyndsi Nelson, individually, as surviving child of Peter Nelson, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lyndsi Nelson is a resident of
 Florida. Peter Nelson is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2864. Josephine Romito, individually, as surviving spouse of James Romito, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Josephine Romito is
 a resident of New Jersey. James Romito is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2865. Ellen Romito, individually, as surviving child of James Romito, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ellen Romito is a resident of
 New Jersey. James Romito is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2866. Emily Mathesen, individually, as surviving child of William Mathesen, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Emily Mathesen is a

                                             789
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 791 of 962




 resident of New Jersey. William Mathesen is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2867. Kathleen Mathesen, individually, as surviving spouse of William Mathesen, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Mathesen
 is a resident of South Carolina. William Mathesen is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2868. Tracy Rowenhorst, individually, as surviving spouse of Edward Rowenhorst, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Tracy Rowenhorst
 is a resident of Iowa. Edward Rowenhorst is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2869. Ashley Brandt, individually, as surviving child of Edward Rowenhorst, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ashley Brandt is a
 resident of Texas. Edward Rowenhorst is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2870. Kaitlyn Rowenhorst, individually, as surviving child of Edward Rowenhorst, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kaitlyn Rowenhorst
 is a resident of Virginia. Edward Rowenhorst is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2871. Valerie Caufield, individually, as surviving spouse of Robert Caufield, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Valerie Caufield is a
 resident of Florida. Robert Caufield is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2872. Alfred Jeffries, Jr., individually, as surviving sibling of Alva Jeffries Sanchez, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alfred Jeffries, Jr. is
 a resident of New Jersey. Alva Jeffries Sanchez is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2873. Anne McCloskey as Personal Representative of the Estate of Richard McCloskey,
 deceased, the late parent of Katie McCloskey, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Anne McCloskey is a resident of Indiana. Katie

                                              790
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 792 of 962




 McCloskey is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2874. Rosie Matricciano-Vetere, individually, as surviving spouse of Marcellus
 Matricciano, is a Plaintiff seeking justice for the tragic events of September 11, 2001.
 Rosie Matricciano-Vetere is a resident of Florida. Marcellus Matricciano is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2875. Nicholas Matricciano, individually, as surviving child of Marcellus Matricciano,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Nicholas
 Matricciano is a resident of Florida. Marcellus Matricciano is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2876. Kathleen Gelman, individually, as surviving sibling of Thomas Kuveikis, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Gelman is
 a resident of New York. Thomas Kuveikis is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2877. Mary Buss, individually, as surviving sibling of Julie Geis, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Mary Buss is a resident of Nebraska.
 Julie Geis is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2878. Mary Buss as Personal Representative of the Estate of Betty Geis, deceased, the
 late parent of Julie Geis, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Mary Buss is a resident of Nebraska. Julie Geis is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2879. Eric Johnson, individually, as surviving spouse of Janice Brown, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eric Johnson is a resident of
 New Jersey. Janice Brown is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2880. Lyndsi Nelson as Personal Representative of Estate of Iris Nelson, deceased, the
 late spouse of Peter Nelson, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Lyndsi Nelson as Personal Representative of Estate of Iris Nelson is
 a resident of Florida. Peter Nelson is one of the Decedents murdered as a result of the
 terrorist attacksof September 11, 2001, that were carried out by al-Qaeda and Osama bin

                                              791
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 793 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2881. Jamie Brito, as the Personal Representative of the Estate of Victoria Alvarez-
 Brito, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Victoria Alvarez-Brito, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jamie Brito is a resident of New
 York. Victoria Alvarez-Brito is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2882. Jamie Brito, individually, as surviving child of Victoria Alvarez-Brito, is a
 Plaintiff seekingjustice for the tragic events of September 11, 2001. Jamie Brito is a
 resident of New York. Victoria Alvarez-Brito is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2883. Jamie Brito as Personal Representative of Estate of Mario Brito, deceased, the late
 spouse of Victoria Alvarez-Brito, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Jamie Brito is a resident of New York. Victoria Alvarez-Brito is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks
 2884. Raul Brito, individually, as surviving child of Victoria Alvarez-Brito, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Raul Brito is a resident of
 New York. Victoria Alvarez-Brito is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2885. John Beug, as the Personal Representative of the Estate of Carolyn Beug,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Carolyn Beug, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. John Beug is a resident of California. Carolyn Beug
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2886. John Beug, individually, as surviving spouse of Carolyn Beug, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Beug is a resident of
 California. Carolyn Beug is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and towhich the Taliban provided material support and assistance in furtherance of the
 attacks.
 2887. Lindsey Mayer Beug-Wood, individually, as surviving child of Carolyn Beug, is a
 Plaintiffseeking justice for the tragic events of September 11, 2001. Lindsey Mayer

                                             792
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 794 of 962




 Beug-Wood is a resident of New York. Carolyn Beug is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osamabin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2888. Lauren Paula Mayer-Beug, individually, as surviving child of Carolyn Beug, is a
 Plaintiffseeking justice for the tragic events of September 11, 2001. Lauren Paula Mayer-
 Beugis a resident of California. Carolyn Beug is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osamabin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2889. Nicholas Mayer, individually, as surviving child of Carolyn Beug, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nicholas Mayer is a resident
 of California. Carolyn Beug is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osamabin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2890. Beverly Carlone, individually, as surviving spouse of David Carlone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Beverly Carlone is a resident
 of Connecticut. David Carlone is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osamabin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2891. Beverly Carlone, as the Personal Representative of the Estate of David Carlone,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of David Carlone, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Beverly Carlone is a resident of Connecticut. David
 Carlone is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2892. Jeffrey Fagan, individually, as surviving child of Catherine Fagan, is a Plaintiff
 seekingjustice for the tragic events of September 11, 2001. Jeffrey Fagan is a resident of
 Deutschland. Catherine Fagan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osamabin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2893. James Fagan, individually, as surviving child of Catherine Fagan, is a Plaintiff
 seekingjustice for the tragic events of September 11, 2001. James Fagan is a resident of
 New York. Catherine Fagan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osamabin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2894. Susan M. King, as the Personal Representative of the Estate of Amy King,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled

                                             793
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 795 of 962




 beneficiaries and family members of Amy King, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Susan M. King is a resident of New York. Amy
 King is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaedaand Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2895. Susan M. King as Personal Representative of the Estate of Stewart King,
 deceased, the late parent of Amy King, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Susan M. King as Personal Representative of the Estate of
 Stewart King is a resident of New York. Amy King is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osamabin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks
 2896. Barbara Chucknick, as the Personal Representative of the Estate of Steven
 Chucknick, deceased, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Steven Chucknick, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Barbara Chucknick is a resident of New Jersey. Steven
 Chucknick is one ofthe Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban providedmaterial support and assistance in furtherance of the attacks.
 2897. Barbara Chucknick, individually, as surviving spouse of Steven Chucknick, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Barbara Chucknick
 is a resident of New Jersey. Steven Chucknick is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks
 2898. Steven Chucknick, individually, as surviving child of Steven Chucknick, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Steven Chucknick is
 a resident of New Jersey. Steven Chucknick is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osamabin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2899. Shweta Khandelwal, as the Personal Representative of the Estate of Rajesh
 Khandelwal, deceased, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Rajesh Khandelwal, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Shweta Khandelwal is a resident of New Jersey. Rajesh
 Khandelwal is one ofthe Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban providedmaterial support and assistance in furtherance of the attacks.
 2900. Shweta Khandelwal, individually, as surviving spouse of Rajesh Khandelwal, is a
 Plaintiffseeking justice for the tragic events of September 11, 2001. Shweta Khandelwal
 is a resident of New Jersey. Rajesh Khandelwal is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.

                                             794
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 796 of 962




 2901. Shivam Khandelwal, individually, as surviving child of Rajesh Khandelwal, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shivam Khandelwal
 is a resident of New Jersey. Rajesh Khandelwal is one of the Decedents murdered as a
 result of theterrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osamabin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2902. Joyce Infante, as the Personal Representative of the Estate of Anthony P. Infante,
 Jr., deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Anthony P. Infante, Jr., is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Joyce Infante is a resident of New Jersey. Anthony P.
 Infante, Jr. is one ofthe Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban providedmaterial support and assistance in furtherance of the attacks.
 2903. Joyce Infante, individually, as surviving spouse of Anthony P. Infante, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Joyce Infante is a
 residentof New Jersey. Anthony P. Infante, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osamabin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2904. Maria Costa, individually, as surviving child of Anthony P. Infante, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maria Costa is a
 resident ofNew Jersey. Anthony P. Infante, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2905. John Infante, individually, as surviving child of Anthony P. Infante, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John Infante is a
 resident ofNew Jersey. Anthony P. Infante, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2906. Andrew Infante, individually, as surviving sibling of Anthony P. Infante, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew Infante is a
 resident of New Jersey. Anthony P. Infante, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2907. Fred Infante, individually, as surviving sibling of Anthony P. Infante, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Fred Infante is a
 resident ofNew Jersey. Anthony P. Infante, Jr. is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.


                                            795
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 797 of 962




 2908. Fred Infante as Personal Representative of the Estate of Elizabeth Infante,
 deceased, the late parent of Anthony P. Infante, Jr., is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Fred Infante is a resident of New Jersey. Anthony P.
 Infante, Jr. is one of theDecedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban providedmaterial support and assistance in furtherance of the attacks.
 2909. Fred Infante as Personal Representative of the Estate of Anthony P. Infante, Sr.,
 deceased, the late parent of Anthony P. Infante, Jr., is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Fred Infante is a resident of New Jersey. Anthony P.
 Infante, Jr. is one of theDecedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban providedmaterial support and assistance in furtherance of the attacks.
 2910. Rokshana Miah, individually, as surviving sibling of Nurul Miah, is a Plaintiff
 seeking justicefor the tragic events of September 11, 2001. Rokshana Miah is a resident
 of New York. Nurul Miah is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2911. Nur M. Miah, individually, as surviving sibling of Nurul Miah, is a Plaintiff
 seeking justicefor the tragic events of September 11, 2001. Nur M. Miah is a resident of
 New York. Nurul Miah is one of the Decedents murdered as a result of the terrorist
 attacks of September11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2912. Shewely Miah, individually, as surviving sibling of Nurul Miah, is a Plaintiff
 seeking justicefor the tragic events of September 11, 2001. Shewely Miah is a resident of
 New York. Nurul Miah is one of the Decedents murdered as a result of the terrorist
 attacks of September11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2913. Nurunnahar Miah, individually, as surviving parent of Nurul Miah, is a Plaintiff
 seekingjustice for the tragic events of September 11, 2001. Nurunnahar Miah is a resident
 of New York. Nurul Miah is one of the Decedents murdered as a result of the terrorist
 attacks ofSeptember 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and towhich the Taliban provided material support and assistance in furtherance of the
 attacks.
 2914. Lorraine Nedell, as the Personal Representative of the Estate of Laurence Nedell,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Laurence Nedell, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Lorraine Nedell is a resident of New York. Laurence Nedell is one
 ofthe Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.


                                             796
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 798 of 962




 2915. Lorraine Nedell, individually, as surviving spouse of Laurence Nedell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Lorraine Nedell is a
 resident of New York. Laurence Nedell is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2916. Jennie Nedell, individually, as surviving child of Laurence Nedell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jennie Nedell is a resident of
 New York. Laurence Nedell is one of the Decedents murdered as a result of the terrorist
 attacks ofSeptember 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2917. Laura Nedell, individually, as surviving child of Laurence Nedell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Laura Nedell is a resident of
 New York. Laurence Nedell is one of the Decedents murdered as a result of the terrorist
 attacks ofSeptember 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2918. Rhea Shome, individually, as surviving spouse of Mukul Kumar Agarwala, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rhea Shome is a
 resident of New York. Mukul Kumar Agarwala is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2919. Loubertha Williams, as the Personal Representative of the Estate of Jacqueline
 Young, deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Jacqueline Young, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Loubertha Williams is a resident of South Carolina. Jacqueline
 Young is one ofthe Decedents murdered as a result of the terrorist attacks of September
 11, 2001, thatwere carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2920. Loubertha Williams, individually, as surviving parent of Jacqueline Young, is a
 Plaintiff seekingjustice for the tragic events of September 11, 2001. Loubertha Williams
 is a resident of South Carolina. Jacqueline Young is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and towhich the Taliban provided material support and assistance
 in furtherance of the attacks
 2921. Terrance Young, individually, as surviving sibling of Jacqueline Young, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Terrance Young is a
 resident of Virginia. Jacqueline Young is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osamabin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.


                                             797
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 799 of 962




 2922. James McKenley, individually, as surviving sibling of Jacqueline Young, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. James McKenley is
 a resident of South Carolina. Jacqueline Young is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2923. Derrick McKenley, individually, as surviving sibling of Jacqueline Young, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Derrick McKenley is
 a resident of New York. Jacqueline Young is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osamabin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2924. Theresa Russo-Kempf, individually, as surviving spouse of Michael Russo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Theresa Russo-
 Kempf is a resident of New York. Michael Russo is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2925. Michael Thomas Russo Jr., individually, as surviving child of Michael Russo, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Thomas
 Russo Jr. is a resident of New York. Michael Russo is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2926. Dolores Jane Russo as Personal Representative of the Estate of Anthony Russo,
 deceased, the late parent of Michael Russo, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Dolores Jane Russo is a resident of Pennsylvania. Michael
 Russo is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2927. Patricia McCarthy as Personal Representative of the Estate of Thomas McAvinue,
 deceased, the late parent of Donna Clarke, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Patricia McCarthy is a resident of New York. Donna
 Clarke is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 2928. Aaron Antigua individually, as surviving child of Lorraine Antigua, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Aaron Antigua is a resident
 of New Jersey. Lorraine Antigua is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.



                                            798
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 800 of 962




 2929. Caitlin Antigua individually, as surviving child of Lorraine Antigua, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Caitlin Antigua’s residency is
 to be determined. Lorraine Antigua is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2930. Josephine Tabick individually, as surviving sibling of Debra DiMartino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Josephine Tabick is
 a resident of New Jersey. Debra DiMartino is one of the Decedents murdered as a result
 of theterrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2931. Sol Newman individually, as surviving sibling of Debra DiMartino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Sol Newman is a resident of
 New York. Debra DiMartino is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2932. Angelo Puma individually, as surviving sibling of Debra DiMartino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Angelo Puma is a resident of
 New York. Debra DiMartino is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2933. John Puma, Jr. individually, as surviving sibling of Debra DiMartino, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Puma, Jr. is a resident of
 Florida. Debra DiMartino is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2934. Rosemary Puma individually, as surviving sibling of Debra DiMartino, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Rosemary Puma is a
 resident of Georgia. Debra DiMartino is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2935. Joseph Dixon individually, as surviving parent of DaJuan Hodges, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joseph Dixon is a resident of
 New York. DaJuan Hodges is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             799
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 801 of 962




 2936. Tonya Young individually, as surviving sibling of Lisa Young, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tonya Young is a resident of
 Maryland. Lisa Young is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2937. April Young individually, as surviving sibling of Lisa Young, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. April Young is a resident of
 Maryland. Lisa Young is one of the Decedents murdered as a result of the terrorist attacks
 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2938. John McLoughlin, individually, as injured person John McLoughlin, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John McLoughlin is a
 resident of Florida. John McLoughlin was injured as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2939. Manu Dhingra, individually, as injured person Manu Dhingra, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Manu Dhingra is a resident of
 New York. Manu Dhingra was injured as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2940. William Jimeno, individually, as injured person William Jimeno, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. William Jimeno is a resident
 of New Jersey. William Jimeno was injured as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2941. David LaRoche, individually, as surviving sibling of Deborah Ramsaur, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. David LaRoche is a
 resident of New York. Deborah Ramsaur is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2942. William Innella, individually, as surviving sibling of Paul Innella, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. William Innella is a resident
 of New York. Paul Innella is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2943. Judith Knight, individually, as surviving sibling of Frank Wisniewski, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Judith Knight is a
 resident of Georgia. Frank Wisniewski is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.

                                            800
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 802 of 962




 2944. Judith Knight as Personal Representative of the Estate of Mary Wisniewski,
 deceased, the late parent of Frank Wisniewski, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Judith Knight as Personal Representative of the Estate of
 Mary Wisniewski is a resident of Georgia. Frank Wisniewski is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2945. Judith Knight as Personal Representative of the Estate of Vincent Wisniewski,
 deceased, the late parent of Frank Wisniewski, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Judith Knight as Personal Representative of the Estate of
 Vincent Wisniewski is a resident of Georgia. Frank Wisniewski is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2946. Vincent Wisniewski, individually, as surviving sibling of Frank Wisniewski, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Vincent Wisniewski
 is a resident of New York. Frank Wisniewski is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2947. Walter William Sezna , individually, as surviving sibling of Davis Grier Sezna,
 Jr., is a Plaintiff seeking justice for the tragic events of September 11, 2001. Walter
 William Sezna is a resident of Florida. Davis Grier Sezna, Jr. is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2948. Gail Sezna, as the Personal Representative of the Estate of Davis Sezna, Jr.,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Davis Grier Sezna, Jr., is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Gail Sezna is a resident of Maryland. Davis Grier Sezna, Jr. is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2949. Davis Grier Sezna, individually, as surviving parent of Davis Grier Sezna, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Davis Grier Sezna is
 a resident of Florida. Davis Grier Sezna, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2950. Gail Sezna, individually, as surviving parent of Davis Grier Sezna, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gail Sezna is a
 resident of Maryland. Davis Grier Sezna, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and


                                             801
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 803 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2951. Suzanne Ledee Garcia, individually, as surviving sibling of Kenneth Charles
 Ledee, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Suzanne
 Ledee Garcia is a resident of New York. Kenneth Charles Ledee is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2952. Masia Shurla Riley, as the Personal Representative of the Estate of Scott Powell,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Scott Powell, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Masia Shurla Riley is a resident of District of Columbia. Scott Powell is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2953. Sydney Ayesha Powell, individually, as surviving child of Scott Powell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Sydney Ayesha
 Powell is a resident of Maryland. Scott Powell is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2954. Scott Powell, individually, as surviving child of Scott Powell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Scott Powell is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2955. Casey Brent, individually, as surviving child of Scott Powell, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Scott Powell is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2956. Catherine Powell, individually, as surviving parent of Scott Powell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Scott Powell is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2957. Art Powell, individually, as surviving parent of Scott Powell, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Scott Powell is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2958. Kevin Powell, individually, as surviving sibling of Scott Powell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Scott Powell is one of the

                                            802
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 804 of 962




 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2959. Art Edward Powell, individually, as surviving sibling of Scott Powell, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Scott Powell is one
 of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2960. Shaun Powell, individually, as surviving sibling of Scott Powell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Scott Powell is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2961. Lisa Powell, individually, as surviving sibling of Scott Powell, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Scott Powell is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2962. Paul Hemenway, individually, as surviving sibling of Ronald J. Hemenway, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Paul Hemenway is a
 resident of Kansas. Ronald J. Hemenway is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2963. Wilton White and Artricia McClure as Co-Personal Representatives of the Estate
 of William Woolen, deceased, the late parent of Tamara Thurman, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Wilton White is a resident of Nevada.
 Artricia McClure is resident of Texas. Tamara Thurman is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2964. Amanda Ruddle, individually, as surviving child of David Ruddle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Amanda Ruddle is a resident
 of New York. David Ruddle is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2965. John Doe 116, being intended to designate the Personal Representative of the
 Estate of David Ruddle, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed), on behalf
 of the Estate and on behalf of all survivors and all legally entitled beneficiaries and

                                            803
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 805 of 962




 family members of David Ruddle, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. David Ruddle is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2966. Jessica Mathesen, individually, as surviving child of William Mathesen, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jessica Mathesen is
 a resident of South Carolina. William Mathesen is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2967. Marcus Fields, individually, as surviving sibling of Samuel Fields, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Marcus Fields is a resident of
 New York. Samuel Fields is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2968. Angela Eacobacci, individually, as surviving parent of Joseph Eacobacci, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Angela Eacobacci is
 a resident of Florida. Joseph Eacobacci is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2969. John Doe 118, being intended to designate the Personal Representative of the
 Estate of Joseph Eacobacci, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed), on behalf
 of the Estate and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Joseph Eacobacci, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Joseph Eacobacci is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2970. Alfonso Cisneros, as the Personal Representative of the Estate of Juan Pablo
 Alvarez Cisneros, deceased, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Juan Pablo Alvarez Cisneros, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Alfonso Cisneros is a resident of
 California. Juan Pablo Alvarez Cisneros is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 2971. Alfonso Cisneros, individually, as surviving parent of Juan Pablo Alvarez
 Cisneros, is a Plaintiff seeking justice for the tragic events of September 11, 2001.

                                             804
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 806 of 962




 Alfonso Cisneros is a resident of California. Juan Pablo Alvarez Cisneros is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 2972. Lidia Alvarez , individually, as surviving parent of Juan Pablo Alvarez Cisneros,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Lidia Alvarez is
 a resident of California. Juan Pablo Alvarez Cisneros is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2973. Gillian Gransaull-Joseph, as the Personal Representative of the Estate of Stephen
 Joseph, deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Stephen Joseph, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Gillian Gransaull-Joseph is a resident of Arizona. Stephen Joseph is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2974. Gillian Gransaull-Joseph, individually, as surviving spouse of Stephen Joseph, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Gillian Gransaull-
 Joseph is a resident of Arizona. Stephen Joseph is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2975. Tristan Joseph, individually, as surviving child of Stephen Joseph, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Tristan Joseph is a resident of
 Arizona. Stephen Joseph is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2976. Jorge Montoya, as the Co-Personal Representative of the Estate of Antonio
 Montoya, deceased, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Antonio Montoya, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Jorge Montoya is a resident of Massachusetts. Antonio
 Montoya is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2977. Thomas Fehling, individually, as surviving sibling of Lee Fehling, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Thomas Fehling is a resident
 of New York. Lee Fehling is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             805
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 807 of 962




 2978. Joan Bischoff, individually, as surviving parent of Lee Fehling, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joan Bischoff is a resident of
 Pennsylvania. Lee Fehling is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2979. James Fehling, individually, as surviving sibling of Lee Fehling, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. James Fehling is a resident of
 New York. Lee Fehling is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2980. Danielle Fehling-Wasnieski, as the Personal Representative of the Estate of Lee
 Fehling, deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Lee Fehling, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Danielle Fehling-Wasnieski is a resident of New York. Lee Fehling
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2981. Danielle Fehling-Wasnieski, individually, as surviving spouse of Lee Fehling, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Danielle Fehling-
 Wasnieski is a resident of New York. Lee Fehling is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2982. Kaitlin Fehling, individually, as surviving child of Lee Fehling, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kaitlin Fehling is a resident
 of New York. Lee Fehling is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2983. Megan Fehling, individually, as surviving child of Lee Fehling, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Megan Fehling is a resident
 of New York. Lee Fehling is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2984. Gayle Regan, as the Personal Representative of the Estate of Thomas Regan,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Thomas Regan, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Gayle Regan is a resident of New Jersey. Thomas Regan is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.

                                             806
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 808 of 962




 2985. Gayle Regan, individually, as surviving spouse of Thomas Regan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gayle Regan is a resident of
 New Jersey. Thomas Regan is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 2986. Allaistar Regan, individually, as surviving child of Thomas Regan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Allaistar Regan is a resident
 of New Jersey. Thomas Regan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2987. Connor Regan, individually, as surviving child of Thomas Regan, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Connor Regan is a resident
 of New Jersey. Thomas Regan is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 2988. Page Dantzler Dickerson, as the Personal Representative of the Estate of Jerry
 Dickerson, deceased, and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Jerry Dickerson, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Page Dantzler Dickerson is a resident of Arkansas. Jerry
 Dickerson is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 2989. Page Dantzler Dickerson, individually, as surviving spouse of Jerry Dickerson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Page Dantzler
 Dickerson is a resident of Arkansas. Jerry Dickerson is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2990. Elizabeth Bailey Dickerson, individually, as surviving child of Jerry Dickerson, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Elizabeth Bailey
 Dickerson is a resident of Arkansas. Jerry Dickerson is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2991. William Dickerson, individually, as surviving child of Jerry Dickerson, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William Dickerson
 is a resident of New York. Jerry Dickerson is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.


                                            807
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 809 of 962




 2992. Lisa A. Schunk, as the Co-Personal Representative of the Estate of Edward W.
 Schunk, deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Edward W. Schunk, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Lisa A. Schunk is a resident of Pennsylvania. Edward W. Schunk
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2993. Ana Cisneros, individually, as surviving sibling of Juan Pablo Alvarez Cisneros,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Ana Cisneros is
 a resident of California. Juan Pablo Alvarez Cisneros is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 2994. Anne Lynn Hayashi, as the Personal Representative of the Estate of Stuart (Soo-
 Jin) Lee, deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Stuart (Soo-Jin) Lee, is a Plaintiff seeking justice for the tragic events
 of September 11, 2001. Anne Lynn Hayashi is a resident of New York. Stuart (Soo-Jin)
 Lee is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 2995. Anne Lynn Hayashi, individually, as surviving spouse of Stuart (Soo-Jin) Lee, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Anne Lynn
 Hayashi is a resident of New York. Stuart (Soo-Jin) Lee is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2996. Bradley D. Noack, individually, as surviving spouse of Katherine McGarry
 Noack, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Bradley
 D. Noack is a resident of New Jersey. Katherine McGarry Noack is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 2997. Joseph E. Jurgens, individually, as surviving parent of Thomas Edward Jurgens, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Joseph E. Jurgens
 is a resident of Florida. Thomas Edward Jurgens is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 2998. Jessica Lynn Jurgens, individually, as surviving sibling of Thomas Edward
 Jurgens, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Jessica
 Lynn Jurgens is a resident of New York. Thomas Edward Jurgens is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.

                                             808
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 810 of 962




 2999. Joseph B. Jurgens, individually, as surviving sibling of Thomas Edward Jurgens,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. 3029.2999.
         Joseph B. Jurgens is a resident of New York. Thomas Edward Jurgens is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3000. Mitchell Eacobacci, individually, as surviving parent of Joseph Eacobacci, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mitchell Eacobacci
 is a resident of Florida. Joseph Eacobacci is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3001. Lynda T. Scarcella, as the Personal Representative of the Estate of Paul Fiori,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Paul Fiori, is a Plaintiff seeking justice for the tragic events of September 11,
 2001. Lynda T. Scarcella is a resident of Connecticut. Paul Fiori is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 3002. Lynda T. Scarcella, individually, as surviving spouse of Paul Fiori, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Lynda T. Scarcella is a
 resident of Connecticut. Paul Fiori is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3003. Brittley Wise, as the Personal Representative of the Estate of Richard Salinardi,
 Jr., deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Richard Salinardi, Jr., is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Brittley Wise is a resident of New York. Richard
 Salinardi, Jr. is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 3004. Brittley Wise, individually, as surviving spouse of Richard Salinardi, Jr., is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Brittley Wise is a
 resident of New York. Richard Salinardi, Jr. is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3005. Edith Skrzypek, as the Personal Representative of the Estate of Paul Skrzypek,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Paul Skrzypek, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Edith Skrzypek is a resident of New Jersey. Paul Skrzypek is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that


                                             809
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 811 of 962




 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3006. Albert Skrzypek, individually, as surviving parent of Paul Skrzypek, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Albert Skrzypek is a resident
 of New Jersey. Paul Skrzypek is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3007. Edith Skrzypek, individually, as surviving parent of Paul Skrzypek, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Edith Skrzypek is a resident
 of New Jersey. Paul Skrzypek is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3008. Laura Kingsbury, individually, as surviving sibling of Paul Skrzypek, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Laura Kingsbury is a resident
 of New Jersey. Paul Skrzypek is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3009. Nicole Brathwaite-Dingle, as the Personal Representative of the Estate of Jeffrey
 Dingle, deceased, and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Jeffrey Dingle, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Nicole Brathwaite-Dingle is a resident of Texas. Jeffrey Dingle is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 3010. Nicole Brathwaite-Dingle, individually, as surviving spouse of Jeffrey Dingle, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Nicole Brathwaite-
 Dingle is a resident of Texas. Jeffrey Dingle is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3011. Jassiem Dingle, individually, as surviving child of Jeffrey Dingle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Jassiem Dingle is a resident
 of California. Jeffrey Dingle is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3012. Nia Dingle, individually, as surviving child of Jeffrey Dingle, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Nia Dingle is a resident of
 Texas. Jeffrey Dingle is one of the Decedents murdered as a result of the terrorist attacks


                                             810
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 812 of 962




 of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 3013. John Doe 126 being intended to designate the Personal Representative of the
 Estate of Thomas E. Jurgens, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed),
 on behalf of the Estate and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Thomas E. Jurgens, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Thomas E. Jurgens is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3014. John Doe 127 being intended to designate the Personal Representative of the
 Estate of Dennis J. Gomes, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed), on behalf
 of the Estate and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Dennis J. Gomes, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Dennis J. Gomes is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3015. John Doe 128 being intended to designate the Personal Representative of the
 Estate of Michael S. Lamana, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed),
 on behalf of the Estate and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Michael S. Lamana, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Michael S. Lamana is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3016. John Doe 129 being intended to designate the Personal Representative of the
 Estate of John G. Scharf, deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed), on behalf
 of the Estate and on behalf of all survivors and all legally entitled beneficiaries and
 family members of John G. Scharf, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. John G. Scharf is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                             811
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 813 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3017. Ariel Martinez, individually, as surviving child of Betsy Martinez, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ariel Martinez is a resident
 of Florida. Betsy Martinez is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3018. Carlos G. Albert, individually, as surviving sibling of Ayleen J. Santiago, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Carlos G. Albert is a
 resident of New York. Ayleen J. Santiago is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3019. John Doe 130 being intended to designate the Personal Representative of the
 Estate of Rosemarie Carlson, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed),
 on behalf of the Estate and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Rosemarie Carlson, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Rosemarie Carlson is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3020. John Doe 131 being intended to designate the Personal Representative of the
 Estate of Ayleen J. Santiago, deceased, said name being fictitious, her/his true name is
 not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed),
 on behalf of the Estate and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Ayleen J. Santiago, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Ayleen J. Santiago is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3021. Stefanie Oliva as the Personal Representative of the Estate of Alex Ciccone,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Alex Ciccone, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Stefanie Oliva is a resident of New York. Alex
 Ciccone is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.


                                             812
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 814 of 962




 3022. Stefanie Oliva, individually, as surviving spouse of Alex F. Ciccone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Stefanie Oliva is a resident of
 New York. Alex Ciccone is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3023. John G. Duffy as the Personal Representative of the Estate of Christopher Duffy,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Christopher Duffy, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. John G. Duffy is a resident of Florida.
 Christopher Duffy is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 3024. John G. Duffy, individually, as surviving parent of Christopher Duffy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. John G. Duffy is a
 resident of Florida. Christopher Duffy is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3025. Kathleen Langan, individually, as surviving parent of Christopher Duffy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kathleen Langan is a
 resident of New York. Christopher Duffy is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3026. Kevin Duffy, individually, as surviving sibling of Christopher Duffy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kevin Duffy is a resident of
 New York. Christopher Duffy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3027. Dennis Ketcham as the Personal Representative of the Estate of Douglas
 Ketcham, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Douglas Ketcham, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Dennis Ketcham is a resident of
 Florida. Douglas Ketcham is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3028. Dennis Ketcham, individually, as surviving parent of Douglas D. Ketcham, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Dennis Ketcham is a
 resident of Florida. Douglas Ketcham is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin


                                             813
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 815 of 962




 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3029. Dennis Ketcham as Personal Representative of the Estate of Raenell Ketcham
 deceased, the late parent of Douglas D. Ketcham. Dennis Ketcham is a resident of
 Florida. Douglas Ketcham is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3030. Denyse D. Kruse, individually, as surviving sibling of Douglas D. Ketcham, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Denyse D. Kruse is a
 resident of Florida. Douglas Ketcham is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3031. Michael R. Kuo, individually, as surviving child of Frederick Kuo, Jr. , is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael R. Kuo is a
 resident of New York. Frederick Kuo, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3032. Dean Taylor, individually, as surviving sibling of Kip P. Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dean Taylor is a resident of
 Colorado. Kip P. Taylor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3033. John Luke Taylor, individually, as surviving child of Kip P. Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. John Luke Taylor is a
 resident of Colorado. Kip P. Taylor is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3034. Dean Ross Taylor, individually, as surviving child of Kip P. Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Dean Ross Taylor is a
 resident of Colorado. Kip P. Taylor is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3035. Kay Ann Taylor, individually, as surviving parent of Kip P. Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kay Ann Taylor is a resident
 of Colorado. Kip P. Taylor is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                            814
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 816 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3036. Ann Marie Taylor, individually, as surviving sibling of Kip P. Taylor, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Ann Marie Taylor is
 a resident of Colorado. Kip P. Taylor is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3037. Vera Schleeter as the Personal Representative of the Estate of Kip P. Taylor,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Kip P. Taylor, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Vera Schleeter is a resident of Virginia. Kip P.
 Taylor is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 3038. Vera Schleeter as Personal Representative of the Estate of Nancy Taylor
 deceased, the late spouse of Kip P. Taylor. Vera Schleeter is a resident of Virginia. Kip P.
 Taylor is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 3039. John Doe 132 being intended to designate the Personal Representative of the
 Estate of Myrna T. Maldonado-Agosto, deceased, said name being fictitious, her/his true
 name is not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed),
 on behalf of the Estate and on behalf of all survivors and all legally entitled beneficiaries
 and family members of Myrna T. Maldonado-Agosto, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Myrna T. Maldonado-Agosto is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3040. John Doe 134 being intended to designate the Personal Representative of the
 Estate of Frederick Kuo, Jr., deceased, said name being fictitious, her/his true name is not
 presently known, confirmed, and/or has not been duly appointed by a court of competent
 jurisdiction (or having been so appointed, his or her appointment has expired, and/or he
 or she has ceased to serve, and his or her successor has not yet been appointed), on behalf
 of the Estate and on behalf of all survivors and all legally entitled beneficiaries and
 family members of Frederick Kuo, Jr., is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Frederick Kuo, Jr. is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3041. John Doe 135 being intended to designate the Personal Representative of the
 Estate of William Howard Pohlmann, deceased, said name being fictitious, her/his true

                                             815
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 817 of 962




 name is not presently known, confirmed, and/or has not been duly appointed by a court of
 competent jurisdiction (or having been so appointed, his or her appointment has expired,
 and/or he or she has ceased to serve, and his or her successor has not yet been appointed),
 on behalf of the Estate and on behalf of all survivors and all legally entitled beneficiaries
 and family members of William Howard Pohlmann, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. William Howard Pohlmann is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 3042. Valada B. Penny as the Personal Representative of the Estate of Richard Penny,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Richard Penny, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Valada B. Penny is a resident of Georgia. Richard
 Penny is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 3043. Valada B. Penny, individually, as surviving spouse of Richard Penny, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Valada B. Penny is a
 resident of Georgia. Richard Penny is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3044. Richard Penny, individually, as surviving child of Richard Penny, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Richard Penny is a resident
 of Georgia. Richard Penny is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3045. Eve Bucca as the Personal Representative of the Estate of Ronald P. Bucca,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Ronald P. Bucca, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Eve Bucca is a resident of New York. Ronald P.
 Bucca is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 3046. Eve Bucca, individually, as surviving spouse of Ronald P. Bucca, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eve Bucca is a resident of
 New York. Ronald P. Bucca is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3047. Ronald Bucca, individually, as surviving child of Ronald P. Bucca, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Ronald Bucca is a resident of
 Pennsylvania. Ronald P. Bucca is one of the Decedents murdered as a result of the

                                             816
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 818 of 962




 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3048. Thomas Kelleher as the Personal Representative of the Estate of Stephen Roach,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Stephen Roach, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Thomas Kelleher is a resident of Florida. Stephen
 Roach is one of the Decedents murdered as a result of the terrorist attacks of September
 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the
 Taliban provided material support and assistance in furtherance of the attacks.
 3049. Caitlin Duffy Meloy, individually, as surviving sibling of Christopher Duffy, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Caitlin Duffy Meloy
 is a resident of Massachusetts. Christopher Duffy is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3050. Angelina Jimenez as the Personal Representative of the Estate of Elena Ledesma,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Elena Ledesma, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Angelina Jimenez is a resident of Rhode Island.
 Elena Ledesma is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 3051. Angelina Jimenez, individually, as surviving child of Elena Ledesma, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Angelina Jimenez is a
 resident of Rhode Island. Elena Ledesma is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3052. Shanhellen Jimenez, individually, as surviving child of Elena Ledesma, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Shanhellen Jimenez
 is a resident of New York. Elena Ledesma is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3053. Elizabeth Rick as the Personal Representative of the Estate of Scott Bart,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Scott Bart, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Elizabeth Rick is a resident of New York. Scott Bart is
 one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,
 that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.



                                             817
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 819 of 962




 3054. Elizabeth Rick, individually, as surviving spouse of Scott Bart, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Elizabeth Rick is a resident
 of New York. Scott Bart is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3055. Jessica Bucca-Hughes, individually, as surviving child of Ronald P. Bucca, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Jessica Bucca-
 Hughes is a resident of New York. Ronald P. Bucca is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3056. Alfred R. Bucca, individually, as surviving sibling of Ronald P. Bucca, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Alfred R. Bucca is a
 resident of New York. Ronald P. Bucca is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3057. Robert Bucca, individually, as surviving sibling of Ronald P. Bucca, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Robert Bucca is a resident of
 New York. Ronald P. Bucca is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3058. Astrid Bucca, individually, as surviving sibling of Ronald P. Bucca, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Astrid Bucca is a resident of
 New York. Ronald P. Bucca is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3059. Astrid Bucca as Personal Representative of the Estate of Joseph Bucca deceased,
 the late parent of Ronald P. Bucca, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Astrid Bucca is a resident of New York. Ronald P. Bucca is one of
 the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that
 were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3060. Brian Duffy, individually, as surviving sibling of Christopher Duffy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brian Duffy is a resident of
 New York. Christopher Duffy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.



                                             818
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 820 of 962




 3061. Kara Mylod, individually, as surviving sibling of Christopher Duffy, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kara Mylod is a resident of
 Georgia. Christopher Duffy is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3062. Adriana Fiori, individually, as surviving child of Paul Fiori, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Adriana Fiori is a resident of
 Connecticut. Paul Fiori is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3063. Debbi Fiori, individually, as surviving child of Paul Fiori, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Debbi Fiori is a resident of
 Connecticut. Paul Fiori is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3064. Cynthia M. Gomes, individually, as surviving spouse of Dennis James Gomes, is
 a Plaintiff seeking justice for the tragic events of September 11, 2001. Cynthia M. Gomes
 is a resident of North Carolina. Dennis James Gomes is one of the Decedents murdered as
 a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3065. Mackenzie Gomes, individually, as surviving child of Dennis James Gomes, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Mackenzie Gomes is
 a resident of North Carolina. Dennis James Gomes is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3066. Isabel Roach, individually, as surviving spouse of Stephen Roach, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Isabel Roach is a resident of
 South Carolina. Stephen Roach is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3067. Mackenzie Roach, individually, as surviving child of Stephen Roach, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Mackenzie Roach is a
 resident of Massachusetts. Stephen Roach is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.



                                             819
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 821 of 962




 3068. Eileen Roach, individually, as surviving child of Stephen Roach, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Eileen Roach is a resident of
 New Jersey. Stephen Roach is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3069. Stephen Roach, Jr., individually, as surviving child of Stephen Roach, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Stephen Roach, Jr. is
 a resident of New York. Stephen Roach is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3070. Kimberly Trudel as the Personal Representative of the Estate of Frederick
 Rimmele III, deceased, on behalf of the Estate, and on behalf of all survivors and all
 legally entitled beneficiaries and family members of Frederick Rimmele III, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Kimberly Trudel is a resident
 of Massachusetts. Frederick Rimmele III is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3071. Kimberly Trudel, individually, as surviving spouse of Frederick Rimmele III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kimberly Trudel is a
 resident of Massachusetts. Frederick Rimmele III is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3072. Amy Mulderry as the Personal Representative of the Estate of Stephen Mulderry,
 deceased, on behalf of the Estate, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Stephen Mulderry, is a Plaintiff seeking justice for
 the tragic events of September 11, 2001. Amy Mulderry is a resident of New York.
 Stephen Mulderry is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 3073. Anne M. Mulderry, individually, as surviving parent of Stephen Mulderry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anne M. Mulderry
 is a resident of New York. Stephen Mulderry is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3074. Darra Mulderry, individually, as surviving sibling of Stephen Mulderry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Darra Mulderry is a
 resident of Rhode Island. Stephen Mulderry is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and


                                             820
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 822 of 962




 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3075. Daniel Mulderry, individually, as surviving sibling of Stephen Mulderry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Daniel Mulderry is a
 resident of California. Stephen Mulderry is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3076. Andrew Mulderry, individually, as surviving sibling of Stephen Mulderry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Andrew Mulderry is
 a resident of New York. Stephen Mulderry is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3077. Peter Mulderry, individually, as surviving sibling of Stephen Mulderry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter Mulderry is a
 resident of New York. Stephen Mulderry is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3078. Amy Mulderry, individually, as surviving sibling of Stephen Mulderry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Amy Mulderry is a
 resident of New York. Stephen Mulderry is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3079. Amy Mulderry as Personal Representative of the Estate of William Mulderry
 deceased, the late parent of Stephen Mulderry, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Amy Mulderry is a resident of New York. Stephen
 Mulderry is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 3080. Anne C. Mulderry, individually, as surviving sibling of Stephen Mulderry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anne C. Mulderry is
 a resident of New York. Stephen Mulderry is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3081. William J. Mulderry, individually, as surviving sibling of Stephen Mulderry, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. William J. Mulderry
 is a resident of New Jersey. Stephen Mulderry is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda


                                             821
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 823 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3082. Anthony J. Alvarado, individually, as surviving child of Anthony Alvarado, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Anthony J. Alvarado
 is a resident of New York. Anthony Alvarado is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3083. Jeannette Ramos, as the Personal Representative of the Estate of Anthony
 Alvarado, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of Anthony Alvarado, is a Plaintiff seeking
 justice for the tragic events of September 11, 2001. Jeannette Ramos is a resident of New
 York. Anthony Alvarado is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3084. June Pietruszkiewicz as the Personal Representative of the Estate of James
 Suozzo, deceased, on behalf of the Estate, and on behalf of all survivors and all legally
 entitled beneficiaries and family members of James Suozzo, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. June Pietruszkiewicz is a resident of South
 Carolina. James Suozzo is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3085. June Pietruszkiewicz, individually, as surviving spouse of James Suozzo. June
 Pietruszkiewicz is a resident of South Carolina. James Suozzo is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 3086. Timothy Suozzo, individually, as surviving child of James Suozzo. James Suozzo
 is one of the Decedents murdered as a result of the terrorist attacks of September 11,
 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which the Taliban
 provided material support and assistance in furtherance of the attacks.
 3087. Alex Suozzo, individually, as surviving child of James Suozzo. Alex Suozzo is a
 resident of New York. James Suozzo is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3088. Maribeth Eccleston, individually, as surviving sibling of Terence A. McShane is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maribeth Eccleston
 is a resident of New York. Terence A. McShane is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda


                                             822
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 824 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3089. Laurie Spampinato, individually, as surviving spouse of Donald Spampinato, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001.. Laurie Spampinato
 is a resident of New York. Donald Spampinato is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3090. Donald Spampinato, individually, as surviving child of Donald Spampinato, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Donald Spampinato
 is a resident of New York. Donald Spampinato is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3091. David Spampinato, individually, as surviving child of Donald Spampinato, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. David Spampinato is
 a resident of New York. Donald Spampinato is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3092. Peter Spampinato, individually, as surviving child of Donald Spampinato, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Peter Spampinato is
 a resident of New York. Donald Spampinato is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3093. Diane Genco, individually, as surviving spouse of Peter Genco, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Diane Genco is a resident of
 New York. Peter Genco is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3094. Annalisa Genco, individually, as surviving child of Peter Genco, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Annalisa Genco is a resident
 of New York. Peter Genco is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3095. Victoria Genco, individually, as surviving child of Peter Genco, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Victoria Genco is a resident
 of New York. Peter Genco is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                            823
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 825 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3096. Maryclair Leistman, individually, as surviving spouse of David Leistman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Maryclair Leistman
 is a resident of New York. David Leistman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3097. Brian Leistman, individually, as surviving child of David Leistman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Brian Leistman is a resident
 of Massachusetts. David Leistman is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3098. Katherine Leistman, individually, as surviving child of David Leistman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Katherine Leistman
 is a resident of Connecticut. David Leistman is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3099. Janlyn Scauso, individually, as surviving spouse of Dennis Scauso, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Janlyn Scauso is a resident of
 New York. Dennis Scauso is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3100. Darcie Bailey-Scauso, individually, as surviving child of Dennis Scauso, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Darcie Bailey-
 Scauso is a resident of New York. Dennis Scauso is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3101. Donald Scauso, individually, as surviving child of Dennis Scauso, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Donald Scauso is a resident
 of New York. Dennis Scauso is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3102. Gabrielle Scauso, individually, as surviving child of Dennis Scauso, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Gabrielle Scauso is a resident
 of New York. Dennis Scauso is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,


                                            824
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 826 of 962




 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3103. Juliette Scauso, individually, as surviving child of Dennis Scauso, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Juliette Scauso is a resident
 of New York. Dennis Scauso is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3104. Cella Woo-Yuen, individually, as surviving spouse of Elkin Yuen, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Cella Woo-Yuen is a resident
 of New York. Elkin Yuen is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3105. Kimberly Trudel, individually, as surviving spouse of Frederick Rimmele III, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Kimberly Trudel is a
 resident of Massachusetts. Frederick Rimmele III is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3106. Linda Pohlmann, individually, as surviving spouse of William H. Pohlmann, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Linda Pohlmann is a
 resident of New York. William H. Pohlmann is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3107. Patricia Paul, individually, as surviving spouse of James Paul, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Patricia Paul is a resident of
 Illinois. James Paul is one of the Decedents murdered as a result of the terrorist attacks of
 September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to
 which the Taliban provided material support and assistance in furtherance of the attacks.
 3108. Monique Kerman, individually, as surviving child of James Paul, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Monique Kerman is a
 resident of Washington. James Paul is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3109. Danielle Ridley, individually, as surviving child of James Paul, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Danielle Ridley is a resident
 of Tennessee. James Paul is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             825
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 827 of 962




 3110. Brian Weaver as Personal Representative of the Estate of Joan Weaver, deceased,
 the late parent of Walter Weaver, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Brian Weaver is a resident of Florida. Walter Weaver is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3111. Brian Weaver as the Personal Representative of the Estate of Walter Weaver,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Walter Weaver, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Brian Weaver is a resident of Florida. Walter Weaver is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3112. Marisa John, individually, as surviving child of Charles Gregory John, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Marisa John is a
 resident of New York. Charles Gregory John is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3113. Greffery John, individually, as surviving child of Charles Gregory John, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Greffery John is a
 resident of New York. Charles Gregory John is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3114. Gregory John, individually, as surviving child of Charles Gregory John, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Gregory John is a
 resident of New York. Charles Gregory John is one of the Decedents murdered as a result
 of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and
 Osama bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3115. Luis Revilla, Jr., individually, as surviving child of Luis Clodoaldo Revilla Mier,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Luis Revilla, Jr.
 is a resident of California. Luis Clodoaldo Revilla Mier is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.
 3116. Michael Revilla, individually, as surviving child of Luis Clodoaldo Revilla Mier,
 is a Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Revilla
 is a resident of California. Luis Clodoaldo Revilla Mier is one of the Decedents murdered
 as a result of the terrorist attacks of September 11, 2001, that were carried out by al-
 Qaeda and Osama bin Laden, and to which the Taliban provided material support and
 assistance in furtherance of the attacks.


                                             826
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 828 of 962




 3117. Wilton White, individually, as surviving sibling of Tamara Thurman, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Wilton White is a resident of
 Nevada. Tamara Thurman is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3118. Artricia McClure, individually, as surviving sibling of Tamara Thurman, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Artricia McClure is
 a resident of Georgia. Tamara Thurman is one of the Decedents murdered as a result of
 the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama
 bin Laden, and to which the Taliban provided material support and assistance in
 furtherance of the attacks.
 3119. Michael Weaver, individually, as surviving sibling of Walter Weaver, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Weaver is a
 resident of New York. Walter Weaver is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3120. Simone Taylor, individually, as surviving child of Donnie Taylor, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Donnie Taylor is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3121. Tameeka Taylor as Personal Representative of Estate of Donnie Taylor, Jr.,
 deceased, the late child of Donnie Taylor, is a Plaintiff seeking justice for the tragic
 events of September 11, 2001. Donnie Taylor is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks
 3122. Brian Weaver and Michael Weaver as Co-Personal Representatives of the Estate
 of William Weaver, the late parent of Walter Weaver, is a Plaintiff seeking justice for the
 tragic events of September 11, 2001. Brian Weaver is a resident of Florida. Michael
 Weaver is a resident of New York. Walter Weaver is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks
 3123. Paul Britton as the Personal Representative of the Estate of Marion Britton,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Marion Britton, is a Plaintiff seeking justice for the tragic events of
 September 11, 2001. Paul Britton is a resident of New York. Marion Britton is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.


                                            827
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 829 of 962




 3124. Paul Britton, individually, as surviving sibling of Marion Britton, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Paul Britton is a resident of
 New York. Marion Britton is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3125. Stephen Ciccone, individually, as surviving child of Alex Ciccone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alex Ciccone is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3126. Julia Ciccone, individually, as surviving child of Alex Ciccone, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Alex Ciccone is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3127. Shari Tolbert, individually, as surviving spouse of Otis Tolbert, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Shari Tolbert is a resident of
 California. Otis Tolbert is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3128. Brittany Tolbert, individually, as surviving child of Otis Tolbert, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Otis Tolbert is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3129. Amanda Tolbert, individually, as surviving child of Otis Tolbert, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Otis Tolbert is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3130. Anthony Tolbert, individually, as surviving child of Otis Tolbert, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Otis Tolbert is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3131. Raymond Pena, individually, as surviving child of Raymond York, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Raymond Pena is a resident
 of Florida. Raymond York is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.

                                             828
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 830 of 962




 3132. Paulina Cardona, as the Personal Representative of the Estate of Jose Cardona,
 deceased, and on behalf of all survivors and all legally entitled beneficiaries and family
 members of Jose Cardona, is a Plaintiff seeking justice for the tragic events of September
 11, 2001. Paulina Cardona is a resident of Florida. Jose Cardona is one of the Decedents
 murdered as a result of the terrorist attacks of September 11, 2001, that were carried out
 by al-Qaeda and Osama bin Laden, and to which the Taliban provided material support
 and assistance in furtherance of the attacks.
 3133. Paulina Cardona, individually, as surviving spouse of Jose Cardona, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Paulina Cardona is a resident
 of Florida. Jose Cardona is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3134. Joshua Cardona, individually, as surviving child of Jose Cardona, is a Plaintiff
 seeking justice for the tragic events of September 11, 2001. Joshua Cardona is a resident
 of Florida. Jose Cardona is one of the Decedents murdered as a result of the terrorist
 attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,
 and to which the Taliban provided material support and assistance in furtherance of the
 attacks.
 3135. Kelly Weightman Diaz-Piedra, as the Personal Representative of the Estate of
 Michael Diaz-Piedra, deceased, and on behalf of all survivors and all legally entitled
 beneficiaries and family members of Michael Diaz-Piedra, is a Plaintiff seeking justice
 for the tragic events of September 11, 2001. Kelly Weightman Diaz-Piedra is a resident
 of New Jersey. Michael Diaz-Piedra is one of the Decedents murdered as a result of the
 terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin
 Laden, and to which the Taliban provided material support and assistance in furtherance
 of the attacks.
 3136. Kelly Weightman Diaz-Piedra, individually, as surviving spouse of Michael Diaz-
 Piedra, is a Plaintiff seeking justice for the tragic events of September 11, 2001. Kelly
 Weightman Diaz-Piedra is a resident of New Jersey. Michael Diaz-Piedra is one of the
 Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were
 carried out by al-Qaeda and Osama bin Laden, and to which the Taliban provided
 material support and assistance in furtherance of the attacks.
 3137. Michael Diaz-Piedra, individually, as surviving child of Michael Diaz-Piedra, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Michael Diaz-Piedra
 is a resident of New Jersey. Michael Diaz-Piedra is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda
 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.
 3138. Thomas Diaz-Piedra, individually, as surviving child of Michael Diaz-Piedra, is a
 Plaintiff seeking justice for the tragic events of September 11, 2001. Thomas Diaz-Piedra
 is a resident of New Jersey. Michael Diaz-Piedra is one of the Decedents murdered as a
 result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda


                                            829
 docs-100528313.1
Case 1:03-md-01570-GBD-SN Document 8693-1 Filed 10/28/22 Page 831 of 962




 and Osama bin Laden, and to which the Taliban provided material support and assistance
 in furtherance of the attacks.




                                          830
 docs-100528313.1
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page102
                                                                832ofof232
                                                                        962




            PLAINTIFFS’ MORE DEFINITE STATEMENT AS TO ALL O’NEILL
                                 DEFENDANTS

                                                     VICTIMS LIST

      1. The name of the defendants to whom this Statement pertains is all Defendants.1

      2. The names of each victim (“Victims List”) are as set forth in Exhibit A, which is
         attached hereto and incorporated herein.

      3. Given the extraordinarily complex nature of the conspiracy and other wrongdoing
         that led to the events of September 11, 2001, much information is presently
         unavailable to plaintiffs, absent discovery. Plaintiffs therefore reserve the right to
         amend this Statement as information is learned and verified through discovery
         and otherwise.



      Date: September 30, 2005




                                           LAW OFFICES OF JERRY S. GOLDMAN
                                                & ASSOCIATES, P.C.



                                                  BY:______________________________________
                                                    GINA M. MAC NEILL, ESQUIRE (GM 0581)
                                                    JERRY S. GOLDMAN, ESQUIRE (JG 8445)
                                                    FREDERICK J. SALEK, ESQUIRE (FS 8565)
                                                    Attorneys for the Plaintiffs
                                                    111 Broadway, 13th Floor
                                                    New York, N.Y. 10006
                                                    212.242.2232




 1
   The instant pleading shall not apply to any defendant who has been dismissed in the instant
 action, without further leave of the Court.
                                                            Page 1                                                        EXHIBIT
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page103
                                                                833ofof232
                                                                        962




                                     EXHIBIT “A”

                                    VICTIMS LIST



 World Trade Center
 Gordon McCannel Aamoth, 32, New York, N.Y.
 Maria Rose Abad, 49, Syosset, N.Y.
 Edelmiro (Ed) Abad, 54, New York, N.Y.
 Andrew Anthony Abate, 37, Melville, N.Y.
 Vincent Abate, 40, New York, N.Y.
 Laurence Christopher Abel, 37
 William F. Abrahamson, 58, Cortland Manor, N.Y.
 Richard Anthony Aceto, 42, Wantagh, N.Y.
 Erica Van Acker, 62, New York, N.Y.
 Heinrich B. Ackermann, 38, New York, N.Y.
 Paul Andrew Acquaviva, 29, Glen Rock, N.J.
 Donald L. Adams, 28, Chatham, N.J.
 Shannon Lewis Adams, 25, New York, N.Y.
 Stephen Adams, 51, New York, N.Y.
 Patrick Adams, 60, New York, N.Y.
 Ignatius Adanga, 62, New York, N.Y.
 Christy A. Addamo, 28, New Hyde Park, N.Y.
 Terence E. Adderley, 22, Bloomfield Hills, Mich.
 Sophia B. Addo, 36, New York, N.Y.
 Lee Adler, 48, Springfield, N.J.
 Daniel Thomas Afflitto, 32, Manalapan, N.J.
 Emmanuel Afuakwah, 37, New York, N.Y.
 Alok Agarwal, 36, Jersey City, N.J.
 Mukul Agarwala, 37, New York, N.Y.
 Joseph Agnello, 35, New York, N.Y.
 David Scott Agnes, 46, New York, N.Y.
 Joao A. Aguiar Jr., 30, Red Bank, N.J.
 Lt. Brian G. Ahearn, 43, Huntington, N.Y.
 Jeremiah J. Ahern, 74, Cliffside Park, N.J.
 Joanne Ahladiotis, 27, New York, N.Y.
 Shabbir Ahmed, 47, New York, N.Y.
 Terrance Andre Aiken, 30, New York, N.Y.
 Godwin Ajala, 33, New York, N.Y.
 Gertrude M. Alagero, 37, New York, N.Y.
 Andrew Alameno, 37, Westfield, N.J.
 Margaret Ann (Peggy) Jezycki Alario, 41, New York, N.Y.
 Gary Albero, 39, Emerson, N.J.
 Jon L. Albert, 46, Upper Nyack, N.Y.
 Peter Craig Alderman, 25, New York, N.Y.
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page104
                                                                834ofof232
                                                                        962




 Jacquelyn Delaine Aldridge, 46, New York, N.Y.
 Grace Alegre-Cua, 40, Glen Rock, N.J.
 David D. Alger, 57, New York, N.Y.
 Ernest Alikakos, 43, New York, N.Y.
 Edward L. Allegretto, 51, Colonia, N.J.
 Eric Allen, 44, New York, N.Y.
 Joseph Ryan Allen, 39, New York, N.Y.
 Richard Lanard Allen, 30, New York, N.Y.
 Richard Dennis Allen, 31, New York, N.Y.
 Christopher Edward Allingham, 36, River Edge, N.J.
 Janet M. Alonso, 41, Stony Point, N.Y.
 Anthony Alvarado, 31, New York, N.Y.
 Antonio Javier Alvarez, 23, New York, N.Y.
 Telmo Alvear, 25, New York, N.Y.
 Cesar A. Alviar, 60, Bloomfield, N.J.
 Tariq Amanullah, 40, Metuchen, N.J.
 Angelo Amaranto, 60, New York, N.Y.
 James Amato, 43, Ronkonkoma, N.Y.
 Joseph Amatuccio, 41, New York, N.Y.
 Christopher Charles Amoroso, 29, New York, N.Y.
 Kazuhiro Anai, 42, Scarsdale, N.Y.
 Calixto Anaya, 35, Suffern, N.Y.
 Jorge Octavio Santos Anaya, 25, Aguascalientes, Aguascalientes, Mexico
 Joseph Peter Anchundia, 26, New York, N.Y.
 Kermit Charles Anderson, 57, Green Brook, N.J.
 Yvette Anderson, 53, New York, N.Y.
 John Andreacchio, 52, New York, N.Y.
 Michael Rourke Andrews, 34, Belle Harbor, N.Y.
 Jean A. Andrucki, 42, Hoboken, N.J.
 Siew-Nya Ang, 37, East Brunswick, N.J.
 Joseph Angelini, 38, Lindenhurst, N.Y.
 Joseph Angelini, 63, Lindenhurst, N.Y.
 Laura Angilletta, 23, New York, N.Y.
 Doreen J. Angrisani, 44, New York, N.Y.
 Lorraine D. Antigua, 32, Middletown, N.J.
 Peter Paul Apollo, 26, Hoboken, N.J.
 Faustino Apostol, 55, New York, N.Y.
 Frank Thomas Aquilino, 26, New York, N.Y.
 Patrick Michael Aranyos, 26, New York, N.Y.
 David Gregory Arce, 36, New York, N.Y.
 Michael G. Arczynski, 45, Little Silver, N.J.
 Louis Arena, 32, New York, N.Y.
 Adam Arias, 37, Staten Island, N.Y.
 Michael J. Armstrong, 34, New York, N.Y.
 Jack Charles Aron, 52, Bergenfield, N.J.
 Joshua Aron, 29, New York, N.Y.


                                                     2
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page105
                                                                835ofof232
                                                                        962




 Richard Avery Aronow, 48, Mahwah, N.J.
 Japhet J. Aryee, 49, Spring Valley, N.Y.
 Carl Asaro, 39, Middletown, N.Y.
 Michael A. Asciak, 47, Ridgefield, N.J.
 Michael Edward Asher, 53, Monroe, N.Y.
 Janice Ashley, 25, Rockville Centre, N.Y.
 Thomas J. Ashton, 21, New York, N.Y.
 Manuel O. Asitimbay, 36, New York, N.Y.
 Lt. Gregg Arthur Atlas, 45, Howells, N.Y.
 Gerald Atwood, 38, New York, N.Y.
 James Audiffred, 38, New York, N.Y.
 Kenneth W. Van Auken, 47, East Brunswick, N.J.
 Louis F. Aversano, Jr, 58, Manalapan, N.J.
 Ezra Aviles, 41, Commack, N.Y.
 Ayodeji Awe, 42, New York, N.Y
 Samuel (Sandy) Ayala, 36, New York, N.Y.
 Arlene T. Babakitis, 47, Secaucus, N.J.
 Eustace (Rudy) Bacchus, 48, Metuchen, N.J.
 John James Badagliacca, 35, New York, N.Y.
 Jane Ellen Baeszler, 43, New York, N.Y.
 Robert J. Baierwalter, 44, Albertson, N.Y.
 Andrew J. Bailey, 29, New York, N.Y.
 Brett T. Bailey, 28, Bricktown, N.J.
 Tatyana Bakalinskaya, 43, New York, N.Y.
 Michael S. Baksh, 36, Englewood, N.J.
 Sharon Balkcom, 43, White Plains, N.Y.
 Michael Andrew Bane, 33, Yardley, Pa.
 Kathy Bantis, 44, Chicago, Ill.
 Gerard Jean Baptiste, 35, New York, N.Y.
 Walter Baran, 42, New York, N.Y.
 Gerard A. Barbara, 53, New York, N.Y.
 Paul V. Barbaro, 35, Holmdel, N.J.
 James W. Barbella, 53, Oceanside, N.Y.
 Ivan Kyrillos Fairbanks Barbosa, 30, Jersey City, N.J.
 Victor Daniel Barbosa, 23, New York, N.Y.
 Colleen Ann Barkow, 26, East Windsor, N.J.
 David Michael Barkway, 34, Toronto, Ontario, Canada
 Matthew Barnes, 37, Monroe, N.Y.
 Sheila Patricia Barnes, 55, Bay Shore, N.Y.
 Evan J. Baron, 38, Bridgewater, N.J.
 Renee Barrett-Arjune, 41, Irvington, N.J.
 Arthur T. Barry, 35, New York, N.Y.
 Diane G. Barry, 60, New York, N.Y.
 Maurice Vincent Barry, 49, Rutherford, N.J.
 Scott D. Bart, 28, Malverne, N.Y.
 Carlton W. Bartels, 44, New York, N.Y.


                                                     3
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page106
                                                                836ofof232
                                                                        962




 Guy Barzvi, 29, New York, N.Y.
 Inna Basina, 43, New York, N.Y.
 Alysia Basmajian, 23, Bayonne, N.J.
 Kenneth William Basnicki, 48, Etobicoke, Ontario, Canada
 Lt. Steven J. Bates, 42, New York, N.Y.
 Paul James Battaglia, 22, New York, N.Y.
 W. David Bauer, 45, Rumson, N.J.
 Ivhan Luis Carpio Bautista, 24, New York, N.Y.
 Marlyn C. Bautista, 46, Iselin, N.J.
 Jasper Baxter, 45, Philadelphia, Pa.
 Michele (Du Berry) Beale, 37, Essex, Britain
 Paul F. Beatini, 40, Park Ridge, N.J.
 Jane S. Beatty, 53, Belford, N.J.
 Larry I. Beck, 38, Baldwin, N.Y.
 Manette Marie Beckles, 43, Rahway, N.J.
 Carl John Bedigian, 35, New York, N.Y.
 Michael Beekman, 39, New York, N.Y.
 Maria Behr, 41, Milford, N.J.
 Yelena Belilovsky, 38, Mamaroneck, N.Y.
 Nina Patrice Bell, 39, New York, N.Y.
 Andrea Della Bella, 59, Jersey City, N.J.
 Debbie S. Bellows, 30, East Windsor, N.J.
 Stephen Elliot Belson, 51, New York, N.Y.
 Paul Michael Benedetti, 32, New York, N.Y.
 Denise Lenore Benedetto, 40, New York, N.Y.
 Bryan Craig Bennett, 25, New York, N.Y.
 Oliver Duncan Bennett, 29, London, England
 Eric L. Bennett, 29, New York, N.Y.
 Margaret L. Benson, 52, Rockaway, N.J.
 Dominick J. Berardi, 25, New York, N.Y.
 James Patrick Berger, 44, Lower Makefield, Pa.
 Steven Howard Berger, 45, Manalapan, N.J.
 John P. Bergin, 39, New York, N.Y.
 Alvin Bergsohn, 48, Baldwin Harbor, N.Y.
 Daniel D. Bergstein, 38, Teaneck, N.J.
 Michael J. Berkeley, 38, New York, N.Y.
 Donna Bernaerts-Kearns, 44, Hoboken, N.J.
 David W. Bernard, 57, Chelmsford, Mass.
 William Bernstein, 44, New York, N.Y.
 David M. Berray, 39, New York, N.Y.
 David S. Berry, 43, New York, N.Y.
 Joseph J. Berry, 55, Saddle River, N.J.
 William Reed Bethke, 36, Hamilton, N.J.
 Timothy D. Betterly, 42, Little Silver, N.J.
 Edward F. Beyea, 42, New York, N.Y.
 Paul Michael Beyer, 37, New York, N.Y.


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 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page107
                                                                837ofof232
                                                                        962




 Anil T. Bharvaney, 41, East Windsor, N.J.
 Bella Bhukhan, 24, Union, N.J.
 Shimmy D. Biegeleisen, 42, New York, N.Y.
 Peter Alexander Bielfeld, 44, New York, N.Y.
 William Biggart, 54, New York, N.Y.
 Brian Bilcher, 36, New York, N.Y.
 Carl Vincent Bini, 44, New York, N.Y.
 Gary Bird, 51, Tempe, Ariz.
 Joshua David Birnbaum, 24, New York, N.Y.
 George Bishop, 52, Granite Springs, N.Y.
 Jeffrey D. Bittner, 27, New York, N.Y.
 Balewa Albert Blackman, 26, New York, N.Y.
 Christopher Joseph Blackwell, 42, Patterson, N.Y.
 Susan L. Blair, 35, East Brunswick, N.J.
 Harry Blanding, 38, Blakeslee, Pa.
 Janice L. Blaney, 55, Williston Park, N.Y.
 Craig Michael Blass, 27, Greenlawn, N.Y.
 Rita Blau, 52, New York, N.Y.
 Richard M. Blood, 38, Ridgewood, N.J.
 Michael A. Boccardi, 30, Bronxville, N.Y.
 John Paul Bocchi, 38, New Vernon, N.J.
 Michael L. Bocchino, 45, New York, N.Y.
 Susan Mary Bochino, 36, New York, N.Y.
 Bruce Douglas (Chappy) Boehm, 49, West Hempstead, N.Y.
 Mary Katherine Boffa, 45, New York, N.Y.
 Nicholas A. Bogdan, 34, Browns Mills, N.J.
 Darren C. Bohan, 34, New York, N.Y.
 Lawrence Francis Boisseau, 36, Freehold, N.J.
 Vincent M. Boland, 25, Ringwood, N.J.
 Alan Bondarenko, 53, Flemington, N.J.
 Andre Bonheur, 40, New York, N.Y.
 Colin Arthur Bonnett, 39, New York, N.Y.
 Frank Bonomo, 42, Port Jefferson, N.Y.
 Yvonne L. Bonomo, 30, New York, N.Y.
 Sean Booker, 35, Irvington, N.J.
 Sherry Ann Bordeaux, 38, Jersey City, N.J.
 Krystine C. Bordenabe, 33, Old Bridge, N.J.
 Martin Boryczewski, 29, Parsippany, N.J.
 Richard E. Bosco, 34, Suffern, N.Y.
 John Howard Boulton, 29, New York, N.Y.
 Francisco Bourdier, 41, New York, N.Y.
 Thomas H. Bowden, 36, Wyckoff, N.J.
 Kimberly S. Bowers, 31, Islip, N.Y.
 Veronique (Bonnie) Nicole Bowers, 28, New York, N.Y.
 Larry Bowman, 46, New York, N.Y.
 Shawn Edward Bowman, 28, New York, N.Y.


                                                     5
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page108
                                                                838ofof232
                                                                        962




 Kevin L. Bowser, 45, Philadelphia, Pa.
 Gary R. Box, 37, North Bellmore, N.Y.
 Gennady Boyarsky, 34, New York, N.Y.
 Pamela Boyce, 43, New York, N.Y.
 Michael Boyle, 37, Westbury, N.Y.
 Alfred Braca, 54, Leonardo, N.J.
 Sandra Conaty Brace, 60, New York, N.Y.
 Kevin H. Bracken, 37, New York, N.Y.
 David Brian Brady, 41, Summit, N.J.
 Alexander Braginsky, 38, Stamford, Conn.
 Nicholas W. Brandemarti, 21, Mantua, N.J.
 Michelle Renee Bratton, 23, Yonkers, N.Y.
 Patrice Braut, 31, New York, N.Y.
 Lydia Estelle Bravo, 50, Dunellen, N.J.
 Ronald Michael Breitweiser, 39, Middletown Township, N.J.
 Edward A. Brennan, 37, New York, N.Y.
 Frank H. Brennan, 50, New York, N.Y.
 Michael Emmett Brennan, 27, New York, N.Y.
 Peter Brennan, 30, Ronkonkoma, N.Y.
 Thomas M. Brennan, 32, Scarsdale, N.Y.
 Capt. Daniel Brethel, 43, Farmingdale, N.Y.
 Gary L. Bright, 36, Union City, N.J.
 Jonathan Eric Briley, 43, Mount Vernon, N.Y.
 Mark A. Brisman, 34, Armonk, N.Y.
 Paul Gary Bristow, 27, New York, N.Y.
 Victoria Alvarez Brito, 38, New York, N.Y.
 Mark Francis Broderick, 42, Old Bridge, N.J.
 Herman C. Broghammer, 58, North Merrick, N.Y.
 Keith Broomfield, 49, New York, N.Y.
 Janice J. Brown, 35, New York, N.Y.
 Lloyd Brown, 28, Bronxville, N.Y.
 Capt. Patrick J. Brown, 48, New York, N.Y.
 Bettina Browne, 49, Atlantic Beach, N.Y.
 Mark Bruce, 40, Summit, N.J.
 Richard Bruehert, 38, Westbury, N.Y.
 Andrew Brunn, 28
 Capt. Vincent Brunton, 43, New York, N.Y.
 Ronald Paul Bucca, 47, Tuckahoe, N.Y.
 Brandon J. Buchanan, 24, New York, N.Y.
 Greg Joseph Buck, 37, New York, N.Y.
 Dennis Buckley, 38, Chatham, N.J.
 Nancy Bueche, 43, Hicksville, N.Y.
 Patrick Joseph Buhse, 36, Lincroft, N.J.
 John E. Bulaga, 35, Paterson, N.J.
 Stephen Bunin, 45, New York, N.Y.
 Thomas Daniel Burke, 38, Bedford Hills, N.Y.


                                                     6
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page109
                                                                839ofof232
                                                                        962




 Capt. William F. Burke, 46, New York, N.Y.
 Matthew J. Burke, 28, New York, N.Y.
 Donald James Burns, 61, Nissequogue, N.Y.
 Kathleen A. Burns, 49, New York, N.Y.
 Keith James Burns, 39, East Rutherford, N.J.
 John Patrick Burnside, 36, New York, N.Y.
 Irina Buslo, 32, New York, N.Y.
 Milton Bustillo, 37, New York, N.Y.
 Thomas M. Butler, 37, Kings Park, N.Y.
 Patrick Byrne, 39, New York, N.Y.
 Timothy G. Byrne, 36, Manhattan, N.Y.
 Jesus Cabezas, 66, New York, N.Y.
 Lillian Caceres, 48, New York, N.Y.
 Brian Joseph Cachia, 26, New York, N.Y.
 Steven Cafiero, 31, New York, N.Y.
 Richard M. Caggiano, 25, New York, N.Y.
 Cecile M. Caguicla, 55, Boonton, N.J.
 Michael John Cahill, 37, East Williston, N.Y.
 Scott W. Cahill, 30, West Caldwell, N.J.
 Thomas J. Cahill, 36, Franklin Lakes, N.J.
 George Cain, 35, Massapequa, N.Y.
 Salvatore B. Calabro, 38, New York, N.Y.
 Joseph Calandrillo, 49, Hawley, Pa.
 Philip V. Calcagno, 57, New York, N.Y.
 Edward Calderon, 44, Jersey City, N.J.
 Kenneth Marcus Caldwell, 30, New York, N.Y.
 Dominick E. Calia, 40, Manalapan, N.J.
 Felix (Bobby) Calixte, 38, New York, N.Y.
 Capt. Frank Callahan, 51, New York, N.Y.
 Liam Callahan, 44, Rockaway, N.J.
 Luigi Calvi, 34, East Rutherford, N.J.
 Roko Camaj, 60, Manhasset, N.Y.
 Michael Cammarata, 22, Huguenot, N.Y.
 David Otey Campbell, 51, Basking Ridge, N.J.
 Geoffrey Thomas Campbell, 31, New York, N.Y.
 Sandra Patricia Campbell, 45, New York, N.Y.
 Jill Marie Campbell, 31, New York, N.Y.
 Robert Arthur Campbell, 25, New York, N.Y.
 Juan Ortega Campos, 32, New York, N.Y.
 Sean Canavan, 39, New York, N.Y.
 John A. Candela, 42, Glen Ridge, N.J.
 Vincent Cangelosi, 30, New York, N.Y.
 Stephen J. Cangialosi, 40, Middletown, N.J.
 Lisa B. Cannava, 30, New York, N.Y.
 Brian Cannizzaro, 30, New York, N.Y.
 Michael R. Canty, 30, Schenectady, N.Y.


                                                     7
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page110
                                                                840ofof232
                                                                        962




 Louis A. Caporicci, 35, New York, N.Y.
 Jonathan N. Cappello, 23, Garden City, N.Y.
 James Christopher Cappers, 33, Wading River, N.Y.
 Richard M. Caproni, 34, Lynbrook, N.Y.
 Jose Cardona, 32, New York, N.Y.
 Dennis M Carey, 51, Wantagh, N.Y.
 Edward Carlino, 46, New York, N.Y.
 Michael Scott Carlo, 34, New York, N.Y.
 David G. Carlone, 46, Randolph, N.J.
 Rosemarie C. Carlson, 40, New York, N.Y.
 Mark Stephen Carney, 41, Rahway, N.J.
 Joyce Ann Carpeneto, 40, New York, N.Y.
 Alicia Acevedo Carranza, Teziutlan, Puebla, Mexico
 Jeremy M. Carrington, 34, New York, N.Y.
 Michael T. Carroll, 39, New York, N.Y.
 Peter Carroll, 42, New York, N.Y.
 James J. Carson, 32, Massapequa, N.Y.
 James Marcel Cartier, 26, New York, N.Y.
 Vivian Casalduc, 45, New York, N.Y.
 John F. Casazza, 38, Colts Neck, N.J.
 Paul Cascio, 23, Manhasset, N.Y.
 Kathleen Hunt Casey, 43, Middletown, N.J.
 Margarito Casillas, 54, Guadalajara, Jalisco, Mexico
 Thomas Anthony Casoria, 29, New York, N.Y.
 William Otto Caspar, 57, Eatontown, N.J.
 Alejandro Castano, 35, Englewood, N.J.
 Arcelia Castillo, 49, Elizabeth, N.J.
 Leonard M. Castrianno, 30, New York, N.Y.
 Jose Ramon Castro, 37, New York, N.Y.
 Richard G. Catarelli, 47, New York, N.Y.
 Christopher Sean Caton, 34, New York, N.Y.
 Robert J. Caufield, 48, Valley Stream, N.Y.
 Mary Teresa Caulfield, 58, New York, N.Y.
 Judson Cavalier, 26, Huntington, N.Y.
 Michael Joseph Cawley, 32, Bellmore, N.Y.
 Jason D. Cayne, 32, Morganville, N.J.
 Juan Armando Ceballos, 47, New York, N.Y.
 Marcia G. Cecil-Carter, 34, New York, N.Y.
 Jason Cefalu, 30, West Hempstead, N.Y.
 Thomas J. Celic, 43, New York, N.Y.
 Ana M. Centeno, 38, Bayonne, N.J.
 Joni Cesta, 37, Bellmore, N.Y.
 Jeffrey M. Chairnoff, 35, West Windsor, N.J.
 Swarna Chalasani, 33, Jersey City, N.J.
 William Chalcoff, 41, Roslyn, N.Y.
 Eli Chalouh, 23, New York, N.Y.


                                                     8
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page111
                                                                841ofof232
                                                                        962




 Charles Lawrence (Chip) Chan, 23, New York, N.Y.
 Mandy Chang, 40, New York, N.Y.
 Mark L. Charette, 38, Millburn, N.J.
 Gregorio Manuel Chavez, 48, New York, N.Y.
 Jayceryll M. de Chavez, 24, Carteret, N.J.
 Pedro Francisco Checo, 35, New York, N.Y.
 Douglas MacMillan Cherry, 38, Maplewood, N.J.
 Stephen Patrick Cherry, 41, Stamford, Conn.
 Vernon Paul Cherry, 49, New York, N.Y.
 Nestor Chevalier, 30, New York, N.Y.
 Swede Joseph Chevalier, 26, Locust, N.J.
 Alexander H. Chiang, 51, New City, N.Y.
 Dorothy J. Chiarchiaro, 61, Glenwood, N.J.
 Luis Alfonso Chimbo, 39, New York, N.Y.
 Robert Chin, 33, New York, N.Y.
 Wing Wai (Eddie) Ching, 29, Union, N.J.
 Nicholas P. Chiofalo, 39, Selden, N.Y.
 John Chipura, 39, New York, N.Y.
 Peter A. Chirchirillo, 47, Langhorne, Pa.
 Catherine E. Chirls, 47, Princeton, N.J.
 Kyung (Kaccy) Cho, 30, Clifton, N.J.
 Abul K. Chowdhury, 30, New York, N.Y.
 Mohammed Salahuddin Chowdhury, 38, New York, N.Y.
 Kirsten L. Christophe, 39, Maplewood, N.J.
 Pamela Chu, 31, New York, N.Y.
 Steven Paul Chucknick, 44, Cliffwood Beach, N.J.
 Wai-ching Chung, 36, New York, N.Y.
 Christopher Ciafardini, 30, New York, N.Y.
 Alex F. Ciccone, 38, New Rochelle, N.Y.
 Frances Ann Cilente, 26, New York, N.Y.
 Elaine Cillo, 40, New York, N.Y.
 Edna Cintron, 46, New York, N.Y.
 Nestor Andre Cintron, 26, New York, N.Y.
 Lt. Robert Dominick Cirri, 39, Nutley, N.J.
 Juan Pablo Alvarez Cisneros, 23, Weehawken, N.J.
 Gregory Alan Clark, 40, Teaneck, N.J.
 Mannie Leroy Clark, 54, New York, N.Y.
 Thomas R. Clark, 37, Summit, N.J.
 Eugene Clark, 47, New York, N.Y.
 Benjamin Keefe Clark, 39, New York, N.Y.
 Christopher Robert Clarke, 34, Philadelphia, Pa.
 Donna Clarke, 39, New York, N.Y.
 Michael Clarke, 27, Prince's Bay, N.Y.
 Suria R.E. Clarke, 30, New York, N.Y.
 Kevin Francis Cleary, 38, New York, N.Y.
 James D. Cleere, 55, Newton, Iowa


                                                     9
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page112
                                                                842ofof232
                                                                        962




 Geoffrey W. Cloud, 36, Stamford, Conn.
 Susan M. Clyne, 42, Lindenhurst, N.Y.
 Steven Coakley, 36, Deer Park, N.Y.
 Jeffrey Coale, 31, Souderton, Pa.
 Patricia A. Cody, 46, Brigantine, N.J.
 Daniel Michael Coffey, 54, Newburgh, N.Y.
 Jason Matthew Coffey, 25, Newburgh, N.Y.
 Florence Cohen, 62, New York, N.Y.
 Kevin Sanford Cohen, 28, Edison, N.J.
 Anthony Joseph Coladonato, 47, New York, N.Y.
 Mark J. Colaio, 34, New York, N.Y.
 Stephen J. Colaio, 32, Montauk, N.Y.
 Christopher M. Colasanti, 33, Hoboken, N.J.
 Michel Paris Colbert, 39, West New York, N.J.
 Kevin Nathaniel Colbert, 25, New York, N.Y.
 Keith Eugene Coleman, 34, Warren, N.J.
 Scott Thomas Coleman, 31, New York, N.Y.
 Tarel Coleman, 32
 Liam Joseph Colhoun, 34, Flushing,, N.Y.
 Robert D. Colin, 49, West Babylon, N.Y.
 Robert J. Coll, 35, Glen Ridge, N.J.
 Jean Marie Collin, 42, New York, N.Y.
 John Michael Collins, 42, New York, N.Y.
 Michael L. Collins, 38, Montclair, N.J.
 Thomas J. Collins, 36, New York, N.Y.
 Joseph Collison, 50, New York, N.Y.
 Patricia Malia Colodner, 39, New York, N.Y.
 Linda M. Colon, 46, Perrineville, N.J.
 Soledi Colon, 39, New York, N.Y.
 Ronald Comer, 56, Northport, N.Y.
 Jaime Concepcion, 46, New York, N.Y.
 Albert Conde, 62, Englishtown, N.J.
 Denease Conley, 44, New York, N.Y.
 Susan Clancy Conlon, 41, New York, N.Y.
 Margaret Mary Conner, 57, New York, N.Y.
 John E. Connolly, 46, Allenwood, N.J.
 Cynthia L. Connolly, 40, Metuchen, N.J.
 James Lee Connor, 38, Summit, N.J.
 Jonathan (J.C.) Connors, 55, Old Brookville, N.Y.
 Kevin P. Connors, 55, Greenwich, Conn.
 Kevin Francis Conroy, 47, New York, N.Y.
 Brenda E. Conway, 40, New York, N.Y.
 Dennis Michael Cook, 33, Colts Neck, N.J.
 Helen D. Cook, 24, New York, N.Y.
 John A. Cooper, 40, Bayonne, N.J.
 Joseph J. Coppo, 47, New Canaan, Conn.


                                                    10
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
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                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page113
                                                                843ofof232
                                                                        962




 Gerard J. Coppola, 46, New Providence, N.J.
 Joseph Albert Corbett, 28, Islip, N.Y.
 Alejandro Cordero, 23, New York, N.Y.
 Robert Cordice, 28, New York, N.Y.
 Ruben D. Correa, 44, New York, N.Y.
 Danny A. Correa-Gutierrez, 25, Fairview, N.J.
 James Corrigan, 60, New York, N.Y.
 Carlos Cortes, 57, New York, N.Y.
 Kevin M. Cosgrove, 46, West Islip, N.Y.
 Dolores Marie Costa, 53, Middletown, N.J.
 Digna Alexandra Rivera Costanza, 25, New York, N.Y.
 Charles Gregory Costello, 46, Old Bridge, N.J.
 Michael S. Costello, 27, Hoboken, N.J.
 Conrod K.H. Cottoy, 51, New York, N.Y.
 Martin Coughlan, 54, New York, N.Y.
 Sgt. John Gerard Coughlin, 43, Pomona, N.Y.
 Timothy John Coughlin, 42, New York, N.Y.
 James E. Cove, 48, Rockville Centre, N.Y.
 Andre Cox, 29, New York, N.Y.
 Frederick John Cox, 27, New York, N.Y.
 James Raymond Coyle, 26, New York, N.Y.
 Michelle Coyle-Eulau, 38, Garden City, N.Y.
 Anne M. Cramer, 47, New York, N.Y.
 Christopher Seton Cramer, 34, Manahawkin, N.J.
 Denise Crant, 46, Hackensack, N.J.
 Robert James Crawford, 62, New York, N.Y.
 James L. Crawford, 33, Madison, N.J.
 Joanne Mary Cregan, 32, New York, N.Y.
 Lucia Crifasi, 51, Glendale, N.Y.
 Lt. John Crisci, 48, Holbrook, N.Y.
 Daniel Hal Crisman, 25, New York, N.Y.
 Dennis A. Cross, 60, Islip Terrace, N.Y.
 Helen Crossin-Kittle, 34, Larchmont, N.Y.
  Thomas G. Crotty, 42, Rockville Centre, N.Y.
 John Crowe, 57, Rutherford, N.J.
 Welles Remy Crowther, 24, Upper Nyack, N.Y.
 Robert L. Cruikshank, 64, New York, N.Y.
 Francisco Cruz, 47, New York, N.Y.
 John Robert Cruz, 32, Jersey City, N.J.
 Kenneth John Cubas, 48, Woodstock, N.Y.
 Richard Joseph Cudina, 46, Glen Gardner, N.J.
 Neil James Cudmore, 38, Port Washington, N.Y.
 Thomas Patrick Cullen, 31, New York, N.Y.
 Joan McConnell Cullinan, 47, Scarsdale, N.Y.
 Joyce Cummings, 65
 Brian Thomas Cummins, 38, Manasquan, N.J.


                                                    11
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page114
                                                                844ofof232
                                                                        962




 Nilton Albuquerque Fernao Cunha, 41
 Michael Joseph Cunningham, 39, Princeton Junction, N.J.
 Robert Curatolo, 31, New York, N.Y.
 Laurence Curia, 41, Garden City, N.Y.
 Paul Dario Curioli, 53, Norwalk, Conn.
 Beverly Curry, 41, New York, N.Y.
 Sgt. Michael Curtin, 45, Medford, N.Y.
 Gavin Cushny, 47, Hoboken, N.J.
 Caleb Arron Dack, 39, Montclair, N.J.
 Carlos S. DaCosta, 41, Elizabeth, N.J.
 John D'Allara, 47, Pearl River, N.Y.
 Vincent D'Amadeo, 36, East Patchoque, N.Y.
 Thomas A. Damaskinos, 33, Matawan, N.J.
 Jack L. D'Ambrosi, 45, Woodcliff Lake, N.J.
 Jeannine Marie Damiani-Jones, 28, New York, N.Y.
 Patrick W. Danahy, 35, Yorktown Heights, N.Y.
 Nana Kwuku Danso, 47, New York, N.Y.
 Mary D'Antonio, 55, New York, N.Y.
 Vincent G. Danz, 38, Farmingdale, N.Y.
 Dwight Donald Darcy, 55, Bronxville, N.Y.
 Elizabeth Ann Darling, 28, Newark, N.J.
 Annette Andrea Dataram, 25, New York, N.Y.
 Lt. Edward Alexander D'Atri, 38, New York, N.Y.
 Michael D. D'Auria, 25, New York, N.Y.
 Lawrence Davidson, 51, New York, N.Y.
 Michael Allen Davidson, 27, Westfield, N.J.
 Scott Matthew Davidson, 33, New York, N.Y.
 Titus Davidson, 55, New York, N.Y.
 Niurka Davila, 47, New York, N.Y.
 Clinton Davis, 38, New York, N.Y.
 Wayne Terrial Davis, 29, Fort Meade, Md.
 Calvin Dawson, 46, New York, N.Y.
 Anthony Richard Dawson, 32, Southampton, Hampshire, England
 Edward James Day, 45, New York, N.Y.
 Emerita (Emy) De La Pena, 32, New York, N.Y.
 Melanie Louise De Vere, 30, London, England
 William T. Dean, 35, Floral Park, N.Y.
 Robert J. DeAngelis, 48, West Hempstead, N.Y.
 Thomas P. Deangelis, 51, Westbury, N.Y.
 Tara Debek, 35, Babylon, N.Y.
 Anna Debin, 30, East Farmingdale, N.Y.
 James V. DeBlase, 45, Manalapan, N.J.
 Paul DeCola, 39, Ridgewood, N.Y.
 Simon Dedvukaj, 26, Mohegan Lake, N.Y.
 Jason Christopher DeFazio, 29, New York, N.Y.



                                                    12
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page115
                                                                845ofof232
                                                                        962




 David A. Defeo, 37, New York, N.Y.
 Jennifer DeJesus, 23, New York, N.Y.
  Monique E. DeJesus, 28, New York, N.Y.
 Nereida DeJesus, 30, New York, N.Y.
 Donald A. Delapenha, 37, Allendale, N.J.
 Vito Joseph Deleo, 41, New York, N.Y.
 Danielle Delie, 47, New York, N.Y.
 Colleen Ann Deloughery, 41, Bayonne, N.J.
 Francis (Frank) Albert DeMartini, 49, New York, N.Y.
 Anthony Demas, 61, New York, N.Y.
 Martin DeMeo, 47, Farmingville, N.Y.
 Francis X. Deming, 47, Franklin Lakes, N.J.
 Carol K. Demitz, 49, New York, N.Y.
 Kevin Dennis, 43, Peapack, N.J.
 Thomas F. Dennis, 43, Setauket, N.Y.
 Jean C. DePalma, 42, Newfoundland, N.J.
 Jose Nicolas Depena, 42, New York, N.Y.
 Robert J. Deraney, 43, New York, N.Y.
 Michael DeRienzo, 37, Hoboken, N.J.
 David Paul Derubbio, 38, New York, N.Y.
 Jemal Legesse DeSantis, 28, Jersey City, N.J.
 Christian L. DeSimone, 23, Ringwood, N.J.
 Edward DeSimone, 36, Atlantic Highlands, N.J.
 Lt. Andrew Desperito, 44, Patchogue, N.Y.
 Michael Jude D'Esposito, 32, Morganville, N.J.
 Cindy Ann Deuel, 28, New York, N.Y.
 Jerry DeVito, 66, New York, N.Y.
 Robert P. Devitt, 36, Plainsboro, N.J.
 Dennis Lawrence Devlin, 51, Washingtonville, N.Y.
 Gerard Dewan, 35, New York, N.Y.
 Simon Suleman Ali Kassamali Dhanani, 62, Hartsdale, N.Y.
 Michael L. DiAgostino, 41, Garden City, N.Y.
 Matthew Diaz, 33, New York, N.Y.
 Nancy Diaz, 28, New York, N.Y.
 Obdulio Ruiz Diaz, 44, New York, N.Y.
 Lourdes Galletti Diaz, 32, New York, N.Y.
 Michael Diaz-Piedra, 49
 Judith Belguese Diaz-Sierra, 32, Bay Shore, N.Y.
 Patricia F. DiChiaro, 63, New York, N.Y.
 Joseph Dermot Dickey, 50, Manhasset, N.Y.
 Lawrence Patrick Dickinson, 35, Morganville, N.J.
 Michael David Diehl, 48, Brick, N.J.
 John DiFato, 39, New York, N.Y.
 Vincent F. DiFazio, 43, Hampton, N.J.
 Carl DiFranco, 27, New York, N.Y.
 Donald J. DiFranco, 43, New York, N.Y.


                                                    13
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page116
                                                                846ofof232
                                                                        962




 Debra Ann DiMartino, 36, New York, N.Y.
 Stephen P. Dimino, 48, Basking Ridge, N.J.
 William J. Dimmling, 47, Garden City, N.Y.
 Christopher Dincuff, 31, Jersey City, N.J.
 Jeffrey M. Dingle, 32, New York, N.Y.
 Anthony DiOnisio, 38, Glen Rock, N.J.
 George DiPasquale, 33, New York, N.Y.
 Joseph DiPilato, 57, New York, N.Y.
 Douglas Frank DiStefano, 24, Hoboken, N.J.
 Ramzi A. Doany, 35, Bayonne, N.J., Jordanian
 John J. Doherty, 58, Hartsdale, N.Y.
 Melissa C. Doi, 32, New York, N.Y.
 Brendan Dolan, 37, Glen Rock, N.J.
 Neil Dollard, 28, Hoboken, N.J.
 James Joseph Domanico, 56, New York, N.Y.
 Benilda Pascua Domingo, 37, New York, N.Y.
 Charles (Carlos) Dominguez, 34, East Meadow, N.Y.
 Geronimo (Jerome) Mark Patrick Dominguez, 37, Holtsville, N.Y.
 Lt. Kevin W. Donnelly, 43, New York, N.Y.
 Jacqueline Donovan, 34, New York, N.Y.
 Stephen Dorf, 39, New Milford, N.J.
 Thomas Dowd, 37, Monroe, N.Y.
 Lt. Kevin Christopher Dowdell, 46, New York, N.Y.
 Mary Yolanda Dowling, 46, New York, N.Y.
 Raymond M. Downey, 63, Deer Park, N.Y.
 Joseph M. Doyle, 25, New York, N.Y.
 Frank Joseph Doyle, 39, Englewood, N.J.
 Randy Drake, 37, Lee's Summit, Mo.
 Stephen Patrick Driscoll, 38, Lake Carmel, N.Y.
 Mirna A. Duarte, 31, New York, N.Y.
 Luke A. Dudek, 50, Livingston, N.J.
 Christopher Michael Duffy, 23, New York, N.Y.
 Gerard Duffy, 53, Manorville, N.Y.
 Michael Joseph Duffy, 29, Northport, N.Y.
 Thomas W. Duffy, 52, Pittsford, N.Y.
 Antoinette Duger, 44, Belleville, N.J.
 Jackie Sayegh Duggan, 34
 Sareve Dukat, 53, New York, N.Y.
 Christopher Joseph Dunne, 28, Mineola, N.Y.
 Richard A. Dunstan, 54, New Providence, N.J.
 Patrick Thomas Dwyer, 37, Nissequogue, N.Y.
 Joseph Anthony Eacobacci, 26, New York, N.Y.
 John Bruce Eagleson, 53, Middlefield, Conn.
 Robert D. Eaton, 37, Manhasset, N.Y.
 Dean P. Eberling, 44, Cranford, N.J.
 Margaret Ruth Echtermann, 33, Hoboken, N.J.


                                                    14
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page117
                                                                847ofof232
                                                                        962




 Paul Robert Eckna, 28, West New York, N.J.
 Constantine (Gus) Economos, 41, New York, N.Y.
 Dennis Michael Edwards, 35, Huntington, N.Y.
 Michael Hardy Edwards, 33, New York, N.Y.
 Lisa Egan, 31, Cliffside Park, N.J.
 Capt. Martin Egan, 36, New York, N.Y.
 Michael Egan, 51, Middletown, N.J.
 Christine Egan, 55, Winnipeg, Manitoba, Canada
 Samantha Egan, 24, Jersey City, N.J.
 Carole Eggert, 60, New York, N.Y.
 Lisa Caren Weinstein Ehrlich, 36, New York, N.Y.
 John Ernst (Jack) Eichler, 69, Cedar Grove, N.J.
 Eric Adam Eisenberg, 32, Commack, N.Y.
 Daphne F. Elder, 36, Newark, N.J.
 Michael J. Elferis, 27, College Point, N.Y.
 Mark J. Ellis, 26, South Huntington, N.Y.
 Valerie Silver Ellis, 46, New York, N.Y.
 Albert Alfy William Elmarry, 30, North Brunswick, N.J.
 Edgar H. Emery, 45, Clifton, N.J.
 Doris Suk-Yuen Eng, 30, New York, N.Y.
 Christopher S. Epps, 29, New York, N.Y.
 Ulf Ramm Ericson, 79, Greenwich, Conn.
 Erwin L. Erker, 41, Farmingdale, N.Y.
 William J. Erwin, 30, Verona, N.J.
 Sarah (Ali) Escarcega, 35, New York, N.Y.
 Jose Espinal, 31
 Fanny M. Espinoza, 29, Teaneck, N.J.
 Francis Esposito, 32, New York, N.Y.
 Lt. Michael Esposito, 41, New York, N.Y.
 William Esposito, 51, Bellmore, N.Y.
 Brigette Ann Esposito, 34, New York, N.Y.
 Ruben Esquilin, 35, New York, N.Y.
 Sadie Ette, 36, New York, N.Y.
 Barbara G. Etzold, 43, Jersey City, N.J.
 Eric Brian Evans, 31, Weehawken, N.J.
 Robert Edward Evans, 36, Franklin Square, N.Y.
 Meredith Emily June Ewart, 29, Hoboken, N.J.
 Catherine K. Fagan, 58, New York, N.Y.
 Patricia M. Fagan, 55, Toms River, N.J.
 Keith G. Fairben, 24, Floral Park, N.Y.
 William Fallon, 38, Coram, N.Y.
 William F. Fallon, 53, Rocky Hill, N.J.
 Anthony J. Fallone, 39, New York, N.Y.
 Dolores B. Fanelli, 38, Farmingville, N.Y.
 John Joseph Fanning, 54, West Hempstead, N.Y.
 Kathleen (Kit) Faragher, 33, Denver, Colo.


                                                    15
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page118
                                                                848ofof232
                                                                        962




 Capt. Thomas Farino, 37, Bohemia, N.Y.
 Nancy Carole Farley, 45, Jersey City, N.J.
 Elizabeth Ann (Betty) Farmer, 62, New York, N.Y.
 Douglas Farnum, 33, New York, N.Y.
 John W. Farrell, 41, Basking Ridge, N.J.
 Terrence Patrick Farrell, 45, Huntington, N.Y.
 John G. Farrell, 32, New York, N.Y.
 Capt. Joseph Farrelly, 47, New York, N.Y.
 Thomas P. Farrelly, 54, East Northport, N.Y.
 Syed Abdul Fatha, 54, Newark, N.J.
 Christopher Faughnan, 37, South Orange, N.J.
 Wendy R. Faulkner, 47, Mason, Ohio
 Shannon M. Fava, 30, New York, N.Y.
 Bernard D. Favuzza, 52, Suffern, N.Y.
 Robert Fazio, 41, Freeport, N.Y.
 Ronald C. Fazio, 57, Closter, N.J.
 William Feehan, 72, New York, N.Y.
 Francis J. (Frank) Feely, 41, Middletown, N.Y.
 Garth E. Feeney, 28, New York, N.Y.
 Sean B. Fegan, 34, New York, N.Y.
 Lee S. Fehling, 28, Wantagh, N.Y.
 Peter Feidelberg, 34, Hoboken, N.J.
 Alan D. Feinberg, 48, New York, N.Y.
 Rosa Maria Feliciano, 30, New York, N.Y.
 Edward T. Fergus, 40, Wilton, Conn.
 George Ferguson, 54, Teaneck, N.J.
 Henry Fernandez, 23, New York, N.Y.
 Judy H. Fernandez, 27, Parlin, N.J.
 Jose Manuel Contreras Fernandez, El Aguacate, Jalisco, Mexico
 Elisa Giselle Ferraina, 27, London, England
 Anne Marie Sallerin Ferreira, 29, Jersey City, N.J.
 Robert John Ferris, 63, Garden City, N.Y.
 David Francis Ferrugio, 46, Middletown, N.J.
 Louis V. Fersini, 38, Basking Ridge, N.J.
 Michael David Ferugio, 37, New York, N.Y.
 Bradley James Fetchet, 24, New York, N.Y.
 Jennifer Louise Fialko, 29, Teaneck, N.J.
 Kristen Fiedel, 27, New York, N.Y.
 Samuel Fields, 36, New York, N.Y.
 Michael Bradley Finnegan, 37, Basking Ridge, N.J.
 Timothy J. Finnerty, 33, Glen Rock, N.J.
 Michael Curtis Fiore, 46, New York, N.Y.
 Stephen J. Fiorelli, 43, Aberdeen, N.J.
 Paul M. Fiori, 31, Yorktown Heights, N.Y.
 John Fiorito, 40, Stamford, Conn.
 Lt. John R. Fischer, 46, New York, N.Y.


                                                    16
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page119
                                                                849ofof232
                                                                        962




 Andrew Fisher, 42, New York, N.Y.
 Thomas J. Fisher, 36, Union, N.J.
 Bennett Lawson Fisher, 58, Stamford, Conn.
 John Roger Fisher, 46, Bayonne, N.J.
 Lucy Fishman, 37, New York, N.Y.
 Ryan D. Fitzgerald, 26, New York, N.Y.
 Thomas Fitzpatrick, 35, Tuckahoe, N.Y.
 Richard P. Fitzsimons, 57, Lynbrook, N.Y.
 Salvatore A. Fiumefreddo, 47, Manalapan, N.J.
 Christina Donovan Flannery, 26, New York, N.Y.
 Eileen Flecha, 33, New York, N.Y.
 Andre G. Fletcher, 37, North Babylon, N.Y.
 Carl Flickinger, 38, Conyers, N.Y.
 John Joseph Florio, 33, Oceanside, N.Y.
 Joseph W. Flounders, 46, East Stroudsburg, Pa.
 David Fodor, 38, Garrison, N.Y.
 Lt. Michael N. Fodor, 53, Warwick, N.Y.
 Steven Mark Fogel, 40, Westfield, N.Y.
 Thomas Foley, 32, West Nyack, N.Y.
 David Fontana, 37, New York, N.Y.
 Chih Min (Dennis) Foo, 40, Holmdel, N.J.
 Del Rose Forbes-Cheatham, 48, New York, N.Y.
 Godwin Forde, 39, New York, N.Y.
 Donald A. Foreman, 53, New York, N.Y.
 Christopher Hugh Forsythe, 44, Basking Ridge, N.J.
 Claudia Alicia Martinez Foster, 26, New York, N.Y.
 Noel J. Foster, 40, Bridgewater, N.J.
 Ana Fosteris, 58, Coram, N.Y.
 Robert J. Foti, 42, Albertson, N.Y.
 Jeffrey L. Fox, 40, Cranbury, N.J.
 Virginia Fox, 58, New York, N.Y.
 Virgin (Lucy) Francis, 62, New York, N.Y.
 Pauline Francis, 57, New York, N.Y.
 Joan Francis
 Gary J. Frank, 35, South Amboy, N.J.
 Morton Frank, 31, New York, N.Y.
 Peter Christopher Frank, 29, New York, N.Y.
 Richard K. Fraser, 32, New York, N.Y.
 Kevin Joseph Frawley, 34, Bronxville, N.Y.
 Clyde Frazier, 41, New York, N.Y.
 Lillian I. Frederick, 46, Teaneck, N.J.
 Andrew Fredericks, 40, Suffern, N.Y.
 Tamitha Freemen, 35, New York, N.Y.
 Brett O. Freiman, 29, Roslyn, N.Y.
 Lt. Peter L. Freund, 45, Westtown, N.Y.
 Arlene E. Fried, 49, Roslyn Heights, N.Y.


                                                    17
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page120
                                                                850ofof232
                                                                        962




 Alan Wayne Friedlander, 52, Yorktown Heights, N.Y.
 Andrew K. Friedman, 44, Woodbury, N.Y.
 Gregg J. Froehner, 46, Chester, N.J.
 Peter Christian Fry, 36, Wilton, Conn.
 Clement Fumando, 59, New York, N.Y.
 Steven Elliot Furman, 40, Wesley Hills, N.Y.
 Paul James Furmato, 37, Colts Neck, N.J.
 Fredric Gabler, 30, New York, N.Y.
 Richard S. Gabrielle, 50, West Haven, Conn.
 James Andrew Gadiel, 23, New York, N.Y.
 Pamela Gaff, 51, Robinsville, N.J.
 Ervin Vincent Gailliard, 42, New York, N.Y.
 Deanna L. Galante, 32, New York, N.Y.
 Grace Galante, 29, New York, N.Y.
 Anthony Edward Gallagher, 41, New York, N.Y.
 Daniel James Gallagher, 23, Red Bank, N.J.
 John Patrick Gallagher, 31, Yonkers, N.Y.
 Cono E. Gallo, 30, New York, N.Y.
 Vincenzo Gallucci, 36, Monroe Township, N.J.
 Thomas Edward Galvin, 32, New York, N.Y.
 Giovanna (Genni) Gambale, 27, New York, N.Y.
 Thomas Gambino, 48, Babylon, N.Y.
 Giann F. Gamboa, 26, New York, N.Y.
 Peter J. Ganci, 55, North Massapequa, N.Y.
 Claude Michael Gann, 41, Roswell, Ga.
 Lt. Charles William Garbarini, 44, Pleasantville, N.Y.
 Cesar Garcia, 36, New York, N.Y.
 David Garcia, 40, Freeport, N.Y.
 Jorge Luis Morron Garcia, 38, New York, N.Y.
 Juan Garcia, 50, New York, N.Y.
 Marlyn C. Garcia, 21, New York, N.Y.
 Christopher Gardner, 36, Darien, Conn.
 Douglas B. Gardner, 39, New York, N.Y.
 Harvey J. Gardner, 35, Lakewood, N.J.
 Thomas A. Gardner, 39, Oceanside, N.Y.
 Jeffrey B. Gardner, 36, Hoboken, N.J.
 William Arthur Gardner, 45, Lynbrook, N.Y.
 Francesco Garfi, 29, New York, N.Y.
 Rocco Gargano, 28, Bayside, N.Y.
 James M. Gartenberg, 36, New York, N.Y.
 Matthew David Garvey, 37
 Bruce Gary, 51, Bellmore, N.Y.
 Palmina Delli Gatti, 33, New York, N.Y.
 Boyd A. Gatton, 38, Jersey City, N.J.
 Donald Richard Gavagan, 35, New York, N.Y.
 Terence D. Gazzani, 24, New York, N.Y.


                                                    18
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page121
                                                                851ofof232
                                                                        962




 Gary Geidel, 44, New York, N.Y.
 Paul Hamilton Geier, 36, Farmingdale, N.Y.
 Julie M. Geis, 44, Lees Summit, Mo.
 Peter Gelinas, 34, New York, N.Y.
 Steven Paul Geller, 52, New York, N.Y.
 Howard G. Gelling, 28, New York, N.Y.
 Peter Victor Genco, 36, Rockville Centre, N.Y.
 Steven Gregory Genovese, 37, Basking Ridge, N.J.
 Alayne F. Gentul, 44, Mountain Lakes, N.J.
 Edward F. Geraghty, 45, Rockville Centre, N.Y.
 Suzanne Geraty, 30, New York, N.Y.
 Ralph Gerhardt, 33, New York, N.Y.
 Robert J. Gerlich, 56, Monroe, Conn.
 Denis P. Germain, 33, Tuxedo Park, N.Y.
 Marina R. Gertsberg, 25, New York, N.Y.
 Susan M. Getzendanner, 57, New York, N.Y.
 James Gerard Geyer, 41, Rockville Centre, N.Y.
 Joseph M. Giaccone, 43, Monroe, N.J.
 Lt. Vincent Francis Giammona, 40, Valley Stream, N.Y.
 Debra L. Gibbon, 43, Hackettstown, N.J.
 James A. Giberson, 43, New York, N.Y.
 Craig Neil Gibson, 37, New York, N.Y.
 Ronnie Gies, 43, Merrick, N.Y.
 Laura A. Giglio, 35, Oceanside, N.Y.
 Andrew Clive Gilbert, 39, Califon, N.J.
 Timothy Paul Gilbert, 35, Lebanon, N.J.
 Paul Stuart Gilbey, 39, Chatham, N.J.
 Paul John Gill, 34, New York, N.Y.
 Mark Y. Gilles, 33, New York, N.Y.
 Evan H. Gillette, 40, New York, N.Y.
 Ronald Gilligan, 43, Norwalk, Conn.
 Sgt. Rodney C. Gillis, 34, New York, N.Y.
 Laura Gilly, 32, New York, N.Y.
 Lt. John F. Ginley, 37, Warwick, N.Y.
 Jeffrey Giordano, 46, New York, N.Y.
 John Giordano, 46, Newburgh, N.Y.
 Donna Marie Giordano, 44, Parlin, N.J.
 Steven A. Giorgetti, 43, Manhasset, N.Y.
 Martin Giovinazzo, 34, New York, N.Y.
 Kum-Kum Girolamo, 41, New York, N.Y.
 Salvatore Gitto, 44, Manalapan, N.J.
 Cynthia Giugliano, 46, Nesconset, N.Y.
 Mon Gjonbalaj, 65, New York, N.Y.
 Dianne Gladstone, 55, New York, N.Y.
 Keith Alexander Glascoe, 38, New York, N.Y.
 Thomas I. Glasser, 40, Summit, N.J.


                                                    19
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page122
                                                                852ofof232
                                                                        962




 Harry Glenn, 38, Piscataway, N.J.
 Barry H. Glick, 55, Wayne, N.J.
 Steven Lawrence Glick, 42, Greenwich, Conn.
 John T. Gnazzo, 32, New York, N.Y.
 William (Bill) Robert Godshalk, 35, New York, N.Y.
 Michael Gogliormella, 43, New Providence, N.J.
 Brian Fredric Goldberg, 26, Union, N.J.
 Jeffrey Grant Goldflam, 48, Melville, N.Y.
 Michelle Herman Goldstein, 31, New York, N.Y.
 Monica Goldstein, 25, New York, N.Y.
 Steven Goldstein, 35, Princeton, N.J.
 Andrew H. Golkin, 30, New York, N.Y.
 Dennis James Gomes, 40, New York, N.Y.
 Enrique Antonio Gomez, 42, New York, N.Y.
 Jose Bienvenido Gomez, 45, New York, N.Y.
 Manuel Gomez, 42, New York, N.Y.
 Wilder Gomez, 38, New York, N.Y.
 Jenine Gonzalez, 27, New York, N.Y.
 Joel Guevara Gonzalez, 23, Aguascalientes, Aguascalientes, Mexico
 Rosa J. Gonzalez, 32, Jersey City, N.J.
 Mauricio Gonzalez, 27, New York, N.Y.
 Calvin J. Gooding, 38, Riverside, N.Y.
 Harry Goody, 50, New York, N.Y.
 Kiran Reddy Gopu, 24, Bridgeport, Conn.
 Catherine Carmen Gorayeb, 41, New York, N.Y.
 Kerene Gordon, 43, New York, N.Y.
 Sebastian Gorki, 27, New York, N.Y.
 Thomas E. Gorman, 41, Middlesex, N.J.
 Kieran Gorman, 35, Yonkers, N.Y.
 Michael Edward Gould, 29, Hoboken, N.J.
 Yugi Goya, 42, Rye, N.Y.
 Jon Richard Grabowski, 33, New York, N.Y.
 Christopher Michael Grady, 39, Cranford, N.J.
 Edwin John Graf, 48, Rowayton, Conn.
 David M. Graifman, 40, New York, N.Y.
 Gilbert Granados, 51, Hicksville, N.Y.
 Elvira Granitto, 43, New York, N.Y.
 Winston Arthur Grant, 59, West Hempstead, N.Y.
 Christopher Stewart Gray, 32, Weehawken, N.J.
 James Michael Gray, 34, New York, N.Y.
 Linda Mair Grayling, 44, New York, N.Y.
 John Michael Grazioso, 41, Middletown, N.J.
 Timothy Grazioso, 42, Gulf Stream, Fla.
 Derrick Arthur Green, 44, New York, N.Y.
 Wade Brian Green, 42, Westbury, N.Y.
 Elaine Myra Greenberg, 56, New York, N.Y.


                                                    20
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page123
                                                                853ofof232
                                                                        962




 Gayle R. Greene, 51, Montville, N.J.
 James Arthur Greenleaf, 32, New York, N.Y.
 Eileen Marsha Greenstein, 52, Morris Plains, N.J.
 Elizabeth (Lisa) Martin Gregg, 52, New York, N.Y.
 Donald H. Gregory, 62, Ramsey, N.J.
 Florence M. Gregory, 38, New York, N.Y.
 Denise Gregory, 39, New York, N.Y.
 Pedro (David) Grehan, 35, Hoboken, N.J.
 John M. Griffin, 38, Waldwick, N.J.
 Tawanna Griffin, 30, New York, N.Y.
 Joan D. Griffith, 39, Willingboro, N.J.
 Warren Grifka, 54, New York, N.Y.
 Ramon Grijalvo, 58
 Joseph F. Grillo, 46, New York, N.Y.
 David Grimner, 51, Merrick, N.Y.
 Kenneth Grouzalis, 56, Lyndhurst, N.J.
 Joseph Grzelak, 52, New York, N.Y.
 Matthew J. Grzymalski, 34, New Hyde Park, N.Y.
 Robert Joseph Gschaar, 55, Spring Valley, N.Y.
 Liming (Michael) Gu, 34, Piscataway, N.J.
 Jose A. Guadalupe, 37, New York, N.Y.
 Yan Zhu (Cindy) Guan, 25, New York, N.Y.
 Geoffrey E. Guja, 47, Lindenhurst, N.Y.
 Lt. Joseph Gullickson, 37, New York, N.Y.
 Babita Guman, 33, New York, N.Y.
 Douglas B. Gurian, 38, Tenafly, N.J.
 Philip T. Guza, 54, Sea Bright, N.J.
 Barbara Guzzardo, 49, Glendale, N.Y.
 Peter Gyulavary, 44, Warwick, N.Y.
 Gary Robert Haag, 36, Ossining, N.Y.
 Andrea Lyn Haberman, 25, Chicago, Ill.
 Barbara M. Habib, 49, New York, N.Y.
 Philip Haentzler, 49, New York, N.Y.
 Nizam A. Hafiz, 32, New York, N.Y.
 Karen Hagerty, 34, New York, N.Y.
 Steven Hagis, 31, New York, N.Y.
 Mary Lou Hague, 26, New York, N.Y.
 David Halderman, 40, New York, N.Y.
 Maile Rachel Hale, 26, Cambridge, Mass.
 Richard Hall, 49, Purchase, N.Y.
 Vaswald George Hall, 50, New York, N.Y.
 Robert John Halligan, 59, Basking Ridge, N.J.
 Lt. Vincent Gerard Halloran, 43, North Salem, N.Y.
 James D. Halvorson, 56, Greenwich, Conn.
 Mohammad Salman Hamdani, 23, New York, N.Y.
 Felicia Hamilton, 62, New York, N.Y.


                                                    21
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page124
                                                                854ofof232
                                                                        962




 Robert Hamilton, 43, Washingtonville, N.Y.
 Frederic Kim Han, 45, Marlboro, N.J.
 Christopher James Hanley, 34, New York, N.Y.
 Sean Hanley, 35, New York, N.Y.
 Valerie Joan Hanna, 57, Freeville, N.Y.
 Thomas Hannafin, 36, New York, N.Y.
 Kevin James Hannaford, 32, Basking Ridge, N.J.
 Michael L. Hannan, 34, Lynbrook, N.Y.
 Dana Hannon, 29, Suffern, N.Y.
 Vassilios G. Haramis, 56, New York, N.Y.
 James A. Haran, 41, Malverne, N.Y.
 Jeffrey P. Hardy, 46, New York, N.Y.
 Timothy John Hargrave, 38, Readington, N.J.
 Daniel Harlin, 41, Kent, N.Y.
 Frances Haros, 76, New York, N.Y.
 Lt. Harvey L. Harrell, 49, New York, N.Y.
 Lt. Stephen Gary Harrell, 44, Warwick, N.Y.
 Stewart D. Harris, 52, Marlboro, N.J.
 Aisha Harris, 22, New York, N.Y.
 John Patrick Hart, 38, Danville, Calif.
 John Clinton Hartz, 64, Basking Ridge, N.J.
 Emeric J. Harvey, 56, Montclair, N.J.
 Capt. Thomas Theodore Haskell, 37, Massapequa, N.Y.
 Timothy Haskell, 34, Seaford, N.Y.
 Joseph John Hasson, 34, New York, N.Y.
 Capt. Terence S. Hatton, 41, New York, N.Y.
 Leonard William Hatton, 45, Ridgefield Park, N.J.
 Michael Helmut Haub, 34, Roslyn Heights, N.Y.
 Timothy Aaron Haviland, 41, Oceanside, N.Y.
 Donald G. Havlish, 53, Yardley, Pa.
 Anthony Hawkins, 30, New York, N.Y.
 Nobuhiro Hayatsu, 36, Scarsdale, N.Y.
 Philip Hayes, 67, Northport, N.Y.
 William Ward Haynes, 35, Rye, N.Y.
 Scott Hazelcorn, 29, Hoboken, N.J.
 Lt. Michael K. Healey, 42, East Patchogue, N.Y.
 Roberta Bernstein Heber, 60, New York, N.Y.
 Charles Francis Xavier Heeran, 23, Belle Harbor, N.Y.
 John Heffernan, 37, New York, N.Y.
 Howard Joseph Heller, 37, Ridgefield, Conn.
 JoAnn L. Heltibridle, 46, Springfield, N.J.
 Mark F. Hemschoot, 45, Red Bank, N.J.
 Ronnie Lee Henderson, 52, Newburgh, N.Y.
 Janet Hendricks, 48, New York, N.Y.
 Brian Hennessey, 35, Ringoes, N.J.
 Michelle Marie Henrique, 27, New York, N.Y.


                                                    22
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page125
                                                                855ofof232
                                                                        962




 Joseph P. Henry, 25, New York, N.Y.
 William Henry, 49, New York, N.Y.
 John Henwood, 35, New York, N.Y.
 Robert Allan Hepburn, 39, Union, N.J.
 Mary (Molly) Herencia, 47, New York, N.Y.
 Lindsay Coates Herkness, 58, New York, N.Y.
 Harvey Robert Hermer, 59, New York, N.Y.
 Claribel Hernandez, 31, New York, N.Y.
 Norberto Hernandez, 42, New York, N.Y.
 Raul Hernandez, 51, New York, N.Y.
 Gary Herold, 44, Farmingdale, N.Y.
 Jeffrey A. Hersch, 53, New York, N.Y.
 Thomas Hetzel, 33, Elmont, N.Y.
 Capt. Brian Hickey, 47, New York, N.Y.
 Ysidro Hidalgo-Tejada, 47, New York, N.Y., Dominican Republic
 Lt. Timothy Higgins, 43, Farmingville, N.Y.
 Robert D. Higley, 29, New Fairfield, Conn.
 Todd Russell Hill, 34, Boston, Mass.
 Clara Victorine Hinds, 52, New York, N.Y.
 Neal Hinds, 28, New York, N.Y.
 Mark D. Hindy, 28, New York, N.Y.
 Richard Bruce Van Hine, 48, Greenwood Lake, N.Y.
 Katsuyuki Hirai, 32, Hartsdale, N.Y.
 Heather Malia Ho, 32, New York, N.Y.
 Tara Yvette Hobbs, 31, New York, N.Y.
 Thomas A. Hobbs, 41, Baldwin, N.Y.
 James L. Hobin, 47, Marlborough, Conn.
 Robert Wayne Hobson, 36, New Providence, N.J.
 DaJuan Hodges, 29, New York, N.Y.
 Ronald George Hoerner, 58, Massapequa Park, N.Y.
 Patrick Aloysius Hoey, 53, Middletown, N.J.
 Stephen G. Hoffman, 36, Long Beach, N.Y.
 Marcia Hoffman, 52, New York, N.Y.
 Frederick J. Hoffmann, 53, Freehold, N.J.
 Michele L. Hoffmann, 27, Freehold, N.J.
 Judith Florence Hofmiller, 53, Brookfield, Conn.
 Thomas Warren Hohlweck, 57, Harrison, N.Y.
 Jonathan R. Hohmann, 48, New York, N.Y.
 Joseph Francis Holland, 32, Glen Rock, N.J.
 John Holland, 30
 Elizabeth Holmes, 42, New York, N.Y.
 Thomas P. Holohan, 36, Chester, N.Y.
 Bradley Hoorn, 22, New York, N.Y.
 James P. Hopper, 51, Farmingdale, N.Y.
 Montgomery McCullough Hord, 46, Pelham, N.Y.
 Michael Horn, 27, Lynbrook, N.Y.


                                                    23
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page126
                                                                856ofof232
                                                                        962




 Matthew D. Horning, 26, Hoboken, N.J.
 Robert L. Horohoe, 31, New York, N.Y.
 Aaron Horwitz, 24, New York, N.Y.
 Charles J. Houston, 42, New York, N.Y.
 Uhuru G. Houston, 32, Englewood, N.J.
 George Howard, 45, Hicksville, N.Y.
 Steven L. Howell, 36, New York, N.Y.
 Michael C. Howell, 60, New York, N.Y.
 Jennifer L. Howley, 34, New Hyde Park, N.Y.
 Milagros "Millie" Hromada, 35, New York, N.Y.
 Marian Hrycak, 56, New York, N.Y.
 Stephen Huczko, 44, Bethlehem, N.J.
 Kris R. Hughes, 30, Nesconset, N.Y.
 Melissa Harrington Hughes, 31, San Francisco, Calif.
 Thomas F. Hughes, 46, Spring Lake Heights, N.J.
 Timothy Robert Hughes, 43, Madison, N.J.
 Paul R. Hughes, 38, Stamford, Conn.
 Robert T. "Bobby" Hughes, 23, Sayreville, N.J.
 Susan Huie, 43, Fair Lawn, N.J.
 Mychal Lamar Hulse, 30, New York, N.Y.
 William C. Hunt, 32, Norwalk, Conn.
 Joseph G. Hunter, 31, South Hempstead, N.Y.
 Robert Hussa, 51, Roslyn, N.Y.
 Capt. Walter Hynes, 46, Belle Harbor, N.Y.
 Thomas E. Hynes, 28, Norwalk, Conn.
 Joseph Anthony Ianelli, 28, Hoboken, N.J.
 Zuhtu Ibis, 25, Clifton, N.J.
 Jonathan Lee Ielpi, 29, Great Neck, N.Y.
 Michael Patrick Iken, 37, New York, N.Y.
 Daniel Ilkanayev, 36, New York, N.Y.
 Capt. Frederick Ill, 49, Pearl River, N.Y.
 Abraham Nethanel Ilowitz, 51, New York, N.Y.
 Anthony P. Infante, 47, Chatham, N.J.
 Louis S. Inghilterra, 45, New Castle, N.Y.
 Christopher N. Ingrassia, 28, Watchung, N.J.
 Paul Innella, 33, East Brunswick, N.J.
 Stephanie V. Irby, 38, New York, N.Y.
 Douglas Irgang, 32, New York, N.Y.
 Todd A. Isaac, 29, New York, N.Y.
 Erik Hans Isbrandtsen, 30, New York, N.Y.
 Taizo Ishikawa, 50
 Aram Iskenderian, 41, Merrick, N.Y.
 John Iskyan, 41, Wilton, Conn.
 Kazushige Ito, 35, New York, N.Y.
 Aleksandr Valeryerich Ivantsov, 23, New York, N.Y.
 Virginia Jablonski, 49, Matawan, N.J.


                                                    24
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page127
                                                                857ofof232
                                                                        962




 Brooke Alexandra Jackman, 23, New York, N.Y.
 Aaron Jacobs, 27, New York, N.Y.
 Jason Kyle Jacobs, 32, Mendham, N.J.
 Michael Grady Jacobs, 54, Danbury, Conn.
 Ariel Louis Jacobs, 29, Briarcliff Manor, N.Y.
 Steven A. Jacobson, 53, New York, N.Y.
 Ricknauth Jaggernauth, 58, New York, N.Y.
 Jake Denis Jagoda, 24, Huntington, N.Y.
 Yudh V.S. Jain, 54, New City, N.Y.
 Maria Jakubiak, 41, Ridgewood, N.Y.
 Gricelda E. James, 44, Willingboro, N.J.
 Ernest James, 40, New York, N.Y.
 Mark Jardim, 39, New York, N.Y.
 Mohammed Jawara, 30, New York, N.Y.
 Francois Jean-Pierre, 58, New York, N.Y.
 Maxima Jean-Pierre, 40, Bellport, N.Y.
 Paul E. Jeffers, 39, New York, N.Y.
 Joseph Jenkins, 47, New York, N.Y.
 Alan K. Jensen, 49, Wyckoff, N.J.
 Prem N. Jerath, 57, Edison, N.J.
 Farah Jeudy, 32, Spring Valley, N.Y.
 Hweidar Jian, 42, East Brunswick, N.J.
 Eliezer Jimenez, 38, New York, N.Y.
 Luis Jimenez, 25, New York, N.Y.
 Charles Gregory John, 44, New York, N.Y.
 Nicholas John, 42, New York, N.Y.
 Scott M. Johnson, 26, New York, N.Y.
 LaShawana Johnson, 27, New York, N.Y.
 William Johnston, 31, North Babylon, N.Y.
 Arthur Joseph Jones, 37, Ossining, N.Y.
 Allison Horstmann Jones, 31, New York, N.Y.
 Brian L. Jones, 44, New York, N.Y.
 Christopher D. Jones, 53, Huntington, N.Y.
 Donald T. Jones, 39, Livingston, N.J.
 Donald W. Jones, 43, Fairless Hills, Pa.
 Linda Jones, 50, New York, N.Y.
 Mary S. Jones, 72, New York, N.Y.
 Andrew Jordan, 35, Remsenburg, N.Y.
 Robert Thomas Jordan, 34, Williston, N.Y.
 Ingeborg Joseph, 60, Germany
 Karl Henri Joseph, 25, New York, N.Y.
 Stephen Joseph, 39, Franklin Park, N.J.
 Albert Joseph, 79
 Jane Eileen Josiah, 47, Bellmore, N.Y.
 Lt. Anthony Jovic, 39, Massapequa, N.Y.
 Angel Luis Juarbe, 35, New York, N.Y.


                                                    25
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page128
                                                                858ofof232
                                                                        962




 Karen Susan Juday, 52, New York, N.Y.
 The Rev. Mychal Judge, 68, New York, N.Y.
 Paul W. Jurgens, 47, Levittown, N.Y.
 Thomas Edward Jurgens, 26, Lawrence, N.Y.
 Kacinga Kabeya, 63, McKinney, Texas
 Shashi Kiran Lakshmikantha Kadaba, 25, Hackensack, N.J.
 Gavkharoy Mukhometovna Kamardinova, 26, New York, N.Y.
 Shari Kandell, 27, Wyckoff, N.J.
 Howard Lee Kane, 40, Hazlet, N.J.
 Jennifer Lynn Kane, 26, Fair Lawn, N.J.
 Vincent D. Kane, 37, New York, N.Y.
 Joon Koo Kang, 34, Riverdale, N.J.
 Sheldon R. Kanter, 53, Edison, N.J.
 Deborah H. Kaplan, 45, Paramus, N.J.
 Alvin Peter Kappelmann, 57, Green Brook, N.J.
 Charles Karczewski, 34, Union, N.J.
 William A. Karnes, 37, New York, N.Y.
 Douglas G. Karpiloff, 53, Mamaroneck, N.Y.
 Charles L. Kasper, 54, New York, N.Y.
 Andrew Kates, 37, New York, N.Y.
 John Katsimatides, 31, East Marion, N.Y.
 Sgt. Robert Kaulfers, 49, Kenilworth, N.J.
 Don Jerome Kauth, 51, Saratoga Springs, N.Y.
 Hideya Kawauchi, 36, Fort Lee, N.J.
 Edward T. Keane, 66, West Caldwell, N.J.
 Richard M. Keane, 54, Wethersfield, Conn.
 Lisa Kearney-Griffin, 35, Jamaica, N.Y.
 Karol Ann Keasler, 42, New York, N.Y.
 Paul Hanlon Keating, 38, New York, N.Y.
 Leo Russell Keene, 33, Westfield, N.J.
 Joseph J. Keller, 31, Park Ridge, N.J.
 Peter Rodney Kellerman, 35, New York, N.Y.
 Joseph P. Kellett, 37, Riverdale, N.Y.
 Frederick H. Kelley, 57, Huntington, N.Y.
 James Joseph Kelly, 39, Oceanside, N.Y.
 Joseph A. Kelly, 40, Oyster Bay, N.Y.
 Maurice Patrick Kelly, 41, New York, N.Y.
 Richard John Kelly, 50, New York, N.Y.
 Thomas Michael Kelly, 41, Wyckoff, N.J.
 Thomas Richard Kelly, 38, Riverhead, N.Y.
 Thomas W. Kelly, 51, New York, N.Y.
 Timothy C. Kelly, 37, Port Washington, N.Y.
 William Hill Kelly, 30, New York, N.Y.
 Robert C. Kennedy, 55, Toms River, N.J.
 Thomas J. Kennedy, 36, Islip Terrace, N.Y.
 John Keohane, 41, Jersey City, N.J.


                                                    26
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page129
                                                                859ofof232
                                                                        962




 Lt. Ronald T. Kerwin, 42, Levittown, N.Y.
 Howard L. Kestenbaum, 56, Montclair, N.J.
 Douglas D. Ketcham, 27, New York, N.Y.
 Ruth E. Ketler, 42, New York, N.Y.
 Boris Khalif, 30, New York, N.Y.
 Sarah Khan, 32, New York, N.Y.
 Taimour Firaz Khan, 29, New York, N.Y.
 Rajesh Khandelwal, 33, South Plainfield, N.J.
 SeiLai Khoo, 38, Jersey City, N.J.
 Michael Kiefer, 25, Hempstead, N.Y.
 Satoshi Kikuchihara, 43, Scarsdale, N.Y.
 Andrew Jay-Hoon Kim, 26, Leonia, N.J.
 Lawrence Don Kim, 31, Blue Bell, Pa.
 Mary Jo Kimelman, 34, New York, N.Y.
 Andrew Marshall King, 42, Princeton, N.J.
 Lucille T. King, 59, Ridgewood, N.J.
 Robert King, 36, Bellerose Terrace, N.Y.
 Lisa M. King-Johnson, 34, New York, N.Y.
 Takashi Kinoshita, 46, Rye, N.Y.
 Chris Michael Kirby, 21, New York, N.Y.
 Howard (Barry) Kirschbaum, 53, New York, N.Y.
 Glenn Davis Kirwin, 40, Scarsdale, N.Y.
 Richard J. Klares, 59, Somers, N.Y.
 Peter A. Klein, 35, Weehawken, N.J.
 Alan D. Kleinberg, 39, East Brunswick, N.J.
 Karen J. Klitzman, 38, New York, N.Y.
 Ronald Philip Kloepfer, 39, Franklin Square, N.Y.
 Yevgeny Kniazev, 46, New York, N.Y.
 Thomas Patrick Knox, 31, Hoboken, N.J.
 Andrew Knox, 30, Adelaide, Australia
 Rebecca Lee Koborie, 48, Guttenberg, N.J.
 Deborah Kobus, 36, New York, N.Y.
 Gary Edward Koecheler, 57, Harrison, N.Y.
 Frank J. Koestner, 48, New York, N.Y.
 Ryan Kohart, 26, New York, N.Y.
 Vanessa Lynn Kolpak, 21, New York, N.Y.
 Irina Kolpakova, 37, New York, N.Y.
 Suzanne Kondratenko, 27, Chicago, Ill.
 Abdoulaye Kone, 37, New York, N.Y.
 Bon-seok Koo, 42, River Edge, N.J.
 Dorota Kopiczko, 26, Nutley, N.J.
 Scott Kopytko, 32, New York, N.Y.
 Bojan Kostic, 34, New York, N.Y.
 Danielle Kousoulis, 29, New York, N.Y.
 John J. Kren, 52
 William Krukowski, 36, New York, N.Y.


                                                    27
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page130
                                                                860ofof232
                                                                        962




 Lyudmila Ksido, 46, New York, N.Y.
 Shekhar Kumar, 30, New York, N.Y.
 Kenneth Kumpel, 42, Cornwall, N.Y.
 Frederick Kuo, 53, Great Neck, N.Y.
 Patricia Kuras, 42, New York, N.Y.
 Nauka Kushitani, 44, New York, N.Y.
 Thomas Joseph Kuveikis, 48, Carmel, N.Y.
 Victor Kwarkye, 35, New York, N.Y.
 Kui Fai Kwok, 31, New York, N.Y.
 Angela R. Kyte, 49, Boonton, N.J.
 Amarnauth Lachhman, 42, Valley Stream, N.Y.
 Andrew LaCorte, 61, Jersey City, N.J.
 Ganesh Ladkat, 27, Somerset, N.J.
 James P. Ladley, 41, Colts Neck, N.J.
 Daniel M. Van Laere, 46, Glen Rock, N.J.
 Joseph A. Lafalce, 54, New York, N.Y.
 Jeanette LaFond-Menichino, 49, New York, N.Y.
 David LaForge, 50, Port Richmond, N.Y.
 Michael Patrick LaForte, 39, Holmdel, N.J.
 Alan Lafrance, 43
 Juan Lafuente, 61, Poughkeepsie, N.Y.
 Neil K. Lai, 59, East Windsor, N.J.
 Vincent A. Laieta, 31, Edison, N.J.
 William David Lake, 44, New York, N.Y.
 Franco Lalama, 45, Nutley, N.J.
 Chow Kwan Lam, 48, Maywood, N.J.
 Stephen LaMantia, 38, Darien, Conn.
 Amy Hope Lamonsoff, 29, New York, N.Y.
 Robert T. Lane, 28, New York, N.Y.
 Brendan M. Lang, 30, Red Bank, N.J.
 Rosanne P. Lang, 42, Middletown, N.J.
 Vanessa Langer, 29, Yonkers, N.Y.
 Mary Lou Langley, 53, New York, N.Y.
 Peter J. Langone, 41, Roslyn Heights, N.Y.
 Thomas Langone, 39, Williston Park, N.Y.
 Michele B. Lanza, 36, New York, N.Y.
 Ruth Sheila Lapin, 53, East Windsor, N.J.
 Carol Ann LaPlante, 59, New York, N.Y.
 Ingeborg Astrid Desiree Lariby, 42, New York, N.Y.
 Robin Larkey, 48, Chatham, N.J.
 Christopher Randall Larrabee, 26, New York, N.Y.
 Hamidou S. Larry, 37, New York, N.Y.
 Scott Larsen, 35, New York, N.Y.
 John Adam Larson, 37, Colonia, N.J.
 Gary E. Lasko, 49, Memphis, Tenn.
 Nicholas C. Lassman, 28, Cliffside Park, N.J.


                                                    28
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page131
                                                                861ofof232
                                                                        962




 Paul Laszczynski, 49, Paramus, N.J.
 Jeffrey Latouche, 49, New York, N.Y.
 Cristina de Laura
 Oscar de Laura
 Charles Laurencin, 61, New York, N.Y.
 Stephen James Lauria, 39, New York, N.Y.
 Maria Lavache, 60, New York, N.Y.
 Denis F. Lavelle, 42, Yonkers, N.Y.
 Jeannine M. LaVerde, 36, New York, N.Y.
 Anna A. Laverty, 52, Middletown, N.J.
 Steven Lawn, 28, West Windsor, N.J.
 Robert A. Lawrence, 41, Summit, N.J.
 Nathaniel Lawson, 61, New York, N.Y.
 Eugen Lazar, 27, New York, N.Y.
 James Patrick Leahy, 38, New York, N.Y.
 Lt. Joseph Gerard Leavey, 45, Pelham, N.Y.
 Neil Leavy, 34, New York, N.Y.
 Leon Lebor, 51, Jersey City, N.J.
 Kenneth Charles Ledee, 38, Monmouth, N.J.
 Alan J. Lederman, 43, New York, N.Y.
 Elena Ledesma, 36, New York, N.Y.
 Alexis Leduc, 45, New York, N.Y.
 Myung-woo Lee, 41, Lyndhurst, N.J.
 David S. Lee, 37, West Orange, N.J.
 Gary H. Lee, 62, Lindenhurst, N.Y.
 Hyun-joon (Paul) Lee, 32, New York, N.Y.
 Jong-min Lee, 24, New York, N.Y.
 Juanita Lee, 44, New York, N.Y.
 Lorraine Lee, 37, New York, N.Y.
 Richard Y.C. Lee, 34, Great Neck, N.Y.
 Yang Der Lee, 63, New York, N.Y.
 Kathryn Blair Lee, 55, New York, N.Y.
 Stuart (Soo-Jin) Lee, 30, New York, N.Y.
 Linda C. Lee, 34, New York, N.Y.
 Stephen Lefkowitz, 50, Belle Harbor, N.Y.
 Adriana Legro, 32, New York, N.Y.
 Edward J. Lehman, 41, Glen Cove, N.Y.
 Eric Andrew Lehrfeld, 32, New York, N.Y.
 David Ralph Leistman, 43, Garden City, N.Y.
 David Prudencio LeMagne, 27, North Bergen, N.J.
 Joseph A. Lenihan, 41, Greenwich, Conn.
 John J. Lennon, 44, Howell, N.J.
 John Robinson Lenoir, 38, Locust Valley, N.Y.
 Jorge Luis Leon, 43, Union City, N.J.
 Matthew Gerard Leonard, 38, New York, N.Y.
 Michael Lepore, 39, New York, N.Y.


                                                    29
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page132
                                                                862ofof232
                                                                        962




 Charles Antoine Lesperance, 55
 Jeffrey Earle LeVeen, 55, Manhasset, N.Y.
 John D. Levi, 50, New York, N.Y.
 Alisha Caren Levin, 33, New York, N.Y.
 Neil D. Levin, 47, New York, N.Y.
 Robert Levine, 56, West Babylon, N.Y.
 Robert M. Levine, 66, Edgewater, N.J.
 Shai Levinhar, 29, New York, N.Y.
 Adam J. Lewis, 36, Fairfield, Conn.
 Margaret Susan Lewis, 49, Elizabeth, N.J.
 Ye Wei Liang, 27, New York, N.Y.
 Orasri Liangthanasarn, 26, Bayonne, N.J.
 Daniel F. Libretti, 43, New York, N.Y.
 Ralph M. Licciardi, 30, West Hempstead, N.Y.
 Edward Lichtschein, 35, New York, N.Y.
 Steven B. Lillianthal, 38, Millburn, N.J.
 Carlos R. Lillo, 37, Babylon, N.Y.
 Craig Damian Lilore, 30, Lyndhurst, N.J.
 Arnold A. Lim, 28, New York, N.Y.
 Darya Lin, 32, Chicago, Ill.
 Wei Rong Lin, 31, Jersey City, N.J.
 Nickie L. Lindo, 31, New York, N.Y.
 Thomas V. Linehan, 39, Montville, N.J.
 Robert Thomas Linnane, 33, West Hempstead, N.Y.
 Alan Linton, 26, Jersey City, N.J.
 Diane Theresa Lipari, 42, New York, N.Y.
 Kenneth P. Lira, 28, Paterson, N.J.
 Francisco Alberto Liriano, 33, New York, N.Y.
 Lorraine Lisi, 44, New York, N.Y.
 Paul Lisson, 45, New York, N.Y.
 Vincent Litto, 52, New York, N.Y.
 Ming-Hao Liu, 41, Livingston, N.J.
 Nancy Liz, 39, New York, N.Y.
 Harold Lizcano, 31, East Elmhurst, N.Y.
 Martin Lizzul, 31, New York, N.Y.
 George A. Llanes, 33, New York, N.Y.
 Elizabeth Claire Logler, 31, Rockville Centre, N.Y.
 Catherine Lisa Loguidice, 30, New York, N.Y.
 Jerome Robert Lohez, 30, Jersey City, N.J.
 Michael W. Lomax, 37, New York, N.Y.
 Laura M. Longing, 35, Pearl River, N.Y.
 Salvatore P. Lopes, 40, Franklin Square, N.Y.
 Daniel Lopez, 39, New York, N.Y.
 Luis Lopez, 38, New York, N.Y.
 Manuel L. Lopez, 54, Jersey City, N.J.
 George Lopez, 40, Stroudsburg, Pa.


                                                    30
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page133
                                                                863ofof232
                                                                        962




 Joseph Lostrangio, 48, Langhorne, Pa.
 Chet Louie, 45, New York, N.Y.
 Stuart Seid Louis, 43, East Brunswick, N.J.
 Joseph Lovero, 60, Jersey City, N.J.
 Michael W. Lowe, 48, New York, N.Y.
 Garry Lozier, 47, Darien, Conn.
 John Peter Lozowsky, 45, New York, N.Y.
 Charles Peter Lucania, 34, East Atlantic Beach, N.Y.
 Edward (Ted) H. Luckett, 40, Fair Haven, N.J.
 Mark G. Ludvigsen, 32, New York, N.Y.
 Lee Charles Ludwig, 49, New York, N.Y.
 Sean Thomas Lugano, 28, New York, N.Y.
 Daniel Lugo, 45, New York, N.Y.
 Marie Lukas, 32, New York, N.Y.
 William Lum, 45, New York, N.Y.
 Michael P. Lunden, 37, New York, N.Y.
 Christopher Lunder, 34, Wall, N.J.
 Anthony Luparello, 62, New York, N.Y.
 Gary Lutnick, 36, New York, N.Y.
 Linda Luzzicone, 33, New York, N.Y.
 Alexander Lygin, 28, New York, N.Y.
 Farrell Peter Lynch, 39, Centerport, N.Y.
 James Francis Lynch, 47, Woodbridge, N.J.
 Louise A. Lynch, 58, Amityville, N.Y.
 Michael Lynch, 34, New York, N.Y.
 Michael F. Lynch, 33, New Hyde Park, N.Y.
 Michael Francis Lynch, 30, New York, N.Y.
 Richard Dennis Lynch, 30, Bedford Hills, N.Y.
 Robert H. Lynch, 44, Cranford, N.J.
 Sean Patrick Lynch, 36, Morristown, N.J.
 Sean Lynch, 34, New York, N.Y.
 Michael J. Lyons, 32, Hawthorne, N.Y.
 Patrick Lyons, 34, South Setauket, N.Y.
 Monica Lyons, 53, New York, N.Y.
 Robert Francis Mace, 43, New York, N.Y.
 Jan Maciejewski, 37, New York, N.Y.
 Catherine Fairfax MacRae, 23, New York, N.Y.
 Richard B. Madden, 35, Westfield, N.J.
 Simon Maddison, 40, Florham Park, N.J.
 Noell Maerz, 29, Long Beach, N.Y.
 Jeannieann Maffeo, 40, New York, N.Y.
 Joseph Maffeo, 30, New York, N.Y.
 Jay Robert Magazine, 48, New York, N.Y.
 Charles Wilson Magee, 51, Wantagh, N.Y.
 Brian Magee, 52, Floral Park, N.Y.
 Joseph Maggitti, 47, Abingdon, Md.


                                                    31
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page134
                                                                864ofof232
                                                                        962




 Ronald E. Magnuson, 57, Park Ridge, N.J.
 Daniel L. Maher, 50, Hamilton, N.J.
 Thomas Anthony Mahon, 37, East Norwich, N.Y.
 William Mahoney, 38, Bohemia, N.Y.
 Joseph Maio, 32, Roslyn Harbor, N.Y.
 Takashi Makimoto, 49, New York, N.Y.
 Abdu Malahi, 37, New York, N.Y.
 Debora Maldonado, 47, New York, N.Y.
 Myrna T. Maldonado-Agosto, 49, New York, N.Y.
 Alfred R. Maler, 39, Convent Station, N.J.
 Gregory James Malone, 42, Hoboken, N.J.
 Edward Francis (Teddy) Maloney, 32, Darien, Conn.
 Joseph E. Maloney, 46, Farmingville, N.Y.
 Gene E. Maloy, 41, New York, N.Y.
 Christian Maltby, 37, Chatham, N.J.
 Francisco Miguel (Frank) Mancini, 26, New York, N.Y.
 Joseph Mangano, 53, Jackson, N.J.
 Sara Elizabeth Manley, 31, New York, N.Y.
 Debra M. Mannetta, 31, Islip, N.Y.
 Terence J. Manning, 36, Rockville Centre, N.Y.
 Marion Victoria (vickie) Manning, 27, Rochdale, N.Y.
 James Maounis, 42, New York, N.Y.
 Joseph Ross Marchbanks, 47, Nanuet, N.Y.
 Peter Edward Mardikian, 29, New York, N.Y.
 Edward Joseph Mardovich, 42, Lloyd Harbor, N.Y.
 Lt. Charles Joseph Margiotta, 44, New York, N.Y.
 Kenneth Joseph Marino, 40, Monroe, N.Y.
 Lester Vincent Marino, 57, Massapequa, N.Y.
 Vita Marino, 49, New York, N.Y.
 Kevin D. Marlo, 28, New York, N.Y.
 Jose J. Marrero, 32, Old Bridge, N.J.
 John Marshall, 35, Congers, N.Y.
 James Martello, 41, Rumson, N.J.
 Michael A. Marti, 26, Glendale, N.Y.
 Lt. Peter Martin, 43, Miller Place, N.Y.
 William J. Martin, 35, Rockaway, N.J.
 Brian E. Martineau, 37, Edison, N.J.
 Betsy Martinez, 33, New York, N.Y.
 Edward J. Martinez, 60, New York, N.Y.
 Jose Angel Martinez, 49, Hauppauge, N.Y.
 Robert Gabriel Martinez, 24, New York, N.Y.
 Lizie Martinez-Calderon, 32, New York, N.Y.
 Lt. Paul Richard Martini, 37, New York, N.Y.
 Joseph A. Mascali, 44, New York, N.Y.
 Bernard Mascarenhas, 54, Newmarket, Ontario, Canada
 Stephen F. Masi, 55, New York, N.Y.


                                                    32
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page135
                                                                865ofof232
                                                                        962




 Nicholas G. Massa, 65, New York, N.Y.
 Patricia A. Massari, 25, Glendale, N.Y.
 Michael Massaroli, 38, New York, N.Y.
 Philip W. Mastrandrea, 42, Chatham, N.J.
 Rudolph Mastrocinque, 43, Kings Park, N.Y.
 Joseph Mathai, 49, Arlington, Mass.
 Charles William Mathers, 61, Sea Girt, N.J.
 William A. Mathesen, 40, Morristown, N.J.
 Marcello Matricciano, 31, New York, N.Y.
 Margaret Elaine Mattic, 51, New York, N.Y.
 Robert D. Mattson, 54, Green Pond, N.J.
 Walter Matuza, 39, New York, N.Y.
 Charles A. (Chuck) Mauro, 65, New York, N.Y.
 Charles J. Mauro, 38, New York, N.Y.
 Dorothy Mauro, 55, New York, N.Y.
 Nancy T. Mauro, 51, New York, N.Y.
 Tyrone May, 44, Rahway, N.J.
 Keithroy Maynard, 30, New York, N.Y.
 Robert J. Mayo, 46, Morganville, N.J.
 Kathy Nancy Mazza-Delosh, 46, Farmingdale, N.Y.
 Edward Mazzella, 62, Monroe, N.Y.
 Jennifer Mazzotta, 23, New York, N.Y.
 Kaaria Mbaya, 39, Edison, N.J.
 James J. McAlary, 42, Spring Lake Heights, N.J.
 Brian McAleese, 36, Baldwin, N.Y.
 Patricia A. McAneney, 50, Pomona, N.Y.
 Colin Richard McArthur, 52, Howell, N.J.
 John McAvoy, 47, New York, N.Y.
 Kenneth M. McBrayer, 49, New York, N.Y.
 Brendan McCabe, 40, Sayville, N.Y.
 Michael J. McCabe, 42, Rumson, N.J.
 Thomas McCann, 46, Manalapan, N.J.
 Justin McCarthy, 30, Port Washington, N.Y.
 Kevin M. McCarthy, 42, Fairfield, Conn.
 Michael Desmond McCarthy, 33, Huntington, N.Y.
 Robert Garvin McCarthy, 33, Stony Point, N.Y.
 Stanley McCaskill, 47, New York, N.Y.
 Katie Marie McCloskey, 25, Mount Vernon, N.Y.
 Tara McCloud-Gray, 30, New York, N.Y.
 Charles Austin McCrann, 55, New York, N.Y.
 Tonyell McDay, 25, Colonia, N.J.
 Matthew T. McDermott, 34, Basking Ridge, N.J.
 Joseph P. McDonald, 43, Livingston, N.J.
 Brian G. McDonnell, 38, Wantagh, N.Y.
 Michael McDonnell, 34, Red Bank, N.J.
 John F. McDowell, 33, New York, N.Y.


                                                    33
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page136
                                                                866ofof232
                                                                        962




 Eamon J. McEneaney, 46, New Canaan, Conn.
 John Thomas McErlean, 39, Larchmont, N.Y.
 Daniel F. McGinley, 40, Ridgewood, N.J.
 Mark Ryan McGinly, 26, New York, N.Y.
 Lt. William E. McGinn, 43, New York, N.Y.
 Thomas H. McGinnis, 41, Oakland, N.J.
 Michael Gregory McGinty, 42, Foxboro, Mass.
 Ann McGovern, 68, East Meadow, N.Y.
 Scott Martin McGovern, 35, Wyckoff, N.J.
 William J. McGovern, 49, Smithtown, N.Y.
 Stacey S. McGowan, 38, Basking Ridge, N.J.
 Francis Noel McGuinn, 48, Rye, N.Y.
 Patrick J. McGuire, 40, Madison, N.J.
 Thomas M. McHale, 33, Huntington, N.Y.
 Keith McHeffey, 31, Monmouth Beach, N.J.
 Denis J. McHugh, 36, New York, N.Y.
 Dennis P. McHugh, 34, Sparkill, N.Y.
 Michael Edward McHugh, 35, Tuckahoe, N.Y.
 Ann M. McHugh, 35, New York, N.Y.
 Robert G. McIlvaine, 26, New York, N.Y.
 Donald James McIntyre, 38, New City, N.Y.
 Stephanie McKenna, 45, New York, N.Y.
 Barry J. McKeon, 47, Yorktown Heights, N.Y.
 Evelyn C. McKinnedy, 60, New York, N.Y.
 Darryl Leron McKinney, 26, New York, N.Y.
 Robert C. McLaughlin, 29, Westchester, N.Y.
 George Patrick McLaughlin, 36, Hoboken, N.J.
 Gavin McMahon, 35, Bayonne, N.J.
 Robert Dismas McMahon, 35, New York, N.Y.
 Edmund M. McNally, 41, Fair Haven, N.J.
 Daniel McNeal, 29, Towson, Md.
 Walter Arthur McNeil, 53, Stroudsburg, Pa.
 Sean Peter McNulty, 30, New York, N.Y.
 Christine Sheila McNulty, 42, Peterborough, England
 Robert William McPadden, 30, Pearl River, N.Y.
 Terence A. McShane, 37, West Islip, N.Y.
 Timothy Patrick McSweeney, 37, New York, N.Y.
 Martin E. McWilliams, 35, Kings Park, N.Y.
 Rocco A. Medaglia, 49, Melville, N.Y.
 Abigail Cales Medina, 46, New York, N.Y.
 Ana Iris Medina, 39, New York, N.Y.
 Deborah Medwig, 46, Dedham, Mass.
 William J. Meehan, 49, Darien, Conn.
 Damian Meehan, 32, Glen Rock, N.J.
 Alok Kumar Mehta, 23, Hempstead, N.Y.
 Raymond Meisenheimer, 46, West Babylon, N.Y.


                                                    34
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page137
                                                                867ofof232
                                                                        962




 Manuel Emilio Mejia, 54, New York, N.Y.
 Eskedar Melaku, 31, New York, N.Y.
 Antonio Melendez, 30, New York, N.Y.
 Mary Melendez, 44, Stroudsburg, Pa.
 Yelena Melnichenko, 28, Brooklyn, N.Y.
 Stuart Todd Meltzer, 32, Syosset, N.Y.
 Diarelia Jovannah Mena, 30, New York, N.Y.
 Charles Mendez, 38, Floral Park, N.Y.
 Lizette Mendoza, 33, North Bergen, N.J.
 Shevonne Mentis, 25, New York, N.Y.
 Steve Mercado, 38, New York, N.Y.
 Wesley Mercer, 70, New York, N.Y.
 Ralph Joseph Mercurio, 47, Rockville Centre, N.Y.
 Alan H. Merdinger, 47, Allentown, Pa.
 George C. Merino, 39, New York, N.Y.
 Yamel Merino, 24, Yonkers, N.Y.
 George Merkouris, 35, Levittown, N.Y.
 Deborah Merrick, 45
 Raymond J. Metz, 37, Trumbull, Conn.
 Jill A. Metzler, 32, Franklin Square, N.Y.
 David Robert Meyer, 57, Glen Rock, N.J.
 Nurul Huq Miah, 35, New York, N.Y.
 William Edward Micciulli, 30, Matawan, N.J.
 Martin Paul Michelstein, 57, Morristown, N.J.
 Luis Clodoaldo Revilla Mier, 54
 Peter T. Milano, 43, Middletown, N.J.
 Gregory Milanowycz, 25, Cranford, N.J.
 Lukasz T. Milewski, 21, New York, N.Y.
 Craig James Miller, 29, Va.
 Corey Peter Miller, 34, New York, N.Y.
 Douglas C. Miller, 34, Port Jervis, N.Y.
 Henry Miller, 52, Massapequa, N.Y.
 Michael Matthew Miller, 39, Englewood, N.J.
 Phillip D. Miller, 53, New York, N.Y.
 Robert C. Miller, 55, Hasbrouck Heights, N.J.
 Robert Alan Miller, 46, Matawan, N.J.
 Joel Miller, 55, Baldwin, N.Y.
 Benjamin Millman, 40, New York, N.Y.
 Charles M. Mills, 61, Brentwood, N.Y.
 Ronald Keith Milstein, 54, New York, N.Y.
 Robert Minara, 54, Carmel, N.Y.
 William G. Minardi, 46, Bedford, N.Y.
 Louis Joseph Minervino, 54, Middletown, N.J.
 Thomas Mingione, 34, West Islip, N.Y.
 Wilbert Miraille, 29, New York, N.Y.
 Domenick Mircovich, 40, Closter, N.J.


                                                    35
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page138
                                                                868ofof232
                                                                        962




 Rajesh A. Mirpuri, 30, Englewood Cliffs, N.J.
 Joseph Mistrulli, 47, Wantagh, N.Y.
 Susan Miszkowicz, 37, New York, N.Y.
 Lt. Paul Thomas Mitchell, 46, New York, N.Y.
 Richard Miuccio, 55, New York, N.Y.
 Frank V. Moccia, 57, Hauppauge, N.Y.
 Capt. Louis Joseph Modafferi, 45, New York, N.Y.
 Boyie Mohammed, 50, New York, N.Y.
 Lt. Dennis Mojica, 50, New York, N.Y.
 Manuel Mojica, 37, Bellmore, N.Y.
 Manuel Dejesus Molina, 31, New York, N.Y.
 Kleber Rolando Molina, 44, New York, N.Y.
 Fernando Jimenez Molinar, 21, Oaxaca, Mexico
 Carl Molinaro, 32, New York, N.Y.
 Justin J. Molisani, 42, Middletown Township, N.J.
 Brian Patrick Monaghan, 21, New York, N.Y.
 Franklin Monahan, 45, Roxbury, N.Y.
 John Gerard Monahan, 47, Wanamassa, N.J.
 Kristen Montanaro, 34, New York, N.Y.
 Craig D. Montano, 38, Glen Ridge, N.J.
 Michael Montesi, 39, Highland Mills, N.Y.
 Cheryl Ann Monyak, 43, Greenwich, Conn.
 Capt. Thomas Moody, 45, Stony Brook, N.Y.
 Sharon Moore, 37, New York, N.Y.
 Krishna Moorthy, 59, Briarcliff Manor, N.Y.
 Abner Morales, 37, New York, N.Y.
 Carlos Morales, 29, New York, N.Y.
 Paula Morales, 42, New York, N.Y.
 Luis Morales, 46, New York, N.Y.
 John Moran, 43, Rockaway, N.Y.
 John Christopher Moran, 38, Haslemere, Surrey, England
 Kathleen Moran, 42, New York, N.Y.
 Lindsay S. Morehouse, 24, New York, N.Y.
 George Morell, 47, Mount. Kisco, N.Y.
 Steven P. Morello, 52, Bayonne, N.J.
 Vincent S. Morello, 34, New York, N.Y.
 Arturo Alva Moreno, 47, Mexico City, Mexico
 Yvette Nicole Moreno, 25, New York, N.Y.
 Dorothy Morgan, 47, Hempstead, N.Y.
 Richard Morgan, 66, Glen Rock, N.J.
 Nancy Morgenstern, 32, New York, N.Y.
 Sanae Mori, 27, Tokyo, Japan
 Blanca Morocho, 26, New York, N.Y.
 Leonel Morocho, 36, New York, N.Y.
 Dennis G. Moroney, 39, Eastchester, N.Y.
 Lynne Irene Morris, 22, Monroe, N.Y.


                                                    36
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page139
                                                                869ofof232
                                                                        962




 Seth A. Morris, 35, Kinnelon, N.J.
 Stephen Philip Morris, 31, Ormond Beach, Fla.
 Christopher M. Morrison, 34, Charlestown, Mass.
 Ferdinand V. Morrone, 63, Lakewood, N.J.
 William David Moskal, 50, Brecksville, Ohio
 Manuel Da Mota, 43, Valley Stream, N.Y.
 Marco Motroni, 57, Fort Lee, N.J.
 Iouri A. Mouchinski, 55, New York, N.Y.
 Jude J. Moussa, 35, New York, N.Y.
 Peter C. Moutos, 44, Chatham, N.J.
 Damion Mowatt, 21, New York, N.Y.
 Christopher Mozzillo, 27, New York, N.Y.
 Stephen V. Mulderry, 33, New York, N.Y.
 Richard Muldowney, 40, Babylon, N.Y.
 Michael D. Mullan, 34, New York, N.Y.
 Dennis Michael Mulligan, 32, New York, N.Y.
 Peter James Mulligan, 28, New York, N.Y.
 Michael Joseph Mullin, 27, Hoboken, N.J.
 James Donald Munhall, 45, Ridgewood, N.J.
 Nancy Muniz, 45, New York, N.Y.
 Carlos Mario Munoz, 43
 Francisco Munoz, 29, New York, N.Y.
 Theresa (Terry) Munson, 54, New York, N.Y.
 Robert M. Murach, 45, Montclair, N.J.
 Cesar Augusto Murillo, 32, New York, N.Y.
 Marc A. Murolo, 28, Maywood, N.J.
 Robert Eddie Murphy, 56, New York, N.Y.
 Brian Joseph Murphy, 41, New York, N.Y.
 Christopher W. Murphy, 35, Easton, Md.
 Edward C. Murphy, 42, Clifton, N.J.
 James F. Murphy, 30, Garden City, N.Y.
 James Thomas Murphy, 35, Middletown, N.J.
 Kevin James Murphy, 40, Northport, N.Y.
 Patrick Sean Murphy, 36, Millburn, N.J.
 Lt. Raymond E. Murphy, 46, New York, N.Y.
 Charles Murphy, 38, New York, N.Y.
 John Joseph Murray, 32, Hoboken, N.J.
 John Joseph Murray, 52, Colts Neck, N.J.
 Susan D. Murray, 54, Summit, N.J.
 Valerie Victoria Murray, 65, New York, N.Y.
 Richard Todd Myhre, 37, New York, N.Y.
 Lt. Robert B. Nagel, 55, New York, N.Y.
 Takuya Nakamura, 30, Tuckahoe, N.Y.
 Alexander J.R. Napier, 38, Morris Township, N.J.
 Frank Joseph Naples, 29, Cliffside Park, N.J.
 John Napolitano, 33, Ronkonkoma, N.Y.


                                                    37
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page140
                                                                870ofof232
                                                                        962




 Catherine A. Nardella, 40, Bloomfield, N.J.
 Mario Nardone, 32, New York, N.Y.
 Manika Narula, 22, Kings Park, N.Y.
 Narender Nath, 33, Colonia, N.J.
 Karen S. Navarro, 30, New York, N.Y.
 Joseph M. Navas, 44, Paramus, N.J.
 Francis J. Nazario, 28, Jersey City, N.J.
 Glenroy Neblett, 42, New York, N.Y.
 Marcus R. Neblett, 31, Roslyn Heights, N.Y.
 Jerome O. Nedd, 39, New York, N.Y.
 Laurence Nedell, 51, Lindenhurst, N.Y.
 Luke G. Nee, 44, Stony Point, N.Y.
 Pete Negron, 34, Bergenfield, N.J.
 Ann Nicole Nelson, 30, New York, N.Y.
 David William Nelson, 50, New York, N.Y.
 James Nelson, 40, Clark, N.J.
 Michele Ann Nelson, 27, Valley Stream, N.Y.
 Peter Allen Nelson, 42, Huntington Station, N.Y.
 Oscar Nesbitt, 58, New York, N.Y.
 Gerard Terence Nevins, 46, Campbell Hall, N.Y.
 Christopher Newton-Carter, 51, Middletown, N.J.
 Kapinga Ngalula, 58, McKinney, Texas
 Nancy Yuen Ngo, 36, Harrington Park, N.J.
 Jody Tepedino Nichilo, 39, New York, N.Y.
 Martin Niederer, 23, Hoboken, N.J.
 Alfonse J. Niedermeyer, 40, Manasquan, N.J.
 Frank John Niestadt, 55, Ronkonkoma, N.Y.
 Gloria Nieves, 48, New York, N.Y.
 Juan Nieves, 56, New York, N.Y.
 Troy Edward Nilsen, 33, New York, N.Y.
 Paul R. Nimbley, 42, Middletown, N.J.
 John Ballantine Niven, 44, Oyster Bay, N.Y.
 Katherine (Katie) McGarry Noack, 30, Hoboken, N.J.
 Curtis Terrence Noel, 22, Poughkeepsie, N.Y.
 Daniel R. Nolan, 44, Hopatcong, N.J.
 Robert Walter Noonan, 36, Norwalk, Conn.
 Daniela R. Notaro, 25, New York, N.Y.
 Brian Novotny, 33, Hoboken, N.J.
 Soichi Numata, 45, Irvington, N.Y.
 Brian Felix Nunez, 29, New York, N.Y.
 Jose R. Nunez, 42, New York, N.Y.
 Jeffrey Nussbaum, 37, Oceanside, N.Y.
 James A. Oakley, 52, Cortlandt Manor, N.Y.
 Dennis O'Berg, 28, Babylon, N.Y.
 James P. O'Brien, 33, New York, N.Y.
 Scott J. O'Brien, 40, New York, N.Y.


                                                    38
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page141
                                                                871ofof232
                                                                        962




 Timothy Michael O'Brien, 40, Brookville, N.Y.
 Michael O'Brien, 42, Cedar Knolls, N.J.
 Captain Daniel O'Callaghan, 42, Smithtown, N.Y.
 Richard J. O'Connor, 49, Poughkeepsie, N.Y.
 Dennis J. O'Connor, 34, New York, N.Y.
 Diana J. O'Connor, 38, Eastchester, N.Y.
 Keith K. O'Connor, 28, Hoboken, N.J.
 Amy O'Doherty, 23, New York, N.Y.
 Marni Pont O'Doherty, 31, Armonk, N.Y.
 Douglas Oelschlager, 36, New York, N.Y.
 Takashi Ogawa, 37, Tokyo, Japan
 Albert Ogletree, 49, New York, N.Y.
 Philip Paul Ognibene, 39, New York, N.Y.
 James Andrew O'Grady, 32, Harrington Park, N.J.
 Joseph J. Ogren, 30, New York, N.Y.
 Lt. Thomas O'Hagan, 43, New York, N.Y.
 Samuel Oitice, 45, Peekskill, N.Y.
 Patrick O'Keefe, 44, Oakdale, N.Y.
 Capt. William O'Keefe, 49, New York, N.Y.
 Gerald Michael Olcott, 55, New Hyde Park, N.Y.
 Gerald O'Leary, 34, Stony Point, N.Y.
 Christine Anne Olender, 39, New York, N.Y.
 Elsy Carolina Osorio Oliva, 27, New York, N.Y.
 Linda Mary Oliva, 44, New York, N.Y.
 Edward K. Oliver, 31, Jackson, N.J.
 Leah E. Oliver, 24, New York, N.Y.
 Eric T. Olsen, 41, New York, N.Y.
 Jeffrey James Olsen, 31, New York, N.Y.
 Maureen L. Olson, 50, Rockville Centre, N.Y.
 Steven John Olson, 38, New York, N.Y.
 Matthew Timothy O'Mahony, 39, New York, N.Y.
 Toshihiro Onda, 39, New York, N.Y.
 Seamus L. Oneal, 52, New York, N.Y.
 John P. O'Neill, 49, New York, N.Y.
 Sean Gordon Corbett O'Neill, 34, Rye, N.Y.
 Peter J. O'Neill, 21, Amityville, N.Y.
 Michael C. Opperman, 45, Selden, N.Y.
 Christopher Orgielewicz, 35, Larchmont, N.Y.
 Margaret Orloske, 50, Windsor, Conn.
 Virginia A. Ormiston, 42, New York, N.Y.
 Kevin O'Rourke, 44, Hewlett, N.Y.
 Juan Romero Orozco, Acatlan de Osorio, Puebla, Mexico
 Ronald Orsini, 59, Hillsdale, N.J.
 Peter K. Ortale, 37, New York, N.Y.
 Emilio (Peter) Ortiz, 38, New York, N.Y.
 David Ortiz, 37, Nanuet, N.Y.


                                                    39
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page142
                                                                872ofof232
                                                                        962




 Paul Ortiz, 21, New York, N.Y.
 Sonia Ortiz, 58, New York, N.Y.
 Alexander Ortiz, 36, Ridgewood, N.Y.
 Pablo Ortiz, 49, New York, N.Y.
 Masaru Ose, 36, Fort Lee, N.J.
 Robert W. O'Shea, 47, Wall, N.J.
 Patrick J. O'Shea, 45, Farmingdale, N.Y.
 James Robert Ostrowski, 37, Garden City, N.Y.
 Timothy O'Sullivan, 68, Albrightsville, Pa.
 Jason Douglas Oswald, 28, New York, N.Y.
 Michael Otten, 42, East Islip, N.Y.
 Isidro Ottenwalder, 35, New York, N.Y.
 Michael Chung Ou, 53, New York, N.Y.
 Todd Joseph Ouida, 25, River Edge, N.J.
 Jesus Ovalles, 60, New York, N.Y.
 Peter J. Owens, 42, Williston Park, N.Y.
 Adianes Oyola, 23, New York, N.Y.
 Angel M. Pabon, 54, New York, N.Y.
 Israel Pabon, 31, New York, N.Y.
 Roland Pacheco, 25, New York, N.Y.
 Michael Benjamin Packer, 45, New York, N.Y.
 Deepa K. Pakkala, 31, Stewartsville, N.J.
 Jeffrey Matthew Palazzo, 33, New York, N.Y.
 Thomas Anthony Palazzo, 44, Armonk, N.Y.
 Richard (Rico) Palazzolo, 39, New York, N.Y.
 Orio Joseph Palmer, 45, Valley Stream, N.Y.
 Frank A. Palombo, 46, New York, N.Y.
 Alan N. Palumbo, 42, New York, N.Y.
 Christopher M. Panatier, 36, Rockville Centre, N.Y.
 Dominique Pandolfo, 27, Hoboken, N.J.
 Paul Pansini, 34, New York, N.Y.
 John M. Paolillo, 51, Glen Head, N.Y.
 Edward J. Papa, 47, Oyster Bay, N.Y.
 Salvatore Papasso, 34, New York, N.Y.
 James N. Pappageorge, 29, Yonkers, N.Y.
 Vinod K. Parakat, 34, Sayreville, N.J.
 Vijayashanker Paramsothy, 23, New York, N.Y.
 Nitin Ramesh Parandkar, 28, Waltham, Mass.
 Hardai (Casey) Parbhu, 42, New York, N.Y.
 James Wendell Parham, 32, New York, N.Y.
 Debra (Debbie) Paris, 48, New York, N.Y.
 George Paris, 33, New York, N.Y.
 Gye-Hyong Park, 28, New York, N.Y.
 Philip L. Parker, 53, Skillman, N.J.
 Michael A. Parkes, 27, New York, N.Y.
 Robert Emmett Parks, 47, Middletown, N.J.


                                                    40
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page143
                                                                873ofof232
                                                                        962




 Hasmukhrai Chuckulal Parmar, 48, Warren, N.J.
 Robert Parro, 35, Levittown, N.Y.
 Diane Marie Moore Parsons, 58, Malta, N.Y.
 Leobardo Lopez Pascual, 41, New York, N.Y.
 Michael J. Pascuma, 50, Massapequa Park, N.Y.
 Jerrold H. Paskins, 56, Anaheim Hills, Calif.
 Horace Robert Passananti, 55, New York, N.Y.
 Suzanne H. Passaro, 38, East Brunswick, N.J.
 Victor Antonio Martinez Pastrana, 38, Tlachichuca, Puebla, Mexico
 Manish K. Patel, 29, Edison, N.J.
 Avnish Ramanbhai Patel, 28, New York, N.Y.
 Dipti Patel, 38, New Hyde Park, N.Y.
 Steven B. Paterson, 40, Ridgewood, N.J.
 James Matthew Patrick, 30, Norwalk, Conn.
 Manuel Patrocino, 34
 Bernard E. Patterson, 46, Upper Brookville, N.Y.
 Cira Marie Patti, 40, New York, N.Y.
 Robert Edward Pattison, 40, New York, N.Y.
 James R. Paul, 58, New York, N.Y.
 Sharon Cristina Millan Paz, 31, New York, N.Y.
 Patrice Paz, 52, New York, N.Y.
 Victor Paz-Gutierrez, 43, New York, N.Y.
 Stacey L. Peak, 36, New York, N.Y.
 Richard Allen Pearlman, 18, New York, N.Y.
 Durrell Pearsall, 34, Hempstead, N.Y.
 Thomas E. Pedicini, 30, Hicksville, N.Y.
 Todd D. Pelino, 34, Fair Haven, N.J.
 Michel Adrian Pelletier, 36, Greenwich, Conn.
 Anthony Peluso, 46, New York, N.Y.
 Angel Ramon Pena, 45, River Vale, N.J.
 Richard Al Penny, 53, New York, N.Y.
 Salvatore F. Pepe, 45, New York, N.Y.
 Carl Allen Peralta, 37, New York, N.Y.
 Robert David Peraza, 30, New York, N.Y.
 Jon A. Perconti, 32, Brick, N.J.
 Alejo Perez, 66, Union City, N.J.
 Angel Perez, 43, Jersey City, N.J.
 Angela Susan Perez, 35, New York, N.Y.
 Ivan Perez, 37, New York, N.Y.
 Nancy E. Perez, 36, Secaucus, N.J.
 Anthony Perez, 33, Locust Valley, N.Y.
 Joseph John Perroncino, 33, Smithtown, N.Y.
 Edward J. Perrotta, 43, Mount Sinai, N.Y.
 Lt. Glenn C. Perry, 41, Monroe, N.Y.
 Emelda Perry, 52, Elmont, N.Y.
 John William Perry, 38, New York, N.Y.


                                                    41
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page144
                                                                874ofof232
                                                                        962




 Franklin Allan Pershep, 59, New York, N.Y.
 Daniel Pesce, 34, New York, N.Y.
 Michael J. Pescherine, 32, New York, N.Y.
 Davin Peterson, 25, New York, N.Y.
 William Russel Peterson, 46, New York, N.Y.
 Mark Petrocelli, 28, New York, N.Y.
 Lt. Philip S. Petti, 43, New York, N.Y.
 Glen Kerrin Pettit, 30, Oakdale, N.Y.
 Dominick Pezzulo, 36, New York, N.Y.
 Kaleen E. Pezzuti, 28, Fair Haven, N.J.
 Lt. Kevin Pfeifer, 42, New York, N.Y.
 Tu-Anh Pham, 42, Princeton, N.J.
 Lt. Kenneth John Phelan, 41, New York, N.Y.
 Michael V. San Phillip, 55, Ridgewood, N.J.
 Eugenia Piantieri, 55, New York, N.Y.
 Ludwig John Picarro, 44, Basking Ridge, N.J.
 Matthew Picerno, 44, Holmdel, N.J.
 Joseph O. Pick, 40, Hoboken, N.J.
 Christopher Pickford, 32, New York, N.Y.
 Dennis J. Pierce, 54, New York, N.Y.
 Joseph A. Della Pietra, 24, New York, N.Y.
 Bernard T. Pietronico, 39, Matawan, N.J.
 Nicholas P. Pietrunti, 38, Belford, N.J.
 Theodoros Pigis, 60, New York, N.Y.
 Susan Elizabeth Ancona Pinto, 44, New York, N.Y.
 Joseph Piskadlo, 48, North Arlington, N.J.
 Christopher Todd Pitman, 30, New York, N.Y.
 Josh Michael Piver, 23, New York, N.Y.
 Joseph Plumitallo, 45, Manalapan, N.J.
 John M. Pocher, 36, Middletown, N.J.
 William Howard Pohlmann, 56, Ardsley, N.Y.
 Laurence M. Polatsch, 32, New York, N.Y.
 Thomas H. Polhemus, 39, Morris Plains, N.J.
 Steve Pollicino, 48, Plainview, N.Y.
 Susan M. Pollio, 45, Long Beach Township, N.J.
 Joshua Poptean, 37, New York, N.Y.
 Giovanna Porras, 24, New York, N.Y.
 Anthony Portillo, 48, New York, N.Y.
 James Edward Potorti, 52, Princeton, N.J.
 Daphne Pouletsos, 47, Westwood, N.J.
 Richard Poulos, 55, Levittown, N.Y.
 Stephen E. Poulos, 45, Basking Ridge, N.J.
 Brandon Jerome Powell, 26, New York, N.Y.
 Shawn Edward Powell, 32, New York, N.Y.
 Tony Pratt, 43, New York, N.Y.
 Gregory M. Preziose, 34, Holmdel, N.J.


                                                    42
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page145
                                                                875ofof232
                                                                        962




 Wanda Ivelisse Prince, 30, New York, N.Y.
 Vincent Princiotta, 39, Orangeburg, N.Y.
 Kevin Prior, 28, Bellmore, N.Y.
 Everett Martin (Marty) Proctor, 44, New York, N.Y.
 Carrie B. Progen, 25, New York, N.Y.
 David Lee Pruim, 53, Upper Montclair, N.J.
 Richard Prunty, 57, Sayville, N.Y.
 John F. Puckett, 47, Glen Cove, N.Y.
 Robert D. Pugliese, 47, East Fishkill, N.Y.
 Edward F. Pullis, 34, Hazlet, N.J.
 Patricia Ann Puma, 33, New York, N.Y.
 Hemanth Kumar Puttur, 26, White Plains, N.Y.
 Edward R. Pykon, 33, Princeton, N.J.
 Christopher Quackenbush, 44, Manhasset, N.Y.
 Lars Peter Qualben, 49, New York, N.Y.
 Lincoln Quappe, 38, Sayville, N.Y.
 Beth Ann Quigley, 25, New York, N.Y.
 Lt. Michael Quilty, 42, New York, N.Y.
 Ricardo Quinn, 40, New York, N.Y.
 James Francis Quinn, 23, New York, N.Y.
 Carol Rabalais, 38, New York, N.Y.
 Christopher Peter A. Racaniello, 30, New York, N.Y.
 Leonard Ragaglia, 36, New York, N.Y.
 Eugene J. Raggio, 55, New York, N.Y.
 Laura Marie Ragonese-Snik, 41, Bangor, Pa.
 Michael Ragusa, 29, New York, N.Y.
 Peter F. Raimondi, 46, New York, N.Y.
 Harry A. Raines, 37, New York, N.Y.
 Ehtesham U. Raja, 28, Clifton, N.J.
 Valsa Raju, 39, Yonkers, N.Y.
 Edward Rall, 44, Holbrook, N.Y.
 Lukas (Luke) Rambousek, 27, New York, N.Y.
 Julio Fernandez Ramirez, 51, New York, N.Y.
 Maria Isabel Ramirez, 25, New York, N.Y.
 Harry Ramos, 41, Newark, N.J.
 Vishnoo Ramsaroop, 44, New York, N.Y.
 Lorenzo Ramzey, 48, East Northport, N.Y.
 A. Todd Rancke, 42, Summit, N.J.
 Adam David Rand, 30, Bellmore, N.Y.
 Jonathan C. Randall, 42, New York, N.Y.
 Srinivasa Shreyas Ranganath, 26, Hackensack, N.J.
 Anne Rose T. Ransom, 45, Edgewater, N.J.
 Faina Rapoport, 45, New York, N.Y.
 Robert Arthur Rasmussen, 42, Hinsdale, Ill.
 Amenia Rasool, 33, New York, N.Y.
 Roger Mark Rasweiler, 53, Flemington, N.J.


                                                    43
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page146
                                                                876ofof232
                                                                        962




 David Alan James Rathkey, 47, Mountain Lakes, N.J.
 William Ralph Raub, 38, Saddle River, N.J.
 Gerard Rauzi, 42, New York, N.Y.
 Alexey Razuvaev, 40, New York, N.Y.
 Gregory Reda, 33, New Hyde Park, N.Y.
 Sarah Prothero Redheffer, 35, London, England
 Michele Reed, 26, Ringoes, N.J.
 Judith A. Reese, 56, Kearny, N.J.
 Donald J. Regan, 47, Wallkill, N.Y.
 Lt. Robert M. Regan, 48, Floral Park, N.Y.
 Thomas M. Regan, 43, Cranford, N.J.
 Christian Michael Otto Regenhard, 28, New York, N.Y.
 Howard Reich, 59, New York, N.Y.
 Gregg Reidy, 26, Holmdel, N.J.
 Kevin O. Reilly, 28, New York, N.Y.
 James Brian Reilly, 25, New York, N.Y.
 Timothy E. Reilly, 40, New York, N.Y.
 Joseph Reina, 32, New York, N.Y.
 Thomas Barnes Reinig, 48, Bernardsville, N.J.
 Frank B. Reisman, 41, Princeton, N.J.
 Joshua Scott Reiss, 23, New York, N.Y.
 Karen Renda, 52, New York, N.Y.
 John Armand Reo, 28, Larchmont, N.Y.
 Richard Rescorla, 62, Morristown, N.J.
 John Thomas Resta, 40, New York, N.Y.
 Sylvia San Pio Resta, 26, New York, N.Y.
 Eduvigis (Eddie) Reyes, 37, New York, N.Y.
 Bruce A. Reynolds, 41, Columbia, N.J.
 John Frederick Rhodes, 57, Howell, N.J.
 Francis S. Riccardelli, 40, Westwood, N.J.
 Rudolph N. Riccio, 50, New York, N.Y.
 AnnMarie (Davi) Riccoboni, 58, New York, N.Y.
 Eileen Mary Rice, 57, New York, N.Y.
 David Rice, 31, New York, N.Y.
 Kenneth F. Rice, 34, Hicksville, N.Y.
 Lt. Vernon Allan Richard, 53, Nanuet, N.Y.
 Claude D. Richards, 46, New York, N.Y.
 Gregory Richards, 30, New York, N.Y.
 Michael Richards, 38, New York, N.Y.
 Venesha O. Richards, 26, North Brunswick, N.J.
 James C. Riches, 29, New York, N.Y.
 Alan Jay Richman, 44, New York, N.Y.
 John M. Rigo, 48, New York, N.Y.
 Theresa (Ginger) Risco, 48, New York, N.Y.
 Rose Mary Riso, 55, New York, N.Y.
 Moises N. Rivas, 29, New York, N.Y.


                                                    44
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page147
                                                                877ofof232
                                                                        962




 Joseph Rivelli, 43, New York, N.Y.
 Isaias Rivera, 51, Perth Amboy, N.J.
 Linda Rivera, 26, New York, N.Y.
 Juan William Rivera, 27, New York, N.Y.
 Carmen A. Rivera, 33, Westtown, N.Y.
 David E. Rivers, 40, New York, N.Y.
 Joseph R. Riverso, 34, White Plains, N.Y.
 Paul Rizza, 34, Park Ridge, N.J.
 John Frank Rizzo, 50, New York, N.Y.
 Stephen Louis Roach, 36, Verona, N.J.
 Joseph Roberto, 37, Midland Park, N.J.
 Leo A. Roberts, 44, Wayne, N.J.
 Michael Roberts, 30, New York, N.Y.
 Michael Edward Roberts, 31, New York, N.Y.
 Donald Walter Robertson, 35, Rumson, N.J.
 Catherina Robinson, 45, New York, N.Y.
 Jeffrey Robinson, 38, Monmouth Junction, N.J.
 Michell Lee Robotham, 32, Kearny, N.J.
 Donald Robson, 52, Manhasset, N.Y.
 Antonio Augusto Tome Rocha, 34, East Hanover, N.J.
 Raymond J. Rocha, 29, Malden, Mass.
 Laura Rockefeller, 41, New York, N.Y.
 John M. Rodak, 39, Mantua, N.J.
 Antonio Jose Carrusca Rodrigues, 35, Port Washington, N.Y.
 Anthony Rodriguez, 36, New York, N.Y.
 Carmen Milagros Rodriguez, 46, Freehold, N.J.
 Marsha A. Rodriguez, 41, West Paterson, N.J.
 Richard Rodriguez, 31, Cliffwood, N.J.
 Gregory E. Rodriguez, 31, White Plains, N.Y.
 David B. Rodriguez-Vargas, 44, New York, N.Y.
 Matthew Rogan, 37, West Islip, N.Y.
 Karlie Barbara Rogers, 25, London, England
 Scott Rohner, 22, Hoboken, N.J.
 Keith Roma, 27, New York, N.Y.
 Joseph M. Romagnolo, 37, Coram, N.Y.
 Elvin Santiago Romero, 34, Matawan, N.J.
 Efrain Franco Romero, 57, Hazleton, Pa.
 James A. Romito, 51, Westwood, N.J.
 Sean Rooney, 50, Stamford, Conn.
 Eric Thomas Ropiteau, 24, New York, N.Y.
 Aida Rosario, 42, Jersey City, N.J.
 Angela Rosario, 27, New York, N.Y.
 Fitzroy St. Rose, 40, New York, N.Y.
 Mark H. Rosen, 45, West Islip, N.Y.
 Linda Rosenbaum, 41, Little Falls, N.J.
 Brooke David Rosenbaum, 31, Franklin Square, N.Y.


                                                    45
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page148
                                                                878ofof232
                                                                        962




 Sheryl Lynn Rosenbaum, 33, Warren, N.J.
 Lloyd D. Rosenberg, 31, Morganville, N.J.
 Mark Louis Rosenberg, 26, Teaneck, N.J.
 Andrew I. Rosenblum, 45, Rockville Centre, N.Y.
 Joshua M. Rosenblum, 28, Hoboken, N.J.
 Joshua A. Rosenthal, 44, New York, N.Y.
 Richard David Rosenthal, 50, Fair Lawn, N.J.
 Daniel Rossetti, 32, Bloomfield, N.J.
 Norman Rossinow, 39, Cedar Grove, N.J.
 Nicholas P. Rossomando, 35, New York, N.Y.
 Michael Craig Rothberg, 39, Greenwich, Conn.
 Donna Marie Rothenberg, 53, New York, N.Y.
 Nick Rowe, 29, Hoboken, N.J.
 Timothy A. Roy, 36, Massapequa Park, N.Y.
 Paul G. Ruback, 50, Newburgh, N.Y.
 Ronald J. Ruben, 36, Hoboken, N.J.
 Joanne Rubino, 45, New York, N.Y.
 David Michael Ruddle, 31, New York, N.Y.
 Bart Joseph Ruggiere, 32, New York, N.Y.
 Susan Ann Ruggiero, 30, Plainview, N.Y.
 Adam K. Ruhalter, 40, Plainview, N.Y.
 Gilbert Ruiz, 57, New York, N.Y.
 Stephen P. Russell, 40, Rockaway Beach, N.Y.
 Steven Harris Russin, 32, Mendham, N.J.
 Lt. Michael Thomas Russo, 44, Nesconset, N.Y.
 Wayne Alan Russo, 37, Union, N.J.
 John J. Ryan, 45, West Windsor, N.J.
 Edward Ryan, 42, Scarsdale, N.Y.
 Jonathan Stephan Ryan, 32, Bayville, N.Y.
 Matthew Lancelot Ryan, 54, Seaford, N.Y.
 Kristin A. Irvine Ryan, 30, New York, N.Y.
 Tatiana Ryjova, 36, South Salem, N.Y.
 Christina Sunga Ryook, 25, New York, N.Y.
 Thierry Saada, 27, New York, N.Y.
 Jason E. Sabbag, 26, New York, N.Y.
 Thomas E. Sabella, 44, New York, N.Y.
 Scott Saber, 36, New York, N.Y.
 Joseph Sacerdote, 48, Freehold, N.J.
 Mohammad Ali Sadeque, 62, New York, N.Y.
 Francis J. Sadocha, 41, Huntington, N.Y.
 Jude Elias Safi, 24, New York, N.Y.
 Brock Joel Safronoff, 26, New York, N.Y.
 Edward Saiya, 49, New York, N.Y.
 John Patrick Salamone, 37, North Caldwell, N.J.
 Hernando R. Salas, 71, New York, N.Y.
 Juan Salas, 35, New York, N.Y.


                                                    46
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page149
                                                                879ofof232
                                                                        962




 Esmerlin Salcedo, 36, New York, N.Y.
 John Salvatore Salerno, 31, Westfield, N.J.
 Richard L. Salinardi, 32, Hoboken, N.J.
 Wayne John Saloman, 43, Seaford, N.Y.
 Nolbert Salomon, 33, New York, N.Y.
 Catherine Patricia Salter, 37, New York, N.Y.
 Frank Salvaterra, 41, Manhasset, N.Y.
 Paul R. Salvio, 27, New York, N.Y.
 Samuel R. Salvo, 59, Yonkers, N.Y.
 Carlos Samaniego, 29, New York, N.Y.
 Rena Sam-Dinnoo, 28, New York, N.Y.
 James Kenneth Samuel, 29, Hoboken, N.J.
 Hugo Sanay-Perafiel, 41, New York, N.Y.
 Alva Jeffries Sanchez, 41, Hempstead, N.Y.
 Jacquelyn P. Sanchez, 23, New York, N.Y.
 Erick Sanchez, 43, New York, N.Y.
 Eric Sand, 36, Westchester, N.Y.
 Stacey Leigh Sanders, 25, New York, N.Y.
 Herman Sandler, 57, New York, N.Y.
 James Sands, 39, Bricktown, N.J.
 Ayleen J. Santiago, 40, New York, N.Y.
 Kirsten Santiago, 26, New York, N.Y.
 Maria Theresa Santillan, 27, Morris Plains, N.J.
 Susan G. Santo, 24, New York, N.Y.
 Christopher Santora, 23, New York, N.Y.
 John Santore, 49, New York, N.Y.
 Mario L. Santoro, 28, New York, N.Y.
 Rafael Humberto Santos, 42, New York, N.Y.
 Rufino Conrado F. (Roy) Santos, 37, New York, N.Y.
 Kalyan K. Sarkar, 53, Westwood, N.J.
 Chapelle Sarker, 37, New York, N.Y.
 Paul F. Sarle, 38, Babylon, N.Y.
 Deepika Kumar Sattaluri, 33, Edison, N.J.
 Gregory Thomas Saucedo, 31, New York, N.Y.
 Susan Sauer, 48, Chicago, Ill.
 Anthony Savas, 72, New York, N.Y.
 Vladimir Savinkin, 21, New York, N.Y.
 John Sbarbaro, 45, New York, N.Y.
 Robert L. Scandole, 36, Pelham Manor, N.Y.
 Michelle Scarpitta, 26, New York, N.Y.
 Dennis Scauso, 46, Dix Hills, N.Y.
 John A. Schardt, 34, New York, N.Y.
 John G. Scharf, 29, Manorville, N.Y.
 Fred Claude Scheffold, 57, Piermont, N.Y.
 Angela Susan Scheinberg, 46, New York, N.Y.
 Scott M. Schertzer, 28, Edison, N.J.


                                                    47
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page150
                                                                880ofof232
                                                                        962




 Sean Schielke, 27, New York, N.Y.
 Steven Francis Schlag, 41, Franklin Lakes, N.J.
 Jon S. Schlissel, 51, Jersey City, N.J.
 Karen Helene Schmidt, 42, Bellmore, N.Y.
 Ian Schneider, 45, Short Hills, N.J.
 Thomas G. Schoales, 27, Stony Point, N.Y.
 Marisa Di Nardo Schorpp, 38, White Plains, N.Y.
 Frank G. Schott, 39, Massapequa Park, N.Y.
 Gerard P. Schrang, 45, Holbrook, N.Y.
 Jeffrey Schreier, 48, New York, N.Y.
 John T. Schroeder, 31, Hoboken, N.J.
 Susan Lee Kennedy Schuler, 55, Allentown, N.J.
 Edward W. Schunk, 54, Baldwin, N.Y.
 Mark E. Schurmeier, 44, McLean, Va.
 Clarin Shellie Schwartz, 51, New York, N.Y.
 John Schwartz, 49, Goshen, Conn.
 Mark Schwartz, 50, West Hempstead, N.Y.
 Adriane Victoria Scibetta, 31, New York, N.Y.
 Raphael Scorca, 61, Beachwood, N.J.
 Randolph Scott, 48, Stamford, Conn.
 Christopher J. Scudder, 34, Monsey, N.Y.
 Arthur Warren Scullin, 57, New York, N.Y.
 Michael Seaman, 41, Manhasset, N.Y.
 Margaret Seeliger, 34, New York, N.Y.
 Carlos Segarra, 54, New York, N.Y.
 Anthony Segarra, 52, New York, N.Y.
 Jason Sekzer, 31, New York, N.Y.
 Matthew Carmen Sellitto, 23, Morristown, N.J.
 Howard Selwyn, 47, Hewlett, N.Y.
 Larry John Senko, 34, Yardley, Pa.
 Arturo Angelo Sereno, 29, New York, N.Y.
 Frankie Serrano, 23, Elizabeth, N.J.
 Alena Sesinova, 57, New York, N.Y.
 Adele Sessa, 36, New York, N.Y.
 Sita Nermalla Sewnarine, 37, New York, N.Y.
 Karen Lynn Seymour-Dietrich, 40, Millington, N.J.
 Davis (Deeg) Sezna, 22, New York, N.Y.
 Thomas Joseph Sgroi, 45, New York, N.Y.
 Jayesh Shah, 38, Edgewater, N.J.
 Khalid M. Shahid, 25, Union, N.J.
 Mohammed Shajahan, 41, Spring Valley, N.Y.
 Gary Shamay, 23, New York, N.Y.
 Earl Richard Shanahan, 50, New York, N.Y.
 Shiv Shankar, New York, N.Y.
 Neil G. Shastri, 25, New York, N.Y.
 Kathryn Anne Shatzoff, 37, New York, N.Y.


                                                    48
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page151
                                                                881ofof232
                                                                        962




 Barbara A. Shaw, 57, Morris Township, N.J.
 Jeffrey J. Shaw, 42, Levittown, N.Y.
 Robert J. Shay, 27, New York, N.Y.
 Daniel James Shea, 37, Pelham Manor, N.Y.
 Joseph Patrick Shea, 47, Pelham, N.Y.
 Linda Sheehan, 40, New York, N.Y.
 Hagay Shefi, 34, Tenafly, N.J.
 John Anthony Sherry, 34, Rockville Centre, N.Y.
 Atsushi Shiratori, 36, New York, N.Y.
 Thomas Shubert, 43, New York, N.Y.
 Mark Shulman, 47, Old Bridge, N.J.
 See-Wong Shum, 44, Westfield, N.J.
 Allan Shwartzstein, 37, Chappaqua, N.Y.
 Johanna Sigmund, 25, Wyndmoor, Pa.
 Dianne T. Signer, 32, New York, N.Y.
 Gregory Sikorsky, 34, Spring Valley, N.Y.
 Stephen Gerard Siller, 34, West Brighton, N.Y.
 David Silver, 35, New Rochelle, N.Y.
 Craig A. Silverstein, 41, Wyckoff, N.J.
 Nasima H. Simjee, 38, New York, N.Y.
 Bruce Edward Simmons, 41, Ridgewood, N.J.
 Arthur Simon, 57, Thiells, N.Y.
 Kenneth Alan Simon, 34, Secaucus, N.J.
 Michael John Simon, 40, Harrington Park, N.J.
 Paul Joseph Simon, 54, New York, N.Y.
 Marianne Simone, 62, New York, N.Y.
 Barry Simowitz, 64, New York, N.Y.
 Jeff Simpson, 38, Lake Ridge, Va.
 Roshan R. (Sean) Singh, 21, New York, N.Y.
 Khamladai K. (Khami) Singh, 25, New York, N.Y.
 Thomas E. Sinton, 44, Croton-on-hudson, N.Y.
 Peter A. Siracuse, 29, New York, N.Y.
 Muriel F. Siskopoulos, 60, New York, N.Y.
 Joseph M. Sisolak, 35, New York, N.Y.
 John P. Skala, 31, Clifton, N.J.
 Francis J. Skidmore, 58, Mendham, N.J.
 Toyena Corliss Skinner, 27, Kingston, N.J.
 Paul A. Skrzypek, 37, New York, N.Y.
 Christopher Paul Slattery, 31, New York, N.Y.
 Vincent R. Slavin, 41, Belle Harbor, N.Y.
 Robert Sliwak, 42, Wantagh, N.Y.
 Paul K. Sloan, 26, New York, N.Y.
 Stanley S. Smagala, 36, Holbrook, N.Y.
 Wendy L. Small, 26, New York, N.Y.
 Catherine T. Smith, 44, West Haverstraw, N.Y.
 Daniel Laurence Smith, 47, Northport, N.Y.


                                                    49
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page152
                                                                882ofof232
                                                                        962




 George Eric Smith, 38, West Chester, Pa.
 James G. Smith, 43, Garden City, N.Y.
 Joyce Smith, 55, New York, N.Y.
 Karl Trumbull Smith, 44, Little Silver, N.J.
 Kevin Smith, 47, Mastic, N.Y.
 Leon Smith, 48, New York, N.Y.
 Moira Smith, 38, New York, N.Y.
 Rosemary A. Smith, 61, New York, N.Y.
 Sandra Fajardo Smith, 37, New York, N.Y.
 Jeffrey Randall Smith, 36, New York, N.Y.
 Bonnie S. Smithwick, 54, Quogue, N.Y.
 Rochelle Monique Snell, 24, Mount Vernon, N.Y.
 Leonard J. Snyder, 35, Cranford, N.J.
 Astrid Elizabeth Sohan, 32, Freehold, N.J.
 Sushil Solanki, 35, New York, N.Y.
 Ruben Solares, 51, New York, N.Y.
 Naomi Leah Solomon, 52, New York, N.Y.
 Daniel W. Song, 34, New York, N.Y.
 Michael C. Sorresse, 34, Morris Plains, N.J.
 Fabian Soto, 31, Harrison, N.J.
 Timothy P. Soulas, 35, Basking Ridge, N.J.
 Gregory T. Spagnoletti, 32, New York, N.Y.
 Donald F. Spampinato, 39, Manhasset, N.Y.
 Thomas Sparacio, 35, New York, N.Y.
 John Anthony Spataro, 32, Mineola, N.Y.
 Robert W. Spear, 30, Valley Cottage, N.Y.
 Maynard S. Spence, 42, Douglasville, Ga.
 George E. Spencer, 50, West Norwalk, Conn.
 Robert Andrew Spencer, 35, Red Bank, N.J.
 Mary Rubina Sperando, 39, New York, N.Y.
 Frank J. Spinelli, 44, Short Hills, N.J.
 William E. Spitz, 49, Oceanside, N.Y.
 Joseph P. Spor, 35, Yorktown Heights, N.Y.
 Klaus Johannes Sprockamp, 42, Muhltal, Germany
 Saranya Srinuan, 23, New York, N.Y.
 Michael F. Stabile, 50, New York, N.Y.
 Lawrence T. Stack, 58, Lake Ronkonkoma, N.Y.
 Capt. Timothy Stackpole, 42, New York, N.Y.
 Richard James Stadelberger, 55, Middletown, N.J.
 Eric A. Stahlman, 43, Holmdel Township, N.J.
 Gregory M. Stajk, 46, Long Beach, N.Y.
 Corina Stan, 31, Middle Village, N.Y.
 Alexandru Liviu Stan, 34, New York, N.Y.
 Mary D. Stanley, 53, New York, N.Y.
 Joyce Stanton
 Patricia Stanton


                                                    50
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page153
                                                                883ofof232
                                                                        962




 Anthony M. Starita, 35, Westfield, N.J.
 Jeffrey Stark, 30, New York, N.Y.
 Derek James Statkevicus, 30, Norwalk, Conn.
 Craig William Staub, 30, Basking Ridge, N.J.
 William V. Steckman, 56, West Hempstead, N.Y.
 Eric Thomas Steen, 32, New York, N.Y.
 William R. Steiner, 56, New Hope, Pa.
 Alexander Robbins Steinman, 32, Hoboken, N.J.
 Andrew Stergiopoulos, 23, New York, N.Y.
 Andrew Stern, 41, Bellmore, N.Y.
 Martha Jane Stevens, 55, New York, N.Y.
 Richard H. Stewart, 35, New York, N.Y.
 Michael James Stewart, 42, New York, N.Y.
 Sanford M. Stoller, 54, New York, N.Y.
 Lonny J. Stone, 43, Bellmore, N.Y.
 Jimmy Nevill Storey, 58, Katy, Texas
 Timothy Stout, 42, Dobbs Ferry, N.Y.
 Thomas S. Strada, 41, Chatham, N.J.
 James J. Straine, 36, Oceanport, N.J.
 Edward W. Straub, 48, Morris Township, N.J.
 George Strauch, 53, Avon-by-the-Sea, N.J.
 Edward T. Strauss, 44, Edison, N.J.
 Steven R. Strauss, 51, Fresh Meadows, N.Y.
 Steven F. Strobert, 33, Ridgewood, N.J.
 Walwyn W. Stuart, 28, Valley Stream, N.Y.
 Benjamin Suarez, 36, New York, N.Y.
 David S. Suarez, 24, Princeton, N.J.
 Ramon Suarez, 45, New York, N.Y.
 Yoichi Sugiyama, 34, Fort Lee, N.J.
 William Christopher Sugra, 30, New York, N.Y.
 Daniel Suhr, 37, Nesconset, N.Y.
 David Marc Sullins, 30, New York, N.Y.
 Lt. Christopher P. Sullivan, 38, Massapequa, N.Y.
 Patrick Sullivan, 32, New York, N.Y.
 Thomas Sullivan, 38, Kearney, N.J.
 Hilario Soriano (Larry) Sumaya, 42, New York, N.Y.
 James Joseph Suozzo, 47, Hauppauge, N.Y.
 Colleen Supinski, 27, New York, N.Y.
 Robert Sutcliffe, 39, Huntington, N.Y.
 Selina Sutter, 63, New York, N.Y.
 Claudia Suzette Sutton, 34, New York, N.Y.
 John F. Swaine, 36, Larchmont, N.Y.
 Kristine M. Swearson, 34, New York, N.Y.
 Brian Edward Sweeney, 29, Merrick, N.Y.
 Kenneth J. Swensen, 40, Chatham, N.J.
 Thomas F. Swift, 30, Jersey City, N.J.


                                                    51
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page154
                                                                884ofof232
                                                                        962




 Derek O. Sword, 29, New York, N.Y.
 Kevin T. Szocik, 27, Garden City, N.Y.
 Gina Sztejnberg, 52, Ridgewood, N.J.
 Norbert P. Szurkowski, 31, New York, N.Y.
 Harry Taback, 56, New York, N.Y.
 Joann Tabeek, 41, New York, N.Y.
 Norma C. Taddei, 64, New York, N.Y.
 Michael Taddonio, 39, Huntington, N.Y.
 Keiji Takahashi, 42, Tenafly, N.J.
 Keiichiro Takahashi, 53, Port Washington, N.Y.
 Phyllis Gail Talbot, 53, New York, N.Y.
 Robert R. Talhami, 40, Shrewsbury, N.J.
 Sean Patrick Tallon, 26, Yonkers, N.Y.
 Paul Talty, 40, Wantagh, N.Y.
 Maurita Tam, 22, New York, N.Y.
 Rachel Tamares, 30, New York, N.Y.
 Hector Tamayo, 51, New York, N.Y.
 Michael Andrew Tamuccio, 37, Pelham Manor, N.Y.
 Kenichiro Tanaka, 52, Rye Brook, N.Y.
 Rhondelle Cherie Tankard, 31, Devonshire, Bermuda
 Michael Anthony Tanner, 44, Secaucus, N.J.
 Dennis Gerard Taormina, 36, Montville, N.J.
 Kenneth Joseph Tarantino, 39, Bayonne, N.J.
 Allan Tarasiewicz, 45, New York, N.Y.
 Ronald Tartaro, 39, Bridgewater, N.J.
 Darryl Taylor, 52, New York, N.Y.
 Donnie Brooks Taylor, 40, New York, N.Y.
 Lorisa Ceylon Taylor, 31, New York, N.Y.
 Michael M. Taylor, 42, New York, N.Y.
 Paul A. Tegtmeier, 41, Hyde Park, N.Y.
 Yeshavant Moreshwar Tembe, 59, Piscataway, N.J.
 Anthony Tempesta, 38, Elizabeth, N.J.
 Dorothy Temple, 52, New York, N.Y.
 Stanley L. Temple, 77, New York, N.Y.
 David Tengelin, 25, New York, N.Y.
 Brian J. Terrenzi, 29, Hicksville, N.Y.
 Lisa Marie Terry, 42, Rochester, Mich.
 Goumatie T. Thackurdeen, 35, New York, N.Y.
 Harshad Sham Thatte, 30, Norcross, Ga.
 Thomas F. Theurkauf, 44, Stamford, Conn.
 Lesley Anne Thomas, 40, Hoboken, N.J.
 Brian T. Thompson, 49, Dix Hills, N.Y.
 Clive Thompson, 43, Summit, N.J.
 Glenn Thompson, 44, New York, N.Y.
 Perry Anthony Thompson, 36, Mount Laurel, N.J.
 Vanavah Alexi Thompson, 26, New York, N.Y.


                                                    52
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page155
                                                                885ofof232
                                                                        962




 Capt. William Harry Thompson, 51, New York, N.Y.
 Nigel Bruce Thompson, 33, New York, N.Y.
 Eric Raymond Thorpe, 35, New York, N.Y.
 Nichola A. Thorpe, 22, New York, N.Y.
 Sal Tieri, 40, Shrewsbury, N.J.
 John Patrick Tierney, 27, New York, N.Y.
 Mary Ellen Tiesi, 38, Jersey City, N.J.
 William R. Tieste, 54, Basking Ridge, N.J.
 Kenneth F. Tietjen, 31, Matawan, N.J.
 Stephen Edward Tighe, 41, Rockville Centre, N.Y.
 Scott C. Timmes, 28, Ridgewood, N.Y.
 Michael E. Tinley, 56, Dallas, Texas
 Jennifer M. Tino, 29, Livingston, N.J.
 Robert Frank Tipaldi, 25, New York, N.Y.
 John J. Tipping, 33, Port Jefferson, N.Y.
 David Tirado, 26, New York, N.Y.
 Hector Luis Tirado, 30, New York, N.Y.
 Michelle Titolo, 34, Copiague, N.Y.
 John J. Tobin, 47, Kenilworth, N.J.
 Richard J. Todisco, 61, Wyckoff, N.J.
 Vladimir Tomasevic, 36, Etobicoke, Ontario, Canada
 Stephen K. Tompsett, 39, Garden City, N.Y.
 Thomas Tong, 31, New York, N.Y.
 Azucena de la Torre, 50, New York, N.Y.
 Doris Torres, 32, New York, N.Y.
 Luis Eduardo Torres, 31, New York, N.Y.
 Amy E. Toyen, 24, Newton, Mass.
 Christopher M. Traina, 25, Bricktown, N.J.
 Daniel Patrick Trant, 40, Northport, N.Y.
 Abdoul Karim Traore, 41, New York, N.Y.
 Glenn J. Travers, 53, Tenafly, N.J.
 Walter (Wally) P. Travers, 44, Upper Saddle River, N.J.
 Felicia Traylor-Bass, 38, New York, N.Y.
 Lisa L. Trerotola, 38, Hazlet, N.J.
 Karamo Trerra, 40, New York, N.Y.
 Michael Trinidad, 33, New York, N.Y.
 Francis Joseph Trombino, 68, Clifton, N.J.
 Gregory J. Trost, 26, New York, N.Y.
 William Tselepis, 33, New Providence, N.J.
 Zhanetta Tsoy, 32, Jersey City, N.J.
 Michael Patrick Tucker, 40, Rumson, N.J.
 Lance Richard Tumulty, 32, Bridgewater, N.J.
 Ching Ping Tung, 44, New York, N.Y.
 Simon James Turner, 39, London, England
 Donald Joseph Tuzio, 51, Goshen, N.Y.
 Robert T. Twomey, 48, New York, N.Y.


                                                    53
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page156
                                                                886ofof232
                                                                        962




 Jennifer Tzemis, 26, New York, N.Y.
 John G. Ueltzhoeffer, 36, Roselle Park, N.J.
 Tyler V. Ugolyn, 23, New York, N.Y.
 Michael A. Uliano, 42, Aberdeen, N.J.
 Jonathan J. Uman, 33, Westport, Conn.
 Anil Shivhari Umarkar, 34, Hackensack, N.J.
 Allen V. Upton, 44, New York, N.Y.
 Diane Maria Urban, 50, Malverne, N.Y.
 John Damien Vaccacio, 30, New York, N.Y.
 Bradley H. Vadas, 37, Westport, Conn.
 William Valcarcel, 54, New York, N.Y.
 Mayra Valdes-Rodriguez, 39, New York, N.Y.
 Felix Antonio Vale, 29, New York, N.Y.
 Ivan Vale, 27, New York, N.Y.
 Santos Valentin, 39, New York, N.Y.
 Benito Valentin, 33, New York, N.Y.
 Manuel Del Valle, 32, New York, N.Y.
 Carlton Francis Valvo, 38, New York, N.Y.
 Edward Raymond Vanacore, 29, Jersey City, N.J.
 Jon C. Vandevander, 44, Ridgewood, N.J.
 Frederick T. Varacchi, 35, Greenwich, Conn.
 Gopalakrishnan Varadhan, 32, New York, N.Y.
 David Vargas, 46, New York, N.Y.
 Scott C. Vasel, 32, Park Ridge, N.J.
 Santos Vasquez, 55, New York, N.Y.
 Azael Ismael Vasquez, 21, New York, N.Y.
 Arcangel Vazquez, 47, New York, N.Y.
 Peter Anthony Vega, 36, New York, N.Y.
 Sankara S. Velamuri, 63, Avenel, N.J.
 Jorge Velazquez, 47, Passaic, N.J.
 Lawrence Veling, 44, New York, N.Y.
 Anthony M. Ventura, 41, Middletown, N.J.
 David Vera, 41, New York, N.Y.
 Loretta A, Vero, 51, Nanuet, N.Y.
 Christopher Vialonga, 30, Demarest, N.J.
 Matthew Gilbert Vianna, 23, Manhasset, N.Y.
 Robert A. Vicario, 40, Weehawken, N.J.
 Celeste Torres Victoria, 41, New York, N.Y.
 Joanna Vidal, 26, Yonkers, N.Y.
 John T. Vigiano, 36, West Islip, N.Y.
 Joseph Vincent Vigiano, 34, Medford, N.Y.
 Frank J. Vignola, 44, Merrick, N.Y.
 Joseph B. Vilardo, 44, Stanhope, N.J.
 Sergio Villanueva, 33, New York, N.Y.
 Chantal Vincelli, 38, New York, N.Y.
 Melissa Vincent, 28, Hoboken, N.J.


                                                    54
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page157
                                                                887ofof232
                                                                        962




 Francine A. Virgilio, 48, New York, N.Y.
 Lawrence Virgilio, 38
 Joseph G. Visciano, 22, New York, N.Y.
 Joshua S. Vitale, 28, Great Neck, N.Y.
 Maria Percoco Vola, 37, New York, N.Y.
 Lynette D. Vosges, 48, New York, N.Y.
 Garo H. Voskerijian, 43, Valley Stream, N.Y.
 Alfred Vukosa, 37, New York, N.Y.
 Gregory Wachtler, 25, Ramsey, N.J.
 Gabriela Waisman, 33, New York, N.Y.
 Wendy Alice Rosario Wakeford, 40, Freehold, N.J.
 Courtney Wainsworth Walcott, 37, New York, N.Y.
 Victor Wald, 49, New York, N.Y.
 Benjamin Walker, 41, Suffern, N.Y.
 Glen J. Wall, 38, Rumson, N.J.
 Mitchel Scott Wallace, 34, Mineola, N.Y.
 Lt. Robert F. Wallace, 43, New York, N.Y.
 Roy Michael Wallace, 42, Wyckoff, N.J.
 Peter G. Wallace, 66, Lincoln Park, N.J.
 Jean Marie Wallendorf, 23, New York, N.Y.
 Matthew Blake Wallens, 31, New York, N.Y.
 John Wallice, 43, Huntington, N.Y.
 Barbara P. Walsh, 59, New York, N.Y.
 James Walsh, 37, Scotch Plains, N.J.
 Jeffrey Patrick Walz, 37, Tuckahoe, N.Y.
 Ching H. Wang, 59, New York, N.Y.
 Weibin Wang, 41, Orangeburg, N.Y.
 Lt. Michael Warchola, 51, Middle Village, N.Y.
 Stephen Gordon Ward, 33, Gorham, Maine
 James A. Waring, 49, New York, N.Y.
 Brian G. Warner, 32, Morganville, N.J.
 Derrick Washington, 33, Calverton, N.Y.
 Charles Waters, 44, New York, N.Y.
 James Thomas (Muddy) Waters, 39, New York, N.Y.
 Capt. Patrick J. Waters, 44, New York, N.Y.
 Kenneth Watson, 39, Smithtown, N.Y.
 Michael H. Waye, 38, Morganville, N.J.
 Walter E. Weaver, 30, Centereach, N.Y.
 Todd C. Weaver, 30, New York, N.Y.
 Nathaniel Webb, 56, Jersey City, N.J.
 Dinah Webster, 50, Port Washington, N.Y.
 Joanne Flora Weil, 39, New York, N.Y.
 Michael Weinberg, 34, New York, N.Y.
 Steven Weinberg, 41, New City, N.Y.
 Scott Jeffrey Weingard, 29, New York, N.Y.
 Steven Weinstein, 50, New York, N.Y.


                                                    55
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page158
                                                                888ofof232
                                                                        962




 Simon Weiser, 65, New York, N.Y.
 David T. Weiss, 50, New York, N.Y.
 David M. Weiss, 41, Maybrook, N.Y.
 Vincent Michael Wells, 22, Redbridge, England
 Timothy Matthew Welty, 34, Yonkers, N.Y.
 Christian Hans Rudolf Wemmers, 43, San Francisco, Calif.
 Ssu-Hui (Vanessa) Wen, 23, New York, N.Y.
 Oleh D. Wengerchuk, 56, Centerport, N.Y.
 Peter M. West, 54, Pottersville, N.J.
 Whitfield West, 41, New York, N.Y.
 Meredith Lynn Whalen, 23, Hoboken, N.J.
 Eugene Whelan, 31, Rockaway Beach, N.Y.
 John S. White, 48, New York, N.Y.
 Edward James White, 30, New York, N.Y.
 James Patrick White, 34, Hoboken, N.J.
 Kenneth W. White, 50, New York, N.Y.
 Leonard Anthony White, 57, New York, N.Y.
 Malissa White, 37, New York, N.Y.
 Wayne White, 38, New York, N.Y.
 Adam S. White, 26, New York, N.Y.
 Leanne Marie Whiteside, 31, New York, N.Y.
 Mark Whitford, 31, Salisbury Mills, N.Y.
 Michael T. Wholey, 34, Westwood, N.J.
 Mary Lenz Wieman, 43, Rockville Centre, N.Y.
 Jeffrey David Wiener, 33, New York, N.Y.
 William J. Wik, 44, Crestwood, N.Y.
 Alison Marie Wildman, 30, New York, N.Y.
 Lt. Glenn Wilkinson, 46, Bayport, N.Y.
 John C. Willett, 29, Jersey City, N.J.
 Brian Patrick Williams, 29, New York, N.Y.
 Crossley Williams, 28, Uniondale, N.Y.
 David Williams, 34, New York, N.Y.
 Deborah Lynn Williams, 35, Hoboken, N.J.
 Kevin Michael Williams, 24, New York, N.Y.
 Louis Calvin Williams, 53, Mandeville, La.
 Louie Anthony Williams, 44, New York, N.Y.
 Lt. John Williamson, 46, Warwick, N.Y.
 Donna Wilson, 48, Williston Park, N.Y.
 William E. Wilson, 58, New York, N.Y.
 Cynthia Wilson, 52, New York, N.Y.
 David H. Winton, 29, New York, N.Y.
 Glenn J. Winuk, 40, New York, N.Y.
 Thomas Francis Wise, 43, New York, N.Y.
 Alan L. Wisniewski, 47, Howell, N.J.
 Frank T. Wisniewski, 54, Basking Ridge, N.J.
 David Wiswall, 54, North Massapequa, N.Y.


                                                    56
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page159
                                                                889ofof232
                                                                        962




 Sigrid Charlotte Wiswe, 41, New York, N.Y.
 Michael R. Wittenstein, 34, Hoboken, N.J.
 Christopher W. Wodenshek, 35, Ridgewood, N.J.
 Martin P. Wohlforth, 47, Greenwich, Conn.
 Katherine S. Wolf, 40, New York, N.Y.
 Jenny Seu Kueng Low Wong, 25, New York, N.Y.
 Jennifer Y. Wong, 26, New York, N.Y.
 Siu Cheung Wong, 34, Jersey City, N.J.
 Yin Ping (Steven) Wong, 34, New York, N.Y.
 Yuk Ping Wong, 47, New York, N.Y.
 Brent James Woodall, 31, Oradell, N.J.
 James J. Woods, 26, New York, N.Y.
 Patrick Woods, 36, New York, N.Y.
 Richard Herron Woodwell, 44, Ho-Ho-Kus, N.J.
 Capt. David Terence Wooley, 54, Nanuet, N.Y.
 John Bentley Works, 36, Darien, Conn.
 Martin Michael Wortley, 29, Park Ridge, N.J.
 Rodney James Wotton, 36, Middletown, N.J.
 William Wren, 61, Lynbrook, N.Y.
 John Wright, 33, Rockville Centre, N.Y.
 Neil R. Wright, 30, Asbury, N.J.
 Sandra Wright, 57, Langhorne, Pa.
 Jupiter Yambem, 41, Beacon, N.Y.
 Suresh Yanamadala, 33, Plainsboro, N.J.
 Matthew David Yarnell, 26, Jersey City, N.J.
 Myrna Yaskulka, 59, New York, N.Y.
 Shakila Yasmin, 26, New York, N.Y.
 Olabisi L. Yee, 38, New York, N.Y.
 Edward P. York, 45, Wilton, Conn.
 Kevin Patrick York, 41, Princeton, N.J.
 Raymond York, 45, Valley Stream, N.Y.
 Suzanne Youmans, 60, New York, N.Y.
 Jacqueline (Jakki) Young, 37, New York, N.Y.
 Barrington L. Young, 35, New York, N.Y.
 Elkin Yuen, 32, New York, N.Y.
 Joseph Zaccoli, 39, Valley Stream, N.Y.
 Adel Agayby Zakhary, 50, North Arlington, N.J.
 Arkady Zaltsman, 45, New York, N.Y.
 Edwin J. Zambrana, 24, New York, N.Y.
 Robert Alan Zampieri, 30, Saddle River, N.J.
 Mark Zangrilli, 36, Pompton Plains, N.J.
 Ira Zaslow, 55, North Woodmere, N.Y.
 Kenneth Albert Zelman, 37, Succasunna, N.J.
 Abraham J. Zelmanowitz, 55, New York, N.Y.
 Martin Morales Zempoaltecatl, 22, New York, N.Y.
 Zhe (Zack) Zeng, 28, New York, N.Y.


                                                    57
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page160
                                                                890ofof232
                                                                        962




 Marc Scott Zeplin, 33, Harrison, N.Y.
 Jie Yao Justin Zhao, 27, New York, N.Y.
 Ivelin Ziminski, 40, Tarrytown, N.Y.
 Michael Joseph Zinzi, 37, Newfoundland, N.J.
 Charles A. Zion, 54, Greenwich, Conn.
 Julie Lynne Zipper, 44, Paramus, N.J.
 Salvatore J. Zisa, 45, Hawthorne, N.J.
 Prokopios Paul Zois, 46, Lynbrook, N.Y.
 Joseph J. Zuccala, 54, Croton-on-Hudson, N.Y.
 Andrew Steven Zucker, 27, New York, N.Y.
 Igor Zukelman, 29, New York, N.Y.




                                                    58
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page161
                                                                891ofof232
                                                                        962




 AMERICAN AIRLINES FLIGHT 11

 Crew

 Barbara Arestegui, 38, Marstons Mills, Massachusetts
 Jeffrey Collman, 41, Novato, Calif.
 Sara Low, 28, Batesville, Arkansas
 Karen A. Martin, 40, Danvers, Mass.
 First Officer Thomas McGuinness, 42, Portsmouth, New Hampshire
 Kathleen Nicosia, 54, Winthrop, Mass.
 John Ogonowski, 52, Dracut, Massachusetts
 Betty Ong, 45, Andover, Massachusetts
 Jean Roger, 24, Longmeadow, Massachusetts
 Dianne Snyder, 42, Westport, Massachusetts
 Madeline Sweeney, 35, Acton, Massachusetts

 Passengers

 Anna Williams Allison, 48, Stoneham, Massachusetts
 David Angell, 54, Pasadena, California
 Lynn Angell, 45, Pasadena, California
 Seima Aoyama, 48, Culver City, Calif.
 Myra Aronson, 52, Charlestown, Massachusetts
 Christine Barbuto, 32, Brookline, Massachusetts
 Carolyn Beug, 48, Los Angeles, California
 Kelly Ann Booms, 24, Brookline, Mass.
 Carol Bouchard, 43, Warwick, Rhode Island
 Neilie Anne Heffernan Casey, 32, Wellesley, Massachusetts
 Jeffrey Coombs, 42, Abington, Massachusetts
 Tara Creamer, 30, Worcester, Massachusetts
 Thelma Cuccinello, 71, Wilmot, New Hampshire
 Patrick Currivan, 52, Winchester, Mass.
 Brian Dale, 43, Warren, New Jersey
 David DiMeglio, 22, Wakefield, Mass.
 Donald Americo DiTullio, 49, Peabody, Mass.
 Albert Dominguez, 66, Sydney, Australia
 Paige Farley-Hackel, 46, Newton, Mass.
 Alex Filipov, 70, Concord, Massachusetts
 Carol Flyzik, 40, Plaistow, N.H.
 Paul Friedman, 45, Belmont, Massachusetts
 Karleton D.B. Fyfe, 31, Brookline, Massachusetts
 Peter Gay, 54, Tewksbury, Massachusetts
 Linda George, 27, Westboro, Massachusetts
 Edmund Glazer, 41, Los Angeles, California
 Lisa Fenn Gordenstein, 41, Needham, Massachusetts
 Andrew Peter Charles Curry Green, 34, Santa Monica, Calif.


                                                    59
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page162
                                                                892ofof232
                                                                        962




 Peter Hashem, 40, Tewksbury, Massachusetts
 Robert Hayes, 37, from Amesbury, Massachusetts
 Edward (Ted) R. Hennessy, 35, Belmont, Mass.
 John A. Hofer, 45, Los Angeles, Calif.
 Cora Hidalgo Holland, 52, of Sudbury, Massachusetts
 Nicholas Humber, 60, of Newton, Massachusetts,
 Waleed Iskandar, 34, London, England
 John Charles Jenkins, 45, Cambridge, Mass.
 Charles Edward Jones, 48, Bedford, Mass.
 Robin Kaplan, 33, Westboro, Massachusetts
 Barbara Keating, 72, Palm Springs, Calif.
 David P. Kovalcin, 42, Hudson, New Hampshire
 Judy Larocque, 50, Framingham, Mass.
 Natalie Janis Lasden, 46, Peabody, Mass.
 Daniel John Lee, 34, Van Nuys, Calif.
 Daniel C. Lewin, 31, Charlestown, Mass.
 Susan A. MacKay, 44, Westford, Massachusetts
 Christopher D. Mello, 25, Boston, Mass.
 Jeff Mladenik, 43, Hinsdale, Illinois
 Antonio Jesus Montoya Valdes, 46, East Boston, Mass.
 Carlos Alberto Montoya, 36, Bellmont, Mass.
 Laura Lee Morabito, 34, Framingham, Massachusetts
 Mildred Rose Naiman, 81, Andover, Mass.
 Laurie Ann Neira, 48, Los Angeles, Calif.
 Renee Newell, 37, of Cranston, Rhode Island
 Jacqueline J. Norton, 61, Lubec, Maine
 Robert Grant Norton, 85, Lubec, Maine
 Jane M. Orth, 49, Haverhill, Mass.
 Thomas Pecorelli, 31, of Los Angeles, California
 Berinthia Berenson Perkins, 53, Los Angeles, Calif.
 Sonia Morales Puopolo, 58, of Dover, Massachusetts
 David E. Retik, 33, Needham, Mass.
 Philip M. Rosenzweig, 47, Acton, Mass.
 Richard Ross, 58, Newton, Massachusetts
 Jessica Sachs, 22, Billerica, Massachusetts
 Rahma Salie, 28, Boston, Mass.
 Heather Lee Smith, 30, Boston, Mass.
 Douglas J. Stone, 54, Dover, N.H
 Xavier Suarez, 41, Chino Hills, Calif.
 Michael Theodoridis, 32, Boston, Mass.
 James Trentini, 65, Everett, Massachusetts
 Mary Trentini, 67, Everett, Massachusetts
 Pendyala Vamsikrishna, 30, Los Angeles, Calif.
 Mary Wahlstrom, 78, Kaysville, Utah
 Kenneth Waldie, 46, Methuen, Massachusetts
 John Wenckus, 46, Torrance, Calif.


                                                    60
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page163
                                                                893ofof232
                                                                        962




 Candace Lee Williams, 20, Danbury, Conn.
 Christopher Zarba, 47, Hopkinton, Massachusetts




                                                    61
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page164
                                                                894ofof232
                                                                        962




 AMERICAN AIRLINES FLIGHT 77

 Crew

 Charles Burlingame, 51, Herndon, Va.
 David M. Charlebois, 39, Washington, D.C
 Michele Heidenberger, 57, Chevy Chase, Md.
 Jennifer Lewis, 38, Culpeper, Virginia
 Kenneth Lewis, 49, Culpeper, Virginia
 Renee A. May, 39, Baltimore, Md

 Passengers

 Paul Ambrose, 32, Washington, D.C.
 Yeneneh Betru, 35, Burbank, Calif
 Mary Jane (MJ) Booth, 64, Falls Church, Va.
 Bernard Curtis Brown, 11, Washington, D.C.
 Suzanne Calley, 42, San Martin, Calif.
 William Caswell, 54, Silver Spring, Md.
 Sarah Clark, 65, Columbia, Md.
 Zandra Cooper, Annandale, Va.
 Asia Cottom, 11, Washington, D.C.
 James Debeuneure, 58, Upper Marlboro, Md.
 Rodney Dickens, 11, Washington, D.C.
 Eddie Dillard, Alexandria, Va.
 Charles Droz, 52, Springfield, Va.
 Barbara G. Edwards, 58, Las Vegas, Nev.
 Charles S. Falkenberg, 45, University Park, Md.
 Zoe Falkenberg, 8, University Park, Md.
 Dana Falkenberg, 3, of University Park, Md.
 James Joe Ferguson, 39, Washington, D.C.
 Wilson "Bud" Flagg, 63, Millwood, Va.
 Darlene Flagg, 63, Millwood, Va.
 Richard Gabriel, 54, Great Falls, Va.
 Ian J. Gray, 55, Columbia, Md.
 Stanley Hall, 68, Rancho Palos Verdes, Calif.
 Bryan Jack, 48, Alexandria, Va.
 Steven D. Jacoby, 43, Alexandria, Va.
 Ann Judge, 49, Great Falls, Va.
 Chandler Keller, 29, El Segundo, Calif.
 Yvonne Kennedy, 62, Sydney, New South Wales, Australia
 Norma Khan, 45, Reston, Va.
 Karen A. Kincaid, 40, Washington, D.C.
 Dong Lee, 48, Leesburg, Va.
 Dora Menchaca, 45, of Santa Monica, Calif.
 Christopher Newton, 38, Anaheim, Calif.


                                                    62
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page165
                                                                895ofof232
                                                                        962




 Barbara Olson, 45, Great Falls, Va
 Ruben Ornedo, 39, Los Angeles, Calif.
 Robert Penniger, 63, of Poway, Calif.
 Robert R. Ploger, 59, Annandale, Va.
 Lisa J. Raines, 42, Great Falls, Va.
 Todd Reuben, 40, Potomac, Maryland
 John Sammartino, 37, Annandale, Va.
 Diane Simmons, Great Falls, Va.
 George Simmons, Great Falls, Va.
 Mari-Rae Sopper, 35, Santa Barbara, Calif.
 Robert Speisman, 47, Irvington, N.Y
 Norma Lang Steuerle, 54, Alexandria, Va.
 Hilda E. Taylor, 62, Forestville, Md
 Leonard Taylor, 44, Reston, Va.
 Sandra Teague, 31, Fairfax, Va.
 Leslie A. Whittington, 45, University Park, Maryland.
 John D. Yamnicky, 71, Waldorf, Md.
 Vicki Yancey, 43, Springfield, Va.
 Shuyin Yang, 61, Beijing, China
 Yuguag Zheng, 65, Beijing, China




                                                    63
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page166
                                                                896ofof232
                                                                        962




 UNITED AIRLINES FLIGHT 175

 Crew

 Robert Fangman, 33, Claymont, Del.
 Michael R. Horrocks, 38, Glen Mills, Pa.
 Amy N. Jarret, 28, North Smithfield, R.I.
 Amy R. King, 29, Stafford Springs, Conn.
 Kathryn L. LaBorie, 44, Providence, R.I.
 Alfred Gilles Padre Joseph Marchand, 44, Alamogordo, N.M.
 Capt. Victor Saracini, 51, Lower Makefield Township, Pa.
 Michael C. Tarrou, 38, Stafford Springs, Conn.
 Alicia Nicole Titus, 28, San Francisco, Calif.

 Passengers

 Alona Avraham, 30, Asdod, Israel.
 Garnet Edward (Ace) Bailey, 54, Lynnfield, Mass.
 Mark Bavis, 31, West Newton, Mass.
 Graham Andrew Berkeley, 37, Boston, Mass.
 Touri Bolourchi, 69, Beverly Hills, Calif.
 Klaus Bothe, 31, Linkenheim, Baden-Wurttemberg, Germany
 Daniel R. Brandhorst, 41, Los Angeles, Calif
 David Reed Gamboa Brandhorst, 3, Los Angeles, Calif.
 John Brett Cahill, 56, Wellesley, Mass.
 Christoffer Carstanjen, 33, Turner Falls, Mass.
 John (Jay) J. Corcoran, 43, Norwell, Mass
 Dorothy Alma DeAraujo, 80, Long Beach, Calif.
 Ana Gloria Pocasangre de Barrera, 49, San Salvador, El Salvador
 Lisa Frost, 22, Rancho Santa Margarita, Calif.
 Ronald Gamboa, 33, Los Angeles, Calif.
 Lynn Catherine Goodchild, 25, Attleboro, Mass.
 Peter Morgan Goodrich, 33, Sudbury, Mass.
 Douglas A. Gowell, 52, Methuen, Mass.
 The Rev. Francis E. Grogan, 76, of Easton, Mass.
 Carl Max Hammond, 37, Derry, N.H.
 Peter Hanson, 32, Groton, Mass.
 Sue Kim Hanson, 35, Groton, Mass.
 Christine Lee Hanson, 2, Groton, Mass.
 Gerald F. Hardacre, 61, Carlsbad, Calif.
 Eric Samadikan Hartono, 20, Boston, Mass.
 James E. Hayden, 47, Westford, Mass.
 Herbert W. Homer, 48, Milford, Mass.
 Robert Adrien Jalbert, 61, Swampscott, Mass.
 Ralph Francis Kershaw, 52, Manchester-by-the-Sea, Mass.
 Heinrich Kimmig, 43, Willstaett, Germany


                                                    64
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page167
                                                                897ofof232
                                                                        962




 Brian Kinney, 29, Lowell, Mass.
 Robert George LeBlanc, 70, Lee, N.H.
 Maclovio Lopez, Jr., 41, Norwalk, Calif.
 Marianne MacFarlane, MacFarlane, 34, Revere, Mass.
 Louis Neil Mariani, 59, Derry, N.H.
 Juliana Valentine McCourt, 4, New London, Conn.
 Ruth Magdaline McCourt, 45, New London, Conn.
 Wolfgang Peter Menzel, 59, Wilhelmshaven, Germany
 Shawn M. Nassaney, 25, Pawtucket, R.I.
 Marie Pappalardo, 53, Paramount, Calif.
 Patrick Quigley, 40, of Wellesley, Mass.
 Frederick Charles Rimmele, 32, Marblehead, Mass.
 James M. Roux, 43, Portland, Maine
 Jesus Sanchez, 45, Hudson, Mass.
 Mary Kathleen Shearer, 61, Dover, N.H.
 Robert Michael Shearer, 63, Dover, N.H.
 Jane Louise Simpkin, 36, Wayland, Mass.
 Brian D. Sweeney, 38, Barnstable, Mass.
 Timothy Ward, 38, San Diego, Calif.
 William M. Weems, 46, Marblehead, Mass.




                                                    65
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page168
                                                                898ofof232
                                                                        962




 UNITED AIRLINES FLIGHT 93

 Crew

 Lorraine G. Bay, 58, East Windsor, N.J.
 Sandra W. Bradshaw, 38, Greensboro, N.C.
 Jason Dahl, 43, Denver, Colo.
 Wanda Anita Green, 49, Linden, N.J.
 Leroy Homer, 36, Marlton, N.J.
 CeeCee Lyles, 33, Fort Myers, Fla.
 Deborah Welsh, 49, New York, N.Y.

 Passengers

 Christian Adams, 37, Biebelsheim, Germany
 Todd Beamer, 32, Cranbury, N.J.
 Alan Beaven, 48, Oakland, CA
 Mark K. Bingham, 31, San Francisco, Calif.
 Deora Frances Bodley, 20, San Diego, Calif.
 Marion Britton, 53, New York, N.Y.
 Thomas E. Burnett Jr., 38, San Ramon, Calif.
 William Cashman, 57, North Bergen, N.J.
 Georgine Rose Corrigan, 56, Honolulu, Hawaii
 Patricia Cushing, 69, Bayonne, N.J.
 Joseph Deluca, 52, Ledgewood, N.J.
 Patrick Joseph Driscoll, 70, Manalapan, N.J.
 Edward P. Felt, 41, Matawan, N.J.
 Jane C. Folger, 73, Bayonne, N.J.
 Colleen Laura Fraser, 51, Elizabeth, N.J.
 Andrew Garcia, 62, Portola Valley, Calif.
 Jeremy Glick, 31, Hewlett, N.J.
 Lauren Grandcolas, 38, San Rafael, Calif.
 Donald F. Greene, 52, Greenwich, Conn.
 Linda Gronlund, 46, Warwick, N.Y.
 Richard Guadagno, 38, of Eureka, Calif.
 Toshiya Kuge, 20, Nishimidoriguoska, Japan
 Hilda Marcin, 79, Budd Lake, N.J.
 Nicole Miller, 21, San Jose, Calif.
 Louis J. Nacke, 42, New Hope, Pa.
 Donald Arthur Peterson, 66, Spring Lake, N.J.
 Jean Hoadley Peterson, 55, Spring Lake, N.J.
 Waleska Martinez Rivera, 37, Jersey City, N.J.
 Mark Rothenberg, 52, Scotch Plains, N.J.
 Christine Snyder, 32, Kailua, Hawaii
 John Talignani, 72, New York, N.Y.



                                                    66
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page169
                                                                899ofof232
                                                                        962




 Honor Elizabeth Wainio, 27, Watchung, N.J.
 Olga Kristin Gould White, 65, New York, N.Y.




                                                    67
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page170
                                                                900ofof232
                                                                        962




 THE PENTAGON

 Spc. Craig Amundson, 28, Fort Belvoir, Va.
 Melissa Rose Barnes, 27, Redlands, Calif.
 (Retired) Master Sgt. Max Beilke, 69, Laurel, Md.
 Kris Romeo Bishundat, 23, Waldorf, Md.
 Carrie Blagburn, 48, Temple Hills, Md.
 Lt. Col. Canfield D. Boone, 54, Clifton, Va.
 Donna Bowen, 42, Waldorf, Md.
 Allen Boyle, 30, Fredericksburg, Va.
 Christopher Lee Burford, 23, Hubert, N.C.
 Daniel Martin Caballero, 21, Houston, Texas
 Sgt. 1st Class Jose Orlando Calderon-Olmedo, 44, Annandale, Va.
 Angelene C. Carter, 51, Forrestville, Md.
 Sharon Carver, 38, Waldorf, Md.
 John J. Chada, 55, Manassas, Va.
 Rosa Maria (Rosemary) Chapa, 64, Springfield, Va.
 Julian Cooper, 39, Springdale, Md.
 Lt. Cmdr. Eric Allen Cranford, 32, Drexel, N.C.
 Ada M. Davis, 57, Camp Springs, Md.
 Capt. Gerald Francis Deconto, 44, Sandwich, Mass.
 Lt. Col. Jerry Don Dickerson, 41, Durant, Miss.
 Johnnie Doctor, 32, Jacksonville, Fla.
 Capt. Robert Edward Dolan, 43, Alexandria, Va.
 Cmdr. William Howard Donovan, 37, Nunda, N.Y.
 Cmdr. Patrick S. Dunn, 39, Springfield, Va.
 Edward Thomas Earhart, 26, Salt Lick, Ky.
 Lt. Cmdr. Robert Randolph Elseth, 37, Vestal, N.Y.
 Jamie Lynn Fallon, 23, Woodbridge, Va.
 Amelia V. Fields, 36, Dumfries, Va.
 Gerald P. Fisher, 57, Potomac, Md.
 Matthew Michael Flocco, 21, Newark, Del.
 Sandra N. Foster, 41, Clinton, Md.
 Capt. Lawrence Daniel Getzfred, 57, Elgin, Neb.
 Cortz Ghee, 54, Reisterstown, Md.
 Brenda C. Gibson, 59, Falls Church, Va.
 Ron Golinski, 60, Columbia, Md.
 Diane M. Hale-McKinzy, 38, Alexandria, Va.
 Carolyn B. Halmon, 49, Washington, D.C.
 Sheila Hein, 51, University Park, Md.
 Ronald John Hemenway, 37, Shawnee, Kan.
 Maj. Wallace Cole Hogan, 40, Fla.
 Jimmie Ira Holley, 54, Lanham, Md.
 Angela Houtz, 27, La Plata, Md.
 Brady K. Howell, 26, Arlington, Va.
 Peggie Hurt, 36, Crewe, Va.


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 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page171
                                                                901ofof232
                                                                        962




 Lt. Col. Stephen Neil Hyland, 45, Burke, Va.
 Robert J. Hymel, 55, Woodbridge, Va.
 Sgt. Maj. Lacey B. Ivory, 43, Woodbridge, Va.
 Lt. Col. Dennis M. Johnson, 48, Port Edwards, Wis.
 Judith Jones, 53, Woodbridge, Va.
 Brenda Kegler, 49, Washington, D.C.
 Lt. Michael Scott Lamana, 31, Baton Rouge, La.
 David W. Laychak, 40, Manassas, Va.
 Samantha Lightbourn-Allen, 36, Hillside, Md.
 Maj. Steve Long, 39, Ga.
 James Lynch, 55, Manassas, Va.
 Terence M. Lynch, 49, Alexandria, Va.
 Nehamon Lyons, 30, Mobile, Ala.
 Shelley A. Marshall, 37, Marbury, Md.
 Teresa Martin, 45, Stafford, Va.
 Ada L. Mason, 50, Springfield, Va.
 Lt. Col. Dean E. Mattson, 57, Calif.
 Lt. Gen. Timothy J. Maude, 53, Fort Myer, Va.
 Robert J. Maxwell, 53, Manassas, Va.
 Molly McKenzie, 38, Dale City, Va.
 Patricia E. (Patti) Mickley, 41, Springfield, Va.
 Maj. Ronald D. Milam, 33, Washington, D.C.
 Gerard (Jerry) P. Moran, 39, Upper Marlboro, Md.
 Odessa V. Morris, 54, Upper Marlboro, Md.
 Brian Anthony Moss, 34, Sperry, Okla.
 Ted Moy, 48, Silver Spring, Md.
 Lt. Cmdr. Patrick Jude Murphy, 38, Flossmoor, Ill.
 Khang Nguyen, 41, Fairfax, Va.
 Michael Allen Noeth, 30, New York, N.Y.
 Diana Borrero de Padro, 55, Woodbridge, Va.
 Spc. Chin Sun Pak, 25, Lawton, Okla.
 Lt. Jonas Martin Panik, 26, Mingoville, Pa.
 Maj. Clifford L. Patterson, 33, Alexandria, Va.
 Lt. J.G. Darin Howard Pontell, 26, Columbia, Md.
 Scott Powell, 35, Silver Spring, Md.
 (Retired) Capt. Jack Punches, 51, Clifton, Va.
 Joseph John Pycior, 39, Carlstadt, N.J.
 Deborah Ramsaur, 45, Annandale, Va.
 Rhonda Rasmussen, 44, Woodbridge, Va.
 Marsha Dianah Ratchford, 34, Prichard, Ala.
 Martha Reszke, 36, Stafford, Va.
 Cecelia E. Richard, 41, Fort Washington, Md.
 Edward V. Rowenhorst, 32, Lake Ridge, Va.
 Judy Rowlett, 44, Woodbridge, Va.
 Robert E. Russell, 52, Oxon Hill, Md.
 William R. Ruth, 57, Mount Airy, Md.


                                                    69
 X:\Clients\ONeill v. Saudi arabia\RICO Statements\Exhibit A - victims list 9.29.05.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page172
                                                                902ofof232
                                                                        962




 Charles E. Sabin, 54, Burke, Va.
 Marjorie C. Salamone, 53, Springfield, Va.
 Lt. Col. David M. Scales, 44, Cleveland, Ohio
 Cmdr. Robert Allan Schlegel, 38, Alexandria, Va.
 Janice Scott, 46, Springfield, Va.
 Michael L. Selves, 53, Fairfax, Va.
 Marian Serva, 47, Stafford, Va.
 Cmdr. Dan Frederic Shanower, 40, Naperville, Ill.
 Antoinette Sherman, 35, Forest Heights, Md.
 Don Simmons, 58, Dumfries, Va.
 Cheryle D. Sincock, 53, Dale City, Va.
 Gregg Harold Smallwood, 44, Overland Park, Kan.
 (Retired) Lt. Col. Gary F. Smith, 55, Alexandria, Va.
 Patricia J. Statz, 41, Takoma Park, Md.
 Edna L. Stephens, 53, Washington, D.C.
 Sgt. Maj. Larry Strickland, 52, Woodbridge, Va.
 Maj. Kip P. Taylor, 38, McLean, Va.
 Sandra C. Taylor, 50, Alexandria, Va.
 Karl W. Teepe, 57, Centreville, Va.
 Sgt. Tamara Thurman, 25, Brewton, Ala.
 Lt. Cmdr. Otis Vincent Tolbert, 38, Lemoore, Calif.
 Willie Q. Troy, 51, Aberdeen, Md.
 Lt. Cmdr. Ronald James Vauk, 37, Nampa, Idaho
 Lt. Col. Karen Wagner, 40, Houston, Texas
 Meta L. Waller, 60, Alexandria, Va.
 Staff Sgt. Maudlyn A. White, 38, St. Croix, Virgin Islands
 Sandra L. White, 44, Dumfries, Va.
 Ernest M. Willcher, 62, North Potomac, Md.
 Lt. Cmdr. David Lucian Williams, 32, Newport, Ore.
 Maj. Dwayne Williams, 40, Jacksonville, Ala.
 Marvin R. Woods, 57, Great Mills, Md.
 Kevin Wayne Yokum, 27, Lake Charles, La.
 Donald McArthur Young, 41, Roanoke, Va.
 Lisa L. Young, 36, Germantown, Md.
 Edmond Young, 22, Owings, Md.




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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page173
                                                                903ofof232
                                                                        962




  PLAINTIFFS’ MORE DEFINITE STATEMENT/ADDITIONAL ALLEGATIONS AS
                   TO DEFENDANT ERWIN WACHTER

      1. The name of the defendant to whom this Statement pertains is Erwin Wachter.
         The alleged misconduct and basis for liability is set forth below as well as
         described elsewhere in the Complaint, as amended.

      2. All known wrongdoers are named as defendants in this action, as well as the
         defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et
         al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka,
         et al. (SDNY 04-CV-1923 (RCC)), other cases brought by other plaintiffs in In Re
         Terrorist Attacks on September 11, 2001 (03-MDL-1570 (RCC)), and others.
         Plaintiffs will separately file Statements with respect to the misconduct of certain
         of the other defendants. Given the vastly complicated nature of the conspiracy
         and other wrongdoing that led to the events of September 11, 2001, however,
         much information is unavailable to plaintiffs, and the identities of other
         wrongdoers may be revealed through discovery or otherwise. Plaintiffs therefore
         reserve the right to amend this Statement as information is learned and verified
         and after discovery or other information is obtained.

      3. The name of each victim is indicated on the attached hereto as can be found on
         the More Definite Statement, Victims List (“Victims List”). The victims consist
         of (1) all spouses, children, parents, siblings, or heirs of any individual who died at the
         World Trade Center in New York, NY, the Pentagon Building in Arlington County,
         Virginia, or in the airliner crash in Shanksville, Pennsylvania, as the result of terrorist
         attacks on September 11, 2001 (with the events at the World Trade Center in New
         York, N.Y., the Pentagon Building in Arlington County, Virginia, and the airliner
         crash in Shanksville, Pennsylvania, on September 11, 2001, and activities related
         thereto, collectively referred to herein as “Attack” or “Attacks”); and (2) all legal
         representatives (including executors, estate administrators and trustees) entitled to
         bring legal action on behalf of any individual who died as the result of terrorist
         attacks on September 11, 2001; but excluding (3) all individuals, and all spouses,
         children, parents, siblings, and legal representative of individuals identified by the
         Attorney General of the United States or otherwise shown to have perpetrated, aided
         and abetted, conspired in regard to, or otherwise supported the terrorist attacks of
         September 11, 2001. Victims List sets forth the names of the decedents killed by the
         attackers, with the category of “victims” further including their spouses, children,
         parents, siblings or heirs as set forth above.

      4. The manner in which the victims were injured consists of death, suffering caused by
         death, and all economic damages resulting from such deaths, and actions of the
         defendants and their co-conspirators as described herein.



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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page174
                                                                904ofof232
                                                                        962




      5. Please find below a description, in detail, of the pattern of racketeering activity
         for each RICO claim:

                 a. The predicate acts and statutes in question include:

                            •    Conspiracy to commit murder - NY Penal § 105.15; NY Penal §
                                 125.25 (xi)
                            •    Conspiracy to commit arson - NY Penal § 105.15; NY Penal §
                                 150.15
                            •    Fraud with Identification - 18 U.S.C. § 1028
                            •    Mail Fraud - 18 U.S.C. § 1341
                            •    Wire Fraud - 18 U.S.C. § 1343
                            •    Financial Institution Fraud - 18 U.S.C. §1344
                            •    Illegal Transactions in Monetary Instruments - 18 U.S.C. § 1956
                            •    Money Laundering - 18 U.S.C. § 1957
                            •    Defrauding the United States Government - 18 U.S.C. § 371
                            •    Travel Act - 18 U.S.C. § 1952
                            •    Filing false or Materially False Tax Returns - 26 U.S.C. §
                                 7206(1),(2)
                            •    Engaging in a corrupt endeavor to impede and impairthe due
                                 administration of the internal revenue laws - 26 U.S.C. § 7212(a)
                            •    Providing Material Support of Terrorism - 18 U.S.C. §
                                 2332(b)(g)(5)(B), 18 U.S.C. § 2339A, 18 U.S.C. § 2339B, 18
                                 U.S.C. § 2339C

                 b. In the Mid 1990’s to September 11, 2002, Erwin Wachter conducted or
                    participated, directly or indirectly, in the conduct of the Enterprise’s, as
                    defined supra, affairs and participated in the operation or management of
                    the operation of the Enterprise itself. Erwin Wachter conspired to
                    conduct or participate, directly or indirectly, in the conduct of the
                    Enterprise’s affairs and conspired to participate in the operation or
                    management of the operation of the Enterprise itself. Throughout this
                    period, Erwin Wachter conspired to support terrorism and to obfuscate the
                    roles of the various participants and conspirators in Radical Muslim
                    Terrorism, and/or al Qaida and/or the International Islamic Front for the
                    Jihad Against Jews and Crusaders, which conspiracy culminated in the
                    Attack.


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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page175
                                                                905ofof232
                                                                        962




                 c. The individual times, places, and contents of the alleged misconduct are
                    not all particularly known at this time.

                 d. The predicate act is not based upon a criminal conviction.

                 e. Civil litigation has not yet resulted in a judgment regarding the predicate
                    acts.

                 f. The predicate acts form a pattern of racketeering in that they are repeated,
                    ongoing, continuous, and are a part of the Enterprise’s regular way of
                    doing business. Other of the defendants consistently, evenly constantly,
                    laundered money, filed false tax returns, and otherwise impeded and
                    impaired the administration of the tax laws as part of their scheme to
                    conduit money to terrorists, and yet obfuscate their support of Radical
                    Muslim Terrorism and/or al Qaida and/or the International Islamic Front
                    for the Jihad Against Jews and Crusaders.

                 g. The predicate act relates to each other (horizontal relatedness) as part of a
                    common plan because each act of knowing and intentionally providing
                    financial services and money laundering and tax evasion allowed certain
                    of the defendants, specifically including Erwin Wachter, to surreptiously
                    provide funds to terrorist organizations, including al Qaida, Radical
                    Muslim Terrorism and/or the International Islamic Front for the Jihad
                    Against Jews and Crusaders, which conspiracy culminated in the Attacks.

      6. A description of the Enterprise is as follows:

                 a. The Enterprise (“Radical Muslim Terrorism” or “al Qaida” or
                    “International Islamic Front for the Jihad Against Jews and Crusaders”)
                    (“Enterprise”) is comprised of the defendants named in the Original
                    Complaint and any additional complaints filed in this action as well as the
                    defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi
                    Arabia, et al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill,
                    et al. v. Al Baraka, et al. (SDNY 04-CV-1923 (RCC)), and others, and is a
                    collection of the persons, organizations, businesses, and nations associated
                    in fact.

                 b. The Enterprise has its origins in the defeat of the Soviets in Afghanistan in
                    the late 1980s, when Osama Bin Ladin (“Bin Ladin”) formed an
                    organization called “The Foundation” or “al Qaida.” Al Qaida was
                    intended to serve as a foundation upon which to build a global Islamic
                    army. In February, 1998, a declaration was issued, following the holding
                    of a terrorist summit, announcing the formation of the International
                    Islamic Front for the Jihad Against Jews and Crusaders, the precursor of
                    which was the Muslim Brotherhood and the Islamic Jihad. The structure
                    of the Enterprise is an association in fact with common and complex goals
                    that consist of far more than the mere desire to perpetrate the acts of
                                                             Page 3
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\B_EWachter- More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page176
                                                                906ofof232
                                                                        962




                      racketeering outlined herein. Rather, the Enterprise utilizes acts of
                      racketeering to further its overall common purposes of: (i) spreading a
                      particularly virulent brand of radical, conservative Islam; (ii) eliminating
                      Western influences in Islamic countries, including Western influences that
                      are perceived to keep in power repressive Saudi-American regimes that
                      are not true to Islam; and (iii) punishing Israel, and the United States for
                      its perceived support of Israel. Radical Muslim Terrorism, and/or al Qaida
                      and/or the International Islamic Front for the Jihad Against Jews and
                      Crusaders, does not feature a centralized hierarchy, because the lack of a
                      centralized hierarchy is essential to the Enterprise’s clandestine nature and
                      its success. Thus, although al Qaida, for example, had its own
                      membership roster and a structure of “committees” to guide and oversee
                      such functions as training terrorists, proposing targets, financing
                      operations, and issuing edicts, the committees were not a hierarchical
                      chain of command but were instead a means for coordinating functions
                      and providing material support to operations. Erwin Wachter fit neatly
                      into this framework by raising funds for and providing funding to and
                      otherwise providing material support for the members of the Enterprise
                      who engaged in the Attack.

                      The Enterprise is a sophisticated global terrorist network which uses a
                      variety of business and financial transactions to further its operations.
                      These transactions include but are not limited to transferring funds
                      between accounts to purchase communications equipment, electronics
                      equipment, and land (for use as training camps and to store explosives and
                      weapons). These transactions are accomplished through, inter alia, the
                      use of wire transfers and electronic transmissions.

                      On information and belief, at the time of the September 11th attack, the al
                      Qaida’s annual income was approximately $50 million and its assets over
                      a ten-year period ranged between $300 and $500 million dollars. The
                      Enterprise relies upon a global network of banks and financial institutions,
                      including Erwin Wachter, and illegal activity to generate material support
                      to continue its terrorist operations.

                 c. Erwin Wachter was not an employee, officer or director of the Enterprise,
                    based upon present information available. Erwin Wachter is associated
                    with the alleged Enterprise. Erwin Wachter is a member of the Enterprise,
                    and is separate and distinct from the Enterprise. Erwin Wachter intended
                    to further the Attack and adopted the goal of furthering and/or facilitating
                    that criminal endeavor, which criminal activity culminated in the Attack.

      7. The pattern of racketeering activity conducted by Erwin Wachter is separate from
         the existence of Radical Muslim Terrorism, and/or the Al Qaida, and/or the
         International Islamic Front for the Jihad Against Jews and Crusaders, but was a
         necessary component to the Attack.

                                                             Page 4
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\B_EWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page177
                                                                907ofof232
                                                                        962




      8. The Enterprise conducts terrorism all over the world; the racketeering activity
         conducted by Erwin Wachter funds that activity, which activity culminated in the
         Attack. The usual and daily activities of the Enterprise include recruitment,
         indoctrination, and the provisioning and operation of training camps, all of which
         activities are funded by the racketeering activities described herein.

      9. The Enterprise benefits by spreading its ideology, by suppressing other forms of
         Islam, and through the gratification of destroying its perceived enemies.

      10. The Enterprise, and the racketeering activities conducted by Erwin Wachter, relies
          heavily on the American interstate system of commerce for banking, supplies,
          communications, and virtually all its essential commercial functions, and in that
          manner affects interstate commerce. The Enterprise and the racketeering
          activities conducted, engaged in, and/or transacted business within and in the
          United States and elsewhere, and utilized, possessed, used, transferred, owned,
          leased, operated, and/or controlled assets in the United States and elsewhere.
          Furthermore, activities and actions of the Enterprise affect interstate commerce as
          demonstrated by the Attack itself, which caused damage to the United States
          economy and property and businesses situate therein. See Rasul v. Bush, 124 S.
          Ct. 2686, No. 03-334, 2004 U.S. LEXIS 4760, *8 (stating that the Attack
          “severely damaged the United States economy”).

      11. Erwin Wachter acquired or maintained an interest or control in the Enterprise.

      12. With respect to the alleged violation of 18 U.S.C. § 1962(c), the following is
          asserted:

                 a. Radical Muslim Terrorism, and/or the al Qaida, and/or the International
                    Islamic Front for the Jihad Against Jews and Crusaders “employs” certain
                    individuals, only a few of whose identities are known, including defendant
                    Osama Bin Ladin.

                 b. The Enterprise, Radical Muslim Terrorism, and/or al Qaida, and/or the
                    International Islamic Front for the Jihad Against Jews and the Crusaders,
                    is comprised of the defendants named in the Complaint, the First
                    Amended Complaint, the Second Amended Complaint and any additional
                    complaints filed in this action as well as the defendants in Estate of John
                    P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al. (SDNY 04-CV-
                    1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka, et al.
                    (SDNY 04-CV-1923 (RCC)), among others, and is a collection of the
                    persons, organizations, businesses, and nations associated in fact. The
                    liable persons are the enterprise and that which makes up the enterprise.

      13. The conspiracy which violates 18 U.S.C. §1962(d) is described as follows:

                 a. The history of the conspiracy, in violation of 18 U.S.C. § 1962(d), behind
                    Radical Muslim Terrorism, or the al Qaida, or the International Islamic
                                                             Page 5
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\B_EWachter- More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page178
                                                                908ofof232
                                                                        962




                      Front for the Jihad Against Jews and Crusaders could, and has, filled many
                      books, but for purposes of the present RICO Statement, the following is
                      offered. After being turned out of the Sudan in May 1996, al Qaida
                      established itself in Afghanistan, and relied on well-placed financial
                      facilitators, including Erwin Wachter, who laundered funds from Islamic
                      so-called charities and corporations and raised money from witting and
                      unwitting donors. They also relied heavily on certain imams at mosques
                      who were willing to divert the Zakat, the mandatory charitable
                      contributions required of all Muslims. Radical Muslim Terrorism, and/or
                      al Qaida, and/or the International Islamic Front for the Jihad Against Jews
                      and Crusaders also collected money from employees of corrupted
                      charities. The money raised from these various sources (the “Funds”),
                      including Erwin Wachter, were used by the Enterprise to accomplish its
                      goals, with the knowledge and awareness of Erwin Wachter, of both those
                      goals and the uses to which the Funds were put.

                 b. The Funds were used to organize and conduct a complex international
                    terrorist operation intended to inflict catastrophic harm on the United
                    States. The Funds enabled the Enterprise to identify, recruit, groom and
                    train leaders who were able to evaluate, approve and supervise the
                    planning and direction of the Enterprise. The Funds also provided
                    communications sufficient system that gathered information on and
                    formed assessments of the Enterprise’s enemies’ strengths and
                    weaknesses.

                 c. The Funds enabled the Enterprise to establish a personnel system by
                    which, among other things, it recruited and trained persons to inflict the
                    harm (the “Operatives”) and provided planning and direction to the
                    Operatives. The funds thus raised were used to, among other things,
                    operate terrorist training camps in Afghanistan, where some recruits were
                    trained in conventional warfare but where the best and most zealous
                    recruits received terrorist training. The curriculum in the camps placed
                    with great emphasis on ideological and religious indoctrination. All
                    trainees and other personnel were encouraged to think creatively about
                    ways to commit mass murder.

                 d. The camps were able to operate only because of the worldwide network of
                    recruiters, travel facilitators, and document forgers who vetted recruits and
                    helped them get in and out of Afghanistan. From the ranks of these
                    recruits the nineteen perpetrators of the Attack were selected. None of this
                    would have been possible without the funds supplied by participants and
                    conspirators like Erwin Wachter. Indeed, the Enterprise would not have
                    been successful without enthusiastic participation of all of the
                    conspirators, including Erwin Wachter. In order to identify nineteen
                    individuals willing, able and competent to carry out the Attack, Radical
                    Muslim Terrorism, and/or the al Qaida, and/or the International Islamic
                                                             Page 6
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\B_EWachter- More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page179
                                                                909ofof232
                                                                        962




                      Front for the Jihad Against Jews and Crusaders needed to select from a
                      vast pool of recruits and trainees, which pool would not have been
                      available to it without the assistance provided by Erwin Wachter. Erwin
                      Wachter, with knowledge and intent, agreed to the overall objectives of
                      the conspiracy, and agreed to commit at least two predicate acts and all
                      agreed to participate in the conspiracy, either expressly or impliedly.
                      Erwin Wachter conducted or participated, directly or indirectly, in the
                      conduct of the Enterprise’s affairs and participated in the operation or
                      management of the operation of the Enterprise itself. Erwin Wachter
                      conspired to conduct or participate, directly or indirectly, in the conduct of
                      the Enterprise’s affairs and conspired to participate in the operation or
                      management of the operation of the Enterprise itself. Erwin Wachter also,
                      with knowledge and intent, agreed to and did aid and abet all of the above
                      illegal activities, RICO predicate acts, and RICO violations.

      14. The injuries to business or property suffered by the O’Neill Plaintiff’s resulting
          from the September 11th attack include economic damages, including but not
          limited, to pecuniary losses, past and future wage losses and profits, loss of
          business opportunities, loss of and/or damage to tangible and intangible personal
          property, loss of currency, loss of support, funeral and burial expenses, loss of
          prospective inheritance, and loss of other economic contributions to the
          Plaintiffs’/Decedents’ households. Additionally, the Attack itself was intended to
          destroy the leading symbol of the United States’ leadership in world trade – The
          World Trade Center - and as such, affected the O’Neill Plaintiff’s jobs,
          businesses, and livelihoods.

      15. Plaintiffs’ damages – the loss of life and the damages to business and property
          related thereto that resulted from the actions of the defendants and their co-
          conspirators, are a direct causal relationship to the violation of the RICO statute,
          and are not a derivative claim of damage to a third party. The Plaintiffs, both
          named and as a class, as described in the complaint, as amended, were the
          “reasonably foreseeable victims of a RICO violation” and the “intended victims
          of the racketeering enterprise,” (that is, terrorism, the culmination of which was
          the Attack).

      16. Each defendant is jointly and severally liable for all damages sustained by each
          plaintiff subject to the description of victims set forth in paragraph 4 hereof, for
          the loss of life, and the economic damages, including but not limited, to pecuniary
          losses, past and future wage losses and profits, loss of business opportunities, loss
          of and/or damage to tangible and intangible personal property, loss of currency,
          loss of support, funeral and burial expenses, loss of prospective inheritance, and
          loss of other economic contributions to the Plaintiffs’/Decedents’ households.
          The damages for the plaintiffs’ collectively are to be determined at trial, and are
          in excess of $10,000,000,000.00 prior to trebling, punitive damages, interest, legal
          fees, and the costs of this suit.


                                                             Page 7
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\B_EWachter- More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page180
                                                                910ofof232
                                                                        962




      17. The federal causes of action against Erwin Wachter are as follows: Count Eight,
          Anti-Terrorism Act, 18 U.S.C. § 2331, 2333, et. seq.; Count Nine, RICO, 18
          U.S.C. § 1962(b),1962(c), 1962(d).

      18. The state causes of action are as follows: Count One, Wrongful Death; Count
          Two, Survival; Count Three, Action for Economic Damages; Count Four,
          Intentional Infliction of Emotional Distress; Count Five, Loss of Consortium;
          Count Six, Loss of Solatium; Count Seven, Conspiracy; Count Ten, Punitive
          Damages .

      19. Erwin Wachter has long provided financial support and other forms of material
          support to terrorist organizations including Radical Muslim Terrorism, or the al
          Qaida, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders. Erwin Wachter conducted or participated, directly or indirectly, in the
          conduct of the Enterprise’s affairs and participated in the operation or
          management of the operation of the Enterprise itself. Erwin Wachter conspired to
          conduct or participate, directly or indirectly, in the conduct of the Enterprise’s
          affairs and conspired to participate in the operation or management of the
          operation of the Enterprise itself.

      20. Plaintiffs hereby incorporate all allegations, claims and counts contained in
          Plaintiff’s Complaint, as amended.

      21. Erwin Wachter has long provided financial support and other forms of material
          support to terrorist organizations including Radical Muslim Terrorism, or the al
          Qaida, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders. Erwin Wachter conducted or participated, directly or indirectly, in the
          conduct of the Enterprise’s affairs and participated in the operation or
          management of the operation of the Enterprise itself. Erwin Wachter _conspired
          to conduct or participate, directly or indirectly, in the conduct of the Enterprise’s
          affairs and conspired to participate in the operation or management of the
          operation of the Enterprise itself.

      22. Erwin Wachter is the head of Asat Trust, a co-defendant in the above-referenced
          cases.1 Additionally, available information reveals a pattern of activity over a
          period of many years of the Wachters, including both Martin Wachter and his
          father, Erwin Wachter (collectively referred to as “Wachters”), working at the
          same address registered to Asat Trust.




 1
  Specific misconduct regarding Asat Trust, a co-defendant herein, is provided via More Definite
 Statement Applicable to Asat Trust. Plaintiffs herein incorporate by reference throughout this
 document the factual averments and arguments which are contained within its More Definite
 Statement Applicable to Asat Trust, relating to Estate of John P. O’Neill, et al. v. Al Baraka, et
 al., 04-CV-1923 (RCC) and Estate of John P. O’Neill, et al. v. Iraq, et al. 04-CV 1076.
                                                             Page 8
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\B_EWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page181
                                                                911ofof232
                                                                        962




      23. He is also an owner of Sercor Treuhand Anstalt, a co-defendant in the above-
          referenced cases.2

      24. As owner and head of Asat Trust and Secor Treuhand Anstalt, Erwin Wachter
          oversaw the activities and had knowledge of the activities that supported the al
          Qaida and/or Radical Muslim Terrorism and/or the International Islamic Front for
          the Jihad Against Jews and Crusaders.

      25. Erwin Wachter has long known that accounts, under his control, which were
          maintained, and assisted, were being used to solicit and transfer funds to terrorist
          organizations, including al Qaida and/or Radical Muslim Terrorism and/or the
          International Islamic Front for the Jihad Against Jews and Crusaders. Despite this
          knowledge, Erwin Wachter continued to permit, make available, assist, and
          maintain those accounts.

      26. Available information demonstrates that there has been activities between the
          Wachters and Al Taqwa Bank, a co-defendant in the above- referenced cases who
          has been significantly linked to activities and supporting the al Qaida, and/or
          Radical Muslim Terrorism, and/or the International Islamic Front for the Jihad
          Against Jews and Crusaders. Al Taqwa’s assets were frozen by the Office of
          Foreign Assets Control, as a Designated Terrorist Organization, by Executive
          Order #13224. Additionally, there is information which places the Wachters at
          working on behalf of Al Taqwa Bank in Nassau, Bahamas.

      27. There is also information which links the Wachters to Al Taqwa and its
          executives, Youssef M. Nada, Ali Ghaleb Himmat, Nasreddin, and Albert
          Friedrich Armand Huber, co-defendants in the above-referenced cases which have
          been linked to funding and supporting the al Qaida, and/or Radical Muslim
          Terrorism, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders.

      28. Based upon information and belief, the Wachters were involved in laundering
          funds on behalf of the Food-for-Oil program and moving the money through Al
          Taqwa.

      29. As the foregoing demonstrates, Erwin Wachter thereby knowingly has, for a
          period of many years, provided critical financial and logistical support to al
          Qaida, and/or Radical Muslim Terrorism, and/or the International Islamic Front
          for the Jihad Against Jews and Crusaders, to support the terrorist organization’s

 2
   Specific misconduct regarding Sercor Treuhand Anstalt, a co-defendant herein, is provided via
 More Definite Statement Applicable to Sercor Truehand Anstalt. Plaintiffs herein incorporate by
 reference throughout this document the factual averments and arguments which are contained
 within its More Definite Statement Applicable to Sercor Truehand Anstalt, relating to Estate of
 John P. O’Neill, et al. v. Al Baraka, et al., 04-CV-1923 (RCC) and Estate of John P. O’Neill, et
 al. v. Iraq, et al. 04-CV 1076.

                                                             Page 9
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\B_EWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page182
                                                                912ofof232
                                                                        962




           global jihad. The September 11th Attack was a direct, intended and foreseeable
           product of Erwin Wachter’s participation in the jihadist campaign for al Qaida,
           and/or Radical Muslim Terrorism, and/or the International Islamic Front for the
           Jihad Against Jews and Crusaders.

      30. Given the extraordinarily complex nature of the conspiracy and other wrongdoing
          that led to the events of September 11, 2001, much information is presently
          unavailable to plaintiffs, absent discovery. Plaintiffs therefore reserve the right to
          amend this Statement as information is learned and verified through discovery
          and otherwise.



      Date: September 29, 2005




                                            LAW OFFICES OF JERRY S. GOLDMAN
                                                 & ASSOCIATES, P.C.



                                                   BY:______________________________________
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                                                            Page 10
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\B_EWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page183
                                                                913ofof232
                                                                        962




  PLAINTIFFS’ MORE DEFINITE STATEMENT/ADDITIONAL ALLEGATIONS AS
                  TO DEFENDANT MARTIN WACHTER

      1. The name of the defendant to whom this Statement pertains is Martin Wachter.
         The alleged misconduct and basis for liability is set forth below as well as
         described elsewhere in the Complaint, as amended.

      2. All known wrongdoers are named as defendants in this action, as well as the
         defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et
         al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka,
         et al. (SDNY 04-CV-1923 (RCC)), other cases brought by other plaintiffs in In Re
         Terrorist Attacks on September 11, 2001 (03-MDL-1570(RCC)), and others.
         Plaintiffs will separately file Statements with respect to the misconduct of certain
         of the other defendants. Given the vastly complicated nature of the conspiracy
         and other wrongdoing that led to the events of September 11, 2001, however,
         much information is unavailable to plaintiffs, and the identities of other
         wrongdoers may be revealed through discovery or otherwise. Plaintiffs therefore
         reserve the right to amend this Statement as information is learned and verified
         and after discovery or other information is obtained.

      3. The name of each victim is indicated on the attached hereto as can be found on
         the More Definite Statement, Victims List (“Victims List”). The victims consist
         of (1) all spouses, children, parents, siblings, or heirs of any individual who died at the
         World Trade Center in New York, NY, the Pentagon Building in Arlington County,
         Virginia, or in the airliner crash in Shanksville, Pennsylvania, as the result of terrorist
         attacks on September 11, 2001 (with the events at the World Trade Center in New
         York, N.Y., the Pentagon Building in Arlington County, Virginia, and the airliner
         crash in Shanksville, Pennsylvania, on September 11, 2001, and activities related
         thereto, collectively referred to herein as “Attack” or “Attacks”); and (2) all legal
         representatives (including executors, estate administrators and trustees) entitled to
         bring legal action on behalf of any individual who died as the result of terrorist
         attacks on September 11, 2001; but excluding (3) all individuals, and all spouses,
         children, parents, siblings, and legal representative of individuals identified by the
         Attorney General of the United States or otherwise shown to have perpetrated, aided
         and abetted, conspired in regard to, or otherwise supported the terrorist attacks of
         September 11, 2001. Victims List sets forth the names of the decedents killed by the
         attackers, with the category of “victims” further including their spouses, children,
         parents, siblings or heirs as set forth above.

      4. The manner in which the victims were injured consists of death, suffering caused by
         death, and all economic damages resulting from such deaths, and actions of the
         defendants and their co-conspirators as described herein.

      5. Please find below a description, in detail, of the pattern of racketeering activity
         for each RICO claim:

                                                             Page 1                                                   EXHIBIT
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
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Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page184
                                                                914ofof232
                                                                        962




                 a. The predicate acts and statutes in question include:

                           •     Conspiracy to commit murder - NY Penal § 105.15; NY Penal §
                                 125.25 (xi)
                           •     Conspiracy to commit arson - NY Penal § 105.15; NY Penal §
                                 150.15
                           •     Fraud with Identification - 18 U.S.C. § 1028
                           •     Mail Fraud - 18 U.S.C. § 1341
                           •     Wire Fraud - 18 U.S.C. § 1343
                           •     Financial Institution Fraud - 18 U.S.C. §1344
                           •     Illegal Transactions in Monetary Instruments - 18 U.S.C. § 1956
                           •     Money Laundering - 18 U.S.C. § 1957
                           •     Defrauding the United States Government - 18 U.S.C. § 371
                           •     Travel Act - 18 U.S.C. § 1952
                           •     Filing false or Materially False Tax Returns - 26 U.S.C. §
                                 7206(1),(2)
                           •     Engaging in a corrupt endeavor to impede and impairthe due
                                 administration of the internal revenue laws - 26 U.S.C. § 7212(a)
                           •     Providing Material Support of Terrorism - 18 U.S.C. §
                                 2332(b)(g)(5)(B), 18 U.S.C. § 2339A, 18 U.S.C. § 2339B, 18
                                 U.S.C. § 2339C

                 b. In the Mid 1990’s to September 11, 2002, Martin Wachter conducted or
                    participated, directly or indirectly, in the conduct of the Enterprise’s, as
                    defined supra, affairs and participated in the operation or management of
                    the operation of the Enterprise itself. Martin Wachter conspired to
                    conduct or participate, directly or indirectly, in the conduct of the
                    Enterprise’s affairs and conspired to participate in the operation or
                    management of the operation of the Enterprise itself. Throughout this
                    period, Martin Wachter conspired to support terrorism and to obfuscate
                    the roles of the various participants and conspirators in Radical Muslim
                    Terrorism, and/or al Qaida and/or the International Islamic Front for the
                    Jihad Against Jews and Crusaders, which conspiracy culminated in the
                    Attack.

                 c. The individual times, places, and contents of the alleged misconduct are
                    not all particularly known at this time.

                 d. The predicate act is not based upon a criminal conviction.
                                                             Page 2
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page185
                                                                915ofof232
                                                                        962




                 e. Civil litigation has not yet resulted in a judgment regarding the predicate
                    acts.

                 f. The predicate acts form a pattern of racketeering in that they are repeated,
                    ongoing, continuous, and are a part of the Enterprise’s regular way of
                    doing business. Other of the defendants consistently, evenly constantly,
                    laundered money, filed false tax returns, and otherwise impeded and
                    impaired the administration of the tax laws as part of their scheme to
                    conduit money to terrorists, and yet obfuscate their support of Radical
                    Muslim Terrorism and/or al Qaida and/or the International Islamic Front
                    for the Jihad Against Jews and Crusaders.

                 g. The predicate act relates to each other (horizontal relatedness) as part of a
                    common plan because each act of knowing and intentionally providing
                    financial services and money laundering and tax evasion allowed certain
                    of the defendants, specifically including Martin Wachter, to surreptiously
                    provide funds to terrorist organizations, including al Qaida, Radical
                    Muslim Terrorism and/or the International Islamic Front for the Jihad
                    Against Jews and Crusaders, which conspiracy culminated in the Attacks.

      6. A description of the Enterprise is as follows:

                 a. The Enterprise (“Radical Muslim Terrorism” or “al Qaida” or
                    “International Islamic Front for the Jihad Against Jews and Crusaders”)
                    (“Enterprise”) is comprised of the defendants named in the Original
                    Complaint and any additional complaints filed in this action as well as the
                    defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi
                    Arabia, et al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill,
                    et al. v. Al Baraka, et al. (SDNY 04-CV-1923 (RCC)), and others, and is a
                    collection of the persons, organizations, businesses, and nations associated
                    in fact.

                 b. The Enterprise has its origins in the defeat of the Soviets in Afghanistan in
                    the late 1980s, when Osama Bin Ladin (“Bin Ladin”) formed an
                    organization called “The Foundation” or “al Qaida.” Al Qaida was
                    intended to serve as a foundation upon which to build a global Islamic
                    army. In February, 1998, a declaration was issued, following the holding
                    of a terrorist summit, announcing the formation of the International
                    Islamic Front for the Jihad Against Jews and Crusaders, the precursor of
                    which was the Muslim Brotherhood and the Islamic Jihad. The structure
                    of the Enterprise is an association in fact with common and complex goals
                    that consist of far more than the mere desire to perpetrate the acts of
                    racketeering outlined herein. Rather, the Enterprise utilizes acts of
                    racketeering to further its overall common purposes of: (i) spreading a
                    particularly virulent brand of radical, conservative Islam; (ii) eliminating
                    Western influences in Islamic countries, including Western influences that

                                                             Page 3
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page186
                                                                916ofof232
                                                                        962




                      are perceived to keep in power repressive Saudi-American regimes that
                      are not true to Islam; and (iii) punishing Israel, and the United States for
                      its perceived support of Israel. Radical Muslim Terrorism, and/or al Qaida
                      and/or the International Islamic Front for the Jihad Against Jews and
                      Crusaders, does not feature a centralized hierarchy, because the lack of a
                      centralized hierarchy is essential to the Enterprise’s clandestine nature and
                      its success. Thus, although al Qaida, for example, had its own
                      membership roster and a structure of “committees” to guide and oversee
                      such functions as training terrorists, proposing targets, financing
                      operations, and issuing edicts, the committees were not a hierarchical
                      chain of command but were instead a means for coordinating functions
                      and providing material support to operations. Martin Wachter fit neatly
                      into this framework by raising funds for and providing funding to and
                      otherwise providing material support for the members of the Enterprise
                      who engaged in the Attack.

                      The Enterprise is a sophisticated global terrorist network which uses a
                      variety of business and financial transactions to further its operations.
                      These transactions include but are not limited to transferring funds
                      between accounts to purchase communications equipment, electronics
                      equipment, and land (for use as training camps and to store explosives and
                      weapons). These transactions are accomplished through, inter alia, the
                      use of wire transfers and electronic transmissions.

                      On information and belief, at the time of the September 11th attack, the al
                      Qaida’s annual income was approximately $50 million and its assets over
                      a ten-year period ranged between $300 and $500 million dollars. The
                      Enterprise relies upon a global network of banks and financial institutions,
                      including Martin Wachter, and illegal activity to generate material support
                      to continue its terrorist operations.

                 c. Martin Wachter was not an employee, officer or director of the Enterprise,
                    based upon present information available. Martin Wachter is associated
                    with the alleged Enterprise. Martin Wachter is a member of the
                    Enterprise, and is separate and distinct from the Enterprise. Martin
                    Wachter intended to further the Attack and adopted the goal of furthering
                    and/or facilitating that criminal endeavor, which criminal activity
                    culminated in the Attack.

      7. The pattern of racketeering activity conducted by Martin Wachter is separate from
         the existence of Radical Muslim Terrorism, and/or the Al Qaida, and/or the
         International Islamic Front for the Jihad Against Jews and Crusaders, but was a
         necessary component to the Attack.

      8. The Enterprise conducts terrorism all over the world; the racketeering activity
         conducted by Martin Wachter funds that activity, which activity culminated in the

                                                             Page 4
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page187
                                                                917ofof232
                                                                        962




           Attack. The usual and daily activities of the Enterprise include recruitment,
           indoctrination, and the provisioning and operation of training camps, all of which
           activities are funded by the racketeering activities described herein.

      9. The Enterprise benefits by spreading its ideology, by suppressing other forms of
         Islam, and through the gratification of destroying its perceived enemies.

      10. The Enterprise, and the racketeering activities conducted by Martin Wachter,
          relies heavily on the American interstate system of commerce for banking,
          supplies, communications, and virtually all its essential commercial functions, and
          in that manner affects interstate commerce. The Enterprise and the racketeering
          activities conducted, engaged in, and/or transacted business within and in the
          United States and elsewhere, and utilized, possessed, used, transferred, owned,
          leased, operated, and/or controlled assets in the United States and elsewhere.
          Furthermore, activities and actions of the Enterprise affect interstate commerce as
          demonstrated by the Attack itself, which caused damage to the United States
          economy and property and businesses situate therein. See Rasul v. Bush, 124 S.
          Ct. 2686, No. 03-334, 2004 U.S. LEXIS 4760, *8 (stating that the Attack
          “severely damaged the United States economy”).

      11. Martin Wachter acquired or maintained an interest or control in the Enterprise.

      12. With respect to the alleged violation of 18 U.S.C. § 1962(c), the following is
          asserted:

                 a. Radical Muslim Terrorism, and/or the al Qaida, and/or the International
                    Islamic Front for the Jihad Against Jews and Crusaders “employs” certain
                    individuals, only a few of whose identities are known, including defendant
                    Osama Bin Ladin.

                 b. The Enterprise, Radical Muslim Terrorism, and/or al Qaida, and/or the
                    International Islamic Front for the Jihad Against Jews and the Crusaders,
                    is comprised of the defendants named in the Complaint, the First
                    Amended Complaint, the Second Amended Complaint and any additional
                    complaints filed in this action as well as the defendants in Estate of John
                    P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al. (SDNY 04-CV-
                    1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka, et al.
                    (SDNY 04-CV-1923 (RCC)), among others, and is a collection of the
                    persons, organizations, businesses, and nations associated in fact. The
                    liable persons are the enterprise and that which makes up the enterprise.

      13. The conspiracy which violates 18 U.S.C. §1962(d) is described as follows:

                 a. The history of the conspiracy, in violation of 18 U.S.C. § 1962(d), behind
                    Radical Muslim Terrorism, or the al Qaida, or the International Islamic
                    Front for the Jihad Against Jews and Crusaders could, and has, filled many
                    books, but for purposes of the present RICO Statement, the following is
                                                             Page 5
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page188
                                                                918ofof232
                                                                        962




                      offered. After being turned out of the Sudan in May 1996, al Qaida
                      established itself in Afghanistan, and relied on well-placed financial
                      facilitators, including Martin Wachter, who laundered funds from Islamic
                      so-called charities and corporations and raised money from witting and
                      unwitting donors. They also relied heavily on certain imams at mosques
                      who were willing to divert the Zakat, the mandatory charitable
                      contributions required of all Muslims. Radical Muslim Terrorism, and/or
                      al Qaida, and/or the International Islamic Front for the Jihad Against Jews
                      and Crusaders also collected money from employees of corrupted
                      charities. The money raised from these various sources (the “Funds”),
                      including Martin Wachter, were used by the Enterprise to accomplish its
                      goals, with the knowledge and awareness of Martin Wachter, of both those
                      goals and the uses to which the Funds were put.

                 b. The Funds were used to organize and conduct a complex international
                    terrorist operation intended to inflict catastrophic harm on the United
                    States. The Funds enabled the Enterprise to identify, recruit, groom and
                    train leaders who were able to evaluate, approve and supervise the
                    planning and direction of the Enterprise. The Funds also provided
                    communications sufficient system that gathered information on and
                    formed assessments of the Enterprise’s enemies’ strengths and
                    weaknesses.

                 c. The Funds enabled the Enterprise to establish a personnel system by
                    which, among other things, it recruited and trained persons to inflict the
                    harm (the “Operatives”) and provided planning and direction to the
                    Operatives. The funds thus raised were used to, among other things,
                    operate terrorist training camps in Afghanistan, where some recruits were
                    trained in conventional warfare but where the best and most zealous
                    recruits received terrorist training. The curriculum in the camps placed
                    with great emphasis on ideological and religious indoctrination. All
                    trainees and other personnel were encouraged to think creatively about
                    ways to commit mass murder.

                 d. The camps were able to operate only because of the worldwide network of
                    recruiters, travel facilitators, and document forgers who vetted recruits and
                    helped them get in and out of Afghanistan. From the ranks of these
                    recruits the nineteen perpetrators of the Attack were selected. None of this
                    would have been possible without the funds supplied by participants and
                    conspirators like Martin Wachter. Indeed, the Enterprise would not have
                    been successful without enthusiastic participation of all of the
                    conspirators, including Martin Wachter. In order to identify nineteen
                    individuals willing, able and competent to carry out the Attack, Radical
                    Muslim Terrorism, and/or the al Qaida, and/or the International Islamic
                    Front for the Jihad Against Jews and Crusaders needed to select from a
                    vast pool of recruits and trainees, which pool would not have been
                                                             Page 6
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page189
                                                                919ofof232
                                                                        962




                      available to it without the assistance provided by Martin Wachter. Martin
                      Wachter, with knowledge and intent, agreed to the overall objectives of
                      the conspiracy, and agreed to commit at least two predicate acts and all
                      agreed to participate in the conspiracy, either expressly or impliedly.
                      Martin Wachter conducted or participated, directly or indirectly, in the
                      conduct of the Enterprise’s affairs and participated in the operation or
                      management of the operation of the Enterprise itself. Martin Wachter
                      conspired to conduct or participate, directly or indirectly, in the conduct of
                      the Enterprise’s affairs and conspired to participate in the operation or
                      management of the operation of the Enterprise itself. Martin Wachter also,
                      with knowledge and intent, agreed to and did aid and abet all of the above
                      illegal activities, RICO predicate acts, and RICO violations.

      14. The injuries to business or property suffered by the O’Neill Plaintiff’s resulting
          from the September 11th attack include economic damages, including but not
          limited, to pecuniary losses, past and future wage losses and profits, loss of
          business opportunities, loss of and/or damage to tangible and intangible personal
          property, loss of currency, loss of support, funeral and burial expenses, loss of
          prospective inheritance, and loss of other economic contributions to the
          Plaintiffs’/Decedents’ households. Additionally, the Attack itself was intended to
          destroy the leading symbol of the United States’ leadership in world trade – The
          World Trade Center - and as such, affected the O’Neill Plaintiff’s jobs,
          businesses, and livelihoods.

      15. Plaintiffs’ damages – the loss of life and the damages to business and property
          related thereto that resulted from the actions of the defendants and their co-
          conspirators, are a direct causal relationship to the violation of the RICO statute,
          and are not a derivative claim of damage to a third party. The Plaintiffs, both
          named and as a class, as described in the complaint, as amended, were the
          “reasonably foreseeable victims of a RICO violation” and the “intended victims
          of the racketeering enterprise,” (that is, terrorism, the culmination of which was
          the Attack).

      16. Each defendant is jointly and severally liable for all damages sustained by each
          plaintiff subject to the description of victims set forth in paragraph 4 hereof, for
          the loss of life, and the economic damages, including but not limited, to pecuniary
          losses, past and future wage losses and profits, loss of business opportunities, loss
          of and/or damage to tangible and intangible personal property, loss of currency,
          loss of support, funeral and burial expenses, loss of prospective inheritance, and
          loss of other economic contributions to the Plaintiffs’/Decedents’ households.
          The damages for the plaintiffs’ collectively are to be determined at trial, and are
          in excess of $10,000,000,000.00 prior to trebling, punitive damages, interest, legal
          fees, and the costs of this suit.




                                                             Page 7
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page190
                                                                920ofof232
                                                                        962




      17. The federal causes of action against Martin Wachter are as follows: Count Eight,
          Anti-Terrorism Act, 18 U.S.C. § 2331, 2333, et. seq.; Count Nine, RICO, 18
          U.S.C. § 1962(b),1962(c), 1962(d).

      18. The state causes of action are as follows: Count One, Wrongful Death; Count
          Two, Survival; Count Three, Action for Economic Damages; Count Four,
          Intentional Infliction of Emotional Distress; Count Five, Loss of Consortium;
          Count Six, Loss of Solatium; Count Seven, Conspiracy; Count Ten, Punitive
          Damages .

      19. Martin Wachter has long provided financial support and other forms of material
          support to terrorist organizations including Radical Muslim Terrorism, or the al
          Qaida, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders. Martin Wachter conducted or participated, directly or indirectly, in the
          conduct of the Enterprise’s affairs and participated in the operation or
          management of the operation of the Enterprise itself. Martin Wachter conspired
          to conduct or participate, directly or indirectly, in the conduct of the Enterprise’s
          affairs and conspired to participate in the operation or management of the
          operation of the Enterprise itself.

      20. Plaintiffs hereby incorporate all allegations, claims and counts contained in
          Plaintiff’s Complaint, as amended.

      21. Martin Wachter is the director of Asat Trust, a co-defendant in the above-
          referenced cases.1 Additionally, available information reveals a pattern of activity
          over a period of many years of the Wachters, both Martin Wachter and his father,
          Erwin Wachter (collectively referred to as “Wachters”), working at the same
          address registered to Asat Trust.

      22. Martin Wachter is an owner of Sercor Treuhand Anstalt, a co-defendant in the
          above-referenced cases.2


 1
   Specific misconduct regarding Asat Trust, a co-defendant herein, is provided via a More
 Definite Statement Applicable to Asat Trust. Plaintiffs herein incorporate by reference
 throughout this document the factual averments and arguments which are contained within its
 More Definite Statement Applicable to Asat Trust, relating to Estate of John P. O’Neill, et al. v.
 Al Baraka, et al., 04-CV-1923 (RCC) and Estate of John P. O’Neill, et al. v. Iraq, et al. 04-CV
 1076.
 2
   Specific misconduct regarding Sercor Treuhand Anstalt (“Sercor”), a co-defendant herein, is
 provided via More Definite Statement Applicable to Sercor Treuhand Anstalt. Plaintiffs herein
 incorporate by reference throughout this document the factual averments and arguments which
 are contained within its More Definite Statement Applicable to Sercor, relating to Estate of John
 P. O’Neill, et al. v. Al Baraka, et al., 04-CV-1923 (RCC) and Estate of John P. O’Neill, et al. v.
 Iraq, et al. 04-CV 1076.


                                                             Page 8
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page191
                                                                921ofof232
                                                                        962




      23. As a director and owner of Asat Trust and Secor Treuhand Anstalt, Martin
          Wachter oversaw the activities and had knowledge of the activities that supported
          the al Qaida and/or Radical Muslim Terrorism and/or the International Islamic
          Front for the Jihad Against Jews and Crusaders.

      24. Martin Wachter has long known that accounts, under his control, which were
          maintained, and assisted, were being used to solicit and transfer funds to terrorist
          organizations, including al Qaida and/or Radical Muslim Terrorism and/or the
          International Islamic Front for the Jihad Against Jews and Crusaders. Despite this
          knowledge, Martin Wachter continued to permit, make available, assist, and
          maintain those accounts.

      25. Available information demonstrates that there has been activities between the
          Wachters and Al Taqwa Bank, a co-defendant in the above- referenced cases who
          has been significantly linked to activities and supporting the al Qaida, and/or
          Radical Muslim Terrorism, and/or the International Islamic Front for the Jihad
          Against Jews and Crusaders. Al Taqwa’s assets were frozen by the Office of
          Foreign Assets Control, as a Designated Terrorist Organization, by Executive
          Order #13224. Additionally, there is information which places the Wachters at
          working on behalf of Al Taqwa Bank in Nassau, Bahamas.

      26. There is also information which links the Wachters to Al Taqwa and its
          executives, Youssef M. Nada, Ali Ghaleb Himmat, Nasreddin, and Albert
          Friedrich Armand Huber, co-defendants in the above-referenced cases which have
          been linked to funding and supporting the al Qaida, and/or Radical Muslim
          Terrorism, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders.

      27. Based upon information and belief, the Wachters were involved in laundering
          funds on behalf of the Food-for-Oil program and moving the money through Al
          Taqwa.

      28. As the foregoing demonstrates, Martin Wachter thereby knowingly has, for a
          period of many years, provided critical financial and logistical support to al
          Qaida, and/or Radical Muslim Terrorism, and/or the International Islamic Front
          for the Jihad Against Jews and Crusaders, to support the terrorist organization’s
          global jihad. The September 11th Attack was a direct, intended and foreseeable
          product of Martin Wachter’s participation in the jihadist campaign for al Qaida,
          and/or Radical Muslim Terrorism, and/or the International Islamic Front for the
          Jihad Against Jews and Crusaders.

      29. Given the extraordinarily complex nature of the conspiracy and other wrongdoing
          that led to the events of September 11, 2001, much information is presently
          unavailable to plaintiffs, absent discovery. Plaintiffs therefore reserve the right to
          amend this Statement as information is learned and verified through discovery
          and otherwise.

                                                             Page 9
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page192
                                                                922ofof232
                                                                        962




      Date: September 30, 2005




                                            LAW OFFICES OF JERRY S. GOLDMAN
                                                 & ASSOCIATES, P.C.



                                                   BY:______________________________________
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                                                     JERRY S. GOLDMAN, ESQUIRE (JG 8445)
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                                                            Page 10
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\C_MWachter- More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page193
                                                                923ofof232
                                                                        962




  PLAINTIFFS’ MORE DEFINITE STATEMENT/ADDITIONAL ALLEGATIONS AS
   TO DEFENDANTS SCHREIBER AND ZINDEL, FRANK ZINDEL, ENGELBERT
               SCHREIBER, AND ENGELBERT SCHREIBER, JR.

      1. The name of the defendant to whom this Statement pertains is Schreiber and
         Zindel, Frank Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr.. The
         alleged misconduct and basis for liability is set forth below as well as described
         elsewhere in the Complaint, as amended.

      2. All known wrongdoers are named as defendants in this action, as well as the
         defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et
         al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka,
         et al. (SDNY 04-CV-1923 (RCC)), other cases brought by other plaintiffs in In Re
         Terrorist Attacks on September 11, 2001 (03-MDL-1570 (RCC)), and others.
         Plaintiffs will separately file Statements with respect to the misconduct of certain
         of the other defendants. Given the vastly complicated nature of the conspiracy
         and other wrongdoing that led to the events of September 11, 2001, however,
         much information is unavailable to plaintiffs, and the identities of other
         wrongdoers may be revealed through discovery or otherwise. Plaintiffs therefore
         reserve the right to amend this Statement as information is learned and verified
         and after discovery or other information is obtained.

      3. The name of each victim is indicated on the attached hereto as can be found on
         the More Definite Statement, Victims List (“Victims List”). The victims consist
         of (1) all spouses, children, parents, siblings, or heirs of any individual who died at the
         World Trade Center in New York, NY, the Pentagon Building in Arlington County,
         Virginia, or in the airliner crash in Shanksville, Pennsylvania, as the result of terrorist
         attacks on September 11, 2001 (with the events at the World Trade Center in New
         York, N.Y., the Pentagon Building in Arlington County, Virginia, and the airliner
         crash in Shanksville, Pennsylvania, on September 11, 2001, and activities related
         thereto, collectively referred to herein as “Attack” or “Attacks”); and (2) all legal
         representatives (including executors, estate administrators and trustees) entitled to
         bring legal action on behalf of any individual who died as the result of terrorist
         attacks on September 11, 2001; but excluding (3) all individuals, and all spouses,
         children, parents, siblings, and legal representative of individuals identified by the
         Attorney General of the United States or otherwise shown to have perpetrated, aided
         and abetted, conspired in regard to, or otherwise supported the terrorist attacks of
         September 11, 2001. Victims List sets forth the names of the decedents killed by the
         attackers, with the category of “victims” further including their spouses, children,
         parents, siblings or heirs as set forth above.

      4. The manner in which the victims were injured consists of death, suffering caused by
         death, and all economic damages resulting from such deaths, and actions of the
         defendants and their co-conspirators as described herein.



                                                             Page 1                                                  EXHIBIT
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page194
                                                                924ofof232
                                                                        962




      5. Please find below a description, in detail, of the pattern of racketeering activity
         for each RICO claim:

                 a. The predicate acts and statutes in question include:

                            •    Conspiracy to commit murder - NY Penal § 105.15; NY Penal §
                                 125.25 (xi)
                            •    Conspiracy to commit arson - NY Penal § 105.15; NY Penal §
                                 150.15
                            •    Fraud with Identification - 18 U.S.C. § 1028
                            •    Mail Fraud - 18 U.S.C. § 1341
                            •    Wire Fraud - 18 U.S.C. § 1343
                            •    Financial Institution Fraud - 18 U.S.C. §1344
                            •    Illegal Transactions in Monetary Instruments - 18 U.S.C. § 1956
                            •    Money Laundering - 18 U.S.C. § 1957
                            •    Defrauding the United States Government - 18 U.S.C. § 371
                            •    Travel Act - 18 U.S.C. § 1952
                            •    Filing false or Materially False Tax Returns - 26 U.S.C. §
                                 7206(1),(2)
                            •    Engaging in a corrupt endeavor to impede and impairthe due
                                 administration of the internal revenue laws - 26 U.S.C. § 7212(a)
                            •    Providing Material Support of Terrorism - 18 U.S.C. §
                                 2332(b)(g)(5)(B), 18 U.S.C. § 2339A, 18 U.S.C. § 2339B, 18
                                 U.S.C. § 2339C

                 b. In the Mid 1990’s to September 11, 2002, Schreiber and Zindel, Frank
                    Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr. conducted or
                    participated, directly or indirectly, in the conduct of the Enterprise’s, as
                    defined supra 5, affairs and participated in the operation or management
                    of the operation of the Enterprise itself. Schreiber and Zindel, Frank
                    Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr. conspired to
                    conduct or participate, directly or indirectly, in the conduct of the
                    Enterprise’s affairs and conspired to participate in the operation or
                    management of the operation of the Enterprise itself. Throughout this
                    period, Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and
                    Engelbert Schreiber, Jr. conspired to support terrorism and to obfuscate
                    the roles of the various participants and conspirators in Radical Muslim
                    Terrorism, and/or al Qaida and/or the International Islamic Front for the

                                                             Page 2
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page195
                                                                925ofof232
                                                                        962




                      Jihad Against Jews and Crusaders, which conspiracy culminated in the
                      Attack.

                 c. The individual times, places, and contents of the alleged misconduct are
                    not all particularly known at this time.

                 d. The predicate act is not based upon a criminal conviction.

                 e. Civil litigation has not yet resulted in a judgment regarding the predicate
                    acts.

                 f. The predicate acts form a pattern of racketeering in that they are repeated,
                    ongoing, continuous, and are a part of the Enterprise’s regular way of
                    doing business. Other of the defendants consistently, evenly constantly,
                    laundered money, filed false tax returns, and otherwise impeded and
                    impaired the administration of the tax laws as part of their scheme to
                    conduit money to terrorists, and yet obfuscate their support of Radical
                    Muslim Terrorism and/or al Qaida and/or the International Islamic Front
                    for the Jihad Against Jews and Crusaders.

                 g. The predicate act relates to each other (horizontal relatedness) as part of a
                    common plan because each act of knowing and intentionally providing
                    financial services and money laundering and tax evasion allowed certain
                    of the defendants, specifically including Schreiber and Zindel, Frank
                    Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr., to surreptiously
                    provide funds to terrorist organizations, including al Qaida, Radical
                    Muslim Terrorism and/or the International Islamic Front for the Jihad
                    Against Jews and Crusaders, which conspiracy culminated in the Attacks.

      6. A description of the Enterprise is as follows:

                 a. The Enterprise (“Radical Muslim Terrorism” or “al Qaida” or
                    “International Islamic Front for the Jihad Against Jews and Crusaders”)
                    (“Enterprise”) is comprised of the defendants named in the Original
                    Complaint and any additional complaints filed in this action as well as the
                    defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi
                    Arabia, et al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill,
                    et al. v. Al Baraka, et al. (SDNY 04-CV-1923 (RCC)), and others, and is a
                    collection of the persons, organizations, businesses, and nations associated
                    in fact.

                 b. The Enterprise has its origins in the defeat of the Soviets in Afghanistan in
                    the late 1980s, when Osama Bin Ladin (“Bin Ladin”) formed an
                    organization called “The Foundation” or “al Qaida.” Al Qaida was
                    intended to serve as a foundation upon which to build a global Islamic
                    army. In February, 1998, a declaration was issued, following the holding
                    of a terrorist summit, announcing the formation of the International
                                                             Page 3
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page196
                                                                926ofof232
                                                                        962




                      Islamic Front for the Jihad Against Jews and Crusaders, the precursor of
                      which was the Muslim Brotherhood and the Islamic Jihad. The structure
                      of the Enterprise is an association in fact with common and complex goals
                      that consist of far more than the mere desire to perpetrate the acts of
                      racketeering outlined herein. Rather, the Enterprise utilizes acts of
                      racketeering to further its overall common purposes of: (i) spreading a
                      particularly virulent brand of radical, conservative Islam; (ii) eliminating
                      Western influences in Islamic countries, including Western influences that
                      are perceived to keep in power repressive Saudi-American regimes that
                      are not true to Islam; and (iii) punishing Israel, and the United States for
                      its perceived support of Israel. Radical Muslim Terrorism, and/or al Qaida
                      and/or the International Islamic Front for the Jihad Against Jews and
                      Crusaders, does not feature a centralized hierarchy, because the lack of a
                      centralized hierarchy is essential to the Enterprise’s clandestine nature and
                      its success. Thus, although al Qaida, for example, had its own
                      membership roster and a structure of “committees” to guide and oversee
                      such functions as training terrorists, proposing targets, financing
                      operations, and issuing edicts, the committees were not a hierarchical
                      chain of command but were instead a means for coordinating functions
                      and providing material support to operations. Schreiber and Zindel, Frank
                      Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr. fit neatly into this
                      framework by raising funds for and providing funding to and otherwise
                      providing material support for the members of the Enterprise who engaged
                      in the Attack.

                      The Enterprise is a sophisticated global terrorist network which uses a
                      variety of business and financial transactions to further its operations.
                      These transactions include but are not limited to transferring funds
                      between accounts to purchase communications equipment, electronics
                      equipment, and land (for use as training camps and to store explosives and
                      weapons). These transactions are accomplished through, inter alia, the
                      use of wire transfers and electronic transmissions.

                      On information and belief, at the time of the September 11th attack, the al
                      Qaida’s annual income was approximately $50 million and its assets over
                      a ten-year period ranged between $300 and $500 million dollars. The
                      Enterprise relies upon a global network of banks and financial institutions,
                      including Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and
                      Engelbert Schreiber, Jr., and illegal activity to generate material support to
                      continue its terrorist operations.

                 c. Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and Engelbert
                    Schreiber, Jr. was not an employee, officer or director of the Enterprise,
                    based upon present information available. Schreiber and Zindel, Frank
                    Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr. is associated with
                    the alleged Enterprise. Schreiber and Zindel, Frank Zindel, Engelbert
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 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page197
                                                                927ofof232
                                                                        962




                      Schreiber and Engelbert Schreiber, Jr. is a member of the Enterprise, and
                      is separate and distinct from the Enterprise. Schreiber and Zindel, Frank
                      Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr. intended to
                      further the Attack and adopted the goal of furthering and/or facilitating
                      that criminal endeavor, which criminal activity culminated in the Attack.

      7. The pattern of racketeering activity conducted by Schreiber and Zindel, Frank
         Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr. is separate from the
         existence of Radical Muslim Terrorism, and/or the Al Qaida, and/or the
         International Islamic Front for the Jihad Against Jews and Crusaders, but was a
         necessary component to the Attack.

      8. The Enterprise conducts terrorism all over the world; the racketeering activity
         conducted by Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and
         Engelbert Schreiber, Jr. funds that activity, which activity culminated in the
         Attack. The usual and daily activities of the Enterprise include recruitment,
         indoctrination, and the provisioning and operation of training camps, all of which
         activities are funded by the racketeering activities described herein.

      9. The Enterprise benefits by spreading its ideology, by suppressing other forms of
         Islam, and through the gratification of destroying its perceived enemies.

      10. The Enterprise, and the racketeering activities conducted by Schreiber and Zindel,
          Frank Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr., relies heavily on
          the American interstate system of commerce for banking, supplies,
          communications, and virtually all its essential commercial functions, and in that
          manner affects interstate commerce. The Enterprise and the racketeering
          activities conducted, engaged in, and/or transacted business within and in the
          United States and elsewhere, and utilized, possessed, used, transferred, owned,
          leased, operated, and/or controlled assets in the United States and elsewhere.
          Furthermore, activities and actions of the Enterprise affect interstate commerce as
          demonstrated by the Attack itself, which caused damage to the United States
          economy and property and businesses situate therein. See Rasul v. Bush, 124 S.
          Ct. 2686, No. 03-334, 2004 U.S. LEXIS 4760, *8 (stating that the Attack
          “severely damaged the United States economy”).

      11. Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and Engelbert Schreiber,
          Jr. acquired or maintained an interest or control in the Enterprise.

      12. With respect to the alleged violation of 18 U.S.C. § 1962(c), the following is
          asserted:

                 a. Radical Muslim Terrorism, and/or the al Qaida, and/or the International
                    Islamic Front for the Jihad Against Jews and Crusaders “employs” certain
                    individuals, only a few of whose identities are known, including defendant
                    Osama Bin Ladin.

                                                             Page 5
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page198
                                                                928ofof232
                                                                        962




                 b. The Enterprise, Radical Muslim Terrorism, and/or al Qaida, and/or the
                    International Islamic Front for the Jihad Against Jews and the Crusaders,
                    is comprised of the defendants named in the Complaint, the First
                    Amended Complaint, the Second Amended Complaint and any additional
                    complaints filed in this action as well as the defendants in Estate of John
                    P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al. (SDNY 04-CV-
                    1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka, et al.
                    (SDNY 04-CV-1923 (RCC)), among others, and is a collection of the
                    persons, organizations, businesses, and nations associated in fact. The
                    liable persons are the enterprise and that which makes up the enterprise.

      13. The conspiracy which violates 18 U.S.C. §1962(d) is described as follows:

                 a. The history of the conspiracy, in violation of 18 U.S.C. § 1962(d), behind
                    Radical Muslim Terrorism, or the al Qaida, or the International Islamic
                    Front for the Jihad Against Jews and Crusaders could, and has, filled many
                    books, but for purposes of the present RICO Statement, the following is
                    offered. After being turned out of the Sudan in May 1996, al Qaida
                    established itself in Afghanistan, and relied on well-placed financial
                    facilitators, including Schreiber and Zindel, Frank Zindel, Engelbert
                    Schreiber and Engelbert Schreiber, Jr., who laundered funds from Islamic
                    so-called charities and corporations and raised money from witting and
                    unwitting donors. They also relied heavily on certain imams at mosques
                    who were willing to divert the Zakat, the mandatory charitable
                    contributions required of all Muslims. Radical Muslim Terrorism, and/or
                    al Qaida, and/or the International Islamic Front for the Jihad Against Jews
                    and Crusaders also collected money from employees of corrupted
                    charities. The money raised from these various sources (the “Funds”),
                    including Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and
                    Engelbert Schreiber, Jr., were used by the Enterprise to accomplish its
                    goals, with the knowledge and awareness of Schreiber and Zindel, Frank
                    Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr., of both those
                    goals and the uses to which the Funds were put.

                 b. The Funds were used to organize and conduct a complex international
                    terrorist operation intended to inflict catastrophic harm on the United
                    States. The Funds enabled the Enterprise to identify, recruit, groom and
                    train leaders who were able to evaluate, approve and supervise the
                    planning and direction of the Enterprise. The Funds also provided
                    communications sufficient system that gathered information on and
                    formed assessments of the Enterprise’s enemies’ strengths and
                    weaknesses.

                 c. The Funds enabled the Enterprise to establish a personnel system by
                    which, among other things, it recruited and trained persons to inflict the
                    harm (the “Operatives”) and provided planning and direction to the

                                                             Page 6
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page199
                                                                929ofof232
                                                                        962




                      Operatives. The funds thus raised were used to, among other things,
                      operate terrorist training camps in Afghanistan, where some recruits were
                      trained in conventional warfare but where the best and most zealous
                      recruits received terrorist training. The curriculum in the camps placed
                      with great emphasis on ideological and religious indoctrination. All
                      trainees and other personnel were encouraged to think creatively about
                      ways to commit mass murder.

                 d. The camps were able to operate only because of the worldwide network of
                    recruiters, travel facilitators, and document forgers who vetted recruits and
                    helped them get in and out of Afghanistan. From the ranks of these
                    recruits the nineteen perpetrators of the Attack were selected. None of this
                    would have been possible without the funds supplied by participants and
                    conspirators like Schreiber and Zindel, Frank Zindel, Engelbert Schreiber
                    and Engelbert Schreiber, Jr.. Indeed, the Enterprise would not have been
                    successful without enthusiastic participation of all of the conspirators,
                    including Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and
                    Engelbert Schreiber, Jr.. In order to identify nineteen individuals willing,
                    able and competent to carry out the Attack, Radical Muslim Terrorism,
                    and/or the al Qaida, and/or the International Islamic Front for the Jihad
                    Against Jews and Crusaders needed to select from a vast pool of recruits
                    and trainees, which pool would not have been available to it without the
                    assistance provided by Schreiber and Zindel, Frank Zindel, Engelbert
                    Schreiber and Engelbert Schreiber, Jr.. Schreiber and Zindel, Frank
                    Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr., with knowledge
                    and intent, agreed to the overall objectives of the conspiracy, and agreed to
                    commit at least two predicate acts and all agreed to participate in the
                    conspiracy, either expressly or impliedly. Schreiber and Zindel, Frank
                    Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr. conducted or
                    participated, directly or indirectly, in the conduct of the Enterprise’s
                    affairs and participated in the operation or management of the operation of
                    the Enterprise itself. Schreiber and Zindel, Frank Zindel, Engelbert
                    Schreiber and Engelbert Schreiber, Jr. conspired to conduct or participate,
                    directly or indirectly, in the conduct of the Enterprise’s affairs and
                    conspired to participate in the operation or management of the operation
                    of the Enterprise itself. Schreiber and Zindel, Frank Zindel, Engelbert
                    Schreiber and Engelbert Schreiber, Jr. also, with knowledge and intent,
                    agreed to and did aid and abet all of the above illegal activities, RICO
                    predicate acts, and RICO violations.

      14. The injuries to business or property suffered by the O’Neill Plaintiff’s resulting
          from the September 11th attack include economic damages, including but not
          limited, to pecuniary losses, past and future wage losses and profits, loss of
          business opportunities, loss of and/or damage to tangible and intangible personal
          property, loss of currency, loss of support, funeral and burial expenses, loss of
          prospective inheritance, and loss of other economic contributions to the
                                                             Page 7
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page200
                                                                930ofof232
                                                                        962




           Plaintiffs’/Decedents’ households. Additionally, the Attack itself was intended to
           destroy the leading symbol of the United States’ leadership in world trade – The
           World Trade Center - and as such, affected the O’Neill Plaintiff’s jobs,
           businesses, and livelihoods.

      15. Plaintiffs’ damages – the loss of life and the damages to business and property
          related thereto that resulted from the actions of the defendants and their co-
          conspirators, are a direct causal relationship to the violation of the RICO statute,
          and are not a derivative claim of damage to a third party. The Plaintiffs, both
          named and as a class, as described in the complaint, as amended, were the
          “reasonably foreseeable victims of a RICO violation” and the “intended victims
          of the racketeering enterprise,” (that is, terrorism, the culmination of which was
          the Attack).

      16. Each defendant is jointly and severally liable for all damages sustained by each
          plaintiff subject to the description of victims set forth in paragraph 4 hereof, for
          the loss of life, and the economic damages, including but not limited, to pecuniary
          losses, past and future wage losses and profits, loss of business opportunities, loss
          of and/or damage to tangible and intangible personal property, loss of currency,
          loss of support, funeral and burial expenses, loss of prospective inheritance, and
          loss of other economic contributions to the Plaintiffs’/Decedents’ households.
          The damages for the plaintiffs’ collectively are to be determined at trial, and are
          in excess of $10,000,000,000.00 prior to trebling, punitive damages, interest, legal
          fees, and the costs of this suit.

      17. The Federal Causes of Action Against Schreiber and Zindel, Frank Zindel,
          Engelbert Schreiber and Engelbert Schreiber, Jr. are as follows: Count Eight,
          Anti-Terrorism Act, 18 U.S.C. § 2331, 2333, et. seq.; Count Nine, RICO, 18
          U.S.C. § 1962(b),1962(c), 1962(d).

      18. The state causes of action are as follows: Count One, Wrongful Death; Count
          Two, Survival; Count Three, Action for Economic Damages; Count Four,
          Intentional Infliction of Emotional Distress; Count Five, Loss of Consortium;
          Count Six, Loss of Solatium; Count Seven, Conspiracy; Count Ten, Punitive
          Damages .

      19. Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and Engelbert Schreiber,
          Jr. has long provided financial support and other forms of material support to
          terrorist organizations including Radical Muslim Terrorism, or the al Qaida,
          and/or the International Islamic Front for the Jihad Against Jews and Crusaders.
          Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and Engelbert Schreiber,
          Jr. conducted or participated, directly or indirectly, in the conduct of the
          Enterprise’s affairs and participated in the operation or management of the
          operation of the Enterprise itself. Schreiber and Zindel, Frank Zindel, Engelbert
          Schreiber and Engelbert Schreiber, Jr. conspired to conduct or participate, directly


                                                             Page 8
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page201
                                                                931ofof232
                                                                        962




           or indirectly, in the conduct of the Enterprise’s affairs and conspired to participate
           in the operation or management of the operation of the Enterprise itself.

      20. Plaintiffs hereby incorporate all allegations, claims and counts contained in
          Plaintiff’s Complaint, as amended.

      21. Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and Engelbert Schreiber,
          Jr. have long provided financial support and other forms of material support to
          terrorist organizations including Radical Muslim Terrorism, or the al Qaida,
          and/or the International Islamic Front for the Jihad Against Jews and Crusaders.
          Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and Engelbert Schreiber,
          Jr. conducted or participated, directly or indirectly, in the conduct of the
          Enterprise’s affairs and participated in the operation or management of the
          operation of the Enterprise itself. Schreiber and Zindel, Frank Zindel, Engelbert
          Schreiber and Engelbert Schreiber, Jr. conspired to conduct or participate, directly
          or indirectly, in the conduct of the Enterprise’s affairs and conspired to participate
          in the operation or management of the operation of the Enterprise itself.

      22. For many years, the firm of Schreiber and Zindel has been used to launder money
          for Abdullah Omar Naseef, an individual associated with the SAAR Foundation
          and Rabita Trust1, both of which are co-defendants in the above-referenced
          actions. Laundering the money occurred through the Al Taqwa Bank, also a co-
          defendant in the above-referenced cases. All three entities, SAAR, Rabita Trust
          and Al Taqwa Bank have been sanctioned by the U.S. Government.

      23. Documents from the Government of Liechtenstein reveal that Schreiber and
          Zindel were “gatekeepers” for laundering funds through Al Taqwa for terrorist
          recipients, for many years. Some sources in Liechtenstein say that Schreiber and
          Zindel were instrumental in establishing Al Taqwa Bank as a shell for this
          purpose.

      24. Schreiber and Zindel is run by Frank Zindel, Engelbert Schreiber and Engelbert
          Schreiber, Jr.

      25. Liechtenstein officials and separate documentation from a variety of sources also
          claim that Schreiber and Zindel were involved in laundering money from the Iraqi
          Oil-For-Food Program, along with the Al Qaida.

      26. According to a published report, Engelbert Schreiber and Engelbert Schreiber, Jr.
          are listed on corporate documents for Nasreddin International Group Ltd.
          Holding, a co-defendant in this case, and a company which was also sanctioned
          by the United States Government. This company is owned by Ahmed Idris
 1
   Specific misconduct regarding Rabita Trust, a co-defendant herein, is provided via More Definite
 Statement. Plaintiffs herein incorporate by reference throughout this document the factual averments and
 arguments which are contained within its More Definite Statement Applicable to Rabita Trust, relating to
 Estate of John P. O’Neill, et al. v. Al Baraka, et al., 04-CV-1923 (RCC).

                                                             Page 9
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page202
                                                                932ofof232
                                                                        962




           Nasreddin, the principal owner of Al Taqwa Bank, is an individual who has also
           been sanctioned United States Government. Since 1993, Engelbert Schreiber,
           who was later replaced by his son, Engelbert Schreiber, Jr., have been trustees of
           Nasreddin Group International Limited Holdings, also known as Nasreddin
           International Group Ltd.

      27. In April 1999, the German intelligence service (BND) reported that Engelbert
          Schreiber was arrested in August 1997 for money laundering. The 1999 BND
          report identified Engelbert Schreiber as a significant money launderer, who has
          had a close relationship with the Caracas/Venezuela mafia families Cuntrera-
          Caruana-Caldarella.

      28. As owners and directors of Schreiber and Zindel, Frank Zindel, Engelbert
          Schreiber and Engelbert Schreiber, Jr. oversaw the activities and had knowledge
          of the activities that supported the al Qaida and/or Radical Muslim Terrorism
          and/or the International Islamic Front for the Jihad Against Jews and Crusaders.

      29. Frank Zindel, Engelbert Schreiber and Engelbert Schreiber, Jr. have long known
          that accounts, under their control, which were maintained, and assisted, were
          being used to solicit and transfer funds to terrorist organizations, including al
          Qaida and/or Radical Muslim Terrorism and/or the International Islamic Front for
          the Jihad Against Jews and Crusaders. Despite this knowledge, Frank Zindel,
          Engelbert Schreiber and Engelbert Schreiber, Jr. continued to permit, make
          available, assist, and maintain those accounts.

      30. As the foregoing demonstrates, Schreiber and Zindel, Frank Zindel, Engelbert
          Schreiber and Engelbert Schreiber, Jr. thereby knowingly has, for a period of
          many years, provided critical financial and logistical support to al Qaida, and/or
          Radical Muslim Terrorism, and/or the International Islamic Front for the Jihad
          Against Jews and Crusaders, to support the terrorist organization’s global jihad.
          The September 11th Attack was a direct, intended and foreseeable product of
          Schreiber and Zindel, Frank Zindel, Engelbert Schreiber and Engelbert Schreiber,
          Jr.’s participation in the jihadist campaign for al Qaida, and/or Radical Muslim
          Terrorism, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders.

      31. Given the extraordinarily complex nature of the conspiracy and other wrongdoing
          that led to the events of September 11, 2001, much information is presently
          unavailable to plaintiffs, absent discovery. Plaintiffs therefore reserve the right to
          amend this Statement as information is learned and verified through discovery
          and otherwise.




                                                            Page 10
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page203
                                                                933ofof232
                                                                        962




      Date: September 30, 2005




                                            LAW OFFICES OF JERRY S. GOLDMAN
                                                 & ASSOCIATES, P.C.



                                                   BY:______________________________________
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                                                            Page 11
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\D_S&Z - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page204
                                                                934ofof232
                                                                        962




  PLAINTIFFS’ MORE DEFINITE STATEMENT/ADDITIONAL ALLEGATIONS AS
                       TO DEFENDANT D_NAME

      1. The name of the defendant to whom this Statement pertains is D_Name. The
         alleged misconduct and basis for liability is set forth below as well as described
         elsewhere in the Complaint, as amended.

      2. All known wrongdoers are named as defendants in this action, as well as the
         defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et
         al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka,
         et al. (SDNY 04-CV-1923 (RCC)), other cases brought by other plaintiffs in In Re
         Terrorist Attacks on September 11, 2001 (03-MDL-1570(RCC)), and others.
         Plaintiffs will separately file Statements with respect to the misconduct of certain
         of the other defendants. Given the vastly complicated nature of the conspiracy
         and other wrongdoing that led to the events of September 11, 2001, however,
         much information is unavailable to plaintiffs, and the identities of other
         wrongdoers may be revealed through discovery or otherwise. Plaintiffs therefore
         reserve the right to amend this Statement as information is learned and verified
         and after discovery or other information is obtained.

      3. The name of each victim is indicated on the attached hereto as can be found on
         the More Definite Statement, Victims List (“Victims List”). The victims consist
         of (1) all spouses, children, parents, siblings, or heirs of any individual who died at the
         World Trade Center in New York, NY, the Pentagon Building in Arlington County,
         Virginia, or in the airliner crash in Shanksville, Pennsylvania, as the result of terrorist
         attacks on September 11, 2001 (with the events at the World Trade Center in New
         York, N.Y., the Pentagon Building in Arlington County, Virginia, and the airliner
         crash in Shanksville, Pennsylvania, on September 11, 2001, and activities related
         thereto, collectively referred to herein as “Attack” or “Attacks”); and (2) all legal
         representatives (including executors, estate administrators and trustees) entitled to
         bring legal action on behalf of any individual who died as the result of terrorist
         attacks on September 11, 2001; but excluding (3) all individuals, and all spouses,
         children, parents, siblings, and legal representative of individuals identified by the
         Attorney General of the United States or otherwise shown to have perpetrated, aided
         and abetted, conspired in regard to, or otherwise supported the terrorist attacks of
         September 11, 2001. Victims List sets forth the names of the decedents killed by the
         attackers, with the category of “victims” further including their spouses, children,
         parents, siblings or heirs as set forth above.

      4. The manner in which the victims were injured consists of death, suffering caused by
         death, and all economic damages resulting from such deaths, and actions of the
         defendants and their co-conspirators as described herein.

      5. Please find below a description, in detail, of the pattern of racketeering activity
         for each RICO claim:
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                                                                                                                                   EXHIBIT

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 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page205
                                                                935ofof232
                                                                        962




                 a. The predicate acts and statutes in question include:

                            •    Conspiracy to commit murder - NY Penal § 105.15; NY Penal §
                                 125.25 (xi)
                            •    Conspiracy to commit arson - NY Penal § 105.15; NY Penal §
                                 150.15
                            •    Fraud with Identification - 18 U.S.C. § 1028
                            •    Mail Fraud - 18 U.S.C. § 1341
                            •    Wire Fraud - 18 U.S.C. § 1343
                            •    Financial Institution Fraud - 18 U.S.C. §1344
                            •    Illegal Transactions in Monetary Instruments - 18 U.S.C. § 1956
                            •    Money Laundering - 18 U.S.C. § 1957
                            •    Defrauding the United States Government - 18 U.S.C. § 371
                            •    Travel Act - 18 U.S.C. § 1952
                            •    Filing false or Materially False Tax Returns - 26 U.S.C. §
                                 7206(1),(2)
                            •    Engaging in a corrupt endeavor to impede and impairthe due
                                 administration of the internal revenue laws - 26 U.S.C. § 7212(a)
                            •    Providing Material Support of Terrorism - 18 U.S.C. §
                                 2332(b)(g)(5)(B), 18 U.S.C. § 2339A, 18 U.S.C. § 2339B, 18
                                 U.S.C. § 2339C

                 b. In the Mid 1990’s to September 11, 2002, D_Name conducted or
                    participated, directly or indirectly, in the conduct of the Enterprise’s, as
                    defined supra, affairs and participated in the operation or management of
                    the operation of the Enterprise itself. D_Name conspired to conduct or
                    participate, directly or indirectly, in the conduct of the Enterprise’s affairs
                    and conspired to participate in the operation or management of the
                    operation of the Enterprise itself. Throughout this period, D_Name
                    conspired to support terrorism and to obfuscate the roles of the various
                    participants and conspirators in Radical Muslim Terrorism, and/or al
                    Qaida and/or the International Islamic Front for the Jihad Against Jews
                    and Crusaders, which conspiracy culminated in the Attack.

                 c. The individual times, places, and contents of the alleged misconduct are
                    not all particularly known at this time.

                 d. The predicate act is not based upon a criminal conviction.


                                                              Page 2
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page206
                                                                936ofof232
                                                                        962




                 e. Civil litigation has not yet resulted in a judgment regarding the predicate
                    acts.

                 f. The predicate acts form a pattern of racketeering in that they are repeated,
                    ongoing, continuous, and are a part of the Enterprise’s regular way of
                    doing business. Other of the defendants consistently, evenly constantly,
                    laundered money, filed false tax returns, and otherwise impeded and
                    impaired the administration of the tax laws as part of their scheme to
                    conduit money to terrorists, and yet obfuscate their support of Radical
                    Muslim Terrorism and/or al Qaida and/or the International Islamic Front
                    for the Jihad Against Jews and Crusaders.

                 g. The predicate act relates to each other (horizontal relatedness) as part of a
                    common plan because each act of knowing and intentionally providing
                    financial services and money laundering and tax evasion allowed certain
                    of the defendants, specifically including D_Name, to surreptiously provide
                    funds to terrorist organizations, including al Qaida, Radical Muslim
                    Terrorism and/or the International Islamic Front for the Jihad Against
                    Jews and Crusaders, which conspiracy culminated in the Attacks.

      6. A description of the Enterprise is as follows:

                 a. The Enterprise (“Radical Muslim Terrorism” or “al Qaida” or
                    “International Islamic Front for the Jihad Against Jews and Crusaders”)
                    (“Enterprise”) is comprised of the defendants named in the Original
                    Complaint and any additional complaints filed in this action as well as the
                    defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi
                    Arabia, et al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill,
                    et al. v. Al Baraka, et al. (SDNY 04-CV-1923 (RCC)), and others, and is a
                    collection of the persons, organizations, businesses, and nations associated
                    in fact.

                 b. The Enterprise has its origins in the defeat of the Soviets in Afghanistan in
                    the late 1980s, when Osama Bin Ladin (“Bin Ladin”) formed an
                    organization called “The Foundation” or “al Qaida.” Al Qaida was
                    intended to serve as a foundation upon which to build a global Islamic
                    army. In February, 1998, a declaration was issued, following the holding
                    of a terrorist summit, announcing the formation of the International
                    Islamic Front for the Jihad Against Jews and Crusaders, the precursor of
                    which was the Muslim Brotherhood and the Islamic Jihad. The structure
                    of the Enterprise is an association in fact with common and complex goals
                    that consist of far more than the mere desire to perpetrate the acts of
                    racketeering outlined herein. Rather, the Enterprise utilizes acts of
                    racketeering to further its overall common purposes of: (i) spreading a
                    particularly virulent brand of radical, conservative Islam; (ii) eliminating
                    Western influences in Islamic countries, including Western influences that

                                                              Page 3
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page207
                                                                937ofof232
                                                                        962




                      are perceived to keep in power repressive Saudi-American regimes that
                      are not true to Islam; and (iii) punishing Israel, and the United States for
                      its perceived support of Israel. Radical Muslim Terrorism, and/or al Qaida
                      and/or the International Islamic Front for the Jihad Against Jews and
                      Crusaders, does not feature a centralized hierarchy, because the lack of a
                      centralized hierarchy is essential to the Enterprise’s clandestine nature and
                      its success. Thus, although al Qaida, for example, had its own
                      membership roster and a structure of “committees” to guide and oversee
                      such functions as training terrorists, proposing targets, financing
                      operations, and issuing edicts, the committees were not a hierarchical
                      chain of command but were instead a means for coordinating functions
                      and providing material support to operations. D_Name fit neatly into this
                      framework by raising funds for and providing funding to and otherwise
                      providing material support for the members of the Enterprise who engaged
                      in the Attack.

                      The Enterprise is a sophisticated global terrorist network which uses a
                      variety of business and financial transactions to further its operations.
                      These transactions include but are not limited to transferring funds
                      between accounts to purchase communications equipment, electronics
                      equipment, and land (for use as training camps and to store explosives and
                      weapons). These transactions are accomplished through, inter alia, the
                      use of wire transfers and electronic transmissions.

                      On information and belief, at the time of the September 11th attack, the al
                      Qaida’s annual income was approximately $50 million and its assets over
                      a ten-year period ranged between $300 and $500 million dollars. The
                      Enterprise relies upon a global network of banks and financial institutions,
                      including D_Name, and illegal activity to generate material support to
                      continue its terrorist operations.

                 c. Sercor Treuhand Anstalt was not an employee, officer or director of the
                    Enterprise, based upon present information available. Sercor Treuhand
                    Anstalt is associated with the alleged Enterprise. Sercor Treuhand Anstalt
                    is a member of the Enterprise, and is separate and distinct from the
                    Enterprise. Sercor Treuhand Anstalt intended to further the Attack and
                    adopted the goal of furthering and/or facilitating that criminal endeavor,
                    which criminal activity culminated in the Attack.

      7. The pattern of racketeering activity conducted by Sercor Treuhand Anstalt is
         separate from the existence of Radical Muslim Terrorism, and/or the Al Qaida,
         and/or the International Islamic Front for the Jihad Against Jews and Crusaders,
         but was a necessary component to the Attack.

      8. The Enterprise conducts terrorism all over the world; the racketeering activity
         conducted by Sercor Treuhand Anstalt funds that activity, which activity

                                                              Page 4
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page208
                                                                938ofof232
                                                                        962




           culminated in the Attack. The usual and daily activities of the Enterprise include
           recruitment, indoctrination, and the provisioning and operation of training camps,
           all of which activities are funded by the racketeering activities described herein.

      9. The Enterprise benefits by spreading its ideology, by suppressing other forms of
         Islam, and through the gratification of destroying its perceived enemies.

      10. The Enterprise, and the racketeering activities conducted by Sercor Treuhand
          Anstalt, relies heavily on the American interstate system of commerce for
          banking, supplies, communications, and virtually all its essential commercial
          functions, and in that manner affects interstate commerce. The Enterprise and the
          racketeering activities conducted, engaged in, and/or transacted business within
          and in the United States and elsewhere, and utilized, possessed, used, transferred,
          owned, leased, operated, and/or controlled assets in the United States and
          elsewhere. Furthermore, activities and actions of the Enterprise affect interstate
          commerce as demonstrated by the Attack itself, which caused damage to the
          United States economy and property and businesses situate therein. See Rasul v.
          Bush, 124 S. Ct. 2686, No. 03-334, 2004 U.S. LEXIS 4760, *8 (stating that the
          Attack “severely damaged the United States economy”).

      11. D_Name acquired or maintained an interest or control in the Enterprise.

      12. With respect to the alleged violation of 18 U.S.C. § 1962(c), the following is
          asserted:

                 a. Radical Muslim Terrorism, and/or the al Qaida, and/or the International
                    Islamic Front for the Jihad Against Jews and Crusaders “employs” certain
                    individuals, only a few of whose identities are known, including defendant
                    Osama Bin Ladin.

                 b. The Enterprise, Radical Muslim Terrorism, and/or al Qaida, and/or the
                    International Islamic Front for the Jihad Against Jews and the Crusaders,
                    is comprised of the defendants named in the Complaint, the First
                    Amended Complaint, the Second Amended Complaint and any additional
                    complaints filed in this action as well as the defendants in Estate of John
                    P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al. (SDNY 04-CV-
                    1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka, et al.
                    (SDNY 04-CV-1923 (RCC)), among others, and is a collection of the
                    persons, organizations, businesses, and nations associated in fact. The
                    liable persons are the enterprise and that which makes up the enterprise.

      13. The conspiracy which violates 18 U.S.C. §1962(d) is described as follows:

                 a. The history of the conspiracy, in violation of 18 U.S.C. § 1962(d), behind
                    Radical Muslim Terrorism, or the al Qaida, or the International Islamic
                    Front for the Jihad Against Jews and Crusaders could, and has, filled many
                    books, but for purposes of the present RICO Statement, the following is
                                                              Page 5
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page209
                                                                939ofof232
                                                                        962




                      offered. After being turned out of the Sudan in May 1996, al Qaida
                      established itself in Afghanistan, and relied on well-placed financial
                      facilitators, including Sercor Treuhand Anstalt, who laundered funds from
                      Islamic so-called charities and corporations and raised money from witting
                      and unwitting donors. They also relied heavily on certain imams at
                      mosques who were willing to divert the Zakat, the mandatory charitable
                      contributions required of all Muslims. Radical Muslim Terrorism, and/or
                      al Qaida, and/or the International Islamic Front for the Jihad Against Jews
                      and Crusaders also collected money from employees of corrupted
                      charities. The money raised from these various sources (the “Funds”),
                      including Sercor Treuhand Anstalt, were used by the Enterprise to
                      accomplish its goals, with the knowledge and awareness of Sercor
                      Treuhand Anstalt, of both those goals and the uses to which the Funds
                      were put.

                 b. The Funds were used to organize and conduct a complex international
                    terrorist operation intended to inflict catastrophic harm on the United
                    States. The Funds enabled the Enterprise to identify, recruit, groom and
                    train leaders who were able to evaluate, approve and supervise the
                    planning and direction of the Enterprise. The Funds also provided
                    communications sufficient system that gathered information on and
                    formed assessments of the Enterprise’s enemies’ strengths and
                    weaknesses.

                 c. The Funds enabled the Enterprise to establish a personnel system by
                    which, among other things, it recruited and trained persons to inflict the
                    harm (the “Operatives”) and provided planning and direction to the
                    Operatives. The funds thus raised were used to, among other things,
                    operate terrorist training camps in Afghanistan, where some recruits were
                    trained in conventional warfare but where the best and most zealous
                    recruits received terrorist training. The curriculum in the camps placed
                    with great emphasis on ideological and religious indoctrination. All
                    trainees and other personnel were encouraged to think creatively about
                    ways to commit mass murder.

                 d. The camps were able to operate only because of the worldwide network of
                    recruiters, travel facilitators, and document forgers who vetted recruits and
                    helped them get in and out of Afghanistan. From the ranks of these
                    recruits the nineteen perpetrators of the Attack were selected. None of this
                    would have been possible without the funds supplied by participants and
                    conspirators like Sercor Treuhand Anstalt. Indeed, the Enterprise would
                    not have been successful without enthusiastic participation of all of the
                    conspirators, including Sercor Treuhand Anstalt. In order to identify
                    nineteen individuals willing, able and competent to carry out the Attack,
                    Radical Muslim Terrorism, and/or the al Qaida, and/or the International
                    Islamic Front for the Jihad Against Jews and Crusaders needed to select
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 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page210
                                                                940ofof232
                                                                        962




                      from a vast pool of recruits and trainees, which pool would not have been
                      available to it without the assistance provided by Sercor Treuhand Anstalt.
                      Sercor Treuhand Anstalt, with knowledge and intent, agreed to the overall
                      objectives of the conspiracy, and agreed to commit at least two predicate
                      acts and all agreed to participate in the conspiracy, either expressly or
                      impliedly. Sercor Treuhand Anstalt conducted or participated, directly or
                      indirectly, in the conduct of the Enterprise’s affairs and participated in the
                      operation or management of the operation of the Enterprise itself. Sercor
                      Treuhand Anstalt conspired to conduct or participate, directly or
                      indirectly, in the conduct of the Enterprise’s affairs and conspired to
                      participate in the operation or management of the operation of the
                      Enterprise itself. Sercor Treuhand Anstalt also, with knowledge and intent,
                      agreed to and did aid and abet all of the above illegal activities, RICO
                      predicate acts, and RICO violations.

      14. The injuries to business or property suffered by the O’Neill Plaintiff’s resulting
          from the September 11th attack include economic damages, including but not
          limited, to pecuniary losses, past and future wage losses and profits, loss of
          business opportunities, loss of and/or damage to tangible and intangible personal
          property, loss of currency, loss of support, funeral and burial expenses, loss of
          prospective inheritance, and loss of other economic contributions to the
          Plaintiffs’/Decedents’ households. Additionally, the Attack itself was intended to
          destroy the leading symbol of the United States’ leadership in world trade – The
          World Trade Center - and as such, affected the O’Neill Plaintiff’s jobs,
          businesses, and livelihoods.

      15. Plaintiffs’ damages – the loss of life and the damages to business and property
          related thereto that resulted from the actions of the defendants and their co-
          conspirators, are a direct causal relationship to the violation of the RICO statute,
          and are not a derivative claim of damage to a third party. The Plaintiffs, both
          named and as a class, as described in the complaint, as amended, were the
          “reasonably foreseeable victims of a RICO violation” and the “intended victims
          of the racketeering enterprise,” (that is, terrorism, the culmination of which was
          the Attack).

      16. Each defendant is jointly and severally liable for all damages sustained by each
          plaintiff subject to the description of victims set forth in paragraph 4 hereof, for
          the loss of life, and the economic damages, including but not limited, to pecuniary
          losses, past and future wage losses and profits, loss of business opportunities, loss
          of and/or damage to tangible and intangible personal property, loss of currency,
          loss of support, funeral and burial expenses, loss of prospective inheritance, and
          loss of other economic contributions to the Plaintiffs’/Decedents’ households.
          The damages for the plaintiffs’ collectively are to be determined at trial, and are
          in excess of $10,000,000,000.00 prior to trebling, punitive damages, interest, legal
          fees, and the costs of this suit.


                                                              Page 7
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page211
                                                                941ofof232
                                                                        962




      17. The federal causes of action against Sercor Treuhand Anstalt are as follows:
          Count Eight, Anti-Terrorism Act, 18 U.S.C. § 2331, 2333, et. seq.; Count Nine,
          RICO, 18 U.S.C. § 1962(b),1962(c), 1962(d).

      18. The state causes of action are as follows: Count One, Wrongful Death; Count
          Two, Survival; Count Three, Action for Economic Damages; Count Four,
          Intentional Infliction of Emotional Distress; Count Five, Loss of Consortium;
          Count Six, Loss of Solatium; Count Seven, Conspiracy; Count Ten, Punitive
          Damages .

      19. Sercor Treuhand Anstalt has long provided financial support and other forms of
          material support to terrorist organizations including Radical Muslim Terrorism, or
          the al Qaida, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders. Sercor Treuhand Anstalt conducted or participated, directly or
          indirectly, in the conduct of the Enterprise’s affairs and participated in the
          operation or management of the operation of the Enterprise itself. Sercor
          Treuhand Anstalt conspired to conduct or participate, directly or indirectly, in the
          conduct of the Enterprise’s affairs and conspired to participate in the operation or
          management of the operation of the Enterprise itself.

      20. Plaintiffs hereby incorporate all allegations, claims and counts contained in
          Plaintiff’s Complaint, as amended.

      21. Sercor Treuhand Anstalt has long provided financial support and other forms of
          material support to terrorist organizations including Radical Muslim Terrorism, or
          the al Qaida, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders. Sercor Treuhand Anstalt conducted or participated, directly or
          indirectly, in the conduct of the Enterprise’s affairs and participated in the
          operation or management of the operation of the Enterprise itself. Sercor
          Treuhand Anstalt conspired to conduct or participate, directly or indirectly, in the
          conduct of the Enterprise’s affairs and conspired to participate in the operation or
          management of the operation of the Enterprise itself.

      22. Sercor Treuhand Anstalt is owned and managed by Martin Wachter1 and Erwin
          Wachter2, co-defendants in the above-referenced case.


 1
   Specific misconduct regarding Martin Wachter, a co-defendant herein, is provided via RICO Statement
 Applicable to Martin Wachter. Plaintiffs herein incorporate by reference throughout this document the
 factual averments and arguments which are contained within its More Definite Statement Applicable to
 Martin Wachter, relating to Estate of John P. O’Neill, et al. v. Al Baraka, et al., 04-CV-1923 (RCC) and
 Estate of John P. O’Neill, et al. v. Iraq, et al. 04-CV 1076.
 2
   Specific misconduct regarding Erwin Wachter, a co-defendant herein, is provided via RICO Statement
 Applicable to Erwin Wachter. Plaintiffs herein incorporate by reference throughout this document the
 factual averments and arguments which are contained within its More Definite Statement Applicable to
 Erwin Wachter, relating to Estate of John P. O’Neill, et al. v. Al Baraka, et al., 04-CV-1923 (RCC) and
 Estate of John P. O’Neill, et al. v. Iraq, et al. 04-CV 1076.
                                                              Page 8
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page212
                                                                942ofof232
                                                                        962




      23. As the foregoing demonstrates, Sercor Treuhand Anstalt thereby knowingly has,
          for a period of many years, provided critical financial and logistical support to al
          Qaida, and/or Radical Muslim Terrorism, and/or the International Islamic Front
          for the Jihad Against Jews and Crusaders, to support the terrorist organization’s
          global jihad. The September 11th Attack was a direct, intended and foreseeable
          product of Sercor Treuhand Anstalt’s participation in the jihadist campaign for al
          Qaida, and/or Radical Muslim Terrorism, and/or the International Islamic Front
          for the Jihad Against Jews and Crusaders.

      24. Given the extraordinarily complex nature of the conspiracy and other wrongdoing
          that led to the events of September 11, 2001, much information is presently
          unavailable to plaintiffs, absent discovery. Plaintiffs therefore reserve the right to
          amend this Statement as information is learned and verified through discovery
          and otherwise.



      Date: September 30, 2005




                                            LAW OFFICES OF JERRY S. GOLDMAN
                                                 & ASSOCIATES, P.C.



                                                    BY:______________________________________
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                                                              Page 9
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\E_Sercor - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page213
                                                                943ofof232
                                                                        962




  PLAINTIFFS’ MORE DEFINITE STATEMENT/ADDITIONAL ALLEGATIONS AS
                         TO ASAT TRUST REG.

      1. The name of the defendant to whom this Statement pertains is Asat Trust Reg.
         (“Asat”). The alleged misconduct and basis for liability is set forth below as well
         as described elsewhere in the Complaint, as amended.

      2. All known wrongdoers are named as defendants in this action, as well as the
         defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et
         al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka,
         et al. (SDNY 04-CV-1923 (RCC)), other cases brought by other plaintiffs in In Re
         Terrorist Attacks on September 11, 2001 (03-MDL-1570(RCC)), and others.
         Plaintiffs will separately file Statements with respect to the misconduct of certain
         of the other defendants. Given the vastly complicated nature of the conspiracy
         and other wrongdoing that led to the events of September 11, 2001, however,
         much information is unavailable to plaintiffs, and the identities of other
         wrongdoers may be revealed through discovery or otherwise. Plaintiffs therefore
         reserve the right to amend this Statement as information is learned and verified
         and after discovery or other information is obtained.

      3. The name of each victim is indicated on the attached hereto as can be found on
         the More Definite Statement, Victims List (“Victims List”). The victims consist
         of (1) all spouses, children, parents, siblings, or heirs of any individual who died at the
         World Trade Center in New York, NY, the Pentagon Building in Arlington County,
         Virginia, or in the airliner crash in Shanksville, Pennsylvania, as the result of terrorist
         attacks on September 11, 2001 (with the events at the World Trade Center in New
         York, N.Y., the Pentagon Building in Arlington County, Virginia, and the airliner
         crash in Shanksville, Pennsylvania, on September 11, 2001, and activities related
         thereto, collectively referred to herein as “Attack” or “Attacks”); and (2) all legal
         representatives (including executors, estate administrators and trustees) entitled to
         bring legal action on behalf of any individual who died as the result of terrorist
         attacks on September 11, 2001; but excluding (3) all individuals, and all spouses,
         children, parents, siblings, and legal representative of individuals identified by the
         Attorney General of the United States or otherwise shown to have perpetrated, aided
         and abetted, conspired in regard to, or otherwise supported the terrorist attacks of
         September 11, 2001. Victims List sets forth the names of the decedents killed by the
         attackers, with the category of “victims” further including their spouses, children,
         parents, siblings or heirs as set forth above.

      4. The manner in which the victims were injured consists of death, suffering caused by
         death, and all economic damages resulting from such deaths, and actions of the
         defendants and their co-conspirators as described herein.




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Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page214
                                                                944ofof232
                                                                        962




      5. Please find below a description, in detail, of the pattern of racketeering activity
         for each RICO claim:

                 a. The predicate acts and statutes in question include:

                            •    Conspiracy to commit murder - NY Penal § 105.15; NY Penal §
                                 125.25 (xi)
                            •    Conspiracy to commit arson - NY Penal § 105.15; NY Penal §
                                 150.15
                            •    Fraud with Identification - 18 U.S.C. § 1028
                            •    Mail Fraud - 18 U.S.C. § 1341
                            •    Wire Fraud - 18 U.S.C. § 1343
                            •    Financial Institution Fraud - 18 U.S.C. §1344
                            •    Illegal Transactions in Monetary Instruments - 18 U.S.C. § 1956
                            •    Money Laundering - 18 U.S.C. § 1957
                            •    Defrauding the United States Government - 18 U.S.C. § 371
                            •    Travel Act - 18 U.S.C. § 1952
                            •    Filing false or Materially False Tax Returns - 26 U.S.C. §
                                 7206(1),(2)
                            •    Engaging in a corrupt endeavor to impede and impair the due
                                 administration of the internal revenue laws - 26 U.S.C. § 7212(a)
                            •    Providing Material Support of Terrorism - 18 U.S.C. §
                                 2332(b)(g)(5)(B), 18 U.S.C. § 2339A, 18 U.S.C. § 2339B, 18
                                 U.S.C. § 2339C

                 b. In the Mid 1990’s to September 11, 2002, Asat conducted or participated,
                    directly or indirectly, in the conduct of the Enterprise’s, as defined supra,
                    affairs and participated in the operation or management of the operation of
                    the Enterprise itself. Asat conspired to conduct or participate, directly or
                    indirectly, in the conduct of the Enterprise’s affairs and conspired to
                    participate in the operation or management of the operation of the
                    Enterprise itself. Throughout this period, Asat conspired to support
                    terrorism and to obfuscate the roles of the various participants and
                    conspirators in Radical Muslim Terrorism, and/or al Qaida and/or the
                    International Islamic Front for the Jihad Against Jews and Crusaders,
                    which conspiracy culminated in the Attack.

                 c. The individual times, places, and contents of the alleged misconduct are
                    not all particularly known at this time.
                                                              Page 2
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page215
                                                                945ofof232
                                                                        962




                 d. The predicate act is not based upon a criminal conviction.

                 e. Civil litigation has not yet resulted in a judgment regarding the predicate
                    acts.

                 f. The predicate acts form a pattern of racketeering in that they are repeated,
                    ongoing, continuous, and are a part of the Enterprise’s regular way of
                    doing business. Other of the defendants consistently, evenly constantly,
                    laundered money, filed false tax returns, and otherwise impeded and
                    impaired the administration of the tax laws as part of their scheme to
                    conduit money to terrorists, and yet obfuscate their support of Radical
                    Muslim Terrorism and/or al Qaida and/or the International Islamic Front
                    for the Jihad Against Jews and Crusaders.

                 g. The predicate act relates to each other (horizontal relatedness) as part of a
                    common plan because each act of knowing and intentionally providing
                    financial services and money laundering and tax evasion allowed certain
                    of the defendants, specifically including Asat, to surreptiously provide
                    funds to terrorist organizations, including al Qaida, Radical Muslim
                    Terrorism and/or the International Islamic Front for the Jihad Against
                    Jews and Crusaders, which conspiracy culminated in the Attacks.

      6. A description of the Enterprise is as follows:

                 a. The Enterprise (“Radical Muslim Terrorism” or “al Qaida” or
                    “International Islamic Front for the Jihad Against Jews and Crusaders”)
                    (“Enterprise”) is comprised of the defendants named in the Original
                    Complaint and any additional complaints filed in this action as well as the
                    defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi
                    Arabia, et al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill,
                    et al. v. Al Baraka, et al. (SDNY 04-CV-1923 (RCC)), and others, and is a
                    collection of the persons, organizations, businesses, and nations associated
                    in fact.

                 b. The Enterprise has its origins in the defeat of the Soviets in Afghanistan in
                    the late 1980s, when Osama Bin Ladin (“Bin Ladin”) formed an
                    organization called “The Foundation” or “al Qaida.” Al Qaida was
                    intended to serve as a foundation upon which to build a global Islamic
                    army. In February, 1998, a declaration was issued, following the holding
                    of a terrorist summit, announcing the formation of the International
                    Islamic Front for the Jihad Against Jews and Crusaders, the precursor of
                    which was the Muslim Brotherhood and the Islamic Jihad. The structure
                    of the Enterprise is an association in fact with common and complex goals
                    that consist of far more than the mere desire to perpetrate the acts of
                    racketeering outlined herein. Rather, the Enterprise utilizes acts of
                    racketeering to further its overall common purposes of: (i) spreading a
                    particularly virulent brand of radical, conservative Islam; (ii) eliminating
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 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page216
                                                                946ofof232
                                                                        962




                      Western influences in Islamic countries, including Western influences that
                      are perceived to keep in power repressive Saudi-American regimes that
                      are not true to Islam; and (iii) punishing Israel, and the United States for
                      its perceived support of Israel. Radical Muslim Terrorism, and/or al Qaida
                      and/or the International Islamic Front for the Jihad Against Jews and
                      Crusaders, does not feature a centralized hierarchy, because the lack of a
                      centralized hierarchy is essential to the Enterprise’s clandestine nature and
                      its success. Thus, although al Qaida, for example, had its own
                      membership roster and a structure of “committees” to guide and oversee
                      such functions as training terrorists, proposing targets, financing
                      operations, and issuing edicts, the committees were not a hierarchical
                      chain of command but were instead a means for coordinating functions
                      and providing material support to operations. Asat fit neatly into this
                      framework by raising funds for and providing funding to and otherwise
                      providing material support for the members of the Enterprise who engaged
                      in the Attack.

                      The Enterprise is a sophisticated global terrorist network which uses a
                      variety of business and financial transactions to further its operations.
                      These transactions include but are not limited to transferring funds
                      between accounts to purchase communications equipment, electronics
                      equipment, and land (for use as training camps and to store explosives and
                      weapons). These transactions are accomplished through, inter alia, the
                      use of wire transfers and electronic transmissions.

                      On information and belief, at the time of the September 11th attack, the al
                      Qaida’s annual income was approximately $50 million and its assets over
                      a ten-year period ranged between $300 and $500 million dollars. The
                      Enterprise relies upon a global network of banks and financial institutions,
                      including Asat, and illegal activity to generate material support to continue
                      its terrorist operations.

                 c. Asat was not an employee, officer or director of the Enterprise, based
                    upon present information available. Asat is associated with the alleged
                    Enterprise. Asat is a member of the Enterprise, and is separate and
                    distinct from the Enterprise. Asat intended to further the Attack and
                    adopted the goal of furthering and/or facilitating that criminal endeavor,
                    which criminal activity culminated in the Attack.

      7. The pattern of racketeering activity conducted by Asat is separate from the
         existence of Radical Muslim Terrorism, and/or the Al Qaida, and/or the
         International Islamic Front for the Jihad Against Jews and Crusaders, but was a
         necessary component to the Attack.

      8. The Enterprise conducts terrorism all over the world; the racketeering activity
         conducted by Asat funds that activity, which activity culminated in the Attack.

                                                              Page 4
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page217
                                                                947ofof232
                                                                        962




           The usual and daily activities of the Enterprise include recruitment,
           indoctrination, and the provisioning and operation of training camps, all of which
           activities are funded by the racketeering activities described herein.

      9. The Enterprise benefits by spreading its ideology, by suppressing other forms of
         Islam, and through the gratification of destroying its perceived enemies.

      10. The Enterprise, and the racketeering activities conducted by Asat, relies heavily
          on the American interstate system of commerce for banking, supplies,
          communications, and virtually all its essential commercial functions, and in that
          manner affects interstate commerce. The Enterprise and the racketeering
          activities conducted, engaged in, and/or transacted business within and in the
          United States and elsewhere, and utilized, possessed, used, transferred, owned,
          leased, operated, and/or controlled assets in the United States and elsewhere.
          Furthermore, activities and actions of the Enterprise affect interstate commerce as
          demonstrated by the Attack itself, which caused damage to the United States
          economy and property and businesses situate therein. See Rasul v. Bush, 124 S.
          Ct. 2686, No. 03-334, 2004 U.S. LEXIS 4760, *8 (stating that the Attack
          “severely damaged the United States economy”).

      11. Asat acquired or maintained an interest or control in the Enterprise.

      12. With respect to the alleged violation of 18 U.S.C. § 1962(c), the following is
          asserted:

                 a. Radical Muslim Terrorism, and/or the al Qaida, and/or the International
                    Islamic Front for the Jihad Against Jews and Crusaders “employs” certain
                    individuals, only a few of whose identities are known, including defendant
                    Osama Bin Ladin.

                 b. The Enterprise, Radical Muslim Terrorism, and/or al Qaida, and/or the
                    International Islamic Front for the Jihad Against Jews and the Crusaders,
                    is comprised of the defendants named in the Complaint, the First
                    Amended Complaint, the Second Amended Complaint and any additional
                    complaints filed in this action as well as the defendants in Estate of John
                    P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al. (SDNY 04-CV-
                    1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka, et al.
                    (SDNY 04-CV-1923 (RCC)), among others, and is a collection of the
                    persons, organizations, businesses, and nations associated in fact. The
                    liable persons are the enterprise and that which makes up the enterprise.

      13. The conspiracy which violates 18 U.S.C. §1962(d) is described as follows:

                 a. The history of the conspiracy, in violation of 18 U.S.C. § 1962(d), behind
                    Radical Muslim Terrorism, or the al Qaida, or the International Islamic
                    Front for the Jihad Against Jews and Crusaders could, and has, filled many
                    books, but for purposes of the present RICO Statement, the following is
                                                              Page 5
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page218
                                                                948ofof232
                                                                        962




                      offered. After being turned out of the Sudan in May 1996, al Qaida
                      established itself in Afghanistan, and relied on well-placed financial
                      facilitators, including Asat, who laundered funds from Islamic so-called
                      charities and corporations and raised money from witting and unwitting
                      donors. They also relied heavily on certain imams at mosques who were
                      willing to divert the Zakat, the mandatory charitable contributions required
                      of all Muslims. Radical Muslim Terrorism, and/or al Qaida, and/or the
                      International Islamic Front for the Jihad Against Jews and Crusaders also
                      collected money from employees of corrupted charities. The money
                      raised from these various sources (the “Funds”), including Asat, were used
                      by the Enterprise to accomplish its goals, with the knowledge and
                      awareness of Asat, of both those goals and the uses to which the Funds
                      were put.

                 b. The Funds were used to organize and conduct a complex international
                    terrorist operation intended to inflict catastrophic harm on the United
                    States. The Funds enabled the Enterprise to identify, recruit, groom and
                    train leaders who were able to evaluate, approve and supervise the
                    planning and direction of the Enterprise. The Funds also provided
                    communications sufficient system that gathered information on and
                    formed assessments of the Enterprise’s enemies’ strengths and
                    weaknesses.

                 c. The Funds enabled the Enterprise to establish a personnel system by
                    which, among other things, it recruited and trained persons to inflict the
                    harm (the “Operatives”) and provided planning and direction to the
                    Operatives. The funds thus raised were used to, among other things,
                    operate terrorist training camps in Afghanistan, where some recruits were
                    trained in conventional warfare but where the best and most zealous
                    recruits received terrorist training. The curriculum in the camps placed
                    with great emphasis on ideological and religious indoctrination. All
                    trainees and other personnel were encouraged to think creatively about
                    ways to commit mass murder.

                 d. The camps were able to operate only because of the worldwide network of
                    recruiters, travel facilitators, and document forgers who vetted recruits and
                    helped them get in and out of Afghanistan. From the ranks of these
                    recruits the nineteen perpetrators of the Attack were selected. None of this
                    would have been possible without the funds supplied by participants and
                    conspirators like Asat. Indeed, the Enterprise would not have been
                    successful without enthusiastic participation of all of the conspirators,
                    including Asat. In order to identify nineteen individuals willing, able and
                    competent to carry out the Attack, Radical Muslim Terrorism, and/or the
                    al Qaida, and/or the International Islamic Front for the Jihad Against Jews
                    and Crusaders needed to select from a vast pool of recruits and trainees,
                    which pool would not have been available to it without the assistance
                                                              Page 6
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page219
                                                                949ofof232
                                                                        962




                      provided by Asat. Asat, with knowledge and intent, agreed to the overall
                      objectives of the conspiracy, and agreed to commit at least two predicate
                      acts and all agreed to participate in the conspiracy, either expressly or
                      impliedly. Asat conducted or participated, directly or indirectly, in the
                      conduct of the Enterprise’s affairs and participated in the operation or
                      management of the operation of the Enterprise itself. Asat conspired to
                      conduct or participate, directly or indirectly, in the conduct of the
                      Enterprise’s affairs and conspired to participate in the operation or
                      management of the operation of the Enterprise itself. Asat also, with
                      knowledge and intent, agreed to and did aid and abet all of the above
                      illegal activities, RICO predicate acts, and RICO violations.

      14. The injuries to business or property suffered by the O’Neill Plaintiff’s resulting
          from the September 11th attack include economic damages, including but not
          limited, to pecuniary losses, past and future wage losses and profits, loss of
          business opportunities, loss of and/or damage to tangible and intangible personal
          property, loss of currency, loss of support, funeral and burial expenses, loss of
          prospective inheritance, and loss of other economic contributions to the
          Plaintiffs’/Decedents’ households. Additionally, the Attack itself was intended to
          destroy the leading symbol of the United States’ leadership in world trade – The
          World Trade Center - and as such, affected the O’Neill Plaintiff’s jobs,
          businesses, and livelihoods.

      15. Plaintiffs’ damages – the loss of life and the damages to business and property
          related thereto that resulted from the actions of the defendants and their co-
          conspirators, are a direct causal relationship to the violation of the RICO statute,
          and are not a derivative claim of damage to a third party. The Plaintiffs, both
          named and as a class, as described in the complaint, as amended, were the
          “reasonably foreseeable victims of a RICO violation” and the “intended victims
          of the racketeering enterprise,” (that is, terrorism, the culmination of which was
          the Attack).

      16. Each defendant is jointly and severally liable for all damages sustained by each
          plaintiff subject to the description of victims set forth in paragraph 4 hereof, for
          the loss of life, and the economic damages, including but not limited, to pecuniary
          losses, past and future wage losses and profits, loss of business opportunities, loss
          of and/or damage to tangible and intangible personal property, loss of currency,
          loss of support, funeral and burial expenses, loss of prospective inheritance, and
          loss of other economic contributions to the Plaintiffs’/Decedents’ households.
          The damages for the plaintiffs’ collectively are to be determined at trial, and are
          in excess of $10,000,000,000.00 prior to trebling, punitive damages, interest, legal
          fees, and the costs of this suit.

      17. The federal causes of action against Asat are as follows: Count Eight, Anti-
          Terrorism Act, 18 U.S.C. § 2331, 2333, et. seq.; Count Nine, RICO, 18 U.S.C. §
          1962(b),1962(c), 1962(d).

                                                              Page 7
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page220
                                                                950ofof232
                                                                        962




      18. The state causes of action are as follows: Count One, Wrongful Death; Count
          Two, Survival; Count Three, Action for Economic Damages; Count Four,
          Intentional Infliction of Emotional Distress; Count Five, Loss of Consortium;
          Count Six, Loss of Solatium; Count Seven, Conspiracy; Count Ten, Punitive
          Damages .

      19. Plaintiffs hereby incorporate all allegations and counts contained in the complaint as
          amended in Estate of John P. O’Neill, Sr., et al. v. Iraq, et al. (04-CV-1076 (RCC)),
          including all of the allegations and claims contained therein.

      20. Asat has long provided financial support and other forms of material support to
          terrorist organizations including Radical Muslim Terrorism, or the al Qaida,
          and/or the International Islamic Front for the Jihad Against Jews and Crusaders.
          Asat conducted or participated, directly or indirectly, in the conduct of the
          Enterprise’s affairs and participated in the operation or management of the
          operation of the Enterprise itself. Asat conspired to conduct or participate,
          directly or indirectly, in the conduct of the Enterprise’s affairs and conspired to
          participate in the operation or management of the operation of the Enterprise
          itself.

      21. Plaintiffs hereby incorporate all allegations, claims and counts contained in
          Plaintiff’s Complaint, as amended.

      22. Asat Trust was designated by the United States and the United Nations as a
          terrorist-related entity. The Office of Foreign Assets Control, of the United States
          Treasury, froze their assets due to their links to Al Taqwa, their individual
          activities to support terrorism and their financial support of the Al Qaida.

      23. Asat Trust has been involved with the Al Taqwa network during the last thirty
          (30) years, registering changes in company names, personnel and financial
          structure, along with many other duties. Al Tawqa is a co-defendant in the above-
          referenced cases. In fact, many of the transactions of Al Taqwa and the Himmat
          Establishment were undertaken in care of Asat Trade Regulation.

      24. Al Taqwa has also been designated as a terrorist-related entity and has been
          linked to significant support of the al Qaida, and/or Radical Muslim Terrorism,
          and/or the International Islamic Front for the Jihad Against Jews and Crusaders.
          At the time of the Bank’s designation President George Bush declared, “Al
          Taqwa is an association of offshore banks and financial management firms that
          have helped Al Qaeda shift money around the world. Al Taqwa raises funds for
          Al Qaeda.”

      25. Asat Trust is owned by Youssef M. Nada, a co-defendant in the above-referenced
          cases. Youssef M. Nada has been designated as a person who supports terrorism
          by the Department of the Treasury, Office of Foreign Assets Control. He was
          sanctioned as a sponsor of al Qaida, and/or Radical Muslim Terrorism, and/or the
          International Islamic Front for the Jihad Against Jews and Crusaders.
                                                              Page 8
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page221
                                                                951ofof232
                                                                        962




      26. Asat Trust, based in Liechtenstein, is headed and directed by Martin Wachter1 and
          Erwin Wachter2 (collectively referred to as the “Wachters”). Additionally,
          available information reveals a pattern of activity over a period of many years of
          the Wachters working at the same address registered to Asat Trust.

      27. Both Wachters, Erwin and Martin, also own Sercor Treuhand Anstalt, a co-
          defendant in this action. As owners and heads of Asat Trust and Sercor Treuhand
          Annstalt, the Wachters oversaw the activities and had knowledge of the activities
          that supported the al Qaida.

      28. Bothe Wachters have long known that accounts, under the control, which were
          maintained, and assisted, were being used to solicit and transfer funds to terrorist
          organizations, including al Qaida.

      29. Despite this knowledge, the Wachters continued to permit, make available, assist
          and maintain those accounts.

      30. There is additional information which links the Wachters and Asat Trust to Al
          Taqwa and its executives Youssef M. Nada, Ahmed Idris Nasreddin, Albert
          Friedrich Armand Huber, and Ali Ghaleb Himma, co-defendants who have been
          linked to funding al Qaida.

      31. Via Galp International Trading Establishment, which Asat Trust also represented,
          the Wachters and Asat Trust have also been linked in news reports to laundering
          funds on behalf of the Food-for-Oil program and moving the money through Al
          Taqwa Enterprise.

      32. As the foregoing demonstrates, Asat thereby knowingly has, for a period of many
          years, provided critical financial and logistical support to al Qaida, and/or Radical
          Muslim Terrorism, and/or the International Islamic Front for the Jihad Against
          Jews and Crusaders, to support the terrorist organization’s global jihad. The
          September 11th Attack was a direct, intended and foreseeable product of Asat’s

 1
   Specific misconduct regarding Martin Wachter, a co-defendant herein, is provided via More
 Definite Statement Applicable to Martin Wachter. Plaintiffs herein incorporate by reference
 throughout this document the factual averments and arguments which are contained within its
 More Definite statement Applicable to Martin Wachter, relating to Estate of John P. O’Neill, et
 al. v. Al Baraka, et al., 04-CV-1923 (RCC) and Estate of John P. O’Neill, et al. v. Iraq, et al. 04-
 CV 1076.
 2
   Specific misconduct regarding Erwin Wachter, a co-defendant herein, is provided via More
 Definite Statement Applicable to Erwin Wachter. Plaintiffs herein incorporate by reference
 throughout this document the factual averments and arguments which are contained within its
 More Definite statement Applicable to Erwin Wachter, relating to Estate of John P. O’Neill, et al.
 v. Al Baraka, et al., 04-CV-1923 (RCC) and Estate of John P. O’Neill, et al. v. Iraq, et al. 04-CV
 1076.


                                                              Page 9
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page222
                                                                952ofof232
                                                                        962




           participation in the jihadist campaign for al Qaida, and/or Radical Muslim
           Terrorism, and/or the International Islamic Front for the Jihad Against Jews and
           Crusaders.

      33. Given the extraordinarily complex nature of the conspiracy and other wrongdoing
          that led to the events of September 11, 2001, much information is presently
          unavailable to plaintiffs, absent discovery. Plaintiffs therefore reserve the right to
          amend this Statement as information is learned and verified through discovery
          and otherwise.



      Date: September 30, 2005




                                            LAW OFFICES OF JERRY S. GOLDMAN
                                                 & ASSOCIATES, P.C.



                                                    BY:______________________________________
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                                                             Page 10
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\F_Asat - More Definite Statement - Iraqjsg.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page223
                                                                953ofof232
                                                                        962




   PLAINTIFFS’ MORE DEFINITE STATEMENT/ADDITIONAL ALLEGATIONS AS
     TO DEFENDANT TAHA AL ALWANI A/K/A DR. TAHA JABIR AL’ALWANI

      1. The name of the defendant to whom this Statement pertains is Taha Al Alwani
         a/k/a Dr. Taha Jabir Al’Alwani (referred to as “Al Alwani”). The alleged
         misconduct and basis for liability is set forth below as well as elsewhere in the
         Complaint.

      2. All known wrongdoers are named as defendants in this action, as well as the
         defendants in Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et
         al. (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill, Sr., et al. v. Al
         Baraka Investment and Development Corp. at al., Civil Action No.: 04-CV- 1923
         (RCC), other cases brought by other plaintiffs in In Re Terrorist Attacks on
         September 11, 2001 (03-MDL-1570 (RCC)), and others. Plaintiffs will separately
         file Statements with respect to the misconduct of certain of the other defendants.
         Given the vastly complicated nature of the conspiracy and other wrongdoing that
         led to the events of September 11, 2001, however, much information is
         unavailable to plaintiffs, and the identities of other wrongdoers may be revealed
         through discovery or otherwise. Plaintiffs therefore reserve the right to amend
         this Statement as information is learned and verified and after discovery or other
         information is obtained.

      3. The name of each victim can be found on the More Definite Statement, Victims
         List (“Victims List”). The victims consist of (1) all spouses, children, parents,
         siblings, or heirs of any individual who died at the World Trade Center in New York,
         NY, the Pentagon Building in Arlington County, Virginia, or in the airliner crash in
         Shanksville, Pennsylvania, as the result of terrorist attacks on September 11, 2001
         (with the events at the World Trade Center in New York, N.Y., the Pentagon
         Building in Arlington County, Virginia, and the airliner crash in Shanksville,
         Pennsylvania, on September 11, 2001, and activities related thereto, collectively
         referred to herein as “Attack” or “Attacks”); and (2) all legal representatives (including
         executors, estate administrators and trustees) entitled to bring legal action on behalf of
         any individual who died as the result of terrorist attacks on September 11, 2001; but
         excluding (3) all individuals, and all spouses, children, parents, siblings, and legal
         representative of individuals identified by the Attorney General of the United States or
         otherwise shown to have perpetrated, aided and abetted, conspired in regard to, or
         otherwise supported the terrorist attacks of September 11, 2001. The Victims List
         sets forth the names of the decedents killed by the attackers, with the category of
         “victims” further including their spouses, children, parents, siblings or heirs as set forth
         above.

      4. The manner in which the victims were injured consists of death, suffering caused by
         death, and all economic damages resulting from such deaths, and actions of the
         defendants and their co-conspirators as described herein.


                                                             Page 1
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 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc     G
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page224
                                                                954ofof232
                                                                        962




      5. Please find below a description, in detail, of the pattern of racketeering activity
         for each RICO claim:

                 a. The predicate acts and statutes in question include:

                           •     Conspiracy to commit murder - NY Penal § 105.15; NY Penal §
                                 125.25 (xi)
                           •     Conspiracy to commit arson - NY Penal § 105.15; NY Penal §
                                 150.15
                           •     Fraud with Identification - 18 U.S.C. § 1028
                           •     Mail Fraud - 18 U.S.C. § 1341
                           •     Wire Fraud - 18 U.S.C. § 1343
                           •     Financial Institution Fraud - 18 U.S.C. §1344
                           •     Illegal Transactions in Monetary Instruments - 18 U.S.C. § 1956
                           •     Money Laundering - 18 U.S.C. § 1957
                           •     Defrauding the United States Government - 18 U.S.C. § 371
                           •     Travel Act - 18 U.S.C. § 1952
                           •     Filing false or Materially False Tax Returns - 26 U.S.C. §
                                 7206(1),(2)
                           •     Engaging in a corrupt endeavor to impede and impairthe due
                                 administration of the internal revenue laws - 26 U.S.C. § 7212(a)
                           •     Providing Material Support of Terrorism - 18 U.S.C. §
                                 2332(b)(g)(5)(B), 18 U.S.C. § 2339A, 18 U.S.C. § 2339B, 18
                                 U.S.C. § 2339C

                 b. In the Mid 1990’s to September 11, 2002, Al Alwani conducted or
                    participated, directly or indirectly, in the conduct of the Enterprise’s, as
                    defined supra, affairs and participated in the operation or management of
                    the operation of the Enterprise itself. Al Alwani conspired to conduct or
                    participate, directly or indirectly, in the conduct of the Enterprise’s affairs
                    and conspired to participate in the operation or management of the
                    operation of the Enterprise itself. Throughout this period, Al Alwani
                    conspired to support terrorism and to obfuscate the roles of the various
                    participants and conspirators in Radical Muslim Terrorism, and/or al
                    Qaida and/or the International Islamic Front for the Jihad Against Jews
                    and Crusaders, which conspiracy culminated in the Attack.

                 c. The individual times, places, and contents of the alleged misconduct are
                    not all particularly known at this time.
                                                             Page 2
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page225
                                                                955ofof232
                                                                        962




                 d. The predicate act is not based upon a criminal conviction.

                 e. Civil litigation has not yet resulted in a judgment regarding the predicate
                    acts.

                 f. The predicate acts form a pattern of racketeering in that they are repeated,
                    ongoing, continuous, and are a part of the Enterprise’s regular way of doing
                    business. Other of the defendants consistently, evenly constantly,
                    laundered money, filed false tax returns, and otherwise impeded and
                    impaired the administration of the tax laws as part of their scheme to
                    conduit money to terrorists, and yet obfuscate their support of Radical
                    Muslim Terrorism and/or al Qaida and/or the International Islamic Front
                    for the Jihad Against Jews and Crusaders.

                 g. The predicate act relates to each other (horizontal relatedness) as part of a
                    common plan because each act of knowing and intentionally providing
                    financial services and money laundering and tax evasion allowed certain
                    of the defendants, specifically including Al Alwani, to surreptiously
                    provide funds to terrorist organizations, including al Qaida, Radical
                    Muslim Terrorism and/or the International Islamic Front for the Jihad
                    Against Jews and Crusaders, which conspiracy culminated in the Attacks.

      6. A description of the Enterprise is as follows:

                 a. The Enterprise (“Radical Muslim Terrorism” or “al Qaida” or “International
                    Islamic Front for the Jihad Against Jews and Crusaders”) (“Enterprise”) is
                    comprised of the defendants named in the Original Complaint and any
                    additional complaints filed in this action as well as the defendants in
                    Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al.
                    (SDNY 04-CV-1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al
                    Baraka, et al. (SDNY 04-CV-1923 (RCC)), and others, and is a collection
                    of the persons, organizations, businesses, and nations associated in fact.

                 b. The Enterprise has its origins in the defeat of the Soviets in Afghanistan in
                    the late 1980s, when Osama Bin Ladin (“Bin Ladin”) formed an
                    organization called “The Foundation” or “al Qaida.” Al Qaida was intended to
                    serve as a foundation upon which to build a global Islamic army. In
                    February, 1998, a declaration was issued, following the holding of a
                    terrorist summit, announcing the formation of the International Islamic
                    Front for the Jihad Against Jews and Crusaders, the precursor of which
                    was the Muslim Brotherhood and the Islamic Jihad. The structure of the
                    Enterprise is an association in fact with common and complex goals that
                    consist of far more than the mere desire to perpetrate the acts of
                    racketeering outlined herein. Rather, the Enterprise utilizes acts of
                    racketeering to further its overall common purposes of: (i) spreading a
                    particularly virulent brand of radical, conservative Islam; (ii) eliminating
                    Western influences in Islamic countries, including Western influences that
                                                             Page 3
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page226
                                                                956ofof232
                                                                        962




                      are perceived to keep in power repressive Saudi-American regimes that
                      are not true to Islam; and (iii) punishing Israel, and the United States for
                      its perceived support of Israel. Radical Muslim Terrorism, and/or al Qaida
                      and/or the International Islamic Front for the Jihad Against Jews and
                      Crusaders, does not feature a centralized hierarchy, because the lack of a
                      centralized hierarchy is essential to the Enterprise’s clandestine nature and
                      its success. Thus, although al Qaida, for example, had its own
                      membership roster and a structure of “committees” to guide and oversee
                      such functions as training terrorists, proposing targets, financing
                      operations, and issuing edicts, the committees were not a hierarchical
                      chain of command but were instead a means for coordinating functions
                      and providing material support to operations. Al Alwani fit neatly into this
                      framework by raising funds for and providing funding to and otherwise
                      providing material support for the members of the Enterprise who engaged
                      in the Attack.

                      The Enterprise is a sophisticated global terrorist network which uses a
                      variety of business and financial transactions to further its operations.
                      These transactions include but are not limited to transferring funds
                      between accounts to purchase communications equipment, electronics
                      equipment, and land (for use as training camps and to store explosives and
                      weapons). These transactions are accomplished through, inter alia, the
                      use of wire transfers and electronic transmissions.

                      On information and belief, at the time of the September 11th attack, the al
                      Qaida’s annual income was approximately $50 million and its assets over a
                      ten-year period ranged between $300 and $500 million dollars. The
                      Enterprise relies upon a global network of banks and financial institutions,
                      including Al Alwani, and illegal activity to generate material support to
                      continue its terrorist operations.

                 c. Al Alwani was not an employee, officer or director of the Enterprise,
                    based upon present information available. Al Alwani is associated with
                    the alleged Enterprise. Al Alwani is a member of the Enterprise, and is
                    separate and distinct from the Enterprise. Al Alwani intended to further
                    the Attack and adopted the goal of furthering and/or facilitating that
                    criminal endeavor, which criminal activity culminated in the Attack.

      7. The pattern of racketeering activity conducted by Al Alwani is separate from the
         existence of Radical Muslim Terrorism, and/or the Al Qaida, and/or the
         International Islamic Front for the Jihad Against Jews and Crusaders, but was a
         necessary component to the Attack.

      8. The Enterprise conducts terrorism all over the world; the racketeering activity
         conducted by Al Alwani funds that activity, which activity culminated in the
         Attack. The usual and daily activities of the Enterprise include recruitment,

                                                             Page 4
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page227
                                                                957ofof232
                                                                        962




           indoctrination, and the provisioning and operation of training camps, all of which
           activities are funded by the racketeering activities described herein.

      9. The Enterprise benefits by spreading its ideology, by suppressing other forms of
         Islam, and through the gratification of destroying its perceived enemies.

      10. The Enterprise, and the racketeering activities conducted by Al Alwani, relies
          heavily on the American interstate system of commerce for banking, supplies,
          communications, and virtually all its essential commercial functions, and in that
          manner affects interstate commerce. The Enterprise and the racketeering
          activities conducted, engaged in, and/or transacted business within and in the
          United States and elsewhere, and utilized, possessed, used, transferred, owned,
          leased, operated, and/or controlled assets in the United States and elsewhere.
          Furthermore, activities and actions of the Enterprise affect interstate commerce as
          demonstrated by the Attack itself, which caused damage to the United States
          economy and property and businesses situate therein. See Rasul v. Bush, 124 S.
          Ct. 2686, No. 03-334, 2004 U.S. LEXIS 4760, *8 (stating that the Attack “severely
          damaged the United States economy”).

      11. Al Alwani acquired or maintained an interest or control in the Enterprise.

      12. With respect to the alleged violation of 18 U.S.C. § 1962(c), the following is
          asserted:

                 a. Radical Muslim Terrorism, and/or the al Qaida, and/or the International
                    Islamic Front for the Jihad Against Jews and Crusaders “employs” certain
                    individuals, only a few of whose identities are known, including defendant
                    Osama Bin Ladin.

                 b. The Enterprise, Radical Muslim Terrorism, and/or al Qaida, and/or the
                    International Islamic Front for the Jihad Against Jews and the Crusaders,
                    is comprised of the defendants named in the Complaint, the First
                    Amended Complaint, the Second Amended Complaint and any additional
                    complaints filed in this action as well as the defendants in Estate of John
                    P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al. (SDNY 04-CV-
                    1922 (RCC)) and Estate of John P. O’Neill, et al. v. Al Baraka, et al.
                    (SDNY 04-CV-1923 (RCC)), among others, and is a collection of the
                    persons, organizations, businesses, and nations associated in fact. The
                    liable persons are the enterprise and that which makes up the enterprise.

      13. The conspiracy which violates 18 U.S.C. §1962(d) is described as follows:

                 a. The history of the conspiracy, in violation of 18 U.S.C. § 1962(d), behind
                    Radical Muslim Terrorism, or the al Qaida, or the International Islamic
                    Front for the Jihad Against Jews and Crusaders could, and has, filled many
                    books, but for purposes of the present RICO Statement, the following is
                    offered. After being turned out of the Sudan in May 1996, al Qaida
                                                             Page 5
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page228
                                                                958ofof232
                                                                        962




                      established itself in Afghanistan, and relied on well-placed financial
                      facilitators, including Al Alwani, who laundered funds from Islamic so-
                      called charities and corporations and raised money from witting and
                      unwitting donors. They also relied heavily on certain imams at mosques
                      who were willing to divert the Zakat, the mandatory charitable
                      contributions required of all Muslims. Radical Muslim Terrorism, and/or
                      al Qaida, and/or the International Islamic Front for the Jihad Against Jews
                      and Crusaders also collected money from employees of corrupted
                      charities. The money raised from these various sources (the “Funds”),
                      including Al Alwani, were used by the Enterprise to accomplish its goals,
                      with the knowledge and awareness of Al Alwani, of both those goals and
                      the uses to which the Funds were put.

                 b. The Funds were used to organize and conduct a complex international
                    terrorist operation intended to inflict catastrophic harm on the United
                    States. The Funds enabled the Enterprise to identify, recruit, groom and
                    train leaders who were able to evaluate, approve and supervise the
                    planning and direction of the Enterprise. The Funds also provided
                    communications sufficient system that gathered information on and
                    formed assessments of the Enterprise’s enemies’ strengths and weaknesses.

                 c. The Funds enabled the Enterprise to establish a personnel system by
                    which, among other things, it recruited and trained persons to inflict the
                    harm (the “Operatives”) and provided planning and direction to the
                    Operatives. The funds thus raised were used to, among other things,
                    operate terrorist training camps in Afghanistan, where some recruits were
                    trained in conventional warfare but where the best and most zealous
                    recruits received terrorist training. The curriculum in the camps placed
                    with great emphasis on ideological and religious indoctrination. All
                    trainees and other personnel were encouraged to think creatively about
                    ways to commit mass murder.

                 d. The camps were able to operate only because of the worldwide network of
                    recruiters, travel facilitators, and document forgers who vetted recruits and
                    helped them get in and out of Afghanistan. From the ranks of these
                    recruits the nineteen perpetrators of the Attack were selected. None of this
                    would have been possible without the funds supplied by participants and
                    conspirators like Al Alwani. Indeed, the Enterprise would not have been
                    successful without enthusiastic participation of all of the conspirators,
                    including Al Alwani. In order to identify nineteen individuals willing,
                    able and competent to carry out the Attack, Radical Muslim Terrorism,
                    and/or the al Qaida, and/or the International Islamic Front for the Jihad
                    Against Jews and Crusaders needed to select from a vast pool of recruits
                    and trainees, which pool would not have been available to it without the
                    assistance provided by Al Alwani. Al Alwani, with knowledge and intent,
                    agreed to the overall objectives of the conspiracy, and agreed to commit at
                                                             Page 6
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page229
                                                                959ofof232
                                                                        962




                      least two predicate acts and all agreed to participate in the conspiracy,
                      either expressly or impliedly. Al Alwani conducted or participated,
                      directly or indirectly, in the conduct of the Enterprise’s affairs and
                      participated in the operation or management of the operation of the
                      Enterprise itself. Al Alwani conspired to conduct or participate, directly
                      or indirectly, in the conduct of the Enterprise’s affairs and conspired to
                      participate in the operation or management of the operation of the
                      Enterprise itself. Al Alwani also, with knowledge and intent, agreed to and
                      did aid and abet all of the above illegal activities, RICO predicate acts, and
                      RICO violations.

      14. The injuries to business or property suffered by the O’Neill Plaintiff’s resulting
          from the September 11th attack include economic damages, including but not
          limited, to pecuniary losses, past and future wage losses and profits, loss of
          business opportunities, loss of and/or damage to tangible and intangible personal
          property, loss of currency, loss of support, funeral and burial expenses, loss of
          prospective inheritance, and loss of other economic contributions to the
          Plaintiffs’/Decedents’ households. Additionally, the Attack itself was intended to
          destroy the leading symbol of the United States’ leadership in world trade – The
          World Trade Center - and as such, affected the O’Neill Plaintiff’s jobs, businesses,
          and livelihoods.

      15. Plaintiffs’ damages – the loss of life and the damages to business and property
          related thereto that resulted from the actions of the defendants and their co-
          conspirators, are a direct causal relationship to the violation of the RICO statute,
          and are not a derivative claim of damage to a third party. The Plaintiffs, both
          named and as a class, as described in the complaint, as amended, were the
          “reasonably foreseeable victims of a RICO violation” and the “intended victims of
          the racketeering enterprise,” (that is, terrorism, the culmination of which was the
          Attack).

      16. Each defendant is jointly and severally liable for all damages sustained by each
          plaintiff subject to the description of victims set forth in paragraph 4 hereof, for
          the loss of life, and the economic damages, including but not limited, to pecuniary
          losses, past and future wage losses and profits, loss of business opportunities, loss
          of and/or damage to tangible and intangible personal property, loss of currency,
          loss of support, funeral and burial expenses, loss of prospective inheritance, and
          loss of other economic contributions to the Plaintiffs’/Decedents’ households. The
          damages for the plaintiffs’ collectively are to be determined at trial, and are in
          excess of $10,000,000,000.00 prior to trebling, punitive damages, interest, legal
          fees, and the costs of this suit.

      17. The federal causes of action against Al Alwani are as follows: Count Eight, Anti-
          Terrorism Act, 18 U.S.C. § 2331, 2333, et. seq.; Count Nine, RICO, 18 U.S.C. §
          1962(b),1962(c), 1962(d).


                                                             Page 7
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
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 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page230
                                                                960ofof232
                                                                        962




      18. The state causes of action are as follows: Count One, Wrongful Death; Count
          Two, Survival; Count Three, Action for Economic Damages; Count Four,
          Intentional Infliction of Emotional Distress; Count Five, Loss of Consortium;
          Count Six, Loss of Solatium; Count Seven, Conspiracy; Count Ten, Punitive
          Damages .

      19. Plaintiffs hereby incorporate all allegations, claims and counts contained in
          Plaintiff’s Complaint, as amended.

      20. Al Alwani has long provided financial support and other forms of material
          support to terrorist organizations including Radical Muslim Terrorism, or the al
          Qaida, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders. Al Alwani conducted or participated, directly or indirectly, in the
          conduct of the Enterprise’s affairs and participated in the operation or management
          of the operation of the Enterprise itself. Al Alwani conspired to conduct or
          participate, directly or indirectly, in the conduct of the Enterprise’s affairs and
          conspired to participate in the operation or management of the operation of the
          Enterprise itself.

      21. Al Alwani has long provided financial support and other forms of material
          support to terrorist organizations including Radical Muslim Terrorism, or the al
          Qaida, and/or the International Islamic Front for the Jihad Against Jews and
          Crusaders. Al Alwani conducted or participated, directly or indirectly, in the
          conduct of the Enterprise’s affairs and participated in the operation or management
          of the operation of the Enterprise itself. Al Alwani conspired to conduct or
          participate, directly or indirectly, in the conduct of the Enterprise’s affairs and
          conspired to participate in the operation or management of the operation of the
          Enterprise itself.

      22. Taha Jabir Al Alwani (Al Alawani) is President of the Graduate School of Islamic
          and Social Sciences (GSISS) in Leesburg, Virginia. The Graduate School for
          Social and Islamic Sciences (GSISS), trains Islamic clerics to minister to Muslim
          soldiers in the U.S. military, however, it is suspected by the U.S. government of
          raising funds for terrorism.

      23. Al Alwani is also a founding member and president of the International Institute
          of Islamic Thought (“IIIT”). The IIIT is a self-described "Islamic think tank" started
          by Sami Al-Arian, who was arrested by the U.S. government and is awaiting trial
          on charges that he was a key figure in the terrorist group Palestinian Islamic
          Jihad.

      24. Taha Jabir Alawani was publicly identified in an affidavit by U.S. Customs
          special agent David Kane (“Kane”) as a director of "Safa Group companies
          including International Institute of Islamic Thought (IIIT), FIQH council of North
          America, Graduate School of Islamic & Social Sciences, and Heritage Education
          Trust." In the affidavit, Kane wrote that “there is probable cause to believe that
          Alawani, along with others, conspired to commit various offenses, including the
                                                             Page 8
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page231
                                                                961ofof232
                                                                        962




           providing of material support or resources to foreign terrorist organizations in
           violation of 18 U.S.C. Para 2339B.”

      25. The Articles of Incorporation for the IIIT, dated October 8, 1980, which were
          included with the IIIT Application for Recognition of Exemption from Federal
          Income Tax (Form 1023), dated June 3, 1982, identify other individuals who were
          directors of WAMY,11 a co-defendant, at that time. “These include Dr. Taha Jaber,
          whom I (Kane) believe to be the same as Taha Jaber Al- Alwani, Dr. Abdul
          Hamid Abu Sulayman, and Dr. Jamal Barzinji.” On this document Al- Alwani,
          Barzinji and Abu Sulayman listed their address as World Assembly of Muslim
          Youth, P.O. Box 5472, Riyadh, Saudi Arabia.

      26. According to a second affidavit filed by Kane in the US District Court in Eastern
          Virginia, Al- Awani’s home was listed as a location to be searched: “The Residence
          of Al-Alwani at 1105 Safa Street, Herndon, Virginia 1105 Safa Street in Herndon
          is the residence of Taha Jaber Al-Alwani, an officer and/or director of Safa Group
          companies including International Institute of Islamic Thought (“IIIT”), FIQH
          Council of North America (“FIQH”), Graduate School of Islamic & Social Sciences
          (“GSISS”) (formerly known as the School of Islamic and Social Sciences (“SISS”))
          and Heritage Education Trust.”

      27. Kane further stated: “Various documents and videotapes obtained in Tampa
          searches show that Al Alwani, attended and spoke at Islamic Concern Project
          (“ICP”) conferences with Al- Arian, Shallah, Sheik Odeh (spiritual leader and co-
          founder of Palestinian Islamic jihad (“PIJ”)) and Sheik Rahman (the "Blind Sheik"
          convicted of conspiracy to blow up New York tunnels and the United Nations in
          New York in October 1995). Inasmuch as ICP conferences were, in essence, PIJ
          conferences, I know that Al-Alwani has long been a supporter of PIJ.”

      28. Additionally, Kane said, “In October 1999, a confidential asset of the FBI, who has
          provided reliable information in the past, furnished the Washington Field Office
          of the FBI a copy of a fatwa 36 (declaration) signed by Al-Alwani at some point
          between December 1988 and November 1989, proclaiming the truth by the
          powers invested in us by Allah, that Jihad is the only way to liberate Palestine;
          that no person or authority may settle the Jews on the land of Palestine or cede to
          them any part thereof, or recognize any right therein for them.”

      29. Public documents show that the SAAR network was the primary backer of the PIJ
          front groups in the United States, World and Islam Studies Enterprise (“WISE”) and
          Islamic Concern Project (“ICP”).


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  Plaintiffs herein incorporate by reference throughout this document the factual averments and
 arguments which are contained within its More Definite Statement Applicable to WAMY,
 relating to Estate of John P. O’Neill, et al. v. Al Baraka, et al., 04-CV-1923 (RCC).


                                                             Page 9
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
Case
 Case1:03-md-01570-GBD-SN
      1:03-md-01570-GBD-SN Document
                            Document8693-1 Filed09/30/05
                                     1568 Filed  10/28/22 Page
                                                           Page232
                                                                962ofof232
                                                                        962




      30. In fact, previously released correspondence and bank checks reveal that SAAR
          affiliates IIIT and Safa Trust funneled tens of thousands of dollars to the PIJ
          fronts. Al Alwani, in his capacity as President of the International Institute of
          Islamic Thought and an officer of the Heritage Education Trust and Safa Trust,
          has committed multiple acts of conspiracy to commit murder and arson, money
          laundering, tax fraud, Travel Act violations, filing a false tax return, and impeding
          and impairing the collecting of federal taxes, all in furtherance of the Enterprise’s
          common goals and ultimate plan of launching an attack on America.

      31. As the foregoing demonstrates, Al Alwani thereby knowingly has, for a period of
          many years, provided critical financial and logistical support to al Qaida, and/or
          Radical Muslim Terrorism, and/or the International Islamic Front for the Jihad
          Against Jews and Crusaders, to support the terrorist organization’s global jihad.
          The September 11th Attack was a direct, intended and foreseeable product of Al
          Alwani’s participation in the jihadist campaign for al Qaida, and/or Radical
          Muslim Terrorism, and/or the International Islamic Front for the Jihad Against
          Jews and Crusaders.

      32. The September 11th Attack was a direct, intended and foreseeable product of Al
           Alwani’s participation in the jihadist campaign for al Qaida, and/or Radical
           Muslim Terrorism, and/or the International Islamic Front for the Jihad Against
           Jews and Crusaders.

      33. Given the extraordinarily complex nature of the conspiracy and other wrongdoing
          that led to the events of September 11, 2001, much information is presently
          unavailable to plaintiffs, absent discovery. Plaintiffs therefore reserve the right to
          amend this Statement as information is learned and verified through discovery
          and otherwise.

      Date: September 30, 2005

                                            LAW OFFICES OF JERRY S. GOLDMAN
                                                 & ASSOCIATES, P.C.

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                                                            Page 10
 X:\Clients\ONeill v. Saudi arabia\Complaints\English\Iraq\Iraq4\Exhibits\G_Taha - More Definite Statement - Iraq_92805.doc
